Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 1 of 825




                       Exhibit A
                  Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 2 of 825                                                                    CM-010
, ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Barnumber, and eddress):                                                 TOR COURT USE ONLY
   Adam John Mackintosh
   10923 Progress Court
   Rancho Cordova, CA 95670
                                                                                                                    FILED
         TELEPHONENO.: 6 5 0 9 6 9 4 6 6 4                      FAX NO.:                                            Superior Court Df Caiiflcirnia,
  ATTORNEY FOR (Name): I I I P f O        Pgr
                                                                                                                    Sacrarnento
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Sacrameiito
    STREETADDRESS: 720 9th St                                                                                       07/24/2019
      MAILING ADDRESS:
      CITY AND ZIP CODE: Sacramento, CA 95814                                                                       rnwillidm^S
          BRANCH NAME: Gofdoii D. Schabcr County Gourthouse                                                         By                  Dl puty
   CASE NAME:
                                                                                                                    Castt Numbur:
  Mackintosh -vs- Lyft
                                                                                         CASE NUI
    CIVIL CASE COVER SHEET                            Complex Case Designation
CZ] Unlimited        •     Limited
     (Amount               (Amount               •     Counter              Joinder
                                                                                          JUDGE:
     demanded              demanded is          Filed with first appearance by defendant
     exceeds $25,000)      $25,000 or less)          (Cal. Rules of Court, mle 3.402)      DEPT:

                              Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
     Auto Tort                                         Contract                                     Provisionally Complex Civil Litigation
                                                             Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
    C D Auto (22)
    •      Uninsured motorist (46)                     •     Rule 3.740 collections (09)                  Antitrust/Trade regulation (03)
    Other PI/PD/WD (Personal Injury/Property           •     Other collections (09)                 •     Construction defect (10)
    Damage/Wrongful Death) Tort                        •     Insurance coverage (18)                C Z I Mass tort (40)
           Asbestos (04)                               •     Other contract (37)                    •     Securities litigation (28)
    I    I Product liability (24)                      Real Property                                      Environmental/Toxic tort (30)
    •      Medical malpractice (45)                    I   I Eminent domain/Inverse                       Insurance coverage claims arising from the
    C Z I Other PI/PD/WD (23)                                condemnation (14)                            above listed provisionally complex case
                                                       I   I Wrongful eviction (33)                       types (41)
    Non-PI/PD/WD (Other) Tort
           Business tort/unfair business practice (07) I   I Other real property (26)               Enforcement of Judgment
           Civil rights (08)                           Unlawful Detainer                            •     Enforcement of judgment (20)
           Defamation (13)                                   Commercial (31)                        Miscellaneous Civil Complaint
           Fraud (16)                                        Residential (32)                       •     RICO (27)
           Intellectual property (19)                         Drugs (38)                            •     Other complaint (not specified above) (42)
           Professional negligence (25)                Judiclal Review                              Miscellaneous Civil Petition
           Other non-PI/PD/WD tort (35)                •      /Vsset forfeiture (05)                •     Partnership and corporate govemance (21)
    Employment                                         •      Petition re: arbitration award (11)   I   I Other petition (nof specified above) (43)
    I    I Wrongful termination (36)                   I   I Writ of mandate (02)
    I    I Other employment (15)                       I   I Other judicial review (39)
2. This case                       is not  complex under rule 3.400 of the Califomia Rules of Court. If the case Is complex, mark the
   factors requiring exceptional judicial management:
   a. I I Large number of separately represented parties          d. I I Large number of witnesses
   b. [Z] Extensive motion practice raising difficult or novel e.         Coordination with related actions pending in one or more courts
             Issues that will be time-consuming to resolve                in other counties, states, or countries, or in a federal court
   c. I «^ I Substantial amount of documentary evidence           f I I Substantial postjudgment judicial supervision
 3. Remedies sought (check all that apply): a.l • I monetary                 b. I • I nonmonetary; declaratory or Inj
 4. Number of causes of action (specify): 6
 5. This case •    is    IZ] is not a class action suit.
 6. If there are any known related cases, file and serve a notice of related case. (Yom
 Date: 07/15/2019
Adam John Mackintosh                                       ^
                                    (TYPE OR PRINT NAME)
                                                                       NOTICE
   • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
     under the Probate Code, Famiiy Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
     in sanctions.
   • File this cover sheet in addition to any cover sheet required by local court rule.
   • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
     other parties to the action or proceeding.
   • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                •' '-                                                                                                       Page 1 ot 2
                                                                                                                                                            PBI
 Form Adopted for Mandatory Use                                                                                Cal. Rutes of Court, rules 2.30. 3.220, 3.400-3.403, 3.740;
   Judicial Councll of California                              CIVIL CASE COVER SHEET                                 Cal. Standards of Judicial Administration, std. 3.10
    CM.010 [Rev. July 1,20071                                                                                                                       www. courtinfo. ca.gov
               Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 3 of 825
                                                                                                                                             SUM-100
                                        SUMMONS                                                                  FOR COURT USE ONLY
                                                                                                              (SOLO PARA USO DE LA CORTE)
                                    (CITACION         JUDICIAL)
NOTICE TO DEFENDANT:
(A VISO AL DEMANDADO):                                                                            FILED/ENDORSED
Lyft, Inc.; Uber Technologies Inc.; Uber Health, LLC, AH Capital
Management, LLC, [Additional Parties Attachment Form is Attached]                                             AUG - 2 2019
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO E L DEMANDANTE):                                                ,    ; ,                    .' E. Medina
                                                                                                  By:              Deputy Cletlt
Adam John Mackintosh

 NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call wiil not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center {www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further waming from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the Califomia Legal Services Web site (www.lawhelpcalifomia.org), the Califomia Courts Online Self-Help Center
 {www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civii case. The court's lien must be paid before the court will dismiss the case.
 lAVISOl Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versidn. Lea la Infonvacidn a
 continuacidn.
    Tiene 30 DlAS DE CALENDARIO despuds de que le entreguen esta citacidn y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefdnica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y mds informaddn en el Centro de Ayuda de las Cortes de Califomia Cwww.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede rnis cerca. Si no puede pagar la cuota de presentaddn, pida al secretario de la corte
 que le dd un fonvulaho de exencidn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por ineumplimiento y la corte le
 podrd quitar su sueldo, dinero y bienes sin mds advertenda.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmedlatamente. Si no conoce a un abogado, puede llamar a un servido de
 remisidn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servidos legales gratuitos de un
 programa de servidos legales sinfinescfe lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.oraJ, en el Centro de Ayuda de las Cortes de Califomia, (www.sucorte.ca.gov) o ponidndose en contacto con la corte o el
 colegio de ai)ogados locales. A VISO: Por ley, la corte tiene derecho a redamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperaddn de $10,000 d mds de valor recibida rnedlante un acuerdo o una concesidn de arbitraje en un caso de derecho dvil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is:                                                             CASE NUMBER:
                                                                                                  (Numero del Caso):
(El nombre y dlreccldn de la corte es):, Gordon D. Schaber Sacramento County                             34-2019-00261236-CU-BC-GD
720 9th St, Sacramento, C A 95814

The name, address, and telephone number of plaintlfPs attorney, or plaintiff without an attorney, is:
(El nombre, la direcddn y el numero de teldfono del abogado del demandante, o del demandante que no tiene abogado,
A d a m John Mackintosh, 10923 Progress C T Rancho Cordova, C A 95670, (650) 969-4664

DATE
(Fecha,                                               1*1
                                                                     Clerk, by
                                                                     (Secretario)
(For proof of sen/ice of this summons, use Proofof Service of Summons (fonri POS-010).)
                                                                                                           i 9n                              , Deputy
                                                                                                                                              (Adjunto)

(Para prueba de entrega de esta citatldn use el formulario Proof of Service of Summons, (POS-010))
                                  NOTICE TO THE PERSON SERVED: You are served
                                    I    I as an individual defendant.
                                    p   I as the person sued under the fictitious name of (specify):


                                                on behalf of (specify)

                                         under:         CCP 416.10 (corporation)                |       | CCP 416.60 (minor)
                                                        CCP 416.20 (defunct corporation)        |       1 CCP 416.70 (conservatee)
                                                  I   I CCP 416.40 (association or partnership) |        | CCP 416.90 (authorized person)
                                                I    i other (specify):
                                        r    I by personal delivery on (date)-.
                                                                                                                                                Page 1 of 1
 Form Adopted for Mandatory Use                                     SUMMONS                                             Code of Civil Procedure §§ 412.20, 465
   Judicial Council of Caiifornia                                                                                        \              www.courtinfo.ca.gov
  SUM-100 [Rev. July 1. 2009]
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 4 of 825
                                                                                                                             SUM-200(A)
                                                                                                CASE NUMBER:
   SHORT TITLE:
  . Mackintosh -vs- Lyft Inc                                                                     34-2019-00261236-CU-BC-GD

                                                           INSTRUCTIONS FOR USE
      This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
   -• If this attachment is used, insert the following statement In the plaintiff or defendant box on the summons: "Additional Parties
      Attachment form is attached."                          •     * .            • .., '

   List additional parties (Check only one box. Use a separate page for each type of party.):

     I    I Plaintiff        | V ] Defendant   | ^   Cross-Complainant     |   | Cross-Defendant

   Better Business Bureaus, Inc.; Benchmark Capital Partners VII, LP; Benchmark Capital Management Co.
   VII, LLC; Ben Horowitz; John Zimmer; Logan Green; Josef Arvin Acebedo; Louis Damell Pritchett; Jerry
   Wang; Amy Biddle; Matt Cohler; and Does 1 - 500, inclusive




                                                                                                                  Page     1    of
                                                                                                                                     Page 1 of 1

 '7uZT^:-!tTc:ZT                          ' ADDITIONAL PARTIES ATTACHMENT
suM-2oo(A) (Rev. January 1,2007]                       Attachment to Summons
                Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 5 of 825       /FILED/ENDORSED
                                                                                                     AUG 1 5 2019
       1    Adam John Mackintosh
            legal@ihughealth.com                                                              By:      R. San Miauel
       2                                                                                                Deputy Cledc
            10923 Progress Court.,
            Rancho Cordova, CA 95670
       3
                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
       4
       5                                         COUNTY OF SACRAMENTO

       6     Adam John Mackintosh, Individually,                  Case Name: Mackintosh -vs- Lyft Inc
             and On Behalf of All Others Similarly
       7     Situated,                                            Case No.: 34-2019-00261236-CU-BC-GDS
       8                      Plaintiff,                          AUTHORIZATION TO
       9                                                          ELECTRONICALLY COMMUNICATE
                       vs.                                        WITH ADAM JOHN MACKINTOSH.
     10
             Lyft, Inc., Uber Technologies Inc., Uber             Details:
     11      Health, LLC, AH Capital Management,
             LLC, Better Business Bureaus, Inc.,                  Jiidge: The Honorable
     12      Benchmark Capital Partners VII, LP,                  Kevin Culhane, Judge of the Superior Court
             Benchmark Capital Management Co.
             VII, LLC, Gap, Inc. Corporations                     Place: ,               '. ,
                                                                  Gordoh D. Schaber County Courthouse
     14                                                           720 Ninth Street, Sacramehtb; CA 95814-
             Ben Horowitz, John Ziinmer, Logan
     15      Green, Josef Arvin Acebedo, Louis
             Darnell Piitchett, Jeny Wang, Amy ,.                  Department: 23
     16      Biddle, Matt Cohler, and                            ''TimeS-08:30-AM^^': ^         ^ • v ;-.-:'      r:^y :

     17      Does 1-500,                                          Date Action filed: July, 4, 2019
             Individuals
     18                                                           Date set for case management conference:
                              Defendants.                         January, 30, 2020
     19
     20
     21                       1. TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD

     22                 PLEASE TAKE NOTICE that on August 2,2019, or as soon after that date as the matter
     23                 can be heard, Plaintiff authorizes all Defendants to communicate electronically by
     24
                        electronic mail ("email") to legalfSjhughealth.com.              ..
     25
              .2. :.    All service, docimients are to be sent to the afbreitientioned email address, per Cal. Rules
     26
     i-                 of Comt, rule 2.251, (1) Electronic service may be established by consent of the parties in
     27
     I ••
     28                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and'Defendahts
             Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
                Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
« ) 520tJ
                                                                 -1-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 6 of 825



 1              an action. A party indicates that the party agrees to accept electronic service by: (A)

 ^              Serving a notice on all parties that the party accepts electronic service and filing the notice
 3
               with the court. The notice must include the electronic service address at which the party
 4

               agrees to accept service; or

 g             (B) Electronically filing any document with the court. The act of electronic filing is

 7              evidence that the party agrees to accept service at the electronic service address the party

 8
 9              has fiimished to the court under rule 2.256(a)(4). This subparagraph (B) does not apply to

10             self-represented partieis; they must affirmatively consent to electronic service under
11             subparagraph (A). (2) A party that has consented to electronic service under (1) and has
12
               used an electronic filing service provider to serve and file documents in a case consents to

13             service on that electronic filing service provider as the designated agent for service for the

14             party in the case, until such time as the party designates a different agent for service.
15
16             Notwithstanding, Plaintiff respectfiiUy requests this Electronic Communication

17             Authorization be made part of the record herein, to assist in a just, proper and speedy
18             outcome. Furthermore, Plaintiff requests that all Defendants make their Electronic
J9             Communication Authorization part of the record herein to assist in a speedy outcome

20
21
22
23
                                     Adam John Mackintosh,
24
                                    /s/ Adam John Mackintosh //
25
26                                    /d/08/12/2019//

27                                  Adam John Mackintosh (will seek admission pro hac vice, in pro per)

28                    Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          -2-'
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 7 of 825

                                                                          FILED/ENDORSED
 1 Adam John Mackintosh                                                          AUG 14 2019
     legal@ihughealth.com
2    10923 Progress Court.,                                              By:.
     Rancho Cordova, CA 95670
                                                                                    BDeputy
                                                                                      . sunoN
                                                                                            Clerk
3
                         SUPERIOR COURT OF THE STAT^ OF CALIFORNIA
4
                                        COUNTY OF SACRAMENTO
 5
6     Adam John Mackintosh, Individually,                 Case Name: Mackintosh -vs- Lyft Inc
      and On Behalf of All Others Similarly
 7    Situated,                                           Case No.: 34-2019-00261236-CU-BC-GDS
 8                     Plaintiff,                        3,000 WITNESSES AND OR SUSPECTS
9                                                        LIST DECLARATION OF ADAM
           . vs,   .                                     JOHN MACKINTOSH
10    Lyft, Inc., Uber Technologies Inc., Uber            Details:
11    Health, LLC, AH Capital Management,
      LLC, Better Business Bureaus, Inc.,                Judge: The Honorable
12    Benchmark Capital Partners VII, LP,                Kevin Culhane, Judge of the Superior Court
      Benchmark Capital Management Co.
13    VII, LLC, Gap, Inc. Corporations                  • Place: •       -•                  • • • : •. .• • •
                                                          Gordon D. Schaber Coimty Courthouse
14                                                        720 Ninth Street, Sacramento,. CA-9581.4
      Ben Horowitz, John Zimmer, Logan
15    Green, Josef Arvin Acebedo; Louis .        .' ^
      Darnell Pritchett, Jerry Wang, Amy                 Departiiient: 23
16    Biddle, Matt Cohler, aiid '                        Time: 08:30 AM                                .

17    Does 1-500,                                         Date Action filed: July, 4,2019
      Individuals
18                                                       Date set for case management conference:
                       Defendants.                       January, 30, 2020
19
20
21                     1. TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD
22            PLEASE TAKE NOTICE that on August 2,2019, or as soon after that date as the matter
23            can be heard, in the event Plaintiff and Defendants settlement proceedings continue to fail,
24
              Plaintiff is readying for trial, in particular, Plaintiff and other undisclosed parties possess a
25
              list of approximately 3,000 individual Uber and Lyft Drivers, and iHug Customers
26
27            who were contacted by Diefendants, Josef Arvin Acebedo, Louis Darnell Pritchett,

28                   Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
             t for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
             ces, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                        - 1 -
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 8 of 825



 1              Malcolm Russell, Thomas Michael Kim and other Lyft and Uber drivers who infiltrated

 2             iHug while Defendants were in the heat of Intentional Interference with Contractual
 3
               Relations, and Tortious Interference with Actual Economic Advantage, Corporate
 4
               Sabotage, Slander, Theft of Corporate Secrets, Hacking, Defamation of Character,
 5
               Corporate Espionage, and other Local, State and Federal Violations. The Driver and iHug
 6
 7             Customer List will be made available to Defendants during a discovery and trial period.

 8     2.      Plaintiff possesses admissible audio evidence that Defendants slandered and defamed
 9
               Plaintiff, who received instmctions to stop iHug from scaling, resulting in the termination
10
               of the Memorandum of Understanding, that allowed Plaintiff to execute on his
11
               $ 1,200,000,000,000 trillion-dollar healthcare opportunity.
12
13     3.      The audio, video, email, text messages, witness lists and other permissible evidence are

14             securely backed up, both physically and virtually with multiple parties who agreed to

               confidentiality. Said evidence is genuine and authentic in its original essence, and ready to
16

               be exhibited before the Honorable Kevin Culhane, Judge of the Superior Court.

               Notwithstanding, Plaintiff respectfiilly requests this Declaration be made part ofthe
18
19             record herein, to assist in a just, proper and speedy outcome.
20
21
22
23                                  Adam John Mackintosh,
24                                  /s/ Adam John Mackintosh //
25
26                                   /d/08/10/2019//

27                                  Adam John Mackintosh (will seek admission pro hac vice, in pro per)

28                    Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                         -2-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 9 of 825

                                                                                  FILED/ENDORSED
 1   Adam John Mackintosh
     legal @ihughealth .com                                                              SEP - 6 2019
 2   10923 Progress Court.,
     Rancho Cordova, CA 95670                                                    By:.      R. San Miauel
 3                                                                                           Deputy Clerk


 4
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
 5
                                          COUNTY OF SACRAMENTO
 6
 7    Adam John Mackintosh, Individually,
      and On Behalf of All Others Similarly
 8    Situated,
 9                                                          Case Name: Mackintosh -vs- Lyft Inc
                       Plaintiff,
10                                                          Case No.: 34-2019-00261236-CU-BC-GDS
11             vs.                                          PROOF OF SERVICE OF SUMMONS
12                                                          TO DEFENDANTS, DECLARATION
      Lyft, Inc., Uber Technologies Inc., Uber              OF DILIGENCE, AND DELIVERY
13    Health, LLC, AH Capital Management,                   CONFIRMATION
      LLC, Better Business Bureaus, Inc.,
14    Benchmark Capital Partners VII, LP,                   Details:
15    Benchmark Capital Management Co.
      VII, LLC.                                             Judge: The Honorable
      Corporations                                          Kevin Culhane, Judge of the Superior Court
16
17                                                          Place:
      Ben Horowitz, John Zimmer, Logan                      Gordon D. Schaber County Courthouse
18    Green, Josef Arvin Aeebedo, Louis                     720 Ninth Street, Sacramento, CA 95814
      Darnell Pritchett, Jerry Wang, Amy
19    Biddle, Matt Cohler, and                              Department: 23
      Does 1-500,                                           Time: 08:30 AM
20    Individuals
                                                            Date Action filed: July, 4, 2019
21
22                                                          Date set for case management conference:
                       Defendants.
                                                            January, 30, 2020
23
24
25
26
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          -1
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 10 of 825



 1                                                 Table of Contents
 2     1.      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD                                                                3
 3            EACH DEFENDANT WAS SERVED WITH DILIGENCE                                            '.              ,.   ...4
 4
                       2A. Amy Biddle                                    :                                                 4
 5
                       2B. AH Capital Management, LLC                                      '.                              4
 6
 7                     2C. Lyft, Inc                                                                          ,            5

 ^                     2D. Uber Technologies Inc                                                                           5
 9
                       2E. Matt Cohler                             „.;                                                     5
10

J^                     2F. Benchmark Capital Management Co. VII, LLC                                   '.                  6

12                     2G. Benchmark Capital Partners VII, LP                                                              6

13                     2H. Better Business Bureaus, Inc                                                                    6
14
15                     21. Ben Horowitz                                                                                    7

16                     2J. Josef Arvin Aeebedo                                                                         ...7
17
                       2K. Jerry Wang                                                                                      8

18                     2L. Uber Health, LLC                                                                                8

^^                     2M. Louis Darnell Pritchett                                                                         8
20
                       2N. John Zimmer                                                                                     9
21                     20. Logan Green                                                                                     9
22 .          PROOF OF SERVICE OF SUMMONS, SERVICE BY FIRST-CLASS MAIL
23
24            EXHIBITS BY PERSONAL SERVICE AND SUBSTITUTED SERVICE                                                     10
25     4,     DELIVERY CONFIRMATION                                                                                    11
26

                         Adam John Maclcintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28      Complaint for Unjust Enrichment, Endangentient of Life, Corporate Sabotage through Espionage, Unfair Competition
           Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          . -2- '            •   .    "
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 11 of 825



 1                     TO A L L PARTIES AND THEIR ATTORNEYS OF RECORD

 2        1.      Adam John Mackintosh, ("Plaintiff), individually and on behalf of all
 3
     other persons similarly situated, by this undersigned declaration served proof of service of
 4
     summons to all Defendants using S & R Services and Local Sheriffs Departments.
 5
 6        2.      Each Defendant was served per Califomia Rules ofCourt CCP §415.10, Rule 3.110(b)

 7   Service of complaint, and the MINIMUM REQUIREMENTS on the NOTICE OF CASE
 8
     MANAGEMENT CONFERENCE AND ORDER TO APPEAR, signed by the Honorable Kevin
 9
     Culhane, Judge of the Superior Court, in particular, "Served all parties named in the complaint within
10
     60 days after the summons has been issued." Each Defendant received the following documents:
11
12                          1. Summons

13                          2. Complaint
14
                            3. Notice of Case Management Conference arid Order to Appear
15
                            4. Immediate Relief and Gesture of Good Faith to Re-Engage in Settlement
16
                                After Full Denial of Settlement by Defendants
17
18                          5. Ex Parte Application for Permanent Injunction

19                          6. Alternative Dispute (ADR) Package
20
                            7. Program Case Notice
21
                            8. Notice and Order of Complex Case Determination.
22
          3.      The nature in which Defendants were served, was in person and/or substituted through a
23
24   Califomia registered and bonded process servers and SherifFs Authorized Agents, and served by

25   First-Class Mail through persons over 18 years of age, not party to this action, who mailed the
26
     documents in paragraph 3 addressed to Defendants using forms POS-030, POS-030 P, POS-030 D.
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          -3-
          Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 12 of 825



 I                         EACH DEFENDANT WAS SERVED WITH DILIGENCE
 2        4.       Summons, Complaint, Notice of Case Management Conference and Order to
 3
      Appear, Immediate Relief and Gesture of Good Faith to Re-Engage in Settlement After Full
 4
      Denial of Settlement by Defendants, Ex Parte Application for Permanent Injunction,
 5
 6    Alternative Dispute (ADR) Package, Program Case Notice, and Notice ahd Order of Complex
 7    Case Determination as follows:
 8.
                                 2A. Defendant, Amy Biddle was served by P. Yuen of the Sacramento
 9
      County Sheriffs Department, Civil Bureau, on August 12, 2019 at 7:49AM at 3317 I Street,
10
11    Sacramento, CA 95816, and sub-served by persons over 18 years of age, not party to this action,
12    Sharon Grosselin, and Richard Maki byfirst-classmail, in a sealed envelope with the United
13
      States Postal Service addressed to Amy Biddle at 33171 Street, Sacramento, CA 95826 with the
14
      postage prepaid. Amy Biddle has been successfully served with all required documents with
15
16    diligence.
17                               2B. Defendant, AH Capital Management, LLC. was served by
18
      substituted service by Carlos Castro, Independent Contractor of S & R Services, and a
19
      registered Califomia Process Server, registration nimiber 1142, on August 13, 2019 at 11:55AM
20
21    at 2865 Sandhill Rd., #101, San Mateo, CA 94025, and served by first class mail by persons
22    over 18 years of age, not party to this action, Sharon Grosselin, and Richard Maki by first-class
23
      mail, in a sealed envelope with the United States Postal Service addressed to AH Capital
24
      Management, LLC at 2865 Sandhill Rd., #101, San Mateo, CA 94025 with the postage prepaid.
25
26    AH Capital Management, LLC has been successfully served with all required documents with
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                           -4-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 13 of 825



 1   diligence.
 2                               2C. Defendant, Lyft, Inc. was served by Jose Juan Soriano,
 3
     Independent Contract and a registered Califomia Process Server, registration number
 4
     2014I827I8, on August 14, 2019 at 1:57PM at CT Corporation System, a Registered Agent at
 5
 6   818 W. 7"" St. #930, Los Angeles, CA 90017, and served by first class mail by persons over 18
 7 years of age, not party to this action, Richard Maki byfirst-classmail, in a sealed envelope with
 8
   the United States Postal Service addressed to Lyft, Inc. with postage prepaid. Lyft Inc. has been
 9
   successfully served with all proper documents with dihgence.
10
11                               2D. Defendant, Uber Technologies Inc. was served by Jose Juan
12   Soriano, Independent Contractor of S & R Services and a registered California Process Server,
13
     registration number 2014182718, on August 14, 2019 at 1:57PM at CT Corporation System, a
14
     Registered Agent at 818 W. 7"' St. #930, Los Angeles, CA 90017, and served by first class mail
15
16   by persons over 18 years of age, not party to this action, Richard Maki byfirst-classmail, in a
17 sealed envelope with the United States Postal Service addressed to Uber Technologies, Inc. with
18
   postage prepaid. Uber Technologies, Inc. has been successfully served with all proper
19
   documents with diligence.
20
21                               2E. Defendant, Matt Cohler was served by substituted service by Andy
22   Esquer, Independent Contractor of S & R Services, and a registered California Process Server,
23
     registration number 1009, on August 15, 2019 at 4:05PM at 988 Market Street, San Francisco,
24
     CA 94102, and served by first class mail by persons over 18 years of age, not party to this
25
26   action, Sharon Grosselin, and Richard Maki byfirst-classrhail, in a sealed envelope with the
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horovvitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                           -5-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 14 of 825



 1   United States Postal Service addressed to Matt Cohler at 988 Market Street, San Francisco, CA
 2   94102 with the postage prepaid. Matt Cohler has been successfully served with all required •
 3
     documents with diligence.
 4
 5                               2F. Defendant, Benchmark Capital Management Co. VII, LLC was

 6   served by substituted service by Andy Esquer, Independent Contractor of S & R Services, and a
 7   registered Cahfomia Process Server, registration number 1009, on August 15, 2019 at 4:05PM
 8
     at 988 Market Street, San Francisco, CA 94102, and served by first class mail by persons over
 9
10   18 years of age, tiot party to this action, Sharon Grosselin, and Richard Maki by first-class

11   mail, in a sealed envelope with the United States Postal Service addressed to Benchmark Capital
12   Management Co. Vll, LLC at 988 Market Street, San Francisco, CA 94102 with the postage
13
     prepaid. Benchmark Capital Management Co. Vll, LLC has been successfully served with all
14
15   required documents with dihgence.

16                               2G. Defendant, Benchmark Capital Partners VII, LP was served by
17   substituted service by Andy Esquer, Independent Contractor of S & R Services, and a registered
18
     California Process Server, registration number 1009, on August 15, 2019 at 4:05PM at 988
19
20   Market Street, San Francisco, CA 94102, and served by first class mail by persons over 18 years

21   of age, not party to this action, Sharon Grossehn, and Richard Maki byfirst-classmail, in a
22   sealed envelope with the United States Postal Service addressed to Benchmark Capital Partners
23
     Vll, LP at 988 Market Street, San Francisco, CA 94102 with the postage prepaid. Benchmark
24
25   Capital Partners Vll, LP has been successfully served with all required documents with

26   diligence.
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                           -6-
          Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 15 of 825



 1                               2H. Defendant, Better Business Bureaus, Inc. was served by J. Gordon
 2 of the Sacramento County Sheriff s Department, Civil Bureau, on August 16, 2019 at 10:10AM
 3
   at 10399 Old Placerville Rd., Sacramento, CA 95827, and served byfirst-classmail by persons
 4
   over 18 years of age, not party to this action, Sharon Grosselin, in a sealed envelope with the
 5
 6    United States Postal Service addressed to Better Business Bureaus at 10399 Old Placerville Rd.,
 7 Sacramento, CA 95827 with postage prepaid. Better Business Bureaus, Inc. has been
 8
   successfully served with all required documents with diligence.
 9
                           21. Defendant, Ben Horowitz was served by substituted service by
10
11    Carlos Castro, Independent Contractor of S & R Services, and a registered Califomia Process
12    Server, registration number 1142, on August 16, 2019 at 1I:25PM at 2865 Sandhill Rd., #101,
13
      San Mateo, CA 94025, and served by first class mail by persons over 18 years of age, not party
14
      to this action, Sharon Grossehn, and Richard Maki byfirst-classmiail, in a sealed envelope with
15
16    the United States Postal Service addressed to Ben Horowitz at 2865 Sandhill Rd., #101, San
17    Mateo, CA 94025 with the postage prepaid. Ben Horowitz refused to be served, and instmcted
18
      his staff to dechne any and all legal documents. Ben Horowitz has been successfully served with
19
      all required documents with diligence.
20
21                               2J. Defendant, Josef Arvin Aeebedo was served by J. Gordon of the
22    Sacramento County Sheriffs Department, Civil Bureau, on August 19, 2019 at 7:30AM at 6339
23
      Lochinvar Way, Sacramento, CA 95823, and served byfirst-classmail by persons over 18 years
24
      of age, not party to this action, Sharon Grosselin, and Richard Maki byfirst-classmail, in a
25
26    sealed envelope with the United States Postal Service addressed to Josef Arvin Aeebedo at 6339
27'
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                           -7-
          Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 16 of 825



 1    Lochinvar Way, Sacramento, CA 95823 with postage prepaid. Josef Arvin Aeebedo has been
 2" successfully served with all required documents with diligence.
 3
                                  2K. Defendant, Jerry Wang was served by substituted service by
 4
      Robert Hall, Independent Contractor of S «fe R Services, and a registered Califomia Process
 5
 6    Server, registration number 6932, on August 19, 2019 at 10:30AM at 582 Mateo St. Los
 7    Angeles, Califomia 90013, and served by first class mail by persons over 18 years of age, not
 8
      party to this action, Sharon Grossehn, and Richard Maki byfirst-classmail, in a sealed
 9
      envelope with the United States Postal Service addressed to Jerry Wang at 582 Mateo St. Los
10
11    Angeles, Cahfomia 90013, and his last known post office box 994 Cupertino, CA 95014 with
12    the postage prepaid. Jerry Wang has been successfully served with all required documents with
13
      dihgence.
14
                                 2L. Defendant, Uber Health, LLC was served by substituted service by
15
16    Andy Esquer, Independent Contractor of S & R Services, and a registered Califomia Process
17    Server, registration number 1009, on August 27, 2019 at 11:20AM at 1455 Market St. #400 San
18
      Francisco, CA 94103, and served by first class mail by persons over 18 years of age, not party to
19
      this action, Sharon Grosselin, and Richard Maki byfirst-classmail, in a sealed envelope with
20
21    the United States Postal Service addressed to Uber Health, LLC at 1455 Market St. #400 San
22    Francisco, CA 94103 with the postage prepaid. Uber Health, LLC has been successfully served
23
      with all required documents with diligence.
24^
                                 2M. Defendant, Louis Damell Pritchett was served by K. Ferreira,
25
26    Deputy of the Placer County Sheriffs Division, Civil Bureau, on August 27, 2019 at 12:53PM at
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                           -8-
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 1   IOO Westlake Ct. Roseville, CA 95747, and served byfirst-classmail by persons over 18 years of
 2   age, not party to this action, Sharon Grosselin, and Richard Maki byfirst-classmail, in a sealed
 3
     envelope with the United States Postal Service addressed to Louis Darnel Pritchett at 100
 4
     Westlake Ct. Roseville, Ca 95747 with postage prepaid. Louis Damell Pritchett has been
 5
 6   successfully served with all required documents with diligence.
 7                              2N. Defendant, John Ziimner was served by substitute service by Andy
 8
     Esquer, Independent Contractor of S «& R Services, and a registered Califomia Process Server,
 9
     registration number 1009, on August 29, 2019 at 9:45AM at 185 Berry St., Ste. 5000, San
10
11   Francisco, Cahfomia 94107, and served by first class inail by persons over 18 years of age, not
12   party to this action, Sharon Grossehn, and Richard Maki byfirst-classmail, in a sealed
13
     envelope with the United States Postal Service addressed to John Zimmer at 185 Berry St., Ste.
14
     5000, San Francisco, Cahfomia 94107 with the postage prepaid. John Zimmer has been
15
16   successfully served with all required documents with diligence.
17                              20. Defendant, Logan Green was served by substituted service by
18
     Andy Esquer, Independent Contractor of S & R Services, and a registered Califomia Process
19
     Server, registration number 1009, on August 29, 2019 at 9:45AM at 185 Berry St., Ste. 5000,
20
21   San Francisco, Cahfomia 94107, and served by first class mail by persons over 18 years of age,
22   not party to this action, Sharon Grosselin, and Richard Maki byfirst-classmail, in a sealed
23
     envelope with the United States Postal Service addressed to Logan Green at 185 Berry St., Ste.
24
     5000, San Francisco, Cahfomia 94107 with the postage prepaid. Logan Green has been
25
26   successfully served with all required documents with diligence.
27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          -9-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 18 of 825



 1    PROOF OF SERVICE OF SUMMONS, SERVICE BY FIRST-CLASS MAIL EXHIBITS BY

 2                         PERSONAL SERVICE AND SUBSTITUTED SERVICE
 3
          5.      Plaintiff has submitted to the honorable court original proofs of service of summons
 4
     for Matt Cohler, Benchmark Capital Partners VII, LP, Benchmark Capital Management Co.
 5
 6 VII, LLC, and Ben Horowitz.
 7        6.      Plaintiff has submitted to the honorable courts copied proofs of service of simunons
 8
     for Lyft, Inc., Uber Technologies Inc., Uber Health, LLC, A H Capital Management, LLC,
 9
     Better Business Bureaus, Inc., John Zimmer, Logan Green, Josef Arvin Aeebedo, Louis Damell
10
11   Pritchett, Jerry Wang, and Amy Biddle. S & R Services and the Sacramento and Placer County

12   Sheriffs Departments, Civil Division sent the originals by United States Postal Services mailing
13
     system. While in transit, some of the originals were lost. Plaintiff has since requested originals
14
     and will present the originals at the Case Management Conference if the Honorable Kevin
15
16   Culhane, Judge of the Superior Court requests review of said documents.

17        7.      Plaintiff has submitted original forms of proof of service byfirst-classmail-civil
18 POS-030, attachment to proof of service byfirst-classmail-civil persons served POS-030(P),
19
     attachment to proof of service byfirst-classmail-civil documents served POS-030(D), see Exhibit 1 -
20
21   57 attached hereto.

22        8.      The original forms of proof of service of summons were served byfirst-classmail by
23   Sharon Grosselin, and Richard Maki byfirst-classmail, in a sealed envelope with the United
24
     States Postal Service addressed to each of the Defendants to ensure all diligence was performed as
25
     required.
26
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          -10-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 19 of 825



 1                                        DELIVERY CONFIRMATION

 .2        1.      Pictured below Exhibit 58, A H Capital Management, LLC was served by U.S. Mail
 3
      to their current and active place of business.
 4

 5                              Shipment delivered inbox!
 6
                                          Pitney Bowes Aug 20
 7
                                         to me
 8

 9

10                              SendPro
                                            TM
                                                   Powered by   pitneybowesim
11

12                              Shipment delivered
13

14                              This shipment has been sent using SendPrp

15

16
                                   liSPS v94655C)989l5fe43Q4^
17

18

19                                ^Tuesdsiyi'-August;,2^                        -i
20

21                              Delivered on     Aug 20, 2019 11:48:00 AM
22                              Delivery Location2865 Sand Hill Rd, Ste 101
                                Shipped on       Saturday,- Augiist 17, 2019
23

24

25

26

27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                             - 11 -
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 20 of 825



 1        2.      Pictured below Exhibit 59, Ben Horowitz was served by U.S. Mail to his current

 2   and active place of business.
 3
                                         Pitney Bowes Aug 20
 4
                                         tome-
 5

 6

 7                             SendPro             Powered   by pitneybowesii
 8

 9
                               Shipment delivered
10

11                             This shipment has been sent using SendPro^

12

13                                TRAGKING NUMBER                                    '|
14                                USPS 9405509898643046506557 !
15

16                                Tu^sd^ti^tJh^f 20i 2019
17

18
                               Delivered on       Aug 20, 2019 11:48:00 AM
19                             Delivery Location2865 Sand Hill Rd, Ste 101
                               Shipped on         Monday, August 19, 2019
20

21

22

23

24

25

26

27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                            -12-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 21 of 825



 1        3.      Pictured below Exhibit 60, Jerry Wang was served by U.S. Mail to his last known

 2   post office box where he received tens of thousands of dollars from Plaintiff.
 3

 4                             Shipment delivered
 5
                                         Pitney Bowes Aug 23
 6
                                         tome V-
 7

 8

 9                             SendPro™            P"*®^®^   by pitney bowes
10

11                             Shipment delivered
12

13                             This shipment has been sent using SendPro

14

15
                                  USPS; 94055098986430471^37^9^
16

17
                                 .pELi^Ef|pD:X}N.:' i;;;.-^y.-^irr-
18                                'RidaStlSIW^^i 201:9'^
19

20                             Delivered on     Aug 23, 2019 9:03:00 AM
21                             Delivery LocationPO Box 994
                               Shipped on       Wednesday, August 21, 2019
22

23

24

25

26

27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                            - 13 -
          Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 22 of 825



 1         4.      Pictured below Exhibit 61, Louis Damell Pritchett was served by U.S. Mail to his

 2    current and active place of residence.
 3
                                 /^,-i'ij>   Pitney Bowes Aug 23
 4                                           tome V

 5
 6
 7
                                 SendPro™ pc^^^^d by pitney bowes ir
 8
 9                               Shipment delivered
10
                                 This shipment has been sent using SendPro'
11
12
13                                . :TRACKING:NUMBEfe;'":'':
                                    USPS 9405509898i643047i 50650
14
15                                  DELIVERED'GN>^% :              ;;:';'";rj5'<.^?;':;^r
                                    Friday, August 23, 201§                 : ^-       "
16
17
18                               Delivered on     Aug 23, 2019 11:01:00 AM
                                 Delivery Location 100 Westlake Ct
19                               Shipped on       Tuesday, August 27, 2019
20
21
22
23
24
25
26
27,
                        Adam John Mackintosh—vs—Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                           - 14-
          Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 23 of 825



  1        5.      Pictured below Exhibit 62, Matt Cohler was served by U.S. Mail to his current and

 2    active place of business.
 3
                                 ,(•••: •'    Pitney Bowes Aug 23
 4
                                 Vj;;,;.>5/   tome V
 5

 6

 7                               SendPro '
                                                TO
                                                                  pitney bowes I p
                                                       • Powered by

 8

 9                               Shipment delivered
10

11                              This shipment has been sent using SendPro^

12

13                                  TRACKING NUMBER
                                    USPS 9405509898643047080841
14

15
                                    DELIVERED ON
16                                  Friday, August 23, 2019
17

18                              Delivered on     Aug 23, 2019 1:09:00 PM
                                Delivery Location988 Market St
19
                                Shipped on             Wednesday, August 2 1 , 2019
20

21

22.

23,

24

25

26

27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                             - 15 -
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 24 of 825



 1        6.      Pictured below Exhibit 62, Benchmark Capital Management Co. VII, LLC was

 2   served by U.S. Mail to their current and active place of business.
 3
                                         Pitney Bowes Aug 23
 4                                       tome V

 5

 6

 7
                               SendPro™            Powered by pitney bowes (S
 8

 9                             Shipment delivered
10

11                             This shipment has been sent using SendPro

12

13                                TRACKING NUMBER
                                  USPS        9405509898643047083460
14

15                                DELIVERED ON
16                                Friday, August 23, 2019
17

18                             Delivered on     Aug 23, 2019 1:09:00 PM
19                             Delivery Location988 Market St
                               Shipped on       Wednesday, August 2 1 , 2019
20

21

22

23

24

25

26

27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                            -16-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 25 of 825



 1        7.      Pictured below Exhibit 63, Benchmark Capital Partners VII, LP was served by U.S.

 2   Mail to their current and active place of business.
 3
                               .               Pitney Bowes Aug 23
 4                             • ""•••".'•']
                                               tome V
 5

 6

 7                             SendPro
                                                 TM
                                                        Powered by   pitneybowesii
 8

 9                             Shipment delivered
10

11                             This shipment has been sent using SendPro^

12

13
                                   USPS /94055098^8€i^
14

15
                                   DELIVERED ^:0N>>;^$
16                                 Friday; August 23-,
17

18                             Delivered on             Aug 23, 2019 1:09:00 PM
                               Delivery Location988 Market St
19
                               Shipped on               Wednesday. August 2 1 . 2019
20

21

22

23

24

25

26

27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                            - 17-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 26 of 825



 1        8.      Pictured below Exhibit 64, Jerry Wang was served by U.S. Mail to his current and
 2 last known place of business, according to his active company website,
 3
   http://teamlaserbeam.com.
 4
 5
                               Shipment delivered ihbox
 6
 7                             r * -'^    Pitney Bowes Aug24
                                t',i.'y   tome V
 8
 9
10                                          TO
                                                   Powered   by pitney bowes»
                               SendPro
11
12
                               Shipment delivered
13
14
                               This shipment has been sent using SendPro
15
16
                                 yTBACKING NUMBER'-. i"J                 y:.:, Jkir-'^-'y^l
17
18
                                  pSPS 94655Q9898643d^7lM85f
19
20
21                                Saturday, Augjust 24^ 201
22                             Delivered on     Aug 24, 2019 11:04:00 AM
                               Delivery Location582 Mateo St
23                             Shipped on      'Wednesday, August 21, 2019
24
25
26
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          - 18-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 27 of 825



 1        9.      Pictured below Exhibit 65, John Zirmner was served by U.S. Mail to his current and

 2   last known place of business, according to his company website: http://lyft.com
 3
 4                             Shipment delivered                                        it
 5
                                ^' . V    Pitney Bowes Aug 26
 6
                                      ~   tome V
 7
 8
 9                             SendPro             Powered by   pitney bowes i p
10
11
                               Shipment delivered
12
13                             This shipment has been sent using SendPro^
14
15                                TRACKING.NUMBER?;--..:':;.^:: r ^ : •
16                                USPS 94055Q9fe8643(M715i0^g^
17
                                  DELiVERED-ON/ , ,'.^ ' ,                      '::fv:}-'-
18
                                  Moriday, August 26, 2019
19
20
                               Delivered on     Aug 26, 2019 1:05:00 PM
21                             Delivery Location 185 Berry St, Ste 5000
22                             Shipped on       Tuesday, August 27, 2019

23
24
25
26
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          - 19-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 28 of 825



 1        10.     Pictured below Exhibit 66, Logan Green was served by U.S. Mail to his current and

 2   last known place of business, according to his company website: http://lyft.com
 3
                                         Pitney Bowes Aug 26
 4                                       tome V

 5
 6
 7                              SendPro
                                            TM
                                                   Powered by   pitney bowes ^
 8
 9                              Shipment delivered
10
11                              This shipment has been sent using SendPro^

12
13                               ^TRACKINGNUMBEf^-,' -if ; ["'is'^kT::^
                                  USPS 94Q550iS9fe4M7151077
14
15                                DELIVERED ON
16                                Monday, August 26, 2019

17
18                              Delivered on     Aug 26, 2019 1:05:00 PM
                                Delivery Location 185 Berry St, Ste 5000
19
                                Shipped on ^Tuesday, August 27, 2019
20
21
22
23
24
25
26
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          - 20 -
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 29 of 825



 1        11.     Pictured below Exhibit 67, Uber Health, LLC was served by U.S. Mail to their

 2   current and active place of business, according to their company website
 3
     https://www.uber.com/legal/uberhealth/us/
 4

 5
                                SendPro
                                            Tf/.
                                                    Powen ed by pitney bowes i
 6

 7

 8                              Shipment delivered
 9
                                This shipment has been sent using SendPro'
10

11
                                  TRACKING:fSiyMBER           ;       , : ^ - C" -^::-'':
12
                                  •USPS 940550^98643047150834.
13

14                                                .-'/''^'-^^^
                                  "DELIVERED'OFSI''^                'l^J
                                  ,>/ionday^ Augtist 26,';2!crt'9i: ^'^'y^^:-.;M-
15

16
                                Delivered on     Aug 26, 2019 2:39:00 PM
17
                                Delivery Location 1455 Market St, Ste 400
18                              Shipped on       Tuesday, August 27, 2019

19
          12.     Signed and executed on September, 4, 2019 in Sacramento, Cahfomia.
20

21

22

23

24                                                     Signature of Declarant

25                                                     Adam John Mackintosh,

26                                                     Adam John Mackintosh (In Pro Per)

27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, (Jnfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                             -21-
               Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 30 of 825
                                                                                                                                                     POS-030
 ATTORNEY OR PARTY WrTHOUT ATTORNEY (Name. State Barnumber, and address):                                                   FOR COURT USE ONLY

Adam John Mackintosh
POBOX 1581
RANCHO CORDOVA, CA 95741

           TELEPHONE NO.(650) 969-4664                                      FAX NO. (OpUonal):
 E-MAIL ADDRESS f o p H o n a / ; l e g a l @ i h u g h e a l t h . c o m
    ATTORNEY FOR (Neme):

 SUPERIOR COURT OF CALIFORNIA, COUNTY OFSacramentO
         STREET ADORESS:720 N i n t h StTCCt
         MAILING ADDRESS:

         CITY AND ZIP coDESacramento, C A 95814
             BRANCH NAMEGORDON D . SCHABER COUNTY                                        COURTHOUSE
         PETITIONER/PLAINTIFF:
                                           Adam John Mackintosh
  RESPONDENT/DEFENDANT:
                                            Amy Biddle [See Attached POS-030(P)]
                                                                                                          C A S E NUMBER:
                          PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                                     34-2019-00261236-CU-BC-GDS
                    (l>o not use this Proof of Service to show service of a Summons and Complaint.)
1. I am over 18 years of age and not a party to this action. I am a resident of or employed in the county where the mailing
   took place.

2. My residence or business address is:



3. On (date)OQ/27/2019         i mailed from (city and srafeJ.Rancho Cordova,                         California
   the following documents (specify):

     Notice and Order of Complex Case Determination

              The documents are listed in the Attachment to Proof of Service by First-Class Mail—Civil (Documents Sen/ed)
              (forni POS-030(D)).
4. I served the documents by enclosing them in an envelope and (check one):
   a. I ^ I depositing the sealed envelope with the United States Postal Service with the postage fully prepaid.
   b. I I placing the envelope for collection and mailing following our ordinary business practices. I am readily familiar with this
            business's practice for collecting and processing correspondence for mailing. On the same day that correspondence is
            placed for collection and mailing, it is deposited in the ordinary course of business with the United States Postal Service in
            a sealed envelope with postage fully prepaid.
5. The envelope was addressed and mailed as follows:
   a. Name of person served: A m y Biddle [See Attached POSr030(P)]
   b. Address of person served:

          3317 I Street, Sacramento, CA 95826 [See Attached POS-030(P)]


     I      I The name and address of each person to whom I mailed the documents is listed in the Attachment to Pmof of Service
              by First-Class Mail—Civil (Persons Sen/ed) (POS-030(P)).
I declare under penalty of perjury under the laws of the State of California that the foregoinig is true ^d con-ect.

Date:08/27/2019
     oiz.ii^uiy p,
                (v                                -v

           (TYPE OR PRINT NAME OF PERSON COMPLETING THIS FORM)

Form Approved for Optional Use                                                                                                Cods of Civil Procedure, §§ 1013,1013a
Judicial Council of California                         PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                                               www.courtlnfo.ca.gov
POS-030 [New January 1, 200S]                                        (Proof of Service)
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 31 of 825
                                                                                                                    POS-030(P)
  SHORT TITLE: Mackintosh -vs- Lyft Inc                                                     CASE NUMBER:
                                                                                            34-2019-00261236-CU-BC-GDS

         ATTACHMENT TO PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL (PERSONS SERVED)
                                           (This Attachment is for use with fonm POS-030)
  NAME AND ADDRESS OF EACH PERSON SERVED BY MAIL:
                   Name of Person Served                              Address (number, street citv. and zip code)

  Amy Biddle                                          3317 I Street
                                                      Sacramento, CA 95826

  Benchmark Capital Management Co.                   ?88 MARKET ST
  Vll, LLC                                           SAN FRANCISCO CA 94102-4002

  Matt Cohler                                         988 MARKET ST
                                                      SAN FRANCISCO CA 94102-4002

  Benchmark Capital Partners Vll, LP                  988 MARKET ST
                                                      SAN FRANCISCO CA 94102-4002

  Uber Health, LLC                                    1455 Market St #400
                                                      San Francisco, CA 94103

  Logan Green                                          185 Berry Street, Suite 5000
                                                      San Francisco, Califomia 94107

  John Zimmer                                         185 Berry Street, Suite 5000
                                                      San Francisco, Califomia 94107

  Louis Darnell Pritchett                            100 WESTLAKE CT
                                                     ROSEVILLE CA 95747-4965

  Jerry Wang                                         PO BOX 994
                                                     Cupertino, CA 95014

   Jerry Wang                                        582 Mateo Street
                                                     Los Angeles, Ca 90013

  Josef Arvin Acebedo                                 6339 Lochinvar Way
                                                      Sacramento, Califomia 95823

  AH Capital Management, LLC                         2865 Sand Hill Rd #101
                                                     Menlo Park, CA 94025

  Ben Horowitz                                        2865 Sand HiU Rd #101
                                                      Menlo Park, CA 94025



 Fom, Approved for opuorai use ATTACHMENT TO PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                             Page 2 of 4
  Judicial Counal of California                           _
POS.030(P) (New January 1,2005]                      (PcRSONS      S c R V c D )
                                                        (Proof of Service)
             Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 32 of 825

                                                                                                                     POS-030(P)
   SHORT TITLE: Mackintosh -vs- Lyft Inc                                                    CASE NUMBER:
                                                                                            34-2019-00261236-CU-BC-GDS

         ATTACHMENT TO PROOF OF SERVICE BY FIRST-LASS MAIL—CIVIL (PERSONS SERVED)
                                           (This Attachment is for use with form POS-030)
  NAME AND ADDRESS OF EACH PERSON SERVED BY MAIL:
                   Name of Person Served                               Address (number, street citv. and zip code)

  Uber Technologies, Inc.                             818 West Seventh Street Suite 930
                                                      Los Angeles, Califomia 90017

  Lyft, Inc.                                          818 West Seventh Street Suite 930
                                                      Los Angeles, Califomia 90017




 Form Appr^oved for Optonal Use ATTACHMENT TO PROOF OF SERViCE BY FIRST-CLASS MAIL—CiVIL                         Page 3 of 4
  Judicial Counal of California
POS-030(P) (New January 1,2005]                      (PERSONS     S E R V E D )
                                                        (Proof of Service)
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 33 of 825
                                                                                                                 POS-030(D)
   SHORT TITLE:                                                                           CASE NUMBER:

                     Mackintosh -vs- Lyft Inc                                           34-2019-00261236-CU-BC-GDS

             ATTACHMENT TO PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL (DOCUMENTS SERVED)
                                         (This Attachment is for use with form POS-030)

  The docuinents that were personally served by first-class mail are as follows (describe each document specifically):


   AUTHORIZATION TO ELECTRONICALLY COMMUNICATE WITH ADAM JOHN MACKINTOSH


   3,000 WITNESSES AND OR SUSPECTS LIST DECLARATION OF ADAM JOHN MACKINTOSH


   NOTICE AND ORDER OF COMPLEX CASE DETERMINATION




 ' r d i K S S r                       ATTACHMENT TO PROOF OF SERVICE BY                                            Pa^.±o,A
POS-030(D) [New January 1,2005]    FIRST-CLASS MAIL—CIVIL (DOCUMENTS              S E R V E D )
                                                      (Proof of Service)
               Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 34 of 825
  ATTORNEY OR PARTY w m W U T ATTORNEY (Naim, Stale Bar nimtiar, and addiese)
                                                                                                                                                 Es&m
    ADAM JOHN MACKINTOSH
    10923 PROGRESS CT. RANCHO CORDOVA, C A 95670
    TELEPHONENO.: | FAX NO. IE4IIAIL AOORESS rQptiana9.legaieihiJShe8Wi.cain
     ATTORNEY FOR (Name): In Pro Per


  SACRAMENTO COUNTY SUPERIOR COURT
          STREETADDRESS: 3341 POWER INN ROAD
         MAIUNOADDRESS:

         CfTY AND ZIP CODE: SACRAMENTO, CA 95626
             BRANCHNAME

       PLAINTIFF: AOAM JOHN MACINTOSH                                                                    CASENUMBER:

    DEFENDANT: LYFT, INC., et al.                                                                        34-2019-00261236-CU-BC-GD

                                                                                                         Ref. No. or FUe No.
                                       PROOF OF SERVICE OF SUMMONS

                                              (Separate proof of senrice is required for each parfy sen/ed.)
1. At the time of servk» I vos at least 18 yeare of age and not a party to this action.
2. I served copies of:
          Summons
    b. ^  Complaint
    c.    Altemative Dispute Resolution (ADR) package
    d. D  Civil Case^^Cover Sheet
    e. n  Cross-complaint
    f.    other (specify documents): Notice of Case Management Conference and Order to Appear; Immediate Relief and Gesture
          of Good Faith to Re-Engage In Settiement After Full Denial of Settlement liy DefendiuHs; Program Case Notice; Ex Parte
          Application fbr Pemtahent Injunction
3. a. Party served (specify name of parfy as shown on documents sen/ed):
   LOGAN G R @ ^
    b. n.     Person (other than the party in item 3a) senred on behalf of an entity or as an authorized agent (and not a person under
              item 5b on whom substituted service was made) (specify name and relationship to the piarty named in item 3a):
4. Address where the party was served:' 185 BERRY ST., S T E . 5000
                                       SAN FRANCISCO. CA 94107
5. I sensed the party (cftecfc proper l>ox;
   a. Q by pidmsbhai serviced I personally delivered the documents listed in item 2 to the party or person authorized to
         ^ receive Si^ce of processforthe party (1) on (date): (2) at (time):
    b.        by substitutsfl service. On (date): 8/29/2019 at (time): 9:45 AM i lefl the documents listed in item 2 with or
              in the.preisence of (name andtitleor relationship to person indicated in item 3b):
              "JOHN P Q E " (refused to giye name) - SECURITY / PERSON IN CHARGE
                                        Age: 3 0 ^ Weight: 155 Hair Black Sex: Male Height riO" Eyes: Race: Black
             (1) \ 3 f (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        persbii to lie served. I infonmed him of her of the general nature of the papers.
             (2) Q (home) e pompetent member of the household (at least 18 yeare of age) at the dwelling house or usual place of
                      . abode of the piarty. I informed him or her of the general nature of the papere.
             (3) CH (physical addiess unknown) a person at least 18 years of age apparently in charge at the usual mailing
            ; : .paddress of the perspn to be served, other than a United States Postal Senrice post office box. I infbrmed him of
                        her of the general nature of the papere.
             (4) Q , i diendaifliair ri»iled (by first-class, postage prepaid) copies of the documents to the person to seraed at the
                      fliace where the cc^es were left (Code Civ. Proc., §415.20). I mailed the documents' on
                  i : (date): from (city): '                                                  or   a declaration of mailing is attached.
             (5) 0 '    I attach a declaration of diligence stating actions taken first to attempt pereonal senrice.



                                                                                                                                                       11 af2
Form ApofoMd fbr Mandatary. Uaa                                                                                                Coda ei CMI Pcocaduie, § 417.10
Judidal Coundi otCaMprnUt '                                PROOF OF SERVICE OF SUMMONS
POS.010 [Rav. JanMary-r. 2007] .                                                                                                        POS010-1/27S45
               Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 35 of 825
        PETITIONER: AOAM JOHN MACINTOSH                                                              CASENUMBER:
                                                                                                         34-2019-00261236-CU-BC-GD
       RESPONDENT:, LYFT, INC.. et

    c. [D by mail ^IKI acknowrledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
          shown irf itfnih 4. by. (iret-ctess mail, postage prepaid,
                  on (date):                                         (2) fiom (city):
              (3) CD with two copies of the Notice and Acknowledgment of Receiptand a postage-paid return enyetope addressed to me.
                      (Attac/i comp/etod Notice and Acknowledgement of Receipt.) (Code Civ. Proc.. § 415.30.)
              (4) 0 to an address oufeide Califomia with retumreceiptrequested. (Code Civ. Proc., § 415.40.)
    d. Q      by ottier means (spedfy.moans of sen/ice and authorizing code section):


           Additional page describing service is attached.
    The "Notice to the Pereon Served" (on the summons) was completed as follows:
              as an individual defendant.
              as the person sued under thefictitiousname of (specify):
    c. n      as occupant
    d. n      On behalf of (specify):
              under the foltowing Code of Civil Procedure sectton:
                       ,. D      416.10 (corporation)                   •   415.95 (business organization, fbrm unknown)
                       , ':nil-- AAfi^O (defonct corporation)           •   416.60 (minor)
                       > .[D 416.30 iQoint stock company/association)   •   416.70 (ward or conservatee)
                        . IZI 416.40 (association or partnerehip)           416.00 (authorized person)
                           •     416j60 (public entity)                 •   415.46 (occupant)
                                                                        •   other:
7. Person wtio served papers
   a. Name: ANDY E S Q U E R S & R Services
   b. Address: 901 Sneath l a n e . Suite 115 San Bruno, CA 94066
   c. Telephone number (650)794-1923
   d. The fee for service was: S SOIOO"
   e. I am:

        (1)     not a registered Califomia process sereer.
        (2)     exernpt from registration under Business and Professions Code section 22350(b).
        (3) Zl registered Califomia process server:           _^
              (i) • owner               •    employee        IZI independent contractor.
              (iO Regisiratioh No.: 1009
              (iir) County: San Franciscb

8        i declare under paialty<(tf p^ury iinder the laws of the State of Califomia that theforegoingis true and correct,
         or • •••• .                •-       :' •
9. D     I am a Califoinia atiMff or marshal and I certify that the foregoing is true and correct.


            Pate;.9/3«(^l^|,,., . .
           • S i RJSeWtawij.:.*.-              <
            M l Sngatl}43ne, S u ^
            San ^runo, CA ^fD6e ,
            wwvirAi6rviM-u.toi^



                               AMDY ESQUER
                 (NAME OF PERSON WHO SERVED PAPERSSHERIFF OR MARSHAL)




POS4)10 (Rev January 1,2007]                                                                                                      Paee2or2
                                                    PROOF OF SERViCE OF SUMMONS
                                                                                                                             POS-010/27946
               Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page
ATTORNEYORPARTYWrniOUr ATTORNEY (Name; Slats Sar numtor, antfsdttnasaJ
                                                                             36 of 825
                                                                        FOR COURT USE ONLY

  ADAM JOHN M/VCKINTOSH
  10923 PROGRESS CT. RANCHO CORDOVA, CA 95670
  TELEPHONE NO.: | FM^ !«>.. j E-MAIL ADDRESS (OpOonal): lesalSlhijghealltloom
   ATTORNEY FOR rName).'Iri i>re l»er: :'•
          .-    ' ''-tk'-.- V,'^:'..'.' ... :.. • : ..

 S A C R A M E N T O ' C O U N T X SUPERIOR COURT
       STREET ADDRE6S: 3 ^ 1 POWER INN ROAD
       MAIUNG ADtlRESS: '
      CITY ANO ZIP CODE: SACRAMENTO, CA 95826
           BRANCHNAME: "

       PLAINTIFF/PETITIONER: ADAM, JOHN MACINTOSH                                                                 CASE NUMBER:

  DEFENDANT/RESPONDENT: LYFT, INC., et al.                                                                                 34-2019-00261236-CU-BC-GD

                                                                                                                  Ref. No. or File No.:
                                             DECU\RATION OF DILIGENCE
  I, ANDY ESQUER ..declare: t am a Registered Process Server and was retained to serve process In the above-referenced matter
  on the fbllov»ing persori or entity LOGAN GREEN as follows:
  Documents:
     Summons; €omplalot;'Altemative Dispute (ADR) package; Notice of Case Management Confmnce and Order to Appear, Immediate
     Relief and Gestura'of Good.Faith t o ReiCi^age In Settlement After Full Denial of S^Uement liy Defendnats; P r ^ r a m Case Notice; Ex
     Parte ApplleaUon for Permanent Injunctibn;
  I attempted p e r ^ n a l senrice on the following dates and times with the following results:


  Date                                                        Ldeatlon           Results
  8/15/2010                        12:15 PM                   Business           PER SECURITY, NO LEGAL DOCUMENTS ARE ACCEPTED HAVE
                                                                                 TO LOOK UP SECRETARY OF STATE AND SERVE ALL LEGAL
                                                                                 DOCUMETNS THERE. REFUSE TO CONFIRM EMPLOYMENT
                                                                                 WITH LYFT. - ANDY ESQUER
                                                                                 185 BERRY ST.. STE. 5000, SAN FRANCISCO, CA 94107

  8/28/2019               :     . 1:Q0RM                      Business           SECURITY REFUSED ME ACCESS, STATED ALL LEGAL
                                                                                 DOCUMENTS NEED TO BE SERVED TO THE REGISTERED
                                                                                 AGENT REFUSED TO CALL UPSTAIRS FOR SOMEONE TO
                                                                                 COME DOWN. - ANDY ESQUER
                                                                                 185 BERRY ST., STE. 5000. SAN FRANCISCO, CA 94107

  8/29/2019                   \i ; 9 > t 5 A M ,              Business           SECURITY REFUSED ME ACCESS, NOR CALL ANYONE FOR THE
                                                                                 COMPANY TO COME DOWN. STATED LEGAL DOCUMENTS NEED
          • ..I-.;: i.'                   ; A' :-'!. •. ••                       TO BE SERVED TO THE REGISTERED AGENT OF THE COMPANY.
                                                                                  I WAS ADVISED BYTHE CLIENT TO OROP SERVE DOCUMENTS.
                                                                                 SECURITY REFUSED TO ACCEPT SERVICE. I ANNOUNCED
                                                                                 SERVICE AND LEFT IT ON THE DESK IN FRONT OF THE
                                                                                 SECURITY. - ANDY ESQUER
                                                                                 185 BERRY ST.. STE. 5000, SAN FRANCISCO. CA 94107
           ••:                    . v. V • • • :
  8/29/2019                       9:45 AM                     Business           SUBSTITUTED SERVICE on: LOGAN GREEN; 185 BERRY ST.,
                                                                                 STE. 6000, SAN FRANCISCO, CA 94107; by senring: "JOHN DOE"
                                                                                 (refused to give name) - SECURITY / PERSON IN CHARGE, Black
                                                                                 Male 30-35 155 Black 5M0-.

Fee for Service: $ S0;00
        County: San FiranciscQ
        Registration No.: 1009                                                             I declare under penalty of perjury that the foregoing is true
        S&RServices                                                                        and correct and that this declaration was executed on
        901 Sneath Lane, Suite 115                                                         Septembers, 2019.
        San Bruno, OA 94066
        (650)794-1923

                                                                                           Signature: i

                                                             AFFIDAVIT OF REASONABLE DILIGENCE
                                                                                                                                                0rdei#: 2794S
   Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 37 of 825
                              S&RServices
                                 901 Sneath Lane, Suite 115
                                    San Bruno, CA 94066
                         Phone: (650) 794-1923 Fax: (650) 989-4182

                                  Continued from Proof of Service

         CUENT: ADAM JOHN MACKINTOSH
   CUENT FILE #:                                                                     DATE: Septembers, 2019

       SUBJECT:     LOGAN GREEN
        SERVED: "JOHN DOE" (refused to give name) - SECURITY / PERSON IN CHARGE
Summons; C o a ^ l a i n ^ ; Alterna'bive D i s p u t e (ADR) package; N o t i c e of
Case Managemen't Conference and Order to J ^ p e a r ; Immediate R e l i e f and
G e s t u r e of Good F a i t h to Re-Engage i n S e t t l e m e n t A f t e r F u l l Deinial
of Settlement by Defendnats; Program Case N o t i c e ; Ex P a r t e
A p p l i c a t i o n f o r Permanent I n j u n c t i o n ;




                   S & R Services j BOI Sneath Lane. Suite 115 j San Bruno. CA 94066 j 6607941923
               Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page
  ATTORNEY OR PARTY wmK>UT ATTORNEY (Name. State Ber number, and addteas)
                                                                             38 of 825
                                                                         FOR COURT USE ONLY


    ADAM JOHN MACKINTOSH
    10923 PROGRESS CT. RANCHO CORDOVA. CA 95670
   TELEPHONENO.: [FAXNO. j E-MAIL ADDRESS (OpSonof/'leaal@ihushsalth com
    ATTORNEY FOR (Neme): bi Pro Per


  SACRAMENTO COUNTY SUPERIOR COURT
         STREETADDRESS:      3341 POWER INN ROAO
         MAILING AOORESS:

        CITY ANO ZIP CODE: SACRAMENTO,      CA 95S26
             BRANCH NAME:

      PLAINTIFF: AOAM JOHN MACINTOSH                                                                     CASENUMBER

   DEFENDANT: LYFT, INC., et al.                                                                         34-2019-00261236<:U-8C-GD

                                                                                                         Ref. No. or File No.:
                                     PROOF OF SERVICE OF SUMMONS

                                           (Separate proof of service is required for each parfy served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of
          Summons
    b. LsdComplaint
    c. bd Altemative Dispute Resolution (AOR) package
    d. n  Civil Case Cover Sheet
    e. D  Cross-complaint
    f. \y\other (specify documents): Notice of Case Management Confeience and Order to Appear; ImmediatB Relief and Gesture
          of Good Faith to Re-Engage In SetUement After Full Denial of Settlement liy Defsndiiats; Program Case Notice; Ex Parte
          Application fbrPefmanent Injunction
3. a. Patty served (specify narrie of parfy as stiown on documents served):
   JOHN ZIMMER

    b- Q      Person (other, than the party in item 3a) senred on behalf of an entity or as an authorized agent (and not a person under
              item 5b on whom substituted service was made) (specify name and relationship to the parfy named in Hern 3a):
4. Address where the party was sen/ed: 185 BERRY ST., S T E . 5000
                                      SAN FRANCISCO. CA 94107
5. I sen/ed the party (c/iecfc proper box^
   3' Q by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (dafej.* (2)at(ffme).-
              by substituted service. On (date): 8/29/2019 at (time): 9:45 AM I left the documents listed in item 2 with or
              in the presence of (name and title or relationship to person Indicated in item 3b):
              "JOHN DOE" (refused to give name) - SECURITY / PERSON IN CHARGE
                                    Age: 30-36 Weight 156 Hair: Black Sex: Male Height: S'10" Eyes: Race: Black
             (1)      (business) a person at least 18 years of age apparently in charge at the office or usual place of business ofthe
                      person to be served. I informed him of her of the general nature of the papers.
             (2) D      (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the patty. I. informed him or her of the general nature of the papers.
             (3) Q      (physical address unknown) a person at least 16 years of age apparently in charge at the usual mailing
                  "     address of the person to be sen/ed, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.
             (4) E ] I thereafter mailed (by first-claiss, postage prepaid) copies of the documents to the person to be sen/ed at the
                     place where the copies were left (Code Civ. Proc.. §415.20). I mailed the documents on
                     (date): ftom (cify):                                                  or \ ^ a dedaration of mailing is attached.
             (5) Ef     I attach a declaration of diligence stating actions taken first to attempt personal service.



                                                                                                                                                     Pa9e1ot2
Form taorovad tor Mandatary Uae                                                                                                  Cods of CIvU Precedure, S 417.10
Judidaf Council of CriltomJa
POS.010 [Rev. Januaiy 1.2007]
                                                        PROOF OF SERVICE OF SUMMONS                                                       POSOl0-1/27946
              Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 39 of 825
        PETITIONER: AOAM JOHN MACINTOSH                                                                                                CASE NUMBER:
                                                                                                                                             34-20194H>2612364:U-BC43D
       RESPONDENT: LYFT. INC., etai.


    C [_j     u y m a u . a n q a G H n u f w w a B m e n i <n raceipi a t n v r v i c e . i iiiaiicu U I B UUVAIIIR»IU> iioicu i i i •»»•• & l u u n (M'^f t   ura a u u i a a s
              shown in item 4, by first-dass mail, postage prepaid,
              (1) on (dafe;.-                                         (2) fmm (city):
              (3) Q with two copies of the Notice and Acknowledgment of Receipt and a postage-paid retum envefope addressed to me.
                      (Attach completed Notiice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
              (4) D to an address outside Califomia withretumreceipt requested. (Code Civ. Proc., § 415.40.)
    d. O      by otiter means (specify means of service and authorizing code section):


      EH Additional page describing sen/ice is attached.
    The "Noticetothe Person Served" (on the summons) was completed as follows:
              as an individual defendant,
    b.n       as the person sued under thefictitiousname of (specify):
              as occupant.
    d.n       On Ijehalf of (spedfy):
              under thefolkiynngCode of Civil Procedure section:
                             O 416.10 (corporation)                     D 415.95 (business organization,formunknown)
                  ,<..; •... (T]}i:446:20(defundGorpdiBtion)    '       • 416.60 (minor)
                         , C ] '415.30 (joint stock oompany/assodation) Q 416.70 (ward or conservatee)
                        .-. .E] 416.40 (association or partnership)     O 416.90 (authorized person)
                           . •     416.50 (public entity)   '            • 415,46,(occupant)
                                         .-•:. -..                         other:    • -Q
7. Pereon wtK> s ^ e d piajaere
   a. Name; A N O Y ^ Q U E R - S ft fi Services
   b. Address: 901 Sneath Lane, Suite 115 San Bruno, CA 94066
   c. Telephone number (650)794-1923
   d. The fleeforservice wias:$ 40.00
   e. I am:
        (1)    not a registered Catifomia process server.
        (2)    exempt firom registration under Business and Professions Code section 22350(b).
        (3) B registered Califomia process sen/er
             (i) • owner               •   employee         [Zf independent contractor
             (ii) Registration No.: 1009
             (iii) County: San Francisco

8. [Zf I declare under penalty qf |>et]fury-under the laws of the State of Califomia that the foregoing is true and correct.
          or
9. D      I am a Califbhila sheriff or marehal ahd I certify that theforegoingis true and correct.


            Date; 9(3/^19 .
            Sft.fi^-SsrvI^BS..• .               0'"-.
            901 Sqeatt|,Lane, Suite 115
            San Bnino, CA 94066 .
            wwiiir.8erviBd-u.cofiii




                                ANDY ESQUER
                 (NAME OF PEI«S0N WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS.010 [Rav January 1.2007)                                                                                                                                                  Page2af2
                                                              PROOF OF SERVICE OF SUMMONS
                                                                                                                                                                    POS-010/27946
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 40 of 825
                                                                      FOR COURT USE (MLY
ATrORNEY OR PARTY wrrHOUT ATTORNEY (Name, State Bar ftumtar, and address


  ADAM JOHN MACKINTOSH
  10923 PROGRESS CT. RANCHO CORDOVA, CA 9S670
 TELEPHONE NO.: | FA)( NO.. | E4ilAiL AOORESS /OptbnaV: lesaieihughaaltti.coni
  ATTORNEY FOR (Name): In Pro Per


 SACRAMENTO COUNTY SUPEI^OR COURT
       STREETADDRESS: 3341 POWER INN ROAD
      MAILINGADDRESS:
      CITY AM} ZIP COOE: SACRAMENTO, CA 95826
          BRANCH NAME:
       PLAINTIFF/PETITIONER: ADAM JQHN MACINTOSH                                                                  CASENUMBER:
  DEFENDANT/RESPONDENT: LYFT, INC.. et al.                                                                                  34-20104X)261236-CtJ-BC-GD

                                                                                                                  Ref. No. or File No.:
                                   DECUUMTION OF DILIGENCE

  I, ANDY ESQUER , declare: I am a Registered Process Server and wasretainedto serve process in the above-referenced matter
  on the following person.or eiitity: JOIHN ZIMMER as fblfows:
  Documents:
     Summons; Complaiiit; AHemative Dispute (ADR) package; Notice of Case Management Confnence and Onlsr to Appear; Immediate
     Relief and Gestum of Good FaKh to R«-Engage In Settlement After Full Denial of Settlement by DefendnalB; Program Case Notice; Ex
     Parte Application for Permanent Inlunction;
  I attempted persorial servne on the foltowing dates andtimeswith thefollowingresults:

  Date                 "TlifKW                        L.ocation                  Results
  8/15/2019               12:15 PM                    Business                   PER SECURITY, NO LEGAL DOCUMENTS ARE ACCEPTED HAVE
                                                                                 TO LOOK UP SECRETARY OF STATE AND SERVE ALL LEOAL
                                                                                 DOCUMETNS THERE. REFUSE TO CONFIRM EMPLOYMENT
                                                                                 WITH LYFT. - ANDY ESQUER
                                                                                 185 BERRY ST., STE. 5000, SAN FRANCISCO, CA 94107
  8/28«019          , , 1:QPPM                        BMsiness                   SECURITY REFUSED ME ACCESS, STATED ALL LEGAL.
                                                                                 DOCUMENTS NEED TO BE SERVED TO THE REGISTERED
                                                                                 AGENT. REFUSED TO CALL UPSTAIRS FOR SOMEONE TO
                                                                                 COME DOWN. - ANDY ESQUER
                                                                                 185 BERRY ST., STE. 5000. SAN FFIANCISCO. CA 04107
  8/29/2019 : ;: ' 9:45 AM                       :. Business                     SECURITY REFUSED ME ACCESS, NOR CALL ANYONE FOR THE
                                                                                 COMPANY TO COME DOWN. STATED LEGAL DOCUMEIMTS NEED
                                                                                 TO BE SERVED TO THE . REGISTERED AGENT OF THE COMPANY.
                                                                                  I WAS ADVISED BY THE CLIENT TO £)ROP SERVE DOCUMENTS.
                                                                                 SECURITY REFUSED TO ACCEPT SERVICE, I ANNOUNCED
                                                                                 SERVICE AND LEFT IT ON THE DESK IN FRONT OF THE
                                                                                 SECURITY. - ANDY ESQUER
                                                                                 185 BERRY ST., STE. 5000, SAN FRANCISCO. CA 94107
  8/29/2010              9:45 AM                     Business                    SUBSTITUTED SERVICE on: JOHN ZIMMER; 185 BERRY ST., STE.
                                                                                 5000, SAN FRANCISCO, CA 94107; by serving: "JOHI^ DOP
                                                                                 (refused to give name) - SECURITY / PERSON IN CHAf^GE, Black
                                                                                 Male 30-35 155 Black 5'10".

Fee for Service: $ 40.00
        Count/: San Frenpisco
        Registration No.: 1009                                                             I declare under penalty ofperjury that this fbrcigoing is true
        S&RServices                                                                        and correct and that this declaration was ex^ctifed on
        901 Sneath Lane, Suite 115                                                         Septembers. 2019.
        San Bruno, CA 94066 I
        (690) 794-1923

                                                                                           Signature:

                                                 AFFIDAVIT OF REASONABLE D I U G ^ C E
                                                                                                                                                  Ordei*: 27946
              Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 41 of 825


                                                                                                                                          POS-030
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Stale Barnumber, and address):                                       FOR COURT USE ONLY
 Adam John Mackintosh
 POBOX 1581
 RANCHO CORDOVA, CA 95741

          TELEPHONE NO.(650) 969-4664           FAX NO. (Optiona)):
  E-MAIL ADDRESS (op<>o/7a/iegal@ihughealth.com
    ATTORNEY FOR (Name):
  SUPERIOR COURT OF CALIFORNIA, COUNTY OFSacramentO
        STREET ADDREss720 N i n t h StrBCt                                                                  SEP - 6 2019
         MAILING ADDRESS:

        CITY AND ZIP coDESacramento, CA 95814                                                    By:.            R. CADDinK
           BRANCH N A M E G O R D O N D . S C H A B E R C O U N T Y C O U R T H O U S E                           Deputy Clerk

         PETITIONER/PLAINTIFF:
                                  Adam John Mackintosh
   RESPONDENT/DEFENDANT: *
                                  Josef Arvin Acebedo
                                                                                                  CASE NUMBER:
                         PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                               34-2019-00261236-CU-BC-GDS
                     (Do not use this Proof of Service to show service of a Summons and Complaint.)
 1. I am over 18 years of age and not a party to this action. I am a resident of or employed in the county where the mailing
    took place.

 2. My residence or business address is:            .     ,



 3. On (date)08/2^ /2019        i mailed from (city and state):Rmcho Cordova,                 California
    the following documents (specify):

      Alternative Dispute (ADR) package, and Program Case Notice

      I </1 The documents are listed in the Attachment to Pmof of Sen/Ice by First-Class Mall—Civil (Documents Sen/ed)
            (fonn POS-030(D)).
 4. I served the documents by enclosing them in an envelope and (check one):
    a. I Y I depositing the sealed envelope with the United States Postal Service with the postage fully prepaid.
    b. I I placing the envelope for collection and mailing following our ordinary business practices. I am readily familiar with this
             business's practice for collecting and processing correspondence for mailing. On the same day that conespondence is
             placed for collection and mailing, it is deposited in the ordinary course of business with the United States Postal Service in
             a sealed envelope with postage fully prepaid.
 5. The envelope was addressed and mailed as follows:
    a. Name of person sen/ed: Josef A r v i n Acebedo
    b. Address of person sen/ed:

         6339 Lochinvar Way
         Sacramento, Califomia 95823
      I ^ I The name and address of each person to whom I mailed the documents is listed in the Attachment to Proof of Sen/ice
            by First-Class Mail—Civil (Persons Sen/ed) (POS-030(P)).
 I declare under penalty of perjury under the laws ofthe State of California that the foregoing is true and con-ect.

   <e:08/21/2019
^e:08/21/2019

           (TYPE OR PRINT NAME OF PERSON COMPLETING THIS FORM)                             IGNATURE OF PERSON COMPLETING THIS FORM)

 Form Approved fOr Optionai Use                                                                                    Code of Civil Procedure, §§ 1013,1013a
 Judidal Coundi of Califbmia              PROOF OF SERViCE BY FIRST-CLASS MAIL—CIVIL                                                 www.courtinfo.ca.gov
 POS-030 [Naw January 1,2005]                           (Proof of Service)
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 42 of 825
                                                                                                                     POS-030(P)
   SHORT TITLE: Mackintosh -vs- Lyft Inc                                                    CASE NUMBER:

                                                                                            34-2019-00261236-CU-BC-GDS

         ATTACHMENT TO PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL (PERSONS SERVED)
                                           (This Attachment Is for use with form POS-030)
  NAIME AND ADDRESS OF EACH PERSON SERVED BY MAIL:
                   Name of Person Served                               Address (number, street citv. and zip code)

  Josef Arvin Acebedo                                 6339 Lochinvar Way
                                                      Sacramento, Califomia 95823

  Amy Biddle                                          33171 Street
                                                      Sacramento, CA 95816

  Better Business Bureaus, Inc.                       10399 Old Placerville Rd,
                                                      Sacramento, CA 95827




 Form Approved for optional use ATTACHMENT TO PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                         Page 2 of 3
  Judiaai Council of California
POS-030(P) (New January 1,20051                      (PERSONS     SERVED)
                                                        (Proof of Service)
             Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 43 of 825
                                                                                             POS-030(D)
   SHORT TITLE:                                                          CASE NUMBER:

                     Mackintosh -vs- Lyft Inc                           34-2019-00261236-CU-BC-GDS

             ATTACHMENT TO PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL (DOCUMENTS SERVED)
                                  (This Attachment is for use with form POS-030)
  The documents that were personally served by flrst<lass mail are as follows (c/escr/Ae each document specifically):


   Altemative Dispute (ADR) package


   Program Case Notice




 Form Approved for Optional Use
 ' Judidal Coundi of Califomia         ATTACHMENT TO PROOF OF SERVICE BY                      Page   3_„J_
POS-03a(D) [New January 1,2005]    FIRST-CLASS MAIL—CIVIL (DOCUMENTS SERVED)
                                                 (Proof of Service)
              Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 44 of 825
                                                                                                                                                                 POS-030
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Neme, Slate Ber number, end eddress):                                                               FOR COURT USE ONLY
Adam John Mackintosh
POBOX 1581
RANCHO CORDOVA, CA 95741

           TELEPHONE NO.(650) 9 6 9 - 4 6 6 4                               FAX NO. (Optional):
 E-MAiL ADDRESS ( O p ( i o n a o l e g a l @ i h u g h e a l t h . c o m
   ATTORNEY FOR (Name):

 SUPERIOR COURT OF CALIFORNIA, COUNTY OFSacramentO
         STREET ADDRESS:720 N l u t i l StTBCt
         MAILING ADDRESS:                                                                                                          SEP - 6 2019
        CITY AND ZIP coDESacramento, CA 95814
            BRANCH NAMEGORDON D . SCHABER COUNTY COURTHOUSE                                                              By:             R CADDICK
        PETITIONER/PLAINTIFF:                                                                                                            Deputy Clerk
                                           Adam John Mackintosh
  RESPONDENT/DEFENDANT:
                                           AH Capital Management, LLC
                                                                                                                          CASE NUMBER:
                          PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                                                      34-2019-00261236-CU-BC-GDS
                   (Do not use this Proof of Service to show service of a Summons and Complaint.)
1. lam over 18 years of age and not a party to this action. I am a resident of or employed in the county where the mailing
   took place.

2. My residence or business address is:                                            ,              ^   \/),r/^.           r lA Cl^l                 i\^\^0



3. On rdafe;08/17/2019         I mailed from (cify and sfafej.Rancho Cordova,                                         Califomia
   the following documents (specify):

    Summons, Complaint, Notice of Case Management Conference and Order to Appear, Immediate Relief and
    Gesture of Good Faith to Re-Engage In Settlement After Full Denial of Settlement by Defendants
              The documents are listed in the Attachment to Proof of Service by First-Class Mail—Civil (Documents Served)
              (form POS-030(D)).
4. I served the documents by enclosing them in an envelope and (check one):
     a. I / I depositing the sealed envelope with the United States Postal Service with the postage fully prepaid.
     b. I   I placing the envelope for collection and mailing following our ordinary business practices. I am readily familiar with this
              business's practice for collecting and processing correspondence for mailing. On the same day that correspondence is
              placed for collection and mailing, it is deposited in the ordinary course of business with the United States Postal Service in
              a sealed envelope with postage fully prepaid.
     The envelope was addressed and mailed as follows:
     a. Name of person sen/ed:AH Capital Management, L L C
     b. Address of person served:

         2865 San Hill Road, Suite 101
         Menlo Park, CA 94025-7022

    I ^ I The name and address of each person to whom I mailed the documents is listed in the Attachment to Proof of Service
          by First-Class Mall—Civil (Persons Sen/ed) (POS-030(P)).
I declare under penalty of perjury under the laws of the State of California that the foreaeing is true and correct.

Date;08/17/2019


           (TYPE OR PRINT NAME OF PERSON COMPLETING THIS FORM)                                                   (SIGNATURE OF PERSON COMPLETING THIS FORM)

Form Approved for Optionai Use                                                                                                            Code of Civil Procedure, §§ 1013, 1013a
Judicial Council of Califbmia                        PROOF OF SERVICE BY FIRST-CLASS MAIL- -CIVIL                                                           www.(X3urtinfo.ca.gov
POS-030 [New January 1, 2005]                                      (Proof of Service)
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 45 of 825
                                                                                                                     POS-030(P)
   SHORT TITLE: Mackintosh -vs- Lyft Inc                                                     CASE NUMBER:

                                                                                         B4-2019-00261236-CU-BC-GDS

         ATTACHMENT TO PROOF OF SERViCE BY FIRST-CLASS MAIL—CIVIL (PERSONS SERVED)
                                            (This Attachment is for use with form POS-030)
  NAME AND ADDRESS OF EACH PERSON SERVED BY MAIL:
                    Name of Person Served                               Address (number street citv, and zip code)

  AH Capital Management, LLC                           2865 San Hill Road, Suite 101
                                                       Menlo Park, CA 94025-7022




 Fomi Approved for Optional use ATTACHMENT TO PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                             Page 2 of 3
  Judicial Council of California
POS-030(P) [New January 1,2005)                       (PERSONS      SERVED)
                                                         (Proof Qf Service)
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 46 of 825



                                                                                                       POS-030(D)
   SHORT TITLE:                                                                        CASE NUMBER:

                     Mackintosh -vs- Lyft Inc                                         34-2019-00261236-CU-BC-GDS

              ATTACHMENT TO PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL (DOCUMENTS SERVED)
                                          (This Attachment is for use with form POS-030)
  The documents that were personally served byflrst-classmall are as follows (describe each document specifically):


   Summons


   Complaint


   Altemative Dispute (ADR) package


   Notice of Case Management Conference and Order to Appear


   Immediate Relief and Gesture of Good Faith to Re-Engage In Settlement After Full Denial of Settlement
   by Defendants

   Program Case Notice


   Ex Parte Application for Permanent Injunction




 Form Approved for Optional Use
   Judidal Coundi OfCalifomia           ATTACHMENT TO PROOF OF SERVICE BY                              Page   3_,fJ.
POS-030(0) (New January 1, 2005]    FIRST-CLASS MAIL—CIVIL (DOCUMENTS SERVED)
                                                   (Proof of Service)
             Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 47 of 825
                                                                                                                                             POS-030
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Neme, Stale Ber number, and addiess):                                        FOR COURT USE ONLY
Adam John Mackintosh
PO BOX 1581
RANCHO CORDOVA, CA 95741

         TELEPHONE NO.(650) 969-4664                            FAX NO. (Optional):
 E-MAIL ADDRESS rop(/ona/jlegal@ihughealth.com
   ATTORNEY FOR fNams;.-
 SUPERIOR COURT OF CALIFORNIA, COUNTY OFSacramentO
     STREET ADDREss:720 Ninth Street
         MAILING ADDRESS:
        cmr AND ZIP coDESacramento, C A 95814
            BRANCH NAMEGORDON           D.   SCHABER COUNTY COURTHOUSE
        PETITIONER/PLAINTIFF:
                                 Adam John Mackintosh
  RESPONDENT/DEFENDANT:
                                 Ben Horowitz
                                                                                                C A S E NUMBER:

                        PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                              34-2019-00261236-CU-BC-GDS
                    (Do not use this Proof of Service to show service of a Summons and Complaint.)
1. I am over 18 years of age and not a party to this action. I am a resident of or employed in the county where the mailing
   took place.

2. My residence or business address is:                                 n• . ^   I«       ^ \/\ r/\(^^       f^~^Cfi


3. On ^dafe;08/17/2019         I mailed from (cify and s/afe^.Rancho Cordova,                Califomia
   the following documents (specify):

    Summons, Complaint, Notice of Case Management Conference and Order to Appear, Immediate Relief and
    Gesture of Good Faith to Re-Engage In Settlement After Full Denial of Settlement by Defendants
     I Y I The documents are listed in the Attachment to Pmof of Service by First-Class t^ail—Civil (Documents Sen/ed)
           (form POS-030(D)).
4. i served the documents by enclosing them in an envelope and (check one):
   a. 1 </ I depositing the sealed envelope with the United States Postal Service with the postage fully prepaid.
   b. I I placing the envelppe for collection and mailing following our ordinary business practices. I am readily familiar with this
            business's practice for collecting and processing correspondence for mailing. On the same day that correspondence is
            placed for collection and mailing, it is deposited in the ordinary course of business with the United States Postal Service in
            a sealed envelope with postage fully prepaid.
5. The envelope was addressed and mailed as follows:
   a. Name of person sen/ed.Ben Horowitz
   b. Address of person served:

         2865 San Hill Road, Suite 101
         Menlo Park, CA 94025-7022
     I Y I The name and address of each person to whom I mailed the documents is listed in the Attachment to Proof of Service
           by First-Class h/lail—Civil (Persons Sen/ed) (POSr030(P)).
I declare under penalty of perjury under the laws of the State of Califomia that the foregoing is true and con-ect.

pate:08/17/2019 f

          (TYPE OR PRINT NAME OF PERSON COMPLETING THIS FORM)                                     OF PERSON COMPLETING THIS FORM)
Form Approved for Optional Usa                                                                                     Code of Civii Procedure, §§ 1013,1013a
Judicial Coundi of Caliibmia             PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                                                   www.courftnfo.ca.goi'
POS-030 (New January 1,2005]                           (Proof of Service)
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 48 of 825
                                                                                                                      POS-030(P)
   SHORT TITLE: Mackintosh -vs- Lyft Inc                                                     CASE NUMBER: .

                                                                                         [34-2019-00261236-CU-BC-GDS

         ATTACHMENT TO PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL (PERSONS SERVED)
                                            (This Attachment is for use with form POS-030)
  NAIVIE AND ADDRESS OF EACH PERSON SERVED BY MAIL:
                    Name of Person Served                               Address (number, street citv. and zip code)

   Ben Horowitz                                        2865 San Hill Road, Suite 101
                                                       Menlo Park, CA 94025-7022




 Form Approved for Optional Use ATTACHMENT TO PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                          Page.    of
  Judicial Council of Caiifomia
POS-030(P) [New Januaiy 1, 2005]                      (PERSONS      SERVED)
                                                        (Proof of Service)
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 49 of 825
                                                                                                       POS-030(D)
                                                                                       CASE NUMBER:
   SHORT TITLE:
                     Mackintosh -vs- Lyft Inc                                         34-2019-00261236-CU-BC-GDS

             ATTACHMENT TO PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL (DOCUMENTS SERVED)
                                          (This Attachment is for use with form POS-030)

  The documents that were personally served by first-class mail are as follows (describe each document specifically):


   Summons


  Complaint


  Altemative Dispute (ADR) package


  Notice of Case Management Conference and Order to Appear


  Immediate Relief and Gesture of Good Faith to Re-Engage In Settlement After Full Denial of Settlement
  by Defendants

  Program Case Notice


  Ex Parte Application for Permanent Injunction




 Form Approved for Optionai Use
   Judicial Council of Caiifomia         ATTACHMENT TO PROOF OF SERVICE BY                              Page   3_o,J_
POS-030(D) [New January 1, 2005]     FIRST-CLASS MAIL—CIVIL (DOCUMENTS SERVED)
                                                    (Proof of Service)
                                                                                                                                                                   POg-QIQ
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                                FOR COURT USE OWLY
                      Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 50 of 825
    ADAMJOHN MACKINTOSH
    10923 PROGRESS CT. RANCHO CORDOVA, CA 95670
   TELEPHONE NO.: | FAX NO | E-MAIL ADDRESS (Optional): legal@ihugheailh.com
     ATTORNEY FOR (Name): In Pro Per:



  SACRAMENTO COUNTY SUPERIOR COURT
           STREETADDRESS. 3 3 4 1 P O W E R I N N R O A D

          MAILING ADDRESS:

          CITY AND ZIP CODE: S A C R A M E N T O , C A 9 5 8 2 6

              BRANCH NAME:

      PLAINTIFF: ADAM JOHN MACINTOSH                                                                               CASE NUMBER:


   DEFENDANT: LYFT, INC., et al.                                                                                   34-2019-00261236-CU-BC-GD

                                                                                                                   Ref. No. or File No.
                                           PROOF OF SERVICE OF SUMIVIONS

                                                   (Separate proof of sen/ice is required foreach party sen/ed.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:

               Summons
               Complaint
               Alternative Dispute Resolution (ADR) package
    d. D       Civil Case Cover Sheet
    e. D       Cross-complaint
    f.    other (specify documents): Notice of Case Management Conference and Order to Appear; Immediate Relief and Gesture
          of Good Faith to Re-Engage in Settlement After Full Denial of Settlement by Defendnats; Program Case Notice; Ex Parte
          Application for Permanent Injunction
3. a. Party served (specify name of party as shown on documents sen/ed):
   B E N HOROWITZ

               Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
               item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
    Address where the party was served: 2865 SANDHILL RD., #101
                                        SAN MATEO, CA 94025
    I served the party (check proper box)
    a.n        by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
               receive service of process for the party (1) on (date): (2) at (time):
               by substituted service. On (dafe). 8/16/2019 at (f;r77e). 11:25 PIM I left the documents listed in item 2 with or
               in the presence of (name and title or relationship to person indicated in item 3b):
               ANNA J A B L O N S K I - E X E C U T I V E ASSISTANT / P E R S O N IN C H A R G E
                                    Age: 40's Weight: 180 Hair: Black Sex: Female Height: Sitting Eyes: Race: White
              (1)         (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                          person to be served. I informed him of her of the general nature of the papers.
              (2) n       (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                          abode of the party. 1 informed him or her of the general nature of the papers.
              (3) n       (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                          address ofthe person to be served, other than a United States Postal Service post office box. I informed him of
                          her of the general nature of the papers.
              (4)0        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                          place where the copies were left (Code Civ. Proc, §415.20). I mailed the documents on
                          (date): irom (city):                                                 or   a declaration of mailing is attached.
              (5)         I aftach a declaration of diligence stating actions taken first to attempt personal service.




                                                                                                                                                                    Page 1 of 2
Form Approved for Mandatory Use                                                                                                                Code of Civil Procedure. § 417,10
Judicial Council of Californta                                     PROOF OF SERVICE OF SUMIVIONS
POS-010 [Rev. January 1, 2007]                                                                                                                           POSOl 0-1/27952
        PETITIONER: ADAM JOHN MACINTOSH                                                                     CASE NUMBER:
                    Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 51 of 825
                                                                                                                34-2019-00261236-CU-BC-GD
      RESPONDENT; LYFT, INC., et ai


    c. n      by mail and acltnowledgment of receipt bf service. I mailed the documents listed in item 2 to the party, to the address
              shown in item 4, by first-class mail, postage prepaid,
              (1) on (dafe).-                                       (2) from (city):
              (3) CH with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                      (Attach completedNobce and Acknowledgement of Receipt.) (Code Civ. Proc, § 415.30.)
              (4) 0 to an address outside California with return receipt requested. (Code Civ. Proc, § 415.40.)
    d. n      by other means (specify means of service and authonzing code section):


      I I Additional page describing service is aftached.
    The "Notice to the Person Served" (on the summons) was completed as follows:

              as an individual defendant.
    b.D       as the person sued under the fictitious name of (specify):
    cD        as occupant.
    d.n       On behalf qf (specify): . . .
              under the following Code of Civil Procedure section:
                           •   416.10 (corporation)                        •    415.95    (business organization, form unknown)
                           n   416.20 (defunct corporation)                •    416:60    (minor)
                           I I 416.30 (joint stock company/association)    •    416.70    (ward or conservatee)
                           I I 416.40 (association or partnership)         •    416.90    (authorized person)
                           •   416.50 (public entity)                      •    415.46    (occupant)
                                                                           •    other:
7. Person who served papers
    a. Name: Carlos Castro > S & R Services
    b Address: 903 Sneath Lane, Suite 227 San Bruno, CA 94066
    c. Telephone number: (650)794-1923
    d. The fee for service was: $ 40.00
    e. I am:

        (1)        not a registered California process server.
        (2)        exempt from registration under Business and Professions Code section 22350(b).
        (3)        registered California process server:         ^
                 (i) • owner               D    employee       111 independent contractor.
                 (ii) Registration No.: 1142
                 (iii) County: San Francisco

           I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.n        I am a California sheriff or marshal and I certify that the foregoing is true and correct.



              Date: 8/16/2019
              S & R Services
              903 Sneath Lane, Suite 227
              San Bruno, CA 94066
              www.served-u.com




                                Carlos Castro
                 (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                '          '   (      (SIGI
                                                                                                            (SIGNATURE)




POS-010 [Rev January 1, 2007]                                                                                                           Page 2 of 2
                                                     PROOF OF SERViCE OF SUiVIMONS
                                                                                                                                  POS-010/27952
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name. Stale Bar number, and address)                                                           FOR COURT USE ONLY

                  Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 52 of 825
   ADAM JOHN MACKINTOSH
   10923 PROGRESS CT. RANCHO CORDOVA, CA 95670
  TELEPHONE NO.: | FAX NO. | E-MAIL ADDRESS (Optional): legal@ihughealth:com
   ATTORNEY FOR (Name): In Pro Per:



 SACRAIVIENTO COUNTY SUPERIOR COURT
        STREET ADDRESS: 3341 POWER INN ROAD
       MAILING ADDRESS:

      CITYAND ZIP CODE: SACFJAMENTO, CA 95826
           BRANCH NAME:

        PLAINTIFF/PETITIONER: ADAM JOHN MACINTOSH                                                               CASE NUMBER:

   DEFENDANT/RESPONDENT: LYFT, INC., et al.                                                                               34-2019-00261236-CU-BC-GD

                                                                                                                Ref. No. or File No.:
                                   DECLARATION OF DILIGENCE
   I, Carlos Castro , declare: I am a Registered Process Server and was retained to serve process in the above-referenced matter on
   the following person or entity: BEN HOROWITZ as follows:
   Documents:
      Summons; Complaint; Altemative Dispute (ADR) package; Notice of Case Management Conference and Order to Appear; Immediate
      Relief and Gesture of Good Faith to Re-Engage in Settlement After Full Denial of Settlement by Defendnats; Program Case Notice; Ex
      Parte Application for Permanent Injunction;
   I attempted personal service on the following dates and times with the following results:


   Date                   Time                       Location                  Results

   8/13/2019              11.00 AM                   Business                  PER "JANE bOE"/RECEPTIONIST, SUBJECT IS NOT IN AND
                                                                               REFUSED TO GIVE HER NAME OR STATE W H E N SUBJECT WILL
                                                                               BE AVAILABLE, ONLY SAID THAT THEY WILL NOT ACCEPT ANY
                                                                               DOCUMENTS. - Carlos Castro
                                                                               2865 SANDHILL RD., # 1 0 1 , SAN MATEO, CA 94025

   8/15/2019              1:20 PM                    Business                  PER FRONT DESK, SUBJECT IS NOT IN RIGHT NOW. - Carlos
                                                                               Castro
                                                                               2865 SANDHILL RD.. # 1 0 1 , SAN MATEO, CA 94025

   8/16/2019              11:25 PM                   Business                  SUBSTITUTED SERVICE on: BEN HOROWITZ; 2865 SANDHILL
                                                                               RD., # 1 0 1 , SAN MATEO, CA 94025; by serving: ANNA JABLONSKI -
                                                                               EXECUTIVE ASSISTANT / PERSON IN CHARGE, White Female 40's
                                                                               180 Black Sitting .




Fee for Service: $ 40.00
        County: San Francisco
        Registration No.: 1142                                                           I declare under penalty of perjury that the foregoing is true
        S & R Services                                                                   and correct and that this declaration was executed on
        903 Sneath Lane, Suite 227                                                       August 16, 2019.
        San Bruno, CA 94066
        (650) 794-1923

                                                                                         Signature:
                                                                                                                     arlos Castro

                                                AFFIDAVIT O F R E A S O N A B L E DILIGENCE
                                                                                                                                                     Order#: 27952
                                               S & R^Services
       Case 2:19-cv-01849-MCE-KJN  Document
                             903 Sneath Lane,1-2
                                              SuiteFiled
                                                    227 09/13/19 Page 53 of 825
                                     San Bruno, CA 94066
                          Phone: (650) 794-1923 Fax: (650) 989-4182

                                   Continued from Proof of Service

          CLIENT     ADAM JOHN MACKINTOSH
   CLIENT FILE #                                                                      DATE: August 16, 2019
        SUBJECT      BEN HOROWITZ
         SERVED      ANNA JABLONSKI - EXECUTIVE ASSISTANT / PERSON IN CHARGE
Summons; C o m p l a i n t ; A l t e r n a t i v e D i s p u t e (ADR) package; N o t i c e o f
Case Management Conference and Order t o Appear; Immediate R e l i e f and
G e s t u r e o f Good F a i t h t o Re-Engage i n S e t t l e m e n t A f t e r F u l l D e n i a l
o f S e t t l e m e n t b y D e f e n d n a t s ; Program Case N o t i c e ; Ex P a r t e
A p p l i c a t i o n f o r Permanent I n j u n c t i o n ;




                    S & R Services j 903 Sneath Lane, Suite 227 | San Bruno, CA 94066 | 6507941923
              Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 PageFOR54
  ATTORNEY OR PARTY WfTHOUT ATTORNEY (Neme, State Ber number, and address)
                                                                                of 825 Pos-oiq
                                                                             COURT USE ONLY


    ADAM JOHN MACKINTOSH
    10923 PROGRESS CT. RANCHO CORDOVA, CA 95670
    TELEPHONE NO: I FAX NO. j E-MAIL ADDRESS (OlOonal): legal@ihughsalth.cafn
     ATTORNEY FOR (Name): hi Pro Per.


  SACRAIMENTO COUNTY SUPERIOR COURT
      STREET ADDRESS: i3341 POWER INN ROAD

           MAILINGADDRESS:

         CrrY AND ZIP CODE: SACRAMENTO,         CA 95826
             BRANCHNAME:

       PIAINTIFF: ADAM JOHN MACINTOSH                                                                    CASE NUMBER:

   DEFENDANT: LYFT, INC., et al.                                                                         34-2019-0026123&CU-BC-GD

                                                                                                         Ref. No. or FUe No.:
                                       PROOF OF SERVICE OF SUMMONS

                                              (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
          Summons
    b. M  Complaint
    c. [yfAltemative Dispute Resolution (ADR) package
    d. n  Civil Case Cover Sheet
    e. n  Cross-complaint
    f. bu other (specify documents): Notice of Case Management Conference and Order to Appear; Immediate Relief and Gesture
          of Good Faith to Rs-Engage In SetUement After Full Denial of Settlement by Defendnats; Program Case Notice; Ex Parte
          Application fbr Peimanent Injunction
3. a. Party seived (specify name of party as shown on documents served):
   AH CAPITAL MANAGEMENT L L C
    b.0'      Person (other than the party in item 3a) served on t>ehalf of an entity or as an authorized agent (and not a person under
              item 5b on whom sulsstituted service was made) (specify name and relationship to the parfy named in item 3a):

4. Address where the party was served: 2865 SANDHILL RD., #101
                                      SAN MATEO, CA9402S
5. I served the party (c/)ecfc proper tox) '
   a. Q by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process fbr the party (1) on (date): (2) at (time):
              by sul>stituted service. On (dafe); 8/13/2019 at (/r/ne): 11:55 AM I left the documents listed in item 2 with or
              in the presence of (name and title or relationship to person indicated in item 3b):
              "JANE DOE" (refused to give her name) - RECEPTIONIST / PERSON IN CHARGE
                                    Age: 35 Weight 110 Hair BlacK Sex: Female Height S'r Eyes: Race: Asian
             (1) 'Sf (business) a person at least 18 years of age apparently in charge at the office or usual place of business ofthe
                     person to be seived. I infbrmed him of her of the general nature ofthe papers.
             (2) EH (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                     abode of the party. I infonned him or her of the general nature of the papers.
             (3) CH (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                     address ofthe person to be served, other than a United States Postal Service post office box. I informed him of
                     her of the general nature of the papers.
             (4) Q I thereafter mailed (by first-dass, postage prepaid) copies of the documents to the person to t>e served at the
                     place where the copies were left (Code Civ. Proc., §415.20). 1 mailed the documents on
                     (date): from (cify):                                               or \ ^ a declaration of mailing Is attached.
             ( 5 ) 0 ' I attach a declaration of diligence stating actions taken first to attempt personal senrice.

                                                                                                                                                     Paoe 1 Ota
Forni ApptDved for Mandatory Use                                                                                                Cods Of Civil Procedure, § 417.10
Judicial CounciJ of Califbmia
PO&OIO (Rev. Januaiy 1,2(X)71
                                                            PROOF OF SERViCE OF SUMMONS                                                   POS010-1/279S1
              Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 55 of 825
         PETITIONER: ADAM JOHN MACINTOSH                                                              CASE NUMBER:

                                                                                                          34-2019-00281236-CU-eC-GD
      RESPONDENT: LYFT, INC . etai

     c. EZI by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
            shown in item 4, by first-dass mail, postage prepaid,
            (1) on (date);            ^                           (2) from (dfy):
            (3) O with two copies of the Notice and Acknowledgment ofReceiptand a postage-paid retum envelope addressed to me.
                    (Attach comptetBd Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
              (4) 0 to an address outside Califomia with retum receipt requested. (Code Civ. Proc., § 415.40.)
     d. D     by other means (specify means of sen/ice and authorizing aide section):


       LH Additional page describing service is attached.
     The "Notice to the Person Served" (on the summons) was completed as follows
    a. EH as an individual defendant.
    b. n as the person sued under the fictitious name of (specify):
          as occupant.
    d ^ On behalf of (specify): AH CAPITAL MANAGEMENT LLC
          under the fdlowing Code of Civil Procedure section:
                    O 416.10 (corporation)                       • 415.95 (business organization, form unknown)
                    CH 416.20 (defund corporation)               • 416.60 (minor)
                    C , 416.30 (joint stock company/association) •   416.70 (ward or conservatee)
                          416.40 (assodation or partnership)     • 416.90 (authorized persori)
                    •     416.50 (public entity)                 • 415.46 (occupant)
                                                                 • . other:
7. Person who served papers
    a. Name: Carlos Castro - S & R Services
    b. Address: 903 Sneath Lane, Suite 227 San Bruno, CA 94066
    c. Telephone number (650)794-1923
    d. The fee for service was: $ SO.OO
    e. I am:

        (1)   not a registered Califomia process server.
              exempt from registration under Business and Professions Code section 22350(b).
        (3)H registered Califbmia prooess server:          ^
            (i) U owner              •    employee       H independent contrador.
            (ii) Registration No.: 1142
            (iii) County: San Francisco

8. [Zf I declare under penalty of perjury under the laws of the State of Califomia that the fbregoing is true and conred.
      or
9. CH i am a Califomia sheriff or marshal and I certify that the foregoing is true and cored.


              Date: 8/15/2019
              S & R Services
              903 Sneath Lane, Suite 227
              San Bruno, CA 94066
              www.served-u.coni




                                Carios Castro
                  (NAME OF PEI«S0N WHO SERVED PAPERSSHERIFF OR MARSHAL)           f           I       (SIGNATURE)




POS-010 [Rev January 1, 2007)                                                                                                    Pase2of2
                                                      PROOF OF SERVICE OF SUMMONS
                                                                                                                            POS-010/27961
           Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page  56 of 825
                                                                     FOR COURT USB ONLY
ATTORNEY OR PARTY WTrHOl/T ATTORNEY (Name. State Sar numtier, end addiess)


  ADAM JOHN MACKINTOSH
  10923 PROGRESS CT RANCHO CORDOVA, CA 95670
 TELEPHONENO.: | FAX NO | E4«AU. ADDRESS rOp(iana9: legaieifuighealth.cam
  ATTORNEY FOR (NSme).' In Pro Por:


 SACRAMENTO COUNTY SUPERIOR COURT
       STREETADDRESS: 3341      POWER INN ROAD
      MAILINGADDRESS:

      CITY ANO ZIP CODE: SACRAMENTO,        CA 95826
          BRANCHNAME:

       PLAINTIFF/PETITIONER: ADAM JOHN MACINTOSH                                                           CASENUMBER:


  DEFENDANT/RESPONDENT: LYFT, INC.. et al.                                                                           34-2019-00261236-CU-8C-GD

                                                                                                           Ref. No. or File No.:
                                  DECLARATION OF DILIGENCE
  I, Carios Castro , dedare: I am a Registered Process Server and was retained to serve process in the above-referenced matter on
  the following person or entity: AH CAPITAL MANAGEMENT LLC as foltows:
  Documents:                                                                                                                          >
     Summons; Complaint Alternative Dispute (ADR) package; Notice of Case Management Conference and Order to Appear; Immediate
     Relief and Gesture of Good Faith to Re-Engage In Settlement After Full Denial of Settlement l>y Defendnats; Program Case Notice; Ex
     Parte Application for Peimanent Injunction;

  I attempted personal service on the fbllowing dates and times with the following results:

  Date                  Time                      Location                   Results
  8/13/2019             11:55 AM                  Business                   PER RECEPTIONIST, BEN HOROWITZ IS NOT IN. REFUSED TO
                                                                             GIVE HER NAME OR ACCEPT DOCUMENTS FOR THE COMPANY.
                                                                             I ANNOUNCED SERVICE AND LEFTIT ON HER DESK.
                                                                             SUBSTITUTE SERVICE TO "JANE DOE" (refused to give name). -
                                                                             Carios Castro
                                                                             2865 SANDHILL RD., #101, SAN MATEO, CA 04025
  8/13/2019^            11:55 AM                  Business                   SUBSTITUTED SERVICE on: AH CAPITAL MANAGEMENT LLC;
                                                                             2865 SANDHILL RD., #101, SAN MATEO, CA 94025; by serving:
                                                                             "JANE DOE" (refused to give her name) - RECEPTIONIST / PERSON
                                                                             IN CHARGE, Asian Femate 35110 Black 5'2".




Fee for Service: $ SO.OO
        County. San Francisco
        Registration No.: 1142                                                      I declare under penalty of perjury that the fbregoing Is true
        S & R Services                                                              and correct and that this declaration was executed on
        903 Sneath Lane, Suite 227                                                  August 15, 2019.
        San Bruno, CA 94066
        (650) 794-1923

                                                                                    Signature:
                                                                                                  '          Carlos Castro

                                              AFFIDAVIT OF REASONABLE DILIGENCE
                                                                                                                                          Ordenf: 27961
                 Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 57 of 825


                                                                                                                                                   POS-030
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                              FOR COURT USE ONL Y
  Adam John Mackintosh
  POBOX 1581
  RANCHO CORDOVA, CA 95741

              TELEPHONE NO.(650) 9 6 9 - 4 6 6 4                                FAX NO. (OptionaO:
   E-MAIL ADDRESS ( o p f l b n a / j l e g a l @ i h u g h e a l t h . c o m
     ATTORNEY FOR (Name):
   SUPERIOR COURT OF CALIFORNIA, COUNTY OFSacramentO
                                                                                                                  SEP - 6 2019
           STREET ADDRESS720 N i n t h StTCCt
                                                                                                                      ;...;,^ADD1CK
           MAILINGADDRESS:
                                                                                                                      Ueputy Clerk
          ciry-ANDziPcoDESacramento, CA 95814
              BRANCH NAMEGORDON D . SCHABER COUNTY COURTHOUSE
          PETITIONER/PLAINTIFF:
                                              Adam John Mackintosh
    RESPONDENT/DEFENDANT:
                                               Benchmark Capital Management Co. Vll, LLC
                                                                                                           CASE NUMBER:
                             PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                                    34-2019-00261236-CU-BC-GDS
                      (Do not use this Proof of Service to show service of a Summons and Complaint.)
  1. I am over 18 years of age and not a party to this action. I am a resident of or employed in the county where the mailing
     took place.

       My residence pr business address is:

      \AK/^\cUrc( ClA 4it>^fc
  3. On (date)08/2^ /2019        I mailed from (city and sfafeJ.Rancho Cordova,                        Califomia
     the following documents (specify):

      Summons, Complaint, Notice of Case Management Conference and Order tp Appear, Immediate Relief and
      Gesture of Good Faith to Re-Engage In Settlement After Full Denial of Settlement by Defendants
                The documents are listed in the Attachment to Proof of Service by First-Class h4ail—Civil (Documents Served)
                (form POS-030(D)).
  4. i served the documents by enclosing them in an envelope and (check one):
     a. I ^ I depositing the sealed envelope with the United States Postal Sen/ice with the postage fully prepaid.
     b, I I. placing the envelope for collection and mailing following our ordinary business practices. I am readily familiar with this
              business's practice for collecting and processing conrespondence for mailing. On the same day that conrespondence is
              placed for collection and mailing, it is deposited in the ordinary course of business with the United States Postal Service in
              a sealed envelope with postage fully prepaid.
  5. The envelope was addressed and mailed as follows:
       a. Name of person served: Benchmark Capital Management Co. Vll, LLC
       b. Address of person served:

           988 MARKET ST
           SAN FRANCISCO CA 94102-4002
       I Y I The name and address of each person to whom I mailed the documents is listed in the AttachmenttoProof of Service
             by First-Class Ma//—C/V// (Persons Sen/ed) (POS-030(P)).
  I declare under penalty of perjury under the laws ofthe State of Califomia that the foregoing is tme and correct.

^^te:08/21/2019 r

             (TYPE OR PRINT NAME OF PERSON COMPLETING THIS FORM)                                     INATURE OF PERSON COMPLETING THIS FORM)

  Form Appmved for Optional Use
  Judicial Council of California                         PROOF OF SERVICE BY FIRST-CLASS IVIAIL—CIVIL                       Codeof Civil Procedure, §§ 1013,1013a
                                                                                                                                             www.courtinfb.ca.gov
  POS-030 [New Januaiy 1,2005]                                         (Proof of Service)
          Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 58 of 825



                                                                                                                                       POS-030(P)
  SHORT TITLE: Mackintosh -vs- Lyft Inc                                                                         CASE NUMBER:
                                                                                                               34-2019-00261236-CU-BC-GDS

        ATTACHMENT TO PROOF OF SERViCE BY FIRST-CLASS MAIL—CIVIL (PERSONS SERVED)
                                                    (This Attachment Is for use with form POS-030)
  NAME AND ADDRESS OF EACH PERSON SERVED BY MAIL:
                 Name of Person Served                                                Address (number street, citv. and zip code}

  Benchmark Capital Management Co.                                 988 MARKET ST
  Vll, LLC                                                         SAN FRANCISCO CA 94102-4002

  Matt Cohler                                                      988 MARKET ST
                                                                   SAN FRANCISCO CA 94102-4002

  Benchmark Capital Partners Vll, LP                               988 MARKET ST
                                                                   SAN FRANCISCO CA 94102-4002

  Uber Health, LLC                                                 1455 Market St #400
                                                                   San Francisco, CA 94103

  Logan Green                                                      185 Berry Street, Suite 5000
                                                                   San Francisco, Califomia 94107

  John Zimmer                                                      185 Berry Street, Suite 5000
                                                                   San Francisco, Califomia 94107

  Louis Darnell Pritchett                                         100 WESTLAKE CT
                                                                  ROSEVILLE CA 95747-4965

  Jerry Wang                                                      PO BOX 994
                                                                  Cupertino, CA 95014

  Jerry Wang                                                      582 Mateo Street
                                                                  Los Angeles, Ca 90013




 Forni ^yproved for optional use A T T A C H M E N T T O P R O O F O F S E R V I C E B Y F I R S T - C L A S S I M A I L — C I V I L   Page 2 of 3
  Judldal Councll of Califbmia                                   /..^^•.^.••.
POS.030(P) (New January 1, 2005]                                (PERSONS SERVED)
                                                                     (Proof of Service)
           Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 59 of 825
                                                                                                                POS-030(D)
  SHORT TITLE:                                                                            CASE NUMBER:

                  Mackintosh -vs- Lyft Inc                                            34-2019-00261236-CU-BC-GDS

            ATTACHMENT TO PROOF OF SERVICE BY FIRST-CLASS MAIL-rCIVIL (DOCUMENTS SERVED)
                                         (This Attachment is for use with fonv POS-030)

  The documents that were personally served by first-class mail are as follows (describe each document specifically):



  Summons


  Complaint


  Altemative Dispute (ADR) package


  Notice of Case Management Conference and Order to Appear


  Immediate Relief and Gesture of Good Faith to Re-Engage In Settlement After Full Denial of Settlement
  by Defendants

  Program Case Notice


  Ex Parte Application for Permanent Injunction




 T d i & u S ™                        ATTACHMENT TO PROOF OF SERVICE BY                                         Pa,el.cf J .
pos^)30(0)[Newjanua,yi,2oo5i      FIRST-CLASS MAIL—CIVIL (DOCUMENTS SERVED)
                                                (Proof of Service)
                                                                                                                                                           POS-010
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                        FOR COURT USE ONLY
                     Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 60 of 825
    ADAMJOHN MACKINTOSH
    10923 PROGRESS CT. RANCHO CORDOVA, CA 95670
   TELEPHONE NO.: | FAX NO. | E-MAIL ADDRESS (Optional): legal@ihugheallh com
     ATTORNEY FOR (Name): In Pro Per;



  SACRAIVIENTO COUNTY SUPERIOR COURT
          STREETADDRESS: 3341 POWER INN ROAD
         MAILING ADDRESS-

        CITY AND ZIP CODE: SACRAMENTO, CA 95826
             BRANCH NAME:

      PLAINTIFF: ADAM JOHN MACINTOSH                                                                          CASE NUMBER:


   DEFENDANT: LYFT, INC., et al.                                                                              34-2019-00261236-CU-BC-GD

                                                                                                              Ref. No. or File No.:
                                        PROOF OF SERVICE OF SUMMONS

                                              (Separate proof of service is required foreach party sen/ed.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:

          Summons
          Complaint
          Alternative Dispute Resolution (ADR) package          .
   d. •   Civil Case Cover Sheet
   e. D Cross-complaint
   f. Lvj other (specify documents): Notice of Case Management Conference and Order to Appear; Immediate Relief and Gesture
          of Good Faith to Re-Engage in Settlement After Full Denial of Settlement by Defendnats; Program Case Notice; Ex Parte
          Application for Permanent Injunction
3. a. Party served (specify name of party as shown on documents served):
   BENCHMARK CAPITAL MANAGEMENT C O . Vll, L L C

          Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
          item 5b on w/hom substituted service was made) (specify name and relationship to the party named in item 3a):
        ANDY R A C H L E F F - CO-FOUNDER
4. Address where the party was served: 988 MARKET S T .
                                       SAN FRANCISCO, CA 94102
5. I served the party (check proper box)
   a.n    by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): (2) at (time):
              by substituted service. On fdate| 8/15/2019 at (f/frje| 4:05 PM I left the documents listed in item 2 with or
              in the presence of (name and title or relationship to person indicated in item 3b):
              TIMOTHY IVANOV - MANAGER / P E R S O N IN C H A R G E
                                   Age: 45-50 Weight: 220 Hair: Balding Sex: Male Height: 5'10" Eyes: Race: White
             (1)
                    (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                    person to be served. I informed him of her of the general nature of the papers.
             (2) EH (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                    abode of the party. I informed him or her of the general nature bf the papers.
             (3) CH (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                    address ofthe person to be served, other than a United States Postal Service post office box. I informed him of
                    her ofthe general nature of the papers.
             (4) EH I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at fhe
                    place where the copies were left (Code Civ. Proc, §415.20). I mailed the documents on
                    (date): from (city):                                                 or   a declaration of mailing is attached.
             (5)          attach a declaration of diligence stating actions taken first to attempt personal service.


                                                                                                                                                            Page 1 of 2
Form Approved for Mandatory Use                                                                                                        Code of Civil Procedure, § 417.10
Judicial Council of California                             PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                                   POS010-1/27955
Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 61 of 825




  • :i'.) iii,;q: = -^;: L n | ^ ! . - ; ^ ; ;


                                                 !   <J3,:\ v.-
         PETITIONER:       ADAM JOHN MACINTOSH                                                                      CASE NUMBER:
                     Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 62 of 825
                                                                                                                        34-2019-00261236-CU-BC-GD
      RESPONDENT:          LYFT, INC., el al.



    c. CH by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
          shown in item 4, by first-class mail, postage prepaid,
               (1) or\ (date):                                         (2) from (city):
               (3) CH with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc, § 415.30.)
          (4) 0   to an address outside California with return receipt requested. (Code Civ. Proc, § 415.40.)
    d. CH by other means (specify means of service and authorizing code section):


      •    Additional page describing service is attached.
    The "Notice to the Person Served" (on the summons) was completed as follows:

    a.n        as an individual defendant.
               as the person sued under the fictitious name of (specify):
    cD         as occupant.
    d.         On behalf of (specify): BENCHMARK CAPITAL MANAGEMENT C O . Vll, L L C
               under the following Code of Civil Procedure section:
                            •       416.10      (corporation)                       CH   415.95   (business organization, form unknown)
                            •       416.20      (defunct corporation)               •    416.60   (minor)
                                    416.30      (joint stock company/association)   D    416.70   (ward or conservatee)
                                    416.40      (association or partnership)        •    416.90   (authorized person)
                            •       416.50      (public entity)                     •    415.46   (occupant)
                                                                                    •    other:
    Person who served papers
    a. Name: Andy Esquer - S & R Services
    b Address: 903 Sneath Lane, Suite 227 San Bruno, CA 94066
    c. Telephone number: (650)794-1923.
    d. The fee for service was: $ 50.00
    e. I am:
         (1) ^ not a registered California process server.
         (2) _ ^ exempt from registration under Business and Professions Code section 22350(b).
         (3) 0 registered California process server:           ^
                (i) • owner              •   employee        H    independent contractor.
                (ii) Registration No.: 1009
                (iii) County: San Francisco

8         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct,
          or
9. CH I am a California sheriff or marshal and I certify that the foregoing is true and correct.


               Date: 8/19/2019
               S & R Services
               903 Sneath Lane, Suite 227
               San Bruno, CA 94066
               www.served-u.com




                                    Andy Esquer
                  (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [Rev January 1, 2007]                                                                                                                   Page 2 of 2
                                                             PROOF OF SERVICE OF SUMMONS
                                                                                                                                          POS-010/27955
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Stale Bar number, and address)                                                             FOR COURT USE OWLY
                 Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 63 of 825
  ADAM JOHN MACKINTOSH
  10923 PROGRESS CT. RANCHO CORDOVA, CA 95670
 TELEPHONE NO.: | FAX NO. | E-MAIL ADDRESS (Optional): legal@ihugheaUh.com
  ATTORNEY FOR (Name). In Pro Per:



 SACRAMENTO COUNTY SUPERIOR COURT
       STREETADDRESS 3341 POWER INN ROAD
      MAILINGADDRESS:

      CITY AND ZIP CODE: SACRAMENTO, CA 95826
          BRANCH NAME:

       PLAINTIFF/PETITIONER: ADAM JOHN MACINTOSH                                                              CASE NUMBER:

  DEFENDANT/RESPONDENT: LYFT, INC., etal.                                                                              34-2019-00261236-CU-BC-GD

                                                                                                              Ref No, or File No,:
                                  DECLARATION O F DILIGENCE

  I, Andy Esquer, declare: I am a Registered Process Server and was retained to serve process in the above-referenced matter on
  the following person or entity: BENCHMARK CAPITAL MANAGEMENT CO. VII, LLC as follows:
  Documents:
     Summons; Complaint; Alternative Dispute (ADR) package; Notice of Case Management Conference and Order to Appear; Immediate
     Relief and Gesture of Good Faith to Re-Engage in Settlement After Full Denial of Settlement by Defendnats; Program Case Notice; Ex
     Parte Application for Permanent Injunction;
  I attempted personal service on the following dates and times with the following results:


  Date                   Time                      Location                  Results

  8/13/2019              5:00 PM                                             NO ANSWER W H E N SECURITY CALLED UPSTAIRS. - Andy Esquer
                                                   Business                  988 MARKET ST., SAN FRANCISCO, CA 94102

  8/14/2019              7:50 AM                                             NO ANSWER WHEN SECURITY CALLED UPSTAIRS. - Andy Esquer
                                                   Business
                                                                             988 MARKET ST., SAN FRANCISCO, CA 94102

  8/15/2019             4:05 PM                                              SUBSTITUTED SERVICE on: BENCHMARK CAPITAL
                                                   Business                  MANAGEMENT CO. Vll, LLC; 988 MARKET ST., SAN FRANCISCO,
                                                                             CA 94102; by serving: TIMOTHY IVANOV - MANAGER / PERSON IN
                                                                             CHARGE, White Male 45-50 220 Balding 5'10".




Fee for Service: $ 50.00
        County: San Francisco
        Registration No.: 1009                                                         I declare under penalty of perjury that the foregoing is true
        S & R Services                                                                 and cori-ect and that this declaration was executed on
        903 Sneath Lane, Suite 227                                                     August 19, 2019.
        San Bruno, CA 94066
        (650) 794-1923

                                                                                       Signature:


                                               AFFIDAVIT OF R E A S O N A B L E DILIGENCE
                                                                                                                                                      Order*: 27955
                                               S & R Services
       Case 2:19-cv-01849-MCE-KJN  Document
                             903 Sneath Lane, 1-2
                                              SuiteFiled
                                                    227 09/13/19 Page 64 of 825
                                          San Brano, CA 94066
                          Phone: (650) 794-1923             Fax: (650) 989-4182

                                   Continued from Proof of Service

          CLIENT     ADAM JOHN MACKINTOSH
   CLIENT FILE #                                                                      DATE: August 19, 2019
        SUBJECT      BENCHMARK CAPITAL MANAGEMENT CO. Vll, LLC
         SERVED      TIMOTHY IVANOV - MANAGER / PERSON IN CHARGE
Siliiunons; Complaint:; Al-terna-tive D i s p u t e (ADR) package; N o t i c e o f
Case Management Conference and Order t o Appear; Immediate R e l i e f and
G e s t u r e o f Good F a i t h t o Re-Engage i n S e t t l e m e n t A f t e r F u l l D e n i a l
o f S e t t l e m e n t b y D e f e n d n a t s ; Program Case N o t i c e ; Ex P a r t e
A p p l i c a t i o n f o r Permanent I n j u n c t i o n ;




                    S & R Services | 903 Sneath Lane, Suite 227 | San Bruno, CA 94066 j 6507941923
                                                                                                                                                            P0S-Q1Q
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Stale Bar number, and address)                                                         FOR COURT USE ONLY

                      Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 65 of 825
    ADAM JOHN MACKINTOSH
    10923 PROGRESS CT. RANCHO CORDOVA, CA 95670
   TELEPHONE NO : | FAX NO. | E-MAIL ADDRESS (Optional): legal@ihugheallh.com
     ATTORNEY FOR (Name): In Pro Per;


  SACRAMENTO COUNTY SUPERIOR COURT
           STREET ADDRESS;     3341 POWER INN ROAD
          MAILING ADDRESS

          CITY AND ZIP CODE:   SACRAMENTO, CA 95826
              BRANCH NAME:

      PLAINTIFF: ADAM JOHN MACINTOSH                                                                           CASE NUMBER:


   DEFENDANT: LYFT, INC., et al.                                                                               34-2019-00261236-CU-BC-GD

                                                                                                               Ref. No. or File No.:
                                        PROOF OF SERVICE OF SUMMONS

                                              (Separate proof of service is required for each party sen/ed.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. 1 served copies of;

    a.         Summons
    b.         Complaint
    c.         Alternative Dispute Resolution (ADR) package
    d. •       Civil Case Cover Sheet
    e. D       Cross-complaint
   f- 0 ^ Other (specify documents): Notice of Case Management Conference and Order to Appear; Immediate Relief and Gesture
          of Good Faith to Re-Engage in Settlement After Full Denial of Settlement by Defendnats; Program Case Notice; Ex Parte
          Application for Permanent Injunction
3. a. Party served (specify name of party as shown on documents sen/ed):
   BENCHMARK CAPITAL P A R T N E R S Vll, LP

          Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
          item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
        ANDY R A C H L E F F - C O - F O U N D E R
4. Address where the party was served: 988 MARKET S T .
                                       SAN FRANCISCO, CA 94102
5. I served the party (check proper box)
    a.n       by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
              receive service of process for the party (1) on (date): (2) at (time):
              by substituted service. On Cda/el 8/15/2019 at (time): 4:05 PtA I left the documents listed in item 2 with or
              in the presence of (name and title or relationship to person indicated in item 3b):
              TIMOTHY IVANOV - MANAGER / P E R S O N IN C H A R G E
                                   Age: 45-50 Weight: 220 Hair: Balding Sex: Male Height: 5'10" Eyes: Race: White
              (1)       (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
              (2) CH (home) a competent member ofthe household (at least 18 years of age) at the dwelling house or usual place of
                     abode of the party. I informed him or her of the general nature of the papers.
              (3) Q     (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address ofthe person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.
              (4) CH I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                     place where the copies were left (Code Civ. Proc, §415.20). I mailed the documents on
                     (dafe;.- from (city):                                                or 0 ^ a declaration of mailing is attached.
              (5)0"     I aftach a declaration of diligence stating actions taken first to attempt personal service.


                                                                                                                                                             Page 1 of 2
Form Approved for Mandatory Use                                                                                                         Code of Civil Procedure. § 417.10
Judicial Council of California                              PROOF OF SERVICE OF SUMMONS
POS-010 |Rev. January 1. 2007)                                                                                                                    POS010-1/27956
        PETITIONER: ADAM JOHN MACINTOSH                                                                    CASE NUMBER:
                    Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 66 of 825
                                                                                                               34-2019-00261236-CU-BC-GD
      RESPONDENT: LYFT, INC., et ai.


    c. CH by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to thie party, to the address
          shown in item 4, by first-class mail, postage prepaid,
              (1) on (cfafe;.-                                        (2) from (city):
              (3) CI1 with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                      (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc, § 415.30.)
           (4) 0 to an address outside California with return receipt requested. (Code Civ. Proc, § 415.40.)
    d. CH . by other means (specify means of sen/ice and authonzing code section):


      CH Additional page describing service is attached.
    The "Notice to the Person Served" (on the summons) was completed as follows:

    a. D as an individual defendant.
    b. D as the person sued under the fictitious name of (specify):
         as occupant.
    d. W On behalf of (specify): BENCHMARK CAPITAL MANAGEMENT C O . Vll, L L C
         under the following Code of Civil Procedure section:
                           •    416.10   (corporation)                          415.95 (business organization, form unknown)
                           •    416.20   (defunct corporation)               •  416.60 (minor)
                                416.30   (joint stock company/association)   CH 416.70 (ward or conservatee)
                                416.40   (association or partnership)        CH 416.90 (authorized person)
                                416.50   (public entity)                     •  415.46 (occupant)
                                                                             •   other:
7. Person who served papers
   a. Name: Andy Esquer - S & R Services
   b. Address: 903 Sneath Lane, Suite 227 San Bruno, CA 94066
   c. Telephone number: (650) 794-1923, ;.
   d. The fee for service was: $ 40.00
   e. I am:

        (1)        not a registered California process server.
                   exempt from registration under Business and Professions Code section 22350(b).
        (3) [ l i registered California process server:
                 (i) • owner               •     employee            independent contractor.
                 (ii) Registration No.: 1009
                 (iii) County: San Francisco

8         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct,
         or
9. CH I am a California sheriff or marshal and I certify that the foregoing is true and correct.


              Date: 8/19/2019
              S & R Services
              903 Sneath Lane, Suite 227
              San Bruno, CA 94066
              www.served-u.com




                                Andy Esquer
                 (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [Rev January 1, 2007]                                                                                                          Page 2 of 2
                                                      PROOF OF SERVICE OF SUMMONS
                                                                                                                                 POS-010/27956
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Stale Bar number, and address)                                                          FOR COURT USE ONLY
                  Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 67 of 825
   ADAM JOHN MACKINTOSH
   10923 PROGRESS CT. RANCHO CORDOVA, CA 95670
  TELEPHONE NO.: | FAX NO. | E-MAIL ADDRESS (Optional): legal@ihughealth.com
   ATTORNEY FOR (Wamel In Pro Per.



 SACRAMENTO COUNTY SUPERIOR COURT
        STREETADDRESS: 3341 POWER INN ROAD
       MAILING ADDRESS:

       CITY AND ZIP CODE: SACRAMENTO, CA 95826
           BRANCH NAME:

        PLAINTIFF/PETITIONER: ADAM JOHN MACINTOSH                                                               CASE NUMBER:

   DEFENDANT/RESPONDENT: LYFT, INC., etal.                                                                               34-2019-00261236-CU-BC-GD

                                                                                                                Ref. No or File No.:
                                   DECLARATION O F DILIGENCE

   I, Andy Esquer, declare: I am a Registered Process Server and was retained to serve process in the above-referenced matter on
   fhe following person or entity: BENCHMARK CAPITAL PARTNERS Vll, LP as follows:
   Documents:
     Summons; Complaint; Alternative Dispute (ADR) package; Notice of Case Management Conference and Order to Appear; Immediate
     Relief and Gesture of Good Faith to Re-Engage in Settlement After Full Denial of Settlement by Defendnats; Program Case Notice; Ex
     Parte Application for Permanent Injunction;
   I attempted personal service on the following dates and times with the following results:


   Date                   Time                       Location                  Results

   8/13/2019              5:00 PM                                              NO ANSWER W H E N SECURITY CALLED UPSTAIRS. - Andy Esquer
                                                     Business
                                                                               988 MARKET ST., SAN FRANCISCO, CA 94102

   8/14/2019              7:50 AM                                              NO ANSWER WHEN SECURITY CALLED UPSTAIRS. - Andy Esquer
                                                     Business
                                                                               988 MARKET ST., SAN FRANCISCO, CA 94102

   8/15/2019             4:05 PM                                               SUBSTITUTED SERVICE on: BENCHMARK CAPITAL PARTNERS
                                                    Business                   Vll, LP; 988 MARKET ST., SAN FRANCISCO, CA 94102; by serving:
                                                                               TIMOTHY IVANOV - MANAGER / PERSON IN CHARGE, White Male
                                                                               45-50 220 Balding 5'10".




Fee for Service: $ 40.00
        County: San Francisco
        Registration No.: 1009                                                           I declare under penalty of perjury that the foregoing is true
        S & R Services                                                                   and correct and that this declaration was executed on
        903 Sneath Lane, Suite 227                                                       August 19, 2019.
        San Bruno, CA 94066
        (650) 794-1923

                                                                                         Signature:


                                                AFFIDAVIT OF R E A S O N A B L E DILIGENCE
                                                                                                                                                    Order*; 27956
                                               S & R Services
       Case 2:19-cv-01849-MCE-KJN  Document
                             903 Sneath kane, 1-2
                                              SuiteFiled
                                                    227 09/13/19 Page 68 of 825
                                          San Bruno, CA 94066
                          Phone: (650) 794-1923             Fax: (650) 989-4182

                                   Continued from Proof of Service

          CLIENT     ADAM JOHN MACKINTOSH
   CLIENT FILE #                                                                      DATE: August 19, 2019
        SUBJECT      BENCHMARK CAPITAL PARTNERS VII, LP
         SERVED      TIMOTHY IVANOV - MANAGER / PERSON IN CHARGE
Summons; C o m p l a i n t ; A l t e r n a t i v e D i s p u t e (ADR) package; N o t i c e o f
Case Management Conference and Order t o Appear; Immediate R e l i e f and
G e s t u r e o f Good F a i t h t o Re-Engage i n S e t t l e m e n t A f t e r F u l l D e n i a l
o f S e t t l e m e n t b y D e f e n d n a t s ; Program Case N o t i c e ; Ex P a r t e
A p p l i c a t i o n f o r Permanent I n j u n c t i b n . ;




                    S & R Services j 903 Sneath Lane, Suite 227 j San Bruno, CA 94066 j 6507941923
                                                                                                                                                          POS-01 q
                      Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name. Sfafe Barnumber and address)          69USEofONLY
                                                                                OURT       825
    ADAM JOHN MACKINTOSH
    10923 PROGRESS CT. RANCHO CORDOVA, CA 95670
   TELEPHONE NO.: I FAX NO. j E-MAIL ADDRESS fOptlona/J legallgihugheallh.com
    ATTORNEY FOR (NameJ: In Pro Per.



  SACRAMENTO COUNTY SUPERIOR COURT
           STREET ADDRESS: 3341 POWER INN ROAD
           MAILING ADDRESS

          CITY AND ZIP CODE. SACRAMENTO, CA 95826
              BRANCH NAME:

         PLAINTIFF: ADAM JOHN MACINTOSH                                                                       CASE NUMBER:

   DEFENDANT: LYFT, INC., et al.                                                                              34-2019-00261236-CU-BC-GD

                                                                                                              Ref. No. or File No.:
                                       PROOF OF SERVICE OF SUMMONS

                                              (Separate proof of sen/ice is required foreach party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. 1 served copies of.

              Summons
    b. 0 ^ Complaint
    c. bo     Alternative Dispute Resolution (ADR) package
    d. •      Civil Case Cover Sheet
    e. n      Cross-complaint
    f'    other (specify documents): Notice of Case Management Conference and Order to Appear; Immediate Relief and Gesture
          of Good Faith to Re-Engage in Settlement After Full Denial of Settlement by Defendnats; Program Case Notice; Ex Parte
          Application for Permanent Injunction
3. a. Party sen/ed (specify name of party as shown on documents sen/ed):
    IMATT COHLER
    b.n       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
              item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
4. Address where the party was served: 988 MARKET ST.   . .
                                       SAN FRANCISCO, CA 94102
5. I served the party fcA?ec/( proper ftoxj
   a.D by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to .
          receive service of process for the party (1) on (date): (2) at (time):
              by substituted service. On fda^e;. 8/15/2019 at (time): A:OSPN\ I left the documents listed in item 2 with or
              in the presence of (name and title or relationship to person indicated in item 3b):
              TIMOTHY IVANOV - MANAGER / PERSON IN CHARGE
                                   Age: 45-50 Weight: 220 Hair: Balding Sex: lUale Height: 5'10" Eyes: Race: White
             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I infonned him of her of the general nature of the papers.
             (2) r n (iiomie) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                     abode of the party. I informed him or her of the general nature of the papers.
             (3) n (physical address unltnown) a person at least 18 years of age apparently in charge at the usual mailing
                     address ofthe person to be served, other than a United States Postal Service post office box. I informed him of
                     her of the general nature of the papers.
             (4) [U I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                     place where the copies were left (Code Civ. Proc, §415.20). I mailed the documents on
                     (date): frorr\ (city):                                              or    a declaration of mailing is attached.
             (5)        I attach a declaration of diligence stating actions'taken first to attempt personal service.



                                                                                                                                                           Page 1 of 2
Form Approved for Mandatory Use                                                                                                       Code of Civil Procedure, § 417.10
Judicial Council of Californta                              PROOF OF SERVICE OF SUIMIMONS
POS-010 [Reu. January 1, 2007]                                                                                                                  POS010-1/27957
                      Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19
         PETITIONER: ADAM JOHN MACINTOSH                                      Page 70 of 825
                                                                        CASE NUMBER:




                                                               ..                                    "• • •
                                                                                                                      34-2019-00261236-CU-BC-GD
      RESPONDENT: LYFT, INC., et al.


    c. EH by mail and acltnowiedgment of receipt of service. I mailed the documents listed in Item 2 to the party, to the address
          shown in item 4, by first-class mail, postage prepaid,
                (1)onfda/e;.-                                                     (2) from (city):   ••
                (3) [Z1 with two copies of the Notice and Acknowledgment of Receipt ahd a pbstage-pald return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc, § 415.30.)
                (4) 1111 to an address outside California with return receipt requested. (Code Civ. Proc, § 415.40.)
    d. CH by otiier means (specify means of sen/ice and authorizing code section):



     •    Additional page describing service is attached.
6. The "Notice to the Person Served" (on the summons) was completed as follows:

                as an individual defendant.
    b.D         as the person sued under the fictitious name of (specify):
                as occupant.
    d.n         On behalf of Cspec//y);
                under the follovinng Code of Civil Procedure section:
                           •     416.10   (corporation)                       •        415.95   (business organization, form unknown)
                           r~l   416.20   (defunct corporation)               •        416.60   (minor)
                           I I   416.30   (joint stock company/association)   •        416.70   (ward or conservatee)
                           I I   416.40   (association or partnership)        I I      416.90   (authorized person)
                           •     416.50   (public entity)                     D        415.46   (occupant)
                                                                              •        other:

7. Person who served papers
   a. Name: Andy E s q u e r - S & R S e r v i c e s
   b. Address: 903 S n e a t h L a n e , Suite 227 S a n B r u n o , C A 94066
   c Telephone number: (650)794-1923
   d. Tlie fee for service was: $ 30.00
   e. I am:

         (1)        not a registered California process server.
         (2)        exempt from registration under Business qnd Professions Code section 22350(b).
         (3)        registered California prpeess server:          ^
                  (i) •    owner            •     employee      13 independent contractor.
                  (II) Registration No.: 1009
                  (ill) County: San Francisco

  .[Vf
8. LU i declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct,
          or
P r~1 i am a California slieriff or marsiiai and I certify that the foregoing Is true and correct.



               Date: 8/19/2019
               S & R Services
               903 S n e a t h L a n e , Suite 227
               S a n B r u n o , C A 94066
               www.served-u.com




                                 Andy Esquer
                   (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-OIO [Rev January 1, 2007]                                                                                                                 Page 2 of 2
                                                       PROOF OF SERVICE OF SUiVllVlONS
                                                                                                                                        POS-010/27957
                    Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page
  ATTORNEY OR PARTY WITHOUT ATTORNEY fWame, Sfafe Barnumber. and address)          71USEofONLY
                                                                            FOR COURT       825
    ADAM JOHN MACKINTOSH
    10923 PROGRESS CT. RANCHO CORDOVA, CA 95670
   TELEPHONE NO.: | FAX NO. | E-MAIL ADDRESS (Optional): legal@ihugheallh.com
    ATTORNEY FOR (Name): In Pro Per:


  SACRAIVIENTO COUNTY SUPERiOR COURT
        STREETADDRESS 3341 POWER INN ROAD
        MAILING ADDRESS:
       CITY AND ZIP CODE: SACRAMENTO. CA 95826
            BRANCH NAME:

        PLAINTIFF/PETITIONER: ADAM JOHN MACINTOSH                                                                 CASE NUMBER'

    DEFENDANT/RESPONDENT: LYFT, INC., et al.                                                                                34-2019-00261236-CU-BC-GD

                                                                                                                  Ref. No. or File No.:
                                    DECLARATION OF DILIGENCE
    I, Andy Esquer, declare: I am a Registered Process Server and was retained to serve process in the above-referenced matter on
    the following person or entity: MATT COHLER as follows:
    Documents:
       Summons; Complaint; Alternative Dispute (ADR) package; Notice of Case. Management Conference and Order to Appear; Immediate
       Relief and Gesture of Good Faith to Re-Engage in Settlemerit After Full Denial of Settlement by Defendnats; Program Case Notice; Ex
       Parte Application for Permanent Injunction;
    I attempted personal service on the following dates and times with the following results:


    Date                   Time                       Location                  Results

    8/13/2019              5:00 PM                                              NO ANSWER WHEN SECURITY CALLED UPSTAIRS. Andy Esquer
                                                      Business
                                                                                988 MARKET ST., SAN FRANCISCO, CA 94102

    8/14/2019             7:50 AM                                               NO ANSWER WHEN SECURITY CALLED UPSTAIRS. - Andy Esquer
                                                      Business
                                                                                988 MARKET ST., SAN FRANCISCO, CA 94102

   8/15/2019              4:05 PM                                               SUBSTITUTED SERVICE on: MATT COHLER; 988 MARKET ST.,
                                                      Business                  SAN FRANCISCO, CA 94102; by serving: TIMOTHY IVANOV-
                                                                                MANAGER / PERSON IN CHARGE, White Male 45-50 220 Balding
                                                                                5'10".




      ' R E S I D E N C E A D D R E S S IS UNKNOWN*




 Fee for Service: $ 30.00
^.pi       County: San Francisco
- f i i '. Registration No.: 1009                                                         I declare under penalty of perjury tliat the foregoing is true
           S & R Services                                                                 and correct and that tl>e^eclaration was executed on
           903 Sneath Lane, Suite 227                                                     August 19, 2019.
           San Bruno, CA 94066
           (650) 794-1923

                                                                                          Signature


                                                 AFFIDAVIT O F R E A S O N A B L E D I L I G E N C E
                                                                                                                                                 Order#: 279S7
                                                S & R Services
        Case 2:19-cv-01849-MCE-KJN  Document
                              903 Sneath Lane, 1-2
                                               SuiteFiled
                                                     227 09/13/19 Page 72 of 825
                                           San Brunb.^CA 94066
                           Phone: (650) 794-1923              Fax: (650) 989-4182

                                    Continued from Proof of Service

           CLIENT     ADAM JOHN MACKINTOSH
   CLIENT FILE #                                                                       DATE: August 19, 2019

        SUBJECT       MATT COHLER
          SERVED      TIMOTHY IVANOV - MANAGER / PERSON IN CHARGE
Siimiaons; C o m p l a i n t ; A l t e r n a t i v e D i s p u t e (ADR) p a c k a g e ; N o t i c e o f
C a s e Management C o n f e r e n c e and O r d e r t o A p p e a r ; I m m e d i a t e R e l i e f a n d
G e s t u r e o f Good F a i t h t o Re-Engage i n S e t t l e m e n t A f t e r F u l l D e n i a l
o f S e t t l e m e n t by D e f e n d n a t s ; Program C a s e N o t i c e ; E x P a r t e
A p p l i c a t i o n f o r Permanent I n j u n c t i o n ; .                                .




                     S & R Services j 903 Sneath Lane, Suite 227 j San Bruno, CA 94066 j 6507941923
             Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 73 of 825
ATTORNEY OR PAATV WITHOUT ATTOimt (moa, Saia Barmmter. antfadttaso)                                                  fan COUKT use o>e.Y
  ADAM JOHN MAa<INTOSH
  10923 PROGRESS CT. RANCHO COROOVA. CA 99670
  TELEPHONE NO.: (FAXNO. | E-MAIL AUMESS (Qpltoi#b|)aieiliii«IMW;Cain
   ATTOWtev FOR (NMB^ In Pra to-


 SACiVMENTO COUNTY SUPERIOR COURT
        STREET AOMESS 3341 POWER INN ROAO
       WAIUNO AOORESS
       CITV AND ap COK SACRAMENTO, CA 95826
            BRANCHNAME

     PLAINTIFF: AOAM JOHN MAONTOSH                                                                   CASENUMBER
  DEFENDANT: LYFT. INC„ 6t ai.                                                                       34^01M)0261238^U4C-GD

                                                                                                     Raf.Na.gf FSSNDI
                                  PROOF OP SERViCE OP SUMMONS

                                         (S^pavile pmof of senrice Is required foreach party sen/ed.)
1. At the (ime of service I was at least 18 years of age and not a party to this action.
2. Isaivedcof^of.

   a. Gar Summons
   b. M   Complaint
   c m    AHemative Dispute Resolution (AOR) package
   d O    CivH Casa Cover Slieet
          Cross-ccanplalnt
   r. S i other (specify <toamenls): NeUe* of C O M Maiwgommt Confersnea and Order to Appear; Immediate RsIM and Oasture
          of Good Fattli te Re^Engage In SetUefliant Altar FuB Oontel ef Setdement by Oalendnats; Pioflram Case Noliee; E« Parte
          AppUeadon fw Permanent Injunctfam
3. a. Party seived ^specflyrterm o/part/as sfwvm on (tocumOTls servecQ:
   LYFT, INC.
            Person (other than tha party in item 3a) seived on behalf of an entity or as an authorizoi agent (aiKi not a pereon under
            item 5b on whom substituted seivto was made) (spacHjr name and n l a t k x n ^ to Ihe party nemed tt item 3a):
       A L B E R T DAMONTE - S O P INTAKE S P E C I A U S T
                                 Age: Z7 Vlto^t: 170 Hrtr. Brown Sea: Mala Halglit: 6 ^ etmt Race: HIspanle
A. Address whena the party was served: C T CORPORATION S Y S T S M • R E G I S T E R E D A G E N T
                                       8ieW7tliSt#930
                                       L O S A N G E L E S , C A 90017
5. i ^nmd the party fcfieciit/mipertox;
   a. a s by personal service, i personally delivered the documents listed in item 2 to the party w person authorized to
          receive service of process for the party (1) on fdafe); 8/14/2019 (2) at fttnej: 1.*S7 PM
   b. D fay substituted service. On (date): at ^irne): I left the dcsuments listed in item 2            or
          in the presence of (name amftitfsor talaUm^ilp to peison ImScatBd in Item 3b):
            (1) C l (business) a person at least 18 years of age apparortly in charge at the ofRce or usual place of business of the
                    person to be served, i informed him of her of Hie ^neral nature of the papers.
            (2) D     (home) a oxnpeient member of the household (at least 18 years of age) at the dwalGng house or usual piaoe of
                      abode of the party, i infonned him or her of the general nature of the papers.
            (3) D     (physical address unlaiown) a person et least 18 yeare of age apparently in charge at the usual maiSng
                      adctoess of the person to be senred, ottier than a United States Postal Seivlce post office box. I infbrmed Mm of
                      her of the general nature of the papers.
            (4) O     I thereafter maUed (by first-dass, pi»tage prepaki) copies of the documents to the person to be served at the
                      place where the coi^es weretefl(Cote C^v. Proc.. §41 S.20). I mailed the dooimenls on
                      ^ofafs;.- fromfcifj^J;                                             o r Q a dedaration of mailing is attached.
                      I attach a declaration of dliigence stating actions taken firet to attempt personal senrice.



Form Appimsd ter Mmtfattf) U M                                                                                            Ca«i ot CM Pneadun, t « r . i a
JuOicitl Caiad) nt CitfoM*                            PROOF OF SERViCE OP SUMMONS
POS410 (RM, Jmuqr I, MOr|                                                                                                          posoio-iomi
          Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 74 of 825
     PEnnONER: ADAUJOHNtUCINTOSH                                                                     CASENUMBER:

                                                                                                         34-20194)028123Mti-B&OD
   RESPONDENT: lYFT.iNCaiA


  aD     by nuD and admowladgment of receipt of service. 1 malted the documents listed in Hem 2 to the party, io the address
         shown in item 4, byfirst-dassmail, postage prepaid,
         (1) on Cefafe;.-                                        (2) fnm (dty):
         (3)D with two copies of the Atofitoam/Adknowfed^rnsnro/Receipf and a postage-pafairetumenvelope addre^^
                (AttaOt c«iv>teted Notice and Acknowledgement of Receipt) (C<Kie Civ. Proc., § 415.30.)
         {4)0
                to an address outskle Califomia with retumreoeiptrequested. (Code Civ. Proc., § 415.40.)
  d. D    by other means (i^tedlif means of service and eiOhoilzIng code secern):'

     Q AddHionai page describins service is attached.
6. The "l>lotice to the Person Served" (on the summons) was completed as follows:
  a. D   as an indivMuai defendant
  b. D   as the person sued under thefictitiousname of (specify):
  e.D    as occupant
  d. m   On behalf of (specify): LYFT, INd.
         under the following Code of Civil Procedure section:
                   ^     416.10 (coiponatfon)                    O        415.95 (business organization, fbrm unknown)
                   D 416.20 (defund corporation)                 •        416.60 (minor)
                   •     416.30 (joint stock cwnpany/assodation) •        416.70 (ward or conservatee)
                   •     416.40 (association or partnership)      •       416.90 (authorized person)
                   •     416.50 (public entity)                  D        415.46 (occupant)
                                                                 •        ottwn
7. Pereon who served papers
   a. Name: JOSE JUAN SORIANO • S & R Services
   b. Address: 903 Sneath Lane, Suite 227 San Bruno, CA 94066
   c Telephone number. (650) 794*1923
   d. The fee for sereice was: $ 60.00
   e. lam:
      (1)     not aregisteredCaHlbmia process server.
      (2)     exempt from regi^tfon under Business and Professions Code section 22350(b).
      (3)lz] rMtetered Califbmia profiess server
            (i) D owner             D en^loyee               independent contractor.
            (ii) Registration No.: ^4182718
            (Hi) County: LOS ANQELES
8. (Zf i declare uraJer penalty of peifuiy under the laws of ttie State of (Alifornia that thaforegoingis tnie and correct
       or
9. D i am a Califomia sheriff or marehal arid 1 certify that the foregoing is irue and correct


         Date: 8/16^019
         S & R Services
         903 Sneatti Lane, Suits 227
         San Bruno, CA 94068
         wvvw.8erved-u.com




                     JOSE JUAN SQRiAWO
             (NAUE OF PERSON WHO SERVCD PAPERSOMERIFP OR HARSMAI4



POS4lO|R*vJ«ua/yt.n07|                                                                                                             Pogojof}
                                                PROOF OP SERViCE OF SUMMONS
                                                                                                                             PO8410n7921
                   Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 75 of 825 PQS-Q1P
 ATTORNEY OR PARTY VmHOUT ATTORNar (Harm, SWe Bar number, and addrass)                                                            FOR COURT USE ONLY


    ADAM JOHN MACKINTOSH
    10923 PROGRESS CT. RANCHO CORDOVA, CA 95670
   TELEPHONENO.: | FAX NO. | E-«MIL ADDRESS (Opliiuu«|'lesal@mughealltt.oan
    ATTORNEY FOR (Ham): In Pro Per
                                                                                                          FILED/ENDORSED
  SACRAMENTO COUNTY SUPERIOR COURT                                                                                         SEP - 6 2019
           STREETADDRESS: 3341 POWER       INN ROAD
         MAILING ADDRESS:                                                                                                     R San MlQuel
        CITY AND ZIP COOE: SACRAtMENTO. CA       95826
                                                                                                          By:.                 Deputy Clerk
             BRANCHNAME:

      PLAINTIFF: AOAM JOHN MACINTOSH                                                                          CASE NUMBER:

   DEFENDANT: LYFT, INC.. et al.                                                                              34-201»«0261236-CU-BC-GD

                                                                                                              Ref. No. or File No.:
                                     PROOF OF SERVICE OF SUMMONS

                                             (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:

              Summons
    b. H      Complaint
    c. [ v ] AKemative Dispute Resolution (ADR) package
    d. n      Civil Case Cover Sheet
    e. n      Cross-complaint
   f. b a other (spedty docurrtents): Notice of Case Management Conference and Order to Appear; Immediate Relief and Gesture
          of Good Faith to R e ^ g a g e in Settlement After Full Denial of Settlement tiy Defendnale; Program Caee Notice; Ex Parte
          Application lor Permanent Injunction
3. a. Party served (specify name of party as shown on documents servert):
   UBER HEALTH LLC

          Person (other than the party in Item 3a) served on behalf of an entity or as an authorized agent (and not a person under
          item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
        DARA KHOSROWSHAHI - C E O
4. Address where the party was served: 1455 MARKET ST., MOO
                                       SAN FRANCISCO, CA 94103
5. I served the party (check proper box)
    a. D     by pereonal service. I personally delivered the documents listed in item 2 to the party or person authorized to
             receive service of process for the party (1) on (date): (2) at (time):
    b. \ ^ by substituted service. On (date;. 8/27/2019 at (time): 11:20 AM I left the documents listed in item 2 with or
           in the presence of (name and title or relationship to person indicated in item 3b):
              "JOHN DOE" (refusedtogive name) • SECURITY / PERSON IN CHARGE
                                  Age: S0-5S Weight 130 Hair Blacli Sex: Male Height: S'4" Eyes: Glasses Race: Phlliplno
             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
             (2) D      (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I infoirmed him or her of the general nature of the papers.
             (3) [ H (physical address unknown) a person at least 18 years of age apparently In charge at the usual mailing
                     address of the person to be served, other than a United States Postal Senrice post office box. I informed him of
                     her of the general nature of the pairars.
             (4) Q      I thereafter mailed (by first-dass, postage prepaid) copies of the documents to the person to be served at the
                        place where the oopies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): lTom(clty):                                                 or    a declaration of mailing is attached.
             (5)        I attach a declaration of diligence stating actions taken first to attempt personal sennce.


                                                                                                                                                             Page1of2
Form Approved for Mandatoiy Use                                                                                                        Code of civil PreceduiB. §417.10
JuOiaal Council of Calitomia                              PROOF OF SERVICE OF SUMMONS                                                            POS010-1/279S3
P0S.010[Rev. Januaiy 1,2007]
                Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 76 of 825
         PETITIONER: ADAM JOHN MACINTOSH                                                              CASE NUMBER:

                                                                                                          34-2019-00261236-CU-BC-GD
      RESPONDENT: LYFT, INC . at ai


    c. cn by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
          shown in item 4, byfirst-dassmail, postage prepaid,
             (1) on (date):                                         (2) from (city):
             (3) cn with two copies of the Notice and Acknowledgment of Receipt and a postage-paid retum envelope addressed to me.
                     (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc, § 415.30.)
             (4) 0 to an address outside Califomia with retum receipt requested. (Code Civ. Proc., § 415.40.)
    d. D     by other means (specify means of sen/ice and authorizing code section):


     n    Additional page describing service is attached.
6. The "Notice to the Person Served" (on the summons) was completed as follows:
    a.D      as an individual defendant.
             as the person sued under thefictitiousname of (specify):
             as occuijant.
    d.       On behalf of (specify): UBER HEALTH L L C
             under the following Code of Civil Procedure section:
                          •   416.10 (corporatron)                           415.95 (business organization, fbrm unknown)
                          •   416.20 (defunct corporatkin)              •    416.60 (minor)
                              416.30 (joint stock company/assodation)   n    416.70 (ward or conservatee)
                              416.40 (assodation or partnership)        cn   416.90 (authorized person)
                              416.50 (public entity)                    D    415.46 (occupant)
                                                                        •    other
7. Person who served papers
   a. Name: Andy Esquer - S & R Services
   b. Address: 901 Sneath Lane, Suite 115 San Bruno, CA 94066
   c. Telephone number: (650)794-1923
   d. The fee for service was: $ 50.00
   e. I am:

         (1)     not a registered Califomia process server.
         (2)     exempt firom registration under Business and Professions Code section 22350(b).
         (3) Zi registered Califomia prpcjsss server:         _^                      '
               (i) • owner               •    employee        [ 3 independent contrador.
               (ii) Registration No.: 1009
               (iii) County: San Francisco

8. t n i declare under penalty of perjury under the laws of the State of Califomia that theforegoingis true and corred.
       or
9. D I am a Califbmia sheriff or marshal and I certify that the foregoing is true and coned.


            Date: 8I2BI20^9
            S & R Services
            901 Sneath Lane, Suite 115
            San Bruno, CA 94066
            www.served-u.coni



                              Andy Esquer
                (NAME OF PERSON WHO SERVED PAPERSSHERIFF OR MARSHAL)




PO&O10 (Rev Januafy 1.2007]                                                                                                      Page2of2
                                                   PROOF OF SERVICE OF SUMMONS
                                                                                                                            POS-010/27gS3
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 77 of 825
ATTORNEY OR PARTY WITWUT ATTORNEY (Natne, State 8ar number, end eddit^)                                                        FOR COUffTUSE OHLY

  ADAM JOHN MACKINTOSH
  10923 PROGRESS CT. RANCHO CORDOVA CA 95670
 TELEPHONENO.: (FAXNO. (E-MAIL ADDRESS fOoHDneO. lagal®lliughealth.coin
  ATTORNEY FOR (Mame). In Pn> Per


 SACRAMENTO COUNTY SUPERIOR COURT
       STREET ADDRESS: 3341    POWER INN ROAO
      MAILING ADDRESS:

     CITYANDZIPCODE: SACRAMENTO.           CA 95826
          BRANCHNAME:

       PLAINTIFF/PETITIONER: ADAM JOHN MACINTOSH                                                           CASE NUMBER:

  DEFENDANT/RESPONDENT: LYFT, INC., et al:                                                                           34-2019^261236-CU-6C-GD

                                                                                                           Raf. No. or File No.:
                                DECLARATION OF DILIGENCE
  I, Andy Esquer, declare: t am a Registered Process Server and was retained to sen/e process in the above-referenced matter on
  thefollowingperson or entity: UBER HEALTH LLC as follows:
  Documents:
     Summons; Complaint; Altamativa Dispute (AOR) package; Notice of Case Management Conference and Order to Appear; immediate
     Relief and Gesture of Good Faith to Reengage In Setttement After Full Denial of Settlenwnt liy Oefendnats; Program Case NoUce; Ex
     Parte Application tor Permanent injunction;
  I attempted personal service on thefollowingdates and times with thefollowingresults:

  Date                  Time                     Location                 Results
  8/15/2019              11:45 AM                Business                 PER SECURITY, UBER DOES NOT ACCEPT ANY LEGAL
                                                                          DOCUMENTS. STATED ALL LEGAL DOCUIMENTS FOR UBER
                                                                          GETS SERVED IN LOS ANGELES TO THEIR REGISTERED AGENT.
                                                                          - Andy Esquer
                                                                          1455 MARKET ST., #400, SAN FRANCISCO. CA 94103
  8/27/2010             11:20 AM                 Business                 DENIED ACCESS BY SECURITY. WOULD NOT CALL UPSTAIRS
                                                                          FOR ANYONE TO COME DOWN, STATED ALL LEGAL
                                                                          DOCUMENTS NEEDED TO BE SERVED TO THE REGISTERED
                                                                          AGENT. I WAS ADVISED TO DROP SERVE DOCUMENTS.
                                                                          SECURITY REFUSED TO GIVE HIS NAME, DOCUMENTS WERE
                                                                          DROP SERVED TO THE SECURITY, LEFT ON THE DESK IN HIS
                                                                          PRESENCE. - Andy Esquer
                                                                          1455 MARKET ST.. #400. SAN FRANCISCO, CA 94103
  8/27/2019             11:20 AM                 Business                 SUBSTITUTED SERVICE on: UBER HEALTH LLC; 1455 MARKET
                                                                          ST., #400, SAN FRANCISCO, CA 94103; by senring: "JOHN DOE"
                                                                          (refused to give name) - SECURITY / PERSON IN CHARGE, Philipino
                                                                          Male 50-55 130 Black 5'4" Glasses.




Fee fbr Service: $ 50.00
        County: San Francisco
        Registration No.: 1009                                                      I declare under penalty of perjury that the foregoing is true
        S & R Services                                                              and c o n ^ and that this deoiallation was executed on
        901 Sneath Lane, Suite 116                                                  August 28, 2019.
        San Bruno, CA 94066
        (650) 794-1923

                                                                                    Signature:


                                             AFFIDAVIT OF REASONABLE DILIGENCE
                                                                                                                                                Onter«:Z79S3
    Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 78 of 825
                                        S & R Services
                                 901 Sneath Lane, Suite 115
                                    San Bruno, CA 94066
                         Phone: (650) 794-1923 Fax: (650) 989-4182

                                  Continued from Proof of Service

        CLIENT     ADAM JOHN MACKINTOSH
  CLIENT FILE #:                                                                    DATE: August 28, 2019
      SUBJECT      UBER HEALTH LLC
       SERVED      "JOHN DOE" (refused to give name) - SECURITY / PERSON IN CHARGE
Summons; Complaint; Alternative Dispute (2U>R) package; Notice of
Case Hanagement Conference and Order to J^>pear; Imioediate R e l i e f and ^
Gesture of Good F a i t h to Re-Engage i n Settlement After F u l l Denial
of Settlement by Defendnats; Program Case Notice; Ex Parte
implication f o r Permanent Injunction;




                   S a R Services j 901 Sneath Lane, Suite 1161 San Bruno, CA 94iD86 j 6607941923
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 79 of 825
m<XmYaKP»«nwttiiOUTATtOMBf(Nami>.SaaBi>rniirl)ef.and0dit9si)                                               FORCOURTUSEOtaY

' AOAM JOHN MACKINTOSH
  10923 PROGi^SSCT. RANCHO CORDOVA. CAS5S70
 1Ct£PH0NEN0.' IFAXNa |E4IAILAOORESS|QplionB9eiBgalSI)iutMI«lic8<<i
                                                                                              FILED/ENDORSED
  ATTORf^V FOR (Harm), tn Pre Par


SACRAMENTO COUNTY SUPERIOR COURT
      snsst AOORESS 3341 POWER INN ROAO
      UMUNC ADDRESS                                                                           By:          R. San MlQuel
                                                                                                            Deputy Cierti
     CITYANDBPCOOE SACRAMENTO,CA95826
          BRANCH NAUe

    PLAINTIFF: ADAM ,K}HN MACINTOSH                                                           CAsemniBER
 DERENDANT: LYFT. INC. el d.                                                                  34>20194»26123S<:U-SC-QO

                                 PROOF OF SERVICE OF SUMMONS

                                    {Separate fUDoft^sanrice Is requted fa-each party served)
1. At Ihe time of service I was at least 16 years of age and not a party to this action.
2. I served copies of
         Summons
  fa. o r Complaint
   c . \ 3 Alternative Dispute Resolution (ADR) package
           OvU Case Cover Sheet
   e.a Ccoss-acunplalnt
   t m other fspecfly docimmts): Notice of Case Maflagemsnl Cenfannee and Onlw to Appear: Imniadlate Rellat and Oestum
           of Ooed Faitii te Re<Cngafle in Satthmient After Fun Denial ef SMIwrant iqr Oefendnats: Program Cass Notice: Es Parte
           Application for Permanent Injunction
3. a. Party served (spedty name ofpmty as shown on document served):
   UBCR TECHNOLOGIES, INC.
   b.Gar Person (other than Vna party in Item 3a) sened on behalf of an entity or as an authorized agent (and not a person under
         item Sb on vxhom substituted service was made) (specify name and rela&mhip to the party named in item 3a):
     ALBERT DAiMONTE • SOP INTAKE SPECiAUST
                             Age: 27 VltoIgM: 170 HalR Brawn Sex: Mala Height:  Eyes: Raee:Htopanle
A. Address where the party was sereed: CT CORPORATION SYSTEM • REGISTERED AGENT
                                      818 W 7th St #930
                                      LOS ANGELES, CA 90017
5. I served the party {ched< Drmer box)
   a. \xi by peisonal service. I personally delivsred the documentsfistedIn Sam 2 tottieparly or person authorized to
          receive service of process fbr the party (1) on (date): 8/1412019 (2) at ^ne): 1:57 PM
   b. D     by substitiited service. On (da^): at (Ume): I leR the documentsfotedIn item 2 witti or
           in the presence of (ntmaandWaa'rBiatonshiptoparstmlnac^edln&em 3b):
          (1) (Zi (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                  (wrson to be served, tinfomied him of her of the general nature of Hie papers.
          (2) D (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                  abode of the (»rty, I infomied him or her of the general nature ofttiepapers.
          (3) Q (physical address unknovm) a person at least 16 years of age apparently In diarge at the usual mMflng
                  address of the person to be served, ottier than a United States Postal Service post ofRce t>ox. I infomied him of
                  her ofttiegeneral nature ofttiepapers.
          (4) D I Uiereafter mailed (byfirst-dass,postage prepaid) e c ^ ^ ofttiedocuments tottieperson to be seived at the
                  place wherettiecopies were left (Code Qv. Proc., §415.20). I mailed the docunwnts on
                  (date): from (city):                                            or • a declaration of mailing is attached.
           (5) D    I attach a dedaiatkm of diligence slating actions taken first to ettempt personal sen^ice.


                                                                                                                                 Pi«»1ol2
Fonn Amowd lor UoMUe/y UM                                                                                         COM   CM Pncmlura, 1417.10
JudMMl CotfKd or CBfitorttt
P0S4<0 tR«. Janmy I. Klftr]
                                                      PROOF OF SERVICE OF SUMMONS                                           POS010-1/27932
              Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 80 of 825
       PETniONER: A0AMJ0l«IMAaNTO5M                                                                 CASE NUMBER:
                                                                                                       34-»l1»>(l0281236<CU4C4SO
     RESP<MDENT: uPT,iNC«ta


     c D     by mail and acknowledgment of receipt of servtes. I maltedttiedocuments listed in item 2 lo the patty, to the address
             shown in Item 4, byfirst-dassmail, postage piepaU.
          (^)m(date):                                             (2)»om (city):
          (3) 11] with two copies of ttie Afofceea/x/>1c^wM9'nen(o/Receipf and a postage^Mid return envetopeaddr^
                  (Attach cofltpfefed Nottoe and Acknowledgement of Receipt) (Cods Civ. Proc, § 41S.30.)
          (4) 0 to an address outskle CaSfomia urith retum receipt requested. (Code Civ. Proc., § 415.40.)
     d. Q t>y other means (^lacXy means ofsenrice and authai^ng code sectkm):


     •   Additional page d e s c i i l ^ service attached.
6. The "Notica to the Person Served" (on the summons) was conpleted as follows:
     a. D    as an individual deferKlanL
     b. C]   as Uw person sued under thefictitiousnama of (specify):
     c. O    as occupant
     d-      On behalf of (spedf^: UBER TECHNOLOGIES, INC.
             underttiefolkw^ngCode of Civil Procedure sectton:
                            416.10 (corporation)                 •   415.65 (business organization,fonnunknown)
                       •    416.20 (defunct
                                    (detowt ooipotaQon)            • 418.60 (minor)
                       Q 416.30 (joint stock company/assodation) Q 416.70 (wand or coriservatee)
                       Q 416.40 (assodation or partnership)      •   416.90 (auttiorized person)
                       •     416.50 (public entity)              •   415.46 (ocoipant)
                                                                 •   ottier.
7. Person who served papers
   a. Name: JOSE JUAN SORIANO - S & R Services
   b. Address: 903 Sneath Lane, Suite 227 San Bruno, CA 94066
     c. Telephone number (6S0) 794«1923
     d. The feeforservice was: $ 60.00
     e. lam:
        (1) - not a registered Califomia process server.
                   exempt frrni registtation under Budness and Professions Code section 223S>(b).
        ( 3 ) 1 ^ regjttered Califomia prgmss server.           _/
                 (i) • owner               • employee         I I I independent contractor.
                 (ii) Registration No.: 2014182718
                (iii) County: L0SAN<3a.ES

8.    I declare under penalty of perjury under the laws ofttieState of Cafifomiattiatttieforegdng is true and correct
      or
9. [D I am a Caflfomia sheriff or marshal and I certifyttiatttieforegoingIs true and correct


             Date: 8/16/:»19
             S & R Services
             903 Sneath Lane, Suits 227
             San Bruno. CA 9406S
             www.served-ii.com




                         JQ8B»>UAN8QRIANQ
                 <NAKE OF FERSOtt VAO SERVES PAf>ER£ISHeRIFF OR MAMSKMj



I>OS-010 [RmJai»iiiy 1.10971                                                                                                     P<ta2<>l2
                                                    PROOF OF SERVICE OF SUMMONS
                                                                                                                          POS.010f27932
               Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 81 of 825
                                                                                                                                  P084IH
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Mm, StBtt Barnuntat, «ntf adttsntl                                     fORCOURTUSEONLY

' ADAM JOHN MACKINTOSH
  10923 PROGRESS CT. RANCHO CORIX>VA. CA 95670
  TEL£PHONENO.: (FAXNO. |E4MLAOORESSrG|oagna().'laaattlliuahaMtLOMi
   ATTORNEY FOR ( U m ; : In Pre Pan
                                                                                              FILED/ENDORSED
 SACRAMENTO COUNTY SUPERIOR COURT                                                                      SEP - 6 2019
     STREET A00RE8& 3341 POWER INN ROAO
        MAIUNO ADDRESS:
        crrY AND ZIP CODE: SACRAMENTO, CA 95828
                                                                                             By:.           R. San Miguel
                                                                                                              Deputy Clark
           BRANCHNAME

     PLAINTIFF: AOAM JOHN MACINTOSH                                                           CASEKUMSER:

  DEFENDANT: LYFT, INC.. et aL                                                                34-201«4026123e<:U-BC-OO

                                                                                              Rar.NaorFMNa:
                                  PROOF OF SERVICE OF SUMMONS

                                         fSeparBte proof of servtee Is requted for each parfy served.)
1. At the time of servtoe I was at least 18 years of age and not a partytothis action.
2. I seived copies of
          Summons
          Complaint
   c m AftemativeDisputeResolulion(ADR)package
   d. n CivB Case Cover Sheet
   e. O CrossKXunplatnt
   f. m other (!^pec//y£fecum8n(s;: Nolle* of Case MtnagemomConfeiwice and Oidw to AppaanlmmedbMsRsaaf and Oettura
          «f Good Fami to R»€ngs8« In Solltoniam After FuD Denial ef Setllament by Dtfendnals; Pragnun C a ^
          Application for Pwnianont Itjunctlon
3. a. Party served (specify name of party as shown on documents ssrvec^:
   JERRYWANG
         Person (other than the party in Item 3a) served on behalf of an entity or es an authorized agent (and not a person under
         item 5b on whom substituted seivioe was made) (specify name and iBkO/onshlp to the paty named In item 3a):
A. Address where the party was sened: 682 MATEO STREET
                                      LOS ANGELES, CA 90013
5. Isereedtheparty Cc/ieckprpperiXMcJ
   a. D by personal aervlce. I personaDy delivered the documents listed in item 2 to the party or person authorized to
         receive senioe of prooMS for the party (1) on C((fato>):. (2)a/t0lrm):
   b.       by substitutsd service. On (itets;: WiaOOIS at ^me;.-10:30 AM lleft the documents listed In item 2 with or
            in the presence of (name and title or relattonship to person ImScatad In item 3b):
            "JOHN DOE" (refiised to ghw name) • MANAGER / PERSON IN CHARGE
                                 Aoo: 30% WMght 160 Hain Pfadc 8w: Mala tMght ri(r Eyas: Race: Whiti
           (1)     (buslnese) a person at leest ISyearsof age apparently In charge at the ofRoe or usual place of business of the
                   persontobe served. I infomied him of her of the general nature of the papers.
           (2) D (home) a competent member of the household (at least 18 yesra of age) at the dwelling house or usual place of
                   abode of the party. I tnfonnad him or her of the general nature of the papers.
           (3) D (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                   adAess of the persontobe served, other than a United States Postal Seivice post office box. I Infomied him of
                   her of the geneiai nature of the papers.
           (4) D I thereafter mailed (byfirst-dass,postage prepaM) oopies of the documents to the persontobe served at the
                   place where the copies were left (Code Civ. Proa, §415.20). I mailed the documents on
                   (date): fnm(cay):                                               or      a declaration of mkiling Is attached.
           (5) 12' I attach a deetaraHon of diligence stating actions takenfirsttoattempt personal service.



                                                                                                                                    P^1«t2
rwiu MBfovBo iDr iinnBBnnr                                                                                        Coda of C M PtecaAm, 1417.10
JudUdCounol c( Caawila
POSOlO ptw. jMury 1.20071
                                                      PROOF OF SERVICE OF SUMMONS                                            POS010-1/27938
                Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 82 of 825
       PETTTIONER; AOAMJOHN MACINTOSH                                                             CASE NUMBER:
                                                                                                    34-20194026123e«U4C-OD
    RESPONDENT: LYFT.wctid.

   C . D by man and acknowledgment ofreceiptof seivice. I mailed the documents listed in item 2tothe party,tothe address
         shown in item 4, byfirst-dassmail, p o s t ^ prepaM,
            (1) on (date):                                         (2) from (dty):
            {3)\3 wIthtwocoplMofthe AtoflceandAdlariowfec^gmenfofRece/ptand a postageijaki retum envelope addressed
                   (Mttac/i completed Notice and Acfcnowtedgement of Receipt) (Code Civ. Proc., § 415.30.)
                  to an address outskto Califbmia with return receipt requested. (Code Civ. Proc., § 415.40.)
   d. n     by other means Cspec^ means of service and authorizing code secBon):


     G AddHtonal page describing servtoe Is attached.
6. The "Notioetothe Person Senred" (on the summons) was completed as foNows:
         as an indivMual defisndanL
   b.O   as the person sued under thefictitiousneme of (spec^:
         as occupant
   d . D Onbehaifof Cspediy;;
         under thefoltowingCode of Civil Procedure section:
                  •    416.10 (corporation)                  • 415.05 (business organization, fbrni unknown)
                  Q 416.20 (defunct corporation)             • 416.60 (minor)
                  D 416.30.(Joint stock company/association) • 416.70 (warel or conservatee)
                  O 416.40 (assodatton or partnership)       • 416.90 (authorized person)
                  •    416.50 (pubHc entity)                 • 415.46 (occupant)
                                                             • other
7. Pereon who aerved papen
   a. Name: ROBERT HALL - 8 & R Services
   b. Address: 903 Sneath Lane, Suite 227 San Bruno, CA 94066
   c Telephone number (660) 7M-1923
   d. The feeforservK» was: $66.00                                                    *
   e. lam:
       (1) n not a rsgistefBd Califomia process server.
       (2)      exempt from registratkMi under Business and Profisssions Code seclton 223S0(b).
       (3) [ 3 rsj^tered CaKfomia prpcess server
              (i) U ovwwr             U emptoyee                 Ef
                                                                 independent contractor.
              (B) RegtstraUon No.: 6932
              (Bi) County: LOS ANGELES

8. [Zf I declare under penalty of perjury under the laws of the State of Califomia that theforegoingIs true and conect
         or
9. n     I am a Califomia sheriff or marehal and I certify that theforegoingIs true and correct


           Date: 8/21/2019
           S&RServlces
           903 Sneath Lane, Suite 227
           San Bruno. CA 94066
           www4efve(l-u.coni




                             HQBEBTHALL
                (NAME OP PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS4tO [Rw Januaiy 1,2007]                                                                                                   Pag*2al2
                                                   PROOF OF SERVICE OF SUMMONS
                                                                                                                         POMiOOTSSe
              Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 83 of 825
ATTORNEY OR PARTY wrmoUT ATTORNEYfAtona, Stab Bvnmtar. andadtsstl                                                     FOR COUTTUSE ONLY
  ADAM JOHN MACKINTOSH
  10923 PRO(»ESSCT. RANCHO CORDOVA, CA 9S670
 TELEPHONENO.: IFAXNO. IE4MILADDRESS<qplltana0.lagaieiliuahMttixsm
  ATTORNEY FOR INaRBj: In Pn Par


SACRAMENTO COUNTY SUPERIOR COURT
      STREET ADDRESS: 3341 POWER INN ROAO
      MAIUNO ADDRESS:
     OTY AND ZIP COOE: SACRAMENTO, CA 95828
         BRANCHNAME:
      PLAINTIFF/PETITIONER: ADAM JOHN MACINTOSH                                                      CASENUkBER:

  DEFENDANTyRESPONDENT: LYFT, INC., et al.                                                                   34-201»«0261238-CU-BC-GD

                                                                                                     Rat No. or Fla No.:
                              DECLARATION O F DILIGENCE

  I, ROBERT HALL, declare: I am a Registered Process Server and was retained to sen« process In the above-refiBrenced matter
  on the foltowing person or entity: JERRY VUANG as foUows:
  Documents:
     Summons; Complaint; Altenuthc Obputa (ADR) packags; Notica of Casa Managomant Conferencs and Order to Appear; Inwiadlati
     RolM and Oestaira of Good PaMi to R»€i«a80 bi Sottanient Attar Full Danhd of Satdament by Dofendnala; ProgFun Case Netica; Es
     Paila AppBcaMon lOr Pamianant InluncBon; '
  I attempted personal aieivice on thefoDowingdates and times with ttie fblkiwing results:

  Date                Time                    Location               Results
  8/15/2019           9:10 AM                 Business           -   PER MANAGEMENT. SUBJECT IS UNKNOWN. • ROBERT HAU
                                                                     582 MATEO STREET, LOS ANGELES, CA 90013
  8/16/2019           1:06 PM                 Business               NO ONE KNOWS WHO JERRY IS. SHOWED HIS PHOTO AND
                                                                     THEY SHOOK THEIR HEADS NO. • ROBERT HALL
                                                                     582 MATEO STREET, LOS ANGELES. CA 90013
  8/17/2019           4:30 PM                 Business               PER MANAGEMENT. SUBJECT IS NOT KNOWN. • ROBERT HALL
                                                                     582 MATEO STREET. LOS ANGELES. CA 90013

  8nW20^Q             10:30 AM                Business               PER "JOHN D O P / MANAGER, THERE IS NO ONE HERE BY THIS
                                                                     NAME. REFUSED TO ACCEPT DOCUMENTS. DROP SERVED ON
                                                                     MANAGER. - ROBERT HALL
                                                                     582 MATEO STREET, LOS ANGELES, CA 90013

  8/19/2010           10:30 AM                Business               SUBSTITirnED SERVICE on: JERRY WMNG; 582 MATEO STREET,
                                                                     LOS ANGELES, CA 90013; by serving: "JOHN DOE" (refUsed to give
                                                                     name) • MANAGER / PERSON IN CHARGE, White Male Sas 160
                                                                     Pink S-IO".

 ••RESIDENCE ADDRESS IS UNKNOWN**




Fee for Service: $ 65.00
        County: LOS ANGELES
        Registration No.: 6932                                                 I declare under penalty of perjury that the foregoing Is true
        S&RServlces                                                            and correct and that tills declaration was executed on
        903 Sneath Lane, Suits 227                                             August 21,2019.
        San Bruiw, CA 94066
        (650) 794-1923

                                                                               Signature:


                                          AFFIDAVIT O F REASONABLE DILIGENCE
                                                                                                                                      Ordei#:27B36
 ATTORNEY (^^meCase      2:19-cv-01849-MCE-KJN
               arid AiMress):   •          •SBM:;-               Document 1-2 Filed 09/13/19 FORCOUHTUSEONLY
                                                                                              Page 84 of 825
  Adam John MacMn^^^^
  10923 Pii^9rOT8;<>burt',_"_
  Rancho Cordova, CA o95670                                                                     FILED/ENDORSED
 E-MAiU
 ATTORNEY rofe IniPropite!peisona
                                                                                                         SEP - 6 2019
 NAME OF COURTrJUOaMiWipiCT^
  Sacramento County Superior Court                                                             By:         R. San l\^louei
  720 9th S t         ; J                                                                                      Deputy Clerk
  Sacramentoi CA 95814
  Saciranierito
 PUUNTIFF:                                                                                 CpURT CASE.Npi ;•
  Adam JoKn Mackintosh;
 DEFENQWT: '                                                                                         ;344dl9rO02<Sm
  Lyft, Inc., et al i
                                                                                           LEWlNGOFnCER Fllf NO.;
      DUPLICATE Pi^oiFibf S^ivice.^ Summioh^                                                                  20190014^

 1. Atthe time pftiie;?^^               atileast I S ^ e s ^ ^
 2: I seryedicpp'iM of
    f. othar:(specify doajments); Complaint^ NoUcebfC^se Management^bnfare




 3. a/ ,Paity;se(yed;i         tJbute O^mell RrHchett



 4. Address where party was served;-            lOO We^tlake Court;
                                                RoBSwlile, C^^

 5. I served the party:
   a. by perebrial service.i | pere^^          delivered the docunrients listed In item 2! to the party or person authorized to receive
   sefvK»idf the p i c e ^ ^


 6. The Notice to the;^Perepn|^
        a.'asanlndiyidliia^

 7; Person who served papers:
    a. Nanriis: K Femire^iD^^
    b. Address: Plaeer Co: Sheriffs Ciyl^^^^                                      Auburn,CA 95603
   •c.\ tetephprie li>luitib^^^^^ :(630j/8|^7^8^^^
    d. The fee fbr senHce vA^

 9.1 arh;a (^flfbhiia ;sheriff^b^^^^^

 Tuesday^AugufrtSrT^iOTff
                                                                       SlieififPs i»iutf»br^^
' Hearihg::; <N6 Infipiimatlo^^^                                       bEVOIil BELL, Piacer:Cbun^;^erifl'-Gbr^

 Rernail^'




Judicial CoundlformPOS-OilO:                                          ;Orisinal                                                      0»r703'
              Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 85 of 825
ATTORNET (Nairn gii«AMm4:                                                                                                           FOR COURT use ONLY

 Adam John Maeldntosh
 10923 Progress Ct
 Rancho Cordova, CA 96670-6687

                                                                                                                     FILED/ENDORSED
Q4AII: legal@ihugheaith.com
ATTORNEY FOR:,bt PTOpfla Porsona
NAME OF COURT. JUDICIAL DISTRICT V BRANCH COURT, IF ANY:
                                                                                                                                SEP - 6 2019
 Sacramento Co. Superior C O I B I - 7 2 0
                                                                                                                     By.           R. San Miauel
 720 9th St ^                                                                                                                         Deputy Clerk
 Sacramento, CA 95814


PIAWTIFF:                                                                                                         COURT CASE NO;
 Adam John iViacidntosh
OEFENCMNT:
                                                                                                                      34-2019-00261236-CU-BC-GD
 Lyft, inc.; Uber Technologies Inc.; Uber Health, LLC; AH Cap
                                                                                                                  LEVriNS OFFICER FILE NO:
                       Amended Proof of Service of Summons                                                                          2019023904
1. At the time of the senrioe I vras at least 18 years of age and not a party to this action.
2. I served copies of the:
   f. ctthBt (speafydotMrnents):                                                            '
      Complaint, Ex Parte Application for Permanent Injunction, Immediate Relief and Gesture of Good Faith to
      Re-Engage In Settlement After Full Denial of Settiement by Defendants, Notice of Case iVianagement
      Conference and Orcter to Appear, Summons
3. a. Party Served (specify name of party as shorn on documents sarvetQ:
                                                           AmyBiddle
4. Address Where party was served:                         33171 Street
                                                           (East Sacramento)
                                                           Sacramento, CA 98816
5. 1 served the party:
    a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
       receive service of processforthe party (1) on: 08/12/2019 at 7:49 MA.
7. Person who served ttie papers
    a. Name: P.Yuen
    b. /Vddress: SherifPs Civil Bureau, 3341 Power Inn Road, #313, Sacramento, CA 96826-3889
    c. Telephone number (916) 875-266S
    d. The feeforthe service was: $40.00
8. I declare under penalty of perjury under the laws of the State of Califomia that theforegoingtetrue and correct


Date: iUlonday, August 26,2019                                                          by:
                                                                                                  Sheritrs /\uthorized Agent
                                                                                                  S c ^ R. Jones, Sheriff




             Fomi POS-010                                                       Original
                                                                    (c) CountySudis aMrfir, Telrasd. ii
                 Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 86 of 825
    ATTDRNEV (Nona end AiURts):                                          SBN:                                                    FOR COURT USE ONLY

     Adam John Maddntosh
     10923 Progress Ct
     Rancho Cordova, CA 95670-5867
                                                                                                                   FILED/ENDORSED
    BML- legal@lhughealth.com
    MTORNEynxcIn Propria Persona
    NAME OF COURT, JUHCIAL OmRCTor BRANCH COURT, IF ANV.
                                                                                                                                 SEP - 6 2019
     Sacramento Co. Superior Court-720                                                                                            R. San Miauel
     720 9th St                                                                                                    By:             Deputy Clerk
     Sacramento, CA 96814

    PIAMTIFR                                                                                                   COURT C A S HO:
     Adam John n/Iaeklntosh
    DEFEKMNT:                                                                                                      34-2019-00261236-CU.BC-GD
     Lyft, Inc.; Uber Technologies inc.; Uber Health, LLC; AH Cap
                                                                                                               LEWms OFFICBt FOE NO:

                                  Proof of Service of Summons                                                                     2019023904
    1. At the time of the iservice I was at least 18 years of age and not a party to this adlisi.
    2. I served copies of the:
       f. other fspeoQ^documents;;
          Complalnt, Ex Parte AppHoation for Permanent Injunction, Immediate Relief and Gesture of Good Faith to
          Re-Engage In Settlement After Full Denial of Settiement by Defendants (x2). Notice of Case Management
          Conference and Order to Appear, Summons
    3. a. Party Served (apetdfy name af party as shorn on docutnents served):
                                              Better Business Bureaus, Inc
        b. Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
          under 5b on whom substituted service was ihade) (spetafy name and relallonstnp lo the party named In item 3a):
                                                           Lynn ConnerTCEO
    4. Address where party was serv^:                       c/o CEO Lynn Conner
                                                           10399 Old Placervllie Rd'
                                                           Sacramento, CA 95827
    5. i served the party:
       a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive sendee of processforthe party (1) on: 08/16/2019 at: 10:10 AM.
    7. Person who served the papers
       a. Name: J. Gordon
       b. Address: SherlfTs Civil Bureau, 3341 Power Irm Road, #313, Sacramento, CA 95826-3889
       c. Telephone number (916) 879-2665
       d. The fee for the service was: $40.00
    8. i declare under penalty of perjury und«- the laws of the State of Califomia that the foregoing Is tare and conect.


    Date: Friday, August 23.2019                                                      by:
                                                                                                SherifPs Authorized Agent
                                                                                                Scott R. Jones, Sheriff




Judicial Councll Fonn POS-010                                                   Original
                                                                    t o CaunurauM Ghenft TetaassH Inc.
                 Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 87 of 825
    ATTORNEY (Nam and Addreu):                                       SBN:                                                    FOR COURT USE ONLY

     Adam John Mackintosh
     10923 Progress Ct
     Rancho Cordova, CA9S670-5667


    euivL legal@lhughealth.com
                                                                                                            FILED/ENDORSED
    AnoRNEVFOR: In Propria persona                                                                          •
    NAME OF OOUIO: JUnCIALDISTraCrgr BRANCH OOURT, V ANY;                                                               SEP - 6 2019
     Sacramento Co. Superior Couit'720
     720 9th St                                                                                             By:             R San Miquel
                                                                                                                             Deputy ClerV
     Sacramento, CA 95814

    PIAINTIFF:                                                                                             COURT CASE NO:
     Adam John Mackintosh
    DEFB40ANT:                                                                                                  34-2019-00261236^U-BC-GD
     Lyft, Inc.; Uber Technologies Inc.; tJber Health, LLC; AH Cap
                                                                                                           lEVYTNO OFFICER fttENtt
                                  Proof Of Service of Summons                                                                2019023904
    1. At the time of the servtM I was at least 18 years of age and not a party to this action.
    2. I served oopies of the:
       f. other Cspediy documented;
          Complaint, Ex Parte Application for Pemranent injunction, immediate Relief and Gesture of Good Faith to
          Re-Engage In Settlement After Fiill Denlarof Settlement by Defendants 1x2), Notice of Case Management
          Conference and Order to Appear, Summons
    3. a. Party Served (spedfy name of party as stovm on doamenta aerved):
                                                        Josef Arvin Aeebedo
    4. Address where party was served:                   6339 Lochlnvar Way
                                                        Sacramento, CA 95823
    5. I served the party:                               ,                                             '
        a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
           receive service of process for the party (1) on: 08/19/2019 at 7:30 AM.
    6. the "Notice to the Person Served" (on the summons) was completed as follows:
       a. as an individual defendant
    7. Person who served the papers
        a. Name: J. Gordon
        b. Address: Sheriffs CIvll Bureau, 3341 Power Inn Road, #313, Sacramento, CA 95826-3889
        e. Telephone number: (916) 876-2665
        d. The feeforthe sen/Ice was: $40.00
    8. 1 declare under penalty of perjury under the laws of the State of Califontia that the foregoing is true and correct.


    Date: Friday, August 23,2019                                                  by:
                                                                                            SherilTs Authorized Agent
                                                                                            Scott R. Jones, Sheriff




Judicial Council Form POS-010                                               Original
                                                                (cJCoui^^SuttB ShenlL Teleonn. Inc.
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                                                                          FiLED/ENDORSED
 1   Adam John Mackintosh
     legal@ihughealth.com                                                         AUG - 2 2019
2    10923 Progress Court.,
     Rancho Cordova, CA 95670                                            By:-         E. Medina
3                                                                                     Deputy Clerli

4
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
5
                                           COUNTY OF SACRAMENTO
6
7     Adam John Mackintosh, Individually,
      and On Behalf of All Others Similarly                   Case Name: Mackintosh -vs- Lyft Inc
8     Situated,
9                                                             Case No.: 34-2019-00261236-CU-BC-GDS

10                      Plaintiff,                            COMPLAINT FOR:
11             vs.                                            1. Unfair Competition in Violation of
                                                              California Business and Professional
12
                                                              Code §17200 et seq. Endangering Life in
      Lyft, Inc., Uber Technologies Inc., Uber
13                                                            Healthcare
      Health, LLC, AH Capilal Management,
14    LLC, (Better Business Bureaus, Inc.,                    2. Economic Espionage 18 U.S. Code
      Benchmark Capital Partners Vll, LP,                     § 1831 (1)
15    Benchmark Capilal Management Co.
      Vll, LLC,                                               3. Violations of Unjust Enrichment in
16    Corporalions                                            Trade Secret Misappropriation California
                                                              Civil Code - CIV § 3426
17
       Ben Horowitz, John Zimmer, Logan
18     Green, Josef Arvin Acebedo,'Isouis                     DEMAND FOR JURY TRIAL
       Damell Prilchett, Jerry Wang, Amy
19     Biddle, MaffCohler, and                                Details:
       Does 1-500,
20                                                            Judge: The Honorable
       Individuals
                                                              Kevin Culhane, Judge of the Superior Court
21
                                                              Place:
22                      Defendants.                           Gordon D. Schaber Counly Courthouse
                                                              720 Ninth Street, Sacramento, CA 95814
23
24                                                            Department: 23
                                                              Time: 08:30 AM
25
                                                              Date Action filed: July, 4, 2019
26
                                                              Date set for case management conference:
27                                                            January, 30, 2020
28

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 4   Actual Economic Advantage.
                                                                       18. Violation of Federal Trade
 5   5. Violations of Intellectual Property                            Commission Act ("FTCA")
 6   California Civil Code § § 3426-3426.11                            Anticompetitive Practices

 7   6. Violations of Defamation, and                                  19. Violations of The Centers
     Slander, California Civil Code § 45                                for Medicare and Medicaid
 8                                                                     Services Accessibility &
     7. Violation of The Economic                                      Nondiscrimination
 9   Espionage Act of 1996                                             for Individuals, with
                                                                       Disabilities, and ADA
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14   Code - INS § 1871,4
                                                                       22. Violations ofthe U.S.
15   11. Violations of the Conspiracy to Defraud                       Code § 1512: Tampering
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16
     923. 18U.S.C.§371
17                                                                     23. Violations of the Foreign
     12. Violations of Reckless Endangerment of                        Corrupt Practices Act
18   Life California Code, Civil Code - CIV § 1714                     (FCPA) - 15 U.S.C § 78dd-2

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 1                      1. TO A L L PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          Plaintiff Adam John Mackintosh, ("Plaintiff), individually and on behalf of all other
 3
     persons similarly situated, by this undersigned Complaint, alleges the following againsi Defendants,
 4
     on information and belief based upon, inter alia, through an investigation conducted by himself with
 5
 6   little resource, which include the following but nol limited lo:

 7                        1. Direct evidence Defendants were giving Drivers instruction to commit
 8                        acts lhat gave rise to this Complaint;
 9
                          2. Conference calls between Defendants;
10
11                        3. Electronic communications from Defendants;

12                        4. Photographs of Defendants;
13
                          5. Unauthorized logins from Uber and Lyft Headquarters and Hubs;
14
                          6. Email and text communications from Insurance Agents and Defendants;
15
16                        7. Interviews, news articles and press releases;

17                        8. Audio and video evidence of Defendants;
18
                          9. Forensic behavioral data;
19
                          10. Forensic geo-location data;
20
21                        11. Network and proxy evidence;

22                        12. Google search histories;
23
                          13. Social media profiles and postings;
24
                          14. United Stales Securities and Exchange Commission ("SEC") filing for Uber;
25
26                        15. United States Securities and Exchange Commission ("SEC") filing for Lyft;

27                        16. Andreessen Horowitz business operational practices;
28
                          17. Bureau of Transportation Statistics;

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                            18. Signed non-disclosure agreemenis;

2                           19. Signed non-compete agreemenis;
3
                         20. Signed contingent employee agreemenis;
4
                         21. Signed confidentiality agreemenis;
5
6                        22. Signed advisory board agreemenis;
7                        23. Electronic communication from Attorneys;
8
                         24. Proceeding cases;
9
10                       25. Case law analysis;

11                       26. Written testimonial evidence;
12
                         27. Drivers blogs admitting Defendants involvement in iHug;
13
                         28. Termination of employment reasons;
14
15                       29. Cease and desists;

16                       30. Court server declaration;
17
                         31. Defendants refusal of order to go to court;
18
                         32. Witness and Police Officers' statements and declarations.
19
20          Certain exhibited pieces of evidence herein were down-sized lo comply with the Califomia

21   Rules of Court. Certain, exhibits were shadowed lo assist the reader in understanding of the fact.
22   Plaintiff affinns the essence of the evidence is preserved in its original and genuine state. The
23
     evidence is stored in multiple secured physical, and encrypted virtual locations.
24
            All evidence is known by select parties who are under confidentiality agreements for
25
26   Whistleblower protection. The evidence will be available to the presiding Honorable Judge and, a

27   Grand Jury at trial.

28          For all table of contents, titles, descriptions, and claims stated herein, Plaintiff expressly

            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1   disclaims any all allegations lhat could be construed as alleging fraud, or intentional, or reckless

2    misconduct, until proven through a preponderance of evidence in all proceeding paragraphs of this
3
     Complaint, including all stored and genuine exhibits for a fair, and speedy trial.
4
                                           2. JURISDICTION AND VENUE
5
6           The Superior Court of California, County of Sacramento has general personal jurisdiction

 7 over Defendants Lyft, Inc., Uber Technologies Inc., Uber Health, LLC, AH Capilal Management,
.8 LLC DBA Andreessen Horowitz, Better Business Bureaus, Inc. DBA BBB, Benchmark Capital
9
     Partners VII, LP, Benchmark Capital Management Co. VII, LLC, Matt Cohler, Josef Arvin Acebedo,
10
     Louis Damell Prilchett, Jerry Wang, and potential Does, individuals and corporalions.
11
12          Venue is proper in this counly under Califomia Code of Civil Procedure §395.5 as a majority

13   of the events and omissions giving rise lo the claims alleged herein occurred in this counly.
14                                                       3. PARTIES
15
            Al all times relevant to this action, Plaintiff, Adam John Mackintosh, was a resident of the
16
     Sacramento Counly, Califomia and a Citizen of the Slate of Califomia.
17
18          Upon informalion and belief. Defendants, Lyft, Inc., Uber Technologies, Inc., and Uber

19   Health, LLC, Benchmark Capital Partners VII, LP, Benchmark Capital Management Co. VII, LLC

20   are Delaware corporalions with Corporate Headquarters and primary place of business in the San
21
     Francisco, California area al all limes relevant to this action.
22
            Upon information and belief, Defendant, Belter Business Bureaus, Inc. DBA BBB is a
23
     Delaware corporations with Corporate Headquarters and primary place of business in the Arlington
24
25   County, Virginia area at all limes relevant lo this action.

26          Upon information and belief. Defendant, AH Capilal Management, LLC DBA Andreessen
27   Horowitz, is a Delaware corporalion with Corporate Headquarters and primary place of business in
28
     Menlo Park, Califomia area al all times relevant to this action.
            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1          Upon informalion and belief. Defendants, Josef Arvin Acebedo, Louis Damell Prilchett, Jerry

 2          Wang, and Does were residents of Sacramento Counly, Placer Counly, and Santa Clara
 3
     County, and citizens of the Stale of California.
 4
            Defendant, Benchmark Capital Partners Vll, LP, Benchmark Capilal Management Co. VII,
 5
 6   LLC is an early-stage venture investing in mobile, marketplaces, social, and infrastructure and

 7 enterprise software. Some notable investments are Twitter, GrubHub, Uber, Zillow, Upwork,
 8 Zendesk, Instagram and others.
 9
            Defendant, The Better Business Bureau ("BBB"), founded in 1912, is a private, nonprofit
10
     organization whose self-described mission is lo focus on advancing marketplace trust, consisting of
11
12   106 independently incorporated local BBB organizations in the United States and Canada,

13   coordinated under the Council of Better Business Bureaus ("CBBB") in Arlington, Virginia.
14          Defendant, Lyft is a major rideshare operator, transporting one-million passengers a
15
     day throughout the United States in approximately 30 stales.
16
            iHug, Plaintiffs damaged Company that hailed operation as a result of Defendants actions as
17
18 describe in all proceeding paragraphs of this complaint, was a transportation referral Company in
19   healthcare, launched in Sacramento, California, operated in approximately 5 cities.

20          iHug, Plaintiffs new Company, is currently under attack by Defendants. iHug is a
21
     Iransportaiion-as-a-service software Company, offering software throughout the United States in
22
     approximately 3,200 cities.
23
            Defendant, Uber is a major rideshare operator, transporting fifteen-million passengers
24
25   a day world-wide, offering services in over 600 cities.

26          Defendant, Matt Cohler ("Matt"), is a partner al Benchmark Capital Partners, who's invested
27
     in Uber.
28
            Defendant, Andreessen Horowitz ("Andreessen"), is a world-renowned investment venture
            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                firm who's invested in Lyft.

 2              Defendant, John Zimmer ("John"), is, and was al the time of Lyfl's IPO, Lyft's Co-Foimder,
 3
     President and Vice Chairman of its Board of Directors.
4
                Defendant, Logan Green ("Logan"), is, and was al thetimeof Lyft's IPO, Lyft's Co-Founder,
 5
     Chief Executive Officer ("CEO"), and a member of its Board of Directors.
6
 7          Defendant, Ben Horowitz ("Ben"), is, and was at the lime of Lyfl's IPO, a member of Lyft's

 8 Board of Directors, business partner and investor.
9
            Defendant, Louis Darnell Prilchett ("Louis"), is believed to be an employee, and/or third parly
10
     vendor, and Ambassador of Lyft and Uber. He is also an "independent driver," in a business
11
12   relationship with Lyft and Uber. He is iHug's former Lead Ambassador, in charge of recmiling

13   drivers.

14          Defendant, Josef Arvin Acebedo ("Joe"), is believed lo be an employee, and/or third
15
     party vendor, and Ambassador of Lyft and Uber. He is also an "independent driver," in a business
16
     relationship with Lyft and Uber. He is iHug's former Chief Operating Officer ("COO".)
17
18          Defendant, Jerry Wang ("Jerry"), is a "self-proclaimed" software developer and

19   entrepreneur who meets with Andreessen and other venture firms. He is iHug's former Software
20   Developer. Plaintiff alleges on informalion and belief that:
21
                     A. each Defendant acted in all matters relevant to this action as the agent of the olher
22
     Defendants, and carried oul joint covert attacks; and
23
24                   B. the acts and omissions of each Defendant are legally attributable lo the other

25   Defendants. All allegations made in all proceeding paragraphs of this Complaint are nol limited and

26   made based on direct evidence, circum.stanlial evidence, relationship evidence, forensic evidence,
27
     common sense, feasibility, plausibility, and reasonable belief.
28
            Reasonable belief is based on the following but not limited lo, direct evidence admitting
            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                                                ' •         -22-
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 1           Defendants were giving instruction to commit all allegations stated in all proceeding

 2   paragraphs of this Complaint, direct evidence, circumstantial evidence, forensic evidence, medical
 3
     analysis, financial analysis, and witness testimony.
 4
             This Complaint was written in such a way, anyone who reads it, will understand the genuine
'5
     story of the assassination of iHug's healthcare transportation operation by the Defendants.
 6
 7           The decisions lo plot, covertly operate, aid and abed, contribute and execute on plans to

 8 assassinate iHug's transportation operation, lhat was actively opening up access lo wheelchair bound
 9 patients, the disabled, and children, is appalling.
10
             After careful examination by the Plaintiff, he discovered Defendants lme inherent nature in
11
     which they operate during the day in healthcare, increases the mortality rates of innocent and
12
13   terminally-ill patients, which is leading to the progression hereditary disease, and potential death in

14   our society. This behavior is completely un-American, and unlawful.
15           Plaintiff respectfully asserts, the allegations made herein and throughout all proceeding
16
     paragraphs of this Complaint are nol 'hyperbolic,' or 'speculative,' nor are they attempts to
17
     assassinate Defendants' character for cash, a past argument made by Defendants Legal Counsel, as
18
19   read by Plaintiff as he was reviewing case law in preparation to prosecute the Defendants.

20           Plaintiff has serious concem over the lives of innocent victims. Defendants have
21   misappropriated Plaintiffs corporate secrets. Defendants fitiled lo execute properly using Plaintiffs
22
     corporate secrets, thus growing improperly in healthcare causing more harm than good.
23
             We must act now, and diligently move to temporarily remove Defendants from operating in
24
25   healthcare based on the proven inherent corporate practices by Defendants, while in the heat of

26   competition, endangering lives, which calls for a swift federal investigation and reasonable
27
     regulations.
28

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                                                        •    - 23 -                      "    ••
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 I                                                 4. INTRODUCTION

2            1.      This action is seeking the following but nol limited lo injunction, trebling damages,
3
     punitive damages, pain and suffering damages, and disgorgement of unjust enrichment, obtained by
4
     Defendants wilhoul legal enlitiement, who are synonymously monopolizing transportation, creating a
5
6 duopoly, fueled by an insurance scheme, using investor cash that unlawfully suppresses competition.
7           2.       Plaintiff is entitled lo all injunctive and equitable relief based on evidence he possesses
8 in multiple secured physical and virtual localions, and exhibited evidence in each proceeding
9
     paragraph of this Complaint.
10
            3.       Defendants wrongfully targeted Plaintiff, the pioneer of the first ever, "Rideshare for
11
12   Healthcare" in the United Stales. The safest transportation option lhat was CPR and Basic Life

13   Support Certified for the healthcare system, a world-class operation lhat was in its infancy.
14          4.       While the Plaintiff quietiy and respectfully executed on his $1,200,000,000,000
15
     trillion-dollar healthcare opportunity, so he could one day deploy a new digital Ai healthcare system
16
     that was gifted lo him by God, lo give lo the world through, iHug, he was harmed by Defendants.
17
18          5.       The new digital Ai healthcare system is calculated lo be worth over

19   $25,800,000,000,000 Trillion-Dollars. This immediately placed a target on Plaintiffs back after
20   Defendants were provided intelligence on such valuable inlelleclual properly.
21
            6.       iHug was silently infiltrated by Defendants in a covert, militaristic operation, as
22
     similarly described in a written letter by Richard Jacobs ("Jacobs"), a former Uber employee and
23
24   United States Defense Intelligence Agency Officer, see Jacobs letter in the case Waymo-vs-Uber-

25   Case#3:17-CV-00939-WHA. Jacobs disclosed Defendants intemal departments, including but not
26   limited lo, Threat Operations (ThreatOps), Global Intelligence (Intel), and Strategic Services Groups
27
     (SSG), where they were instmcted lo infiltrate and suppress competition.
28
            7.       Uber ended up settling with Waymo, despite Defendants Legal Counsel arguing
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 1   Jacobs was exaggerating. Plaintiff believes there was tmth lo Jacob's letter, hence, why il was settled.

2            8.       Defendants manipulate and incenlivize its Drivers, who have "common motive lo
3
     collude," lo infiltrate iHug through deceptive business practices and fraud, tortiously interfering with
4
     iHug's contractual relations, while Defendants endanger life through their inherent culture,
 5
 6 maliciously and unlawfully suppressing iHug. As a result of Defendants' willful actions, Defendants
 7   left an aftermath of damages, permanentiy inflicting emotional damages on Plaintiffs Wife, causing

 8 her to want to commit suicide, who had to undergo surgery from the severe stress levels caused by
 9
     Defendants willful and malicious actions who intended lo harm Plaintiff, his Wife, and iHug.
10
             9.       Defendants' willful and incendiary attacks hailed iHug's transportation operation,
11
12 causing irreparable damages. Defendants' actions are so egregious and oul of control, nol only do
13   Defendants use Drivers lo intentionally cause irreparable damages, it's alleged Defendants also used
14 ride request algorithms before their initial public offering ("IPO"), lo book millions of "fake" rides,
15
     defrauding consumers, drivers, government-funded health insurance companies, investors, inflating
16
     Defendants' valuation and market share, in order to receive a higher-valued share price, imlawfuUy
17
18   enriching themselves with billions of dollars in cash, defrauding The United Stales Govemmeni.

19           10.      Based on the horrendous acts of tiie Defendants, Defendants must be dealt with the
20   same way every wrongdoer is dealt with, and hold the wrongdoer fully accountable for their
21
     misconduct in a manner which effectively deters, the wrongdoers from again committing such heinous
22
     acts against anyone, ever again. As a common mie of law, in a civil lawsuit, punishment and
23
24   deterrence is found in awarding monies damages to the victim and target of the wrongdoer(s).

25           11.      In order lo fully compensate Plaintiff, and others similarly situated for damages,

26   and to punish, deter, and teach Defendants a lesson that will never be forgotten, this
27
     action seeks damages in excess of Twenty-Three Billion One Hundred Eighty Million
28
     Nine Hundred Ten Thousand Dollars ($23,180,910,000.00.)
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                                                             -25-- •
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 1             5. CASE LAW ANALYSIS ESTABLISHES MERIT FOR THIS COMPLAINT

2           12.      In the case Lyft-vs-Travis VanderZanden-Case# CGC-14-542554: John Zimmer, Co-
3
     Founder of Lyft, acknowledges, under penalty of per jury, lhat Lyft's former Chief Operating
4
     Officer ("COO"), VanderZanden, loaded Lyfl's internal systems onto his personal devices,
5
6 containing thousands of artifacts (files and folders), including a significant number of Lyft's most
7    sensitive and competitive documentation, while allegedly leaking them lo Uber.

8            13.     Whereas in this Complaint, iHug's former Chief Operations Officer ("COO"), Joe, as
9
     well as, Louis, and Does, committed the same detrimental actions against iHug, causing
10
     immeasurable and indefinite damages. Pictured below, assertions from the aforementioned case:
11
12    13             9.     The forensic evidence collected firom VanderZanden's Lyft-issued computer
13    14 following his resignation also makes clear that he took a number of these steps to transfer Lyft
14    15 information to his personal files in anticipation of his resignation. In any case, regardless of bis
15    16 intent, VanderZanden's possession of Lyft confidential information post-employment breached
16    17 his Confidentiality Agreement. That agreement bars him from possessing, post-employment,
17    18 any Lyft confidential and proprietary information, and prohibits him from using or disclosing
18    19 such information to anyone.
19
             14.     Defendants' Legal Counsel, Latham & Walkins, LLP, continued lo accurately describe
20
21   VanderZanden's actions, staling, "Computer forensic evidence establishes that in the months and

22   days before he announced his resignation and departed Lyft" VanderZanden misappropriated
23
     thousands of intemal artifacts onto his personal devices, "including a significant number of Lyft's
24
     most sensitive documents."
25
             15.     Whereas in this Complaint, iHug's former COO, Joe, as well as Louis, and Does,
26
27   misappropriated "thousands of iHug's intemal artifacts, containing highly sensitive documents,"

28   including but not limited to, partiiership details, corporate materials, corporate trade secrets, pilch

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 1   decks, and Plaintiffs $1,200,000,000,000 Irillion-dollar healthcare opportunity, and his

2 $25,800,000,000,000 Irillion-dollar new digital Ai healthcare system particulars, before and after
3
     departing iHug.
4
                 16.             Joe, Louis and Does, provided login details to Defendants to gather intemal
5
6 intelligence, permanently inflicting harm on iHug, its partnership, Plaintiff and healthcare patients,
7 causing immeasurable and indefinite damages.
.8               17.             Pictured below and on the next page atop, assertions from the VanderZanden case,
9
     providing precedence:
10
11                           23            8.    Computer forensic evidence establishes that in the months and days before he

12                           24 announced his resignation and departed Lyft, VanderZanden synchronized his personal Dropbox

13                           25 account to his Lyft laptop, revealing that his personal Dropbox account contained more than
                             26 98,000 artifacts (files and folders), including a significant number of Lyft's most sensitive
14
                             27 documents. Atalltitnesduring his employment, VanderZlanden had access to a Lyft Dropbox
15
                             28 account, which was available for all of his work-related needs, so there >yould be no legitimate
16
      LATHAM«WATKINS^                                                                                 COMPLAIN rbUR UtUiACU UF
17       ATTORNEVG A T L * I ¥                                                                 CONFIDENTIALITY AGREEMENT AND
           SAM FflAMCISCO
                                                                                                     BREACH OF FIDUaARY DUTY
18
19
20                                                                                       o
21                                business reason for him to place these sensitive documents in his personal account. The
22                                documents found in his peisonal Dropbox account included Lyft's historic and future financial
23                                 information, strategic planning materials like marketing plans and product plans, customer lists

24                                 and data, intemational growth documents, and private personnel information; Forensic evidence
                                   also establishes that Vander2^den systematically uploaided confidential and proprietary Lyft
25
                                   dociunents to his personal Dropbox account, and backed up his work emails and contacts to, on
26
                                   infonnation and behef, his personal computer and his iPhone. VanderZanden possessed these
27
                                   documents post-employment on at least his personal Dropbox account, and on information and
28

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 1     1 business reason for him to place these sensitive documents in his personal account. Tbe

2     2 documents found ip his personal Dropbox account included Lyft's historic and future fmancial

.3    3    infonnation, strategic planning tnaterials Uke marketing plans and product plans, customer lists
      4    and data, intemational growth documents, and private personnel information. Forensic evidence
4
      5    also estabUshes that VatiderZanden systematicaUy uploaded confidential and proprietary Lyft
5
       6 documents to his personal Dropbox account, and backed up his work emails and contacts to, on
6
       7 information and behef, his personal computer and his iPhone. VanderZanden possessed these
7
       8 documents post-employment on at least his personal Dropbox account, and on information and
8
      9 behef, his personal computer and iPhone. VanderZanden, notably, can still access his personal
9     10 Dropbox account, iand the proprietary and confidential documents therein, from any computer in
10    11 the world simply by providing his login credentials. VanderZanden's Lyft Dropbox account was
11    12 shut down by the Company promptiy after his resignation.
12
13
14           18.     In the case Lyft-vs-Travis Vanderzanden-Case# CGC-14-542554, Lyft's former

15   COO, VanderZanden, breached his confidentiality agreement in numerous other ways, "including by

16   soliciting and attempting tb solicit numerous Lyft employees lo leave Lyft."
17
             19.     Whereas in this Complaint, iHug's former COO, Joe, as well as Louis and Does,
18
     did in fact solicit numerous members of the iHug leam lo join Defendants and leave iHug.
19
             20.     Even more outrageous, Defendants instmcted iHug's former COO, Joe, as well as
20
21   Louis and Does, lo form an alliance againsi Plaintiff, using iHug's leam members, investors, drivers

22   and customers by slandering Plaintiff.
23
             21.     The False and Defamatory Accusations and its Gist againsi Plaintiff are defamatory
24
     per se, as they are libelous on their face without resort lo additional facts, and as clearly demonstrated
25
     here. Plaintiff was wrongfully accused of stealing millions of dollars from investors, and grand theft
26
27   auto, in order to build a case againsi Plaintiff lo wrongfully imprison him. Pictured on the next page

28   atop, an assertion from the case, establishing precedence and merit for this Complaint.

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 1     9                        12..   VanderZanden breached the Confidentiality Agreement in numerous other ways
 2    10      as well, including by soliciting and attempting to solicit numerous Lyft employees to leave Lyft.
 3
 4              22.             In the case Lyft-vs-Travis Vanderzanden-Case# CGC-14-542554, "forensic

 5   evidence" collected from Lyft's computer systems, establishes that VanderZanden "look a number of
 6
     steps to transfer Lyft information lo his personal files in einlicipation of his resignation." Pictured
 7
     below, an assertion from the case.
 8
                           13            9.     The forensic evidence collectedfi-omVander2^den's Lyft-issued con^iuter
 9
                           14 following his resignation also makes clear that he took a number of these steps to transfer Lyft
10
                           15 infonnation to his personal files in anticipation of his resignation. In any case, regardless of his
11
                           16 intent, VahdeiZanden's possession of Lyft confidential information post-employment breached
12
                           17 his ConfidentiaUty Agreenient. That agreement bars him from possessing, post-employment,
13                         18 any Lyft confidential and proprietary infomiation, and prohibits him from using or disclosing
14                         19 such information to. anyone.
15                         20            10.    Vander2^den's Confidentiality Agreement also required him to certify, by a
16                         21 Tennination Certification, that he honored and would continue to honor hisresponsibUitiesunder

17                         22 the Confidentiality Agreement VanderZanden has ignored Lyft's repeated requests that he sign
                           23 the Termination Certification verifying that he no longer possesses, and will not use, Lyft
18
                           24 confidential information. VanderZanden and Uber have steadfastiy ignored repeated requests to
19
                           25 letum confidential and proprietary Lyft information VanderZanden possessed post-employment
20
                           26 Uber's counsel maintained that Vander2^den "has no Lyft proprietary infonnation in his
21
                           27 possession - not now, not when he started at Uber, and not since he left Lyft."
22                         28            i I.   Rather than tum his phone oyer to Lyft to ensure thereturnof all confidentiial
23
     LATHAM'WATKINS-'                                                                                 COMPLAIN T FOR BREACH UF
        ATTonNe<rs AT LAW                                                                      CONFIDENTIAUTY AGREEMENT AND
24         SAM FRANCISCO
                                                                                                     BREACH OF FIDUCIARY DUTY

25
                23.             Whereas in this Complaint, "forensic evidence" collected from iHug's computer
26
27   systems, in fact establishes that Joe, Louis, and Does "took a number of steps lo transfer iHug

28   informalion" in anticipation of their resignation. Regardless of their intent, Joe, Louis and Does

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 1   possession of iHug confidential informalion posl-conlingenl employment, breached their

2    confidentiality agreemenis, similarly staled by Defendants' Legal Coimsel Latham Walkins, LLP,
3
     "regardless of his intent, VanderZanden's possession of Lyft confidential information post-
4
     employment, breached his Confidentiality Agreemenis."
'5
              24.     John declares under penalty of per jury, his concern of his "former COO" meeting
6
7    with a competitor, after misappropriating Lyft's "highly confidential informalion."

8             25.     Whereas in this Complaint, iHug's "former COO," Joe, as well as Louis and Does
9
     misappropriated iHug's "highly confidential information," including but nol limited lo, iHug's
10
     competitive advantages, intellectual property, patent ideas and other artifacts, including Plaintiffs
11
12   $1,200,000,000,000 tiillion-dollar healthcare opportunity, and his $25,800,000,000,000 trillion-dollar

13   new digital Ai healthcare system particulars, where photographic evidence then establishes they met

14   with Lyft CEO, John Zimmer, a main competitor to iHug, breaching all fiduciary duly and
15
     contractual agreements. Pictured below, an assertion from the aforementioned case proving
16
     Defendants acted with prior knowledge of the type of wrongdoing and willful intention:
17
18     10            4.     Based on VanderZanden's text messiages, in Avhich he indicates thai seniot"

19     II     personnel ai Uber Technologies, Inc. ("Uber') wanted to meet with hirp the week of Augusl 18,

20     12 2014,1 believed that VanderZanden vvould have discussions with Uber.

21     13            5.     I was concerned about any discussions VanderZanden inight have with Uber,

22     14 given that VanderZanden had been a Lyft senior executive (Chief Operating Officer), had

23     15 already announced his resignation, and Uber wa.s Lyft's priitiarj' competitot-:

24    16             6      I have read the Declaration of Travis VanderZanden in Support of Opposition lo

25     17 Lyft's Motion for Sanctions Pursuant to Code of Civil Procedure 128.7, dated July 17, 2015. I

26     18 understand tliat it is VanderZanden's opinion that his expected conversations with Ubier on

27     19 Augusl 18, 2014 would have been unrelated to his potential employment al Uber. I was

28    20 concerned about VanderZanden having any discussions vyilh Uber, on any topic. My concem

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 1           26.      In the case Waymo-vs-Uber-Case#3:17-cv-00939- WHA: Richard Jacobs ("Jacobs"),

 2   a former United Stales Agency Officer, joined Uber's Global Intelligence Department, after serving
 3
     two consecutive battle assignments in Iraq, supporting Special Operations Forces.
4
             27.      Jacobs was "hired for his unique mix of geopolitical and threat intelligence, overseas
 5
 6   experience, and his ability to scale an intelligence program." Jacobs admitted and described in his

 7 own written testimony, the identical allegations argued herein, including but nol limited lo, gathering
 8 of intelligence, misappropriating corporate trade secrets, using "third-party vendors" lo obtain
 9
     unauthorized information, violations ofthe Sarbanes-Oxley Act of 2002, bribing local, slale and
10
     federal officials, valuation inflation, illegal hacking and computer fraud and abuse.
11
12           28.      Plaintiff affirms, Defendants continue lo use "third-party vendors," lo unlawfully

13   misappropriate competitor trade secrets, gather artifacts and intelligence from competitors, including
14 but nol limited to, corporate secrets, corporate materials, and business plans.
15
             29.      Plaintiff further argues it is common knowledge to the world, that Uber and Lyft
16
     operate synonymously. Analysis regularly call Uber and Lyft a "duopoly," as they launch similar
17
18   programs, features, and services al the same time, substantiating they share corporate trade secrets lo

19   unlawfully monopolize, suppress competition, and maintain an unlawftal competitive advantage.
20           30.      In the case, Mary Mccloskey-vs-Lyft-Case# CGC-19-575475: it's asserted lhat Lyft's
21
     Sl SEC Filing stales Lyft's "main ridesharing competition in the United States and Canada include
22
     Uber, Gett (Juno), and Via."
23
24           31.      Whereas in this Complaint, before Defendant's IPO filing, Louis asked Plaintiff on

25   multiple occasions to provide any and all Intel on Via as he, "heard they were coming lo

26   Sacramenlo," substantiating his role is lo gather intelligence for Defendants on competitors by any
27
     means, including breaching fiduciary duly through fraud.
28
             32.      Defendants aforementioned and outlined corporate conduct in all proceeding
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     paragraphs of this Complaint, is the epitome of Defendants relationship and culture with its

2    Employees, Drivers, Third-Party Vendors and others who work in symphony with Defendants.
 3
            33.      In an interview with Bloomberg: Lyft Co-Founder John Zimmer on Growth and
4
     #DeleteUber Campaign, at 1:43 minutes into the interview, John alleges his main competitor, Uber,
 5
     incentivized Drivers nol lo drive for his business.
 6
 7          34.      Whereas in this Complaint, the Lyft and Uber drivers who were strategically

 8   recruited by Joe, Louis and Does, were incentivized by Defendants nol lo drive for Plaintiffs
 9
     Company on launch day.
10
            35.      Even more scandalous, Joe, Louis and Does tumed drivers against Plaintiff and iHug,
11
12   subsequently cancelling rides and making themselves unavailable for innocent and terminally-ill

13   healthcare patients.
14          36.      Digital evidence establishes Defendants gathered details of iHug's partnership launch
15
     dales, where they ensured drivers would be sabotaged, and cancel and/or make themselves
16
     unavailable for dialysis, cancer, and olher terminally-ill patients.
17
            37.      Plaintiff conducted a SWOT Analysis (Strengths, Weaknesses, Opportunities, and
18
19   Threats), and cross-referenced il with scientific and medical analysis. It revealed, and irrefutably

20   proves. Defendants willful conduct and cultuie, consequentiy increases mortality rales throughout the
21
     United States. This decreases life expectancy of iimocenl healthcare patients, progressing their
22
     hereditary disease, who are unknowingly being harmed by Defendants every time they are cancelled
23
     on. Defendants are solely focused on greed and "winning," as John boldly states in an interview with
24
25   Bloomberg: Lyft Co-Founder John Zimmer on Growth and UDeleteUber Campaign.

26           38.     In the case Wrighl-v.v-Lyft, Inc., Case# 94162-9, and Antonio Tecson, et al, vs. Lyft,
27   Inc.,- Case# I8-cv-06782-YGR, the court concluded lhat a Consumer Protection Acl "(CPA)"
28
     claimant musl establish five elements in order to prove a Defendant is in violation ofthe CPA:
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 1          (1) an unfair or deceptive act or practice;

2           (2) in trade or commerce;
3
            (3) that affects the public interest;
4
            (4) injury lo plaintiffs Company or properly, and
5
6           (5) causation.

7           39.      Whereas throughout this Complaint, Defendants have clearly met all five elements

8 established by the courts.
9
            40.      In the Class-Action case: ARA A YRES and JUDITH SMITH, individuals-vs-Lyft, Inc.,
10
     Case# RGI8896443: Ayres and Smith argues, "Lyft exercises substantial control over drivers
11
12   incenlivizing drivers lo drive for Lyft, and lo drive al particular times, however, il appears to do

13   nothing lo incenlivize drivers lo drive wheelchair accessible lifts."

14          41.      Whereas in this Complaint, Defendants maliciously timed and incentivized drivers al
15
     particular times, including Plaintiffs launch dale, lo willfully obslmct and suppressed Plaintiffs first
16
     ever on-demand wheelchair app. Defendants actions lo deprive wheelchair accessibility for
17
18 wheelchair-bound patients, violates The Centers for Medicare and Medicaid Services Accessibility &
19 Non-discrimination for Individuals, with Disabilities, and the American Disability Act ("ADA").
20          42.      To substantiate the above-mentioned allegations, Defendants are facing an influx of
21
     lawsuits, and complaints regarding wheelchair discrimination, lack of accessibility for wheelchair-
22
     bound and disabled Americans, by the following but not limited lo individuals and entities, while
23
24   Defendants are disgracefully suppressing iHug, who can solve many of these issues and complaints:

25                A. Disability Rights Associations

26                B. Americans with Disabilities Acl - Rebecca Bond, Chief, Disability
27
                     Rights Seclion, (202) B | | | ^ ^ ^ ^ | H A @ u s d o j . g o v
28
                  C. Jessie Lorenz, ED of Independent Living Resource Center of SF
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 1             D. llanil Hairounsheily

 2             E. Judith Smith, founder of Axis Dance Company
 3
               F. Independent Living Resource Centers claiming Defendants violate:
4
               G. Kelley Simoneaux
.              H. Heidi Case of D.C.
o
 7             1. Stuart Seabom, one of the DRA attomeys

 8             J. Equal Rights Center
 9
               K. Berkeley's Disability Rights Advocates
10
               L. Ruth Lowenkron, Director of the Disability Justice Program al New York Lawyers for
11
                   the Public Interest
12

13             M. United Spinal Association

14            N. Access Living of Metropolitan Chicago
15
               O. Taxi and Limousine Commission
16
               P. Melissa Riess, a staff attorney with Disability Rights Advocates
17
               Q. Unmh Civil Rights Act
18
]9             R. California Disabled Persons Acl

20             S. City of San Francisco

2^             T. New York City
22
               U. Judith Smith, Disability rights supporters of San Francisco, Califomia.
23
               V. The Disability Rights Advocates
25             W. Dorene Giacopini

26             X. New York Disability Advocates

2^             Y. New York City Human Rights Law
28
               Z. United Slates Commerce Department
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 1                                           6. FACTUAL ALLEGATIONS

 2          43.      Lyft is a major rideshare operator, transporting one-million passengers a day
'3
     throughout the United Stales in approximately 30 stales.
 4
            44.      Plaintiffs Company, iHug, hailed operation as a result of Defendants actions, as
 5
 6   described in all proceeding paragraphs of this Complaint, was a transportation referral Company in

 7   healthcare, launched in Sacramento, Califomia, and operated in approximately five counties.
 8          45.      iHug Software, Plaintiffs new Company, is a transporlalion-as-a-service software
 9
     Company, offering software throughout the United States in approximately 3,200 cities.
10
            46.      Uber is a major rideshare operator, transporting fifteen-million passengers a day
11
12   world-wide, offering services in over 600 cities.

13          47.      Andreessen Horowitz, is a Silicon Valley investment firm who's invested in Lyft.
14          48.      iHug, was embarking on one of the largest paradigm shifts ever witnessed in
15
     healthcare, truly combining healthcare and transportation, raising the slakes in Silicon Valley.
16
            49.      Plaintiff invested over a decade researching, developing and protecting his proprietary
17
18   and sensitive information related to his Company, including but nol limited to, sfrategies, products

19   and service offerings, healthcare API's, mobile rider app, mobile driver app, which gives life lo the
20   following but nol limited lo: artifacts detailing iHug's execution strategies, healthcare technologies,
21
     product plans, marketing plans, historical financial informalion, fuliu-e financial information,
22
     forecasts, customer data, driver data, personnel information and Plaintiffs $1,200,000,000,000
23
24   trillion-dollar healthcare opportunity, and his $25,800,000,000,000 Irillion-dollar new digital Ai

25   healthcare system particulars, including other highly valuable artifacts.
26          50.      Plaintiff took every reasonable measure to protect his proprietary information with
27
     numerous commercially reasonable policies and practices, including requiring: without limit, all
28
     contingent employees, volunteers, officers, investors, board members, and independent contractors lo
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 1   sign iHug's non-disclosure agreemenis, and confidentiality agreements.

 2          51.      Everyone who entered the iHug office signed the non-disclosure and confidentiality
 3
     agreemenis before proceeding past the reception desk.
 4
            52.      Joe, Louis, Jerry and Does would not have been, and could not have been, brought into
 5
 6   iHug, wilhoul signing the confidentiality and non-disclosure agreemenis.

 7                            A. ALLEGED DEATH THREATS BY DEFENDANTS

 8                                   THREATOPS TEAM AT PRE-LAUNCH
 9
            53.      In 2015, after Plaintiff spent years developing iHug while homeless, living in his
10
     trailer, coding the iHug healthcare app during the cold winters and hot summers. He completed the
11
12   iHug healthcare app and readied it for launch.

13          54.      Plaintiff launched iHug in early 2016 in the non-emergency medical transportation
14 industry, away from Uber and Lyft's taxi industry. The non-emergency medical transportation
15
     industry is an antiquated and inefficient transportation industry for healthcare. Plaintiff knew he was
16
     first to market in the non-emergency medical transportation industry using his "Rideshare for
17
18 Healthcare" model. Whereas the Rideshare for Taxi model would cause harm if applied in healthcare.
19   Plaintiffs Rideshare for Healthcare model was an on-demand wheelchair and sedan, CPR, Basic Life
20   Support Certified, healthcare provider driven transportation platform.
21
            55.      Plaintiff knew if he applied the "Rideshare Model," in the healthcare transportation
22
     industry, he would have the highest success rate in helping healthcare patients. A promise he made lo
23
24   his grandmother, who missed medical appointments due to lack of transportation, having to juggle

25   bus stop scheduling and her medical appointment times. She passed away from a stroke as a result of
26   the lack of transportation, health insurance, and medical preventative care and advice.
27
            56.      Plaintiff also knew the software was just one side his business. Plaintiff had lo sign
28
     contracts in healthcare lo grow. He started posting new software developer openings for iHug.
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 1          57.      On July 29, 2016, Plaintiff hired Chris, who lived in Los Angeles, Califomia. Plaintiff

2    drove lo him and used the Uber and Lyft apps in Los Angeles, Califomia lo gel around with Chris.
 3
            58.      Chris signed iHug's non-disclosure, and then received all of iHug's code through
4
     Gilhub, a repository based system lo hold code base. Pictured below, iHug's new Developer working
 5
6    with Plaintiff Pictured below in the middle. Plaintiffs trailer and bed he spent years developing iHug

 7 and slept in. Pictured below on the bottom, iHug's healthcare app.
 8
9
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                  A l . Defendants ThreatOps Team Compromise iHug's Software Developer

 2          59.      On November 14, 2016, 4 months later, after receiving all of Plaintiff s software and
 3
     corporate secrets, the developer was compromised by Defendants as they used Hell Programs lo track
4
     the software developers home, and phone details using Uber and Lyft's apps. The developer changed,
 5
     and started acting erratic, over charging Plaintiff and sabotaged the software.
 6
 7          60.      The relationship eroded, and iHug's software was placed on a public repository on

 8 Gilhub so Defendants can grab the code base as described in Jacobs letter, in the Waymo-vs-Uber-
 9
     Case#3:I7-cv-00939-WHA, as described by Jacobs:
10
     Strategic Services Group (SSG) is Responsible for human intelligence (HUMINT), a collection
11
12   through Uber in-house personnel or outside vendors.

13          This team supports the Intel, Investigations, and Marketplace Analytics teams. It also receives

14 confidential assignments from its manager(s). In addition, Uber's senior executives (A-team) task
15
     SSG with assignments.
16
            Mr. Jacobs testified, he learned of an internal organization that gathered trade secrets, code
17
18 and other information about its competitors. It was called the "marketplace analytics team, "
19   according to the letter, which had been redacted by Uber.

20          The group frequented the code-sharing site GitHub, searching for private material that may
21
     have been accidentally revealed by competitors.
22
                    A2. Plaintiff Alleges Defendants ThreatOps Team Threatens His Life
23
            61.      On November 19, 2016, days later, as Plaintiff continued seeking a software
24
25   developer, he received an email from a new "software developer," ("suspect") asking Plaintiff lo call

26   him. The phone number provided was a San Francisco, Califomia based phone number.
27
            62.      When Plaintiff called, the suspect asked Plaintiff for his first and last name and started
28
     interrogating Plaintiff. When Plaintiff redirected the conversation to focus on the suspects software
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 1   experience, the suspect threatened to kill Plaintiff if he continued looking for a software developer.

2    Plaintiff immediately contacted authorities lo report il and the details were forwarded to local Police
 3
     Departments.
4
            63.      Pictured below on the left. Plaintiff reporting the incident, giving his slatemenl on the
 5
     conversation. Pictured below on the right, Plaintiffs concem was forwarded on to local Police.
 6
 7       From: "Adam John"                                                11:58-?                                   .li? LTE ij
         <tjmHm@gmail.com>
 8       To: "new site super users"                                      <                              0     0      13           -
9
         Subject: Death Threat                                           Re: Death Threat » Inbox                                 ^
10       Date: Sat, Nov 19, 2016 2:47 PM
                                                                                                    Nov 19,2016
11
         Hello,
12
         I posted an ad on Craigslist, looking for an
13       software developer. 1 received a number
14       through email from a guy named David.
         He told me to call his number +1 (415)
15                             IA.                                        Date    Nov 19,2016,3:54 PM


                                                                                                             5 message
16
         I called and asked if he is a app developer
17       and he asked for my first and last name. 1
                                                                         Adam -
         said I can only give my first name. He said
18
         oh well your not going to give you last                         I passecflHMHBMHBMM PD. Not sure
19       name now? 1 said I just need to know your                       how c l o s e P H H U ^ ^ H ^ m but, you may
         experience and if you're a good fit. After                      want to contact your local PD.
20       he went on a list of technologies but
21       couldn't describe experience. I said thank
         you, I don't think this is a good fit.                              Reply message
22
23       He then proceeded to say FUCK YOU,
         fuck you man, I said 1 have to go bye, I
24       then hung. He calls back and says, fuck
         you, I'm going to hunt you down and kill
25
         you, I'll track you. Fuck you!
26
         It was totally unprovoked and came out of
27
28          64.      On November 26, 2016, 7 days after Plaintiffs life was threatened, Chris sent

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                                                            -39-
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 1   Plaintiffs team members a slanderous email claiming Plaintiff was a con-artist. Most of the leam

 2   members disbanded from iHug. It's alleged, established, and substantiated, this tactic is used by
3
     Defendants ThreatOps Team lo damage competitors. Pictured below, the software developer slanders
4
     Plaintiff lo his entire team, as the Developer was threatened and compromised, a similar lactic used
 5
6    by Defendants as described herein and all proceeding paragraphs of this Complaint. Chris exposed

 7   Plaintiffs code to iHug's healthcare app on Github, causing irreparable damages. This allowed
 8   Defendants to acquire iHug's developing codebase and other commercially competitive details.
9
                                                            Subj...
10
                         Inbox    .                     (    Ad...'    ' 11/26/2016 8:48 pm                       7k
11
12
     ^1     lireVlewii            R^pIV J Repiy^^                                           Delete        i   Print
             e'Sa.' '•:'W" ^-'A

13                                                IHug Scam
                       From: Christdpher l
14
       I just want this to be known, Adam is a con artist, and I took actions of my own due to
15     Adam scamming me.
16
       Furthermore, the IHug app is junk, rrn a senior developer and I bet my life It'll never be a
17     successful platform due to bad project management and development ori Gary end. I'm
       sorry to break the bad news.
18
19
20
21
22
23
24
             65.         God gifted Plaintiff with iHug, tt is Plaintiff calling. Sb, Plaintiff continued pursuing
25
     iHug, a revolutionary new, "Rideshare for Healthcare," model, giving iHug a 5 to 10-year head start
26
27   on Lyft and Uber in the markel.

28           66.         Plaintiff integrated 911 features in the app, subscriptions, in-home care and olher

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                                                            - 40 -
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 1   exciting new services Uber and Lyft could nol, did nol, and currently do not offer.

2           67.      Pictured below, Plaintiffs features of his earlier versions of his healthcare
 3
     transportation app, not limited to iMed Services through Apple's Cloud service. A revolutionary way
4
     to receive healthcare on-demand.
 5
6
                   v t ^oebug Window Help
 7
 8                                Carrier

9
10
11
12
13
14                                                          iMed
15                                                           SERVICE
16
17
18
19                                                                   KV
20
21                                             Patent Pending - US
22
                                            iMed" v;ori(S vuith any iWatch m
23
24
                                                   ''his sorvice is S9 93 pei month
25
26
27
                            •                  - ....
28

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                                                            -.41 -
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 1                                B. THE SECRET INSURANCE SCHEME THAT

 2                 UNLAWFULLY SUPRESSES COMPETITION AND LURED IN PLAINTIFF
 3
            68.      The Plaintiff and competitors alike, are lured intb Defendants' deceptive insurance
 4
     scheme, using a constmcted insurance policy that was designed to unfairly suppress competition.
 5
 6          69.      James River Insurance is the primary issuer that blocks all of Defendants competitors.

 7          70.      To further suppress competition. Defendants pushed for regulation, forcing
 8 competitors to purchase a policy in order lo operate, where competitors are automatically denied for
 9
     being "too small."
10
            71.      This has allowed Defendants to grow their transportation network operation, with
11
12   little lo no competition, monopolizing the transportation network industry.

13          72.      Nol only do Defendants suppress competition while working with James River
14 Insurance lo deny competitors policies, Defendants orchestrate its Drivers in symphony with
15
     Insurance Agents ("Agents") using its brand power and cash incentive, violating Califomia
16
     Department of Insurance Code, in particular, Deceptive Sales Practices, in order lo misappropriate
17
18   highly competitive artifacts, including trade secrets, and misappropriate Transportation Network

19   Company ("TNC") drivers to unjustly enrich Defendants.
20          73.      After Plaintiff reversed-engineered the insurance scheme, the following and factual
21
     key points surfaced, indicating il was engineered from day one, to unfairly suppress competition:
22
            (1) James River Insurance controls issuance of $1,000,000 million-dollar masler TNC policy,
23
24          restricting and denying a majority of common competitors to Uber and Lyft;

25          (2) Defendants pay James River Insurance hundreds of millions of dollars in order for
26                Defendants lo "operate," excluding competition, where James River Insurancefightsnol
27
                  to pay for insurance claims Ip'Drivers. In particular. Plaintiff had an Agent admit lo in
28
                  front of witnesses, her TNC Drivers on Lyft and Uber were denied
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                                                   .     • •-42--
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 I                coverage when il should have been afforded;

2           (3) A new TNC competitor starts their own business and contacts an Agent for a TNC policy;
 3
            (4) Agent connects new TNC owner to Defendants' Drivers to infilfrate TNC through fraud;
4
            (5) Agent falsely promises a TNC policy;
 5
6           (6) Agent obtains TNC business plan and hands it off to the Defendants' Drivers;

 7          (7) Defendants' Drivers reveal and hand off the business plans lo Defendants in covert

 8          operations;
9
            (8) Agent denies policy as TNC is too small, requiring 3,500 riders per week to qualify;
10
            (9) Agent and the Drivers misappropriate the new TNC driver contact details;
11
12          (10) Drivers receive cash incentive from Defendants to recruit new TNC drivers onto

13          Defendants' platform;
14          (11) Agents eam cash per rideshare gap policy sold lo the new TNC drivers who are tmder
15
            Defendant's $1,000,000 million-dollar masler policy;
16
            (12) Competition is and continues to be suppressed in the United States.
17
18          74.      A quick online search, clearly proves businesses, and drivers are denied coverage

19   consistently from James River Insurance an alleged shell company, in particular the Belter Business
20   Bureau ("BBB") and Yelp have over 80 complaints, for no call back, and denial of coverage.
21
            75.      The scheme exists, involving multiple Insurance Agencies, Independent Agents,
22
     and Independent Drivers, as one whistle blew to Plaintiff.
23
24          76.      The Agents and Drivers receive cash incentive from Defendants to acl unlawfully,

25   who have "common motive to collude," using deceptive business practices and fraud.
26          77.      This scheme has caused irreparable and immeasurable amounts of damages lo Plaintiff
27
     and his Company, iHug, and competitors throughout The United Stales.
28

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 1          78.      Pictured below on the left is Joe, a Lyft and Uber Ambassador, third-party vendor.

2    Driver and left-hand man lo John, Co-Founder of Lyft. He was introduced lo Plaintiff by Agent.
3
            79.      Pictured below ori the right is Louis, a Lyft and Uber Ambassador, third-party vendor.
4
     Driver and right-hand man lo John, Co-Founder of Lyft. He was introduced lo Plaintiffby Joe.
5
            80.      These individuals are tasked with assignments from Uber and Lyft Senior Executives,
6
7    and frequently engages in fraud and theft, in order to obtain, unauthorized data and informalion, see

8    particulars in case: Waymo-vs-Uber-Case#3:17-cv-00939-WHA, as described by Jacobs:
9
     Strategic Services Group (SSG) is Responsible for human intelligence (HUMINT), a collection
10
     through Uber in-house personnel or outside vendors. This team supports the Intel, Investigations,
11
     and Marketplace Analytics teams. It also receives confidential assignments from its manager(s). In
12
13   addition, Uber's senior executives (A-team) task SSG with assignments.

14
15
16
17
18
19
20
21
22                                                             Louis on the right, with Lyft Co-Founder, John.
                      Joe on the left.
23
24
25
26        LYFT A N D     FARMERS         I N S U W A N C E

27
28

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                        ^     •                              -44-
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 1          81.      Pictured below on the left. Plaintiff confirms, Joe and Louis signed and confirmed
2    they had no conflicting interest with Defendants before involving them in iHug. This text
 3
     message substantiates Ambassadors are under control by Uber and Lyft.
4
            82.      Pictured below on the right, Joe has access to Agents' systems, including
5
6    Facebook.
 7          83.      Joe uses Agents' systems to intercept competitor's business plans handing them
 8
     off to Defendants, and using competitor's driver lists to recruit them onto Defendants' platform
9
     in order to receive cash incentive. Unlawfully growing Defendants platform.
10
11
         Brilliant! You don't think I'H get                                The uber thing is old • ;t • •
12       in trouble with lyft right?                                      :ne\A/s.;.they vvere planning that
13                                                                         some time ago already

14
15
16                                                                         W^ird: My phone is not letting
                                                                           me comment as myself but as
17                                                                         "Rideshare Lady'' on Facebook
         True. I'm no longer a
18       Ambassador lol                                                    \o\L ;^ C.''\L'::L'-':j(
19
            84.      Pictured below, "Agent" receives Plaintiffs business plan for "insurance
20
21   purposes." It's alleged, Joe had access to Agent's email systems and unlawfully extracted iHug's

22   plans, leaking them to Defendants.
23
                               Thank you for this information . Do you have copy of
24                             your company business plan ? They do require this
                               unfortunately like if you iare applying for a bank loan.
25                             PatridaHHH
                               Parmeis Insurance
26                             ^J^Hfannersagent.com
                               ht1p://ww-fermersagent.cotnJ[B|
27
28                             FARMERS


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                                                            -45 -
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 1          85.        Pictured below. Agent provides afictitiouspolicy to lure Plaintiff into Defendants
2    insurance scheme.
 3
                                Farmers Insurance
4
                                RE:            Krazy Ride Technology
 5
 6                              INSURER:       James River Insurance Company

 7                              EFFECTIVE DATES:                2/1/2016               to

 8                              COVERAGE TYPE                                        LIMIT
9
                                Commercial Auto Uability - Symbol 10        $1,000,000 CSL
10
11          86.        It's alleged, the Agent had prior knowledge that Plaintiffs Company was "too
12
     small," and planned to subsequently deny a TNC Master Policy months later.
13
            87.        The following months allowed enough time for Defendants and its Drivers to
14
15   infiltrate and misappropriate corporate secrets and other competitive details.

16          88.        The TNC Master Policy is controlled by James River Insurance, a supplier of
17
     TNC policy to Defendants. Its alleged James River Insurance colludes with Defendants.
18
            89.        Pictured below, Agent used Farmers Insurance brand name and trust to mislead
19
20   Plaintiff in order to misappropriate Plaintiffs driver lists, handing them to Defendants Drivers.

21                •      , Inbox           •    .      }      re       . 04/06/2017 10 16 am '       T 10 k
22                    Preview         ":-Repiy 'T'"Rep^^                            I Delete ' I'"'''Print
23
              3         Subject: t ^re: Rideshare Insurance
24                        From: "Patricia H H H I           <a^MQ@ihygHH|
25             Good Morning Adam,
26             I wanted to check in and see how you are doing ? The Rideshare
               insurance rates in Farmers Insurariee are really good we have actually
27             already wrote some policy's with an effective date of April 12th.
28

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                                           ^ '• •. •       • ' - 46- ,• •
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 1            90.    Defendants Drivers, in particular, Joe and Does then recruit the misappropriated
2 competitor Driver details, and on board the Drivers onto Defendants' platform to receive cash
3
  incentive.
4
5        91.   The drivers are then put on Defendants' $1,000,000 million-dollar master policy.

 6            92.    This allows the Agent to receive cash incentive and payments for selling a
 7   "Rideshare Gap Policy" insurance premiums to add Drivers to Defendants Master TNC Auto
 8
     Policy, unjustly and unlawfully growing Defendants platform, suppressing competition.
9
10           93.     Plaintiff asserts, the common business owner who starts his or her own rideshare

11   TNC company, is suppressed by the insurance scheme, that solely benefits Defendants, as it's
12 impossible for any startup to process 3,500 rides per week, which is required for James River
13
   Insurance to provide a policy, thus suppressing competitors.
14
15        94.    Pictured on the next page. Agent received an email from a James River Insurance

16   "broker," after Plaintiff waited 7 months for a response, where he was eventually denied.
17           95.     The 7-month time-frame was intentional, so that Joe, Louis and Does were able to
18
     misappropriate iHug's corporate material, customers, drivers, systems and trade secrets.
19
     ///
20
21   ///

22   ///

23
     ///
24
     ///
25
     ///
26
27   ///

28   ///


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 1    Folder Inbox                                                                         ;' - - »      Message 1 of 683 (

 2    <Mteply T ffonatd y. ® Oeleta G&Mov»v 08|iam QfUnt I^ShawrHeadam Uorav                   X Ctosa

 3    iubject RE: RE:ridesharecommercial policy IHug i                 !
         Date: 12:48 PMPST. 11/08/17 m C g g B S j ^
 4      From: Karen | H ^ ^ H ^ ^ H @ c t r d n s . c o m > [ACMto^Con^l[Btm*&md^j |AUCWSer^i
          To: Patricia ••^^•••ftirrnersagent.com>
 5
      Patricia
 6
 7
 8    I spoke with the broker here and the risk was declined by the markets as

 9
10    Regret the markets would not be willing to reopen their files

II
12
      Thank you for the opportunity.
13
14
      Karen Prescott. CIC CMS ARM | Account Executive - Dallas (Walnut HUI) |CRC Insurance Services Inci
15
16
17
18                     Pcrcins.com | website: www.crclns.com

19
20
21
      PLEASE NOTE MY I
22
23
24    From: F^trlda • • • ^ • ^ ^ ^ • • • • • • • H
      Sont; Wednesday, Novgnber 08, 2017 2:22 PM
25    To: Karen
      Subject: Fwd: RE: rideshare amunerdal policy IKug
26
27
28

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                                                   .    . ^,-48- ; •
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 1           96.       Pictured below, unbeknown to Plaintiff, another Agent already knew Louis, and
 '2   Juan, who is a Lyft driver, and Louis' partner, substantiating the insurance scheme exists, that
 3
      unlawfully suppressed competition, allowing Defendants to monopolize transportation.
 4
             97.       Louis, Joe and Does work with Agents to misappropriate drivers, customers and
 5
 6    competitive material to unjustly enrich Defendants, in particular, iHug, which has caused
. 7 irreparable damages, exposing Defendants to class-action lawsuits from small businesses across
 8
    The United States who were damaged by Defendants as described herein.
 9
10            Kyle I                                  Dstatefarm.com>
              to Ad&m, Joe, Juan, me
II
              Sounds gcxKi.. . lool^ lil^ I krKiw a couple ef your team mennbers already (Hi Juan ard LJQUIS!)
12
13           98.       Pictured below, Lyft Executives from Headquarters ("H.Q.") Agents and Drivers.

14                                                                                       Kyle Mlddjeton - State Farm Insurance -
                                                                                         Agent
15                                                                                       Like This Page ;v'- :•.   ©

16                                                                                Fun and lively Q&A session with Lyft drivers
                                                                                  hearing updates from HQ. Thanks Louis Pritchett
17
18
19
20
21
22
23
24
25
26
27
28

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 1                           Bl. The Aftermath of Defendants Insurance Scheme
 2        99.      Pictured below, and the proceeding pages, the results of the insurance scheme:
 3
 4                  Christopher G
                                                                                                        03/16/2019
 5
                    This company heeds to be Investigated and pay the people they have screwed over. An
 6                  absolute fraudulent criminal company that rideshare companies use to pass the buck fbr"
                    responsibilities. They really hurt me financially and I was just trying to make extra income
 7                  after two heart surgeries.

 8

       G
                    Duane W
 9                                                                                                     09/26/2018

10                  I was involved in a hit and run over two weeks ago, while driving an **** passenger.
                    Unfortunately, I was forced to file my claim through James River Insurance. Not only did
11                  they attempt to tell me that the damages were below the $**"* deductible, they attempted
                    to find any way to delay me getting my car repaired. The representatives that I spoke to
12                  never had the right information. The manager and assistant managers don't seem to
                    understand the value of providing adequate customer sen/ice as well. They are truly an all
13                  around jbke. Now I can see why they are such a Joke within the rideshare. community.

14

       0
                    Sterling G.
15                                                                                                     09/30/2017
                    $1k deductible for            Insurance? Ridiculous!!!
16
17                  Thomas T.
                                                                                                        06/16/2017
18
                    My stationary ciar was hit by an **** driver who was Insured by the James River Insurance
19                  Company (JRIC)., Not only was liability fduhd to be merely 50% despite photographic
                    evidence to the contrary, it took a month ofmy repeatedly calling and sending emails for
20                  the JRIC adjuster to arrive at her decision, during some portion of which I was
                    misldentlfied as the partner driver rather than the claimant - a fact which I only happened
21                  to find out by chance when I called JRIC In order to figure out a way of avoiding using
                    their claim submitting app, the EULA of which stipulates that the app company is entitied
22                  to access, record and use personal data Including phone telemetry, •"»•**• data, and other
                    egregious and unnecessary Invasions of privacy. The end result pf all these issues was
23                  that I did not feel JRIC acted in ;gobd faith, and I got the distinct ihipression that if I had not
                    been so proactive niy claim would have been either Ignored or confused to the point that
24                  pursuing It would have been either very difficult or impossible. The only way my
                    experience could have been worse is if the liability were found to be even less reflective
25                  ofthe actual events of the accident.

26
                    Bnan
27                                                                                                     05/26/2017

28                  Worst insurance company ever. Only Insurance company willing to cover uber.


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                                                            - 50-
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 1
2
                            Better Business Bureau®                                  jQln/APBly I CQhsumgr Login

.3                                                                             w a Near     Sacramento, CA

4
5                   Obinna O.
                                                                                                    01/25/2017
6
                    I was in a wreck, James Rlver(via their staff: Deja       called nie that they're a contractor
7                   to another party and try to pressure me to settle for less and intentionally withheld
                    information to condition me to close the Case and I refused repeatedly. They went as far
8                   as colludlng(antl-trUst lavy). Very bad insurance company. Bad faith Insurance.

9

       0
                    Joshua C.
10                      ^   ^   ^   ^                                                                01/17/2017

11                  Worst Insurance situation o f my life. I was stalled put, my claim was not being followed
                    through on by anybody at James River consistently during the whole process. I was
12                  tossed around like hot potatoes from person to person arid.stll| left with a long wait I was
                    being told they did not even know the whereabouts of my car at certain points, and it has
13                  been 34 days since my claim stalted, and my cars is still ndt flxed, or delivered to the
                    shop name that I provided oyer 2 weeks ago. I have a $1,300+ bill from «•» *•"** due to
14                  the ne^glectTye experienced in getting my situation resolved, i work for "**, and I won't be
                    any longer after this experience. A 63 billion $ business such as **** should have "***
15                  insurance, not the swindlers and stallers Known as: James River Insurance company. If I
                    can legitimately file a.lawsuit for negligence and,*********, I surely will. Ifyou are dealing
16                  with James River. STAY QN THERE HEAD THE WHOLE T I M E ; Y 0 U R CLAIM IS BEING
                    DEALT WITH, THE MINUTE YOU LET UP IS THE MINUTE THEY GET BACK TO DOING
17                  NOTHING TO HANDLE YOUR CLAIM. THESE PEOPLE *"*. I mean every slngle thing I Just
                    typed to the fullest. **** DRIVERS BEWARE!!!!!!! They don't care about you or your car, and
18                  if your In a situation like mine d o n t expect them tp care at all.

19
20                                                                                                  09/15/2016

                    This company Is terrible the worst customer service in their claims department, they never
21
                    answer the phones & it typically tobk1-2.days to respond to emalis/volce malls. It's taking
                    them almost 2 months to settle my claim    which j!m stilt dealing with.
22
23
                                                                                                    08/10/2016
24
                    Horrible. I was hit by someone Insured by James river Insurance co: on my wedding
25                  week! Tiniiothy B******* was the guy to over see my case. Took forever to answer my wife,
                    waited for weeks to answer back; It wasn't until I kept calling and calling that I heard back,
26                  from him, not answering phone calls, not returning phone calls, or volcemall, or emails. I
                    went through to speak with his supervisor but she never answered back. After fighting so
27                  much to be heard out my situation was mediocrity solved. Unprofessional and definitely
                    not cUstoririer friendly.
28

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      Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 139 of 825
 1                           EliD.
                                                      Q . Q B D S 11/21/2018
                             Richmond, VA
 2                           H 13 friends             this insurance cornpany is a JoheKdo not use them if you
                             O S reviews
                                                      can avoid it. All of their insurance adjusters for the east
                                                      coast are in Mzor\a, so you wont be able to tialk to therii
 3                           © 1 1 photo
                                                      until 10:30 in themorning.

4                                                     I have, never dealt with a more infuriating company in my
                                                      life!
 5                                                   /.Cindy S. and 3 others voted for this review

6                                                           Usafui 4     j @ Funny j       @ Cool


 7
                             Keib.
                                                     O O O O O 4/4/2019
 8                           Pasadena, CA
                             $4 40 friends            -THE. WORST.
                             Q 1 review               No one wants to help. My clainVcase has been passed ip
9                                                     6 persons now but no one can still helj; to approve and
                                                      have my repair shop start the work. My car has been
10                                                    sitting unrepaired for THREE WHOLE WEEKS NOW.

11
                                                      Byron B. voted tor this review

12                                                          Useful 1 i      @ Funny i      @ Cool


13
                             CC.
                                                     y O Q Q B 3/16/2019
14                           Las Vegas, NV
                                                     This insurance company needs to be investigated by the
                             $ 1 0 friends
                             • 12 reviews
                                                     authorities and forcad tp.pay people they have screwed
15                                                   over. Absolutely a crinriinal fraudulent company.

16
17
                                                     ' Bynin B. and 3 outers voted for this review

18                                                          Useful 4 \      @,Furtny   |   @ Cool


19
                             Emmanuel C.
                                                     Q B Q B B 4/10/2019
20                           Powiiay, CA
                                                     Thisbcdmpahy has ho full coverage. They dont cover a full
                             1 ^ 129 friends
                                                     coverage for the accident I had an accident and they did
                              O 7 reviews
21                                                   not want to help with 75% of the costi Please uberl
                                                     Change yourinsurance!
22
23
                                                     Was this review ...7

24                                                     ( f ) Useful I i ©    Funny ! j @ Cool


25
                             Andres S.
                             Anaheim, CA
26                           i i 691 friertds        This company is a complete joke. I'm really sorry if you're
                                                     Involved In an accident, and have to deal with them. The
                             O 123 reviews
27                           gEl Ta photos
                                                     customer service lady who I called was trash.

28

          Adam John Mackintosh—vs—-Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life. Declaratipn of Independence, Bill of Rights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                         • - 52 - •
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 1
                               CarlosH.
                                                     • Q B Q Q O 1/10/2018
2                              Lawndale, CA
                                                      ^JAMES RIVER INS. NOT ACTING IN GOOD FAnH^"
                              : a 38 friends
                                O 91 reviews
3                             '@.123 photos
                                                     I was hit by another uber driver pn 12/27/2017.. I have
                                                     pictures, audio of other driver. video from my dash cam,
                                                     etc.
4
                                                     My side of .the James river agent said based on all
5                                                    evidence I was not at fault.

                                                     The other James river agent for the other uber driver side
6                                                    said I was at 50% fault which is not the truth.

7                                                    Many problems deiaiing with JAMES RIVER INSURANCE...
                                                     THEY PLAY GAMES .AT ONE Point I had to speak with a
 8                                                   supervisor of (WHITNEY-JOSEPH) the other claims person
                                                     WHO IS ( LAURIE THOMAS) THIS SUPERVISOR LAURIE
                                                     WAS EXTREMELY rude, unprofessional, and disrespectful.
9                                                    When I asked her for the name of her supervisor she
                                                     refused... when I asked her for her sijpervisors phone
10                                                   number she replied "my supervisor does not talk to
                                                     drivers"

11                                                   This cail happened today 1/10/2018 at about 12:45 pm
                                                     paclfic'time... I later called and spoke with a JENNIFER
12                                                   who gave rrifl the name of that supervisors supervisor of -
                                                     NANCY BETHSOLV I HAVE LEFT HER A MESSAGE TO
                                                     C A U ME BACK.,
13
                                                     The other James river agent handling the other drivers side
14                                                   went from: stating that her insured and passengers stated
                                                     iTiy car ran irito hers., after I produced video she changed
                                                     to now it looks like I sped up and that's why she hit me.
15
                                                     I went as far as asking her to get a signed afldavid under
16                                                   penaHy of peijury from.the other driver and I would do the
                                                     same...But she said no.

17                                                   I WILL BE CONTACTING THE INSURANCE
                                                     CbiVIMISSIONER IN REGARDS TO JAMES RIVER
18                                                   INSIJRANCE COMPANY BUSINESS PRACTICES.

                                                     After all tha proof.. THEY want tb play the 50/50 game in
19                                                   hopes that I just give up. WOW I CAN NOT BELIEVE THIS
                                                     COMP/\NY IS STILL OPERATING.
20
                                                      Louis S. and 32 others voted for ,this review
21                                                         Useful 31      @ Funny 2       j @ Cool     1
22
                              Kasem S.
                                                     aQQOO5«1/2018
                              Norwalk, CA
23                               4firlands           James Rivei" Insurance Is the worst insurance company
                              ESj4 reviews           ever. I called and,emailed my adjuster, this guy never call
                                                     or email mefciack.I triad to called the other person who
24                                                   works for this compainy, but they dont wanna talk.to me.
                                                     They said " You have tb call and apeak tb your adjuster
25                                                   only, then they transferred my call to my adjuster and
                                                     nobody emsjver a call. I have never seen an Insurance
                                                     company wori< like this.
26
                                                      Carlos H. and lO ottiers votad for this review
27
                                                     \ (§) Usefuf 11 h © Fimiiy I | @ Cool, |
28

          Adam John Mackintosh—vs—Lylit, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill of Rights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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 1
                                                     B B O Q Q 7/11/2017
                           ^   Qlendaie, CA
                                                     Here wre go I was not surprised see all Negative
 2                         g i f f 2 friends
                                                     Comments, This ruthless creatures Do Not Answer Your
                               O 93 reviews
                                                     Calls contacted them lOOx times(No Joke) they do not
                               1 ^ 27piiotoa
 3                                                   return yourcall. They are full of BS. Nbt to give ur exact
                                                     estimate for your coverage I think I can gather a team to
                                                     prevent this scam, negative, unprofessional, nonessential
4                                                    company to shut downl Please anyone who had issue with
                                                     them contact me on yelp lets take this BS but of our city
 5                                                   worthless piss of "***l

                                                     Cano S. aifd 35 others voted for this review
 6
                                                     [ ( D Useful ,34"j' ; ©   Funny 4 j          Cool'l j
 7
                               LukeS.,
 8                             Chicago, IL
                                                     000002/15/2018
                               $1 258 friends        A morally tutnkrupt and criminally inesponsible company. I
 9                                                   was struck by an UBER driver who admitted fault w/ a
                               O 34 reviews
                                                     passenger in the .vehicle while I was on my bicycle: I neariy
                               ISI4 photos           died, smashed my head Into the concrete. Driver admitted
10                                                   fault in front of the police, the passenger and 7+witnessas
                                                     and these criminals are still denying the claim.
11
                                                     Cono S. arid 20 others voted for (his review
12                                                     ®   Useful 17 I i ©     Funny 3     i. ©   Cool 1 :j

13
                               Christopher L.
14                                                   • • • • • 3/23/2018
                               Reistustown, MD
                                  122 friends        My vehicle is In the process of being repaired after It was
                                                     hit from behind while I was driving in the vehicle, "rhe
15                             O 2 reviews
                                                     other driver tobk off and left me to deal with this insurance
                                                     company directly. My claims examiner, Jordan tiamson,
16                                                   has been amazihg and very responsive., So far they have
                                                     cut two checks to the business that Is doing the repair
                                                     wort< to my truck. He has gone tb extra mile to speak with
17                                                   witness's and have my deductible reduced from.$1,000 to.
                                                     $250 because l'Was not at fault and the.other driver fled
                                                     ttie scene. I'm glad Jordan has been my examiner as he
18                                                   has made this horrible experience a lot more tolerable.

19                                                   Teo Q. and 14 others voted for thts review

                                                     j ( D Useful 7      @ Funny 8 | j @ Cool
20
21                             HanaS.
                                                     0000012/11/2018-
                               SanCaitos.CA
                               $ 1 0 friends         If I could give this company a.zero for customer service I
22                             Q 11 reviews
                                                     would. Spoke to oiie of their reps, Jessica Yazzie, and she
                                                     was absolutely tenible. I felt like I was talking to a high
                               @ IB photos
                                                     school giri vifho had the worst attltiide. After trying to get in
23                                                   contact with hor, for a week via phone calls and emails and
                                                     even calling her back up number with no response back, I
24                                                   finally get a hold of her I'm already frustrated Ix: one of
                                                     their drivers hit me a .month ago and tliis has been
                                                     dragging so wrhen she tells me my claim hasn't even been
25                                                   finalized yet I of course get upset. SHE HANGS UP ON ME
                                                     and has the nerve to chuckle about It and say when I'm
26                                                   calm I can call her back. Are you kidding mel7 It.goes on
                                                     after I call back again but this is absolute temble customer
                                                     service and I hope.thls gIri goes to some kind of behavibiBl
27                                                   school to get her act logettisr, or grow up. She needs to be
                                                     taken off the phone completely
28

          Adam John Mackintosh—vs—Lyft, Uber. Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill of Rights, and Civil
                    Rights, American DisabililY Act, Trade Secret Misappiopriation, Unjust Enrichment.
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      Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 142 of 825
 1                             Brandon E.
                                                     OSQOQ--6/6/2017
                               New Lenox, IL
                                                     My wife arid I were In a crash whileridingwith, Uber. I
 2                             v« Slifriends
                                                     Immediately reported the incident and a few days later a
                               Q 27, reviews
                                                     rep. from James River jns. caljed tp get details and
                               d 2 pfiofos
 3                                                   whatnot. It seemed easy enough. She assured me they
                                                     would be fjaying for any medical bills we incuned (my write
                                                     needs PT).
4
                                                     Everything was going well until our case was transfened
 5                                                   over to their PIP department I completed the papenwork
                                                     the requested of me and called witii questions. Our rep.
                                                     has not raturned one phone call or email (dating back to
 6                                                   May 22nd). The supervisor hasn't retumed a call or email. I
                                                     called the supervisor's supervisor, but I'rh not getting my
                                                     hopes up;
 7
                                                     They seem to play the "waiting game" hoping you'll give
 8                                                   up. I'rii a stubborn sori-of-a-gun, so I can watt. Fortunately,
                                                     we have the finances tb cover up front costs, but for those
                                                     who do not, tha actions of James River Ins. are downright
 9                                                   shameful.

10                                                   I'm sure Uber utilizes their services because they were the
                                                     lowest bidder, but unfortunately the poor practices of
                                                     James River Ins. reflect directly upon Uber.
11
                                                     Cindy S. and 35 others voted fcrttils review
12                                                        Useful 35 { [ © Funny        | @ Cool 1 I

13
                               Michelle P.           000005/30/2017
14                             Riverside, IL
                               ? | 37 friends        I was In an accident with an Uber driver, which was his
                               Q 30 reviews
                                                     fault. He wrote on the police report that hs had Allstate
15                                                   Insurance, but when they found put he was on the clock
                                                     for Uber when the accident happened, they said wa would
                                                     have to go thibiigh James River. What a nightriiare.
16
                                                     Rrst of ail, they talked me into using their online app to
                                                     document the damage. Big mistake. The app does not
17                                                   give you clear Instructions about how to take pictures of
                                                     tha car, and If you can't find good lighting, the pictures do
18                                                   not clearly show all the damage. However, once you start
                                                     the process, you can't start over. You can't delete any
                                                     photos.you take or stop the process and wait to finish
19                                                   another day when the lighting or location are better.
                                                     Needless to say, the pictures did not capture the damage
                                                     accurately.
20
                                                     The estimate we got from them was extremely low. We got
21                                                   estimates from 5 other insurance companies/body shops,
                                                     and the James River quote was much lower than anyone
                                                     else's by neariy $1,000. When I spoke to them about this;
22                                                   they said that they would cut us a check for the estimate
                                                     amount to pay the t>ody shop, and If that wasn't enough
23                                                   money, the shop could apply for supplemental money to
                                                     cover the repairs. Yeahright:Our body shop said they've
                                                     had a tanlble lime getting supplerriental money from them
24                                                   for other repairs and would prefer not to work with them at
                                                     all.
25                                                   We've now filed with our own Insurance company, but It
                                                     yyf 11 be a real palri for thent to recoup our deductible front
26                                                   James River. At this point, we will never be able to get our
                                                     car fixed.

27                                                   Two lessons learned here: 1) try not to get Into an accident
                                                     with an Uber/Lyft driver, and 2) file a claim through your
28                                                   own insurarir« company, NOT Jariies River.



          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe. John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill of Rights, and Civil
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                                                           -55.'
      Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 143 of 825

 1                      Tony M.
                        L.ancaster, CA             Q S O B S 12/31/2017
 2                       $ t 91 friends            This is the Insurariee Company used for UBER drivers that
                                                   are Involved in an accident. They will drag their feet to
                        , Q 127reviev^
 3                       iSi 2 photos
                                                   handle your clainri so they can pay less for your car if Its
                                                   totaled. They will also loyv bait you with really low figures
 4                                                 so they can pay lesis: If the accident Is your fault as ah
                                                   UBER driver they will not.pay any Medical Expenses, you
 5                                                 will be on.your own. Yes Its true, this Insurance Company
                                                   is hot in the liusiness to Pay Claims.
 6                                                 Barbara W. and 14 others voted for this review
 7                                                   ( f ) Useful 15   1 @ Funny             Cool

 8
                        Famz P.
 9                                                 fiSkSQ^^iJ 4/10/2017 •
                        Torrance, OA
                         I 1 1 7 friends            So I have to put this review up again because someone at
10                                                  James River insurance got my original post taken down.
                        : O 58 revlevifs
                                                    So here goes again. This Is literally the worst Insurance
                        ' & i 1 photo.
11                                                  company in this country. They refuse to answer phone
                                                    calls In a timely manriei-- and thiat includes the mahagisrs.
                                                    They literally gave us no explanation on why we were at
12                                                  fault, (which our prirnary insurance and every other opinion
                                                    we haive gotten says it wasn't our fault) and they literally
13                                                  made the deisision out of thin air. Aftier calling for 3 days,
                                                    we finally got ahold of Nathan Can^l, and he Infomied us
14                                                  that we were at faiitt, and literally shot down every
                                                    question we had by saying his decision was final. That's It.
15                                                 .Seriously, If you can avoid working with this Insurance
                                                    ageni^, you will be better off
16
                                                   -25/5 stars
17                                                 Nicholas F. and 25 b ^ r s voted fbr this review

18                                                   (9) Useful 25 h @ Funny 1'           @ Cool

19
                        Jamie G.
20                      Los AiigeleSiCA
                         $10 friends               I was hit by an Uber drivei- back In Nov or 2017. The initial
21                                                 damageis of my vehicle were not that much but when I
                        • O 4 reviews
                                                   triiBd to trade it io I found that there was in fact stmctural
                                                   darriage which caused a significant loss, i decided to pay
22                                                 a professional appraiser company to assess my Vehicle
                                                   and mailed In my demand to this Insurance company.
23                                                  •Their response was not even close. I am now going on a
                                                   month of dealing with this and plan to write to the
24                                                 califomla insurance iadjustor to see if they can help. This
                                                   company Is awful and does.not care about your losses.
25                                                  They will put you through the ringer to attempt not to pay
                                                   out.
26
                                                   Cynthia A. and 4 otiiers voted for this review
27                                                   ® Useful 4        @ Funny 1 j       @ Cool

28

          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Civeri Right to Life, Declaration of Independence, Bill of Rights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 144 of 825
 1                                    B2. The Competition Suppression Begins
.2           100.    Pictured below, and on the proceeding pages, Plaintiff chooses to launch iHug
 3
     services exclusively on the Apple platform in 2016. Apple has the world's safest and most secure
4
     ecosystem, a perfect match for healthcare. Even after the death threats, and slanderous activity
 5
6 by Defendants ThreatOps Teams, after iHiig launches, Defendants attempt to wrongfully
 7 imprison Plaintiff, and rob the American people of iHug's Official Rideshare for Healthcare
 8
     Platform, a CPR and Basic Life Support certified rideshare. Plaintiff inspired thousands of
 9
     people in Sacramento, California to help build iHug.
10
11          101.     Pictured below and on the proceeding pages are snapshots of iHug's
12 advertisements to execute his $1,200,000,000,000 trillion-dollar healthcare opportunity, and his
13
   $25,800,000,000,000 trillion-dollar new digital Ai healthcare system in the future.
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                                                                      AppStoie.
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23                                   iHug
                        Hoaithcare when yoLi            ivcj.
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            Adam Johin. Mackintosh—vs^—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill of Rights, and Civil
                      Rights, American Disability Act, Trade.Secret Misappropriation, Unjust Enrichment:
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12               I        Call Today I .or                                  - f f r S ^
                 ; .   Customer Happiness Center         • T j : .':??:•. ; .      r V p p j U J I C
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jeriy, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right tp Life, Declaration of; Independence, Bill of Rights, and Civil
                    Rights, American Disability Act, Trade Seciet Misappropriation,-Unjust Enrichment.
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 6                 Non-Emergency Care Rides
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                     "Safe, Courteous, On-Time and Glean"
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9                                No A|ltilica|i|»ii
10
                                        On-Demand Rides
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12                                                  Also Available:
13                          Wheelchair Accessible Vans
14                    V PeriodontiGs                        ^.Post-Surgery
15                    ^Appointments                         ^Prenatal
16                    ^Dialysis                             ^ Physical Therapy
17                    V Chemotherapy                        ^ Colonoscopy
18                    V Assisted Living                     V Rehabilitation
19                    ^Urgent Care                         ,T Discharges;
20                    ^Home Care                          , ^ Medical Testing..
21                    V Family Events                      ^ Religious Services
22                    ^ Plastic Surgery                   „ V Chiropractor
23                    ^ Behavioral                          ^Vision Appointments
24                    V Memory Care                         w Prevention Screening
25                    ^Skilled Nursing                   . ^ independent Living
26                    ^Veterans                             ^Seniors
27
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          Adam John.Mackiritosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill of Rights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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                     Carilides^^
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12                        Call Today                                           ' D o w n l o a d on t h e

                       Customer Happiness Center               ':;y 4 w App Store
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           Adam John Mackintosh—^vs-—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
      Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill of Rights, and Civil
                     Rights, American Disability Act, Trade Secret Misappiopriation, Unjust Enrichment.
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          Adam John Mackintosh—vs—I./yft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God pive'n Right to Life, Declaration of Independence, Bill of Rights, and Civil
                    Rights, American Disability'Act, Trade.Secret Misappropriation, Unjust Enrichment.
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                           '^.f. ^ M i "    ' ......       V -    ....                       ^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^
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21                   Appiejust apprOvecJ iHug! THe first,ever wheelcliair app.
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                                     Medical Chefck-Up •                                     y Hospitai D-ischarge
23                                   Diaiy.si,s & RK Pick-Up.                                ^ Family Events •
24                                   Grocery Shopping'                                       # P-hy.sical Therapy

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27                             ihugnow.com                                                        ,     ihugapp.com
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill of Rights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill of Rights, and Civil
                    Rights, American Disability Act Trade Secret Misappropriation, Unjust Enrichment.
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          Adam John Mackintosh—vs—Lyft, Ubei-, Andreessen. Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill of Rights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill of Rights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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 1           102.     Pictured below and on the proceeding pages, you will see a community rally
2    together, in particular, PlaintifFs Wife, who was happy, cheerful, energetic and full of life, posing
3
     in photos with everyone, who beheved in iHug, a Company America and the world needed, it
4
     was a safer rideshare than Uber and Lyft, and was tailored for healthcare.
 5
6
           AKING A DIFFERENCE IN OUR COMMUNITY!
 7
          life is prKciaus. so we believe the dearest gift we can give anyone 1$ roiiust heaithcare. Celebrating people and
 8        tiieir life,, thai: is who we are. Helping people live healthier, live happier and live longer, that Is what we do.

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            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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     Complaint for Infringement on Oui^ God Given Rightto Life, Declai-ation of Independence, Bill of Rights, and Civil
                    Rights, American Disability' Act, Trade Secret Misappropriation, Unjust Enrichment.
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           Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jeiry, Logan, Ben, and Does
      Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill of Rights, and Civil
                     Rights, American Disability Act;.Trade Secret Misappropriation, Unjust Enrichment
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                    Rights, Arnerican Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen. Joe, John, Louis, Jerry, Logan, Ben, and Does
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe', John, Louis, Jeriy, Logan, Ben, and Does
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 1                              B3. Uber Orders Its Legal Team and ThreatOps To Engage Again
2                    103.      Pictured below, while in the heat of unlawful anticompetitive tactics, Defendants
3
     continuously deleted Plaintiffs advertisements, unfairly competing and burning iHug's
4
     operational cash and investments.
5
6    •Removed ;      display repost We are ttie UBER for Healthcare - Eam Extra Cash $24-$70/hr!!   lax - ant healthcare ""'P»       11 Apr 2017 15:12
       • —       1
     i Removed       display repeat We are the UBER for Healthcare - Eam Extra Cash $24-$70/hrll    lax - Igb healthcare             11 Apr 2017 15:04
7
     ; Removed 1     display repost We are the UBER for Healthcare - Eam Extra Cash $24-$70/hrl!    lax - sgv healthcare ' " ^ i *   11 Apr 2017 14:58
 8    Removed 1      display repost We are the UBER for Healthcare - Eam Extra Cash S24-$70/hrl!    lax - lac healthcare             11 Apr 2017 14:51

9     Removed        disBtay repost We are the UBER for Healthcare - Eam Extra Cash $24-$70/hrll    lax -sfv healthcare              11 Apr 2017 14:45

      Removed j      display        We are the UBER for healthcare! Eam extra cash!                 eac healthcare '««i>*            27 Dec 2016 16:22
10
11                   104.      Defendants had motive, as iHug was outcompeting Defendants using his
12
     "rideshare for healthcare model," offering a premium and superior service to Defendants taxi
13
     service, as iHug paid drivers 5x more than Defendants, the drivers were CPR and first-aid
14
15   cerfified, background checks were performed twice a year, and the patient experience was

16   trusted by healthcare leaders.
17
                     105.      Plaintiffs Company, iHug, began transporfing patients to Kaiser Permanente,
18
     Eskaton Village, Brookdale Senior Living, and other care organizations, who preferred iHug's
19
20   premium service over Defendants taxi services.

21                   106.      Pictured on the next page and proceeding pages, is a fax from Uber
22   Headquarters, to iHug, ordering cease and Desist, and iHug's legal defense.
23
24
     //                                      •.'
     ///
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26   ///

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                Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1   Q 06/07/2017 <                                            •> 180061                                          01

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3
4                     Fax sent viaWKIifaX'Com
5
6
                      From                                    To
                      Uber IP Enforcement                     Legal Department
 7
 8
9                     Number of pages
10                    3
11                    Message
12                    Dear Legal Department,
13                    Please isee attached and respond t o
                      •••••••Buber. corn,by June 15, 20.17 indicat ing that
14                    you have complied with our requests .
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                                                                                                   Ut>er Tectmologies, inc.
5
                                                                                                  San Francisco, CAI
6
7                                                                                                         June 7.2017
8
                                                 VIA Fax; (81
9                                 VIA Email:
10
11
12                 Re: ihugparther.com | Unauthorizeidl Us3 of Uber trademarks
13
14
     Uber Technologies, Inc. ("Uber") has recently been made aware of ihugparther.com and, in particuio',
15   your use of Uber'sfrademarksto market your servk;es. SpecificaUy, ydu have be^ taking out Craigslist
     ads that market your business by stating ^We are the Uber for Heafthcare". See attached. As you know,
16   Uber owns the popular Uber app, which enables authorized users to request on-demand services,
17   including transportation services from independent third-party transportation providers.
     In addition to owning and operating the Uber app^ Uber owns several trademarks and service marks,
18   including, but not limitedtoUBER. UBER is the subject of U.S. trademark registiiatioh ho. 3977893. As a
19   trademark holder, Uber has a duty to police tavi stop unauthorized uses of its trademarks. While we are
     flattered that you have chosen to use Uber's trademarks in relation to your unaffiliated services, Uber
20   has not authorized such use and hereby requests that you remove any use of Uber's trademarks trom
     your marketing, advertisements or elsewhere, and refrain from future use of the same.
21
     Please respond to this message by           indicating that you hanre complied with our requests,
22   if you have any questions, piease feelfreeto reach out to the email address listed abo\/e.
23
24
25   Uber Trademarks Team
26
27
28

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 1                             B4. Plaintiff Defends iHug and Healthcare Patients
 '>
 ^          107.    Pictured below. Plaintiff composed a rebuttal letter to protect iHug.
 3         Uber Technologies, Inc., 1455 Market Street, San Francisco; CA 94103
 4
           RE: Denial offrivolous claims and affirmative statement of iHug's rights
 5

 6         Dear Uber Trademarks Team, this letter is in response to your Unauthorized Use of
 7
            Uber Trademarks letter sent on behalf of iHug.
 8
           Denial of Uber's Claims
 9
           iHug denies each and every allegation set forth in your Unauthorized Use of Uber
10
11         Trademarks letter, including:

^2          Specifically, you have been taking out craigslist ads that market your business by
13
           stating " We are the Uber for Healthcare."
14
           Affirmative Statements of iHug.-
15
15         The following factors demonstrate iHug's use of the mark "the Uber for" does not

1^         infringe or dilute Uber's mark Uber.
18
           After a brief search on Google, the phrase "the Uber for," has become ambiguous
19
           throughout the world in today's society.
20
21         The phrase "the Uber for," has many meanings and when people refer to "the Uber

22         for," they're not referring to the Uber brand, they are referring to an on-demand platform,
23
           which has been adopted by millions of companies across the planet.
24
           After speaking with local city, state and Government agencies, including investors
25

25         and businesses about iHug over the years, people almost always say, "Oh, this is like "the

21          Uber for Health Care," and/or, "this is just like Uber," without any prompt or mention of
28
            Uber in the conversation.
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 1        Furthermore, iHug is targeting the healthcare industry transportation sectors. We

 2        were not founded in the same competitive market as Uber, who's competing in the
 3
          general taxi transportation market.
 4
          So, by Uber attempting to transition into the health care transportation sectors,
 5
 6         Uber is crossing industry lines, an obvious mismatch of service and healthcare patient

 1        safety, whereas iHug holds precedence as providing safe transportation, responsibly. So,
 8
          there may be indirect competition.
 9
          In addition, it is not illegal to compare ourselves to any competitor in the advertising
10
11        context, so long it is not untruthful, disparaging, misleading, or confusing to the public.

12        Additionally, we understand that the use of a competitor's trademark cannot lead the public
13
          to believe that the company is endorsing us which in this case we are referring to, "the Uber
14
          for," as a way of describing the same type ofplatform, not the same brand andlor company.
15
15        This transitions into an additional trademark law. Courts have held that the use of a

17        trademark where there is no attempt to capitalize on consumer confusion or the commercial
18
          cache of a certain brand would be acceptable. For example, a court found permissible
19
          AOL's effort to market to AARP membership with the following advertisement: "Ifyou
20

21        danced to the Beatles, cruised in a Thunderbird, or tuned into Dick Clark, you have earned.

22        . . 100 hours free [Internet service on AOL]." Clark and Olive Enterprises, Inc. v. America

          Online Inc., 2000 WL 33535712 (C.D. Cal. 2000)
24
          The premise for our argument is that we are marketing and/or advertising to medical
25

25        providers, not, ordinary people and/or ordinary drivers.

27
28        These are people who are in the medical field, who have graduated from a university andlor

          trade college to provide non-emergency transportation andlor emergency transportation
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 1        along with more services we will launch in the future.

 2        There's a distinct difference that can be argued in the court of law, as to who we are
 3
          marketing to and that we are marketing to different classes ifyou will, ofpeople.
 4
           We've attached proof both exhibit B for your review, that demonstrates we are still
 5
 5        being approached by drivers through our ads who are with Uber and Lyft, as they are

 7        medical providers and see that iHug offers both services all-in-one ifyou will.
 8
          In addition to their interest, the ad is new and does not refer to any company other than our
 9
          brand name iHug, pay and the opportunity.
10
11        There is no confusion whatsoever.

12         We've attached proof exhibit Cfor your review, that demonstrates millions ofpeople are
13
          seeing examples of the phrase, "the Uber for," that's been published by news organizations,
14
          blogs, tech organizations and others.
15
15        This further proves the phrase, "the Uber for," has become so ambiguous it's not confusing

17        any brand andlor marks as almost always they are referring to the platform Uber uses and
18
          that platform has become ubiquitous throughout the world.
19
          Similarity of Mark.- iHug asserts that our mark, iHug, is not similar enough to Uber to
20
21        cause confusion. WTiile the marks are not similar in any respects, they differ in the following

22        ways:
23
          a. Consumers refer to iHug and have first to mind healthcare.
24
          b. Consumers refer to Uber and have fiirst to mind taxi.
25
25        c. Uber describes its mark as: (4) Standard Character Mark

21        d. iHug describes its service mark as: The mark consists of the stylized wording "IHUG"
28             with a lower case "F inside a circle to the left of "Hug".
          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1        e. We assert that for the above reasons iHug is distinct from Uber.

 2        Similarity of Goods/Similarity of Trade Channels: Uber is in the business of general
 3
          transportation. iHug, however, is in the business of non-emergency and emergency
 4
          transportation in the health care industry.
 5
 5        As our mark iHug is used in connection with such different markets and goods and services

 1        than those connected to Uber, consumers will not be confused as to the source ofthe sectors,
 8
          goods and services in connection with either of our marks.
 9
          Consumer Care in Making a Purchasing Decision: Due to the expense and importance of
10
11        iHug's andlor Uber's goods and services a consumer will take great care in choosing

12        (ourI your) product
13
          As a result, consumers will be less likely to be confused by the concurrent use of iHug and
14
          Uber as Uber is in the general transportation industry and iHug is targeting medical
15
15        transportation which is a completely different sector.

11        This factor weighs in iHug's favor.
18
          iHug's Intent: iHug vehemently denies that we made any attempt to misappropriate Uber's
19
          good will or to cause consumer confusion.
20
21        Dilution Claim: Additionally, iHug, asserts that Uber does not have grounds for a dilution

22        claim. In order to succeed on a dilution claim, the plaintiff must show that their mark "is
23
          widely recognized by the general public of the United States.and throughout the world per
24
          exhibit C.
25

25        Additionally, the mark iHug will not dilute Uber because the marks are distinct

27        from each other, as noted above (if "Similarity of Mark." If Uber decides to take any
28
          litigious action (e.g., filling of any federal lawsuit, communication with the USPTO,
          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1           proceedings under the UDRP, etc.), iHug demands that Uber include a copy, in its entirety,

2             this letter and exhibits. In addition, iHug, further demands that if Uber takes any litigious
3
             steps that Uber provide proper service or a copy of such correspondence.
4
              Conclusion.' For these reasons and others, iHug, has its.own distinctive mark that does not
 5
6            dilute or otherwise infringe upon Uber's trademark. And, any claims to copyright

 7            infringement are denied based upon use of common jargon and expressions in the industry.
 8
              108.    Pictured on the proceeding pages, you will see an overwhelming amount of
9
     articles and businesses who use "Uber for," making it ambiguous.
10
11            109.    Substanfiating Uber and Lyft had their cross-hairs on iHug, while attacking in

12   iHug and competitors alike in a militaristic flanking maneuver, allowing the monopolization of
13
     the transportation industry.
14
              110.    The claim was frivolous and used to infimidate iHug, as iHug was first to
15
16   market with Plaintiffs $1,200,000,000,000 triUion-dollar healthcare opportunity.
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                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence, Bill ofRights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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          Adam John Mackintosh—vs—Lytl. Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                    Rights, American Disability Act Trade Secret Misappropriation, Unjust Enrichment.
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill of Rights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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     Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill ofRights, and Civil
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      Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                     Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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     Complaint for Infringement on Our God Given Right-tQ Life, Declaration oflndependence. Bill ofRights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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           Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                                                           -107-
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 1          112.     Pictured below on the left, Uber attached an exhibit of iHug's "baby

2    advertisement," receiving an in-home health checkup by a registered nurse.
3
            113.     Pictured below on the right. Defendants delete the baby advertisement to
4
5    suppress competition.

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 1                             C. THE ULTIMATE MOTIVE AND BETRAYAL

 2          114.     After Plaintiff was lured into Defendants insurance scheme, he was introduced to Joe,
 3
     who signed a nondisclosure, affirming he had no conflicting relationships.
 4
            115.     Joe immediately began asking an astronomical amoimt of questions about iHug,
 5
 6   suggesting he worked in operations as the Chief Operating Officer. During this time. Plaintiff fell in

 7   love, and married in secret, as his life was threatened at one point for starting and pursuing iHug. As

 8   well as, Jerry sabotaging iHug's software, and other fiery arrows that were being shot at Plaintiff.
 9
            116.     Joe fabricated situations that would gain Plaintiffs tmst, using his major skillset and
10
     educational background in sociology, even going to such lengths as offering to be at the Plaintiffs
11
12   wedding as his best man. Only Joe, and Martha, Plaintiffs friend of 10 years knew they married.

13          117.     Plaintiff eventually, through a course of human nature, opened up to Joe showing him
14   corporate secrets, future business plans, highly valuable and world shifting ideas in healthcare.
15
            118.     Pictured below. Plaintiff, Joe, and Plaintiffs Wife, Alanna.
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                                                          - 109-         "    •
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 1           119.    After Joe leamed about Plaintiff s $ 1,200,000,000,000 trillion-dollar healthcare

 2   opportunity, which was only one extension of his greater digital Ai healthcare system, ran on
 3
     artificial intelligence ("Ai"), Joe contacted Defendants, placing even a bigger target on PlaintifFs
 4
     back, unbeknown to Plaintiff, betriaying PlaintifFs trust.
 5
 6           120.    Plaintiff secretly stored the particulars of his $25,800,000,000,000 trillion-dollar new

 7 digital Ai healthcare system in his trailer. Plaintiff made every effort beyond the protection of an
 8 originally manufactured equipment (OEM) trailer door lock, to secure his highly secretive six patent
 9
     books relating to his digital Ai healthcare system.
10
             121.    Plaintiff welded and constructed a military grade locking system to protect his
11
12 corporate secrets. The military grade locking system consisted of:
13           1" inch stainless steel plated locking system on his trailer door.
14           1" inch steef plate was held together by 6 stainless steel bolts
15
            6 self-locking nuts, ftised together with LOCTITE® Thread locker
16
             1" inch stainless steel latch
17
18          A maximum-security lock, with tough-cut octagonal boron-carbide shackle stainless steel,

19          making it extremely difficult for any cotrunon criminal to break into.
20
             122.    As described in the proceeding section, video evidence establishes Plaintiffs trailer
21
     was broken into.
22
             123.    Plaintiff used to be homeless, living in the trailer where he founded iHug, where he
23
24   stored all his patent books, thumb drives, sketch books, and note books.

25           124.    Plaintiff was the only person with access to the trailer.
26           125.    Joe was the only other person who knew where the particulars of the
27
     $25,800,000,000,000 trillion-dollar new digital Ai healthcare system was located.
28

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 1         126,    Pictured below. Plaintiffs custom "military grade" locking system.

 2           Maximum security lock                                  1" inch thick steel plating and bolts.
 3
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            I                         4                             I                                 1
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        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 199 of 825
 1                  D. DEFENDANTS ATTACK FIRST LAUNCH DATE - SOFTWARE

 2           127.    Pictured below, Plaintiff s Wife draws out an indisputable timeline outlining a few of
 3
     the attacks on Plaintiff and iHug. Where iHug was silently infiltrated, compromising all intemal
 4
     systems, corporate secrets, business plans, and trade secrets, that allovved Defendants to unlawfully
 5
 6   inflate their valuation, prior to Defendants'IPO:

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            128.     On April 13, 2017, after Plaintiff was Imed into the insurance scheme, where an Agent
25
     introduced Joe to Plaintiff. Joe joined iHug and leamed about Plaintiffs $1,200,000,000,000 trillion-
26
27   dollar healthcare opportunity, and his $25,800,000,000,000 trillion-dollar new digital Ai healthcare

28   system particulars.

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 1           129.       On June, 26, 2017, less than 2 months after Joe colluded with Louis, John, Jerry

 2   and Does, a secret Facebook Group was created, unbeknownst to Plaintiff. Defendants' secret
 3
     Facebook group allowed Joe, Louis and Does to. post, "driving in San Francisco, Califomia," at
4
     specific dates and times, making Uber and Lyft Executives aware when to meet in person, to covertly
 5
6    operate, handing them their bumer phones that were loaded with iHug's intemal systems.

 7           130.       Pictured below, the Facebook group creation date.
 8
        ; Joined •   | v'^Noilficatiohs; ; j   Share   More |
9
10      Aboiit This Group                                                           :   H|STORV


                                                                                    i '\a Group created on June 26, 2017
11      Description                                                             i
                                                                                   :    Name last changed on January 29, 2018
12      ABOUT US: This group is for Lyft and Uber drivers within the Sacramento \ 1 See More
        region and surrounding areas. Together, we are "In the Zone!"            |
13
14           131.       Pictured below, James Diaz Panis, "James," a Lyft Employee, was invited to the group

15   1 day after the creation date, that was supposedly only for "Lyft and Uber drivers."
16
17
                                     James diaz Panis
18                                   .Added by Lpuis'Pri.tcjiett.oh June'27, 20,17                 1* Add Friend
                                     Community Associate at.Lyft
19
20
21           132.       Pictured below, another Lyft employee, Marcus D Weemes, "Marcus," an Operations
22
     Specialist at Lyft, was added to the group ^/te same day as James. Several other hand-selected
23
     executives from Lyft and Uber are also members of the "driver only" group.
24
25
26                                   Marcus b Weemes
                                     Added by Louis pritchett on June .27, 2017                   1    Add Friend •
27                                   Operations specialist at Lyft

28

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                                                                - 113-
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 1          133.     On July 4, 2017,7^5* than 6 days later, after Plaintiff announced iHug's launch

2    date on Facebook, Jerry spoiled plaintiffs launch day by sabotaging the software.
3
4
5       Page       Inbox      Appointments        Notifications      Insights      Publishing Tools       More»

6
                                           tk Liked •    <5s Pollowing ^   ^ Share
 7
 8                                               IHug
                                                 Published by Adam John      July 2, 2017 • 0
9
                                         A MESSAGE FROM OUR FOUNDER:
10
                                         Dear iHug Family,
11                                       I want to personally thank ypu for your unconditional love and support. I
                                         would also like to thank our team, bur board, bur interns, and our providers
12
                                         here at IHug. We've all pijt a piece bf our creativity, our hearts arid our time
       iHug                              into iHug, IHug is an extension of burselves, Our team has,been burning the
13
       @ihugfamily                       midnight oil for years, and it's been an experience of a lifetime.
14                                       We believe we've created something truly special, something that has the
        Home
15                                       potential to change the world forever. It's a top| for your health—something
        About                            that anyone can use, anywhere—and for the first time in history, technology
16                                       will empower us a|l tb have an intimate relationship vyith bur health. When
        Photos                           you can touch people's liVes through technology, the possibilities are
17                                       endless. We saw it happen with Apple, and it's what makes iHug so special.
        Videos
                                         It's like nothing you've experience.
18
        Posts                            I am honored to announce our official launch date for the IHug iOS App is
19                                       July 4, 2017, a date that calls to mind our pursuit of happiness, because
        Community
                                         without our health, we can't pursue our dreams. IHug will deliver health care
20
        Reviews                          to everyone, anywhere.
21                                       We are launching on the Apple App Store, we encourage you to Join the
        Services
                                         Apple Upgrade Program if you don't have an Apple product, and purchase
22                                       or upgrade. You may also use your iPad or iPod Touch.
23                                       Thankyou all for your time, and together, lets put another dent in the
       Manage Promotions                 universe, and make Steve Jobs proud.
24
                                         With Love,
25                                       Adam
26                                       Apple Upgrade Program Link:
                                         https://www.apple.com/shop/iphone/iphone-upgrade-program
27
                                         iHug App Link:
28                                       https://itunes.apple.conh/us/app/ihijg-partner/id1165836620...

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                                                          -114-
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 1                                          tb Liked •   «^ Following •     Share

2
                                          Disclaimer: We are in no way affiliated or endorsed by Apple, we just love
3                                         Apple, and have employees who are ex-Apple employees. So we're
                                          honoring Steve Jobs for giving life to IHug through his brilliance. We chose
4                                         Apple to launch our ecosystem because Apple has the highest level of
                                          consumer security in the world. Apple's security architecture is unmatched,
 5                                        from features like six-digit passcodes, limited data access, and most
                                          importantly iOS platform encryption. When it comes to your health data,
 6                                        Apple is the safest place.
         iHug
 7
         @ihugfamily
 8
          Home




                                                                                      -• •
 9        About                                                           IPhone,
10        Photos

11        Videos

12        Posts

          Community
13
          Reviews
14                                        APPLE.COM
          Services
                                          IPhone Upgrade Program - Apple                                     Sign Up
15
                                          Get a new iPhone every year, and the protection of..
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                          ''-'•'•L.:-.-   .•'•;,!•„:,•   ' •"-•115."-: • L.:.\:.y.
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 203 of 825
 1                                       D l . A Silicon Valley Scheme Exists

2           134.     Pictured below. Plaintiffs Wife sketched out the scheme as Plaintiff gathered enough
 3
     evidence to substantiate the theory based on all proceeding paragraphs of this Complaint.
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 5                                             Silico'^ .Viall^ ScKmC
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                               •Joe , tJc^vy   -— SaWo\tagt sdpWa/e
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                               Ly^, ube/,        — VC uv^us^vj enrich -Wwscives
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18                                                     bn\tom cJf- oiioiWs "'(\ ^fi^H.
19
20           135.    On July 20, 2017,16 days after Jerry sabotaged iHug's Software, Jerry continued to

21   betray Plaintiff, who met with Andreessen to receive fiirther instmctions, unbeknownst to Plaintiff,
22   breaching fiduciary duty, causing irreparable damages, as Andreessen was investor in Lyft, iHug's
23
     competitor. It's alleged, Andreessen has instmcted Jerry for years to sabotage startups, in particular,
24
     iHug. By misappropriating Plaintiffs operational cash, sabotaging his partnerships and software,
25
26   while gaining corporate secrets in order to cripple iHug.

27           136.    When Plaintiff asked Jerry why he was at Andreessen, Jerry stated he was "pitching
28   other projects," and stated he made new "friends," whereas in fact, he already had a relationship with

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                                                          -116
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 1   Andreesen, and sent this text to Plaintiff to cover. Proving the Silicon Valley scheme exists. A
 2   similar behavioral pattem displayed in the proceeding sections of this Complaint, in particular, when
 3
     John met with Tahoe, who then said, "My fi-iend is asking about iHug." Jerry met with Andreessen
 4
     when he had access to Plaintiffs $1,200,000,000,000 trillion-dollar healthcare opportunity.
 5
 6           137.    Only 14 days later after Jerry's wrongdoing, he displayed very unusual behavior at an

 7   event iHug participated in, supporting Seniors with Alzheimer's Disease.
 8           138.    Pictured below on the left and right, Jerry sent a tejit message to Plaintiff and attached
 9
     photographic evidence of his presence at the Andreessen office.
10
11
12                                         Jerry

13
14
15
16
17
18
19               Also, was very fortunate and
                 ended making some new
20               friends here today
21
             139.    Pictured below, Lyft Co-Founder, Logan with Lyft's Director, Investor and Co
22
     Founder of Andreessen, Ben, who ovvns 15 million Lyft shki-es.
23
24
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28

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                                                           - 117-, , .        •
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 1           140.    On September 15, 2017, after Jerry met with Andreessen, he made it a priority to

2    suddenly be at the iHug office. He displayed guilty and odd behaviors when photos and videos were
3
     being taken of team members.
4
            141.     Pictured below on the left, a photo of Jerry hiding his face at a golf toimiament iHug
5
6    participated in, benefiting seniors with Alzheimer's. Pictured below on the right, a photo of Joe and

7    Jerry communicating while they thought they were not on camera.

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18          142.     On September 15, 2017, the same day, pictured below, video screenshots of Jerry
19
     continuing to hide his face, while everyone was asked to smile and wave. Plaintiff also caught Jerry
20
     taking photos of corporate material late at night at the iHug office, tite same week.
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22
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                        \                                                                                 till
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26                                                                       'X
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                                         ''I.
28

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                                          ...    '••Cr     - 118^!"''^     •.
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 1           143.     Pictured below, a different angle, d few seconds litter, Jerry still hid his face.

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12           144.     Video evidence: https://wv^.dropbOx.com/s/lv5548alii90bip/IMG 1274.MOV?dl=0

13           145.     Pictured beloyv, on September 1, 2017, 2 weeks prior, a group photo taken outside
14
      iHug's office. The iHug Drivers, Plaintiffs Wife, and Does holding iHug's decal. Jerry was the only
15
      one that refused to hold an iHug decal, as he was aware of his wrongdoing.
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 1            146.    Plaintiff alleges Jerry colludes with Andreessen, who instmcts Jerry to target

 2 competitors to its current investments. Jerry then infiltrates the startup, misappropriates their
 3
      investments, and corporate secrets, while sabotaging the software, crippling the startup. Jerry then
4
      hands of the corporate secrets arwi knbvvledge to Andreessen; who then uses the misappropriated
 5
 6 corporate secrets received by Jerry to irifla,te the valuations of their current investments, unjustly
 7 enriching themselves without legal entitlement, destroying young entrepreneurs' dreams and lives,
 8 who could've positively impacted the world. Pictured below, the scheme exists.
 9
                                                                                                        BIG T H I N G S
10
1.1                                                                                                     9 big things: In
12                                                                                                      Lyft IPO, al6z
13                                                                                                      makes a killing
14                                                                                                      By Kevin Dowd
                                                                                                        March 31, 2019
15
16
17           147.     Pictured below and on the proceeding pages, are screenshots of some of the startups
18
      that Jerry infiltrated and crippled. Each company's software was sabotaged.
19
      ://ihug-backerid.herokuapp.com/keystone/sigriin
20
21
                                                                                                              Application error
22                                                                                        An error occurred in the application and your page could nnt be
                                                                                        served. If you are the appiicarion owner, check your logs lor details.

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26                                                                      ,1        , ,    .




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 1                ' A,! Not Secure .4,^ **P«V/wwW.s

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                                  Your connection is not private
9                                 Attackers might be trying to steal your informstion from w w w . ^ r t s . i o (for exan^ple,
                                  passwonis, messages, or credit cards). Leam more
10
                                  NETnERfLCEHTjMfTHORirONVAUD
11
12                                0    Help improve Safe Browstrtg by sending some                         aoB content to Google.
                                      Privagy-BsliSK
13
14                                                                                                               Sack.to'saffety
                                      Advanced
15
16
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18        Coimection timed out after 5001 milliseconds
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22
23
               This Site can't be reached
24
               www.quinzee|ones.com's server IP. address could not be found.
25
               DNSL.PR0BE„FINISHED.NXDPMAIN
26
27
28

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 1
2                         0
 3
4                         This site can't be reached
 5                        www.3weeksmvp.com's server IP address could not be found.
                          DNSJ»ROBEJ=INISHED_NXDOMAJN
6
 7
 8
9
10
11
12
13
                            This site can't be reached
14
                            www.ar-worid.co's server IP address could not be fourtd.
15                          DNSJ>ftOB£j:|NISHEDJ4XDOMAiN

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19
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21                                    Your conneictioji is not private
22                                    , Attackers might be tirving to steal ysur InformBtkin'ffom «mw.vaUciy«mg.eom (for,
                                     - ^mm\e, msm^s,.rrw^^iis,        or credit cards);    i^mJWm,.
23                                   . >teT:;gPiS,Ce«T.COMMON,^AMKJNVAl.lO
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                                     i ,@. HelEt Improve Safe Bfomin^ by.%on&n^ emta sjj                       ttoOdOQle;
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                                        Advareaetf
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                                               •              122 -          '
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 1                        ->       C        (b Not Secure I w ^
 2
 3
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 5
                The i^u^st could not
 6
 7              Bad request.
 8
 9              148.          Pictured below. Empathy Transportation Services ("Empathy") website and local




                                                                                          •
10
11
12
                    C}j Privacy error
                                 •••• X '
13   non-emergency medical transportation company that was infiltrated by Defendants. Plaintiff
                                                                                  I
      <-    >   C        A Not Secure i IWtps://etssetvices.org
14 substantiates this allegation in this Complaint, in thej proceeding paragraphs.
15
16
17
18
19
20                        A
21
                          Your connection is not private j
22
                          Attackers might be^trying to steal your information from etsseryices.org (for example,
23                        passvtfords, messages, or credit cards). Leam more
                                                   •       •   .       •     ']       '            .       . .
                          NET::ERR_CERT_bATEJNVALin                           i
24
25
                          0    Help imjorove Safe Browsing by sending sorhe system information and page content to Google.
26                             Privacy policy                                !


27
28                            -Advanced



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                                                                      •-•12'3-
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 1          149.     It's alleged Jerry also intentionally targets victims through online forums (Craigslist,

 2   AngelList, Email, Telegram, etc.) as "points of compromise," where, startups publically post their
 3
     software requirements to build their businesses.
4
            150.     Jerry engages in manipulative and misleading statements to defraud startups and their
 5
6    investors, as Jerry knows startups receive an abundance of cash. Jerry appears to have a fraudulent

 7   scheme that methodically defrauds victims through trickery.

 8          151.     Pictured below, Jerry tells Plaintiff to tum off Craigslist and switch to email.
 9
                                                                                            "'.lll.LTEl
10
11                                            All ihbPxes-^Saeklng
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                                              Found in Gmail Ali ^.^ail Mailbox.
12
                                                                                        12/12/16
13                                                                            bratgsl:.. Details

14                                    I        Switch off the craigslist email if you can.
                                              Shoot me an email with an NDA to get the
15                                            formalities out of the way so we can get a
16                                            statemeint of work drafted up and get
                                              started. I can meet up in SF tomorrow
17                                            after 2PM.

18
19
20                                    I       https:,

21                                            Mobile:
                                              Skype: @yoj(
22                                            Tvvitter: @ypjer
                                              Messenger:                      ing
23
24                                            Mp-:/AlMMSfiffl ^ Chatbot
                                              development and integration services
25
                                      i MRii/SKBKMMih^nism Mobile app
26                                            development and consulting
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                                                ....' : .          --124-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 212 of 825
 1            152.    Pictured below, screenshots from a video conference call between Plaintiff

2    and Jerry, where he smirked, and smiled several times in "criminal fashion," every time Plaintiff
3
     mentioned iHug could fail because of the software. Jerry also admits to using Zendesk to draft tickets
4
     of software issues that he can view, substantiating the proceeding allegations regarding Defendants
5
     Zendesk scheme, where Zendesk is used a tool to misappropriate corporate trade secrets without a
6
7    trace.

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                                                             ' -125-'' •  • „• •    •
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 1           153.     Plaintiff cites the following case law in support of this Complaint relating to Jerry:

2            154.     United States v. Briscoe, 65 F.3d 576, 583 (7th Cir. 1995) (citing United States v.
 3
     Ames Sintering Co., 927 F.2d 232, 234 (6th Cir. 1990) (per curiam)); United States v. Frey, 42 F.3d
4
     795, 797 (3d Cir. 1994) (wire fraud is identical to mail fraud statute except that it speaks of
 5
     communications transmitted by wire);
 6
 7           155.     United States v. Profit, 49 F. 3d 404, 406 n. 1 (8th Cir.) (the four essential elements of
 8 the crime of wire fraud are: (1) that the voluntarily and intentionally devised or participated in a
 9
     scheme to defraud another out of money; (2) that it did so with the intent to defraud; (3) that it was
10
     reasonably foreseeable that interstate wire commimications would be used; and (4) that interstate wire
11
12 communications were in fact used)
13           156.     UnitedStates v. Hanson, 41 F.3d 580, 583 (lOth Cir. 1994) (two elements comprise
14 the crime of wire fraud: (1) a scheme or artifice to defraud; and (2) use of interstate wire
15
     communication to facilitate that scheme);
16
             157.     UnitedStates v. Faulkner, 17 F. 3d 745, 771 (5th Cir. 1994) (essential elements of wire
17
18   fraud are: (1) a scheme to defraud and (2) the use of, or causing the use of, interstate wire

19   communications to execute the scheme)

20           158.     United States v. Cassiere, 4 F.3d 1006 (1st Cir. 1993) (to prove wire fraud
21
     govemment must show (1) scheme to defraud by means of trickery, (2) knowing and willful
22
     participation in scheme with intent to defraud, and (3) use of interstate wire communications in
23
     furtherance of scheme);
24
25           159.     United States v. Maxwell. 920 F. 2d 1028, 1035 (D.C. Cir. 1990) ("Wire fraud

26   requires proofof (1) a scheme to defraud;' iand (2) thie use of ah' interstate wire
27   communication to fiirther the scheme.").
28

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 1           160.    Photographic, fmancial and circumstantial evidence, establishes Jerry successfiilly

2    carried out Andreessen's instmctions, who misappropriated approximately $80,000 dollars in cash
3
     from Plaintiff, iHug and its investors. Pictured below, and on the proceeding pages, receipts, wire
4
     transfers and deposits paid to Jerry by Plaintiff for iHug's software that was never completed and
 5
6    sabotaged.

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                                       •     ^' '    • - 129-'^'
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 217 of 825
 1           161.    Pictured below, Jerry reveals brand new fumiture, and the million-dollar

 2   neighborhood he allegedly lives in.
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                      Rights,.Arnerican Disability Act, Trade Secret Misiappropriatibn, Unjust Enrichment.
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 1                162.     Pictured below on the left, Jerry misrepresents himself on Linkedln as an

 2    "entrepreneur," whereas it's substantiated, his "job" is to sabotage startups and unlawfully
 3
      misappropriates cash, and unjustly eru-iches Defendants, vvho have no legal entitlement.
 4
                  163.     Pictured below on the right, Jerry sends Plaintiff a text message, claiming he is being
 5
 6    sued for $20,000 dollars, and he needs to pay or he has to attend court. He pressures Plaintiff for

 7    more cash, where he uses that cash to pay off his previous "victim," in order to evade the law, while

 8    continuing to sabotage PlaintifFs software, and others.
 9
10                                                                                                               .•IILTEB'

1,1
12
                                                                                                                           ®
                                                                                         Jerry

13
                                                                       Any updates oh the invoice?
14                                                                    : Woiild help put a b^^^
15
                       Jerry Wang . 3rd
16                         I make stuff up

17                   Cupertino, Califprnia ,• 359 S&

18
19          HI, I'm Jerry. I'm a digital producer, full stack
        developer, full stack designer, entrepreneur in silicon                                              I
                                valley..-..-.            ..
20
       Highlights
21                                                                                                   ,..-^T''S="-v|SIHFP
                  Reach out to Jerry for...
22                Probono consulting and volunteering, joining
                  a nonprofit.

23                 Message Jerry

24                                                                    The $5 would be helpful:)
       Activity                                    + Follow
25     359 followers
                                                                      That way I can get the biggest
26                                                                    billoff my back;(
27                                                                    Otherwise they revert to court
28                                                                    and I have to pay off $20l<


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                                                        '         '    -J3l''-   , ",'
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 219 of 825
 1          164.     Pictured below you will see Richard's website, 70MillionJobs. Jerry is attempting to

 2   defraud another victim while misappropriating iHug's investment, sabotaging software and
 3
     misappropriating Plaintiffs $1,200,000,000,000 frillion-dollar healthcare opportunity.
 4
 5                                            How It W o r k s   Our Story    Employers      Blog    Refer a Friend         Login
          J O B S
 6
 7
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10
                                 Misdemeanor And
11
                                Felony-Frieiiilfcy Jobs
                              •70 Milllbn'jobs will conirect yo,u With great cbni|anies>^^^
12                              r r '•:      '      ^^'jobs'for- people ywith criitiinal-rjscprds: '•' .   ,          • •

                                                                    Nciicost t
13
14
15
16                                    These companies and hundreds more offer second chance Jobs.


17
18
                                                Uber
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                                                                     - 132-
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 1           165.     Pictured below, v^hile Jerry was sabotaging iHug's software, and misappropriating

 2   approximately $80,000 from iHug, he targets another victim, attempting to misappropriate $100,000.
 3
            From: Richard                           [70milliOhiobs.com> ) (MLfla-Erctferrstl.$t)n<l9r) &
4            Daite: Mon. Aug                     am' •             t                         ' ••'    ' '-^
              To: IHug                           :ihug.heaith(Mre%^       i^T-v,-,,;.".;-^
 5
                 On Fri, Aug 25.2017 at 2:40 PM, IHug Healthcan                       ilhud.healtKcariB> wrote:
 6                Hello Richard, my name is Jen^.

                    I'm a currently freelance consuKant/producer/develbper here iri Cupertino. I've been working
 7                  in the tech/intemet industry since winning a web design contest at 13 back in 1997.
 8                  I dev in full stadt web and IOS and (^at bots. From kleatlon to design to Python to
                    Javascript to deployment to maintenance. Prior I've worked at mmpanies like Apple,
 9                  Google, various startups in between, and now helping startups get up and running.

10                  Prior to that I served as marine combat engineer.

                    The mission resonates deeply with rile as my brother is one oif the 70 million. Recovering
11                  firom a criminal offense on his record; myfemllyand I went through the process
                    understanding how discriminating and intimidating and limiting that was.
12
                    I've built job board sites before, have digital mariceting experience, can serve as tech lead to
13                  get things done.

14                  I'm based in Cupertino, worked in SF and Oakland/Berkeley. Back ih the bay area next
                    week and we can set up a coffee/call.
15                  Best,
                    Jerry                    .
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 1           166.    After Ben received Plaintiff s$ 1,200,0.00,000,000 trillion-dollar healthcare

 2   opportunity from Jerry on July 20, 2017, its alleged Ben needed more details on ways to inflate his
 3
     vested interest in Lyft who had an upcoming IPO.
 4
             167.    On July 31, 2017 at 12:50AM, 11 days after Jerry met with Andreessen, Joe
 5
     logged into an iHug's Zendesk systems to "test different methods" to misappropriate iHug's
 6
•7   competitive and corporate trade secrets, averting a digital footprint.

 8           168.    Joe was able to successfully draft a Zendesk ticket and attach a file, one of many
 9
     "ThreatOps," tactics used by Defendants in the past, to remain covert while misappropriating
10
     competitive details and intelligence, without a trace.
11
12           169.    See case Waymo-vs-Uber-Case#3:17-cv-00939-WHA, further, Clark and

13   Henley directly instructed Jacobs to conceal documents in violation of Sarbanes-Oxley by attempting
14   to "shroud" them with attorney-client privilege or work product protections: Clark taught the
15
     ThreatOps team that if they marked communications as "draft," askedfor a legal opinion at the
16
     beginning of an email, and simply wrote "attorney-client 3 See https://www.wickr.com/security. 6
17
     Case 3:17-cv-00939-WHA Document 2401-1 Filed 12/15/17 Page 6 of 37privilege" on documents,
18
19   they would be immune from discovery.

20           170.    Joe's method to use "draft" features to misappropriate corporate secrets worked,
21
     breaching his fiduciary duty and non-disclosure agreements, in particular:
22
            ''Recipient acknowledges, that monetary damages may not be a sufficient remedy for damages
23
            resulting from the unauthorized disclosure of Confidential Information, and that the Company
24
25          shall be entitled without waiving any other rights or rerhedies, to seek such injunctive or

26          equitable relief as may be deemed proper by a court of competent jurisdiction. In the event
27          any third-party, who has direct or indirect connection with Recipient involved in monetary
28
            damages that are a result ofcomihuing to disclose unauthorized Confidential Information,
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                                                . J.   ;.,;i    H ; i i . \ -   ;
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 1           the Company the full rights and entitlement to seek such injunctive or equitable relief as may

 2           be deemed proper by a court of competent jurisdiction."
 3
             171.    Pictured below on the left, Joe admits Lyft also uses Zendesk, a system Jerry setup
4
     for iHug. Pictured below on the right, Joe drafted a new Zendesk ticket at 12:50AM in the moming,
 5
 6   allowing the misappropriation of Plaintiff s corporate secrets.

 7     and a great day, Josef I
 8
 9     All the best,
                                                                     Mobile App User
10     Joey
11     Lyft Support Representative                                  Jul 3 1 , 00:50 MST
12
       This email .is.'a .service-:from iLyft. pel'vered-by'           This'ccmment has been flagged
13     Zendesk                                                      test user goes here
14
                                                                    Attach ment(s)
15       llook who el^e lises Zehd^
16
                                                                    Attachment 2017-07-317^
17           172.    On July 31, 2017, at 1:33PM, after staying up all night, Joe inadvertently sends
18
     Plaintiff a text rnessage stating, "Your not gonna believe this!!!!!!! But I'll tell you in person. Lol,"
19
     after "testing methods," to misappropriate Plaintiffs corporate secrets.
20
             173.    The text was intended for Louis, who was hosting a Lyft meeting that evening,
21
22   comprised of Lyft and Uber Employees, including Tahoe Mike, ("Tahoe").

23           174.    It's believed Joe was excited to tell Louis his "test methods" worked, using a
24   "Zendesk ticket draft," in order to misappropriate iHug's new $1,200,000,000,000 trillion-dollar
25
     healthcare opportunity, and his $25,800,000,000,000 trillion-dollar new digital Ai healthcare system
26
     particulars.
27
28           175.    Pictured on the next page atop on the left, Joe's text message.

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 1           176.    Pictured below in the middle and right, snapshots from the meeting.

 2
 3                                                  Louis Pritchett •
                                                    ip Admin August 1, 2017 -' HciiievillD
 4                          Joe Acebedo >
                                                    •V what you all been waiting for. All of those who
                                                     to make it:
                         Jul 31, 2017, I:,-?,? PM
 5                                                  look at the FUN WE HAD!!!!

 6     So rin eating my salad....and 1
       guess what!!|l!!!!!l!!!!!!!n 2 j
 7
        Your hot gonna believe this!!!!!!!
 8
        But Til tell you in person. Lol
 9
10
             177.    On August 1, 2017 at 4:04PM, the same day, .Toe sent Louis, a Roseville, Califomia
11
     resident, iHug's admin login details to Zendesk.
12
13           178.    A login was detected from a "new device" in Roseville, Califomia.

14           179.    At 4:09PM, 5 minutes after the first unauthorized login, geolocation evidence
15   establishes a login from another "new device" in San Jose, Califomia. iHug had no team members in
16
     San Jose, Califomia.
17
             180.    Pictured below on the left and right, Zendesk alerts Plaintiff "new devices"
18
19   logged in from Roseville and San Jose, Califomia.

20
      Sent: 8/1/17 4:04 pm                                           Sent: 8/1/17 4:09 pm
21    To:      •I^Kiihug.l
22
       Zendesk sign-ih detiected.from a nf(,W deVit ,                 Zendesk sign-in detected from a new device
23
        Hi IHug Partners.                                               Hi IHug Partners,
24
        It looks like you signed into your Zendesk account              It looks like you signed into your Zendesk account
25      using a new device on Aug 1 at 16:04:                           using a new device on Aug 1 at 16:09:

26           • Location: Roseville, United States                              • Location: United States
             • IP:                                                             • IP:
27
28

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                                                              - 136 • '
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 1           181.     Pictured below, forensic network and geolocation evidence establishes the

2    unauthorized login was made within a few miles from Defendant's "satellite offices" in San Jose,
3
     Califomia. Plaintiff alleges Defendants sfrategically use satellite offices or "hubs" in a military
4
     fashion, to covertly operate.
5
6     Geolocation data            •
 7
       IP Address '                      Country                         ,i .Region;.; "      ,^            City
 8
                                         United States BB                  Califomla                        SahJose
9
10           182.     Defendants used "non-attributable" hardware and software, in which intelligence
11   collection operations were in full effect, as outlined in Jacobs letter in a case Waymo-vs-Uber.
12
             183.     This act caused iHug irreparable damages, allowing Defendants, who are large,
13
     fully-scaled corporations to start mobilizing, using iHug's competitive ideas, plans, secrets and other
14
15   materials, suppressing iHug, unjustly enriching Defendants without legal entitlement.

16           184.     On August 1, 2017 04:17PM, 8 minutes after the unauthorized logins from
17 Roseville and San Jose, Califomia, Joe asked Plaintiff for Plaintiff s $ 1,200,000,000,000 trillion-
18
     dollar healthcare opportunity.
19
             185.     On August 1, 2017 04:20PM, 3 minutes later. Plaintiff sent Joe the
20
21   $1,200,000,000,000 frillion-dollar healthcare opportunity.

22           186.     After Joe received the $ 1,200,000,000,000 trillion-dollar healthcare opportunity,
23   through email, he dovraloaded the file and then drafted a new Zendesk ticket, much like a "Google
24
     email draft," attaching Plaintiffs healthcaie opportunity.
25
             187.     Joe then closes Zendesk, allowing Lyft,.Uber and Andreessen Executives to access his
26
     draft and download Plaintiffs $1,200,000,000,000 trillion-dollar healthcare opportunity.
27
28           188.     Defendants who were already logged in from remote locations minutes prior, were

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 1   able to swiftly navigate to Joe's drafted ticket, and download Plaintiffs $1,200,000,000,000 trillion-

 2 dollar healthcare opportunity, clicking discard draft, averting any digital footprint of Defendants ever
 3
     receiving the $1,200,000,000,000 frillion-dollar healthcare opportunity. This substantiates Plaintiffs
4
     allegations herein, in particular. Defendants have violated the Trade Secrets Act of 2016, and
 5
 6 Economic Espionage Act, specifically:
 7           189.    The Economic Espionage Act of 1996, as amended by the 2016 Defend Trade Secrets
 8 Act, makes it unlawfiil to misappropriate and stealfradesecrets. Defend Trade Secrets Act, Pub. L.
 9
     11 4- 153, § 2(b)(1), 130 Stat. 376 (2016). This statute is extra-territorial in scope. "Trade secrets"
10
     under the Economic Espionage Act, as amended, is broadly defined and includes "all forms and types
11
12 of financial, business,... technical, economic, or engineering information, including pattems, plans,
13   compilations, methods, techniques, processes, procedures, programs, or codes," if the owner
14                   (1) has taken reasonable measures to keep such information secret and
15
                     (2) the information derives independent economic value, actual or potential, from not
16
                     being generally known to, and not being readily ascertainable through proper means
17
18                   by another person who can obtain economic value from the disclosure or use of the

19                   information.
20           190.    "Misappropriation" includes but is not limited to "the acquisition of afradesecret by a
21
     person who knows or has reason to know that the trade secret was acquired by improper means." It
22
     also includes the disclosure or use of a trade secret of another without express or implied consent by a
23
24   person who:

25                   (1) had used improper means to acquire knowledge of the trade secret or
26                   (2) had reason to'know that the- knowledge of the trade secret was derived from a
27
                     person who had used improper means to acquire the trade secret or from a person who
28
                     owed a duty to the person seeking relief to maintain the secrecy of the trade secret or
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 I                   limit the use of the trade secret.
 2           191.    "Improper means" includes "theft, bribery, misrepresentation, breach or inducement of
 3
     a duty to 10 Case 3:17-cv-00939-WHA Document 2401-1 Filed 12/15/17 Page 10 of 37 maintain
 4
     secrecy, or espionage through electronic or other means."
 5
 6           192.    These definitions hew closely to other trade secrets laws, including the Califomia

 7   Uniform Trade Secrets Act. Cal. Civ. Code § 3426, et seq. One is liable if, among other things, one:
 8                   (1) steals, or without authorization appropriates, takes, carries away, or conceals, or by
 9
                     fraud, artifice, or deception obtains a trade secret;
10
                     (2) without authorization copies, duplicates, downloads or uploads a trade secret; or
11
12                   (3) attempts or conspires with one or more persons to commit engage in such conduct.

13           193.    Like the Uniform Trade Secret Act, the Califomia Uniform Trade Secrets Act
14   prohibits "misappropriation" offradesecrets and provides certain remedies. In addition, Califomia
15
     law also allows for penalties for stealing trade secrets...
16
     Cal. Civ. Code § 3426, et seq; Cal. Penal Code §§ 499c, 502.
17
18           194.    Pictured below on the left, Joe admits the "Lyft team" calls him directly, during late

19   hours of the night. Pictured below on the right, a text message from Joe asking for the pitch deck, that
20   entailed details of Plaintiff s $1,200,000,000,000 trillion-dollar healthcare opportunity, and his
21
     $25,800,000,000,000 frillion-dollar new digital Ai healthcare systern particulars.
22
                                       Joe .Acebedo >                     2:00
23
24              Yay! My iMessage is yy^
               ,:again. LoT  ''-C-CCC/:
25                                                                                           joV"Ace6edo->.• •• '•,v.

26                                 May 16, 2017,-10:08 PM                                 Aug 1, 2017, 4:17 PM

27
                Sorry. I had to eut^^ur^^^lir^                        ; Gan you sehd me a copy of the
28              short., .Lyft^;teanri:iall;qd.;# v^;^;               1 -^rtitrh riprk'


            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringement on Our God Given Right to Life, Declaratif)n oflndependence. Bill ofRights, and Civil
                      Rights, American Disability-- Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                    •-: —139-^        -    .
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 227 of 825
 1            195.    Pictured below, an email to Joe from Plaintiff containing the

 2    $1,200,000,000,000 frillion-dollar healthcare opportunity.
 3
                      Inbox                      .      >                  oa/Ol/2G17 4:20 pm                      ;i
 4                                                                                     ::,„:   • •        -•   :    i




 5                             Reply             Reiply t o All         Forward                      Delete        |

 6                Subject: ^ Pitch Deck
 7                  From: Adam John <ada.                         To: Josef Acebedo <joe<S)ihug

 8
 9
10
11
                       Attachments                        Size             Actlon(s)
12
                            iHua Pitch Dec...             5.1 m            Download
13
14            196.    Pictured below, one of many slides contained in Plaintiffs
15    $1,200,000,000,000 frillion-dollar healthcare opportunity.
16
17
18
               QiHug 10 Year Expansion Plan
19
                              $3558 by 2020.^,                              ..$309Bby 2030.
20
2.1
22
23                                                                                                   $22Bby2040

24
25
26
                                                          $355B by 240 -
27
28                                               $1.28 TrSllion Dollars
             Adam John Mackintosh—vs—Lylt, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                       Rights, American Disability Act, Tfaiie Setret Misappropriation, Unjust Enrichment.
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 1           197.    On August 2, 2017, at 12:35PM, the next day, Tahoe meets with John at a Lyft Hub.

 2 In a calculated effort to remain covert, it's alleged John instmcted Tahoe and Joe to message each
 3
     other about iHug for the first time, in order to conceal Joe's involvement in misappropriating
 4
     Plaintiffs $1,200,000,000,000 trillion-^dollar healthcare opportunity to John, Lyft, and Does the night
 5
 6 prior. This similar behavioral pattem was made when Jerry met with Andreessen, in a cover up.
 7           198.    Pictured below on the left, Tahoe messages Joe, while meeting with John, his "friend,"
 8 at a Lyft "Hub." Pictured below oil the right, all parties mentioned herein are factually associated.
 9
                                                                              <    Q,, Tahoe Mike
10
                                                                              Friends
11                                                                            684 friends
                           vifm
12
13
14                  ••—                   •    (C.^+                           Bruce Mosier    James Diaz    Joe Ace
                                                                               Jr.             Panis
15                   A friend of mine just asked me what
16                   this is, I said I wasn't sure.
17                   I don't want to speak on it for now
                                                                               Lyft Dee       : Katie Muir   Marcus D
18
19           199.    Pictured beldw, Tahoe arid "his friend," John at the Lyft "Hub."

20
21
22
23
24
25
26
27
28

            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerrj', Logan, Ben, and Does
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                      Rights, American Di.sabilit)'Act, Trade Secret Misappropriation, Unjust Enrichment.
                                          ;      .       •••-•14L-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 229 of 825

 1          200.     On August 2, 2017, at 12:46PM, ten mintites later, in a premeditated effort to conceal

2    any wrongdoing, Joe texts Plaintiff that Lyft Headquarters just noticed iHug for the first time,
3
     covering up the fact that he misappropriated iHug's corporate secrets hours prior.
4
            201.     Pictured below on the left, Joe sent Plaintiff a text message stating he is taking the
5
     "day o f f from iHug on August 2, 2017 the same day Tahoe Mike was meeting with "his friend"
6
 7   John. Pictured below on the right, Joe's text to Plaintiff. It's allegfed, during this time, Joe was on

 8   airplane mode, hiding his intemet protocol and geolocation to remain covert, while with John.
9
10
n
                                                                                                            •III LIE
12
13
                                                                                        Joe Acebedo >
14
                                  Joe Acebedo >
                                                                      f Basically you can say. It's just
15                                                                      like Uber but we give you
                               Aug 2, 2017; 8:04 AM
                                                                      k bigger opportunities. If you'll
16                                                                    r Jike to learn more come visit
17      i; Hey bro. I have to take the day                              our office and talk to our CCO
                                                                      j-who cameirom Lyft he'll have
        ifpffl'didn't get enough sleep last                           f; all the answers to your
18         night and I have to make                                     questions
19      w-i^rrangements for Buddy's
                                                                      ! So I guess Lyft corporate just ;
20      L cremation. I'll be there                                     sav\(jthiS;lol      /'"-••'\.'}''"
        { toimo        I just need to recoup
21                                                                     Got that message from my Lyft
                                                                       ambassador friend - !
22
23          202.     In an act to further enfrench a cover up, and conceal John's involvement, its alleged

24   Tahoe posted the meeting with John the next day on August 3, 2017, stating, "Met john today."
25
             203.    Photographic and circumstantial evidence, indefensibly establishes, another Lyft
26
     employee revealed the meeting attualiy.took place at th6 same Lyft "hub" on August 2, 2017, further
27
     proving the "friend" he was asking for, was John.
28
                                         r -!•(:-
            Adam John Mackintosh—^vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1            204.   Pictured below on the left, Tahoe strategically posts he met John on August 3, 2017.

2    Whereas, photographic evidence establishes, James posts he and Tahoe Mike met John on August 2,
3
     2017, the same day Joe took off frpm iHug as pictured below on the right.
4
5
               Tahoe Mike                                                James Diaz Panis
6         V    Follow-August .3/2017-0 • ,                               August'2, 20r;-E:ditec - 0
7                                                                Meet the cofounder of #lyft
      Met john today, and got to spend the day with many
                                                                 John Zimmer!!!! Great company to work with hella
 8    other coworkers. Had lots of fun. Def a great
                                                                 down to earth 0 ^ 1 ^ , ' #johnzimmer~~ at The
      experience and day filled with learning. Best job I've
                                                                 Lyft Hub - San Francisco.
9     Had! —     feeling positive at The Lyft Hub - San
      Francisco.
10
11
12
13
14
15
16
17            205.   Pictured below on the left, the photo took place on August 2, 2017 not August 3, 2017.

18   Pictured below on the right, Louis with James, a connected party to John.
19
20
21
22
23
24
25
26
27            206.   Not only does Louis work in concert with Lyft Executives while engaging in unlawful

28   conduct, he also meets with Uber Executives, where recordings are prohibited.

            Adam John Mackintosh—ivs^Lyft, Uber, AndreesS;eh- jOe';-;JohnJ Louis, Jerry, Logan, Ben, and Does
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                      Rights, American Disability; Act', Trade Secret Misappropriation, Unjust Enrichment
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            207.     Plaintiff argues, the secret insurance scheme, and its Drivers, have allowed Uber and

 2   Lyft to suppress competition, while giving instmction to their "Ambassadors," in order to continue
 3
     their monopolization of the TNC industry.
 4
            208.     Pictured below on left, Uber's Public Affairs Manager^ Austin Heyworth, ("Austin")
 5
     Linkedln Profile. Pictured below on the right, Louis meeting with Austin.
 6
 7
 8
                                               JR.,***
 9
10
11
12
13        Austin Heyworth « 2hd
          Public Affairs Manager at Uber
14
                      U b e r ' UC Davis
15      S a c r a m e n t o , California,Area • 5004- tS&

16
            209.     Pictured below on the left, Louis hosts a meeting with Uber Executives and Drivers.
17
     Pictured below on the right, all recordings are prohibited, which raises suspicion.
18
19             Louis Pritchett is with Paula Harris-Walton            [£} Uke                                    Com
               0 Admin • October 8, 2018
20
        Uber In the house, hurry come as you are.            more comments
21
                                                              Dart Stfu Someone record his audio -
22                                                            Like • Reply • 30w
23                                                                   Louis Pritchett O .No, you needed to be there
24
            210.     On September 1, 2017,7 month later, Joe and Jerry continue to engage in corporate
25
26   sabotage, causing irreparable damages td iHug. Jeny and Joe asked Plaintiff to attend iHug's

27   important meeting with Chief Innovation Officer ("CIO") of the City of Sacramento. The meeting
28
     was to ensure the City of Sacramento;A[buld utilize ijHug's,riew:|transportation platform.

            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                                                          - 144'
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 232 of 825
 1          211.     Unbeknown to Plaintiff, Joe and Jerry intentionally sabotaged the meeting by
2 decl£u-ing iHug's software was not ready to transport riders, while Joe repeatedly did not answer
3
     questions the CIO asked. Pictured below, Plaintiff s proud email to the CIO, outlining the partnership
4
     with the City of Sacramento. After the meeting, the CIO never responded to Plaintiff.
5
6
               Reply!;»r RepKl to RD f. Foruwrd         Oetete       Purge . Mark os'   Move to Folder
7                                                                                         More Actions
8            Search Results                     ?
                                                        40    Id             324 Messages    Page            6f9
9
             fOptlons) (Edit Search     Display                                                       1 m
             Paremeters)
10                       Folder                              EE SMijject       Dat9
               gj     " Inbox      '    • -         '        /_    Re" I..     09/01/2017 5 52 prii      '   "tl^
11
12               Preview               Reply;                                Forwai-d                    Print

13            Good Evening Mr. Louis,
14           I hope our team suecessfully conveyed our SaaS Software-As-A-Service
15           platform to assist you in addressing the Mayor's initiatives. As you know it's
             been proven that by using SaaS On-Demand platfonning, much like Uber/Lyft
16           (Taxi Industry) through tnobile application and/or web intisrface, transportation
             costs drop significantly. We're using that same proven iconcept to open up access
17           for curb-to-curb NEMT (Non-emergency medicalfransportation)and WAV
18           (wheelchair accessibility yan) rides (Healthcare Industry).

19           I believe iHiig can alleviate the bottlenecking and monetary losses the City of
20           Sacramento is having to face by contracting with us. We can address multiple
             areas of transportation and bottlenecking such as Paratransit, Coimty Hoispitals,
21           the Sacramento Fire Department, 911,311, and pthesr entity transportation service
             requests.                                            "     " • --
22
23           If you could send us an MOU (Memorandum pf Understanding) that iHug is
             willing to develop software to orchestrate scheduling and automation of
24           fransportation as a contractor to the City of Sacramento for Paratransit, County
25           Hospitals, the Sacramento Fire Department, 911,311, and other entity
             transiportation seirvice requests. ;This can be our first step together. Then we can
26           meet with the stake holders and leaders in those areas in an effort to accomplish
             the mobility initiative.
27
28

            Adam John Mackintosh—^vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                      Rights, American Disability Act, Trade Sepret Misappropriation, Unjust Enrichment
                                          • •• ••                 . . 145:
      Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 233 of 825
                                                   6k,
.1
             Reply    Reply to RD Fortuord    tJeiete     Purge      Mark as -
 2                                                                    Spam

 3
           Search Results
           (Options) (E            Display    40                     324 Messages   Page              of 9
4
           Parameters)
 5                     Folder                       EE   Subject
              •        Inbox                  ••     y   Re: i... ; - 09/01/2017 5:52 pm
 6
 7                               Reply I Reply to All I Forward j Delete | Print
 8          Lastly, if there's a possibility that we cm obtain a larger office space through the
            City of Sacramento and/or affiliate as an incubator space. We can form a
 9          collaborative relationship with you and the Mayor where we can tackle the first
10          initiative (mobility) through iHiig's on-demand virtualfleet.At that point, iHug
            can lead the charge in creating a digital-hub in Sacramento to attract great
11          technology and tialent for economic growth whiich will enable us to address and
            accompUsh at least 5 put of the lemainiog 7 initiatives.
12
13          I look forward to your reply.
14          With Gratitode,
15
            Adam John I Founder, Ckairmah and Chief Executive Officer
16
17
            "The things we think are hard to do in life, are just hard to start."
18
           CONFTOENTIALITY NOTICE:
19
           the contents of this, email rnessage and any attachnients are intended solely for
20         the addressee(s) andmay contain confidential and/or privileged information and
           may be legally protectedfrom disclositre. If ydu are not the intended recipient of
21         this message or their agent, or if this rnessage has been addressed to you in error,
22         please intfnediqtely alert the sender by reply email and then delete this message

23
24
25
26
27
28

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                    Rights, American Disability .\ct. Trade Secret Misappropriation, Unjust Enrichment.
                                                          - 1-46 -         ,'       "
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 1           212.    Pictured below, photographic evidence of Joe and Jerry with the CIO, Louis Stewart,
 2   ("Louis 2"). Plaintiffs Wife attended the meeting with Plaintiffs VP of Strategy and Govemance.
 3
     She observed Joe and Jerry, as she kriew Jerry was misappropriating from iHug. She made them take
 4
     a photo as evidence of their presence at the meeting.
 5
 6
 7
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10
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14
15
16
17
18
19
20
21          213.     On Septernber 10, 2011, 9 days later. Plaintiff and his Wife discovered forced
22
     entry and damages to his trailer. The military grade lock was t\xt, establishing it was a planned attack.
23
     Plaintiff stored books of drafted patents of his $25,800,000,000,000 trillion-dollar new digital
24
     healthcare Ai system particulars, and execution plans and other strategies in the trailer.
25
26          214.     Joe knew Plaintiff used t^ live in hisfrailerfor months at atime,coding the iHug app,

27   storing artifacts relating to iHug, see Waymo-vs-Uber-Case#3:17-cv-00939-WHA, in particular,
28
     unlawful gathering of corporate secrets.

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                      Rights, American Disability' Act, Trade Secret Misappropriation, JJnjust Enrichment.
                     ' '               "   '   ''         -147'-'''-''^^ :•• '

                           -•'y-iiL"
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 235 of 825

1           215.     Video, and direct circumstantial evidence substantiates Plaintiff was under corporate

-2 attack, in particular, there was forced entry into Plaintiffs trailer. Pictured below on the left, an
3
     image from the video, establishes the thumb drives, sketch books, note books, and in particular,
4
     Plaintiffs patent books relating to his $25,800,000.000,000 trillion-dollar digital Ai healthcare
5
     system plans were misappropriated, leaving parts of the shelf empty.
6
7           216.     Pictured below on the right. Plaintiffs Wife pointed to the broken latch, proving

8 forced entry. Indisputable video, circumstantial and direct evidence substantiates Defendants violated
9
     The Economic Espionage Act df 1996, the 2016 Defend Trade Secrets Act and Califomia Uniform
10
     Trade Secrets Act. Cal. Civ. Code §3426, et seq., and violation under federal law 18 U.S.C. § 1832.
11
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28

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       Complaint for Infringement on Our God .Given Right t:o Life; Declaration oflndependence. Bill ofRights, and Civil
                      Rights; American Disability'Att Tr^de Secret Misappropriation, Unjust Enrichment
                      -      .• '     .'                     148- •                  •'          ". '
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 1          217.     On September 22, 2017, at 1:44PM, 12 days later. Plaintiff s Wife noticed an

 2   unusual lady in the bushes outside iHug's office. She appeared to be wearing a "homeless outfit" but
3
     looked clean cut and had an iPhpne. Plaintiff asked his Wife to take photos. After the unknown
4
     suspect noticed photos being taken, she ran to a vehicle and sped off.
 5
 6                                                                                                            LTE my

 7
 8
 9
10
11
12
13
14
15
16
17
                                                                                Sep 22, 2017, 3:20 PM
18
19
20
21                                                                               Sep 22, 2017,.6:32 PM


22                                                              Just saw your message.....We
                                                                just left V St. and we did not
23                                                              see her.....but I do not want her
                                                                around!
24
                                                                                 Nov 13, 2017, 4:50 PM
25
26
27
28

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       Complaint for Infringenieiit on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                      Rights.'American Disability Act, Trade Secfet^i^isappropriation, Unjust Enrichment.
                                                   '       -149- •
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 1          218.     Within the same iwo/i//i, Plaintiff s Wife was chased dovsoi an alleyway on her way

 2   home. She managed to get into the house, locking the gate behind her, putting her in tears after
3
     explaining her experience to her husband, the Plaintiff. Plaintiff and his Wife feh extremely
 4
     threatened. Plaintiff loaded his legally purchased firearm thereafter to protect his Wife.
 5
 6          219.     Within the same niortth, an unknown suspect loitered outside Plaintiff s home, in a

 7 dark alley, as pictured below.
 8
 9
10
11
12
13
14
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16
17
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23
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28

            Adam John:Mackintosh—vs—Lyft, Uber," Andreessepi Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringement.pn Our God Giveri Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                      Rights,, American Disability Act; iTrade                        Unjust Enrichment
                                                                -150- v;

                      '1,!H5'--'
                                            ,--'-.S:iv;i:-;5-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 238 of 825
 1           220.    On October 5, 2017, / month after Plaintiffs corporate artifacts were

 2 misappropriated from his trailer, Joe and Darren organized to meet Jerry in San Francisco, to receive
 3
     a "tech update." Plaintiff asserts they colluded to misappropriate Plaintiffs $25,800,000,000,000
4
     frillion-dollar new digital Ai healthcare system particulars to Defendants, handing off the stolen
 5
 6 artifacts from Plaintiff s trailer.
 7           221.    Pictured below, Joe's text message to Plaintiff confirming his "tech update" meeting
 8 with Darren and Jerry.
 9
10
                                                          Joe Acebedo >
11
                                    Call me when you can
12
                                                     Oct 4, 2017,10:01 PM ,
13                                               j f ' i . •:-*'5;'S'JI»T5'T '"•'T'f*-   I "   ' *»,

14
15
16                                  Driving soon so I might not be
                                    able to answer...but my plan is f
17                                  want to do the same With Jerry
                                    and Darren to have a quick
18                                  weekly update on the tech
19                                  side.

20                                  1 will pickup, Darren and me and:
                                    him can put my plan and his
21                                  plan t o g e t h e r ^ ^ ^^^ ^ ; V:
22
                                    Before v^e meet Jerry. But
23                                  vi/hen fcome in tortnorrow i
                                    want to dppur morning walk so
24                                  I can: incorporate somethings
                                    that you want me to
25
26
27
28

            Adam John Mackintosh—^ys^Lyfit,- tmei-, Andreessen; Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringement on Our God Giyen Right to Life, Declaration of Independence, Bill ofRights, and Civil
                      Rights, American Disability Act^ Trade Secret .Misappropriation, Unjust Enrichment.
                                                                 -151 -
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 1           222.      On October 6, 2017, 7 day later, an unauthorized device login was madefromUber
 2   Headquarters, m San Francisco, Califomia. Pictured below, unarguable geolocation evidence,
 3
     establishes an unauthorized login to iHug's systems, within a 200-foot radius from Uber's H.Q.
4
                                                                                            The-Beer:Hafr
 5                                                                                                                   ' Walgreens
                                                                    Idfsteiri Theater
 6                                                                         . ' \W Corridor                    'Twitter
                                                                    UPS.StoreK- ; ^P'.;-"
 7                                                                             6) ,.                                 FITNESS SF.i-
                                                                     , ,     ^Zi                                     Mid Market
                                                                   liaw,Stop
 8
                                                                   incisco
 9                                                                 iy of Music-. J
                                                                             Van Wiess                      Square
10
       -£)   Send directions to your phone
11                                                                                                             Califprnia Institute
                                                                                                               of Integral Studies , ij.'
12     S     vlat-80W                                  11 mIn      ||:
             11 rnin wilhout traffic -               2:9:niiles.
13                                                                                                          Q Firestone Complete       ^
             OETAILS                                                                                        •,Auto"Gare: -     '
14                                                                 jHf.9entC3re

15           223.      Pictured below, Zendesk sent Plaintiff intemet protocol identification, establishing the
16   login within a 200-foot radius from Uber's Headquarters, where more corporate secrets were stolen.
17
                                         Zendesk sign-In detected from a new/ device
18
19
       HI iHug Parfaners,
20
       tt looks like yoti signed Into your Zendesk account using a new device on Oct 6 at 15:23:
21
             • Location: United States
22           • IP:"
23
24           Geolocation data                                                          |API, real-time)
25
                                             Country
26
                                             United States I             Califdrriia-'               San Francisco
27
28
                                                           I              iiii
            Adam John Mackintosh—vs—Lyft; Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                      Rights, American Disability-Act- Trade SecretiMisapp'ropriation, Unjust Enrichment.
                                                                   -152'-'• •
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 1          224.     On October 16, 2017 at 11:16PM, 10 days after Uber's unauthorized login, iHug's

 2 Acting Chief Financial Officer, Darren Gacicia, ("Darren") intentionally emailed Plaintiffs updated
                                                                    i
 3
 4 $1,200,000,000,000 trillion-dollar healthcare opportunity, and execution sfrategies to Ben at
 5 Andreessen, intentionally removing his email confidentiality clause, shortly before departing iHug.
 6          225.     Darren breached fiduciary duty, violating his non-disclosure, and contingency
 7
     employment agreement as he sent Plaintiffs healthcare opportunity to one of Lyft's largest investors.
 8
            226.     Plaintiff vehemently asserts Darren is an astute, and highly educated former Vice
 9
10 President of Equity Research at Morgan Stanley, the most prestigious investment bank in the world.
11          227.     Plaintiff asserts Darren is too intelligent to "accidently" remove the confidentiality

12 disclosure ih his email signature, inadvertently sending Ben at Andreessen, Plaintiff s
13
     $1,200,000,000,000 frillion-dollar execution sfrategy and pitch deck, after Plaintiff specifically
14
     instmcted Darren to research each venture capital firm before engaging in conversation.
15
            228.     Plaintiff asserts Defendants, in particular, Ben, John, and Does, used tactics described
16
17 in the case Waymo-vs-Uber-Case#3:17-cv-00939-WHA, in particular, unlawfiil intelligence
18   gathering, containing corporate trade secrets.             j
19
            229.     Pictured below, Andreessen "makes a Ikilling" in Lyft IPO.
20
                                                                             9 big things: In
21
                                                                             Lyft IPO, al6z
22
                                                                             makes a killing
23                                                                           By Kevin Dowd
                                                                             March .^t 2019
24
                                                                             It's official: The Grand VC-Backed IPO
25
                                                                             Procession of 2019 has begun. And it's
26                                                                           begun with a bang. After pricing its
                                                                             offering late Thursday at $72 per share,
27                                                                          , Lyft saw its stock climb even higher on
                                                                            ] Friday, closing its first day of trading on
28           Marc Andreessen (L) and Beiri Horowitz                         I the NASDAQ at $78.29 per share.
             Photograph by Bryce Duffy '       ' . ' '!

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       Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
                                              "'•'•C' -. - 153'-:-:^^ " -
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 241 of 825
 1          230.     After Ben's unlawful actions, he then signed Lyft's SEC Sl filing containing

 2   Plaintiffs disguised $1,200,000,000,000 trillion-dollar healthcare opportunity, Plaintiff alleges Ben
 3
     used his corporate secrets he received from Jerry, Joe, Louis, and Darren to inflate the ultimate
 4
     valuation of Lyft, omitting it from the United States Securities and Exchange Commission, see
•5
     Waymo-vs-Uber-Case#3 '• 17-CV-00939-WHA, in particular, ''not only was Uber able to obtain trade
 6
 7   secrets, but used the data it obtained to inflate the ultimate valuation of Uber.""

 8          231.     Lyft vaguely mentions any healthcare plans in its S1 SEC filing, where in fact. Vice
 9
     President of Lyft Business, Gyre Renwick, states non-emergency medicalfransportationhas become
10
     a large part of their business. Plaintiff asserts these omissions have led to several class-action lawsuits
11
12   from Lyft investors.

13          232.     Plaintiff alleges these omissions in the SEC Sl filing were intentional, in order to veer
14   away from any self-incriminating admittance of guilt, by releasing evolved plans that resembled
15
     Plaintiffs $1,200,000,000,000 trillion-dollar healthcare opportunity giving rise to the ultimate motive
16
     to falsely imprison Plaintiff
17
18          233.     Plaintiff further argues in the event Defendants and Does announce any particulars of

19   Plaintiffs $1,200,000,000,000 trillion-dollai- healthcare opportunity, it's a clear violation of The
20   Economic Espionage Act of 1996.
21
            234.     Defendants willfully and with prior knowledge of its wrongdoing, caused an
22
     insurmountable amount of irreparable damage to iHug.
23
24          235.     The covert collusion enabled. Defendants and Does to unjustly enrich themselves

25   without legal entitiement, eaming billions of dollars post-IPO, and billions of dollars in revenue using
26   Plaintiffs copyrighted, corporate material, corporatefradesecrets,financials,business plans, and
27
     other proprietary and confidential inforrnation.             .
28
            236.     These actions areicle'ar violations, and these entities and individuals are liable if.
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                      Rights, American Disabiiit)"Act;Trade Secret Misappropriation, Unjust Enrichment.
                                         ; \:,f;vr/,^fij^   -154|,-,|,".j
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 1    among other things:                                       j

 2                    one (1) steals, or without authorization appropriates, takes, carries away, or conceals,
                                                                 j
 3
                      or by fraud, artifice, or deception obtains a trade secret;
4                                                             i
                      two (2) without authorization copies, duplicates, downloads or uploads a trade secret;
 5                                                               I


 6                    or three (3) attempts or conspires with one or more persons to commit engage in such
 7
                      conduct.                                   i
 8
             237.    Like the Uniform Trade Secret Act, the Califomia Uniform Trade Secrets Act
 9                                                         I
10    prohibits "misappropriation" of trade secrets and provides certain remedies.
             238. In addition, California law also allows for penalties for stealing trade secrets, Cal. Civ.
1.1                                                                  I


12    Code § 3426, et seq; Cal. Penal Code §§ 499c, 502. '

13                                                                   i
             239.     Pictured below, Darren's email to BenI, where the confidentiality email clause was
14                                                                       I

      purposefiilly removed.                                        i
15
16                    From: Darren                            Pth^com>
                      Datie: Mon. Oct 16, 2017 at; 11:16 PM
17
                      Subject: IHug Healthcare - Seeking |$5r10MM Investment
18                    To^^^Bal^zJom
19
20
                      HI Ben,
21                                                                           1
                          '•     • •         •                               I
22                    My name is Darren, I am the acting CFO and an Advisory
23                    Board member of IHug. We hope you may consider a capital
24
25
26
27
28

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                                                 '•    '   - 155-!
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 243 of 825
 1          240.      On May 22, 2018, pictured below on the left and right, Joe continues to violate his

 2   cease and desist, continuing to communicate with Darren.
 3
 4                                                                Joe did a great job as the COO of IHug. Given
                                                                  my role as the CFO, we worked together closely
 5     Joe did a great job as the COO of IHug. Given .            and I got to know him personally. He had a great
       my role as the CFO, we worked together closely             grasp of the business and excelled at managing
 6
       and I got to know him personally. He had a great
                                                                  and communicating with people. Honest and
 7     grasp of the business and excelled at managing
                                                                  forthright, I appreciated my time with Joe and
       and communicating with people. Honest and
 8     forthright, I appreciated my time with Joe and             would recommend him to anyone as a business:
       would recommend him to anyone as a business                partner or team member. See less
 9
       partner or team member. See less
10                                                                        Darren Gacicia
               Darren Gacicia                                             Acting Chief Executive Officer, Chief
               Acting Chief Executive Officer, Chief
11             Financial Officer
                                                                          Financial Officer
               May 23, 2018, Joe worked with Darren In the same
                                                                          May 22, 2018, Joe worked with Darren in the same
12             group                                                      group

13
            241.     On August 29, 2017, Darren signs a non-disclosure, approximately 45 days prior to
14
     intentionally sending Ben, Plaintiffs $1,200,000,000,000 trillion-dollar healthcare opportunity, and
15
16   his $25,800,000,000,000 trillion-dollar new digital Ai healthcare system particulars.

17
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28

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                                                             156--
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 1           242.    Pictured below, a snippet from Darren's non-disclosure agreement, excluding Ben,

 2   Defendants from using Plaintiffs $1,200,000,000,000 trillion-dollar opportunity.
 3
             (c) Recipient acknowledges that monetary damages may not be a sufficient remedy for
 4           damages resultingfromthe unauthorized disclosure of Confidential Mbrmatioh and that
 5           the Company shkll be entitied, \yith6iit waiving any other rights or remedies, to seek such
             injunctive or equitable relief as may be deeined proper biy a court of competent
 6           jurisdiction, hi the event any third-party who has direct or indirect connection with
             Recipient involved in monetary damages that {ure a result of continuing to disclose
 7




        •
             unauthorized Confidential Information, the Company shall.have thefiiUrightsand
 8            entitlement to seek siich iojunctive or eqiiitable relief as may he dcem&d proper by a court
              of con^etent jurisdiction.
 9
              4. Misceliaheous
10
              (a) All Confidential Information and Confidential Materiais are and shall remain the sole
11
              and exclusive p r o p ^ of the Company. By disclosing information to Recipient, the
12            Company does not grant any express or unpliedrightto Recipient to or under the
              Gonq)any patents, copyrights, tnadenwrkSj or tradie secret information. Any information
13            that's given, disclosed, communicated or otherwise expressed by Recipient that shape,
              enhance, evolves or otherwise shallremainthe sole and exclusive property oftiie
14
              Company.
15
16          243.     On October 19,2017,5 days after Ben received Plaintiff s $ 1,200,000,000,000
17
     trillion-dollar healthcare opportunity and execution strategy, Lyft announced a $1,000,000,000
18
     billion-dollar funding round led by Google's CapitalG. Plaintiffs $1,200,000,000,000 trillion-dollar
19
     healthcare opportunity increased Lyft's valuation from $7,500,000,000 billion-dollars to
20
21   $11,000,000,00 billion-dollars, eventually turning Andreessen's $60,000,000 million-doilar

22   investment in Lyft, into a $1,300,000,000 billion-dollar return post-IPO.
23
            244.     Pictured on the next page atop oil the left, Ben joined Lyft's board in 2016,
24
     who had the most to gain from Lyft's valuation.
25
            245.     Pictured on the next,page atop on the right, CapitalQ lead Lyft's $1,000,000,000
26
27   billion-dollar round. Plaintiff alleges Ben, John and Logan, used Plaintiffs $1,200,000,000,000

28   frillion-dollar healthcare opportiinity to evolve Lyft andjpber'S^ organic growth, through a secret pact.

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                      Rights, Arnerican Disability Act Trade Secret'Misappropriation, Unjust Enrichment.
                       •,               ' ' "• ' :     : " . 157.         ••    •   '
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 1
 2
 3                                                           OCTOBER 19, 2017

 4                                                           Alphabet's CapitalG Leads $1
 5                                                           Billion Round in Lyft
 6
 7
 8
 9       NOVEMBER 7, 2016


10       Andreessen Horowitz Co-
         Founder Ben Horowitz Joins Lyft
11
         Board of Directors
12
             246.     On October 22, 2017, 4 days after Ben received Plaintiffs $1,200,000,000,000
13
14 frillion-dollar healthcare opportunity, and 3 days after Lyft announce a $1,000,000,000 billion-dollar
15   financing round, text message and circumstantial evidence establishes, Joe was in San Francisco
16 meeting with Defendants. Joe was instmcted by Defendants to gather any and all execution strategies,
17
     flyers, post cards relating to the $1,200,000,000,000 trillion-dollar healthcare opportunity.
18
             247.     Joe had inside knowledge that Plaintiff found a healthcare partner to execute on his
19
20   $1,200,000,000,000 trillion-dollar healthcare opportunity. The new healthcare partnership was an

21   imminent threat to Uber, and a Lyft/AMR/Sutter partnership, as they had previously pitched the same
22   healthcare partner and failed.
23
            248.      The healthcare partner had previously declined Uber and Lyft as they were not safe
24
     enough for healthcare. Whereas Plaintiffs Company, iHug, recmited andfrainedCPR, and Basic
25
26   Life Support Certified medical providers who had a compassion for healthcare patients.

27           249.     On October 27, 2017, 5 days after Joe was in San Francisco, he asked for iHug's

28   confidential, intemal corporate material related to an upcoming healthcare partnership.

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                                                          - 158
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 1           250.    Pictured below, Joe's text message asking for corporate material to share

 2   with Defendants, so Defendants can continue to mobilize using iHug's corporate secrets and
 3
     intelligence.
 4
 5                                                                             .Ill LTE m

 6
 7
                                                        Joe Acebedo >,

 8
 9                                ; Ok.

10                                                  Oct 27, 2017,11:03 AM

11
12
13
14
15
16
17
18
19
20
21                                  Can you text me hoWthe'new
                                    design" of fiyefs look like?. -
22
23
                                                                             m
24                                                   Qcf27, 2017, 4:30_Ph^

25
26
27
28

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                                                       • ' -159,- ' • ' .                                           '.
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 1          251.     On October 27, 2017, the same day, Joe had Louis, John's right-hand man, join iHug

 2   and signed iHug's non-disclosure, confidentiality agreements and other legal documents where he
 3
     purposefiilly omitted his involvement with John, Lyft and Uber to assist Joe in strategically
4
     misappropriating the execution strategies involving the new healthcare partnership, establishing iHug
 5
 6   was an imminent to Defendants giving Defendants more motive to act unlawful.

 7                                  E. TOTAL DISREGARD FOR THE LAW

 8          252.     On October 27, 20 \1,8 days after Ben and Lyft announced a $ 1,000,000,000
 9
     billion-dollar financing round led by CapitalG, Joe introduced Louis to Plaintiff, using a cover up
10
     story, that Louis could recruit thousands of drivers for iHug:
11
12          253.     Louis, Joe and Does signed the following but not limited to, advisory board, non-

13   compete, confidentiality, non-disclosure^ contingent employment and othertypesof legally binding
14 agreements with iHug and did nbt disclose any conflicting relationships of competing companies.
15
            254.     Pictured below is one of many signed contracts by Louis Joe, Jerry and Does.
16
                            PARTY HAS READ Til|S AGREEMENT CAREFULLY AND UNDERSTANDS ITS TERMS.
17
18                                                         PARTY (Print Name)

19                                                         SIGNATURE OF PARTY OR PARTY REPRESENTAnVE

20                    Effective

21
                                                                      : REPRESENTATIVE OF COMPANY
22
23
            255.     Louis, Joe and Does were given an iHug email to communicate during their
24
     relationship with iHug. Separate from email access, iHug's intemal systems were only loaded onto
25
26   iHug's corporate iPads and iMac's^o be used at iHug's office.;

27          256.      There was no legitirriate business reason for Louis, Joe, Jerry and Does to load iHug's
28   intemal systems onto their personal phones, and/or Defeildaht supplied bumer phones and/or devices.

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 1          257.     Louis, purposely omitted the fact that he knew John personally. Louis then gained

 2   access to highly confidential and competitively sensitive commercial information, containing
 3
     thousands of artifacts (files, folders, emails, and other data), in particular, Louis was shown iHug's
 4
     flyers and other confidential details relating to the new healthcare partner, that allowed Plaintiff to
 5
 6 execute on this $1,200,000,000,000 trillion-dollar healthcare opportunity.
 7          258.     In an act of Corporate Espionage 18 U.S.C. § 1832 (a), (5), (b) and sabotage, Joe,
 8 Louis and Does, breached fiduciary duty to iHug, by recmiting iHug's drivers onto Defendants'
 9
     platform, in order to receive cash incentive from Defendants to stop driving for iHug.
10
            259.     Louis and Does also met with John, and other executives in private, while in
11
12   possession of iHug's intemal systems, containing artifacts that were loaded onto their personal

13   devices and/or Defendant supplied bumer phones, unbeknownst tb Plaintiff.
14          260.     Case law analysis sets precedence by John in a case, see Lyft-vs-Travis
15
     Vanderzanden-Case# CGC-14-542554, where John declares under penalty of perjury, his concem
16
     of his "former COO" meeting with a competitor, after misappropriating Lyft's "highly confidential
17
18   information."

19          261.     Pictured below, an assertion from the case, where John was "concemed" about any
20   discussions between a competitor and his COO. Whereas, in this case, Louis had a direct relationship
21
     with Lyft's Co-Founder, John, and Joe, who yvas the COO of iHug.
22
              10         A.      Based on^VahderZanden-s text inesstges, in whidi he indicates: th^
23
              II   personnelal Uber Technologies, Inc. ("ijber") waritcd to tneet, with:_hirn the week of August 18,
24
              il- 2014,1 believed that, Yah,derZanden\vi3uld li^^
25
              ls          5.     I vvas concerned about any
26            14 given lhat VanderZandeii had jbeen a Lyft senior:cxecMtivc;(
27            15 already announced his re$ig^^^^
28
            262.     Defendants obvious disregard for the law has caused and will continue to cause
            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1   irreparable damages to iHug and any fiiture growth.

 2          263.     Pictured below, Louis states, "I'm in," to a recipient named "Lyft," while colluding
 3
     with Joe and Does.
 4
 5
 6                                      liiyl^Rritiiihigltl                    |lhugheaitJi.edni>
 7
 8                                      hTiin
 9
10
            264.     Plaintiff possesses direct testimonial admittance from an Uber and Lyft driver,
11
     establishing Defendants gave instmction to Joe, Louis, Drivers and Does, further substantiating any
12
     and all allegations made in all proceeding paragraphs.
13
14          265.     Pictured below, Louis extracted iHug's drivers to recmit onto Defendants platform,
                                                                                    I
15
     substantiating the insurance scheme exists, breaching his fiduciary duty to iHug. Joe, Louis and Does
16
17 then deleted emails, spreadsheets, forwarding mechanisms, and other related communication
18 evidence that establishes allegations herein, a clear violation of the The Sarbanes-Oxley Act of2002.
                               louis pritchett (via Goo... Sun, Nov 12,20t7,8:28 PM              4<
19                             to me •»
20
21
                                        louis pritchett hias invited ybu to edit the following
22                                      spreadsheet

23                                      i s Untitied spreadsheet

24
25
26          266.     The actions described herein, are a clear violation of The Sarbanes-Oxley Act of2002,

27   which states "that whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or
28
     makes a false entry in any record,,document, or tangible object with the intent to impede, obstmct, or

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                                                '            -162
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 1   influence the investigation or proper administration of any matter wdthin the jurisdiction of any

 2   department or agency of the United States or any case filed under title 11, or in relation to or
 3
     contemplation of any such matter or case, shall be fined under this titie." Sarbanes-Oxley Act of2002,
 4
     Pub. L 107-204, § 802, 116Stat 745, 800 (2002). Codified at l8 U.S.C. § 1519, this provision
 5
 6   applies to private companies and has a broad reach that is not limited to commenced litigation.

 7   Section 1519 "covers conduct intended to impede any federal investigation or proceeding including

 8   one not even on the verge of commencement." Yates v. United States, - U.S. ~, 135 S.Ct. 1074, 1087
 9
     (2015) (emphasis added).
10
            267.     Similarly, Califomia Rule of Professional Conduct 5-2320 prohibits members of the
11
12   bar from suppressing evidence that ihe member or the member's client has a legal obligation to

13   produce.
14          268.     Louis admitted to iHug team members he didn't possess an iPhone, the only platform
15
     iHug uses for its app. Pictured below, unbeknownst to Plaintiff, he suddenly asked iHug's VP of I.T.
16
     to load iHug's intemal systems onto his "new iPhone X and new iPad 2017," offering a bribe.
17
18          269.     Affirming Louis loaded iHug's intemal systems onto at least four devices supplied by

19   Defendants. A bumer phone is-defined as "an untraceable device," using disposable SIM cards.
20
21                    L o u i s p r i t c h e t t <lpuis@ih...   Sat, Dec 2, 2017,9:02 AM       ^        4^
                      tome-^
22
23                   Hi Jim can      get together again cuz Lhave my new iPhone X and new
                     iPad 2017 and would like'your help on toa^       Your lunch is on me. Are
24
                     you going to be in ttie d ^                              know and I'll be
25                   there. Okay Uiank ydij very much fo^ support.
26                   Louis Pritchett

27
                      Sent from my iPhqne
28

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                                                                 163;-
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 1            270.   Pictured below, Louis began learning iHug's intemal systems with the intention of

 2   allowing Defendants to unlawfully gather Plaintiffs intelligence.
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
              271.   In an act offlagrantunfair competition practices, Defendants instmcted Louis, Joe and
14
     Does to "recruit" their own "independent'' Uber and Lyft Drivers to drive for iHug, and competitors
15
16   alike.

17            272.   This enables Defendants to push a button at their Headquarters to send Drivers cash

18   incentive to cancel on competitor ride requests, using guarantee pay, and large cash bonuses, in order
19
     to successfiilly suppress competition, tortiously interfering vyith competitor's transportation confracts.
20
              273.   Pictured below, testimonial arid electi-bnic text evidence establishes Defendants
21
     tortiously interfere with competition through incentive,
22
23
24
25
26                                                  -.Fi-tllf;

                                                                                Read 4./6/18
27
                                        Hey Adam.'Sorry, I can't. I'm in
28                                      San Francisco driving Uber.

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                                                                 - 164-
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 1            274.     Pictured below, testimonial and electronic text evidence establishes Defendants
 2   tortiously interfere with competition through incentive.
 3
 4
 5                                                  1            Joe Acebedo
                                                        ' ' " Jun' 1 b," 2b 17, 3 : 5 ' " "
 6
                                        Sorry but; I have to cancel on
 7                                      you tonight, I won't be home
 8                                       because Lyft just sent me a
                                        hourly guarantee to drive
 9                                      tonight for the Rivercats game.
                                         I need to make some $ so let's
10
                                        just reschedule for a different
11                                      day

12
              275.    Pictured below, Louis, John'sright-handman, has heavy influence over drivers.
13
14   Where it's alleged he slandered Plaintiff while colluding with Joe, and Does to cancel rides on

1.5 terminally-ill healthcare patients, where Drivers are not fiilly aware of the gravity of their actions that
16
     are induced by Defendants inherit anticornpetitive practices, and culture.
17
18
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28

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                                                                         -.1.
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 1          276.     Pictured below, there were only a few times photographs were taken of Louis inside
                                                  I                               .   .   .   .    •
2    the iHug office, as Joe prohibited anyone from video recording Louis inside iHug's office.
3
4
                                                                                                  Joe Acebedo >
5
6                                                                          Ok. I'll let them know
 7
 8
9
10
11                                                                          I told Louis to come in, I don't
                                                                         ii^A^^ifrl^abfsl^                            j
12
                                                                         r'.'case.        •                       '   *
13
14
            277.     Pictured below, Louis and] Joe colluding while in the act of corporate espionage in
15
     iHug's office, substantiating they had access to all iHug's intemal systems.
16
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28

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 1           278.     On December 12, 2017, 2 days before Louis met with Lyft Executives,

2     unbeknownst to Plaintiff, Louis pressured evetyone at iHug's office for details and intel on the
 3
      upcoming healthcare partnership that would allow Plaintiff tp execute on his $1,200,000,000,000
4
      trillion-dollar healthcare opportunity, an imminent threat to Uber and an established
 5
 6 Lyft/Sutter/AMR partnership.
 7           279.     Louis was also pressuring Plaintiff for intel on the $ 1,200,000,000,000 trillion-dollar

8 healthcare opportunity and execution strategies.
9
             280.     December 13, 2017, i day later. Plaintiff accomplished a major milestone for iHug,
10
      signing a memorandum of understanding with its new partner. This partnership enabled Plaintiff and
11
12    iHug to execute on his $1,200,000,000,000 trillion-dollar healthcare opportunity. Pictured below, a

13    snapshot of Plaintiff s new partnership, that would allow iHug tb scale natibnwide.
14
15
1,6
17
18
19                                             Memorandum of Understanding

20                    THIS AGREEMjElVfT, is made this 13 day of December, 2pl7,by and between

21                                                                                      Ic

22
                                                         iHug Healthcare
23                                            (hereiriaftisr referred to;as"iHug").
24
25
26                                                        RECITALS .
27                 WHEREAS.,vi Hug is; ajlleaithc^^^
28          transportation, organize derriaiKi jjhdi;;^                 thrpugh spiWare to connect tratisp


             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
        Complaint for Infringement on Our God Given [Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                       Rights, American Disability Act, Trade Secret Misappropdatibn, Unjust Enrichment.
                                                           •-•I67irr-:;;v':-'
                                               JSS' • • • • WC^:CM
                                           (''yC'-C^^'
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 255 of 825
 1          281.     On December 14,2017,7 day later, Louis and Juan breached their signed non-

2 compete, non-disclosure, contingency employment agreements and other legal documents by meeting
3
     with Lyft Executives, where Louis had, loaded i.Hug's intemal systems onto his personal devices 12
4
     days prior.                                           !
5
            282.     Louis received an award for his "outstanding dedication to the Lyft movement." It
6
7 was an exclusive event, excluding a majority of Drivers.
 8
9
10
11
12
13
14
15
16
            283.     Pictured below on the left, social media and photographic evidence reveals Louis'
17
18   award from Lyft, where he met Lyft executes, sharing iHug's intemal systems on his portable

19   devices. Pictured on the right, a Driver complains not all Drivers were invited.

20
21                                                                  Louis Pritchett • IN THE ZONE [LYFT
                     cou^^^QX'^'i.^C-
22
                                                                    0 Admin - Follow December 14, 2017 • B ';
23
                                                                  ^12,                                 4 Comm«
24             Lyft is proud to prosent.lhls

25              GOLDEN KEYAWASb ^                                    |£) Like                 ( p Comment
                   • " . '^"';'V.'?;?'''''*:5'=:;?
26           \n recognth'on of your outstanding
              dedkotion to the Lyff movement                       Chrlsta Cooper that was nice of them, too
27                                                                 bad we were not all invited
28                             2017                                Like • Reply • l y '

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                      Rights, American Disability Act, Trade Secret,Misappropriation, Unjust Enrichment.
                                                     •   '-''C- -'--168-'^ •
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 1              284.     December 16, 2017, 2 days.later, Juan who had attended the Lyft event with Louis,

2    mshed into iHug's office asking to speak with Plaintiff inunediately, where witnesses were present.
 3
     He admitted Louis was "spying," on iHug, stating, "I'm not okay with it." He paced back and forth in
4
     distress. After Plaintiff walked Juan outside to speak in private, Joe rushed outside advising Plaintiff,
 5
6    he'll "handle it," in order to conceal testimonial evidence.
                                                            I         -               - ,
 7
                285.     Joe advised Plaintiff later that day, Juan just wanted to know "what his position will
 8
 9 be" at iHug. A statement that was made with actual knowledge of its falsity and a reckless disregard
10   for the tmth, as Juan's statement was contradictory to Joe's statement, and Juan's behavior did not
11   match the statement that he just wanted to know his new title and position at iHug, a clear violation
12
     ofthe U.S. Code § 1512: Tampering with a Witness.
13
                286.     Witness tampering occurs when someone attempts to cause a person to testify falsely,
14
15   withhold testimony or information, or be absent from any proceeding to which the witness has been

16   summoned, in particular, you don't have to be a party to the civil action to be held liable.
17              287.     In the United States, witness tampering in federal cases is defined by statute at 18
18                                                      i
                                                        1

19   U.S.C. § 1512, which defines it as"tampering with a witness, victim, or an informant."
                                              j
20
                288.     This was yet another attempt to cover up Defendants and its Drivers unlawful actions
21
     compromising its own drivers, and Using third-party vendors.
22
23              289.     Pictured on the next page, you will see Joe, Malcolm, and Does who routinely meet

24   with Drivers to appear casual, whereas indisputable evidence exhibited herein, prove their actions are
                                                        I

25
     willful and damaging to anyone competing with Defendants.
26
27
     //                     - '• '-
28   ///                                         . j                      '
                                                        Vi      -   -If'i'.'ok-;..'
     ///                                     '!vr;:: • ' ,             • •
                Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, Johri, Louis, Jerry, Logan, Ben, and Does
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                          Rights, American Disabilitv Abt Trade Secret Misappropriation, Unjust Enrichment
                                              •: •    • !;•• -169-'--
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 1
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 5
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 7
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 9
10
11
12
13
14
           290.     Pictured below on the left and right, a photo of Louis, with Joe, Malcolm and Does in
15
16 the background.
17                                                                                                         TWZZ

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                                                  •i'l-
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                                                          -170-
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 1                 F. DEFENDANTS ATTACK SECOND LAUNCH DATE - DRIVERS
                                                       i
2
            291.     On January 10, 2018, Plaintiff executed on his $1,200,000,000,000 trillion-dollar
3
     healthcare opportunity with a strategic and seasoned healthcare partner in Sacramento, Califomia.
4
5           292.     Plaintiff asserts Defendants maliciously launched a series of incendiary and

6    strategically timed attacks on iHug's official launch date January 10, 2018 tortiously interfering.
 7          293.     Pictured below. Plaintiffs Wife wrote out Defendants' actions, and the damages and
 8
     dangers of their malicious acts as she lived through, and witnessed everything.
9
10
                                 .AW».                                ^ ^ ^ ^ ^ ^ ^ ^
11
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                                    r ive ,v\?.^u'^^°^ ^
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24                                   •        •   1,       c'   - ' ^ ^ ^WNciW.f cannot                    )
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       Complaint for Infringement on Our God Given Right to Life,'Declaraticn of Independence, Bill ofRights, and Civil
                      Rights, American DisaHiiirv Act, Trade Secret Misappropriation, Unjust Enrichment.
                                          •         •       ^ 171--                     " - •
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 259 of 825
 1          294.     Pictured below. Plaintiffs \Yife wrote out indisputable events in atimeline,outiining

2    what she could fit on the page, the attacks from Defendants throughout 2018.
3
            295.     After iHug was forced to halt operations as a result of Defendants actions, Defendants
4
     then began attacking Plaintiff and his Wife personally.
5
6           296.     Its alleged Defendants orchesfrate its Drivers in symphony with PsychOps within its

7 ThreatOps Teams, and attorneys to frame Plaintiff of Grand Theft Auto, Assault, Investment Fraud,
                                                     I

 8
     and Possession of Stolen Property as described in the proceeding pages of this Complaint. This would
9
     allow Defendants to freely run witii Plaintiffs misappropriated $1,200,000,000,000.00 trillion-dollar
10
11   healthcare opportunity, while Plaintiff wrongfully sits in prison.

12          297.     Even more vile. Defendants instmcted Joe, Louis, and Does to interfere with
13   Plaintiffs Wife's' immigration process, to deport her, attempting to kill Plaintiff and his Wife's love.
14
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24                                                                                         ioixS> saes   iV^ obooM^
                                                 tti"^^      y^^c^"^^^
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26                                                                                                          Moi 2a.
27
28

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 1                    F l . Defendants Choke Off iHug's Investments, and Operating Cash

2            298.     On November 5, 2017, after Jerry misappropriated approximately $80,000 from iHug,
3
     who never delivered software, who sabotaged iHug's first July 4, 2017 launch date. Plaintiff needed
4
     to raise more cash to keep iHug in operation.
5
             299.     Joe pressured Plaintiff to be involved in the investment process. He asked to be carbon
6
7 copied on emails, and requested the contact information of the investors. After Plaintiff would pitch
 8 investors and shared his vision, the investors were enthusiastic and excited to invest, calling it, "The
9
     Uber for Healthcare." Days later, after Plaintiff pitched investors, they were threatened by
10
     Defendants, an Uber tactic described by Ben of Lyft during a Bloomberg interview, claiming the
11
12 "Benchmark Guys" would call and threaten investors. The investors pulled out from investing in
13   iHug. This was a repeating pattem, forcing Plaintiff to find cash elsewhere.

14           300.     During these events, Joe was instmcting Uber and Lyft drivers, compromised team
15
     members and others to purposely violate parking ordinances. After receiving multiple tickets, they
16
     would burden Plaintiff and pressure him to pay for the pai king tickets, causing undue financial loss.
17
18           301.     During these events, Joe pressured Plaintiff for $1,000 dollar, and another $3,000

19   dollars. After a team member moved in with Joe, she began asking Plaintiff for cash, she took $1,000

20   dollars. During these events, Joe misappropriated an additional $1,000 from Plaintiff.
                                                      j
21
             302.     During these events, Joe started sabotaging a new software developer who was paid
22
23   $25,000 by Plaintiff, while Plaintiff was negotiating a new healthcare partnership to grow iHug into

24   new counties and nationwide.
25
             303.     During these events, Joe sabotaged Plaintiffs Landlord, claiming he was a fraud,
26
     causing the Landlord to raise rent month after month to drive Plaintiff, and iHug offthe property as
27                                                   V
                                                     ,1 ,
28
     Plaintiff couldn't afford it. A similar and repeating pattem as described herein, where Landlords were
              Adam John Mackintosh—^^vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     sabotaged
       Complainttofor
                   drive   Plaintiffonoff
                      Infringement     Ourthe properties
                                            God          and
                                                Given Right to cause  undue duress,
                                                               Life, Declaration       in an attempt
                                                                                 oflndependence.       to halt iHug.
                                                                                                 Bill ofRights, and Civil
                       Rights, American Disability Act": Trade Secret Misappropriation, Unjust Enrichment.
                        ••• ••„••:••- :• •     • ' 1, :• -• -•173--'
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 261 of 825
 1              304.   Plaintiff looked to what little personal belongings he had left in his life, and made
                                                      i
 2   the decision to sell his trailer. Whereas after his trailer was sold, his tmck was stolen.
                                                      I
 3                                                    I


 4              305.   After Plaintiff and his Wife posted multiple ads to sell the frailer, they found a buyer.

 5 Plaintiff was happy he could invest the little cash he received from the sale of his trailer back into
 6   iHug. This would allow him to continue fulfilling his Gbd given missibn, tb help ease the pain and
 7
     suffering in healthcare, and offer lifesaving transportation, a service Plaintiffs Grandmother did not
 8
     have access to causing her to have a stroke and later pass away. Plaintiff promised his grandmother
 9
10 and Uncle, who were the only two people who really loved him and built a relationship in his life, he
11   would do something great for people so they Vvouldn't suffer like Plaintiffs Grandmother and Uncle

12 did. Pictured on the next page. Plaintiffs Uncle who passed away due to Healthcare Malpractice after
1.3 having a heart attack.
14
                306.   Pictured below. Plaintiffs )Vife took a photo of Plaintiff after he raised cash for iHug.
15
     Plaintiff was very happy. Shortly after the sale, Joe asked Plaintiff for another $1,000.
16
17   See video evidence: https://youtu.be/qeMWrG2VmXo

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            _      . , •    V            • •"                . 174.-                -r •
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 1          307.     Pictured below. Plaintiffs Uncle who suffered a massive heart attack. He

 2   later passed away due to Healthcare Malpractice. Plaintiff also cared for his Grandmother when he
 3
     was a teenager after she had a massive stroke, who was paralyzed on one side of her body. He gave
 4
     her insulin, fed her through a feeding tube, and checked her vitals daily. She later passed away.
 5
 6
 7
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20
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22
23
24                                                                     >J^
                                  ^
25
            308.     Plaintiff promised both his Uncle and Grandmother, he would do something great for
26                                           1-'if,'-'-      ••'i,!--'^!- '•
     people, in particular, in healthcare, aSjthi;y suffered health'cohditions that could have been prevented,
27
28   and managed better through tecl-mology. ,

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                      Rights, American Disabilit)'. .Actl|Trade Secret Misappropriation, Unjust Enrichment
                                        • /-"^'M'':/'!''''    -175^'^;:^••^^;^,•-^
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 1           309.    On January 4, 2018, 5 days,before iHug's new launch date Louis notifies Defendants

2    to meet in San Francisco, in a very "VanderZanden-like fashion," see case Lyft-vs-VanderZanden.
3
             310.    Pictured below, an assertion from the case, describing VanderZanden, "took a number
4
     of steps tofransferLyft information... in anticipation of his resignation."
 5
6     13            9.    The forensic evidence collectedfromVanderZanden* s Lyft-issued compiiter
 7    14 follpwing his resignation also makes clear that he took a number of these steps to transfer Lyft
 8    15 infonnation to his personal files in anticipation of hisresignation.In any case,regardlessof his
9     16 intent, VanderZanden's possession of Lyft confidential information pOstremploymeiit breached

10    17 his Confidentiality Agreement. That agreement bars him from possessing, post-enqiloyment,

11    18 any Lyft confidential and proprietary information, and prohibits himfromusing or disclosing

12
             311.    Whereas, in this Complaint, Defendants "took a number of steps" to fransfer iHug's
13
     information onto a "personal MacBook Air," "in anticipation of their resignation" from iHug.
14
15           312.    Plaintiff believes Defendants handed Louis, Joe and Does a "personal MacBook air"

16   to load all of iHug's operational systems, containing thousands of artifacts.
17           313.    Pictured below, Louis' notifies Defendants to meet in San Francisco, 5 days before
18
     iHug's launch, through his secret Facebook group, code for Uber and Lyft to meet with Louis.
19
20                         ^v;., . Louis pritchett: ,
                                  O'.Admin .-.Janyary/^, 2018
21
22
23
24
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26
27
28

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                           -•• . . ' '            CC^ ' - 176:it l^'V^'i". '
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 1          314.      On January 10, 2018 at 11:10am, ori iHug's launch day, after Louis handed Joe the

 2   "personal MacBook Air," circumstantial and elecfronic communications establish Joe asking iHug's
 3
     VP of I.T., Jim, to load all iHUg's operational systems onto the device.
 4
 5
 6              ^O^flHHHBH'itUdNa                                                        Wed; Jan 10,2018,11^
                :tpi.me;
 7
                Hey Jim; when wilt yv)iii)« in^                                                                     etc...'
 8
 9
                                   |@thughealtli.com>                                    Wed, Jan 10,.26l 8.1 i :ro AM        ^
10
11              For some'reason Ican't ldgln . v ^ it on trelld

12
13
14          315.      Pictured below an assertion from the case, John describes, under penalty of perjury,
15
     " I was concemed about VanderZanden having any discussions with Uber...he possessed highly
16
     confidential Lyft information and planned to talk with Lyft's competitor."
17
18     19 August 18, 2014 would have been unrelated to his potential empluymcnl al Uber. I was
                                                                           I

19     20
            concerned about VanderZanden having any discussions with Uber, on any topic. My concem
20     21
            was that he possessed highly confidential Lyft inforrnation, and planned ip talk with Lyft's
       22
21          primary competitor. Regardless of the subject matter or context of such discussions, I belieVed it
22          316.      Whereas, in this Complaint, Plaintiff was, "concem.ed about Joe, Louis and Does
23   having any discussions with Uber and Lyft...they possessed highly confidential iHug information,
24
     and planned to talk with iHug's primary competitors," during IHug's launch week.
25                                                      •   i   '
                                                  •••                 }',. -:\f-i: ••
26          317.      After iHug's VP of . LT. loaded iHug'si irileriial'systems on Defendants supplied
27   "personal MacBook air," Joe was in the vicinity of Illbler| and- L^^               headquarters in San Francisco,

28   Califomia, nearly every day of iHug's launch week, substantiated by Joe's text messages.

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                                            •--                 , -1771 i , ••
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 1           318.      Pictured below, the text messages from Joe indicating he was in San Francisco.

2
 3
                                  Joe Acebedo >                                  Joe Acebedo >
4
              FYI: Becuase of Alan backing                    Yea'just-let me know when                       .n:39 p y
 5
              out I'll have to drive in the bay
6             starting tonight, didn't hit my                                 Jari 12, 2018; 1:59 AM

              mark last week and my landlord
 7                                                                                                            .1:59 AM-
              is getting on my case now.
 8                                                            Not toni^^t; since there was a ,
9                                                             Kings game, but will leave eaWy                    2:01 AM

                               Jan 11,2018,11:29: PM
                                                              tomorrow moi nipg
10
11           319.      Joe exposed Plaintiffs intellecmal property to Defendants, not limited to the
12 following, iHug's intemal systems, technblogies, healthcare API and web portal, driver app and other
13
     corporate systems, and artifacts pertaining to Plaintiff $1,200,000,000,000 trillion-dollar healthcare
14
     opportunity, prior to Lyft and Uber's IPO.
15
16           320.      Twelve months after Joe misappropriated Plaintiffs corporate secrets and execution

17 strategies of Plaintiff s $1,200,000,000,000 trillion-dollar healthcare opportunity. Defendants revenue
18 growth spiked to 95%, to $776,000,000 million dbllars per quarter, frbm $397,200,000 million
19
     dollars per quarter, a year prior, substaritiating Defendants have and continue to unjustly enrich
20
     themselves without legal entitlement, at the detriment of Plaintiff corporate secrets.
21
22
23
24                                                                                Fiscal     Fiscal    year- {
                                                                                   2018       2019     over- j
25
                                                                                    QI         QI       year j
26                                                                                                     change.
                    Active Riders (in millions)                                    14.0       20.5      46%
27
                    iRevenue, per Active Rider                                    $28.27 $37:86         34% •
28                  Revenue (in millions)                                          $397       $776      95%

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 I           321.     On January 10, 2018 iat 1:39PM, before Joe hands Defendants the "personal MacBook

 2 Air," computer forensic analysis reveals Joe, unbeknownst to Plaintiff, created a draft email listing all
 3
     of Plaintiff s $1,200,000,000,000 trillion-dollar healthcare opportunity execution sfrategies with
4
     Plaintiffs new healthcare partner allowing Defendants to suppress Plaintiffs Company, iHug.
 5
 6           322.     Pictured below, is an assertion from case Waymo-vs-Uber-Case#3:17-cv-00939-

 7   WHA, where former Uber employee states the team was instmcted to "mark communications as
 8   draft" in order to be "immune from discovery," along with other tactical measures and actions.
 9
                 Further, Clark aind Henley directiy instructed Jacobs to conceal documents in violation of
10
         Sarbanes-Oxley by attempting to "shroud" them with attomey-client privilege or work product
11
         protections. Clark tiaught the ThreatOps team that if they marked communications as "jdratfll
12       asked for a legal ppiniori at the beginnthg of ah ernail, and simply wi'ote; "attomey-client
13       privilege" bh documents, they would be iriihlune from discovery. What Clark failed to teach the
14       team, hovvever. Is that there is rid attorney-client privilege, ho "seal of secrecy," if the

15       communications were made for the purpose of enabling the cpmmission of a criine or fraud, U.S.

16
             323.     Whereas, in this Complaint, Joe "drafts" an email for Defendants with the intent to be
17
18 "immune from discovery," the exact same method Uber used previously, see case Waymo-vs-
19   Uber-Case#3:I7-cv-00939-WHA.                  .

20
21
                            Created at:            Wed, Jan 10, 2018 at 1:39 PM (Delivered
22
23                          From:                  Joel                     |ihughealth.com>

24                          To:
25
                            Subject:               AlphaOne
26
27                          SPF:                                                Leam more
28

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 1          324.     Pictured below, less than 2 hours later, a new unauthorized device signs into Joe's

 2   iHug email account, navigating to the "drafted" email, containing Plaintiffs
 3
     $1,200,000,000,000frillion-dollarhealthcare opportunity execution strategies, and more damaging
.4
     iHug's new healthcare partnership details, while remaining covert and "immune from discovery."
 5
 6                 Google <no^                 |ts... Wed. Jan 10. 2018. 3:03 PM           ^    4s
                   to me   •
 7
 8
9                   Google-                                                          Joe Acebedo
10
11
12
                                       New device signed in to
13
14                                                                    l.com
15
16
                                Your Google Accountwas just signed in td from a new Mac
17
                                device. You're getting this email to make sure it was ypu.
18
19          325.     Pictured below, one small snippet of a section in Joe's drafted email containing
20
     Plaintiffs $1,200,000,000,000 trillion-dollar execution strategies.
21
                            7 day.s"1i<w».xk-Vaii;ria ai 6im       -Viit            .
22                          hncrLst II) hiMni. 24''
                            i>4i oneway. .... •             '. > V:.--..'.f:*",~'' '•'
23                          Pivmcnl s\iifin Lomiiunn, »r laniily mcmhcis lonj\ toi icivice.
                            Tracfciof.chent-reiiuesting for the'inde.Vjf'?^            .= •.
24                         ,E'R*^Lscort'in|K&lp.^ uh client PrrJirif to Mav w.U-i elicnt
25                             EWuJtin^pr^cLna^^^                                   • '
                                  ^Irc
26
27
                           January 10.2(1 IS Full Laimch ^ • • i
28                         panuary,^iif^'•2() 18 Nurse iidvocalcsTfi^t-yi-anfs^jise the app.
                            S150 pcrihoJt-: That u.<isist patient. ? •.C</:**C"' " •

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 1                            G. CONSPIRACY, AND CONCERTED ACTIONS

2                                TO WRONGFULLY IMPRISON PLAINTIFF
 3
            326.     Pictured below. Plaintiffs Wife sketches out the indisputable facts, events and reasons
4
     Defendants, and Does are attempting to wrongfully imprison Plaintiff.
 5
 6
                                                                                 Psychological
 7
 8
                                                                                   -"hake, coy
9
                                                                                  " Ctairti Kit IV A Gaud
10                                                                                - iv\(Ote. KortA^u^

11
                                                                                  " ^aite. cetsH
12
13
14
                                                                     ^illiCpi^
15                                                                                        ^        c^ol Lyfh
16
17
18
19                                                                  olbcuKvve^, ^^.^
                                                                        Served.
20
21
22
23
24
            327.     Plaintiff asserts that in order for Defendants to freely utilize Plaintiffs
25
     $1,200,000,000,000 trillion-dollar healthcare opporttmity, and mn with his $25,800,000,000,000.00
26
27   trillion-dollar new digital Ai healthcare system-particulars. Defendants attempt to wrongfully

28   imprison him as he's-a Whistleblbvyer to multiple schemes that exist.

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                                                          - 181 -
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 1                 GI. First Attempt to Wrongfully Imprison Plaintiff - Grand Theft Auto

2           328.     After Joe, Louis and Does gathered all execution strategies of Plaintiff s
3
     $1,200,000,000,000 frillion-dollar healthcare opportunity for Defendants, and exited iHug, they
4
     began to execute Defendants' plans, to "frame" Plaintiff for Grand Theft Auto forcing him onto the
-5
     Uber and Lyft app so they can expose Plaintiff and his Wife to the Hell Programs.
 6
 7          329.     Joe was instmcted to sell Plaintiff a vehicle, and then report it as stolen to police.

 8          330.     This was a vile attempt to falsely imprison Plaintiff, as a criminal has little to no
9
     credibility, and this would allow Defendants to claim and freely execute on his $1,200,000,000,000
10
     trillion-dollar healthcare opportunity pre-lPO.
11
            331.     Even more vile. Defendants planned to force Plaintiff to use the Uber and Lyft apps,
12
13   after Joe, Louis and Does deprived Plaintiff of his vehicle and were no longer involved with Plaintiff.

14 Uber and Lyft could then enable their Hell Programs, on Plaintiff, invading his privacy, tracking his
15   location and gaining access to his personal device to gather farther intelligence without the
16
     involvement of human elements (Joe, Louis and Does), remaining convert and untraceable.
17
            332.     Pictured below, in an interview with Rebecca Jarvis ("Rebecca"), John discusses the
18
19 #DitchTheCar initiative in an interview, asking all American's to use the Lyft app.
20
21
22
23
24
25
26
27
28

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                                   - •, -                  •-:i82- •• '
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 270 of 825

 1             333.        Pictured below, is a bill of sale from Joe to Plaintiff, in a legal purchase ofthe vehicle.

2
3                                                                     BILL OF SALE                                                      A Public ServlcB Agency

                                                                 VEHICLE/VESSEL DESCRIPTION
4                   IDENTIFICATION NUMBER                        YEAR MODEL        MAKE        UCENSE PLATE/CF# j           MOTORCYCLE ENGINE #

5                                                                  2005            BMW

             Joseph Acebedo
6                                                                                                       sell, transfer, and deliver the above vehlcleA^essel
                                     (PRI^IT SELLER'S NAME[S1)
                                                                                    01     16 2| 0, l i 8                              500.00
7      to
            Adam Mackintosh
                                                                              on                              for the amount of    $
                           ^     (fRiWf bUVER'sNAMetSiy                            MO DAY          YR                                   (SELLING PRICE)

 8     If this was a gift, indicate relationship:                                         . (e.g., parents, spouse, friend, etc.)  1$    (GIFT VALUE)
9
                                                                SELLER
       I certify (or declare) under penalty of perjury under the laws oftheState of Califomlatit0the foregoing is true and correct.
10     PRINT NAME              , '
       Joseph Acebedo
11
12
               334.        Pictured below, toframePlaintiff of Grand Theft Auto, Joe wrote and signed a
13
     promissory note using trickery. Whereas, Joe never transferred the title to the Plaintiff as promised,
14
15   and then reported the vehicle stolen to law enforcement to wrongfiilly arrest Plaintiff.

16
17
18
19
20                    IT        Cl*^
21
22
23
24
25
26
27
28

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                                                                          -183-
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 1           338.    Plaintiff proves his iimocence, as he received a bill bf sale from Joe, signed a

2 vehicle sale contract, and paid Joe thousands of dollars, substantiating he never committed Grand
3
     Theft Auto. Pictured below, a few of many Venmo payments made by Plaintiff to Joe for the vehicle.
4
5
6
7
     You paid Joe Ace                           -$100;00         Vou paid Joe Ace •                           $50.00
8    Jan 17, 2018 at 8:02 PM                                     Apr 2, 2018 at 8:10 PM
9    Ql Private;                                                    Private

10
11
12
13    You paid Joe Ace                           -$50.00          You paid Joe Aee                           -$50.00
      Jan 18, 2018 at 11:35 PM                                    Jan 18, 2018 at 11:47 PM
14
      A Private'                                                  & Private
15
16
17
18
19      You paid Joe Ace                            -$50.00         You paid Joe Ace                          -$50.00
        Feb 6, 2018 at 8:07 PM                                      Feb 6,, .2018 at 10:14 PM
20      A Private                                                   fi Private, --

21
22
23
24
        You paid Joe: Ace                         -$50.00          You paid Joe Ace                            -$50.00
25      Feb 8, 2018 at 12:33 AM                                    Feb 12, 2018,.at„11:46.PM
        S Private                                                  A privjUe':
26
27
28

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       Coniplaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill of Rights, and Civil
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                                                           - 185^, , • • ••- -
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 272 of 825
 1            339.     Plaintiff vehemently argues a common dominator exists, Joe engaged in manipulative

2    and misleading statements to defraud Plaintiff, much like Jerry, who are under the insfruction of Lyft,
 3
     Uber and Andreessen to cripple iHug, and harm Plaintiff, in order to wrongfully imprison Plaintiff so
4
     Defendants can synonymously mn with his $1,200,000,000,000 trillion-dollar healthcare opportunity
 5
     pre-IPO, unjustly enriching themselves without legal entitlement, and covering up wrongdoing.
6
 7
 8
9     You paid Joe Ace                        You paid Joe Ace                         You paid Joe Ace

10    19 our of 160 car payments.             21 of 160 of car payments.               20 of 160 of car payments.
11
      Transfer Date and Amount:               Transfer Date and Amount:                Transfer Date arid Arnount;
12    Feb 28,2018 PST • A          - $50.00   Apr 02, 2018 PDT • B          - $50.00   Apr 02, 2018 PDT • a          - $50.00

13
14
15   51.50, including a $1.50 fee, was         your debit card, and wjlt appear as      your debit card, and will appear as
     your credit card, and will appear as     in your card's billing statement.        )n vour card's billing statement.
16
17
18
19
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21
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28

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.1          340.    Pictured below, Joe continued tb cause unduefinancialharm bn Plaintiff, carrying out

2    his malicious instmctions by Defendants by draining Plaintiff of his personal cash, and iHug
3
     investments for months.
4
                                                                                              .lOi LTE .S)>-
5
6
7
                                                          Joe Acebedo >
8                                           - ^      A - . - .^•'t..5^siw'j*«::ii^:',fi!!Si:'v;*

9                                          u A^:'-                          -i^i           B V ' jSift'- • ^

10
11
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13
14
15
16
17
18
19
20
21                             Yes and I'm happy you helped
22                             with that $1000 but I showed
                               you the budget to get my
23                             house going and for a year now
24                             everything adds up.
25
26          341.    Not only did Joe, Louis and Does slander Plaintiff privately to everyone they knew, as
27   established in the aforementioned Sheriffs report, that Plaintiff, "dbes a lot of fraud stuff."
28
     Defendants, started to slander Plaintiffs reputation on a nationwide scale; publicly.
            Adam John Mackintosh—vs—Lyft; Uber, Andreessen, Joe, John^. Louis, Jerry, Logan, Ben, and Does
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                                                         • • . -1,87-•'•
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 274 of 825
 1                     GIA. The BBB Conspires To Cover Up Defendants Wrongdoing

 2          342.     On March 14, 2019 at 8:29PM, Plaintiff sent a settlement demand to Joe, Louis and
 3
     Does for damages. The only person who did not open his email while others opened it several times,
 4
     was Louis.
 5
            343.     This appears to be a strategic move and perhaps a result of being coached by
 6
 7   Lyft's legal team as he frequently visits Lyft H.Q.

 8          344.     Pictured below. Plaintiffs email to Joe, Louis and Does on March 14, 2018,
 9
     substantiating Joe, Louis and Does received the email.
10
                                Sent on 14 Mar 2019. 20:29 pm
II
                                Email                                                   Opens
12
13
14
15
16
17
18
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20
21
22
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27
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                                                           - 188-
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 1          345.     On March 16, 20\9 two days later, unbeknownst to Plaintiff, the BBB, sent iHug an

2    email to an inactive catch all inbox regarding a customer review, where in fact the review was False
 3
     and Defamatory Accusations against Plaintiff, and iHug. The inbox is inactive, as a result Plaintiff
 4
     was completely unaware of the unlaw/fiil publication.
 5
            346.     The email and iribox is only used for verification of accounts for iHug.
 6
 7          347.     Plaintiff alleges Defendants used the BBB site, in particular the customer review

 8 system, as a podium to the world, whofreelyposted False and Defamatory Accusations and its Gist
 9
     against Plaintiff, and iHug for the world to see.
10
            348.     The BBB website allov^'s anyone to intentionally and unlawfully post any and all False
11
     and Defamatory Accusations and its Gist, causing damages to small business owner's reputation and
12
13   their livelihoods. Whereas the BBB blocks genuine and authentic reviews as proven in the proceeding

14 paragraphs and photos.
15          349.     The BBB receives hundreds of millions of visitors to its website a year.
16
            350.     The BBB created an unauthorized BBB profile, which they "communicated and
17
     allowed" False and Defamatory. Accusations and its Gist, giving those groundless accusations an
18
19   insurmountable amount of credibility, defaming Plaintiffs already severely damaged reputation with

20   permanence caused by Defendants willful and malicious acts.
21          351.     As a result of the BBB's wdllful "corporate practices," to dismiss Plaintiffs request to
22
     remove the unauthorized profile the BBB created, his personal and business reputation was damaged
23
     with permanence.
24
25          352.     Not only did the BBB create an unauthorized BBB profile for iHug, the profile was

26   then used to plant complaints that were created by Defendants, to paint Plaintiff into afraud.In
27   particular, a complaint by a medical provider was posted on May 26, 2017, claiming iHug allowed an
28
     "insurance agent," to use her email she submitted to iHug. She signed up to be a medical provider
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                                                           - 189- ~ •
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 1   and Driver for iHug. Plaintiff specifically advised the insurance Agent not to contact his Drivers until

2    she received notification of a master TNC policy. Unbeknown to Plaintiff, the Agent was part ofthe
3
     insurance scheme and contacted the medical providers without permission, causing said complaints,
4
     allowed by the BBB without any investigation whatsoever.
5
            353.     This generated the complaint, allowed by the BBB. Plaintiff realleges the BBB
6
7 website fuels hate, slander and destmction of small businesses if any wrongdoer wants to cause
8 damage as described herein, further substantiating Plaintiffs allegations.
9
10     Complaint Type: Problems with Product/Service            Status: Resialved (2)
                                                                                                          05/26/2017
11
                    I purchased the IHug start up kit for $186.61 in order to make nursing house calls. It took 8
12                  weeks to get the kit When the kit arrived it had a $12 bag, a $7 stethoscope, a $12 blood
                    pressure kit. a zip lock baggie vvith 10 pairs of plastic gloves (about $1 worth), a free mouth
13                  guard frorn CPR training class; and 10 alcohol wipes; J asked for a refund and IHug
                    refused.
14
15
                                 Customer Response                                                        06/23/2017
16
                                  Consumer states:
17                               Yes; They refunded the fuller price for the medical kit As far as them
18                               rectifying the situation with me pp. I do have a comment to include. They
                                 released my phone number and email inforrnation to a insurance company.
19                               As a medical professional it does seem like the compiany is legitimiate.

20                                              Coilapse Complaint Details A
21
            354.     Not only did the BBB create an unauthorized BBB profile for iHug, the profile was
22
23   then used to plant complaints that were created by Defendants, to paint Plaintiff into afraud.In

24   particular, a complaint was published and authorized by the BBB, by an Uber driver who was
25   introduced to Plaintiffby an investor, who was a Lyft driver. Plaintiff alleges Uber and Lyft paid
26
     Drivers "incentive," to "invest in competitors." This created two results, a positive and negative:
27
            (1) The positive - Uber and Lyft were able to receive competitor investor intel after their
28

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 1   driver invested in the startup using the cash provided by Uber and Lyft through the Lyft and Uber

 2   apps. This gave Uber and Lyft a live feed ofthe startups growth. Uber and Lyft could then anticipate
 3
     when to activate different levels of ThreatOps, who engage in unlawful and anticompetitive
 4
     suppression tactics as described herein and throughout all proceeding paragraphs of this Complaint.
 5
 6          (2) The negative - The "investment cash," was given to drivers by Uber and Lyft through an

 7 "incentive program" directly through the Uber and Lyft app, labeled as "driver pay."
 8          355.     Plaintiff realleges, this is the very reason Lyft refuses to provide their investors with
 9
     driver pay information. This gave Lyft and potentially Uber enbugh time to "self-audit," to cover up
10
     the numbers. This resulted in multiple class-action lawsuits from Lyft investors, which are
11
12 proceeding on August 6, 2019.
13          356.     As a result. Plaintiff had the Uber driver sign a legal document protecting iHug and

1,4 Plaintiff. He also suspended the software as the Driver was in breach by colluding with Defendants.
15          357.     To the ordinary person who visits the BBB website, the Complaint appears that
16
     Plaintiff is doing business unethically and conducting fraudulent business practices, when in fact, the
17
     Defendants successfiilly used the BBB as a podium to paint Plaintiff as a fraud based on fabricated
18
19   situations by Defendants.

20          358.     The Uber driver was then instmcted by Defendants to use the BBB as a podium to
21   slander Plaintiff claiming he took thousands of dollars, blocked his software and signed an unfair
22
     legal document. When in fact, if the BBB conducted an investigation, the tmth would reveal:
23
                     1. This happened during a time, when Plaintiff was on guard, as an unknown private
24
25                       investigator showed up armed at Plaintiff and his Wife's residence, who would not

26                       identify himself, causing Plaintiff to arm himself with his legally purchased
27                       firearm to protect his Wife.
28
                     2. This happened during a time, Joe was slandering Plaintiff of grand theft auto, and
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 1                 3. hired an employment attomey. Where in fact, the Attbmey demanded Jbe hbld

 2                     equity in Plaintiffs new Company, iHug's Rideshare Software. This would allow
 3
                       Joe to continue giving Defendants live intel on Plaintiff, and iHug.
4
                   4. This happened during a time, Joe was slander Plaintiff to iHug investors.
 5
 g                 5. This happened during a time, Joe was colluding with Shahla, an iHug investor to
 7                     use her resources with the DOJ, FBI and others to deport Plaintiffs Wife.

 8                 6. This happened during a time, Plaintiffs vehicle was broken into.
 9
                   7. This happened during a time, Plaintiffs vehicle was stolen shortly after.
10
                   8. This happened during a time. Plaintiffs investors were calling him, stating Joe,
11

j2                     was claiming Plaintiff stole millions.

13                 9. This happened during a time, Joe, his Wife Ejay, and Does called iHug's landlord,

14                     claiming Plaintiff and his Wife, were sleeping in the office, attempting to shut
^^                      down iHug, where in fact. Plaintiff had to close the office. The Complaint states,
16
                       " I went to the office where I sign up with ihug healthcare, and they was no longer
17

^g                      at." This was a result of Joe, Louis, Malcolm and Does slandering Plaintiff to the

19                     Landlord yet again.

20                 10. This happened during a time. Plaintiff drove his Wife to an endometriosis surgeon
21                                                                                            .     .      .
                       to
                       andevaluate her severe
                           throughout         medical paragraphs
                                       all proceeding condition asofa this
                                                                       result of all actions described herein
                                                                           Complaint.
22
                   11. This happened during a time, Lyft and Uber planted a mole, Nicole, who was
23
24
25                     leaking iHug's corporate secrets.
26                 12. This happened during a time. Plaintiffs vehicle was stolen, and he was forced to
2^                     use the Uber and Lyft app that exposed Plaintiff to Hell Programs.
28

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 1                   13. This happened during a'time. Plaintiff s employment was jeopardized after Joe

 2                       stole Plaintiffs vehicle, leaving Plaintiff with no transportation to his job.
 3
                     14. This happened during a time. Plaintiff closed dowTi iHug's fransportation
 4
                         operation.
 5
 6          359.     To the outside consumer, the complaint paints Plaintiff into a man he is not. The

 7 reckless corporate conduct by the BBB allowed such slander, and defarnation of character in its
 8 complaint system, withbut a proper investigation, caused and continues to cause severe personal and
 9
     business reputational damages since May 5, 2017, as the BBB refiases to delete the false complaints.
10
            360.     Pictured below is the complaint from the Uber driver. After reading all allegations
11
     herein, you will see the complaint in a different light. The complaint is one sided, and caused
12
13   damages to Plaintiff and iHug's reputation, as investors, team members and others were being

14 directed to the BBB by Defendants, who continued to slander Plaintiff based on False Accusations
1.5 and its Gist.
16
17
        Compiaint Type: Problems with Product/Service           Status: Resolyed ®
18                                                                                                         02/07/2019
19                  i purchased transportation software that include a booking portal to help run my medical
                    transportation business froni ihug healthcare;on .May 21. 2018 i paid ihug healthcare
20                  5;000and on May 26. 2018 i paid ihug healthcare 5i000 for a total of10,000.ln May 2018
                    the booking portal was wPrkirig good. The software wierit down in AUGUST.,**** ***' the
21                  Owner of ihug healthcare would not turn on my booking portal until i sign a very unfair
                    agreement on AUGUST 28.2018.,And stilt he refuse to turn on my bpoking portal.i tried
22                  calljng.texting.and e-rnajl. No respond; | went to the office y^fherei signup yyifh ihug
                    healthcare.-arid theiy was know Ibnger at • « * •«*••*«•    »•« " • • . . « «....«*.• •* «,•».
23                        ******
24
25
                                  Customer Response                                                       02/15/2019
26
                                  Corisuriie'r states: 'They turned rriy portal back on!'
27
28                                               Cbliapse Complaint Details ^


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                                                          -193 -
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 I          361.     Plaintiff asserts the following in this Complaint to affirm the BBB has aflawedand

 2 controlled review system that allows millions of small business owners to be adversely effected.
 3
            362.     The BBB "business practices" and "sales methods" allow anyone to make defamatory
 4
     statements, which are libelous on their face without resort to additional facts on their website, which
 5
     is communicated using the power ofthe BBB brand, even without merit, giving an insurmountable
 6
 7 amount of credibility to any outrageous, false and defamatory statements made about an individual
 8 and/or business. A completely unacceptable corporate practice by a 100-year-old corporation.
 9
            363.     The BBB globally communicated False and Defariiatory Accusations and its Gist that
10
     Plaintiff "took thousands of dollars and then closed iHug's office" where it's been indisputably
11
     proven Plaintiff was forced to close do'AH iHug office.
12
13          364.     The BBB globally communicated False and Defamatory Accusations and its Gist that

14 Plaintiff "forced a consumer to sign unfair legal documents," where it's been indisputably proven
15   Plaintiff was on guard, and protecting iHug, who had the Uber driver sign a legal document that
16
     protect iHug in the event he was a mole.
17
            365.     The BBB globally communicated False and Defamatory Accusations and its Gist that
18
19   Plaintiff provided Insurance Agents medical providers details, where it's been indisputably proven

20   Plaintiff did not give the Agent permission to contact the medical providers until a TNC Master
21   insurance policy was granted.
22
            366.     The BBB globally communicated False and Defamatory Accusations and its Gist that
23
     Plaintiff shuts off software, where it's been indisputable proven. Plaintiff suspended the Uber drivers
24
25   software as a result of the unlawful conduct as described herein and through all proceeding

26   paragraphs of this Complaint.
27          367.     The BBB globally communicated False and Defamatory Accusations and its Gist that
28
     Plaintiff refused a refimd, where it's indisputably proven after Plaintiff leamed about the Complaint,
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 1   from an iHug Team Member who was colluding with Joe, he ordered an immediate refund.

 2 Unbeknown to Plaintiff, a complaint was posted on the BBB, on an unauthbrized BBB prbfile.
 3
            368.     The BBB glbbally communicated False and Defamatory Accusations and its Gist that
 4
     Plaintiff "lies," where it's been indisputably proven Plaintiff has been under corporate attack for
 5
     fulfilling his God given gift and calling for our world, while being accused of being a fraud. A tactic
 6
 7 used by Defendants to break down his mental morale, effecting Plaintiff, his Wife, and iHug.
 8          369.     The BBB globally communicated False and Defamatory Accusations and its Gist that
 9
     Plaintiffs business, iHug, "doesn't exist."
10
            370.     The BBB globally communicated False and Defamatory Accusations and its Gist that
11
     Plaintiff is a "fraud," where its proven per section, HI of this Coiriplaint, Defendants used
12
13   psychological warfare tactics on Plaintiff and his Wife pre-IPO, a mechanism was to call Plaintiff

14 and his Wife afraudto breakdown their mental morale.
15          371.     The BBB globally communicated False and Defamatory Accusations and its Gist that
16
     Plaintiff "makes individuals invest their 40 Iks and savings," where's its proven herein. Defendants
17
     sabotaged iHug, ruining investor cash, and desfroyed iHug'sfransportationoperation.
18
19          372.     The BBB globally communicated False and Defamatory Accusations and its Gist

20   Plaintiff forced investors to invest their 401k, when in fact, each investor was aware of therisksof
21   investing, standard in the investment world. Where in fact, the BBB could not, and cannot produce
22
     any evidence proving Plaintiff forced any investor to invest their 401k. Plamtiff alleges the
23
     Defendants insfructed its Drivers, Third Party Vendors and other culprits to slander Plaintiff on the
24
25   BBB website as it's allowed, in the event Plaintiff was seeking an investment for the new iHug

26   software and investors perform a due diligence, it would cause the investor to say no, suppressing
27   iHug yet again.
28
            373.     The BBB globally coinmunicated False and Defamatory Accusations and its Gist that
            Adam John Mackintosh—vs—Lyft, Uber, .Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                          - 195-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 282 of 825
 1   Plaintiff is a "snake," where in fact. Plaintiff is a good-hearted business man who's been under

 2 corporate attack for years, see section 6. Factual Allegations, and section X Plaintiff is a public figure
 3
     and role-model.
 4
             374.     The BBB globally communicated False and Defamatory Accusations and its Gist that
 5
 6 Plaintiff creates "false profiles to make it seem like he had a team of execs and a company," where in
 7 fact. Plaintiff had each and every party sign an NDA, who were listed qn iHug's website in form of a
 8 profile. These individuals were sabotaged by Defendants, tiirough slander in private. The BBB's
 9
     website allowed the Defendants to tum the incendiary damages they inflicted on Plaintiff, his Wife
10
     and iHug, to tum radioactive causing irreversible damages with permanence.
11
             375.     Even more outrageous, the CEO of the BBB Northem Califomia, Lynn Conner,
12
13   ("Lynn") failed to resolve the matter with Plaintiff, who ' ^ ^ ^ M f t M M i ' ^ and order a cover up by

14 deleting the customer review. When in fact, if the BBB stood by their website, corporate process and
15
     do not confrol the voice of the American people, it would have not deleted the customer review.
16
             376.     Lyft then nonchalantly disregarded Plaintiffs serious concems the BBB was reckless
17
     in their software architecture, and seemingly unfairly controls people's voice. It was discovered later,
18
19 BBB deleted evidence, in an attempt to cover up the wrongdoing.
20           377.     The flawed and controlled software architecture allows anyone to slander others, using
21
     the power and ironclad credibility of the BBB's name, giving the False and Defamatory Accusations
22
     and its Gist an insurmountable amount of tmstworthiness, a dangerous and wholly unfair business
23
     practice, including violations of the Federal Trade Commission regulations as it relates to consumer
24
25   protection.

26           378.     It's still unknown who gave the BBB permission to create an iHug, profile "without,"
27
     Plaintiffs "written authorization."
28
             379.     Plaintiff has demanded on multiple occasions, BBB produce a signed agreement.
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
        Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                      Rights, American Disability' Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                           - 196-      "
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 283 of 825
 1   allowing the BBB to create a protile for his Company, iHug. The document has yet to be produced as

 2   it does not exist, giving fruth and merit to Plaintiffs allegations herein. Further providing the BBB
 3
     has aflawed,confroUed and reckless system that harms small businesses on a large scale.
 4
            380.     Plaintiffs Company, iHug, is a private business, and should remain so, as per
 5
 6 Plaintiffs request, supported by Lisa Weintraub Schifferle ("Lisa"), Attorney, in the Division of
 7 Consumer and Business Education at the Federal Trade Commission:
 8   https://www.consumer.ftc.gov/blog/20l5/08/want-privacv-tell-us-about-it
 9
            381.     The BBB's willful rejection to honor Plaintiffs informal request to delete the
10
     unauthorized BBB profile for iHug while on the phone with a BBB sales executive, the BBB has
11
     "aided and abetted" individual(s), as well as allowing "anonymous entities," Defendants, to post
12
13   Unprivileged and False Accusations causing permanent reputational damages on an incurring daily

14 basis without investigation, due diligence and/or other vetting methods to confirm the merit of each
15   statement since May 5, 2017.
16
            382.     It has become evident the BBB has "willfiilly kept the unauthorized profile live" and
17
     "without writteri permission," after Plaintiffs informal requests, in order to build its business with
18
19   willful disregard of Plaintiff s request

20          383.     The actions ofthe BBB were made in an effort to "eam a profit," on the BBB profile
21   at the detriment of Plaintiffs reputation and credibility based bn "intemal sales practices," and
22
     corporate practices. Plaintiff is one victim, whereas there may be hundreds of thousands and
23
     potentially millions of business owners who were and are currently being adversely effected by this
24
25   corporate practice.

26          384.     Even more appalling, after the CEO of the BBB, Lynn, she dismissed Plaintiffs
27   concems and the damage he sustained. Plaintiff then received notification from Weintraub Tobin of
28
     Sacramento was retained by the BBB, where the primary focus was Plaintiffs "500" page complaint.
            Adam John Mackintosh-—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringement bn Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                          -197-
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 1          385.     This was appalling to the Plaintiff, as James Kachmar, ("James") of Weintraub Tobin

 2 had a duty to his client, the BBB, to resolve and mitigate any legal exposure. Whereas James ignored
 3
     Plaintiffs second deadline to settle, and multiple demands to remove the unauthorized profile.
 4
            386.     Plaintiff alleges, James of Weintraub Tobin asked about Plaintiffs "500" page
 5
 6 Complaint, as it would allow him to ask the BBB for even more cash as a retainer based on the size
 7 of the Complaint
 8          387.     Plaintiff is still appalled the firm was focused on the size of the case, and how much
 9
     cash they can make through a litigation process, paid for by the BBB. This seems confrary the
10
     American Bar Association, Model Rules of Professional Conduct, in particular:
11
            PREAMBLE: A LAWYER'S RESPONSIBILITIES, in particular:
12
13          [2] As a representative of clients, a lawyer performs various fiinctions. As advisor, a lawyer

14   provides a client with an informed understanding of the client's legal rights and obligations and
15   explains their practical implications. As advocate, a lawyer zealously asserts the client's position
16
     under the rules of the adversary system. As negotiator, a lawyer seeks a result advantageous to the
17
     client but consistent with requirements of honest dealings with others. As an evaluator, a lawyer acts
18
19   by examining a client's legal affairs and reporting about them to the client or to others.

20          388.     The critical decision James made for the BBB to proceed into a litigation process has
21   caused his client even more legal exposure that will adversely affect the BBB financially.
22
            389.     While James was miss-stepping around the Plaintiff, the BBB still continues to
23
     globally communicate False and Defamatory Accusations and its Gist to "beware of all his ways of
24
25   doing business," referring to Plaintiff. Where it's indisputably proven herein. Plaintiff was taking an

26   onslaught of corporate attacks, while trying to build iHug, in order to help those in need in healthcare.
27          390.     As one of the world's leading business advocates, the BBB knew, but ignored the
28
     importance of investigating any and all wrongdoing, and in this case, the incendiary damages caused
            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben; and Does
       Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                          - 198 -
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 1   by Defendants through False Accusations against Plaintiff prior and after the BBB's willful

 2   publication of such False and damaging Gist.
 3
            391.     The BBB negligently allowed False and Defamatory Accusations and its Gist by
 4
     failing to conduct a reasonable investigation prior to publication, and willfully made the publications.
 5
            392.     The BBB negligently allowed a publication of False and Defamatory Accusations and
 6
 7 Gist by Defendants, which are libelous on their face without resort to additional facts. Furthermore,
 8 the Defendants submitted the review putting Plaintiffs name in-lieu of their own, to post False and
 9   Defamatory Accusations and its Gist, further proving the BBB website and platform isflawed,and
10
     the BBB is acting recklessly by allowing such unlawful conduct to take place.
11
            393.     Plaintiff is appalled that a 100-year-old corporation, the BBB, is acting in this manner,
12
13   as they are, and should be held to the highest level of business conduct and ethics, including

14   consequences for their willful actions.
15          394.     The BBB negligently created a system that publishes False and Defamatory
16
     Accusations and its Gist in derogation of accepted principles of a consumer and business advocate,
17
     including by failing to have a vetting mechanism that provides appropriate investigative process
18
19   before allowing the publication of False and Defamatoiy Accusations for the world to see.

20          395.     As the natural and foreseeable consequence ofthe BBB's actions, the BBB
21   knew and intended for any statement, including any False and Defamatory Accusations and its Gist
22
     without a vetting process, would be individually republished by lO's of thousands of search engines
23
     across the globe subjecting Plaintiff and his Company, iHug, to public hafred, contempt, scom,
24
25   obloquy, and shame mining his business reputation and fiiture.

26          396.     Case-and-Point, the Yellowpages.com is a United States-based web site operated by
27   YP Holdings that provides listings for local businesses, which are used by nearly 60 million
28
     consumers each month iri the U.S. As a result of BBB's willfijl action and/or inaction, the
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       Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence, Bill ofRights, and Civil
                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                          . 199.     ::
          Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 286 of 825
 1    False and Defamatory Accusations and its Gist False was linked to YP.com. Exposing Plaintiff, and

2     iHug to even more public hatred, contempt, scom, obloquy, and shame mining his business
 3
      reputation and future operations.
4
      yellowpages.com/rockHn--c:3/rTiip/ihug--5370549-n?lid=:5370549Vi
 5
 6     BUSINESS DETAILS                   GALLERY              REVIEWS

 7                     ipdf; abc,"ppi, xis, txt;~
                       ^ > Visit Website ?
 8
9
                           BBB Rating and
10    The Officls Accreditation information
11    General Info         may be deiayed up to a                    I Rideshare for Healthcare. We offer on-demand care rides.
                           week.                                     }88) 736-9788;to book.
1.2
13     BBB Rating
14
       Hours                                 Regular Hours
15
                                             Mon - Fri: 9:00 am - 5:00 pm
16
      Servi(%s/Products                      • Long Distance Transportation
17
                                             • Wheelbhair Accessible Van
18                                             transportation
19                                           f All-Age-Care Rides®

20                                           • Non-EnriergencY Medical Transport
                                             • Transportation
21
22
       Payment method                        Mastercard, Amex, Visa, Discover
23
24    Other Link                             https://jdimhug;Corn

25    Categories                             Transportation Providers, Airport.Transportation, Assisted Living & Elder Care
26                                           Services, biialysis Services. Disaibillty Services, Medical Ceriteirs^ Public
                                             Transportation, Special Nieeds Transportation, taxis, Transportation
27
                                             Consultants, transpprtatipn Sen/ices. Wheelchairs
28

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                                                                         -200-
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 1          397.     On March 16, 2019 the same day, the False and Defamatory Accusations and its Gist

 2   was published, the BBB sent iHug an email to an inactive inbox, requesting verification of the post,
 3
     before the publication was made live.
 4
            398.     The inactive email is used to collect all communication from business accounts. An
 5
     account Joe, Louis, and Does are fiilly aware exists.
 6
 7
 8
 9
10
11
                                               What Happens Next?
12
13
             Once you've verifiedyour review, we will send it to this business and they will have an option to
14
             respond. Your review, along with a potential business response will be post«i within 3 to 10
15           business days.
16
17           Thank you again for sharing your expei'jence with BBB.
18
            399.     On March 19, 2019,3 days later, the BBB sent iHug an email confirming the post
19
20   won't be published unless verification is made to the inactive email, unbeknownst to Plaintiff.

21          400.     The BBB then publishes the False and Defamatory Accusations and its Gist for the
22
     world to see, tuming the incendiary damages caused by Defendants to tum radioactive. This willfiil
23
     act caused even more irreversible damages to Plaintiff, his Wife, and iHug who were under corporate
24
25   attack by Defendants, who are attempting to wrongfiilly imprison Plaintiff so they can mn with

26   Plaintiffs $1,200,000,000,000 trillion-dollar healthcare opportunity.

27          401.     Plaintiff alleges the BBB's website allows such behavior, or the BBB conspired
28
     with the Defendants, who allowed such unlawful act.
            Adam John Mackintosh—vs—Lyft,.yber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                          -201 -
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 288 of 825
 1          402.     Plaintiff has been denied on multiple occasions by the BBB, to provide him with the

2    IP address(es) of the person(s) and/or entities that created such false accusations.
 3
            403.     Pictured below and on the proceeding pages, emails confirming the False and
4
     Defamatory Accusations and its Gist won't be published, if it' s not verified. Where Plaintiff never
 5
     received notification of such unlawful activity to his active corporate email.
6
 7          404.     The link was never clicked by anyone, yet the False and Defamatory Accusations and

 8   Gist was willfully and freely published by the BBB for the world to see.
9
10                 BBB - Required verification reminder                                                                               # (2
11                 for your customer review
12
13                 Better Busmess Bureau <inf.                  Tue, Mar 19,1:03 AM                            ^                      4s
14                 to me ^

15                                      V'"-'                                        f-g-ii,-^'.r ;|}S# . - V r - ' f * » ; 1 i ' -


16
17                                  Serving Northeast California
18
19                   REMINDER: You are required to verify your customer review to
20                   complete the process. If you do not verify your review, we will not
                     post It or notify the business.
21
22
23
24
25
26
27
28

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                      Rights, Arnerican Disability .Act, Trade Secret Misappropriation, Unjust Enrichment.
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 1                   For security and validation purposes, please verify your submission
                     by clicking on the link below.
2
 3                   https;//www.bbb.org/sacramento/consumer/verlfy/
                     2357556/3548a435b3/
4
 5                   After verification, if your review meets BBB guidelines, we will
                     contact the business to notify them of the review. Whether or not
 6
                     the business responds we will post the review within 10 days or
 7                   less.

 8
                     If you have filed a complaint against the business using BBB
9                    complaint services, or if you are not a customer of the business,
                     please understand that your review will not be posted.
10
11                   Thank you.

12
            405.     On March 16, 2019, the publication was already made 2 day after Defendants received
13
     Plaintiffs settlement demand. Further proving the BBB website is flawed, controlled and causes
14
15   incendiary damages to small businesses across America as it fails to investigate reviews.

16
                      Customer Reviews
17                    1 Customer Reviews
18
19                    What doyou think? SharisyoMr review.
                      How BBB Processes Complaints and                                 Leave a Review
20                    Reviews ^
21
22                    Most Recent Customer Review
23

                      0
                                  Adam
24                                                                                           03/16/2019
25                                Fraud! Fraud! Fraud! Making individuals Invest their 401ks and
                                  savings and disappearing on them. CEO-Adam G***** goes by
26
                                  many aliases, beware of all his ways of doing business. He is a
27                                snake. A liar who uses false profiles to make it seem iike he had
                                  a team of execs and a company. The company doesn't exist. It's
28                                all a lie.

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       Complaint for Itifringemeht on Our God Giveri Right to Life, Declaration oflndependence, Bill ofRights, and Civil
                      Rights, American Disability .\ct, trade Secret Misappropriation, Unjust Enrichment.
                                               ••• •• •    - 203 ^
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 290 of 825
 1        GIB. The BBB Infringes on Our First Amendment (Amendment I) to the United States

 2               Constitution by Controlling and Suppressing People's Voices and Opinions
 3
             406.     After an email exchange between Plaintiff and the BBB's Attomey, Mr. Kachmar,
 4
      Plaintiff attempted to post his genuine and authentic opiriion of the law firm Weintraub Tobin of
 5
      Sacramento. Plaintiff was blocked for mentioning the BBB.
 6
 7           407.     Whereas, direct electronic and circumstantial evidence establishes, BBB allows

 8 anyone to post slanderous gist, causing small business owners and their business reputation to be
 9    harmed with permanence, quite the contrary.
10
             408.     This is completely unacceptable, and even hypocritical.
11
             409.     If the BBB wants to lead by example, the BBB should have their own BBB profile
12
13    page where small businesses can post their reviews of the BBB.

14           410.     A BBB profile does not exist, proving the BBB fails to lead by example. Pictured on
15                    the next page. Plaintiff attempted to post his genuine and authentic opinion of
16
                      Weintraub Tobin of Sacramento, who was blocked by the BBB.
17
             411.     The error stated, "Your review contains what appears to be confidential information."
18
19           412.     Plaintiff alleges the BBB has already updated their website to cover up, or they filter

20    the use of the BBB name, violating Our First Amendment (Amendment I) to the United States
21    Constitution.
22
             413.     Secondly, the False and Defamatory Accusations and Gist the Defendants posted on
23
      the BBB website, was intemally approved. As the very mention of 401k is considered confidential
24
      information. Plaintiff asserts something is very wrong here, and a a result of all Defendants actions
2.5
26    described herein, each Defendants must be punished to the fiillest extent allowable by Law, including

27    monetary sanctions, in order to punish, deter, and teach Defendants a lesson they will never forget for
28
      such unlawful and willful acts.
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 1
                          Better Busihess Bureau®                                          Jblri/Apply I Consumer Login
2
3      BBB.                                                                              Near      Sacramehto, CA
4
     ^ome V California > Sacramento > Lawyers > Weintraub Tobin > Customer Reviews
 5
     ^Ustbrher Revli^ws
6
 7
              f i Weintraub Tobin:
 8
9
10   D Customer Reviews                                                                  Sort By    Date

11
12    What do you think? Add your review.
      10 wbi-d riiirilmUrii.
13
        Janries Kachmar of Weintraub Tobiri, who's representing the BBB. willfUlly chose the.litigation
14      process, instead of resolvlrig the matter thrpugh a settlement process.

15      Mr. Kachmar chose the litigation-route as he's awiare the BBB Is valued at over 208 biliibn dollars,
        and it's more lucrative to his firm.
16
        Do not hire thjs firm, they only focus on the Size of your case, and frow rnuch cash they can get, and
17
        notbn the merit of yblJi^ Complaint.
18
19
20
       B    I agree to the Customer Review Terms and Conditions
21
      ! Your revievic. contains whatiappears to be confidential infprnriatipn
22
23
24
25
26
27
28

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 1                      G I C . Plaintiff Proves The BBB Controls Their Website With Prejudice

 2           414.           Pictured below, Lyft's at 1 star, where the rating is A+.
.3
                                  Better Business Bureau®                                                     Joln/Applyl

 4
                                   Rnd       ^ a t are ybu looking for?                                     Near,         Sacramento; CA                                  USA         X
 5
      l m e > Cflllfomla * San Francisco > Cfir5£K!£S > Lyft. Inc.
 6
                                                                                                                     :,HE!^DipU/5,!?JEKS LOCATION i

 7                                      Lyft, Inc.                                                                                                             i       P 185 Berry St
                                     Car Service                                                                                                               {             SaniFrandsco, CA 94107

 8                                    Lyft is a transportation networking company that provides a mobile application as                                    ;j         0      httpV/www.lyftcom

                                     an online enabled platform connecting passengers with driv... Read More                                                   j      a     Email this Business
 9                                                                                                                                                         i          ^ (855)865-9553
              < s                    This Is a multt-locatlon business.. £

10
11                  Accreditation:                                            BBB Rating                                           Customer.Revlews

12
                                                                                                                                                                                                      Want a q
                                                                                                                                                                                                            bu
13                                                                Custorner Reviews are not used In                           frverao'e of 283 Customer

14
             415.           Pictured below, Uber's at 1 star, where the rating is F.
15
16                           Better Business Bureau®                                              Join/Apply I C                   I Business Login



17                                Rnd     ^'hst are you looking far?                             Near   Sacramento, CA                       USA X


18     Home > CaliforniQ > Sffi

              •:60VERNMENT<.CT0r4 FTC PrRVA^^NT IN.UN<TIOS'. 4 l S ; b < | > ^ 2 3 W I                             ftyt
19
20      V <^I|COV^N|W NT A C r C N I r u C O N FNT AGRbtlrbN-T >«il<ACV,UAT6YMM| ,.1                                      iV^'nT    i         % ...

21
22
                                   Uber Technologies
23                                 Transportation
                                                                                                                                         9    1455 Market St 4th H
                                                                                                                                              San Francisco, CA 94103

24
                                                                                                                                         B Email this Business

25                                 Tills Is a multi-location business.



26                                                                                                                                                 r- -1
                   Accreditation                                    BBB Rating                                     CuBtomor Reviews '              i "                    Customer Complaints

27                                                                                                                                                                   4,303 complaints closed in
                                                                                                                                                                            last 3 years
             THIS BUSINESS IS                                                                                                                                      1,874 complaints closed In last
28                  NOT BBB
                                                          : Customer Revtewj ere not us'dcf In               Average of 644 Customer
                                                                                                                                                                             12 months
                 ACCREDITED                                - UK? cotculadon of.BBB Retlpg'                          • ftpulffws                                    ' A/raw, r r i m w l a l n t c - C m m n r u




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     Complaint for Infi'ingement on Our God Given Right,to Life, Declaration oflndependence. Bill of Rights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment
                                                                                   „,'-.• ^ - 2 0 6 - •
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 293 of 825
                                     GID. An Investigation Reveals The Truth

 2          416.     The BBB did not conduct a proper investigation before publishing the False and
 3
     Defamatory Accusations and its Gist for the world to see, turning the incendiary damages caused by
 4
     Defendants to tum radioactive, causing irreversible damages to Plaintiff, his Wife, and iHug.
 5
            417.     A false and defamatory statement of and conceming Plaintiff was also published by
 6
 7   Defendants on March 16, 2019 before a proper investigation had been conducted by the BBB.

 8          418.     Plaintiffs Company, iHug, has testimonials from Seniors and healthcare patients
 9
     which accurately reflected iHug's ser\'ices. These testimonials indisputable prove iHug was in
10
     operation, and a legitimate transportation operation, contrary to BBB affirming Plaintiffs "Company
11
     does not exist."
12
13          419.     If the BBB would have conducted a thorough investigation, the BBB would have

14   concluded that Plaintiffs Company, iHug's website contained a Board of Advisors, Investors and
15   Team Members, who were genuinely involved, who signed NDA's and other legal documents
16
     proving there was a real team and board of advisors. Quite the contrary to the False and Defamatory
17
     Accusations and hs Gist posted by the BBB affirming Plaintiff "created fake profiles."
18
19          420.     If the BBB would have conducted a thorough investigation, the BBB would have

20   concluded that Plaintiffs Company signed a contract with a new healthcare partner which allowed
21   transportation for healthcare patients and seniors. Indisputably proving iHug was a real transportation
22
     operation, quite the contrary to the False and Defamatory Accusations and its Gist posted by the BBB
23
     affirming Plaintiff "Company doesn't exist."
24
25          421.     Plaintiff reasserts and incorporates each and every allegation herein as if fully restated

26   herein, that the BBB allowing, and encourages reckless and intentional Defamation and Slanderous
27   conduct without proper tertiary layers, and investigations before allowing the publication of false and
28
     defamatory statements of and conceming. Plaintiff, and possibly other small businesses, which would
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                                 '   ,       ^            -207-
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 1   constitute a "class-action lawsuit," where damages would astronomically multiply.

2           422.    Upon any investigation and the responsibility of the BBB, it would have found the
3
     review and other statements are without merit, in particular, Plaintiff "created false profiles of execs."
4
            423.     Hap Klopp offered mentorship to Plaintiff who had a profile on iHug's website. Hap
.5
     wanted to help condition Plaintiff to become a great visionary, using the gift God bestowed upon him
6
 7 to use for the people.
 8          424.     For 25 years, Kenneth (Hap) Klopp, who holds an MBA from Stanford University,
9    was the President ofthe North Face, a firm that created the standard for innovation and quality in the
10
     outdoors, mountaineering, backpacking and skiing industries.
11
            425.     Plaintiff met with Hap Klopp on multiple occasions for investment and mentorship,
12
13   proving profiles on iHug's website are genuine and authentic, quite the contrary to the False and

14 Defamatory Accusations and its Gist posted by the BBB affirmmg Plaintiff "creates false profiles."
15
                                 Found in Adam's iHug Corporate Email Inbox               B
16
17                               Hap Klopp                                   9/14/17
                                 To: Adam John                               Details
18
19                               Bill! Gates was once asked what his role
20                               was at Microsoft. His response was
                                 interesting. He said, "My role is to have
21
                                 the vision and constantly articulate it."
22                               Sounds like what should be at the heart
23                               of every CEO's job description.
24
25
                                        Keep up the good work, Hap
26
27
28

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 1        426.     Pictured below, Hap and the Plaintiff before Defendants slandered Plaintiff.
2
 3
4
 5
6
 7
 8
9
10
11
12
                              Adam                                                        Hap
13
                 Founder, Chief Executive Officer                           Former Board Member, Mentor
14                 and Chairman of the Board                                and Founder of The North Face

15
16        427.     Pictured below. Hap endorsed Plaintiff the Linkedln,

17
                       I' Adam is one of the most diligent businessmen
18                        that I have had the pleasure to deal with. His
19                        follow thrpugh is second, to none and his
                          ability to listen and incorporate ideas fronri
20
                          Others really sets him apart from Other
21                        businessmen.
22
23                                    Hap Klopp
24                                    Advisor at GoFind.ai
                                      Nov 3, 2017, Hap was senior to Adam but didn't
25                                    manage directly

26
27
28

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 1           428.     Furthermore, based on the sheer size of the "global influence," of the BBB, amassing

2    hundreds of millions of people to use the bbb.org site every day, caused Plaintiff and iHug, direct,
3 assumed and irreparable damages on a daily basis since 2017 to present. The very fact that the BBB
4
     allowed Defendants to spread False and Defamatory Accusations and its Gist to hundreds of millions
 5
     of people is reckless and unacceptable.
 6
 7           429.     The BBB, is an organization the world holds to the highest level of

 8 standards, including the highest level of accountability, as the BBB willfiilly put itself in a position to
 9 lead by example and to always do the right thing, influencing hundreds of millions of people and
10
     small businesses every day.
11
             430.     The BBB continues to refuse the removal of the un-authorized BBB profile
12
13   for Plaintiffs Company, iHug.

14           431.     Plaintiff demanded the removal on multiple occasions dating back to 2017 when
15   Defendants started fabricating situations that would strike up complaints against Plaintiffs Company,
16
     iHug, causing litigation procedures and attempt to wrongfully imprison Plaintiff for investor fraud.
17
             432.     These False and Defamatory Accusations and its Gist against Plaintiffs Company,
18
19   iHug, and the Plaintiff are defamatory per se, as they are libelous on their face without resort to

20   additional facts, and as clearly demonstrated herein, Plaintiff was subjected to public hatred,
21   contempt, scom, obloquy, and shame. Including Plaintiff losing his local and global mentors to help
22
     him grow as a businessman, so iHug has a great leader that will enrich everyone's life in healthcare.
23
             433.     Pictured on the next page, after the Defendants slandered Plaintiff to his investors,
24
25   claiming Plaintiff stole millions, Plaintiff lost his mentor, Hap and many others. Even more

26   scandalous. Defendants wanted to ensure Plaintiffs reputation would remain damaged. Defendants
27   used the BBB's site, in particular the customer review system, as a podium, to freely post False and
28
     Defamatory Accusations and its Gist against Plaintiff and iHug with knowledge of its falsity, so
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 1   that any investor can verify the false accusations, causing even more incendiary damages.
2           Before the slander and defamation of character:
3
           Subject: I         Re: IHug Update
4                                                                                  (Add as Preferred Sender)
                 From:   Hap K l o p p ^ ^ ^ ^ ^ H a t t g l £ L b s L i l S i >                               #
5                Date: Sat, S e p 0 g ^ i n ^ ! 5 4 a m
                  To: Adam John <adam@ihuc
6
 7     Thanks for the update. Sounds like wonderful, positive progress. I look fonA/ard to seeing
       the numbers and seeing who will be the right lnvestor(s) for you.
 8      Best Regards, Hap
 9               On Sep 8,2017. at 9:37 PM, Adam John <adsm@il3Mg|                                             I wrote:
10
                 Hap-
11
12               We are almost done with our pro-forma. I will have the new deck
                 with live numberis ready for you to review by Tuesday. I'll also
13               send you what we need to get started as far as resources go.
14               Hopefully a VC is willing to invest their own money who sees the
                 vision and understands the numbers.
15
16          After the slander and defamation of character:

17
18      R8|)ly     Repl^toRfl Forurard                Delete             Put^         Horko;     Move to Folder Q
19                                                                                               More Actions Q
20       3 S^^r<;h R^^Mlts > Message Detail                                •
21         Entire thread
          Subject:       Request
22
            From: Hap Klopp
23           Date: Tue. Apr 17,2018 9:16 am
                To: Adam <adam@ihug^
24
25   Adam—
     It was called to my attention that you still have my name oh your website and materials as
26
     an advisor, Sihc^ I am no longer filling that role I would; respectfully request that you
27   remove any reference to me. Gan you please do so and confirm to me. I hope that your
     enterprise continues to grow and positively evolve.
28   Best Regards. Hap Klopp

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 1          434.     Furthermore, the sheer size and global influence ofthe BBB, has given an

2    insurmountable amount of credibility to the False and Defamatory Accusations and its Gist
 3   for the world to see, tuming the incendiary damages caused by Defendants to tum radioactive,
4
     causing irreversible damages to Plaintiff, his Wife, and iHug
 5
            435.     As a direct and proximate result of the False and Defamatory Accusations and its Gist
 6
 7 Plaintiff, his Wife, iHug suffers severe damages.
 8          436.     The publication of the False and Defamatory Accusations directly and proximately
 9 caused substantial and permanent damage to Plaintiff, his Wife, and iHug.
10
            437.     The False and Defamatory Accusations were republished by third-parties and
11
     members of the mainstream and social media mob of other bullies, which was reasonably
12
13   foreseeable.

14          438.     The False and Defamatory Accusations against Plaintiff, his Wife, and iHug are
15   defamatory per se, as they are libelous on their face without resort to additional facts, and as clearly
16
     demonstrated here. Plaintiff was subjected to public hatred, contempt, scom, obloquy, and shame.
17
            439.     As a direct and proximate result of the False and Defamatory Accusations Plaintiff is
18
19   forced to live his life in a constant state of concem over his safety and the safety of his Wife.

20          440.     The BBB should be held equally accountable as Lyft, Uber, Andreessen, Defendants
21   and Does, especially a corporation that's been established for well over 100 years.
22
            441.     Plaintiff further argues. The BBB should be dealt with and held fiilly accountable for
23
     its wrongdoing in a manner which effectively deters the BBB from again causing incendiary damages
24
25   to anyone ever again. In a civil lawsuit, punishment and deterrence is found in awarding money

26   damages to the victim and target of the False and Defamatory Accusations and its Gist.

27          442.     Plaintiff is entitled to an award of punitive damages to punish the BBB and to deter it
28
     from repeating such egregiously unlawful misconduct in the fiiture.
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 1          443.     Pictured below. Defendants continue their unlawful rounds of posting yet more false

 2   and defamatory accusation, posting it to Plaintiffs Driver App in the Apple App Store.
 3
            444.     Plaintiffs new Driver App, ranks #1, above Uber, Lyft and all other nationwide
4
     competitors.
 5
 6          445.     Defendants falsely claimed iHug "is fake and they charge money."

 7          446.     This was a willfiil and malicious attempt to de-rank iHug so Uber and Lyft can rank

 8 higher, suppressing iHug yet again.
 9
10                           Ratings & Reviews                                         See All
11                                                   it i t a i f


12
13
                             4.4out of 5                                              7 Ratings
14
15                           Tap to Rate:
16
                                 Fake app                                           Apr 4
17
                                 ^st^i^i^p •                                      Ashrabi
18
                                 It's fake and they charge money
19
20
21
22
23
24
                             jyj Write a Reyi^yyi                          ® App Support
25
26
27                           Today          Games;                  Apps    Updates      Search


28

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 1                 G2. Second Attempt to Wrongfully Imprison Plaintiff - Investor Fraud

 2          447.      Shortly after Joe, Louis and Does resigned from iHug, its alleged they publically met
 3
     with Lyft Co-Founder, John to receive fiirther instmctions.
4
                                 Tweet
 5
 6            This,Twe6t is unavailable


 7
              This.Tweet Is unavailable
 8
 9                  John Zimmer
                    @johnzlmmer
10          Replying to @divlnitymatovu

11          SO happy I got to see you and Louis
            today!!! Thanks @divinitymatovu
12
            10:45 PM • 5/21/18 • Twitter Web Client
13
14          448.      Joe, Louis and Does were instructed to call iHug's investors, partners, team

15   members, drivers, customers and other affiliates, where they stated. Plaintiff, "stole Joe's vehicle"
16
     and stole "millions of dollars from investors." This started to disintegrate Plaintiff and iHug's
17
     reputation.
18
            449.      Pictured below, 1 month later, everyone asks to be disassociated, including drivers.
19
20              Sci^n Shot 2018-G6r21 at:1.40.pl pM,p^
21
22
23
24                                                    Hi Marilyh, vv'e have a round trip,;
25                                                    right now ih Sacramento. Are yotiiri:
                                                      the area? Please go online to
26                                                    accept, , .
                                                                                      Delivered
27
                                      ':]hl(^l^t||irik|!ntf;pdin^
28                                    ''rnys'^lkwfth^^^

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 1          450.     Pictured below, Joshua Moore, ("Josh") who's friends with Joe, Louis and

2    Does, who's associated with an AMR/Lyft/Sutter Health partnership, began slandering Plaintiff
 3
     throughout the healthcare transportation industry, causing severe reputational damages after Plaintiff
4
     sent him a text hoping he was onto bigger things in business.
 5
 6
                                                 Hope you're into bigger-things!.
 7                                                                                     Delivered
 8                                                  Men, Oct 22, 5:07 PM

 9                                                               USEfSSaE'i'iftii..-

10
11
12
13
14
15
16
                               ;,:!ibusiiTC^;Mi M<^eoii)tactim
17                             • 'everyoneNL'knowtwithin thei,'..*
18                             .:ipdust/}yrto*giv.g:thenia^^^^                     .

19
20
21
22
23                                                     lessage; •.

24
25
26
27
28

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 1          451.     Pictured below on the left, an iHug investor, Shahla, agrees, Jerry misappropriated her

 2   investment of $75,000. Pictured below on the right, after Joe, Louis and Does contacted and
 3
     manipulated Shahla, she suddenly threatens Plaintiff and his Wife, using "FBI" and "Immigration
4
     Customs Enforcement," to wrongfully arrest Plaintiff and deport his Wife back to Australia.
 5
6
 7
 8                                                                         The feds wIN be Involved. I have '
                                                                           the FBI and'Trnrhigration
 9                        Shahla
                                                                           Customs Enforcement
10              ':AISO vvant to find out'if Wen Lui                        Involved-you got married to        I
                . the lady we've been paying on                           , Alanna to keep her here for the I
11              - that Bank of Anierica account.                           business. These things catch - i
                                                                           up to ppl like yourAdam. Im not I
12               •want to sue her as we''                                  dumb. You are stealing from
                                                                         - the wrong person. I gave you
13     Omgl What a jerk! He was def
                                                                           the opportunity to pay me back.,,
       arrogant AF! 1 always saw that
       and I didnt say anything. He ,                                      and your not -         '         ,
14
       thought he was better than
15     everyone. I'm in daily contact '.                                           Shahj'a you .heed to be very
       with my guy. I'm waiting to hear                                            carefuL3''*'is seems like a threat-
16     back from him. I want to make                                               involving government
       sure we get as much info as                                                 resources,that,you have access*
17     possible. I personally want to                                            .,to-fbr.,p.ei',sph:Use. That's illegal/ :
       know what this guy is ail about.
18     He screwed with my
       investment and my time.                                               @|)     (iMessage
19
20          452.     Plaintiff and his Wife never disclosed to Shahla they married, substantiating Shahla is

21   colluding with Joe, Louis and Does, as Joe was Plaintiffs "best man" at the wedding, who's also
22
     familiar with the immigration process.
23
            453.     Shahla then went on to alert the authorities, based on the false information provided by
24
     Defendants, in an attempt to harm Plaintiff and deport his Wife from The United States of America.
25
26          454.     On June 11, 2019 at 8:30AM, two Immigration Agents (Officer Henderson) in the

27   fraud department, unexpectedly visited Plaintiffs residence. Plaintiff and his Wife's immigration
28
     attorney was not present but stated later that it is "highly unusual and rare."

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 1           455.    Nearly 80% of the interview from Immigration Agents was related to iHug,

 2   investorfraud,profitability, patents, launch dates and other specifics, unrelated to the immigration
 3
     process.
4
             456.    Plaintiff continued executing on his $ 1,200,000,000,000 trillion-dollar healthcare
 5
 6 opportunity as he had a duty to investors. Rides increased month over month, including long distant
 7 rides.
 8           457.    iHug's new partner had 35 years of experience in healthcare began to connect
 9
     iHug with Brookdale, Eskaton, Dignity Health, Sutter Outpatient Facilities, Atria Senior Living,
10
     Golden Pond, Kaiser Permanente, Water Leaf, Greenhaven estates and other skilled nursing facilities
11
     and assisted living facilities that use Lyft, Uber and AMR, who preferred iHug's premium rideshare
12
13   for healthcare service over Defendants taxi service.

14           458.    This gave Defendants an extreme amount of motive to unlawfully stop iHug, and
15   Plaintiff, establishing all allegations stated herein, was orchestrated by Defendants.
16
             459.    Pictured on the next page atop, a snippet of the inflow of transactions and ride
17
     requests from the partnership.
18
19   ///

20   ///

21   ///
22
     ///
23
     ///
24
25   ///

26   ///
27   ///
28
     ///

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 1   $52.00   USD                               60GXCIR0ubFh9icbK                            n       2018/02/28 22:39:04

     $82.00   USD                               EOGXCIRQuLBEPCPeS                        Icom        2018/02/2819:05:42
2
     $65.00   USD                               k50GXCIR0uWNtO2EOT                       lahoo.com   2018/02/2818:10:23
3    $40.00   USO                               pGXCIR0uoGiXGD4A                         liail.com   2018/02/2817:29:02

4    $40.00 USD                                 pCXCIROuKUCuBdrm                         lail.conn   2018/02/2817:28:05

     $40.00 USD                                 iDGXCIR0uHreZU086                        laiLcom     2018/02/2817:19:50
5
     $52.00 USD                                 lOGXCIROusUbjXISz                        Icom        2018/02/2813:41:09

6    $65.00 USD                                 lK50GXCIR0urHkPFnq2                      |t.net      2018/02/2712:01:56


 7    $B.OO USD                                 iGXCIROuylePLFdl                         |lth.com    2018/02/26 23:22:37

     $107.00 USD                               KOGXCIROuyKTpQKZR                         icom        2018/02/26 22:01:32
 8
     $50.00 USD                                 BOGXCIROuiwasLZWE                        Icom        2018/02/26 21:41:31

9    $26.00 USD                                 BOGXCIROuMnbNWqzB                        loom        2018/02/26 21:18:35

     $25.00 USD                                 bcXClROuEUtjeSDv
10                                                                                       icom        2018/02/25 23:51:37

     $40.00 USD                                 QGXCIR0uaBAO5Zbl                         lail.com    2018/02/2518:20:30
11
     $40,00 USD                                 6yO5FK50GXCIR0u195jQ9U4                 |lth.com     2018/02/22 09:42:17

12   $65.00 USD                                 pGXCIROuywbZkGyS                          Lnet       2018/02/2013:09:36

     $82.00 USD                                |0GXCIR0u7mvK1IQC                                     2018/02/18 18:22:13
13
     $41.00 USD                                 bGXCIR0u3qt3PTk6                                     2018/02/15 16:44:13
14   $40.00 USD                                 B0GXCIR0ukp0B2mDi                        [com        2018/02/1514:03:38

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 1          460.     Pictured below, a long-distance ride receipt, where the patient received an extra level

2 of service, with a driver who's CPR certified. A premium rideshare service healthcare executives
3
     preferred over Defendant's taxi service that could save a life if needed.
4
5
6
 7
                                                Receipt from IHug
 8                                                  Receipt i
9                   AMOUNT PAID                DATE PAID                  PAYMENT METHOD

10                  $473.12                    May 1,2018                 visA^mm
11                  SUMMARY

12
                                                                                               $473.12
13
                    Amourtt paid                                                               $473.12
14
15          461.     Pictured below, a medium-distance ride receipt where the patient received an extra
16
     level of service, with a driver who's CPR certified. A premium rideshare service healthcare
17
     executives preferred over Defendant's taxi service that could save a life if needed.
18
19
                                                           IMiLliflllll
20
21
22                                               Receipt fromlHug
                                                    Receipt I
23
                    AMOUNT PAID                DATE PAID                   PAYMENT METHOD
24                   $152                      April 4, 2018               VISA
25
                     SUMMARY
26
27                                                                                               $152.00


28                   Amount paid                                                                $152.00


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 1              462.     Pictured below, one of many payments from assisted living facilities who didn't have

 2   a suitable transportation option prior to iHug. Facilities preferred iHug's service over Defendants taxi
 3
     service, as iHug had CPR and Basic Life Support Certified Drivers and healthcare professionals, who
 4
     transported Dialysis, Cancer, Alzheimer patients and other healthcare patients alike.
 5
 6              463.     Drivers also preferred iHug service over Defendants Taxi service, as iHug paid its

 7   Drivers over 100 times more than Defendants.
 8
 9
10
11
12
13
14
15
16
17
18
19
                464.     iHug started to take market share from Defendants, as Facilities preferred iHug's
20
     service over Defendants' taxi service.
21
22              465.     Brookdale Senior Living, a well-renown senior living community with over 1,000

23   retirement communities in the United States, signed up to use iHug's services.
24              466.     Pictured on the next page atop, are a few of many Facilities signing up to use iHug's
25
     services over Defendants taxi service.
26
     ///
27
28   ///


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 1                                               Jim Yeoman             )lhughealth.com>
 2                                               to me
 3
4                                                     ann@parlton^niorliving.pom
 5
                                                     arine@crmscommunrties.com
 6
 7                                                    Brown2@brookdale.com
 8
                                                          irector@almondheights.com
 9
10
              467.     Even more groundbreaking, iHug's partner also received an email from nationwide
11
12     health facilities, including but not limited to. Kaiser Permanente and Eskaton's COO to setup iHug's

13     portal to use their services over Defendants taxi service. Eskaton exists solely to fiilfill its mission of
14     enhancing the quality of life of seniors. iHug's service embodies the vision of Eskaton, and more
15
       importantly, all other healthcare organizations as iHug's Drivers could save a life if needed, that
16
       required each Driver to be CPR certified, clean background, and hold a first aid kit in their vehicle.
17
18                              ^     Tor                           Lcom>        Tue, Apr 10,2018,8:25 AM
                                to me ^
19
                                HI Adam,
20
                                I just got word that the Kaiser meeting is moVed to 930 today.
21
22                                                                   From:
                      tome                                           <BBBB||BM(°^6skaton.drQ^
23 .                  Apr 11,2018 View details                       Sent: Wednesday, April 11, 2018 10:53 AM
24                                                                   To: lVHMi^HHHIii^^Hil^^£S£D>
               Hi Adam,                                              Subject: Transport
25             Good news. I received this email today from          Hi Tom- do you have any availability next
               Eskaton's corporate COO. 1 may be in jury            week or so to meet and discuss your new
26             duty next week which 1 advised Betsy of so           transportation services? I think Eskaton
               perhaps the following week we will make it           could really benefit from this service. I'd like
27             happen.                                              to learn more. Please give me some times
                                                                    and dates you are available in the next
28             Take care,                                           couple weeks Thanks, Betsy

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 1             468.         As the natural and foreseeable consequences of Defendants actions, Defendants knew

 2 their unlawful actions would cause irreparable damages to iHug, Plaintiff, his Wife, and Plaintiffs
 3
     $1,200,000,000,000 trillion-dollar healthcare opportunity, as well as his $25,800,000,000,000 trillion-
4
     dollar new digital Ai healthcare system, which could have had a positive impact on the world.
 5
6              469.         Defendants relentlessly continued attacking Plaintiffs partnership, using oufrageous

 7 anticompetitive taxi-industry tactics, including using burner phones and interfering with ride
8 requests and server stability, while using fake credit cards to create fake ride requests.
9
               470.         Pictured below on the left, Lyft claims Uber used burner phones and fake credit cards
10
     to unfairly compete.
11
               471.         Pictured below on the right, a source claims Lyft Headquarters booked rides from fake
12
13   rider accounts, where the corporate card zip codes led back to Lyft Headquarters.

14                                                                       accounts. Of the cancellations, many were made before Uber's
       Uber Gave Contractors ^                                           canceliadon fee klcked-in.
15     Bumer Phones And Credit
16     Cards To Create Fake Lyft                                         A source claims that these rides were all paid for by two corpof.<tc

17     Accounts And Recruit                                              ^ l l t cards with, the same'Z^igcode in San rrancisco b Mission
                                                                         Strict, where Lsift's headgiiarters are located.'of those trips, at least
       Drivers                                                           300 were requests for Uber's high-end Select cars, with the aim of
18     Earlier this month, Lyft and Uber got Into a war of words over
                                                                         recruiting for Lyft Premier.
       shady recruitment processes and anticompetitive tactics
19     used in the literal "street fight" over drivers in markets that

20
               472.         Whereas in this Complaint, before, during and after iHug's launch week. Defendants
21
     instmcted Joe to book fake ride requests, using fake credit cards, as pictured below.
22
23                                                                          i
24                                                                              65

25
                                   Type                                         Bank account
26
                                   Created                                      2018/01/09 15:58
27                                 Origin                                       S United States
28                                 Fingerprint

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 1              473.    Pictured below, Joe books fake ride requests, tortiously interfering with iHug's

 2   operations, in an attempt to crash iHug's server and API, in a "cyber-attack method."
 3
      AMOUNT                               DESCRIPTION                                             DATE
 4
        $40.00    USD    (Failed X.,       ch_lBl|                                                 Jan 17, 2018, 8:08 PM
 5
        $40.00    USD i. Failed X }        ch_iBl                                                  Jan 17, 2018, 8:08 PM,
 6      $40.00    USD    (SiledXj)         ch_lBl|                                                 Jan 17, 2018, 8:0aPM

 7      $40.00    USD    C§»e5 X")         ch IBl                                                  Jan 17, 2018, 7:46 PM

 8      $40.00    USD    (Failed X ,       ch_lBl|                                                 Jan 17, 2018, 7:46 PM

        $40.00    USD    (Failed x :       ch IBl                                                  Jan 17, 2018, 7:46 PM
 9
10
       $40.00    USD    i;lgl§^S|;      ch_lBlgh.                                                 Jania, 2018, 8:56 AM

11     $40.00    USD                    .ch_iBlgh.                                                Jan 18, 2018, 8:56 AM

12     $40.00    USD                    ch_lBlgh.                                                 Jan 18, 2018, 8:56 AM

13     $40.00    USD                    ch„lBlgh                                                  Jan ia, 2018, 8:56 AM

       $40.00    USD                    ch_lBlgh                                                  Jan 18, 2018, 8:56 AM
14
       $40.00    USD                    ch_lB\gh                                                  Jan 18, 2018, 8:56 AM
15
       $4000     USD                    ch_lBlcni                                                 Jan 18, 2018, 4:46 AM
16
17     $4000     USD                    ch_lBlcn'                                                 J a m s , 2018, 4:46 AM.

18     $40.00    USD    '.^Failed X )   ch IBlcn                                                  Jan 18, 2018, 4:46 AM

19     $40.00    USD    (FatedX)        ch_lBlci                                                  Jan 18, 2018, 4:46 AM

       $40.00    USD    l.Fail(d><^     ch_lBlciw                                                 Jan 18, 2018, 4:46 AM
20
       $40.00    USD    (paiteTx)       :ch_lBlcnii                                               Jan 18,2018,4:46 AM
21
22
23
24
                474.    Even more outrageous, Defendants instmcted Joe to grant them access, so they expose
25
     iHug to a data breach, leaking iHug's entire healthcare API, which contained iHug's architecture,
26
27   highly confidential database mles, parameters and features, all Driver details including but not

28   limited to full names, addresses and other highly confidential contact details.

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 1          475.      Pictured below, on January 18, 2018, at 3:13PM, while in the heat of tortious

2    interference, Joe reset his password, allowing Defendants access.
3
            476.      Plaintiff was immediately notified of multiple password changes and unrecognized
4
     device logins. Plaintiff and his VP of I.T. immediately blocked all access to his Healthcare API, to
5
     spoil the attempted breach.
6
7
8                  Reset your password for project-                                         V



9
10
                             [ihug-api.firc          rhu, Jan 18.2018,3:30 PM           ^        4\
11
                   tome
12
13                 Hello,

14                 Follow this link to reset your pra|ect-|               14 password for your
15                               itttLfiom account.

16          477.      Plaintiff vehemently argues, this is a tactic that has been used by Defendants in the
17
     past. These types of unlawful anticompetitive tactics carried out by Defendants are putting people's
18
     identities, and safety at risk. Plaintiff speaks for all American's and the United States, this behavior is
19
20   unacceptable. Plaintiff maintains, this is a clear violation of HIPPA laws. Plaintiff believes these

21   actions support his ex parte application for injunction, removing Defendants from healthcare.
22   Pictured below, an article outlining Defendants "R/ajwi^ift-yriHg'' the data breach, it's disgraceful.
23
24           Breach
25
             UBER AND LYFT AT ODDS OVER DATA BREACH
26
             In May 2015, the information of as many as 50,000 Uber drivers was leaked in a massive
27          data breach. Last week, based on IP address tracing, Uber claimed that Chris Lambert,
28           CTO of Lyft, their main competitor, is responsible forthe breach.


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 1           478.      On Febmary 2, 2018, at 2:26PM, 15 days later, Malcolm, and Does were

 2   colluding with Joe, unbeknown to Plaintiff, after Joe's failed attempts to breach iHug's data.
 3
     Malcolm shared intemal customer and driver lists with Joe, breaching confidentiality, and non-
4
     disclosure Agreements, violating their fiduciary duty, compromising healthcare patients, under the
 5
     direction of Defendants. Pictured below, Joe confirms he received the lists.
 6
 7                                    Joe.                                   jlthiCom>

 8                           v:W      to Malcolm
                                                          I   -1
 9                                    Got the list
10
11
                                      Malcolm                                           balth.com>
12
                                      to me
13
14                                    Cool

15
16
             479.      On Febmary 26, 2019, Joe was instmcted to continue in unlawful anticompetitive
17
     tactics, where he hacked into iHug's systems after being blocked by Plaintiff and his VP of I.T.
18
19           480.      Google search history establishes, at 3:17AM, unbeknowni to Plaintiff, Joe searched

20   how to hack into iMac computers at the iHug office. Plaintiff also noticed the keyboard and mouse at
21   his office desk had been moved.
22
23                                                                       Tschnotogy
24     Searched for hbw.to-take off password'piri imac"
                                                                   Watched Reset Any Mac OS X Password without
25     Details - VouTube
                                                                   Administrative Access or Losing Data
26                                                                 Snazzy Labs
       3:17 am
27                                                                 Detail.? • VouTube
             IMac
28

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 I          481.     Illegal Hacking in violation of Computer Fraud and Abuse Act:

2                    The Computer Fraud and Abuse Act (CFAA) outlaws accessing certain computers or
 3
                     computer systems without authorization or in excess of authorization, with the intent
 4
                     to defraud.
 5
                     18 U.S.C. §1030(a)(4), (e)(2) says:
 6
 7                   (a) Whoever... (4) knowingly and with intent to defraud, accesses a protected

 8                   computer without authorization, or exceeds authorized access, and by means of such
 9
                     conduct flirthers the intended fraud and obtains anything of value, unless the object of
10
                     the fraud and the thing obtained consists only of the use of the computer and the value
11
                     of such use is not more than $5,000 in any year period... shall be punished as provided
12
13                   in subsection (c) of this section.... (e) As used in this section... (2) the term 'protected

14                   computer' means a computer (B) which is used in or affecting interstate or foreign
15                   commerce or communication, including a computer located outside the United States
16
                     that is used in a manner that affects interstate or foreign commerce or communication
17
                     of the United States. (Emphasis added.) Accordingly, the CFAA has extraterritorial
18
19                   reach.

20          482.     Califomia Penal Code Section 502 bars similar behavior. Part I makes it illegal to
21   knowingly access and without permission, alter or use any data or computer system or network, to
22
     devise or carry out a plan to defraud, deceive, or extort, or to vsrongfully control or obtain money,
23
     property, or data.
24
25          483.     Part 2 makes it illegal to knowingly access and without permission, take or use data

26   from a computer or network, or take any supporting documentation, whether intemal or extemal to a
27   computer or network.
28
            484.     Part 3 makes it illegal to knowingly and without permission use computer services or
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 1   cause them to be used.

 2              485.     Part 5 makes it illegal to cause a disruption in service to an authorized user. Part 6
 3
     makes it illegal to knowingly and without permission help someone else access a computer in a
 4
     manner that violates this law.
 5
                486.     Part 7 makes it illegal to knowingly and without permission access or cause to be
 6
 7 accessed any computer, computer system, or computer network.
 8              487.     As exhibited in all proceeding paragraphs herein, Joe, Louis, Ben, Jerry, John, and
 9
     Does were aware and willfiilly engaged in many instances, where computer hacking tactics, and/or
10
     unauthorized logins took place.
11
                488.     Wherein multiple instances within this Complaint, usemame and passwords are given
12
13   with the intent to unlawfully access iHug's intemal systems, where misappropriation of trade secrets

14   occurred, conduct that violates the laws discussed in all proceeding paragraphs of this Complaint.
15              489.     Defendants intent in accessing iHug's intemal systems was to unjustly enrich
16
     themselves without legal entitlement, in order to inflate their valuation pre-IPO, which has sprawled
17
     up multiple class-action lawsuits by investors and the United States Securities and Exchange
18
19   commission has questioned Defendants behavior.

20              490.     On March 7,2018, at approximately 10:19AM, 9 days later, Defendants instructed
21   Thomas Michael Kim, "Mike Kim" to steal iHug's partnership materials.
22
                491.     The 2017 - 2018 material consisted of Grocery and Pharmacy transportation. The
23
     same services Lyft, and Uber launched in 2019.
24
25   ///

26   ///

27
     ///
28
     ///

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 1          492.     Pictured below. Plaintiff caught Mike Kim attempting to steal iHug's confidential

2    corporate material from iHug's office. Plaintiff took a photo for evidence at Mike Kim's desk.
3
4
 5
6
 7
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12
13
14
15
16
17
18                              O c t Vll..,C;..3| W M O I I * . .

                               '-A- Sed%Ride cor?,";
19                              •'- -Me^lcatAgippIn'-;
                               •'--•'Patioii?;Diwf^j--"
20                             ;-'Grocesy/'SHbw^!^
                                 - Medicine.psc^ t,.
21
                                Sedan;Rlde:f;^
22                              'A sedanjr'M^.-Cpn:'
                                                                                          Icicle R
                               'and,tJ0»5O.ria,l.'app:,', -
23
                                                                          (iSsjjaes
                                 by-ai"iAfpH3pf^-'' •
                                tjSc'n2S.'pect andx \ '
24                              the neccs&ary-aS:-.'
                                fsi'o gife c:jier»ts«'.:
25                                                                            C«HH9'Portal-Syppbrt:C8e
                               --Values; and'<^-
26                              -..Cerljfi'ed Coht}:
                                .-traiinWtriCPR
27
                              iprice^Pointl
28
                               ,-Door;!hfough

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 1                                    G3. Uber, Lyft and Andreessen Attacks

 2                       Put PlaintifTs Wife in the Hospital, Who Underwent Surgery
 3
            493.     Plaintiff vehemently defends his Wife! Arguing Uber, Lyft and Andreessen
 4
     orchestrated vile and malicious attacks while working in symphony with Joe, Louis, and Does to
 5
 6 carry out the attacks on him for years.
 7          494.     The attacks caused devastating damages to Plaintiffs Wife. "Metaphorically "

 8 speaking, "Plaintiff tucked his Wife behind his back," to "shield her " from the onslaught of
 9
     continued bmte force attacks, the magnitude of the attacks reverberated through him into his innocent
10
     Wife's body.
11
            495.     The willful attempt to falsly imprison Plaintiff, attempting to take him away from his
12
13   Wife, caused his Wife to have multiple mental break downs, escalating and intensifying her

14 emotions, while weakening her mental state, adversely effected her physical condition.
15          496.     Plaintiffs Wife was bom with a hereditary condition called, endometriosis.
16
            497.     Endometriosis has no cure, and flares up with increased stress levels.
17
            498.     Tmsted medical advice from the world's most prestigious medical school, establishes
18
19   Endometriosis desfroys intemal organs of women who have the condition.

20          499.     Increased stress levels can dramatically increase the progression of the damage
21   causing unbearable pain.
22
            500.     Pictured below and on the next page. Harvard Health Publishing, outlining the basic
23
     understanding of Endomefriosis:
24
25
26       ^ 9 Harvard Health Publishing
                    HARVARD MEDICAL SCHOOL
27
                    Trusted advice for a healthier life
28

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 1                            Harvard Health Publishing
 2                            HARVARD MEDICAL SCHOOL
                              Trusted    advice   for a healthier       life
 3
                     Symptoms
 4
                     Many wpmen with endometriosis do not have any symptoms from i t Those who have
 5                   symptoms may experience;

 6                    • Severe discomfort, usually with heavy flow, during menstrual periods

 7                    • Pain in the pelvis or abdomen, usuallyjust before or during menstruation, but
                        sometimes throughout the month
 8                   • Backache

 9                   • Pain during or immediately after sexual intercourse
                     • Vaginal spotting before menstruation begins
10                   • Bowel symptoms, such as:
11                       o Painful bowel; movements
                         o Diarrhea
12                       o Constipation
                         o Rarely, blood in the stool
13
                     • Painful urination, or, rarely, blood in the urine
14                   • Infertility or repeated miscarriages

15
                     Conservative surgical treatments
16
                     During laparoscopy, your doctor will destroy small areas of extra endometrial tissue that are
17                   implanted outside the uterus. He may bum them away or use a laser to vaporize them. Your
                     doctor also may trim away tissue that is displacing your pelvic organs. These procedures
18                   often can be done during a diagnostic laparoscopy session.

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27
28

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 1          501.     Pictured below, Plaintiffs Wife iri severe pain at iHug's office, crying on the floor in

2    private, in Plaintiffs office while Joe, Louis, and Does were threatening them, and attempting to take
3
     possession of the vehicle. The stress levels flared up her symptoms, causing progressive intemal
4
     organ destmction.
5
6
7
8
9
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 1           502.     Plaintiff realleges and incorporates herein by reference each and every allegation

 2    contained in the proceeding paragraphs of this Complaint'as though fiilly set forth herein, asserts the
 3
      following:
4
             503.     On June 20, 2018, factual and circumstantial evidence, medical research and analysis,
 5
      studies by the American Physiological Society, and forensic evidence establishes and substantiates
 6
 7 Defendants actions induced Plaintiffs Wife into life threatening stress levels, causing her
 8 endometriosis to severely flare up. The pain ran down to her lower abdomen, rectum, vagina and
9     lower back. Her body physically reacted to the severely high stress levels.
10
             504.     Endometeosis has been established to cause scar tissue, "scar tissue may cause pelvic
11
      pain and make it hardfor a woman to get pregnant." Plaintiffs Wife sustained severe uterous,
12
13    rectum and stomach pain, causing her to cry uncontrollably, week after week, causing severe

14 emotional damages as a result of Defendants willful attacks on Plaintiff for his $1,200,000,000,000
15    trillion-dollar healthcare opportunity, where in fact, it belonged to the people in healthcare who need
16
      it, who are suffering, not for Defendants used it to inflate their valuation for greed.
1.7
             505.     Plaintiff cared for his Wife, while she was bedridden for days at a time. There was
18
19    nothing the Plaintiff could do, even with his background in medicine, in particular, Stanford

20    Medicine course studies. Plaintiff bought his Wife CBD oil to help alleviate the pain. He also bought
21    her aspirin, pain killers, and sat by her side. He did everythirig to keep her mind off the pain.
22
             506.     His Wife's condition continued worsening as she knew they were under corporate
23
      attack by Uber, Lyft and Andreesseri, using Joe, Louis, and Does.
24
25           507.     The condition progressed to such a critical point. Plaintiffs Wife cried aloud,

26    " I can't take the pain, I just want to stab myself in the stomach, STOP THE PAIN, please help! Babe
27    it HURTS SO BAD PLEASE," while curling up in a fetus position in their bed, grabing her body
28
      from the pain. The love for his Wife caused Plaintiff to break down, holding her until she fell asleep
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 1   out of pure mental, emotional and physical exhaustion from the pain, while the endometriosis ate

2 away at her intemal organs causing irreparable bodily injury. This enraged Plaintiff. His first and
3
     only love was being destroyed inside as a result of the attacks. After Plaintiff ensured his Wife was
4
     resting. Plaintiff coded out a new software that would combat Defendantsrideshareplatform with
5
     minimal effort so he could rechannel his energy and focus on psychoanalyzing Defendants to
6
7 anticipate, protect and engage in a legal prosection.
8           508.     Plaintiff contacted a local Palo Alto, Califomia endomefriosis surgeon for help.
9
            509.     The stress, mental anguish and undue duress caused his Wife'sflareups to be so
10
     severe, her endometriosis grew scar tissue on her muscles, causing adenomyosis. This caused severe
11
     menstrual cramps in her lower abdominal, causing unbearable and painfiil pressure and bloating.
12
13          510.     Adenomyosis is a condition in which the inner lining of the utems (the endometrium)

14 breaks through the muscle wall of the utems (the myomefrium). Adenomyosis can cause menstmal
15   cramps, lower abdominal pressure, and bloating before menstmal periods and can result in heavy
16
     periods.
17
            511.     As lectured by Keith Isaacson, M.D. at an event for the Endometriosis Foundation of
18
19   America, speaking on the relationship between Adenomyosis and fertility, "That is a great question,

20   because all our patients in the past hadfreatmentsin which they could not get pregnant. They were
21   either placed on a Mirena lUD or they were given an endometrial ablation or they had a
22
     hysterectomy." Pictured below, an illustration of Plaintiff s utems on the right, after the attacks.
23
24
25
26
27
28

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 1          512.     The pain is descibed as, repeatedly scraping sand paper on an open wound, causing

 2 severe, and unbearable pain.
 3
            513.     The medical surgeon promised Plaintiff he would do his best to cut as much scar tissue
 4
     from his Wife's utems and stomach area.
 5
 6          514.     Plaintiffs Wife underwent surgery.

 7          515.     After the surgery, while Plaintiffs Wife was in recovery, the medical surgeon sat with

 8 the Plaintiff The surgeon broke the news that he had to diagnose Plaintiffs Wife with stage 4
 9
      endometriosis.
10
            516.     This falls into the category 4 of endometriosis, the highest stage of endometriosis,
11
     which is defined as: Deep infiltrating endometriosis, the endometriosis is present outside the pelvic
12
13   region as well, and may have implanted in distant organs like the heart, lung, and brain. Even more

14 devasating, the surgeon stated, the scar tissue grew on Plaintiffs Wife's rib cage from the severe
15   flare ups. Plaintiff was deeply hurt as he put his head down to cry causing his heart to physically hurt.
16
            517.     This struck up a fire in Plaintiff to prosecute Defendants for their heinous actions.
17
            518.     After the surgery. Plaintiff cared for his Wife to recovery.
18
19          519.     Pictured below, a factual article from WebMD, substatiating the suffering from the

20   pain, causes women to want to take their own lives.
21
22                                       =           WebMD . i i ^ S Q
                                        Pain Maiiagement > News >
23
24
                                        Chronic Pain May Drive
                                        Some to Suicide
25                                      By Robert Preidt
26                                      HealthDqy Reporter
                                        MONDAY, Sept 10,2018 (HealthDay News) --
27                                      Suffering debilitating pain every day may be so
                                        unbearable that some decide to take their own
28                                      lives, new research suggests.

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                                                           - 234 -      , .
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 1          520.     Plaintiff vehemelty argues the attacks from Defendants completely contributed to his

2    Wife's severeflareups. Whereas before the attacks she never had severeflaresups, and never had
 3
     one thought of committing suicide. She did quite the opposite, she helped save women, and children
 4
     from committing suicide through her YouTube Channel as a Social Media Influencer.
 5
 6          521.     Pictured below, Plaintiffs Wife recoverying in bed after surgery.

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                                                         • - 235- •
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 1             522.    Plaintiffs Wife will forever be scarred emotionally, mentally and physically from the

 2     vile attacks by the Defendants. She has forever lost her innocence. Plaintiff decides he will seek
 3
       justice for his Wife, and for the innocent dialysis, cancer and other terminally-ill people in healthcare
 4
       who are unknownly being harmed by Defendants anticompetitive practices, especially those who are
 5
       deprived of iHug's CPR and First Aid Certified Rideshare for Healthcare platform he founded. A
 6
 7     vision God gifted to him for the people.

 8             523.    Plaintiff calls for Lyft's Co-Founders and Uber's CEO to step down. Plaintiff calls on
 9     his fellow American's who work in Govemment to shakedown Defendants for these heinous acts.
10
               524.    Pictured below. Plaintiffs Wife's stomach after undergoing surgery, where multiple
11
       incision were made cutting out scar tissue from all areas of her lower mid-section of her body.
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 1          525.     Pictured below, Judy, an iHug Cancer patient who used iHug's service to attend her

 2   chemo treatments and check ups at Sutter. She states, " I would recommend this to anybody, this is a
3
     wonderful way to get home, to get to your doctor, they are very good drivers, and they are very safe
 4
     and do everything good, and I sit in a wheelchair so they are very helpful, and I would recommend
 5
 6 them to everyone in the city who need a ride." Whereas, Judy will never be able use iHug's service as
 7 a result of Defendants ferocious attacks on iHug, causing irreparable damages, and closure of iHug.
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28   Video Testimonial 1: https://www.dropbox.eom/s/Quq3bi5b9kt3pd2/IMG 2587.mov?dl=Q

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 1          526.     On July 23, 2018, 30 days later, after Plaintiff and his recovering Wife were harrassed

 2 by a man claiming to be a private investigator who had a firearm, John personally came to
 3
     Sacramento to ensure iHug ceased operation, as Joe, Louis and Does had been unsuccessfiil thus far,
4
     where Plaintiff was able to fight for possession of his vehicle, staying away from Uber and Lyft apps.
 5
            527.     Pictured below, John visited Louis' Driver group in Sacramento, Califomia.
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19          528.     On July 30, 2018, 7 days later, after Joe and Louis met with John, on July 23,

20   2018, Joe hired an attomey, who sent Plaintiff a demand letter. The strategic and calculated attack by
21   Defendants, would achieve the following but not limited to:
22
                     (1) An employment attomey would cause undiaefinancialdamages to Plaintiff, and
23
                         his Wife in order to halt iHug's operations.
24
25                   (2) An employmerit attomey would require Plaintiff to provide Joe's legal documents

26                       for review. Joe would then hand those legal documents Off to Defendants, so
27                       Defendants can order legal teams to start protecting Defendants from the collusion.
28
                     (3) The hired employment attorney caused irreparable damages by contacting iHug's
           . Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe,.John, Louis, Jeny, Logan, Ben, and Does
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 1                       investors and personnel, including iHug's partner, stating Plaintiff stole Joe's car,

 2                       a claim Joe knew was false, in order to tortiously interfere with Plaintiffs
 3
                         $1,200,000,000,000 frillion-dollar healthcare opportunity, and his
 4
                         $25,800,000,000,000 frillion-dollar new digital Ai healthcare system particulars,
 5
                         halting iHug's operation.
 6
 7                   (4) Joe's attomey demanded Joe hold equity in Plaintiffs new company, legally

 8                       requiring Plaintiff to disclose details to Joe, where Joe would leak them to
 9                       Defendants.
10
            529.     These were mere attempts to wrongfully imprison Plaintiff through a litigation
11
     process, which involved contacting iHug's investors, partners, customers, and other affiliated parties,
12
13   claiming false allegations.

14          530.     The termination of iHug's partnership, would allow Defendants tofreelyclaim
15   Plaintiffs $1,200,000,000,000 trillion-dollar healtficare opporttmity on IPO day.
16
            531.     Plaintiff vehemently argues the evidence presented herein, establishes the very
17
     allegations brought against him, were intentionally fabricated by Defendants causing undue duress
18
19   while Joe, Louis and Does, continued causing irreparable damages.

20          532.     Pictured below, Joe's attomey emailed Plaintiff in July.
21
22                                                                             Timothy I
23                                                                             Attorney at Law
24
                                                                               t 916-1
                                                                               ie.
25                                                                             w.                 ploym
26                                                                             s. 3 ^ ^ ^ ^ H B l v d . ,
27
28           CALIFORNIA EMPLOYMENT COUNSEL

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 1          533.          Pictured below, on August 23, 2018, 30 days later. Defendants actions caused the

 2   termination of iHug's healthcare partnership, allowing Defendants to claim Plaintiffs
 3
     $ 1,200,000,000,000 healthcare opportunity as their own, disguising it from a healthcare opportunity,
4
     to household income expenditure per SEC Filing Statements.
 5
 6                                      Notice of MOU termination
 7                                     I- Oiii!^iMbr\UMKg^€m
 8
                                                               |jil@al...          <s> Thu, Aug 23.2018, 9:30 AM                          4s
 9
                                       to me ^
10
                                       Good moming Adam,
11
                                       I have sent you a notice of termination via the U.S. mail and I have also
12                                     attached the letter fbr you records.
13
                                       Good luck with your future endeavors.
14
15                                     Respectfully,

16
17
18
19
20          534.          Pictured below, on March 28, 2019, / day before, IPO, Defendants claim Plaintiffs
21   $1,200,000,000,000 healthcare opportunity, disguisirig it as a household expenditure.
22
                                                               .^M.ARI<ETS;iN;SiDER:-;,                                • VV.ATCHLIST

23                  MARKETS      SiCiCK;;-   l!>J-Di-CES   - ,,COMMO,D!"rii:;; '    -,CRY.PTieCURS;6H(:iLS:   CU'lJREKCIEB   aTfS      NEWS

24
25
            Lyft IS IPOing with a 'goldeii opportunity' in
26
            a $1.2 trillion market, but it faces key risks
            Arjun Rsddy
27          ©Mar. 28,2019.11:21 AM


28

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 1          535.     After the onslaught of ferocious attacks on Plaintiff and iHug, Plaintiff was forced to

2 close iHug's transportation services. Defendants unlawfully robbed Plaintiff of his once-in-a-lifetime
3
     opportunity to build something tmly special for our loved ones, seniors and healthcare patients.
4
     Plaintiff had a mission to leave something special behind in his name that would help generations to
 5
6 come, much like his role-model, Steve Jobs. Pictured below, John and Louis celebrate.
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 1                           G4. The Securities Act of 1933 Violation Investigations

2           536.     After Joe, iHug's COO, Jerry, iHug's Software Developer, and Darren,
 3
     iHug's CFO betrayed Plaintiff, misappropriating Plaintiffs $1,200,000,000,000 trillion-dollar
4
     healthcare opportunity. Defendants immediately disguised Plaintiffs $1^2000,000,000,000 trillion-
 5
 6 dollar healthcare opportunity as "household transportation expenditure," sending such fabricated
 7 statistical reports to the Bureau of Transportation Statistics to post 3 months prior to IPO.
 8 Defendants $1,200,000,000,000 trillion-dollar explanation.
 9
10   iBureau of Transportation Statl^lcs
11
12            Transportation accounted for $1.2 trillion (9.2 percent) of total national
13            household spending (ineluding spending on behalf of households such as

14 Plaintiffs misappropriated $1,200,000,000,000 trillion healthcare opportunity.
15
16
17
             0 iHug 10 Year Expansion Plan
18                                                                          Converted Rideshare
                                                                           / $307Bby2030
19
20
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23
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25
26                                                   $3558 by 2040

27
                                            $1.28 Trillion Dollars
28

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 1                                           G4A. Basic Math Calculations

 2           537.     Lyft Claims $1.2 Trillion-Dollar Household Vehicle Expenditure:
 3
             538.     Per U.S. Census Bureau, there are 127,590,000 households in the United States,
 4
      multiplied by $9,000 per John Zimmer and Logan Green, equals $1,148,310,000,000 trillion-dollars.
 5
 6
 7     In 2018, there were about 127.59 million households in the United States. According
       to the U.S. Census Bureau, a household consists ofall the people who occupy a
 8     housing unit.
 9
10
       • U.S.: Number of households 1960-2018 I Statista
       https://www.statlsta.com/statlstics/183635/number-6f-households-ln-the-us/
11
12
13           539.     Per U.S. Census Bureau there are 1.97 light vehicles per U.S. Household multiplied by
14
      $9,000 per John Zimmer and Logan Green, equals $17,730 cost per household, times 127,590,000
15
      households per U.S. Census Bureau equals $2,262,000,000,000 trillion-dollars.
16
17
18     On average, there ate 1.97 light vehicles per UJS.
19     household. According to the U.S. Census Bureau, the
       percentage of households without a car or light truck
20
       came to 8.6 percent in 2017, meaning that over 90
21     percent of households had at least one Ijght viehicle at
22     their disposal in that same year. May 7,2019

23
24
             540.     Plaintiff argues no equation equals $ 1,200,000,000,000 trillion-dollars as described
25
      by Lyft's Chief Financial Officer, Brian Roberts, Lyft's Co-Founder John Zimmer, Lyft's Co-
.26
27    Founder Logan Green, which was signed off to the United States Securities and Exchange

28    Commission by Ben Horowitz.

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 1             541.   After the SEC scmtinizes Uber and Lyft for filing draft regisfration statements, or

 2   Sis, confidentially with the SEC on the same day, December 6, 2018, Defendants immediately
 3
     accelerate their plans to cover up the real $1,200,000,000,000 trillion-dollar healthcare opportunity,
4
     and attempt to wrongfully imprison Plaintiff to keep him silent.
 5
 6             Market
 7    Lyft Inc. and Uber Technologies Inc. say they are business rivals, but the U.S. Securities and
 8    Exchange Commission had a lot more comments on Uber's business before both companies
      went public this year, in particular focusing on the ride-hailing leader's adjusted financial
 9
      numbers.
10
11
12
13
               542.   Based on the willfiil acts alleged herein, under the discretion of the Courts, a parallel
14
15   proceedings may ensue, involving a criminal prosecution, see United States v. Kordel, 397 U.S. I

16   (1970):
17             "The Supreme Court stated that "[I]t would stultify enforcement of federal law to require a
18
     govemment agency . . . invariably to choose either to forgo recommendation of a criminal
19
     prosecution once it seeks civil relief, or to defer civil proceedings pending the ultimate outcome of a
20
21   criminal frial," supported by the following statues, the Sherman Act, 15 U.S.C. §§1-3, 15, 15(a)

22   (1988) (antitmst); the Securities Act of 1933, 15 U.S.C. §77t (1988);
23             543.   Defendants attempt to wrongfully imprison Plaintiff, as he was the only man who had
24
     power to claim the opportunity, as he was the founder of the opportunity, and could contact the SEC
25
     to report the unlawful misappropriation of the real $1,200,000,000,000 trillion-dollar opportunity.
26
27             544.   Pictured on the next page. Plaintiffs Wife wrote out indisputable events in a timeline,

28   outlining the attacks on Plaintiff and sabotage, including making Plaintiff and his Wife homeless.

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 1        G5. Third Attempt To Wrongfully Imprison Plaintiff - Wage Theft and Stolen Vehicle

 2          545.     After Plaintiff was slandered, and robbed of his healthcare partnership by Defendants
 3
     willful tortious interferce. Plaintiff sustained irreparable damages.
 4
            546.     As a result of Defendants orchesfration, working in symphony with Louis, Joe and
 5
 6 Does, Plaintiff was forced to close iHug's transportation services. iHug was supressed by Uber and
 7 Lyft from continuing to offer wheelchair accessibiliy, and medical rides to cancer, dialysis and other
 8 terminally ill patients.
 9
            547.     Plaintiff started working at an employer on October 12, 2018 and unbeknown to
10
     Plaintiff, Louis also worked at the sarne employer. Plaintiff had to pay medical bills for his Wife's
11
     surgery, and other expenses he incurred, while under corporate attack and undue duress. Plaintiff
12
13   knew Louis was recruiting Drivers at the new employer, on boarding them Defendants

14   platform while receiving cash incentive. It^s Uber and Lyft's culture, to prey on low income
15   Drivers and control them. When Louis saw Plaintiff, he panicked and speed down the hall.
16
            548.     Louis gave Joe Plaintiffs place of employment, as he and Plaintiffs Wife were the
17
     only individuals who knew of Plaintiff s place of employment.
18
19          549.     On December 10, 2018, Plaintiffs vehicle was stolen by Joe. Joe used a

20   spare key he claimed didn't exist at the time of sale, see Plaintiffs Wife's declaration in case
21   #I9SC02789 Mackintosh-vs-Acebedo, she witnessed Joe stating, there's only one key.
22
            550.     Pictured on the next page, you will see Plaintiffs Wife's electronically filed
23
     Declaration at the Superior Court of Califomia, County of Sacramento, confirming she witnessed
24
25   Plaintiff and Joe's conversation regarding the sale of the vehicle, and the status of the keys. Under

26   penalty of perjury. Plaintiffs Wife states:
27          551.     " I witnessed Josef, ("Joe") stating to Adam, ("Plaintiff) there was only one key for
28
     the vehicle."
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18      - I witoessed Josef $tatihg to; Adam th^re was dhly phe keiy for the vehicle.
19      - I witnessed Josef and his wife intentionally witiihblding the vehicle title from Adam.

20
21                  :>UIl

22          552.     This was a calculated effort to force Plaintiff to use Defendants' ridesharing apps,
23   Uber and Lyft, so Defendants could use the Hell Program on Plaintiff, invading all privacy and
24
     whereabouts between Plaintiff and his Wife, or Plaintiff would lose his job for lack of frarisportation
25
     and poor attendance.
26
27          553.     Even more wicked and intentional, after Plaintiff and Louis bumped shoulders while at

28   the employer, Louis asked Plaintiff, "How's your wife?" This enraged Plaintiff even more, as he

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 1    knew Defendants were attacking his Wife personally. Plaintiff never disclosed his marriage to Louis,

2     proving collusion with Joe and Does to deport Plaintiff s, Wife. Pictured below. Plaintiffs receipts
3
      confirming he was forced to use the Uber and Lyft apps, exposing him to the Hell Programs.
4
         CA:&9;J                                                      .,1 LTEiii>                                                                  .III LTE my
 5
 6       X                                                                                                                  Dec 29.2018, 5:26 AM

 7       Your Trips
 8       Past                           Upcoming              Family
                                                                                                        v.:
9
         12/28A8,7:59 PM                                                     $2725
10       Toyota Prius 6.ADT927                                                                                <„   .   .1



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16       12/27/18,7;29 PM                                                    $2128
         Hyundai tiantra 7XI,J!378                                •       • • • •
17              ®-          . ' ,- '
                                                                                                Lyft fare (22.72ml, 25m 51s)                            $26.83
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23                                                                                                                                Get help
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25                                                     w
           ^ ®          :. - ® • •                                                                                              Find lost item
26                                                                        ®

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 1           554.      On December 21, 2018, i i days later, as pictured below, weeks after Louis found out

 2   Plaintiff worked at the same place of employment, a forrner iHug investor sent Plaintiff an article.
 3
     The article claims an employee was sentenced to prison for wage theft from his einployer. Plaintiff
4
     took the message as a waming. This was the same Whistleblower Driver who drew out Uber and
 5
     Lyft's intemal operations that unlawfully obtains corporate secrets. Pictured below, the
 6
 7   whistleblower's text message, waming Plaintiff he was going to be under more corporate attacks by

 8   Uber, Lyft, Benmarch, and Andreesseen who were planning to wrongfully imprison him for wage
 9
     theft pre-IPO.
10
11
12
13
14                                                                                        m
15                                                                        Former Tennessee horse farm
                                                                          manager sentenced for fraud
16
                                                                          Updated 4:20 am. Thursday, December 20.2018
17
                                                                      MEMPHIS, Tenn. (AP) — A former horse
18
                                                                      farm manager has been sentenced to nearly
19                                                 Read 7;20/ia       three years in prison for stealing more than
20                          Fri,'Dec 21,10:26 AM                      $800,000 from his employer in Tennessee.

21
                                                                      The U.S. attorney's office in Memphis says
22                                                                    32-year-oId Zachary Baker was sentenced
23                                                                    Wednesday to two years and nine months in
                                                                      prison. He pleaded gui|ty in August to steal-
24
                                                                      ing from Masferson Farms, a horse breeding
25                                                                    farm located in Somerville.
              Former Tennessee horse ' -
26          ' farm managersentenced.for
              fraud — My San Antonio "
         t:»;app!e.news'.
                                                                      Prosecutors said in a news release that
27
                                                                      Baker wrote checks payable to himself and a
28                                                                    band he managed using the farm's funds. He

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 1          555.     On or around December 23, 2018, 2 days later. Plaintiff saw Louis walking into

 2 Human Resources, ("HR"). It's alleged Defendants were colluding to falsely imprison Plaintiff for
 3
     wage theft with the help of the emplpyer.
 4
            556.     On December 28, 2018, 5 days later. Plaintiff received his first sign-on "bonus
 5
 6 check" from the employer.
 7          557.     On January 31, 2019,         days later. Plaintiff was paid an unsolicited second, duplicate

 8 "bonus check" from the employer by direct deposit, not giving Plaintiff a chance to shred a check or
 9
     retum the funds to the employer. It was later called an "accounting error," after Plaintiff documented
10
     the deposit and started an HR process.
11
            558.     On Febmary 1, 2019, i day later. Plaintiff was called to his employers HR
12
13   Department and was instmcted to call the accounting department to order a third, duplicate "bonus

14 check." Pictured below, the intentional over-payment from the employer to Plaintiff.
15
             This is to advise yoii that you have been overpaid fof yourisign-ori bbnus;:ohe was paid
16
             on 12/28/18 and a duplicate on 1/31/19, The specific amount of the overpayment is
17           outlined below. To resolve this error, please send a check or mpneyiorder [made out to
             ^ • / n c . ) for the arnount shown below :(in the Total Repayment Due box) to:
18
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                                                       ' .,-250-
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 1          559.     Pictured below and on the next page, On Febmary 1, 2019, Plaintiff documented his

2 presence while in HR, where he was instmcted to re-order a third, duplicate "bonus check." Where
3
     Plaintiff immediately corrected the accounting department, stating he was already paid a bonus
4
     check, and working to pay the overpayment back, and didn't need another, spoiling the planned
5
     attack. After HR realized Plaintiff fended off the setup, the Employer violated Califomia Labr Code
6
7 Section 1102.05, harrassing Plaintiff, accelerating him to final wamings attempting a termination.
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 1          560.     After Joe unlawfully took possession of the vehicle from Plaintiff on December 10,

2 2018, its alleged Defendants were alerted by an informarit within the Police Department, that Plaintiff
 3
     had reported the vehicle stolen.
4
            561.     Defendants then tamper with the vehicle engine before Plaintiff recovers it. Joe then
 5
 6 takes an "overseas vacation" giving his friend permission to use the stolen vehicle.
 7          562.     Pictured below, Joe took a "vacation" 7 days after the vehicle was stolen, framing his

 8 friend with possession of a stolen vehicle. This would prevent Joe from being arrested for driving a
9
     stolen vehicle, as an investigation would lead back to Defendants.
10
11
12
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14
15
16
17
18
19
20
21                        Q Q T                          *
22                        46 likes
23                        visionaryOne #fanriily #vapay #philippines
24                        View all 2 comments
                          18 DECEMBER 2018
25
26          563.     While Joe was on "vacation," Joe's plan worked; His friend was pulled over in Elk
27   Grove, California, putting his friend's life at risk, with one wrong piove, as he was pulled over at gun
28
     point by the Sacramento Sheriffs.
            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                                                          -253 -
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 1          564.     After Plaintiff was able to retrieve his stolen vehicle, the engine completely

2    malfunctioned and stopped working.
 3
            565.     Pictured below, a screenshot of Plaintiff documented evidence of the
4
     tampered with vehicle. Plaintiff sfrategically parked his vehicle under video surveillance cameras at
 5
     his employer's offices. When Plaintiff asked for video surveillance evidence from his employer for
 6
•7   the day the vehicle stopped working, corporate security states the camera did not work that day.

 8         Video Evidence: https://wAvw.dropbox.eom/s/scu8kfifaiqiv5w/car sabotaged.MOV?dl=0
9
             Video Evidence: https://www.dropbox.eom/s/zgfoilxlcv5ihia/IMG 0801 •MOV?dl=0
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                                                   ; ; • '-254-
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 1          566.     Pictured below, the vehicle stopped working. Leaving Plaintiff with no fransportation.

2    Forcing Plaintiff to use the Uber and Lyft app, exposing fiirii to the Hell Programs.
 3
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21
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24
            567.     The entire, orchesfrated event, was part of Uber and Lyft's plan to force Plaintiff to
25
26   use the Uber and Lyft apps, exposing him to the Hell Programs^ This enabled Defendants to

27   unlawfully violate his privacy, listening in on all competitive ideas of Plaintiff as Joe, Louis and Does
28
     were no longer in his Life, and there was no other way for Defendants to gain intelligence.

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                                "•' ,                      -,255 -- "
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 1              568.       In a report by the Sacramento Sheriffs Department, it is established that the suspect
 2   who was in possession of the vehicle, borrowed the vehicle from Joe, substantiating Joe, Louis and
 3
     Does unlawfully took possession of the vehicle, forcing Plaintiff to use Uber and Lyft's apps in order
 4
     to expose Plaintiff to the Hell Programs. The only way Plaintiff could obtain part of the Police
 5
     Report, was to legally request a copy from Geico.
 6
 7             569.        The report also establishes Joe, Louis and Does were slandering Plaintiff, mining
 8   Plaintiffs life, causing his friends and family to stay away from Plaintiff. This was an effort to force
 9
     Plaintiff to quit his dreams of changing the world for the better as he was inspired by Steve Jobs, and
10
     others. This was also an attempt to falsely imprison Plaintiff so Defendants can claim the
11
     $1,200,000,000,000 trillion-dollar healthcare opportunity as their own without Plaintiff filing this
12
13   Complaint to claim damages and take back his vision that was gifted to him by God for the people.

14   1ST      SECT      SUB                           SACRAMENTO SHERIFPSDEPARTMENT                              ni:.ruKi nu»u>ci\

                                                           CONttNUATlbM REPORT                                          2&i9-mmm
                                                                                               OAYOFWEEK         TIME
15   OCATtOfiOFINCIDBKT
                                                                                                                 23:36 - 23:44
                                mmmmmio: CA SSBIT ....
                                                   12/30/2918                                  Sun

16   C 496D(A) - Poss Stolen Veh/Ve's/Etc
     idMPlAINANTArtCTIM (UST Flf«T VtCTW IF MORE THAN SJNE)
                Adam
17
       2350 Hours, 12/30/2018 (Sunday): I, Deputy B.                                  1), sppkevrith Gamalierl
18     vvho related the follo-vving in siuhinaiy^:
19
                  Yes. I understand my MOu^da              ri^       speak with you about what is going on.
20                The car is not stolen. The car belohgs tb my Mend josef (JpS^^^                        I live
                  here with him that's M y l pulled iiito die driyeway; Jose curreiitly put if the country with
21                his vwferightnow. He shoiild be returning back hom^^^^ a week. Josef allowed me to use his
                  car while he is gone.
22
                  The guy (Adam                 1) who reported the ciar stolen, does a lot offraudstuff. Adam,
23                was business partners vwth Josef for a long ti^ not anymore; When they broke off their
                  business relationship, Adam stole th^ caf.a^^ hid it from Josef fpr about two years. Josef got;
24                the car back hot too long ago. Josef and Adam h^^^ been going to civil court about the
25                business assets arid the car:

26                You can call Josef tp confinn wM^^                       Jb^fi^ mother is inside Of the house too;
                  She c£m tell ypu I'm not lying.
27
28      End of Statement

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 1           570.    To further establish a preponderance of evidence that Joe, Louis and Does were under

 2   instmction to tortiously interfere and slander Plaintiffs reputation, a suspect Plaintiff had never met,
 3
     stated to the arresting Sherriff s Officer, "The guy ("Plaintiff') who reported the car stolen does a lot
 4
     of fraud stuff... he stole the car and hid it from Josef ("Joe")... Josef got the car back not too long
 5
     ago."
 6
 7           571.    Even more conceming. Plaintiff hasn't been able to press charges, see case Waymo

 8 vs-Uber-Case#3:17-CV-00939-WHA, a former Uber employee states that Defendants have previously
 9
     "targeted govemment officials... work with local networks of contacts that have connection to
10
     police." Pictured on below, an assertion from the Uber employee, claiming the allegations herein,
11
     under penalty of perjury.
12
13                                                                   Jacobs believes that violations ofthe FGI
14        took place and would likely be shovvn through discoverable evidence. Jacobs was aware lhat
15       -Uber^wS^^i^e^

16                       ff,;     |yhc|rMiighit^|e^^                    |costll^f enforcement;;^^^
17               3||t)g|Utl^
18                       f ••     ^atj^hi^                 of ;cbhtai^i^|^s^i?pn^
                 ;a«jlipntiM;i
19
                         %       'ii|lat:ppjiti<^l|^
20
                                  if senior political officials would be willing to push a ride-sharing
21
                 :ag|hd«i-'thp);ugh
22
23           572.    Whereas in this Complaint, Defendants instmct Joe, Louis and Does to proactively
24
     build relationships with local law enforcement, enabling Defendants to request favors at any time, in
25
     particular, pictured on the proceeding paragraphs. Plaintiff argues Defendants are confrolling law
26
     enforcement to suppress his voice, while Defendants continue attacking Plaintiff without being able
27
28   to defend himself, creating the perfect situation to wrongfully arrest him.

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 1             573.      Plaintiff has fried to call the investigating officer regarding the theft of his vehicle
2    over 30 times, to press charges, with no response.
 3
               574.      Pictured below and atop on the next page, are screenshots from Plaintiffs
4
     cellphone provider, proving Plaintiff attempted to press charges for three-months, with no
 5
 6   response from the Sacramento Sherriff s Department.

 7
      Detail for Adam                                          -4664
 8
9     Voice, continued
      Date    Time     Number          Rate    Usage Type                      Origination      Destination      KDn.
10
      3/27    3:12P   877-a^^H         Peak   PlanAllow                        Rancho COR CA    Toil-Free CL      18
11    3/27    4:13P   650-HBHi         Peak   PlanAllow                        Rancho COR CA    San Mateo CA      2
      3/28    7:34P   gi6-^^^H         Peak   PlanAllow                        Rancho COR CA    Sacramento CA     1
12
13   2/13     3:17P   916-87B5115      Peak   PlanAllow                        Sacramento CA    Sacramento CA      3
     2/13     3:39P                    Peak   M2MAII0W                         Saaamento CA     Incoming CL        3
14
     2/13     3:42P   gi6-87B5115      Peak   PlanAllow                        Sacramento CA    Sacramento CA      2
15   2/13     3:43P   gi6-MMi          Peak   PlanAllow                        Sacramento CA    Sacramento CA      6
     2/13     3:54P   916-HHaMi        Peak   PlanAllow                        Sacramento CA    Sacramento CA      3
16
     2/13     4:05P   gi6-87B5522      Peak   PlanAllow                        Sacramento CA    Sacramento CA      1
17
      2/25    1:06P   916-871-5115     Peak   PlanAllow                        Saaamento CA     Sacramento CA      5
18
      2/2S    1:09P   916-4MBI0        Peak   PlanAllow.CallWait               Sacrainento CA   Incoming CL        2
19
     2/28    11:43A   916-871-5522     Peak   PlanAllow                        Sacramento CA    Sacramento CA      2
20
21   1/09     2:54P   916-871-5115     Peak   PlanAllow                        Rocklin CA       Sacramento CA      4

22
     1/14    7:31P    916-871-5115    Peak    PlanAllow                        Rocklin CA       Sacramento CA      5
23
24   1/21    5:34P    916-871-5115    Peak    PlanAllow                        Roseville CA     Sacramento CA      2


25   1/24    1:07A    916-871-5115   Off-Peak NSW                              Sacramento CA    Sacramento CA      7

26
     12/11   6:35A    916-871-5115    Peak    PlanAllow                        Sacramento CA    Sacramento CA      3
27
28   12/12 11:43P     916-871-5115   Off-Peak N&W                              Saaamento CA     Sacramento CA         1



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 1   12/14   6:14P    916-871-5115       Peak   PlanAllow                           Roseville CA    Sacramento CA   1
     12/14   6:15P    916-871-5115       Peak   PlanAllow                           Roseville CA    Sacramento CA   3
 2   12/14   6:17P    916-871-5115       Peak   PlanAllow                           Roseville CA    Sacramento CA   1

 3   12/14   6:17P    916-871-5115       Peak   PlanAllow                           Citrus Hei CA   Sacramento CA   1


4    12/14   6:19P    916-871-5115       Peak   PlanAllow                           Citrus Mei CA   Sacramento CA   4

 5   12/14   6:23P    916-871-5114       Peak   PlanAllow                           Sacramento CA   Sacramento CA   1


 6   12/31   2:27P    916-87»5115        Peak   PlanAllow                           Sacramento CA   Sacramento CA   9


 7   12/31   4:54P    916-87H5383        Peak   PlanAllow                           Sacramento CA   Sacramento CA   1

 8
               575.      Defendants pay for dinners, and provide perks, gifts, and other "incentive," to the
 9
     Police Chief and other police officers.
10
11             576.      Pictured below, Louis takes a photo with a local police officer.

12                          /<^^^^'^. Louis Pritchett
                             •t^'ii-f O Adtnin - August 11, 2017 • Sacramento, CA
13
                            "In the Zone" members you'll be glad to know that I have met the New
14                          Police Cliief Daniel Halin and I'm looking forward to having him come out to
                            one of our group meetings soon.
15                          By the way he did say he will look into it for us.
16
17
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                                                     --     '   • -259- . •
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 1          577.        Pictured below, plain clothed police officers, including the Chief of Police are

 2   attending Louis' meetup group, in which Defendants pay for the dinner that evening.
 3
                              -A^p^'^'i Louis Pritchett
 4                            "^^Af' 0 Admin - August 253; 2017 • Roseville, CA

 5                            And now once again for those who missed all the fun with the Officers from
                              the Chief of Police here It Is.
 6
 7
 8
 9
10
11
12
13
14          578.        Pictured below, Louis' closed group has current and retired police officers and other
15   members of law enforcement.
16
               IN THE ZONE [LYFT
17             UBER]
               S) Closed group
18
                About
19
                Discussion
20              Chats

21              Members

22              Events

                Videos
23
                Photos
24              Files
25
26
27
28

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 1                         H. DEFENDANTS ATTACK THIRD LAUNCH DATE -

2                       PERSONALLY ATTACKING PLAINTIFF AND HIS WIFE
 3
            579.    After Plaintiffs transportation operation was sabotaged, he was devastated.
4
     Plaintiff knew Uber and Lyft were operating in healthcare irresponsibly. The vehicles aren't
•5
     compliant and Defendants lacked wheelchair accessibility. Plaintiff still wanted to provide a safe
 6
 7   healthcare rideshare option, a promise he made to his grandmother before she passed in his younger

 8   years, the only loving person he had in his life. Pictured below. Plaintiffs new business, allows
 9
     Drivers to operate their ovm business much like an Uber and Lyft platform.
10
11
12
13
14
15
16
17
                 start Your Own Rideshare
18              Business Like MN'' ^^d Lyft!
19
                           ; V Set your OWIT pay rate, and invite your own riders.
20
21
22
23
24
25
26
                       OUR CLOUbBASEP; S<^^^^^                                                            REACTJS
27                                  • Here-are a fewcpliipariies who-cilsp uSe.the ReEiclJS lechnolog^^

28

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 1            580.      Pictured belov/, Plaintiffs new software climbed to #3 out of 11,300,000 million

2 websites on Google for the keywords, "Rideshare Software," where Uber and Lyft were nowhere in
 3
     sight.
4
              581.      iHug's driver "app climbed to #1 in the entire Apple App Store, shooting to over
 5
6    67,000 impressions, outcompetirig Uber and Lyft's driver apps.

 7
 8      67,729       Impressions

9
        4K
10
11
12                     I                                                                                   Impressions
                                                                                                                  3.
13
14
15
16
17
18
                                                                                       3/13/19          5/19/19
19
20
21                     HL. Plaintiff Alleges Defendants Used Psychological Warfare Tactics

22                                        on Plaintiff and his Wife Pre-IPO

23            582.      As described by Jacobs in his testimony, see case Waymo-vs-Uber-Case#3:I7-cv
24
     00939-WHA in 20l7. Uber has created a "military-like operation," including but not limited to Global
25
     Intelligence (Intel) Teams, Threat Operations (ThreatOps) Teams, Strategic Services Group (SSG)
26
27   Teams, Human Intelligence Collectiori (HUMINT) Teams, Marketplace Analytics (MA) Teams, and

28   Counter Intelligence Teams. Plaintiff alleges Uber has a "PsychOps Team," ("Secret Agents") within

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 1   its ThreatOps team, that engages in Psychological Warfare taictics on competition that show

 2 resilience. On the actual battlefield, psychological warfare is used to obtain confessions, information,
 3
     surrender, or defection by breaking the morale of enemy fighters.
4
             583.     Plaintiff alleges Uber's PsychOps tearri is ran by a few elite ex-CIA field operatives,
 5
     as Jacobs confirmed in his testimony, Uber hires elite ex-CIA field operatives, see case Waymo-vs-
 6
 7   Uber-Case#3:17-cv00939-WHA. The two phases described below is a text book psychological

 8 warfare tactic to break down the morale of Plaintiff and his Wife.
 9
             584.     Phase 1: The elite ex-CIA operatives instmct Joe, Louis and Does to slander Plaintiff
10
     of fraud, in particular, Joe called all iHug investors, claiming Plaintiff stole millions of dollars. Louis
11
     met in person with iHug Drivers claiming Plaintiff is a fraud.
12
13           585.     Result 1: This sets in motion multiple investigations, and litigations.

14 Attomeys then contact Plaintiff, claiming he's a fraud, and his actions can easily be federal securities
15   violations.
16
             586.     Phase 2: After months of Plaintiff and his Wife "hearing" from "friends, family,
17
     investors, and Attomeys" they are "frauds," and "con artists," the elite ex-CIA operatives use
18
19   Defendants Hell Programs, geo-matching Plaintiffs Wife's Lyft and Uber accounts, to her friend's

20   accounts, who also use the Uber and Lyft app.
21           587.     It's alleged the elite ex-CIA operative field agent then contacts and threatens
22
     Plaintiffs Wife's friends, in particular. Shelly, who uses Lyft and Uber, and controls her.
23
             588.     The elite ex-CIA operative field agent instructs Shelly to tell Plaintiffs Wife to tell
24
25   her husband, the Plaintiff, to watch the #FyreFest Netflix documentary.

26           589.     The intention to have Plaintiff and his Wife watch the Netflix production, is to induce
27   them into a state of panic, questioning the accusations offraud,and create false self-doubt.
28
             590.     This maneuver is a despicable and vile tactic to break down Plaintiff and his Wife
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 1   mentally. His Wife broke down into tears again, as Defendants tactics eroded her morale.

2           591.     Result 2: https://vyww.dropbox.com/s/cqprkh6llcxma9i/enoughisenough.mov?dl=0
 3
     Plaintiffs Wife mentally breaks down again, causing severe emotional distress and mental anguish.
4
     Plaintiffs Wife endometriosis flares up from the stress, causing severe pain, again. This caused
 5
     Plaintiffs Wife to want to commit suicide from the pain of her endometriosis, and the continued
6
7    stress of feeling like her husband, the Plaintiff was going to be falsely arrested for fraud.

 8          592.     Pictured below on the left and right, text messages between Shelly and
9
     Plaintiffs Wife confirming thefrendingof #FyreFest.
10
11                                                                              Micheliel                                       Done

12                                                                      - This IS a chat preview •
                                                                                                                                    >
                                                                         Go to latest messages
13                                                                                             I BMCfsftamasttt


14
15         onig itsiamazing

16
17
18
19                                                                                              LSBdt^(liwflxMMca«nd13,3Qaottttn»
                                                                                            ,ntacfartvtM«tb Xa» twn7


20        ! ind|an guy? brown? fat?

21
22
23                 say no

24
25                                                                      i-:Ba^|haha!!iS^

26                                                                                     FEB 21, 8:21 PM

          i Ihc    ifsinbt^^
27
28                    ) '(^Message
                                                                                bnan^^few^^. warn' Nirtnf i i|
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                       ;       ••'   :^vV----'"^--:,.'-,'"••^264- .                      ^ '          ,
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 1           593.           Pictured below on the left and right, an email exchange between Plaintiff and one of

 2   his investors Attomeys. Plaintiff was fending off the Attomeys claims he committed securities fraud,
 3
     when in fact, it was a private transaction, and the investment made was sabotaged by Defendants
 4
     through all violations listed herein. Plaintiff has yet to receive a Complaint from this attomey. This
 5
     substantiates Defendants are engaging in psychological warfare tactics and using them on innocent
 6
 7   civilians.

 8
                                                                            .Ill LTE S D '                                               • .iGl LTE HD'
 9
10                                                   S           13          B                                              S U B
11
                                                     Feb 2

12
                                                                                                  There's nothing to settle^ I will await your
13         Dear Adam,
                                                                                                  suit and official claims so I can motion the
                                                                                                  court for dismissal and provide evidence to
14         Thank you for sending over. From the
                                                                                                  grant the motion.
           documents I have seen, ^ ^ ^ ^ ^ R s .
15         payment to you of $5,000 iii exchange for
                                                                                                  Furthermore, I am meeting with an attorney
           ownership in your company is an easy case
                                                                                                  in San Francisco at
16         for securities fraud.
                                                                                                 I H I ^ P H B for legal counsel, they have an
17                                                                                                extreme amount of experience and I'm sure
           I do not have a lot of time for back and
                                                                                                  will provide the proper defense if needed.
           forth, so 1 will not respond to every email on
18         this case. That said -1 would suggest that
                                                                                                  You're throwing around serious claims
           you retain a lawyer tp represent you as soon
19                                                                                                without merit. I know it's easy to allege, but
           as possible.
                                                                                                  when you see my case which has grown to
20                                                                                                over 200+ pages, it's going to be very
           Best regards,                  .
                                                                                                  difficult as you have a higher standard of
21                                                                                                proof and also because fraud never took
                                                                                                  place.
22
                                                                                                  Prepare foi' a countei-suit if ypu pursue, as I
23                                                                                                have clear evidence and a witness to prove
           ConMenVelity Note: This e-mail and any attachmenlrto it ccntains
                                                                                                  your client wrecklessly and intentionally
24         cpnfldenttal information intended only for the use of the liidiviciual(s) or
                                                                                                  inflicted emotional damage and distress.
           entity named in the e-maii, If you are not the Intended recipient, or the

25         employes,or agent responsible for delivering It to die intended recipient;

           reading il Is strictly prohibited. If you have received this e-mall in error
26         please immediately retum It to; the sender and delete It from your

           system. Thanic you.
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28

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                                                                                          -265 - - •       •
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 1           H2. Fourth Attempt to Wrongfully Imprison Plaintiff - Receiving Stolen Property

2             594.   Plaintiff sought out Sales Executives to help sell his new Rideshare Software.
 3
              595.   Plaintiff alleges, Nicole Berry man ("Nicole") was a mole planted by Defendants,
 4
     much like Joe, Louis and Does.
 5
              596.   Nicole boasted that she personally knew "high level" Uber and Lyft Executives, as she
 6
 7 used to run Defendants Driver background checks.
 8            597.   Nicole's behavior mimicked Joe, Louis and Does, asking Plaintiff an insurmountable
 9
     amount of questions unrelated to the sales process, including but not limited to. Plaintiffs intellectual
10
     property, pitch decks, future projections, and business execution strategies.
11
              598.   While Defendants were attempting to falsely imprison Plaintiff of grand theft auto,
12
13   investor fraud, and wage theft, they executed on a fourth attempt to frame Plaintiff of receiving stolen

14 property. Nicole sends Plaintiff, unsolicited "books of business," she unlawfully extracted from her
15   employer, "stolen property," before she resigned from her employer.
16
             599.    The books of business contained thousands of corporate customers. This was another
17
     attempt by Defendants, toframePlaintiff for "possession of stolen property." Plaintiff kept Nicole's
18
19   email for record, and never contacted or used the corporate customers.

20           600.    This substEUitiates Defendants are continuing to wrongfiilly prosecute Plaintiff in order
21   to wrongfully imprison him, so they can claim and utilize Plaintiffs $1,200,000,000,000 trillion-
22
     dollar healthcare opportunity that belongs to the people, not the Defendants.
23
     ///                                          -      -• -            -
24
25   ///

26   ///

27   ///
28
     ///

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 1          601.     Pictured below, Nicole's email to Plaintiff containing the unsolicited corporate

2    customers.
3
4      Hey Adam,/• „r-                      "'-'-^^'•:'''[''                " r-..--''

 5     Here are thjs 3 books of business that you can look over and distribute. /\s mentioned, theire are accpunts:jn here
6      that are not heeithcare relatisd that will heed to^,i^

 7     I have a few more books that I can pull when we run through these accounte and make progress; I've held on to
       some larger accounts for yourself and l to y^^     rhe khdw what these look like first and ifs something that ybu
 8     wahttouse.                            •,|-:\;^-•;'^,•/\^,-;V;-;:^
9
       Best.regards,-'              -   ;;\ >'r:;'.;//•-::\-'-;;r--j.>;";;;^^'/^             ' .
10
       Nicole--'                                                                                              j. '
11
12     3 Attachments
13
14
15
16
17
18
            602.     Plaintiff begins to execute on another extension of his $25,800,000,000,000 frillion
19
     dollar digital Ai healthcare system, in particular, a revolutionary new healthcare vehicle.
20
21          603.     Beyond the protection afforded by the confidentiality agreement. Plaintiff took further

22   steps to ensure the security of his proprietary information, in particular, he had Nicole sign a sfrict

23   non-disclosure agreemerit before proceeding with the disclosure of his intellectual property.
24
            604.     In the same unlawful fashion as Louis, Joe, and Does, Nicole suddenly
25
     misappropriates Plaintiff s intellectual property, by giving Defendants.her login distails, exposing
26
27   Plaintiffs new sketches, schematics, and descriptions of a patent pending revolutionary healthcare

28   vehicle, that's poised to provide the "world's sa:fest healthcare ride."

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 1          605.     Pictured below, one of iHug's slides, with plans to partner with Waymo, a self

2    driving technology development company, Apple and Tesla.
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                                                          - 268 - .
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 I           606.        Pictured below, one of iHug's slides from an expansion plan of Plaintiffs

2    $25,800,000,000,000 frillion-dollar new digital Ai healthcare system, a new revolutionary healthcare
 3
     vehicle is patent pending.
4
 5
 6
 7
 8
 9
10                                        World Class Pesign
11       From a physics,.mechanical„ practical, operational, engineering
12     and design aspect, iHug's IP will deliver the safest ride in the world.
13
             607.        After Nicole leamed Plaintiff wanted to pitch Uber and Lyft, Lyft instmcted
14
     Dan Trigub ("Dan") to suddenly "i-esign" from Lyft's healthcare team, and join Uber's healthcare
15
16   team, to sabotage the poteritial partnership with Uber. Whereas case law analysis, see case Lyft-vs-

17   Travis VanderZanden-Case# CGC-14-542554, establishes John, declares under penalty of perjury,
18   had serious concems regarding his former employee, leaving to work with Uber. Whereas John had
19
     no objection to Dan leaving for a similar position at Uber, substantiating he was planted by Lyft.
20
     Pictured below, an assertion from case, Lyft-vs-Travis VanderZanden-Case# CGC-14-542554.
21
22    13            5.       I was concemed about any discussions VanderZandieh might have with Uber,
23     14 given lhat VanderZandeii had been a Lyfl senior executivc(Chief Operi-iting OfTicer), had
24    15 already announced his resignation; and Uber yvas Lyft's primarj'com

25
             608.        Whereas, in this case, Lyft refused to sign a non-disclosure Agreement with iHug, as it
26
     would expose them to liability for the misappropriation of Plaintiff s $1,200,000,000,000 trillion-
27
28   dollar healthcare opportunity, and shift liability from Nicole to Lyft, substantiating Plaintiffs

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                                                          - 269 -
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 1   allegations stated throughout all proceeding paragraphs of this Complaint.

2            609.     After Dan signed the NDA with iHug ori behalf of Uber, it set legal grounds to hold
 3
     Uber solely liable for any breach, whereas Lyft refused to sign the NDA so they would not be held
4
     liable. Dan would then leak details to John, Ben, Logan, and other Lyft Executives.
 5
 6           610.     On Febmary 19, 2019, Plaintiff and Nicole pitched Dan regarding Plaintiffs

 7 intellectual property execution strategies. While in the heat of corporate espionage. Plaintiff alleges
 8 Dan allowed Lyft Executives to listen in on the call. It was,stated that in the event Uber partners with
9
     iHug, and utilizes iHug's intellectual property it would unravel all current healthcare partnerships of
10
     Lyft, as healthcare Executives want the safest and most compliant transportation option possible.
11
             611.     Pictured below, one slide from Plaintiffs intellectual property slide deck.
12
13
14
15                                                            ©
16
17         The partner who utilizes the LP. will start to undo all competitor
             healthcare partnerships and absorb NEMT cash contracts.
18
19               Government and insurance providers want the safest and
                 lowest liability ride option available for their customers.
20
21
22
23
24                                 Uber                    T = 5Li=i'

25
26
27
28

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 1           612.     Indisputable circumstantial evidence establishes Lyft used Nicole, Dan and Hell

 2    Programs to suppress iHug, allowing Lyft partners with Waymo ahead of iHug, to block Plaintiff
                                                                          '•t
 3
      from partnering, as it would uriravel ,Uber and Lyft's partnership in healthcare.
 4
 5
 6
 7
 8
                    Waymo and Lyft partner to
 9                  scale self-driving robotaxi
1.0                 service in Phoenix
11
12                  K i r s t e n K o r o s ' e c @kirstenkorosec / 2 months ago

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 1                       H3. Fifth Attempt to Wrongfully Imprison Plaintiff - Assault

2           613.     On December 6, 20] S, 4 days before. Plaintiffs Vehicle is stolen, Uber and Lyft are
3
     investigated by the SEC for filing in private the same day. Uber, Lyft and Andreesen scramble to
4
     cover up. Plaintiff was a primary target, as he was the pioneer of the $1,200,000,000,000 trillion-
5
     dollar healthcare opportunity.
6
 7          614.     March 2, 2019 at approximately 2:00AM, 10 days after. Defendants leamed Plaintiff

8 possessed intellectual property that could unravel their healthcare partnerships if he partnered with
9
     Apple, Waymo, or Tesla, and 27 days from IPO, Lyft maliciously used the Hell Programs to frack
10
     Plaintiff and his Wife's whereabouts.
11
            615.     While under corporate attack, undue duress, and mental anguish. Plaintiff and his Wife
12
13   moved in with a friend. Amy Biddle ("Amy") a Dignity Health Executive.

14          616.     Absolutely nobody knew the whereabouts of Plaintiff and his Wife, with the
15   exception of a small circle offriends,who had no connection with Defendants.
16
            617.     After Plaintiff and his Wife spend a month with Amy, and the circle offriendsby
17
     going to events, and trying to live a normal life while under corporate attack.
18
19          618.     Plaintiff and his Wife do kind things for Amy, being polite and good roommates,

20   including building newly purchased fumiture for Amy.
21          619.     Pictured on the next page on the left^ Plaintiff making sure he's not too loud while
22
     Amy slept. Plaintiff was investigating Defendants prior cases, complaints, and scandals. Plaintiff also
23
     wrote patents, drafted up more schematics for his revolutionary new healthcare vehicle.
24
25          620.     Pictured on the next page on the right. Plaintiff spent all night building Amy's

26   Armoire. Plaintiff and his Wife wanted to surprise Amy for allowing them to be roommates as a
27   result of Defendants harassing them at their home using Hell Programs. Plaintiff and his Wife did
28
     nothing but show Amy, love, kindness and friendship.
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 1
 2                             Amy >

                         Mon, Feb 4.10:23 PM
 3
 4
 5
                                          lllwn'-iTi?^- •-•' T "
 6          Aww you're good. I'm a heavy^^ 'j
            slefipiei- but thank you! ^ <
 7
                             ..<0O'kay,'just checking.
 8
 9          I hope you had a;greatMonday!;S
            See you tomorrow 0       .     i
10
                        " Awe tHqrik'v'buiiYou t6o,'teatA
1.1                     '^ork day frqiVi- honyh 'Hsi'M'

12          Yeah 1 didn't work too hard...
            but that's why I bust my butt
13          other days. So I can have more
            freedom ©
14
15
16
           1 ^ • ^ ^ - ^ViMessage"
17
18
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27
28

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                                                                   -273 -
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 I          621.     Pictured below, the group offriendsbefore Uber's ThreatOps, PsychOps, and/or

 2   Benchmark Guys, called and threatened the group of friends after using Hell Programs on Plaintiff to
 3
     find the location of his Wife. Pictured below from left to right. Amy, Plaintiff, Michelle, Plaintiffs
4                                           •   -- -   t   '   i   :   .   •''   '

     Wife, Shawn, and Chelsea. All who were coiripromised through the Lyft and Uber apps.
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                                                               '•"-274-^:            •
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 1              622.     Plaintiffs roommate siadderily started acting erratic, and violent. A similar behavior to

 2   Joe. Plaintiff alleges. Defendants used Hell Programs, geo-matching Plaintiffs Wife to her
 3
     roommates Lyft Account, allowing Lyft access to Amy's account details.
 4
                623.   Plaintiff alleges Uber's ThreatOps, PsychOps, and/or Benchmark Guys then threaten
 5
     Amy, forcing her to cause undue financial harm on Plaihtiff, forcing Plaintiff and his Wife into the
 6
 7   streets.

 8              624.   This would prevent Plaintiff from executing on his intellectual property with Apple,
 9
     Waymo or Tesla. This occurred after Joe sabotaged the vehicle, leaving Plaintiff with no
10
     transportation, and no place to live.
11
                625.   Its substantiated the Hell Programs exist and violates human privacy, and even more
12
13   conceming. National Security.

14              626.   Pictured below, the roommate suddenly states rent is increasing after Plaintiff and his
15   Wife agreed on the rent amount, in an attempt to misappropriate cash, a similar pattem to Joe.
16
                                                                            a dog. He would like an extra
17
                                                                          . $300/month. He's not asking
18                                 2 People >                               for any pet deposit. I told him I
                                                                            needed to talk it over vyith you
19                                iMessage                                i two. I didn't want to tell him you
                                Monday 2:46 PfvV
20                                                                        i already moved in so he doesn't
                 Amy 1
                                                                            know that part yet. This would
21                                                                        f< be effective on 3/1.1 only
                 Hi roomies!
22               So I have some bad news. Just'                           I signed a 6 month lease with
                 got off the phone vyith my                               ' month to month terms after so
23                                                                          that Is vvhy he is able to charge
                 landlord. He wants to raise the
24               rent for you two to move in with                           the extra. I would like for you

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                                                     "•    -275 -
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 1          627.     Pictured below. Amy unlawfully signs for an attomey and/or Landlord to force
2    Plaintiff and his Wife into the streets, a clear violation of Califomia Penal Code 470 PC - Forgery.
 3
4        dedudtoiisfiwnilw dcf^                              leniiirtiif a n ^    [Gditbrnla CivH Code Seciid^^^

 5
 6       Ifyoufoilto vacate aiiii deliver ^
 7
         proceeiini^ will be initiate eiiiiii^                                                      rc«»vei^iny past
 8
 9       against you wili appear iw ycHw cicdit re
10       Signed:
11
12
        Ovmci            WAttdinrii^ for tfl                                        Dale
13
14
            628.     Pictured below, 1 day later. Amy atternpted to have FedEx retract the illegal
15
     document.
16
17
        dcductioiisftomUwdq^
18
19
20      If youftilto vactue and ddiwcr                 oftte rciiial prop^                     <iatey»yei 1
21      proceedings w«l be i n i ^                                                                recover any past
22       rem owed, and|K)ssi^^^
         agiunrt^uwUlBpf?^^
23
24
         Signed:
25
26
27       6w{iei/Managei/Attomi^ for^^^I^

28

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 1          629.     In yet another vile attempt to wrongfully arrest and imprison Plaintiff, deport his Wife,

2    and min iHug so the Defendants can mn with Plaintiffs $1,200,000,000,000 trillion-dollar healthcare
 3
     opportunity pre-IPO, the same roommate who was compromised, alleged Plaintiff assaulted her at the
4
     house, in the same hour she was not home.
 5
6           630.     Plaintiff, his Wife and a friend were home peacefully that same hour, no charges were

 7 pressed, police escorted the roommate off the property that night after she showed up an hour after
 8 she claimed the assault took place.
9
            631.     Plaintiff and his Wife have saved photographic evidence, and even law enforcement
10
     testimony, indisputably proving the assault never took place.
11
            632.     Whereas Plaintiff was behind his computer helping his friend build his business
12
13   website for a limousine and mobile app. Continuing to establish as a matter of fact. Plaintiffs good

14 will and business acumen always aims to empower others by helping his friend with his website.
15          633.     On March 1, 2019 at approximately 11:10PM, Plaintiff retumed Jesse call. The call
16
     lasted approximately 7 minutes. Jesse needed Plaintiff to update his website and talk about a mobile
17
     app that he would like Plaintiff to develop. Pictured below, Plaintiffs friend of 10 years calls
18
19   Plaintiff. Plaintiff retums his call to scheduling a meeting to edit his friends' website.

20
21
22
23                           message:       •jcall'    -WhatsApp                     .pay

24
25                           Yesterday
                             11:10.PM     Outgoing Call                       7 nriinutes
26
27
28

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 1          634.     On March 1, 2019 at approximately 11:21PM, 11 minutes later, Jesse approached

2 the property, where Plaintiff greeted him. They proceeded to Plaintiffs room where his Wife was
3
     sitting in bed messaging herfriendspeacefully.
4
            635.     Plaintiff proceeded to log into his iMac. They chatted and discussed a new mobile app
5
6 Plaintiff was to design for Jesse until approximately 11:34PM, approximately 13 minutes later.
7           636.     At approximately 11:35PM, 1 minute later. Plaintiff pulled up his email to find the

8 edit requests from Jesse.
9
            637.     Plaintiff was sitting at his desk, eating cereal, while editing Jesse's website, while his
10
     Wife was on her iPhone still trying to stay cormected tofriendsdespite the corporate attack's.
11
            638.     Jesse was sitting next to Plaintiff, while Plaintiff peacefully looked up code for HTML
12
13   form submissions, logging into AWS, etc. to update the website, etc.,

14          639.      Within an hour, Jesse said he was going to take a quick nap while Plaintiff worked
15   on his website as he had a long day and had to drive home later. Jesse fell back, and napped
16
     peacefully. Plaintiffs Wife made Plaintiff smile and took a photo to cheer him up, despite the
17
     onslaught of attacks he was sustaining, while fighting back for his Wife, and for the people in
18
19 healthcare.
20
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 1          640.     Plaintiffs Wife and her friend at the time, who was later compromised by Defendants,

2    were messaging each other while she sat in bed peacefully.in the same room as Plaintiff, and
 3
     Plaintiffs friend who was napping on the bed. Around this time is when the compromised roommate
4
     claimed Plaintiff violated her. Electronic, circumstantial, and direct evidence establishes Plaintiff is
 5
     innocent of these corporate attacks, that were meant to arrest him that night if his Wife and his friend
 6
 7 Jesse were not with him. Plaintiff was innocently and peacefully coding a new app and website for
 8 his friend, so his friend can provide a limousine experience to Sacramento residents.
9
10                                2:10                                          , .III '9' MD'

11
12
                                                  Michelle
13
                                ;Ypu'r^:sO;right|>^
14
15                                                     Today 1:17 AM,

16
17
                                 We are back at the hotel               ^
18
19
20
21                               Lpve^yOu babe!!!
22
23
                                                                                    Delivered
24
25                                                        Message
26
27
28

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                                              „••:•- 'V      -279-
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 1                      641.                Pictured below. Plaintiff s Wife insisted Plaintiff take screenshots of his computer

 2   history and time stamps proving Plaintiff was peacefully f.yorking within Amazon Web Services
 3
     uploading new edited files for his business friend who owns a limousine wine tour company, during
 4
     the alleged assault
 5
                        Services ^         fliisourco   Groups -     >
 6
           .AniRzoo s a       >       s8ciBmentowinotoura.com,

 7
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           Q      Typ« a prefix end pfeffa Entsir to saarch, PmsR ESC to dear.

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           i ]     Namo^                                                                                    Uut modified .                                 StoraQO d o s s '

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15         (7!     1^ about.usiitinl                                                                        Mar 2.201S 12:34:43 AM Gm-OHOO      30,6 KB    Standanj

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           O      ffi   eonKKt.htinl                                                                        Mar 2. 2019 12:34:45 AM QUT-0800    14,6 KB    Standard


18         C]      D oontact_«nMD.php                                                                       t / s 2.2019 I2:34S3AM QUT-OSOO     1.3 KB     Standard




19                      642.                Time,stamps of website history of Plaintiff behind his iMac on AWS, and surfing the
20
     websites, duririg the same time the rooiiimate claimed PlairitifiE'assaulted her.
21
22
23
24
25
26                Q          1:49 AM                    $        S3 Management Console s3.con3ole.aw8.amazon.CQm


27     I          D          1:48 AM                    ^        S3 Management Console 83.console.aw8.amazon.com

28     I          D          1:48 AM                    ^        S3 Management Console s3.eonsole.aw3.amawjn.com


            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                                         , •           - :. - 2 8 0 ' - f       ,v-- '             ; •'• -,-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 368 of 825
 1              643.    Pictured below and on the next page, more time stamps of website history of Plaintiff

 2 behind his iMac on AWS, during the time the roommate claimed Plaintiff violated her.
 3
• 4
 5
 6
            ':\ O      :24 AM     . 41 rtunes Connect       ituiiesconn60tiippte.com

 7
 8          1 •        2:42 AM           S e a r e t i r e s i f l H H B H H H H - i H u g Man mail.gQasle.com


 9          I°         ZA} AM


                       2:41 AM
                                         Amador County Wineries amadorwine.e»m

                                         Satfamento Wine Tours • Exclusive Scenic Romantic and Fun W-|ne Tours
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11
            I •        2:39 AM           Kabiannos espanol •Googte Search, vin«w.gooele.com'



12
            I •        2:36 AM           Sacramento'Wine Tours .- Exclusive Scenic Romantic and Fun Wine Tours



13          i°         2:36 AM     BS    My Forni www. 123fonnbuilder.eom


            I •        2:35 AM           Search results • a d H H H ^ H H H j j - i H u g Mail mail.google.(»)m
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            I •
            i
                       2:36 AM           Sacramento Wine Tours - Exclusive Scenic Romantic and Fun Wine T(Mrs saaj
            s
                       2:30 AM           Sacrantento Wine Tours - Exclusive Scenic Romantic and Fun Wine Tours file:
17          I°         2:23 AM           Search r e s u l t s - a d a m @ H ^ ^ | ^ | | B H i B mail.googte.aim
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                       2:16AM            S a c r s ^ ^ H ^ ^ ^ ^ ^ ^ ^ ^ ^ ^ ^ ^ ^ B m a n t l c and Fun Wii
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                       20TAM       lil   AWS.Managel
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                       2:07 AM     0     Arnaimcom Sign In vnmamazon.com
24
            !°         2:07 AM     1^ : t n l x » c ( ^ ^ ^ ^ ^ ^ ^ ^ ^ ^ ^ H i - I H u g Mail maii,google.com
25          I •        2:07 AM     ggs t n b o x ^ ^ ^ ^ ^ ^ ^ ^ ^ ^ ^ ^ ^ - I H u g Mall mail.google.corn
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27
28          \°         2:06 AM     iU    Redir»:t   www.123fonTitiuilderxom


            i •
             Adam John M a c k i n t o s h — v s — L y f t , Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence, B i l l o f R i g h t s , and C i v i l
                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                                           -281 - ,:
          Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 369 of 825
 1
 2
 3
     Yesterday - Friday, March 1,2019
 4
 5   •      11:52 PM

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21   •      11;36PM                                                                 m    www.indee€l.(»m

22   O      11:36 PM                                                               «heafth.c9m • IHug Mail mail.g009le.com
23
     •      11:36 PM                                                               googte.com
24
     •      11:35 PM                                                                IHug Mail mail.g009te.com
25
26
27
28

              Adam John Mackintosh-—vs—Lyft, Uber, A;ndreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
         Complaint for Infringement on Our God Giveri. Right, to Lifti, Declaration of Independence, Bill ofRights, and Civil
                        Rights, American Disabilitv Act, ^iifadetSecrk Misappropriation, Unjust Enrichment.
                                            CCM^CC:':CMC:-:-CCH
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 370 of 825
 1          644.     On March 2, 2019 at approximately 1:25 AM, 1 hour later. Plaintifffinishedthe

 2 work. He then walked Jesse outside the front door. While <they were standing in the front door way of
 3
     the Property, the roommate approaii:hed the Property; She walked past Jesse and Plaintiff through the
 4
     front door and into her room according to Plaintiff s Wife who heard her close the bedroom door
5
     down the hall. While the roommate walked passed the Plaintiff and Jesse, no interaction took place
 6
 1   between anyone.

 8          645.     After Jesse left, Plaintiff proceeded to his bedroom after locking the front door. While
9
     Plaintiff continued packing, as the roommate was forcing Plaintiff and his Wife into the streets.
10
     Plaintiff Wife heard a banging on the front door. Plaintiff looked out the front window and saw two
11
12 police officers. They began speaking with the roommate.
13
14
15
16
17
18
19
20
21
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28

            Adam John Mackintosh—ys-r—Lyft, Oljer, Andreessen, Joe, John, Loiiis, Jerry, Logari, Ben, and Does
       Complaint for Infringement on OiirGod Given Right to Life,. Declaration oflndependence. Bill ofRights, and Civil
                      Rights, Americari Disability Act, Trade Secret Misappropriation, Unjust Enrichment
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        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 371 of 825
 1          646.     On March 2, 2019 at approximately 1:40AM, 15 minutes later. Officer Fremgem

2    knocked on Plaintiffs bedroom door stating, "Sacramento Police Department, open up." Plaintiff
                                                  ,                  .Vi,-'.-
3
     proceeded to unlock the bedroom door cooperating with the officer's request to open the door.
4
5           647.     Officer Fremgem, badge #1003, asked Plaintiff and his Wife if they knew why he is at

6 the Property. They respectfully answered, "we have no idea." Officer Fremgem stated the roommate
7 claimed there was soirie sort pf argument going on tonight, and asked if Plaintiff grabbed or pushed
8
     the roommate tonight, further stating she claimed Plaintiff grabbed and pushed her. Plaintiff gave his
9
     statement, "/ have been sitting here on my iMac the whole night My friend Just left, I didn't even talk
10
     to the roommate. She just walked to her room. She seriously said that?"
11
12          648.     After Officer Fremgem's professional evaluation of the situation, and after listening to

13   both sides of the story, he tums to Plaintiff s Wife and states "We're not doing anything about him
14
     (referring to Plaintiff). Officer Freegmen's statement:
15
     https://www.dropbox.eom/s/rp9uetvwuim2a58/March22019 1 36AM roommate called police
16
            649.     Pictured below, the roommate completely changed and betrayed Plaintiffs Wife,
17
     while slandering them to a circle of friends, claiming similar allegation Joe, Louis and Does made.
18
19   There is no relationship between the circle offriendsand Joe, Louis and Does, substantiating a

20   common dominator. Defendants PsychOps team, or similar operation at Defendants H.Q. exists.
21
                                           Other home. I'm the one that
22                                         was violated last night. I'm the '^
                                           one who stayed at a hotel last i
23                                         night. I have barely stayed at. '
                                           my house for the past two , i
24                                         weeks because of these con \
                                           artists.'                "        /
25
26
                                                                                      IN
                                                      f l e x t Message
27
                                                      ^^^^^^
28

            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 372 of 825
 I          650.        Before Defendants used Hell Programs to threaten the circle offriendsof Plaintiff

 2   and his Wife, claiming they are frauds and con artists:
 3
 4
 5
 6
 7
 8
 9
10
            651.        After Defendants used Hell Programs, threatening Plaintiffs Wife's friends tuming
11
     them, and using them as tools in a series of corporate attacks.
12
13
                                                                          <
14
                                                                                                 Shawn >
15
16                                                                             Adam,^you and your wife have
                                                                               engaged in a number of
17
                                                                               questionable actions. I maintain
18                                                                            .my semblance of life by not
19                                                                             getting involved with those
                                                                               who are questionable and
20                                      •'ir'5>*J«''.'-
                                                          •*:f.-ll
                                                                               chose moving on instead.
21                                                                             Siffiply put, it's not worth my
22
                                                                               time. I Sbn't use Facebook, and
                                                                               outside of those who have
23                                                                            "^already been blocked from
24                                                                             everything, no one is aware I
                                                                               even know you. Therefore,
25
                                                                               good luck and I R6p§ all goes
26                                                                             well'for you.
27              Angle

                PLEASE DO NOT CONTACT
28              ME!

            Adam John Mackintosh—vs—Lyft, Uber,, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 373 of 825
 1          652.     Defendants compromised the roommate tb force Plaintiffs Wife into the street

2    while Plaintiff was away working. The roomriiate brought hier ex-boyfriend to threaten Plaintiffs
3
     Wife. Voice evidence of Plaintiff s Wife after being threatened, she broke down yet again:
4
     https://www.dr6pbox.cc)m/s/ng6iiRl6q569i3xv/alanna crying acts by defendants.mp3?dl-0
 5
6           653.     Pictured below. Plaintiff s Wife was emotionally drained, and didn't want to take a

7 picture. Plaintiff took a picture to show the Honorable Judge the damages Defendants are inflicting
 8 on his Wife to tamper and threaten a witness, a clear violation of 18 U.S. Code § 1510. Obstmction of
9
     criminal investigations (a) Whoever willfully endeavors by means of bribei-y to obsfruct, delay, or
10
     prevent the communication of information relating to a violation of any criminal statute of the United
11
     States by any person to a criminal investigator shall be fined under this title, or imprisoned not more
12
13   than five years, or both. Its alleged Defendants engaged in vile attacks pre-IPO as PlaintifFs Wife is

14 a witness, and they were attempting to cover up all the wrongdoing.
15
16
17
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        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 374 of 825
 1          654.     Plaintiff still cannot obtain a Police report to press charges against the roommate for

 2 reporting a false crime to police officers. As similar case to the Grand Theft Auto case, where police
 3
     are not responding, and Plaintiff cannot obtain copies of the police report to press charges.
 4
            655.     Police were called multiple times, while Plaintiff and his Wife were
 5
 6 under corporate attack from Defendants, attempting to wrongfully imprison Plaintiff so Defendants
 7 can run with Plaintiffs $1,200,000,000,000 trillion-dollar healthcare opportunity, and his
 8 $25,800,000,000,000 frillion-dollar new digital Ai healthcare system particulars pre-IPO.
 9
            656.     The healthcare opportunity consisted of patent books of a future that would leap
10
     civilization into the automation era, out of the technological era, enriching every human life.
11
            657.     Pictured below, the numerous times Plaintiffs Wife had to call the police as she and
12
13   her husband were ferociously under corporate attack, before Defendants IPO to wrongfully imprison

14 Plaintiff and deport his Wife and run with Plaintiffs corporate secrets.
15
16
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            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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.1          658.     In yet another act of corporate espionage using the Hell Programs, Plaintiff privately

 2 disclosed to his Wife and the compromised friend, he wanted to partner with Kim Kardashian to
 3
     promote iHug's services.
 4
            659.     Approximately 3 months later, Lyft announces a partnership with Kim Kardashian,
 5
 6 ("Kim"), establishing Defendants used the Hell Programs to infiltrate another friend of Plaintiff s
 7 Wife.
 8          660.     Pictured below, Lyft and Kim partner.
 9
                 POLITICS     06.-13.'20l9 05:28 pm EJ i Updated 2 fisys ago
10
11
                 Kim Kardashian Announces Lyft Ride-
12               Sliare Program To Reduce Recidivism
                 Kim K. was back at the White House on Thursday as she continues her criminal
13              justice reform efforts.
14
15
16
17
18
19
20
21          661.     While Plaintiff and his Wife were urider duress arid corporate attack. Defendants, Joe,
22
     Louis, and Does move onto their next victim, gathering intel to suppress competition in healthcare
23
     transportation, while receiving cash incentive from Defendants.
24
25          662.     Pictured on the next page atop on the left, Joe states Empathy is a small company,

26   only months old, proving Joe routinely infiltrates, and sabotages Defendants competition.
27
            663.     Subst2mtiating Joe, Jerry, Louis and Does prey on startups to Suppress competition for
28
     Defendants.       '    •-                                            -
            Adarii John Mackintoshie^vs-r^Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                                                                  -288 -
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 1          664.     Pictured below on the right, Joe was named VP of Operations at Empathy

2 Transportation, a competitor to Defendants.                        •!
3
            665.     Plaintiff argues, there are tens of thousands of Defendant drivers who conduct
4
     themselves in this manner, who are paid incentive from Defendants.
5
6
7
8                         Joe Acebedo > '


9         Yeah call me when you can so I
          can tell you what happened at
10        empathy small company only
          months old              ;
11
12          666.     Pictured below Joe, Thomas, Malcolm, is Louis posting a 5 start review on Empathy's
13
     Facebook page to gain their tmst, establishing Joe, Louis, Jerry and Does prey on startups to suppress
14
     competition for Defendants.
15
16
                     *• Jo© Ace reviewed Empathy Transport,Service •
17                 jjjpr April 26. 2018 - m
18                              Like                       Comment                       ^   Share
19
20
                        L@y is" Pritchett reviewed Einpatfeiy Transport Service—^|
21                      April 27,2018 • @
22
                           fli tike                               Comment                               Shiare
23
24
25
26                                                                                             ;Shar»
                             5':Uke:
27
28

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                                                            289
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 1          L ONCE IS CHANCE, TWICE IS A COINCIDENCE, THREE TIMES IS THEFT

 2           667.      Pictured below on the left, grocery and pharmacy rides in iHug's 2014
 3
     developing healthcare opportunity, launched in 2017.
 4
             668.      Pictured below on the right. Defendants announced the same service in
 5
 6   2019 after tortiously inferring with iHug's partnership that delivered and helped seniors shop for

 7   groceries, and offered prescription pick-ups.

 8                                                                   services that support their overall health—whether thaf s o |
                                                                     6toreiBB8'Siffl'e'tl. or a community event—Is a good Investment.
 9                                                                   [Gspeclotly] for MA plans who are trying to maintain the health ot
                                                                     their membership. Those are conversations that, quite frankly. I'm
     ^ Medical Appointments     ^ Grocery.Shopping                   excited to hove.
10
     * Patient,Discharge        If, Medicine .Pickup                 H L Can you explain how this grocery access program came to be
11                                                                   and where K Is going?


12                                                                   CoUahan: Lyft Is strong at getting patients to medlcalappi^nitme^
                                                                     b^tvjrejmode^a^^

13                                                                   p!^proflcqms;.thot support theirjheoUh There's obout 23 million

14
15
16
                       1
17           =          lyft BLOG
18
19                  DECEMBER 10, 2018

20
                    Announcing Lyff s Grocery Access Program
21
22
23
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                                                           - 290 -
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 1          669.     Pictured below on the left and right, a healthcare API outlined in Plaintiffs

2    2012 business plans, patent books, and executed in 2017. Plaintiff invented software (API) tmly
3
     connecting healthcare and transportation.
4
            670.     After Ben received Plaintiffs pitch deck and execution strategies on the
 5
     $1,200,000,000,000ri-illion-dollarhealthcaie opportunity, and his $25,800,000,000,000 trillion-dollar
6
 7   new digital Ai healthcare system particulars, Lyft copies iHug's API in 2018. This API has allowed

8    Lyft and Uber to double it's billion-dollar run rate in healthcare.
9
10
11
12
13
14
15
16
17                                                                 Admin
18
19
20
21
22
                                                                Uber Health                         =
23
24                 MARCH 5, 2018

25                 Revolutionizing Patient                    Leverage the Uber^             facilitate,
26                 Transportation with Lyft                : |on0ennand tra
                   Concierge API                           * .ndes. If you're interested iiiiusih^ theApi | /
27
                                                           is-.tpdrive healthcare inriovatidnfdrward^C ^ ' "f ;
28                                                         ;5ipleas^ rdaeh put"': jjj::--^:."^.     "s     y:-%

            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1               671.         Pictured below on the left, iHug's "VIP Rides" service for healthcare in 2016. Pictured

2     below on the right. Defendant starts offering its Drivers a similarly named service "VIP healthcare
 3
      ride" in 2018.
4
 5       < Service Categories,      Q Search                                                                                     8:59                                               .III   !



 6                                                                                                                                              Eileen Nancy > Uber & Lyft
                                                                                                                                                Drivers - San Francisco
                                                                                                                                                March 7, 2018 • Hayward • IS!
 7         VIP Rides
                                                                                                                               I accepted a ride from Lyft and it said
         ID: 59tj32af9c5ff8f0@B49a7229                                                                                         Navigating to pick up JESUS "GEEZUS" I wasn't
 8                                                                                                                             having a good morning.. So I was like! Yesll! I need
                                                                                                                               this!! Ok Jesus I'm on my way!!! Then Lyft sends me a
         Description                    : Safe, courteous and on-time pick up and drop offs
9                                                                                                                              couple of texts... this one scared me a little, I thought
                                                                                                                               my number was up.. ©
         Imago                           IWLfoRtH-QEfUMk png                                                                   Not today Jesus!!!!!
10
                                          Change Flte       Renove F ite                                                                                        Text Message
11                                                                                                                                                              Today 2:56 PM
         Image Link - -                 I https-y/lhue.a3.aina2onaws.conVc3tegorles/P/VLfoRti
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                                        Itsts vAS us autani3tlciig>. pc^Hjiated orwes -fou'm upicadMl s                         ^ifoO^atie picking up Health'
13                                                                                                                             iPlanilfeilESUS.- Thisis a <
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                                                                         :32 pm

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18                                                                                                                                       ;' 'Jarries'Scherber' ; .                         :"']
                                                                                                                                      {lil absoliitelyfpositively don't do these.,;;.
19
20               672.         Pictured below on the left, iHug's 911 emergency buttori located on the top right of its
21    app in 2017. Lyft and Uber launch the same app feature in 2018 - 2019.
22
                                                                                              1^5^ riders will soon be able to
23
                                                                                              diai:9il froiii the app
24                                                                                            O,^', SOP.KIS-LEV.'IS.
                                                                                              t.l<lY'.?l.:/0-l!j-.',3:5j
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                                                                                                                                   HM / C.JiS
                                                                                                                                             , . ,"     •
                                                                                                                                                      f.C'.VS


25
26
27
28                                                                                                                             Uber
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben,.and Does
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                       Rights, American Disabilitv Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                        •                            -292 -                                :
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 1          673.     Pictured below. Plaintiffs transportation and other service subscription stmctures in
 2   one of his patent books, and a private email, regarding a reloadable-subscription plan for
 3
     transportation in 2017. Lyft and Uber launch subscription plans in late 2018, a similar service.
4
 5      e. Reoccurring sub«:riptipn sttuctiffe for medical ofificiK, doctors and btheir inedical services.
              i. Variable yearly charge of $10.000           "
 6
 7             - We're looking into the relpadable card, I know this would be a great play
               for our partnership.
 8
9
10                                                               Adam John
11                                                               Founder, CEO and
                                                                 Chairman of the Board
12
                   The Official Rideshare for Heiatthcare^       http://ihug.healthcare
13
14
15
16
17                     Uber and Lyft unveiled new
18                     subscription plans. But are they
19                     really worth the money?
20
                       Two weeks after Lyft, Uber rolled out its own
21                     deal where riders pay a monthly fee for
22                     consistently lower fares.
23                     By AditiShrikant I aditi@vox.com | Updated Oct 31,2018,12:34pm EDT

24
            674.     Pictured on the next page atop on the left. Plaintiff launched a "healthcare portal" in
25
     late 2017. On the next page atop on the right. Defendants add "healthcare feature" in its portal late
26
27   2018. Defendant's also changed the button name to "new request," an extremely important factor
28   outlined in Plaintiffs $1,200,000,000,000 trillion-dollai- healthcare opportunity, and his

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 1   $25,800,000,000,000 trillion-dollar new digital Ai healthcare system particulars. Defendants then add
2    an iHug portal feature, "driver notes," to its own portal.
3
4
                                                                                                     New requast
 5
                                                                        History     issues   Upcoming      Search
 6
                                                                        JianB.Smlthl
 7
                                 iHug Admin
 8                                                                      Calegenoh
                                                                        Duncan                           Picking up   •

9
                                                                        Arvio"
10                     DISPATCH CENTER                                  Gustsfsson
                                                                        2 « 0 PM
11                     0^   Dashboard
                                                                        Aicjdndro
12                                                                      Rivera -
                       4&S Users                                        i;Bf: W


13                                                                      Juan Torres -
                                                                                                           Canceled !$»
                                 •+ New Request--
14
                                                                        t olta    Mnhtun
15
            675.     Pictured below on the left and right, Lyft steals iHug's add driver notes idea.
16
17                                                                        concierg©.

18                                                                                           AH rides -•        Aeive

19                     Sedan
                                                               Start ride request
20
                                                               First up. we'll need rider details.
                     I Ohocce Wait Hourfst
21
                                                                    First name                 Last name
22                                                                  Jessica                    Bird
                                TSD                                 Mobile phone,num(>«r,
23                                                                  (123)456-78^
                                DISTANCE
24                              TBD                             ^          Pickup address
                                                                O          P C C C : Exhibit Drive - Hall E/F
25
                                      NOTESTORDRIVER , ;,            Hall E/F
26
                                                                            Dropoff sddri
                                                                    V      'Oftando            ; P. PhllUps HospT
27
28                                                              + : Add 8 pickup note for the driver



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 1          676.     Pictured below, Joe compiled Plaintiffs ideas in 2018 regarding Medical/Medicare to

2    increase revenue for iHug to reinvest in healthcare. Pictured below in the middle, Lyft received
3
     Plaintiffs intelligence through Joe, and "hails" Medicare advantage as next profitable ride in mid-
4
     2019, pictured below on the bottom, Lyft Executive Omar proclaims Lyft as the first national
 5
6    ridesharing company to bring on-demand transportation to millions of medicare.

 7
                                   idlV^prl i r 5»i iwhSm^ijii^
 8                                M@are'''Plus.<!)ffieimiPbint-S)fecont^^^^^
                                  fllnstoatice dbcuineti                              •are-yl
9
10
11
12
                                                                  1
13                             Forbes
14                               Lyft Hails
15                               Medicare
16
17
                                 Advantage As Next
18                               Profitable Ride
19                                              Bruce Japsen senior contributor 0
                                                Healthcare
20                                              / iLTi'fe about healthcare business and policy
21
22
23
24                                        Omar Nagji •2nd                                       ..,
                                     K    Head of Healthcare Partnerships at Lyft
25                                        14h

26                             Thanks to our amazing partners, Lyft is officially the
                               first national ridesharing company to bring on-
27                             demand transportation to millions of Medicaid
                               beneficiaries as an enrolled provider. Truly amazing!!
28                             https://lft.to/2ZOEnWB

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 1          677.     Picttared below. Plaintiff privately pitched his Wife and a friend, regarding plans to
2    partner with Kim, and her family to help promote iHug.
3
            678.     Plaintiff alleges Defendants were using the Hell Programs, in order to suppress iHug.
4
            679.     Approximately 90 days later, Lyft announces a Lyft Ride-Share Program to
5
6    reduce recidivism, ahead of iHug, unlawfially suppressing iHug yet again.

 7
8
                KIM KARDASHIAN
9               Lyft Partnership
10
11
                READY TO HELP 5K
12              INMATES GET JOBS
13
14
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 I          680.     Pictured below, Plaintiffs confidential, proprietary and non-public corporate secrets

2    in 2017 and prior. Plaintiff was executing on home delivery of prescriptions to seniors who have no
3
     transportation, lowering costs and iricreasing healthcare put comes. On July 31, 2019, Uber launches
4
     the same service growing its operation in healthcare, which is hidden under Uber Health, LLC.
 5
6
                       CL
                        )Hug
 7
                         Clieiit Base: Pistributidn Chant
 8
9                          iHijg Rideshare Biiilds a customer base rljDe for cross-selling

10
                          JHdg f elehealt&i r $60 perf^quest
11                         •    • •, • . ,• DiagniDsis^'by;? Rhysieia             Assistant
12                                    ' Nbn-rtanSQficpresci:ipt1^                 ' '    :    _
13                         , •- ,*•*• DeliV,er'y,:opti'pfithit6ugii.car^            -             '

14                             • -•    Recornixliend medicai.suppli.es •

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16
17                                                             I
18                                      BUSINESS                                  z=
                                         INSIDER                                  —
19
                                        Uber Health is now
20                                      connecting doctors to
21                                      their patient^ with
22                                      telecohsultatioh; tech
23                                      ZiaaLaRock .1m -'.".

24                                      Uber Health struck a deal with
25                                      healthcare supplies distributor
                                        Henry Schein Medical to streamline
26
                                        doctors' use of software company
27
                                        Medpod's MobileDoc 2 — a portable
28                                      case stocked with medical devices.
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 1          681.     Pictured below. Plaintiffs confidential, proprietary and non-public corporate secrets
2    in 2017 and prior, Plaintiff was executing on telehealth and in-home care and diagnosis, lowering
3
     costs and increasing healthcare out comes. On July 31, 2019, Uber announces strategically after
4
     receiving Plaintiffs settlement demand, setting itself up to argue, Uber's "service," is direly needed,
5
     and would harm people if halted by injunction.
6
7                          IHugRideshar^e Builds a customer
8
                           ii4ug T^leh^^aith r Sepper
9
                           . • ' • s - . D i a g n b s ' i s ' i)y:a PHysiciarior Pi-iysiGians Assistant
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                           , '.        Nori--harcGt,iG:prescrVption orders '-'
11                                   I Delivery          dfMbpi:t\^rpjj§H
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15
                                                                            I
                                     Uber Health^aHenry Scheiii partner to
16                                   expand 'deliy^ remote pekient care
                                     Jackie Drees," ,19 lidura ago Prlrn;l Ernail.-
17                                    IH: SHA'Rt


18
19
20
21
22
23
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25
26                                BUSINESS
                                   INSfDER
27                                Puttiiig it In contexbThis marks Uber Health's
28                                first public triove intb healthcare.logistics.

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                      Rights, American DisabiHty, Act, Trade Secret Misappropriation; Unjust Enrichment.
                                                                       V^298-,           '•'.^^/"-'^^
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 386 of 825
 1                          J. THE REAL $1.2 TRILLION-DOLLAR OPPORTUNITY

 2          Forensic computer evidence establishes, on many occasions, multiple versions of
 3
     Plaintiffs $1,200,000,000,000 trillion-dollar healthcare opportunity was misappropriated by
 4
     Defendants.
 5
 6          682.      Unbeknown to Plaintiff, Joe sent an email to a "Brian," and one email to a "Robert,"

 7   providing details of Plaintiff s $1,200,000,000,000 trillion-dollar healthcare opportunity. Pictured

 8   below on the left, Lyft's CFO, "Brian Roberts" Linkedln profile, whose name matches the two emails
 9
     sent using proxy servers to masked the intemet protocols and received origins using a virtual private
10
     network.
11
12
                                          Target Market
13
                                           $1.2 Trillion Dollars U.S. Revenue
14
             Brian Roberts • 2nd
15                 CFO at Lyft              In-Home Care      S3S5 Billion by 2020

16
            683.      In another act of corporate espionage. Defendants received intelligence that Plaintiff
17
     pitched McKesson Ventures, a venture arm of McKesson Corporation, who is the largest healthcare
18
19   organization in The United States of America.

20          684.      Megan Callahan, ("Megan") was hired at Lyft 8 months after Plaintiff pitched

21   McKesson Ventures, where it's alleged she will be used to leverage McKesson's contracts, to
22
     connect Defendants to tens of thousands of healthcare providers, in order to continue executing on
23
     Plaintiffs $1,200,000,000,000 trillion-dollar healthcare opportunity,, and his $25,800,000,000,000
24
25   trillion-dollar new digital Ai healthcare system particulars.

26          685.      Plaintiff believes. Defendants are also leveraging Megan's connection to McKesson,

27   to deploy an "evolved version of Plaintiff s misappropriated $25,800,000,000,000.00 Trillion-
28
     Dollar New Digital Ai Healthcare System Plans in the future," unjustly enriching Defendants.

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 1          686.     Megan conveniently has a specific expertise in preparation for "anti-trust suits,*'

2    in healthcare, where Defendants can easily, and preemptively prepare for PlaintifFs lawsuit.
3
            687.     Megan picked up where Defendants left off, and started to iriiplement new features as
4
     described in Plaintiffs misappropriated $1,200,000,000,000 trillion-dollar healthcare opportunity,
 5
6 where in fact, parts of iHug's business plan, processes and ideas have emerged on Defendants
 7 platform.
 8          688.     Pictured below, Megan's Linkedln profile, and expertise.
9
10
11
            689.     Pictured below, much like the, "Trump Train," movement that elected President
12
     Donald J. Trump. Louis posts on Facebook, tagging Joe in an image "On the Train."
13
14
15
16
17
18
19
                                                                                      '-4
20                             CNBCCOM
                               Lyft just hired a hotshot exec from McKesson to run its growing
21
                               medical transport business
22
                                                                                         3 Comments
23
                                                                           (~) Comment
24
                               ' V %i Lou's Pritchett O Joe Ace look
25                                      Like - Reply 27w .

26                             J;|j=^,J . Louis Pritchett 0

27
28

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                                                              - 300-
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 1          690.     It's alleged Defendants had financial motive to commitfi-audas described herein and

 2 all proceeding paragraphs. The immense pressure from its investors, forced Defendants to act in
                                                                     i"
 3
     desperation, inflating its growth, and revenue projections, in order to execute an IPO to stay in
 4
 5   business. Defendants continue to bleed billions of dollars with no altemative pathway to profitability.

 6          691.     Through Defendants cuhure and deceptive business practices, the Drivers
 7 misappropriated Plaintiffs $1,200,000,000,000 trillion-dollar healthcare opportunity, and his
 8
     $25,800,000,000,000 trillion-dollar new digital Ai healthcare system particulars details. Months
9
     later. Gyre Renwick, ("Gyre") VP of Business at Lyft, outlines elements from iHug's business plan.
10
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18
19
20
       Uber estimates it lost at least $1
21
       billion in the first quarter of 2019
22                                                                        Lyft Reports Strong Revenue
23
                                                                          Growth, $1.1 Billion, Loss
24
25
26
27
28

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                              •    ' -                 • -301- '
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 1           692.     After Defendants and its executives acquire the "knowledge" of Plaintiff s

 2 misappropriated $1,200,000,000,000 trillion-dollar healthcare opportunity, and his
 3 $25,800,000,000,000 frillion-dollar new digital Ai healthcare system, Defendants overhyped its IPO,
 4
      proclaiming a "$1,200,000,000,000 trillion-dollar opportunity," the exact same financial figure as
 5
      Plaintiffs misappropriated $1,200,000,000,000 trillion-dollar healthcare opportunity.
 6
 7           693.     The Defendants stated in an interview with Bloomberg, "We are in the very early

 8 phases of capturing this large opportunity."
 9
             694.     The statistic's source that's referenced in the Lyft SEC Sl filing was only posted
10
      online December 28, 2018, a few months prior to an IPO.
11
             695.     These odd events have resulted in multiple class-action lawsuits regarding securities
12
13    Litigation against Defendants, alleging Defendants, overhyped its IPO and omitted facts, violating the

14    Securities Act of 193 3.
15
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23
             696.     As confirmed by a Goldman Sachs Analyst, Defendants ridesharing market will only
24
25    grow to $285,000,000,000 billion-dollars by 2030 worid-wide, with competitors that already ovra

26    nearly 70% of the market
27
             697.     Plaintiff alleges Defendarits are diluting key fiHaiiipial data on payouts to Drivers,
28
      in order to cover up payments made to, Joe, Louis and Does who used it to invest in startups to gain
             Adam John Mackintosh—vs—Lyft, Uber. Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                       Rights, Amei;ican Disabilit})'Act, Trade Secrei Misa^^
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 1   investment details, corporate secrets and carry out unlawfiil and covert operations against Plaintiff

 2 and competitors alike. John stated in an interview, our "Driver community has enabled us to be at this
 3
     point." Bloomberg's Emily Chang asked Lyft Co-Founders on the day of their IPO, "You are
 4
     giving [all] drivers stock bonuses, right? That's kind of unusual." Logan Green responded, "Yeah, we
 5
 6 are giving a cash bonus," for the referral program. A confusing and disconnected answer.
 7           698.    Plaintiff re-alleges cash bonuses were used to dilute the large bonuses, and cash

 8 payouts to Joe, Louis, and Does who committed unlawful conduct.
 9
10                                                                      :=7-vMarketm
                                                                        Lyft will no longer provide
11
                                                                        information on total revenue
12                                                                      generated that would help
                                                                        determine how much drivers
13                                                                      were taking home, says it is 'to
14                  m^X                                                 avoid investor confusion'

15           699.    Lyft CFO, Brian Roberts, who regularly meets with Drivers in a secret room at Lyft
16
     Headquarters, stated in Lyft's Ql Eamings Call to investors, "we are day one of a $1.2 trillion
17
     market opportunity," where it's not a new opportunity, the ridesharing industry is capped at
18
19   $285,000,000,000 billion by 2030 accdrding to analysts.;

20           700.    Plaintiff argues Brian Roberts unlawfully received Plaintiffs stolen
21   $1,200,000,000,000 frillion-dollar healthcare opportunity, and his $25,800,000,000,000 trillion-dollar
22
     new digital Ai healthcare systerii particulars. : '
23
24                                                        Lyft, Inc (LYFT) Q1 2019
                                                          Eamings Call Transcript
25                                                        Brian Roberts - Chief Financial Officer
26                                                        So just to follow-up in terms of the question on
27                                                        the path to profitability, we are ^ ^ ^ ^ S i ^ ^ i l
                                                                                  ^ S i S We just announced a
28

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 1       K. THE COVER UP, ODD BEHAVIOR, CONTINUED ATTACKS AND STALKING

2           701.     To lay the foundation for these very serious; allegations made herein, and in all
 3
     proceeding paragraphs of this Complaint, Plaintiffs Wife sketches out a timeline of cover up
4
     operations, after her husband, the Plairitiff sends a settlement demand to Defendants for damages.
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 1                                           K I . Manipulating Numbers

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15          702.     On October 12, 2016, John, in an interview with Jim Cramer of Mad Money, and more

1.6 recently an interview with CBS This Moming, Gayle King, John affirms, "Every year in the United
17 States, $2,000,000,000,000 trillion-dollars is spent on car ownership," an accurate claim, based on
18
     244,000,000 million vehicles in The United States in.2015, multiplied by "$9,000 dollars in annual
19
     costs," according to John; totalirig $2,100,000,000,000 trilliori-dollars.
20
21          703.     After Plaintiffs $1,200,000,000,000 trillion-dollar healthcare opportunity, and his

22   $25,800,000,000,000 trillion-dollar new digital Ai healthcare system particulars was misappropriated
23   by Defendants, the Defendants manipulated the numbers, with knowledge of its falsity.
24
            704.     On March 29, 2019, Lyft Co-Founders, John and Logan during IPO, claimed they are
25
     targeting a "new $1,200,000,000,000 trillion-dollar opportunity," contradictory to their statistic in
26
27   2016 and more recently in 2018.

28          705.     This has caused a chain of events, including numerous class-action lawsuits from Lyft

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 I   investors, who claim Lyft omitted facts arid falsified statements within the SEC Sl filing, including

2 market share statistics, claiming Lyft owned 39% market share, contradictory of Uber's SEC Sl
3
     filing, substantiating thefraudulentactivity of booking fake rides manipulated its market share.
4
              706.      In order to obfiiscate the tme "$1,200,000,000,000 trillion-dollar opportunity," on
5
6 December 28, 2018, less than 3 months prior to Defendants' IPO, The Bureau of Transportation
 7 Statistics ("BTS") suddenly releases a $1,200,000,000,000 trillion-dollar "Household Transportation
8 Expenditure" report, the same source from Lyft's Sl filing.
9
              707.      In an act to conceal the truth that Defendants had already executed on Plaintiffs
10
     $1,200,000,000,000 trillion-dollar healthcare opportunity. Plaintiff asserts Defendants provided false
11
     data to the United States Governments
12
13            708.      This was a calculated effort to cover up, in the event Plaintiff files a Complaint to

14 claim his $1,200,000,000,000 trillion-dollar healthcare opportunity, and his $25,800,000,000,000
15   trillion-dollar new digital Ai healthcare system particulars and damages.
16
              709.      The BTS report included the exact samefigureas Plaintiffs misappropriated
17
     $1,200,000,000,000 trillion-dollar healthcare opporttmity, and his $25,800,000,000,000 trillion-dollar
18
19   new digital Ai healthcare system particulars, in order to disguise their wrongdoing.

20            710.      Pictured below, a screenshot of the $ 1,200,000,000,000 frillion-dollar "Household
21   Transportation Expenditures" statistic located on the BTS website, in the exact Lyft brand color as
22
     shown below on the right, Lyft's official logo.
23
     BTS Statics on the BTS website chart in Lyft brand colors                       Lyft Logo
24
       Personal Vehicles ($9,032)
25
26
27
28
          Other vehicle expenditures H B H ^ H ^ | ^ ^ |



              711.
                                                           $3,063 (31.5%)


                                                                                     IH
                        Pictured on the next page atop, a fabricated statement from the BTS website, the

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 1   report was updated only 3 months prior to Defendant's IPO.

2           712.     Even more outrageous, in an act to cover up. Defendants begin to remove Defendants'
3
     employees from any involvement at the Portland Bureau of Transportation.
4
5
6
           iureau of Transportation Statistics
7        Ti3pics apdGeogiraphy "          Statistical Products'and-Data ' -    . National Transportatiorilij3rary

8       Transportation Economic        TrahsportationjBxpendJtures accourited.for $1..2 triljion (9.2 f ^ ^ S o ^ "
        Trends
                                       PCE in 2017, making transportation the fourth largest spending
9       Previous Publications          category (excluding "other expenditures'O after healthcare, housing,
10                                     and food (figure 6-1). Transportation expenditures increased 54.6

11                                     Updated: Friday, December 28,2018
12
13          713.     Wherein a case McCloskey-vs- Lyft, Inc. et al, case number CGC-I9-575475, on page

14   17, line 27, number 66, claims, "The Regisfration Statement contained pages and pages of numerous
15   generalized possible "Risk Factors" that might occur and "[i]n case" they did actually occur, then
16
     Lyft's financial condition and results of operation "could be materially and adversely affected."
17
            714.     Plaintiff alleges, Lyft is fiilly aware of iHug, having colluded with Uber to execute on
18
19   Plaintiffs misappropriated $1,200,000,000,000 trillion-dollar healthcare opportunity, and his

20   $25,800,000,000,000 trillion-dollar new digital Ai healthcare system particulars, API and other
21   features, doubling its revenue in less than 12 months.
22
            715.     Placed in a vertical timeline below and on the proceeding pages, factual activity
23
     throughout 2019, after Plaintiffs Complaint was leaked to Defendants, and Plaintiff sends Joe, Louis
24
25   and Does a settlement demand for damages as a result of violations stated herein, proving Defendants

26   received Plaintiffs Complaint:
27           716.    On March 14, 2019, Plaintiff sent a settlement demand to Louis, Joe and Does.
28
             717.    Computer, network, tracing and forensic evidence established Louis was the only
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                                                           -307-
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 1    party that did not open the email. Louis has a personal relationship with. John.

 2             718.     Plaintiff alleges Louis was under instmction by Defendants and its Legal Counsel not
 3
      to open the email, to mitigate any connection to Defendants.
 4
               719.     Pictured below, Plaintiffs settlement demand was sent to Joe, Louis and
 5
 6    other parties involved and who contributed to all wrongdoing as described herein and through all

 7 proceeding paragraphs of this Complaint.
 8                                  BPS    . E 3 Bt-okm,lrks Bar   O   iHug ,W.'G I'oi l i i l . . 0 ' AWS-.Cafculalor   i«> iSign.in | USPTO


 9                                 IJ^Sent pnll|;Nfm^apj9., 20:29-pm -
                                          Email                                                                                     Opens
10
11
12
13
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15
16
17
18
19
20
21
22
2.3
24
25    1        720.     On March 15,1 day later, Louis, tells Drivers, Lyft H.Q. is coming to his private

26    mcctup group.                               '       :
27    !        721.     Lyft Headquarters, instmct Louis to set a meeting wdth Drivers, in order to cover up
28
      any traces of Defendant's wrongdbirig; Pictured on the next page atop, Louis calls for a meeting.
               Adam John Mackintosh—vs^t^yft Uber,,Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
          Complaint for Infringement on OurGod Given Right to Life, Declaration oflndependence, Bill ofRights, and Civil
                         Rights, American DfsaHUjty Act, Trade Secret Misappropriation, Unjust Enrichment
                                                :;':;T^'^-;                  ;,'- 308 -
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 1
                            Louis Pritchett
2
                            0 Admin • March 15
3
4
                   In 10 days Lyft HQ, now we'll see y'all at that
 5
                   Monday's Meet Up
                                                                                                4 Comments
6
 7                                  oCl Like                                         Comment

 8
                          ?.\Karenibdd'wW;-ls^
9
                            Like • Reply • • 11 w                 "-'^i''
10
                                 f.rijoiiisjl^rijbci^^                      ajsurpr|se;-..shhh;(i ...
11
                                   Like • Reply • Uw
12
13
14
15          722.      On March 18,3 days later, Nicole text messages Plaintiff after months of no

16   communication.
17
            723.      On March 23, 5 days later. Plaintiff notifies iHug investors Joe was under
18
     investigation.
19
            724.      On March 27, 4 days later, Nicole texted Plaintiff asking to "talk."
20
21                               K2. Lyft Pointing the Finger and                  WW^^^^^,

22          725.      After Lyft's Legal Counsel unlawfully reviewed Plaintiffs settlement demand
23
     involving Joe, Louis and Does, Ben attempts to ^^Bleu^lsltifl^ to cover up any wrongdoing from Lyft
24
     and himself It also appeared Ben does not know the difference between right and wrong, labeling
25
     "highly illegal activity," as "types of competition tactics."
26
27          726.      On March 29, 2019, Lyft goes IPO.

28          727.      In an interview on March 29, 2019, the same day Plaintiffs settlement demand

            Adam John Mackintosh—:vs—Lj'ft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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.1    expires, Ben willfully admitted and outlined "Uber tactics" that were set out to "destroy" Lyft. Ben

 2 actually outlined how Defendants attacked Plaintiff, iHug and his investors. Ben, informally testifies
 3
      thefollowing:
 4
             728.     "Uber" used "highly illegal tactics."
 5
 6           729.     "Uber, of course, stole the original Lyft idea."

 7           730.     "Uber went as far as, when Lyft was raising money, they would call investors and

 8                    threaten them. Literally, you'll never do business in this town again."
 9
             731.     Ben then refracted his original statement that Uber stole Lyft's original idea and
10
                      claimed Uber, "copied us, you don't steal things like that in business," "confused."
11
12
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28

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 1          732.     On March 29, the same day. Plaintiffs demand was unlawfully opened 13 times by

2    Defendants Legal Counsel, post-IPO, as pictured below.
 3
                         2019-03-29
4
                         I 20:44 opened your email settlement for compensation enclosed
 5
                         I 20:12 opened your email settlement for compensation enclosed
 6
                         I 20:12 opened your email settlement for compensation enclosed
.7
                         I 20:12 opened your email settlement for compensation enclosed
 8
                         I 20:12 opened your email settlement for compensation enclosed
9
                         I 20:12 opened your email settlement for compensation enclosed
10
                         I 20:11 opened your email settlement for compensation enclosed
11
                         I 20:11 opened your email settlement for compensation enclosed
12
                         I 16:24 opened your email settlement for compensation enclosed
13
                         I 16:14 opened your email settlement for compensation enclosed
14
                         I 16:13 opened your email settlement for compensation enclosed
15
                         I 16:11 opened your email settlement for compensation enclosed
16
17
18
19
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22
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24
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28

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                                                   -
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 1                                      K3. Confiscating and Wiping Phones

2           733.     On April 4, 6 days after Lyft's IPO, Lyft Headquarters sets another meeting
3
     with Drivers, where Plaintiff alleges it was to conceal evidence and witness tamper.
4
5                          ^m'« i ^^^^ Pritchett is with Jennifer Lea Herring and 5 others.
                                  O Admin < April 4
6
7
8
9
10
11                                Lyft wjfl be here to talk to the
12                                      drivers for a DAC
13
14
15
16
             734.    On April 8, 9 days later, after demand expired, Lyft H.Q. calls for another meeting
17
     with Drivers.
18
19           735.    On April ,11,3 days later, Nicole-messages Plaintiff thrbugh text asking to "talk."

20           736.    On April M.; 1 days later, 6n, Divinity sUdderily leaves Lyft, an employee involved
21
     with Louis, Joe, Does, cutting ties, **c«f^mg-ifiVs.*]
22
             737.    On April 15,3 days later, Lyft Employee, biyipity caricelled on Louis meeting, as she
23
     had already resigned. Plaintiff alleges Diyiriity was forced to leave Lyft,              ^^^^^l^iM
24
25           738.    On April 16,1 day later, Louis displays erratic behavior as several

26   Drivers did not attend the previous meeting. Plaintiff alleges Lyft Executives planned to "reset"
27
     Drivers phones and other electronic devices to remove corporate secrets collectedfromcompetitors,
28
     and/or any and all evidence tracing back to Defendants wrongdoing. Whereas in this Complaint, this
            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1   tactic was used by Joe in a multiple text messages to Plaintiff, as pictured below on the right.

 2                                                                                     4:12-?                                                    .illLTE!SD>
              I.OUIS Pritchett is with Jennifer Lea Herring and 5 others.
 3    ' S p   0 Aitmln. April 16


 4                                                                                          :                         Joe Acebedo >

 5                                                                                  Help raise ruhd& for people that cant aHord healthcare, ff
                                                                                    you can't donate please share. iTihuB


 6       Maybe ypu didn't hear rne.
 7      Captains if you don't bring your,
           drivers to next Monday' ;
 8
          MieetUp your tearrr Is^ don^!.
 9                                                                                  i Click here to support Helping Billions With Health
                                                                                    I Care organtzod by Qfella Neahi



10
                                                                                                                   Text Message
                                                                                                                May 15, 2017, 9r50 PM
11                                                                  29 Comments
          my
                                                                                    , . My phone just reset all by itself *
12                    £ 3 Lllte                             Comment                 feafid'iost'the ;ihu&        '* '
                                                                                    L password -        - . ' '
13            Louis Pritchett O


14                                                                                  g^'Canwe addjetto trello and*;iit

15            Like • Reply • 6w

16            :6*auntei Willlaihs 0 Wow^;..
              Like'.'Reply • S w ' " '                                                                                    iMessage
17
              ERzaiieth Jennifer ftayray Williams Q Thsy^e all scared ;                                    We liave to create him an eRiail
18            Like • Reply - 6w                                    B
19              739.         On April 16, the samerfay.Plaintiff sends an investor who claimed he was a fraud
20
     who colluded with Joe, Louis and Does, a video of Plaintiff s Wife breaking down crying from
21
     damages, stating he will he taking legal action.
22
23              740.         April 18, 2 days later, Nicole text messages Plaintiff asking why her email was not

24   working when she stopped her involvement after an Uber meeting in Febmary.
25
                741.         April 22, 4 days later, an investor who admitted Joe claimed Plaintiff was stealing
26
     millions of dollars retracted his statement claiming in a frantic manner.
27
                742.         April 24, 2 days later, Lyft Employee, Divinity announces she is leaving Lyft, who
28

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 1   has since deleted her announcement and all evidence on her social media profile, as pictured below.

2                        »-,\Diyiniity;Mato.vuJs-'.it»;.,feelin^^^^^
3                        ™ "April 243t'?t:-t8;PM'v0                               ,'

4                    I wrbteabout riiy'decisipn

 5
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 7
8
9
10
11
12
13
                     LINKEDINCOM
14                   Leap, of Faith
15                   Three weeks agp,^ I resii           iTiy po$ihbn at Lyf t. April 12th w

16                  00^:4,9                                                               ' lO'Cdhiments. 2 Shares

17
                                        0 ^ Uke                                  -• •   ' ^,;Share:
18
                    "^View-6nriprecprmm                                      -            V-,---.
19
                    ^^^^^      Lmiis Pritchett If
20
21
22
23
24
25         All       Posts        People        Photos        Videos        Marketplace             Pages      Places         Groupi

26        =llter Results
27                                                               We couldn't find anythirig for divinity matovu
                                                                 Looking for people or posts? Try entering a name, location, or
28        'st Any city                                           different words.


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 1                                           K4. Hacking and Destroying PlaintifTs Evidence

2           743.        May 2,14 days later, pictured below on the left and right, at approximately 3:35PM,
3
     Plaintiffs iCloud was hacked. Plaintiff Y^as scrolling through Joe's messages to gather evidence for
4
     this Complaint. The iPhone pop-up states, "Your Apple ID and phone number are now being used for
5
     FaceTime on a new Mac." Plaintiff has always stayed signed in to his existing iMac. This was a
6
 7   successful hack into Plaintiffs iCIoud and Facetime Account, where the culprit started deleting

 8   evidence relating to Defendants.
9
            744.         Pictured below. Plaintiffs 27" iMac was an already registered Device, the unknown
10
     Admin's Mac was a hacker's profile to delete Plaintiffs evidence against Defendants. Plaintiff
11
     removes the device from his account attempting tp thwart the attack.
12
13
                                                                                Ypu are sigried in to the devices below. Learn more >
14
15
           9Yea;that might cause
16        loDb*fijciion
                                                                                    Admin's Mac                     ^' iHug MacBoo...                        iiwiac
17                                                                                                              :    ZhA^.a^i^ PfO 15"                     IMac 27"


18        |{5x5i5ig5o'd^                                                      Admin's Mac
19                                                                          Model: VMware                                                   SHIPPING ADDRESS
                   Your Apple ID and phone                                 Version; OS X 10.11                                              Add a Shipping Addresi
20               number are now being used
                 for FaceTime on a new Mac.
21               If you recently s i g n e d i n t o " I M a c " you.
                                                                            .•;,f^emove from account''J
                       c a n ignore this n o t i f i c a t i o n .
                                                                              ,:, SUBSCfiiPTiONS 5 • ' p . - ' r ; ,
22
                                                                                Ghbose the ernails ybu would like to receive from Apple.
23                                                                              C J Announcements
                                                                                     Get announcements, recommendations, and updates-abdut Apple products, services, t

24                                                                              •    Apps, Music, Movies, Apple Payand More
                                                                                    . Get new releases, exclusive cantent,;speclal,offers, and recommendations for apps. mi
                                                                                      Apple Pay, Apple Card and more.
25
                                                                                Ci Apple News Updates                  : .   ;
                                                                                     Get the best stories and recommendstlons from Apple News.,
26
                        riglit?Then-oBth!* front .;-
27
28

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                                                                        • . -31-5-
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 1                  K5. Plaintiff and His Wife Delete Uber and Lyft App, Defendants

2                              Then Use IMEI and GPS Call Tracing Methods.

3
                        Plaintiff asserts the new California bill, ABS would prevent
4
                     such behavior of stalking as described herein, making it a crime.
 5
6                                 Done                  i gobgle^dom'
7
                                                                                    SUBSCRIBE
8                                  Che SSoBtoa (©lobe
9
                                   Baker seeks more oversight of Uber
10
                                   andLyft
                                   By Aldan Ryan Globe Correspondent, JulylO, 2019,1:27p.m.
11
12
13
14
15
16
17
18
19
20
21
22
                                   Govenior Ghariie Baker. (AP/FILE)
23
24
                                   GoyernOr Charlie Baker Wednesday called
25
                                   for stricter oversight of the ride-hailirig
26
                                   industry, ptoposing to toughen penalties
27
                                   on drivers who stalk customers or falsify
28

          Adam John Mackintosh—:ys—rLyft, Uber, Andreessen, Joe, John, Louis; Jerry, Logan, Ben, and Does
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 1          745.     May 3,1 day later, after Plaintiff and his Wife delete the Uber and Lyft app,

2    paralyzing Defendants ability to use their Hell Programs to track and invade the privacy of Plaintiff
3
     and his Wife, a call originated from Singapore, attempting'to track Plaintiff and his Wife. Plaintiff
4
     has never received a call from this location in his life, and has no affiliations in Singapore.
5
6          10:55                                       ...1 -LTEti

7
                                                                              Reiviind iv;e
8
9
               +                              9Q6                       " -, ---/'•'. • r->
10
                             Singapore         '• .•
11
12
13
14          746.     May 6, 3 days later, a former iHug driver, and current Uber and Lyft driver calls
15   Plaintiff on his phone. Plaintiff forwarded the call to voicemaii. The driver frantically stated, "Adam
16
     hi this is Diane Goode ("Diane"), I need you to call me back I've been trying to reach you and unable
17
     to drive over there so please call me back thanks bye-bye..." Plaintiff asserts he hasn't spoken with
18
19   this Driver since being forced to close down iHug's transportation operation in 2018.

20
                                                            Voicemaii
21
                               Diannel                         iHUg ICC
22
23
                               phone                                                          a©
24
25                             Tran$criptipn Beta
26                             Warn hi this is Diane .good 1 need ydu to
                                caii ine back I've been trying to reach ypu
27
                                t h e i unable to driye over there so please
28                              call me.thanks bye"-bye...''
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 1                                                      K6. Attorneys Leak Plaintiffs Complaint to Defendants

 2                      747.             Plaintiff is appalled Defendants use investor cash to pay off local Sacramento,
 3
       Califomia Attomeys to provide details of anything relating to an iHug Complaint regarding Lyft and
4
       Uber.
 5
                        748.             On May 9, 2019,3 days after an Uber, and Lyft driver calls Plaintiff, Plaintiff
 6
 7 contacted James J. Banks ("James") for legal representation against Defendants, James oddly
 8 responded, no conflict with Tesla and Lyft. Whereas Plaintiff never mentioned Tesla. This
 9
       substantiate Uber's involvement with Lyft in this Complaint. The attorney confirmed no conflict, and
10
       requested the Complaint.
11
                       749.              Pictured below the email:
12
13     James J. Banks                                                                                                                                                                            Iviay 9, 2019 ai 12:01 PM


14     To: Adam John


15          Siri found new contact info in this email: James J: Banks.jl                                                                                                                                         i!dd lo Contdcii;..,                ©

16                John, I should of read your email more carefully:- If al this point you need'a settlement demand letter sent, we, woiiki
       be happy accomplish'that for you, if you!would like. I (mistakenly it seems) thought you wanted to immediately file a lawsuit
17     imd I start trial in a fevv weeks: The perils of iTitiderii modes of-coitimunication. .. .

18                We have no conflicts with eitiier LyI'l or Tesla. Coincidentally', the opposing parly in my upcoming trial is Tesla. I am
       available to discuss ifyou would like. All the best, j j b '
19
20
21                                               •8.l^t-2403>

22
23
       CONnDENTIALIT-i' NOTICP. --•'I'RlVll.EGRD.'AjND CON'FIDENTIAI.

24     i'hi.s a>mmunicali(>n con,^litiite,^ an elcclrniiicrofnmunicrtUdn williin-thc mtaning'tVrthE Elcciro'nio C.-imituniicuiionPrlv-acy Act, IK U.S.C,-2510, Tlii,.; coinniunii-aliuii :ind iiriy accompanying
       dtvuint-nu',.;) are fnnliikntiaj and privileged..'Thiiy,arc, intcmici'J lnr the, ,.;nli:.tisc (^f.'i|ic-addrcs*;'p"c. -11' y'oli rcl'c.,ivc.lii,i,^-lraiisi]ii,.;fiVon in crmr.-yriu art- aiivi,sKd lhat any disflnsurc. rnpying,

25     dislribulion..or ihc taking of any acuon'in reiiaricC lipon the c.nir.tnuiiicution is slricily proliibiltkl.'.'Mtlrum-er. aV^v.such io^                                .list-losurc.,<hali nr>t coinpri}mi,^c or waive tlic atlonicy-clicnl
       privilege a?; m Ihi.s cnninninicalinn or olhcru-i..;e., lf,you ha\'c received Uii.^ communication in cnoi^. plca.<;c contact me ay tiic .ahove liiicriiet atidress or telephone ntimher, Thank yon.


26
27
                        750.             Pictured on the next page atop, and below, a screenshot of the five-person firm, and
28 :
       email tracing activity substantiating the email was opened 28 times within seconds. Elecfronic
                  Adam John Mackintosh—vs—Lyft; Ubei., Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                           Rights,;Ainerican.Disability Act, Trade Secret Miisappropriatidn, Unjust Enrichment.
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 1   Forensic evidence establishes the email was forwarded to Uber and Lyft, for review to anticipate the

2    lawsuit, in order to cover up.                                       jj
 3
            751.      This also allowed Defendants to determine the areas of law the Complaint will stand
4
     on, in order to hire Attomeys vvho are conditioned for that specific area of law, to unfairly defend
 5
     Defendant against Plaintiff s allegations, suppressing Plaintiff yet again.
 6
 7          752.      Circumstantial evidence establishes Lyft is on a hiring spree, listing 18 new legal

 8 positions, in particular, not limited to Counsel for Litigation and Risk, and Healthcare Compliance.
9
10
11         RE: Uber and Lyft: Complaint
12
13            Email                                                                Opens                   Clicks
14
15                                                                                    28                      22

16
17                                      com
18
19
20
                                                    Hoiiie, firiiiiProlile I Prnclicis.ArL'<)S   Anotneys | Recniitiiiy   CoiilncI
21
22
23
                                                                                                          Vcard I Bio
24                                                                                                        VcardiBlo

25                                                                                                        Vcard I Bio
                                                                                                          VcardiBlo
26
27                                                                                 firm.com               Vcard I Bio

28

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                      Rights, Arnerican Disability Act, Trade.Secret Misappropriation, Unjust Enrichment.
                                          '.^            • •-•31,9-
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 1          753.     Pictured below, the activity from Defendants Legal Counsel, as Plaintiffs Complaint

2    was leaked to Defendants, a similar pattem to Joe, Louis and Does.
3
                           Activity                                      ~
4
5
                           i   2019-07-01
6
                               I 21:26 opened your email re: uber and lyft complaint

7
                               2019-06-OS
8
                               I 18:21 opened your email re: uber and lyft complaint
9
                               I 18:05 opened your email re: uber and lyft complaint
10
                                 17:01 clicked on the link In your email re: uber and lyft compiaint
11                               17:00 clicked on the link In your email re: uber and lyft complaint

12                               17:00 clicked on the link in your email re: uber and lyft complaint

13                               17:00 clicked on the link In your email re: uber and lyft complaint

                                 17:00 opened your email re: uber and lyft complaint
14
                                 15:49 opened your email re: uber and lyft complaint
15
                                 15:48 opened your email re: uber and lyft complaint
16
                                 15:24 opened your email re: uber and lyft complaint.

17                               15:24 opened your email re: uber and lyft complaint

18                               15:18 clicked on the link In your email re: uber and lyft complaint

                               I 15:12 clicked on the link In your email re: uber and lyft compiaint
19
                               I 15:10 clicked on the link in your email re: uber and lyft complaint
20
                               I 15:09 clicked on the link in your email re: uber and lyft complaint
21
                               I 15:08 clicked on the link In your emajl re; uber and lyft complaint
22                             I 15:08 clicked on the link In your email re: uber and lyft complaint

23                               14:58 opened your email re: uber and lyft compiaint

24                               14:57 clicked on the link In your email re: uber and lyft complaint

                                 14:56 clicked on the link in your email re: uber and lyft complaint
25
                                 14:38 clicked on the link in your email re: uber and lyft complaint
26
                                 14:38 opened your email re: uber and lyft complaint
27                               14:37 opened your email re: uber and lyft complaint

28                               14:37 o(>ened ypurernajl re:>uber and lyft complaint              ;


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 I                           14:30 opened your email re: uber and lyft cofnplaint

 2                           14:30 opened your email re: uber and lyft complaint

                             14:30 clicked on the link in your email re: uber and lyft complaint
 3
                             14:30 clicked on the link in your email re: uber and lyft complaint
 4
                             14:30 opened your.emall re: uber and lyft complaint
 5                           14:08 opened your email re: uber and lyft complaint

 6                           14:03 opened your email re: uber and lyfi complaint

                             14:03 opened your email re: uber and lyft complaint
 7
                             13:59 iciicked on the link In your email re: uber and lyft complaint
 8
                             13:59 clicked on the link in your email re: uber and lyft complaint
 9                           13:59 clicked on the link in your email re: uber and lyft complaint

10                           13:59 opened your email re: uber and lyft complaint

11                           13:32 opened your email re: uber and lyft complaint

                             13:29 opened your email re: uber and lyft compiaint
12
                             13:29 opened your email re: uber and lyft complaint
13
                             13:22 clicked on the link In your email re: uber and lyft complaint
14                           13:22 clicked on the link In your email re: uber and lyft complaint

15                           13:20 clicked on the link in your email re: uber and lyft complaint

16                           13:20 clicked on the link In your email re: uber and lyft complaint

                             1319 opened your email re; uber and lyft complaint
17
                           I 13:19 opened your email re; uber and lyft complaint
18
                           I 13:19 opened your email re; uber and lyft complaint
19                         I 12:57 opened your email re: uber and lyft complaint

20                         I 12:57 opened your email re: uber and lyft complaint

                           I 11:57 your email ra: uber and lyft complaint was sent
21
22
23
24
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27
28

          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration of Independence, Bill ofRights, and Civil
                    Rights, American Disabilitv Act, Trade Secret Misappropriation, Unjust Enrichment
                                                           ,'-•321-• '-         -
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 410 of 825
 1          754.     May 9, 3 days later, the Whistleblower who met with Plaintiff in private calls Plaintiff

2    and leaves a 3-minute voice message with no message. He was driving for Lyft and Uber as you can

3
     hear a passenger in the background. It's still unclear why he called.
4
 5                                                                                    "•mi;.
6                                        JosephI
                                         phone
7                                        May 9, 2019 at .8:31 AM

 8                                              Unable to Transcribe this Message

9                                                         Report: Feedback;

10                                                                                    -3:0G
                                         0:00
11                                     Speaker'            Call Back                Delete
12
13
14
15
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                      Rights, American Disability Act, Trade Secret Misappropriation, Uhjiist Enrichment.
                                                           - 322-
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 1                    K7. Defendants Continue Running, Evading and Using False Identities
2              755.    OnMay 10, 2019, Uber goes IPO.
3
               756.    On May 10, 2019, the same day. After Joe tipped off John, Logan, Ben and Does
4
     that Plaindff is claiming corporate espionage, cyber-hacking, and tortious interference, Ben has
5
6 refused to accept court documents as he thinks it's Plaintiffs Complaint.
7              757.    Ben has also refused to identify himself Pictured below and on the next page,
8
     confirmation from person serving Ben, that Ben is refusing service and failing to identify himself
9
     to check if it's Plaintiffs Complaint.
10
11
12
13
14
15
16
17
18
19       Pay     Date        Time j Location      | Results
         Fri     05/10/19    2:10pni Business      The receptionist called up to Suite 101 and shortly thereafter a man came \a the
20                                                  lobby to speak with me. He looked at the documents and said that they were aware
                                                   ofthe la^ysuit and have spoken to Ae attorney named on the documents: He said
21                                                 that he told the filiAg attorney Ae documents need to be served in SF through his
                                                   authorized representative: Theroanrefiised ito provide his name or any ftirther
22                                                 details. Attempt'made by: Carlos E. .Castro. Attempt at: Andreessen Horowitz 2865
                                                   Sand Hill Rd. # 101 Menlo Park„CA 94025.
23       Mon 05/13/19        ,1:05pm   Business    Per the Idljby receptionist the subject is Hot in at this time. She can not provide any
                                                   information on when he might be in.the office. Attempt made by: Carlos E. Castro.
24                                                 Attempt at: Andreessen Horowiu 2865 Sand Hill Rd. # 101 Menlo Park, CA
                                                   94025.
25
         Thu     05/23/19   3:00pra                Stop service per Mr. Jaconeite, they are working with his counsel to accept via
                                                   NOA. Atteihpt made by: Janis Dingman.
26
         Mon 06/24/19       10:00am                Per Mr. Jaconette's office, counsel for Mr. Horowitz have not retumed the NOA so
27                                                 ple.ase proceed with substitutied service. Attempt made by: Janis Dingman.

28

            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                              - 323 -                              ,
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 1
2
3
4
 5
 6        Day Date         Time   I Location       j Results
          Tue 06/25/19     11:18am Business          I spoke wiA two receptibnists at the office, both said that Mr. Horowitz is not
 7                                                   available at this time and both refused to accept service or provide their names. I
                                                     announced service and left tjhe documents.on the desk. Attempt made by: Carlos E.
                                                     Castro. Attempt at: Andreessen Horowitz 286S Sand Hill Rd. #101 Menlo Paik,
 8                                                   CA 94025.                  : ;
 9        Tue   06/25/19   11:20am   Business        Substituted Service on: Ben Horowitz Business - Andreessen Horowitz 2865 Sand
                                                     Hill Rd. # 101 Menlo Park, CA 94025 by leavmg a copy ofthe documMit(s) with:
10                                                   Jane Doe,;Receptiomst. Asian, Female, 32-37 Years Old, Black Hair, 140 Pounds,
                                                    jSittmg. Served by: CMIOS E. Castro
11
12
            758.     May 11, 2 days lateria formcr iHug driver, and current Uber and Lyft driver calls
13
     Plaintiff s Wife.
14
15                                         12:23

16
17
                                            Wendy                                    5/11/19 ( T )
18                                          mobile

19                                          Adam H u s b y '
                                                                                      5/9/19 (T)
                                            phone
20
                                             Ada^m l i u s b y '                      :5/9/1,9,
21                                         • phohe

22                                          Adam,Husby'              (3)              5/9/19      @
                                            phone,
23
                                            +1                                        579/1S (I),
24                                          La

25                                          Mum                                       5/9/19 ^-(l)

26
                                         M Adam Husby '                               R/7/1C) (T)
27
28          159.     May 14,3 days later, Nicole asked if iHug was still in operation, and '{^cu^j[i^s^

            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                                                                   - 324 -
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                                      K8. Joe Creates an Accent and Claims
 2                                    He Moved Out of State to Evade Court
3
            760.     On May 16, 2019, 6 days after'^etixs refusing service, Joe was served regarding
 4
     an unrelated case. Joe refused the court documents as he believed it was Plaintiffs Complaint,
 5
 6 regarding hacking, corporate espionage and other violations.
 7          761.     Even more outrageous, Joe used an accent, and falsely stated he moved out of
 8
     state in order to evade the law, with knowledge of his wrongdoing. Social media accounts
 9
     establish Joe's kids are still attending school in Sacramento, Califomia, substantiating Joe is on
10
11   the run for his wrongdoing with Defendants. Pictured below, Proof of Service of Summons.

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23
24         : ^<7i&v-*?:i;v;M'^^          . .-J-•[.':•   ^ .fi ^ • . .

25               JOSEF ACEBEDO, Who tried to relUsa service tiyrafUsIngto take doeumente and did not state reason for
                 refusal, with IdanMly connnmed by sufaisct sayli^ yes when named, a blaek-lnbwd Hispanic male approx. 3M5
26               years of age, 5'8"'5'10"taliand vwighlng 140«160 lbs with an accent
                                                                                    • i^:•;;^i;r:f;t-.f;^
27
28

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       Complaint for Infringement oh Our God Given Right to Life, Declaration of Independence, Bill ofRights, and Civil
                     Rights, Amei-ican Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                           - 325-',
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 414 of 825
 1                    K9. Defendants Immediately Start Covering Up Using The Media

2           762.     May 17,1 day later, after Plaintiff shared part of his Complaint with law firms in San
 3
     Francisco, as he was seeking representation. Plaintiff alleges after Lyft and Uber found out they are
4
     endangering dialysis patients lives through their taxi anti-competitive tactics in healthcare, Lyft
 5
 6 begins to launch stories involving drivers saving patients' lives.
 7
 8
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                                                          - 326,-
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 1                                        KIO. Defendants Continue to Attempt

2                                   to Trace and Locate Plaintiff and His Wife
                                                                              ••vf
 3
4           763.     May 2\, 4 days later. While Plaintiff was wrhing his Complaint, the driver, Diane

 5 called again, this time she didn't leave a message.
 6                                                                                         .iliLTES)>

 7                                                               Voicemaii
 8                                         Diannel
9                                          phone,                                          & (I)
                                           June 21. ,2019\at 4:37 PM

10                                                  Unable to. Transcribe This Message
11                                                               Report, Feedback

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22
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24
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25                                   . .Favorites      Reeehts                 -.Kaypad-      Voicemaii

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28

            Adam John Mackintosh--:Vs-^Lyftv Uber, Andreessen; Joe, John, Louis, Jerry, Logan, Ben, and Does
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                                    ,••     '-^                   i-327-' ''
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 416 of 825
            764.     May 23, 2 days later, another former iHug driver, and current Uber and Lyft driver

2    sends Plaintiffs Wife a text message. Plaintiff and his Wife have not spoken to the Driver since early
3
     2018. Defendants insfructed Drivers to call Plaintiff Wife, tb try and prove no emotional damages.
4
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6
                                                                                5/23/19 >
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        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 417 of 825
 1                                  K l l . Defendants' Drivers Attempt to Hack

 2                            iHug's Email System to Delete Any and All Evidence
 3
            765.     May 25, 2 days later. While Plaintiff was writing his Complaint, a culprit attempted to
 4
     access iHug's intemal emailing system which gives access to iHug's intemal details. Plaintiff
•5
     immediately performed an IP trace, where it was determined the culprit attempted to login 5 miles
 6
 7   from Big Bear Diner, a restaurant John, Louis, Joe, and Does meet. The login was attempted using

 8   David Tilton's ("David") email, a former iHug driver who's bestfriendswith Louis, and John.
 9
            766.     Pictured below on the left, Google alerts of failed attempt. Pictured below on the right,
10
     Louis wearing a black Lyft jacket who had access to iHug's intemal systems as seen herein, and
11
     David in the middle, wearing a white shirt. Photographic, network, and circumstantial evidence
12
13   establishes Defendants are still attempting to delete emails, spreadsheets, and other evidence which

14   substantiates their involvement at iHug.
15
16      <                                                       0
17
18      Suspicious Login mbox
19
20                   G Suite Alerts 214 AM
21                   tome V
22
23
24           G Suite
25
             This is to inform you that Google has detected a suspicious
                                                                                                             Cominent:
26                                   in- your domain ^ihuqhealth.cbm.

27
28          767.     June 11,1% days later. Immigration fraud agents perform, bed check.

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                                                           - 329-
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 1          768.      June 17, 6 days later, Joe stalked Plaintiff and his Wife.

2           769.      June 24, 7 days later, Joe louis and Does are seen together for the first time at his
 3
     private group.
4
                 K12. Insurance Agent Becomes Whistleblower Sending a Cryptic Message
 5
                              That Plaintiff and his Wife are Facing More Attacks
6
 7          770.      July 9, 75 days later, an insurance Agent that is part of the insurance scheme called

 8   Plaintiff, and cryptically wamed Plaintiff and his Wife, attacks were coming but they would be
9
     guarded by God, stating, "The joy of the Lord will guard your heart in Christ They enemy may try
10
     but the joy will be like a shield that destroys the fiery darts that fly towards you. You may walk
11
     through many challenges but the God of Peace will be with you. Surrender to Him." Pictured below,
12
13   her text message to the Plaintiff, she had not messaged Plaintiff since September, 21, 2017, over a

14 year and a half later.
15
                                                     Sep 21,.2017, 11:58: AM

16
                                    ' Email was sent ...we are back
17                                    up

18                                                     Tuesday 2 : A 3 PM


19                                    The joy of Jthe Lord will guai-d^.
                                      your heart in Christ, the enemy
20                                    may try but the joy will be like, a .
                                      shield that destroys the fiery^ 1
21                                  I darts that iFly toward you. You;-
22                                    may walkthrough many^
                                      cliaileriges but the God of . ,
23                                    Peace will be with yoLi.
                                      Surrender to Him.
24
25                                              |)     fp.xr K'lersHgr

26
27
28

            Adam John Mackintosh—^v.s—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                      Rights, American Disability Act, 1 rade Secret Misappropriation, Unjust Enrichment.
                                                     -• --330-: •
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 419 of 825
 1                               K13. Manipulating Investigations and Evidence

 2          771.     Historical, circumstantial, electronic, behavioral nature, and forensic evidence
 3
     establishes Defendants instmcted Louis not to open any emails from iHug, or the Plaintiff. Joe's
 4
     email was review by Lyft and Uber's Legal Counsel. It's substantiated Lyft, Uber and/or its Legal
 5
     Counsel advises all parties who received the initial demand for damages to avoid all communications
 6
 7 as Defendants are under investigation. Pictured below, emails opened the first time were not opened
 8 the second time, example, [Ist email, Joe opened 39 times | 2nd email, Joe opened 0 times].
 9
10                                      Eniafl                                        Opens

11
                                        Jdeace                                          39
12
13                                      -loulstig

14
15
16
                                                                        I
                                        , 'Sent oUlO.-July- •2pj9,,^20:22)g,^^^^
17                                       Email                                        Opens

18
19
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21
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24
25
                                         darad
26
                                                 plyft.Gom
27
28                                       Jei            lci6ud.com;


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                                                       '-•:..;-;33i -
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 420 of 825
 1                                 K14. Plaintiff Sends Physical Copy of Settlement

 2                                   Demand, Defendants and Board Members Run
 3
             772.      Plaintiffs Wife drew out the willfiil actions by Defendants in a timeline for the
 4
     month of July, 2019, after Defendants receive Plaintiff s settlement demand. Pictured below, you will
 5
 6   see the beginnings of the Defendants willfiil actions.

 7
 8
 9
                                         3ol«»< Ti- Oovstoj, QiloiUai'*
10       Adam cw;\s."*w«»5                                                           rtiMion            found**-   o f HupRnoje^
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14                              r
15                                                                                     tier    bo«^d >«<»MW

                            o^e*vv>^^d
16                                                                                                  t
     A*»i»'jfW*t«»l.         rvwdl
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                                                                          - 332 -
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 1        773.     July 10, 2019,1 day later. Plaintiff sends Defendants settlement demand email.

 2
                     RE: Legal Demand r Expires July 12,2019 at 5:P0PIM 12                      50.00%         0.00%
 3                   PST                                                      recipients        opened         clicked
                     Regular • 9 hours ago
 4
 5
 6
      HIGHLY CONFIDENTIAL SETTLEMENT DEMAND FOR CONFIDENTIAL
 7    SETTLEMENT PURPOSES ONLY CALIFORNIA EVIDENCE CODE SECTION 1154
 8    IMPORTANT: ALL COMMUNICATION WlTI-l ADAM MUST BE IN WRITING
 9
      ALL PARTIES HAVE UNTIL JULY12. 2019 BY 5:0QPM PST TO CONFIRM
10
      ACCEPTANCE OR DENIAL OF THIS SETTLEMENT DEMAND THROUGH EMAIL
11
      AT Blf^^^H^^I'^^;
12    IN THE EVENT ALL PARTIES CHOOSE TO SETTLE, ALL PARTIES HAVE
      UNtiL JULY 19. 2019 BY 5:06PM PST TO SUBMIT DETAILS OF THEIR
13
      SETTLEMENT OFFER TO ADAM;
14
      ALL PARTIES HAVE UNTIL JULY 23. 2019 BY5;0QPM PST TO FINALIZE PAYMENT
15    TO ADAM.

16    This settlement demand letter was signed on July 4, 2019, by Adam Macklhtosh.

17    All parties have until July 12, 2019 at 5:00 P.M. P.S.T. to respond with their decision to
      settle.
18
19    a denial of settlement demand for all pai-ties and all offers and confidentiality will
20    expire on by July 12: 2019 at 5:00 PM PST Adam will then have any and all rights
      to remedy the dainages to the fullest extent necessary.
21
      THE TIME LIMIT SET HEREIN TO RESPOND. IS FAIR. REASONABLE AND FIRM.
22
      BASED ON ALL DAMAGES SUSTAINEP.
23
24    See attached settlement demand link:
25
      -legal demand
26
27
28

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                    Rights, American Disabilit}' Act, Trade Secret Misappropriation, Unjust Enrichment
                                                   ,   , --333
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.1           774.      July 10, the same day, Logan unsubscribesfromPlaintiffs settlement demand email

 2    to remove any fiiture evidence that may prove investors allegations, see McCloskey-vs- Lyft, Inc. et
 3
      al, case number CGC-19-575475, the allegations state: "'The Registration Statement and Prospectus
 4
      incorporated therein (collectively, the "Registration Statement") issued in connection with the IPO
 5
      contained materially incorrect or misleading staternents and/or omitted material information that
 6
 7    was required to be disclosed. " Plaintifffiirtheralleges, the actions taken by Logan herein, is

 8    described in a Waymo-vs-Uber-Case#3:17-cv-00939-WHA, in particular, a former Uber employee
 9    and United States Defense Intelligence Agency Officer, states, "Jacobs then became aware that
10
      Uber, primarily through (Zlark and Henley, had implemented a sophisticated strategy to destroy,
11
      conceal, cover up, andfalsify records or documents with the intent to impeded or obstruct
12
13 government investigations as well as discovery obligations: in pending andfuture litigations. Besides
14 violating 18 U.S.C. § 1519, this conduct constitutes an ethical violation. Jacobs further states,
15 storing data on non-attributable devices, Uber believed it would avoid detection and never be
16
      subject to legal discovery."^xctured below, Logan unsubscribes to prevent further evidence on Lyft's
17
      systems.
18
19                      Show . Uniubbcnbed 1 -
                                                 (,           ''
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20
                      Actions »                                         Toggle Columns1-1of1        <       >
21
22,                 j Email                                  Open*       Clicks:.      Unsubaa^be reason

23
                      ^HHiy^.cpm                               1           0,                                   ir
24
25                    2019-07-10

26                      20:31 status changed to unsubscribed
27                      20:31 unsubscribe ybuVemalf ^
                                                                                               ^^^^^^^^^

28                      20;23;^9pened yoLir email re: legal demarid - expires juiy 12, 2019 at 5:Q0pm.

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                                                           \- 334 - •
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 1                   775.       July 10, the same day, after Logan unsubscribed to Plaintiffs emails regarding a

 2   legal demand for damages. Plaintiff directly sends the demand letter through email to all Defendants
 3
     so Defendants can't unsubscribe and "get" Plaintiff on a legal technicality.
 4
 5    o        f,r To MrJoeacebedo'              RE: Legal Demand - Expires July 12, 2019 at 5;00PM PST - HIGHLY CONFI...      Julio



 6
      n        f • To joeacebedo               . RE: Legal Demand -.Expires July 12, 2019 at 5:00PM PST - HIGHLY CONFI...      Jul 10

      ......         To jerrywang              . RE; Legal Demand - Expires July 12, 2019 at 5:00PM PST - HIGHLY CONFI.,.      Jul 10
 7
 8
      n              To dara                     RE: Legal Demand - Expires July 12, 2019 at 5:00PM PST - HIGHLY CONFI...      Jul 10



 9
      o        ti-   To jerrywang                RE: Legal Demand - Expires July 12,2019 at 5:00PM PST - HIGHLY CONFI....      Jul 10


      ••             To legal 2                  Onijoxfi RE: Legal Demand.- Expires July 12, 2019 at 5:00PM PST - HIGHLV...   Julio
10
      •        t:    To dara                     RE: Legal Demand - Expires July 12, 2019 at 5:00PM PST - HIGHLY CONFI...      Jul 10
11
      •              To- ben                     RE: Legal Demand - Expires July 12. 2019 at 5;00PM PST - HIGHLY CONFI...      Jul 10
12
      o        V-f To: logan                     RE: Legal Demand - Expires July 12, 2019 at 5:00PM PST - HIGHLY CONFI..,      Jul 10
13
      LJ       tr    To: John                    RE: Legal Demand - Expires July 12, 2019 at 5:00PM PST - HIGHLY CONFI...      Julio
14
15
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18
                     776.       July 10, the same day. After Plaintiff sees Logan unsubscribe from the email, and
19
     disregards a very serious matter. Plaintiff and his Wife print, seal and mail the settlement demands to
20
21   Defendants H.Q., and Joe, Louis and Jerry's last known addresses.

22                   777.       Defendant and his Wife wanted to show the Honorable Judge, who will preside over
23   the Complaint, to see they made eVery good faith effort to settle, despite the vile attacks over a year
24
     and a half, while endangering lives in healthcare for greed.
25
                     778.       Pictured on the next page atop, photographic evidence establishes Plaintiff sent off all
26
27   demand letters to Defendants in physical artifact form to ensure they receive it, read it and

28   acknowledge it before court if they refuse to settle.

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 4
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                                                      ' '• a:tfl»'M.     '

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16      qbJe Judge, It Adam /olm Madciptosh, is in
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17      grace period expires oo July i9,2019

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          Adam John Mackintosh—vs—Lyft, Uber, Andreesseri, joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                    Rights, American Disability Act, Trade Secret Mis.appropriation, Unjust Enrichment.
                                                                                                              -336   - •
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 425 of 825

 1          779.     Pictured below. Plaintiff showing good-faith efforts to settle, inserting this cover sheet

2    in the sealed envelopes mailed by FedEx.
3
4
 5
6
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 8                    An email was sent to you on July 10, 2019 at 5:22PM
9                      PST. That email demand expired July 12, 2019 at
                                            5:0GPM.
10
11
12                     I am giving you one last chance to settle this matter.
13
                        I am providing ybu with a grace period to show an
                        Honorable Judge, I, Adam John Mackintosh, is in
14                         good-faith attempting to settle before court.
15
16                            This grace period expires on July 19, 2019
17
18
19
                                                 Adam John Mackintosh,
20
                                                 /s/ Adain John Mackintosh //
21
                                             Signed and Date 07/10/20,19 at 8:40PM
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            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringement on Our God Given Rightto Life, Declaration oflndependence. Bill ofRights, and Civil
                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringementon Our God Given Right to Life, Declaration of Independence, Bill ofRights, and Civil
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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 1          780.     Pictured below and on the proceeding pages, the settlement demands were sent in

 2 physical form, giving Defendants definitive notification and no excuse for not responding.
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            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence, Bill ofRights, and Civil
                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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      Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 429 of 825
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           Adam John Mackintosh—vs—Lyft, Uber. Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence, Bill ofRights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence, Bill ofRights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence, Bill ofRights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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     Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 432 of 825
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                    Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment
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 1          781.        After Joe, Ben, and Logan refuse any contact, Jerry also refused the legal demand
 2   from Plaintiff for damages. Plaintiff readies for trial.
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                   Travel History,              Shipment Facts;
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            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
                                                                  -345 -
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 1          782.     On July 12, 2019,5 days before, Uber, Lyft, John, Logan, Ben, Louis, and Jerry
2    are scheduled to receive the settlement demand, Joe received it first.
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            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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 1                                           K15. Potential Bankruptcy Fraud

2            783.     On July 13, 2019,1 day after Joe alerted Defendants, it's alleged they consult with
3
     a Bankruptcy Litigation Attomey in Delaware, John T. Dorsey, ("John 2"). John 2 signed up to
4
     Plaintiffs software, in particular, "John 2 works closely with clients and co-counsel to find
5
6 practical, business oriented solutions to difficult cases. When resolution short of trial is not
7 possible, John carefully manages litigation costs and brings refined skills to the courtroom in
8
     order to achieve the best possible results for clients." John 2 violated iHug's Terms of Service.
9
     Its alleged Defendants are seeking bankruptcy to avoid paying Plaintiffs damages.
10
11
12                                                          John
                                                            PARTNER
13
                                                                     [.com
14                                                          WllmlngtoHinBBBH2:

15
             784.      Pictured below, John 2 signs up to Plaintiffs rideshare software. Plaintiff blocks
16
     the sign up, and refunds John 2, kicking him out of the software system for Drivers.
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18              Stripe';Alg^8:55 PM.
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        8:55^PM'' I' rlhiJoiice^qhargiB^ucce^i^^^
21         -r^Sllllll^.ySllcharge^                                 ilxom • View details,
                    New subscription
22
                    . P E I ^ ^ ^ ^ ^ ^ ^ H w M subscribed toiHug Software'                        I • View
23                  details
                    Charge refunded
24
                    $99.00 USD was;refunded to;                         fiail.com • View details
25
26
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28

            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Compiaint for Infringement on Our God Given Right to Life, Declaration oflndependence, Bill ofRights, and Civil
                      Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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 1                                K16. It's Alleged Dara Will Exit Uber, After Facing

 2                    Plaintiffs Lawsuit and The Scandal Caused by Defendants and Does
 3
              785.    On July 22, 2019, 9 days after. Defendants Bankruptcy Attomey signs up for
 4
      iHug's Software, and 1 day before expiration of Plaintiffs settlement demand, it's
 5
 6    alleged Dara Khosrowshahi ("Dara") met with Uber's Board of Directors on multiple

 7    occasions. The board has since discussed Plaintiffs damages and allegations outlined on his
 8
      settlement demand, and have started to prepare for Plaintiffs upcoming lawsuit.
 9
              786.     The same day, Dara suddenly acquired 629,722 ownership of Uber Securities,
10
1.1   valued at approximately $28,035,223.44. Plaintiff alleges, Dara will soon step down as CEO,

12    after taking the blame for Uber's wrongdoing.
13            787.    Pictured below, Uber files Dara's Statement of Changes with the SEC. Pictured
14
      on the next page, Dara receives new Uber Securities.
15
16      Quarterly Reports       S E C filings


17
18
19        2019 v- ;             Filing type         ^   \ FDIng description                                Download/view
                                     "-'        "       ,
20
                                                            statement of Changes in Beneficial Ownership
        7/24/19             4                                                                              PDF   DOC XLS
21                                                          KHOSROWSHAHI DARA


22      7/24/19             8-K                             Current report filing                          PDF   DOC XLS

23
        7/24/19             8-K                             Current report filing                          PDF   DOC XLS

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             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
        Complaint for Infringement on Our God Given Right to Life, Declaration oflndependence. Bill ofRights, and Civil
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          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                                          K16A. Uber's CEO, Dara, Values
 2                                           IVIoney Over a Women's Life
 3
            788.     Plaintiff vehemently argues Dara failed Uber, and failed the American people.
 4
     Not only did Dara, and Uber's Board of Directors ignore Plaintiffs settlement demand, they
 5
 6   collectively ignored the fact that Plaintiff argues the Defendants are endangering life in
 7   healthcare.
 8
            789.     Dara and Uber's legal team failed to contact Plaintiff to discuss the matter in
 9
     more detail. This seems to be a typical cultural behavior as described by Dara in an interview at
10
11   Stanford University Graduate School, stating, " I need a silver bullet machine gun to take out
12 my competition."
13
         790. Plaintiff maintains, Dara also proclaims in his "Moving Uber Forward" video,
14
   "One of our core values is to always do the right thing," and "when there are times when we fall
15
16   short, we commit to being open, take responsibility for problem, and fix it," "you got my
17 word." Whereas in this Complaint, Dara does the following:
18
         791. Dara did not do the right thing by ignoring Plaintiffs settlement demand.
19
         792. Dara was not transparent, who met with Uber's board of directors in private.
20
21          793.     Dara did fall short, and did not take responsibility to fix the problem.
22          794.     Dara did not keep his word as promised in his video.
23
            795.     Lastly, and even more disgraceful, Dara took $28,000,000 million dollars in new
24
     Uber securities within days of receiving Plaintiffs settlement demand, while ignoring Plaintiffs
25
26   concerns involving the endangerment of Life in healthcare. Plaintiffs settlement demand even
27   included visuals to express the extent of the damages. Such behavior and disregard for Hfe is
28
     willful and reckless. It's completely un-American.
            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                   K17. Uber Executives and Board Members Run with Profits Made from
 2                        PlaintifTs $1.2 Trillon Healthcare Opportunity - Matt Cohler
 3
              796.     On July 23, 2019, i day after Dara received Uber securities, and the day of
 4
       PlaintifPs settlement demand expiration date, Uber's Board Member, Matt, General Partner at
 5
                                                                                                      )
 6
       Venture Capital Benchmark, requests to resign from Uber, as he is aware of everyone's
 7
 8     wrongdoing, including his own, as alleged by Ben in an interview with Bloomberg.

 9            797.     Matt's Venture Capital Firm, Benchmark, invested in Zendesk, a system that was
10     used to misappropriate Plaintiffs trade secrets. Ben who's a Board Member at Lyft, claimed
11
       Uber and "the Benchmark guys" called investors to threaten them. Whereas it's proven based
12
       on audio evidence. Plaintiffs investors were threatened not to invest in iHug, choking off
13
14     iHug's capital to grow while iHug was being sabotaged.
15 I          798.     Pictured below and on the next page, Uberfileswith the United States Securities
16
       and Exchange Commission, advising two board members who are suddenly resigning.
17                                 S    techCrunch
                                    ijber loses Arianna Hijffingtbn   and Benchmark's Matt
18
                                    Cohler as board.members      .-'techGrunch,
19                                  Uber has lost two of its board members today. Arianna
                                    Huffington, CEO at Thrive Global, and Benchmark General
20                                  Partner Matt Cohler's resignations from the board went
21                                  into effect today, according to two Uber filings with the
                                    SEC. "Given Thrive's growth, it has become clear to me that
22                                  I wi... (51 kB) r

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              Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                799.       On July 24, 2019,1 day after Plaintiffs settlement demand expires, Uber files with

 2     the SEC, regarding Matt's resignation from Uber.
 3
 4                                         UNITED STATES
                               SECURITIES AND EXCHANGE COMMISSION
 5                                                                   Washihgtoh, D.C. 20549
 6
 7                                                                        FORM 8-K
 8
                                                                   CURRENT REPORT
 9                                                             Pursuant to Section 13 or 15(d)
                                                           of the Securities Exchange Act of 1934
10 '
                                          Date of Report (Date, of earliest evient reported): July 24,2019
11 ;
12 '
13                                      UBER TECHNOLOGIES, ING.
                                                       .(Exact name of registrant as :specified in its charter) .
14 ;
15 -:                  Delaware                                                     001-38902                                               XX-XXXXXXX
                (State or otbei: jurisdictipn                                     ;(CoininiMiari                                           O^RJS. Emptoyer
            of incorporation or organization)                                    ; File Number)                                           Identification No.)
16 !
                                                                     1455 Mai^ket Street, 4tli Floor
17 :                                                                San Francisco, CaUfomia 94103;
                                                         : (Address of principal executive offices,' induding zip code)
18 .                                                                           (415)612^8582
                                                            (Registrant's teleplidoie number, iiiicluding area code)
19;
                                                                           Not Applicable
20                                                      (Former name itrformeraddress, if ciiangeid since last report)

21
        Item 5.02 Dcpartnrc of Directors or Certain Officers; Electioo of Directors; Appointment of Certain Offic«n; Gonipiensatary Arrangements of
22      Certain Onlcers
        On July 23, 2019;Matt CohlCT infonned the Cpmpany.ofihis intention to resign as a member of its board of dirMtors, effective as of Jujy 24,2019.
23
        Iii a note to'the Board regardiiig Mr. Cohler's departure^ Dr. Sugar stated;,"Matt and Berichinatk's iinrneastirable contributw        helped make Uber the
24      company it is today. We wish them continued success as they tiiiiture the next generationofworld-chaiiging companies."

25      Mr. Cohler stated: "My partners at Benchmark andl have had'tiie privilege of beiiig part of the Uber journey since the Series A nearly a.decade ago, Tm
        thrilled with the company's position, excited foirrthe road ahead, a^^    my deepest thaiiks tb all of liber's past and present employees,-dirisctbrs,
        diivers, and customers."
26
        Mr. Cohler's resignation was npt the resutt of any disagreement tratweeh Mr. Gohle                Company, its management; tKKud of directors or any
27      committee thereof or with respect to any matter'relatiiig to the (IJoinjjimy "spperatibtis, policies or practices.

28

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 1                   K18. Second Uber Board Member Runs After Receiving Plaintiffs

2                                   Settlement Demand - Arianna Huffington
3
            806.     On July 24, 2019, the same day Uber files with the SEC, Arianna Huffington
4
     resigns from Uber as she is aware of Uber's wrongdoing. Travis Kalanick ("Travis") remains on
5
6    Uber's Board of Directors.

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      Arianna Huffirigtori. picTured here with forrner (Jber CEb trayis Kalari^i^^                      board of
23    directors. Kalanick remains a board member. © 20i6 Bt.ooM8E.RG FINANCE LP
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                     K19. Deleting Evidence of Infiltration of Competition by Defendants

           800.      In order to cover up any wrongdoing, after receiving Plaintiffs demand letter, Louis,

I Joe, Jerry, and Does shut down Empathy Transportation Services website. The website contained

I photos of them infiltrating Empathy, the same fashion they did at iHug and competitors alike.

           801.      This substantiates all allegations in all proceeding paragraphs.

 Before demand letter was sent.                                After the demand letter was sent.

 n i l Verizon LTE          7:37 PM            $83%
                                                                               etsservices.org
   ^       A https .'/etsservices.org/team        0

                       Our" Team



                                                                      This Connection Is Not
                                                                      Private
                                                               This webslte may be impersonating
                                                               "etsservlees.org" to steal your personal
                       Josef A. Acebedo                        or financial information. You should go
                          Operations
                                                               back to the previous page.

                                                                                 Show Details        Go Back




                         T. Michael Kim
             fi/larketing/Community Development




                                                                                      fi          on ' 0

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 1                      K20. Cutting Ties with People with Knowledge of Wrongdoing

 2          802.     After Plaintiff sends a demand letter outlining corporate espionage, sabotage, cyber
 3
     hacking and causing severe emotional damages that nearly led Plaintiffs Wife to suicide. Defendants
 4
     start to "let people go," who were integrally involved, in particular Divinity, who metaphorically
 5
     speaking, had "Lyft in her blood," who worked directly with Joe, Lpuis and Does, as well as cross-
 6
 7 functional partners in product, engineering, govemment relations, legal, marketing and operation.
 8          803.     Divinity had knowledge of the misappropriation of corporate secrets, handling bumer
 9
     phones, infiltrating competition, intelligence gathering from competition, controlling compromised
10
     Drivers. Defendants were trying to eliminate the mole who they thought was leaking info to Plaintiff.
11
            804.     Pictured below. Divinity worked closely with top executives at Lyft. She adored Lyft,
12
13   and had no reason to leave suddenly.

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 1          805.     Divinity worked closely with John, Louis, Lyft's CFO Brian, and Does. After the

2    settlement demand letter was read by Defendants Legal Counsel, Divinity shockingly, and suddenly
 3
     departed Lyft. Pictured below, demonstrates just how much she loved Lyft.
4
 5                                                                            This Tweet is unavailable

6
                                                                              This Tweet is unavailable
 7
 8                                                                                  John Zimmer @
                                                                                    @j6hnzimmer
9
                                                                            Replying to @divinitymatovu
10                                                                          SO happy I got to see you and Louis
11                                                                          today!!! Thanks @divinitynnatovu

12          806.     Pictured below, before and after Defendants received Plaintiffs settlement demand
13
     involving corporate espionage, hacking, misappropriation of corporate secrets. Defendants cut ties.
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 1                        K21. Defendants Begin to Eliminate the Referral Programs

2                                    That Were Used to Suppress Competition
 3
            807.     To continue establishing a preponderance of evidence, Plaintiff asserts the
4
     Insurance Scheme outlined in section A, titled, "The Secret Insurance Scheme that Unlawfully
 5
 6   Suppresses Competition," is proven based on recent events as described herein.

 7          808.     Plaintiff argues Defendants use investor cash to incenlivize its Drivers to
 8
     mislead competitors, using Lyft and Uber's brand power, in order to infiltrate, and extract
9
     competitor Drivers. Defendants Drivers then use promotional codes to receive cash incentive
10
11   when the new competitor's drivers are on-boarded to Lyft and Uber's platform.

12          809.     Plaintiff asserts this creates a parabolic growth and financial loss, as described by
13
     CNBC interviewer Andrew Ross Sorkin, ("Andrew"), where Logan then states, "We're going
14
     after a $1,200,000,000,000 trillion-dollar opportunity." Plaintiff maintains Defendants are using
15
16   his $1,200,000,000,000 trilHon-doUar healthcare opportunity, placing Defendants on a pathway

17 to profitability, unjustly enriching themselves.
18
19
20
21
22
23
24
            810.     Pictured on the next page atop, Defendants start deleting the incentive program
25
26   mid-July 2019, one element of the insurance scheme.
27          811.     You can no longer log in to receive cash incentive when onboarding competitor's
28
     drivers.
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                            Ihups: / /www.lyft.com/ambassador
 2                          78 tannires
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 6                                                                              Wrong turru
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15
16
              812.        Pictured below, a very unusual amount of activity and changes to Lyft's websites
17
     and software logins. Plaintiff alleges Defendants are using knowledge from Plaintiffs
18
19   Complaint to cover up, "creating activity," i.e. deletions, changes, concealment.
20
       /h!ips:/./v.'ww.iyfi,corrvamba3Si!ri.or
21      N TERN E T A. R C H ,I V E Explore more-than 371 billion vvetj pages saved over tiine

22                                           https://vmw.lytt.c6Fn/ambassador

23
                               Collections,'- • vChanges :,            Summary' ,-, :Site .Map
24
                Saved 78.times .between-pctobe^^^^^
25
26
27                                                                                                         il     J:     I il I I I IBM
       2002    2003    2004     2005 .    2008 :   2007 '   2008'   2009       2010   , 2011   2012      2013   2014   2015   2016   2017   , 2018

28
                              Sat, OS Jan'20.|9 Q3:cq;55 QMT.(«vhy;,!wmeramlil*s)

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 1                              K22. Lyft Infiltrated Uber to Intercept Plaintiffs
2                                   Revolutionary Healthcare Vehicle Designs
 3
                                  That Would Provide the World's Safest Ride
4
            813.     To continue estabUshing a preponderance of evidence that Defendants infiltrated
 5
 6   Plaintiffs Company, iHug. While in the heat of corporate espionage pre-IPO, Plaintiff disclosed

 7   to Nicole, who was a mole for Lyft, that Uber and Lyft'sfleetis not safe for healthcare, and
 8   unfit. After Nicole leamed Plaintiff is pitching Uber regarding his intellectual property and
9
     patent pending healthcare vehicle, Dan suddenly resigns from Lyft, and joins Uber's healthcare
10
11   team, to intercept Plaintiffs IP details to unjustly enrich Lyft.

12          814.     Pictured below, Plaintiff sends Dan, and his Boss a recap email of the benefits of
13   the IP. It's discovered, Dan's boss resigned 1 month later. The attachment consisted of IP.
14
15                    Adam John <adam@ihughealth....                Feb 19, 2019, T:17 PM       ^       4>s
                      to trigub, bcc: Aaron -'^
16
                      Hi Dan,
17
18                    Thanks for your time today. Here js a re-cap.

19                    Overview of meeting:
20
                      - Uber will convert NEMT ipto Rideshare ($300 billion cash (contracts and private
21
                      pay).
22                    - Migrate Uber out of a thin-margin company to a high margin net profit and
                      cash-flow business.
23
                      - Uber will not own vehicles.
24                    - Uber will npt train drivers.
25                    - Vehicles will be leased to Uber drivers, making WAV tmly on-demand without
                      heavy investment in MV Transportation and other partnerships.
26                    - IP can be used in multiple markets (ie. NEMT, public transit, UberEats,
27                    catering/deliveries).
                      - IP will allow Uber competitive differentiation over competitors (eg. Lyft) for the
28                    first time.

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 1        815.     Pictured below, slides from Plaintiffs new revolutionary healthcare vehicle.
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 5
6
 7
 8                                                                           i Hyg
9
                                                                    F I R S T TO IP
10               An Mfjg taartnei'ship will deliver a ta:ngi:ble, and viable leapfrog
                 ^-product lhat will set new standards in healthfcare, amplifying
11
                  driveiy^'nd ri:de:i;;S.afety, reducing WAV.injur\/and costs, while
12                             . ct:eating a competitive advantage.             .
13
14
                                1 Uber j- .-lyft-:
15
16
17
18                    Uber to target $488.1 Billion by 2030
19                                              Revenue by industry and sector

20
21
22
23
24
     $2.4Bn             $3.7Bn                           $42Bn                                               $43Bn                                            $113Bn      $285Bn
25    Mobility          Mobility                      NEMT                                                  Car Rental                                       Healthcare   On-Demand
     Van Sales        Conversions                 Transportation                                           and Leasing                                           IT        Rideshare
26
                                    tnt IK 7/*ww, rn(« stviWf h.ayn.'Ttary/n do-t« JBVQ-lr«ustrv-«x pett M

27                                  hnDS7/w*wjii.ofpfloct.ttiiiistic/t8J:ls-ot»tiaile»-in«uat<y-ov»(viow

                                   hi I ps ^ ( w w Jtosttticarcn n6ii«B.com,"n« w»(l «Whmttti-poiicv-chiWigca-mMn -hi 3- rBvwsjiMJBpa rti« s cc-hcspilai s
                                   fittptijfmvwada.gov.'txjsstalj^
28

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 1
 2
 3
                                                            Industry Experts
 4
 5                                 LogistiCare                                                 Sutter Health
 6
 .7                           "Sutter had major complaints about the safety and compliance measures of vehicles and
                                                drivers throughout my employment at Sutter Health."
- 8
                                                    - Daryn Kumar, Former Ctiief Executive Officer
 9
10
                              "iHug's IP will definitely solve deep vehicle compliance issues and driver safety habits In
11                                     NEMT, something that Loglsticare falls to meet, costing them millions."

12                                     - Jose Mittan, Former Logisticare Director of Network Development

13
14
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16
17
18
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21
22
23                                                                              "When is comes, to medical transportation,
                                                                                the status quo just won't do."
24    Current Fleet Problems                                                    Aaron Crowelf, HeatI of Uber Health, Uber
      Lift and ramp vehicles drive injury', generate expensive^
25    lawsuits, increase liability for providers, decrease                       "Uber is aiming to increase efficiency, enhance
      transportation options and availability, drives tip
      transportation costs,, increases expenditijre fbr operators,              ^the experience; and increase equity and accessibility."
26    and creates countless cdriipliance issues anid new regiiiation.            David Reich, Head of Uber Transit^.Uber

27
28

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 1
2                                     IP features and benefits
3
4
 5
6
                                                                    p
 7
 8   Patient Safety                                 Low - No Liability                              Increase Value
      Design wili dramatically                     Design eliminates ramps, and lifts,                  Design vvill offer
9       reduce injury risk;                          removing the foliowi.ng risks:                    efficient operation:

10      0     Trip and fall                         (J) Flawed wheelchair ramp Injuries       (i)   One-touch WAV button
        Q     Slip and tall                         ( j ) Injuries caused by defective Stts   ( j ) Premium pay and loyalty
11      Q     rip and fall                i         (J) Irtlury from wheelchair push start    Qt    Private pay contracts
        (J)   Back, hand, arm                       (l^   Oriverttackinjury                   Q)    Saves IS minutes of valuable time
12
13
14
15
                                                                       ©
16
17            The partner who utilizes the I.P. will start to undo all competitor
                healthcare partnerships and absorb NEMT cash contracts.
18
19                   Government and insuranbe providers want the safest and
                     lowest liability ride option available for their customers.
20
21
22
23
24                                       Uber                     TESLi

25
               816.           To further establish a preponderance of evidence, Lyft was not on the Uber call
26
27   with Nicole and Dan as he was employed by Uber who signed a non-disclosure with iHug. Lyft

28   suddenly starts to mobilize and ensure compliance, proving they were receiving intel on iHug.

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 1          817.     Within 14 days of Plaintiff confronting Dan that Uber's fleet of vehicles are not
2 safe, or compliant for healthcare. John, Logan and other Lyft Executives suddenly made an
3
  appearance at their Lyft inspection locations. An employee claims they were interrogating him
4
  regarding "how the process works," with particular focus on "vehicle safety and compliance."
5
6    Substantiating Lyft and Uber work together, to suppress competition as a duopoly, as Lyft were
 7 not on the call, also, proving Defendants are unfit for healthcare, as they are not aware of "their
 8
   own" vehicle inspection and safety process, as confirmed by the Lyft inspector in the video log
 9
   ("Vlog") below.
10
11          818.     On February 16, 2019, a Lyft Inspector appears frantic in his Vlog, stating seven
12   or more Lyft executives, including the CEO of Lyft showed, where he states, "I've never been
13
     judged so much in my life."
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12                                                                                                        NO)   O        \

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25
26   Video link: https://www.dropbox;Com/s/8lusb93zpste4bl/Meeting                   with Lyft CEO.mp4?dl=0
27
28

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 1                                             K23. Defendants Destroy More Evidence

 2            819.            Case law analysis establishes precedence such behavior exists, see assertion below
 3
      in a case Lyft-vs-Travis VanderZanden-Case# CGC-14-542554. Similar to VanderZander, Joe
 4
      sells the MacBook A i r to destroy any trace of evideiice. Pictured below an assertion from the
 5
 6 case, regarding Lyft's COO sells his device, soon after resigning from L y f t and leaving to a
 7 competitor.
 8
                            25 retum confidential and proprietary Lyft infonnation Vander2^den possessed post-employment
 9
                            26 Uber's counsel maintained that VanderZanden "has no Lyft proprietary information in his
10                          27 possession - not now, not when he started at Uber, and not since he left Lyft."
11                          28           11.    Rather than turn his phone over to Lyft to ensore the retum of all confidential

12       LATHAM*WATKINS»'                                                                             COMPLAINT FUK UUHAL'H Uj
           ATTonNcv* AT U W                                                                    co^nqDE^r^AL^Y AGR^kiBifr AM
            BAH FRANCIteO
                                                                                                     BREACH OF FIDtJOARY bUTY
13
14
15
16                               informadon, VanderZ^den purportedly sold his iPhpne on www.gazelle.com soon after his
17                               resignation. Uber's counsel claimed that VanderZanden "has hd reason to believe there was any
18                               Lyft proprietary data on the phone at any time," a claim which is contradicted by the allegations ^

19                               herein and the fact that, as a high-ranking Lyft employee, he certainly woiild have had Lyft
                                 proprietary, informaition on his iPhone during the term of his employment. Neither
20
                                 VanderZanden nor Uber explained why VanderZanden chose to sell his phone in the ftfst
21
                                 instance. An odd thing for a high-net worth individual to do, it was likely to cover his tracks and
22                               dispose of evidence of his misdeeds.
2.3
24
25
              820.            Whereas in this Complaint, after Joe resigned f r o m iHug, he was instructed to sell
26
27    the MacBook A i r he used to load iHug's intemal systems and corporate artifacts onto,

28    completely destroying any trace of evidence leading back to Defendants.

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 1          821.     Pictured below, Joe selling the MacBook Air.

2
                                      Joe'Ace > 916 Buy Sell trade
3                              ig*^   January. 25 - O


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 5
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 8
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17
18          822.     Pictured below, Joe asked iHug's VP of I.T. to load all systems onto his

19   MacBook Air after giving Defendants access, causing irreparable damages.
20
               Joe Acebeidp                      icom>                             •   ^Wed;;J^n 10,201,8^11
21             to me
22             Hey Jim. when            be Ih?          Helpwith m^^                                            etc...

23
24
25
26
27
28

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 1                                             K24. Continued Attacks and Stalking

2           807.     On July 17, 2019, 3 days after Plaintiff sent Joe a court declaration that his Wife is
3
     a whistle-blower, Plaintiffs attomey states the attomey-client privilege is over, and states " I have
4
     your green card," but I feel uneasy mailing it, to come in, where he has always mailed documents.
 5
6    This was an attempt to force Plaintiff and his Wife to use the Uber and Lyft app, or physically follow

 7 and track where they live without the attomey providing address details. This is yet another attempt
8 to compromise Plaintiff and his Wife's new roommate to make them homeless, and harm them.
9
10            <                                © ini (3 •••               <                               @   0   B
11            Fwd: Added Docs/ Alana                                  Fwd: Added Docs/ Alana
12            ^ ^ ^ ^ B / NOA Rcpt 1130 &                        ^    • • • • / NOA- Perm Resd                         ^
               1485 B-ynfei                                           Card »':in6oxt •
13
                         Peter 1111111 JuM 5                                     Peter m m | | l 1 : 0 3 AM
14
                         to Alanna, me ^                                         to Alanna, me v

15             Dear Adam and Alanna,                                      Dear Alanna and Adam,

16             Congratulations! Your approval notices                     Hope you're doing well. I realized that the
               arrived! Also, your card is on it's way. Your              card was delivered to our office, per our
17             USPS tracking for your card is                             request, due to your past mailing issues.
               viewable here. Please be sure to track it and              While I'd be happy to bave the office mail it
18             check your mail promptly. If you do not                    to you, since it's such an important
               receive it and it says "delivered", please let             document, I feel uneasy about having it
19             me know right away. When you do receive it                 mailed. Though we haven't had mailing
               however, please let me know as well!                       issues in the past, I'd like to welcome you to
20                                                                        come by my office ai^WttKBttKB^KIk,
               Thank you. It was a pleasure working with                  M M B B M B H H B B M M l to pick It up. Our
21             you. Congratijiatiohs to you both. Noviif, this            office is open from 9-5 Monday through
               email will act as formal notice that our                   Friday. Our front desk will have it ready for
22             attorney-client relationship is officially over            you.
               and as expected, it ended successfully!
23             Wishing you all the best!
                                                                          Warm regards.
24
               Warm regards,
25
               Peter j
26             Attorne

27   https://www.dropbox.eom/s/7bq9cduf5at3vsi/plaintiffs wife former immigration attorney nervous.
28   m4a?dl=0

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 1                       K25. Wheelchair Accessibility Cover Up - Fake Public Relations

 2            823.      Plaintiff is appalled Defendants unlawfully obtained his Complaint. Defendants are
 3
      now unfairly attempting to cover up their wrongdoing and changing course, giving Plaintiff an unfair
 4
      legal standing. Plaintiff vehemently argues, despite Defendants effort to cover up, the reality is
 5
      Defendants are still too dangerous to operate in healthcare as outlined in Plaintiffs ex parte
 6
 7 application.
 8            824.     Plaintiff respectfully maintains, based on his quick investigation, and evidence
 9
      presented herein and preserved in his possession. Plaintiff wouldn't be surprised if Defendants
10
      "bribe" innocent patients who have been harmed to say "Lyft and Uber are great services, I need
11
      them to get to my medical appointments," whereas before Uber and Lyft, healthcare non-emergency
12
13    operators were managing the industry the best they could.

14            825.     Pictured below you will see Lyft's initial stance before they acquired Plaintiffs
15    Complaint, and after they received it in order to cover up.
16
      Before Lyft saw Plaintiffs Complaint                       After Lyft saw PlaintilTs Complaint
17
18      Lyft says it's 'not in the
19      transportation business'
2.0     to avoid complying
21
        with disability law
        Samira Sadegue—
22      •2019-05^'02:36 pm | Last updated 2019-05-04
        02:44 pm
23
24
25
26                                                               JULY 9, 2019

27                                                               Lyft's Commitment to Accessibility
28

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 1                       K26. Helping The Blind to Cover Up - Fake Public Relations

2           826.     Plaintiff is appalled Defendants unlawfully obtained his Complaint. Defendants are
 3
     now unfairly attempting to cover up their wrongdoing and changing coiu-se, giving Plaintiff an unfair
4
     legal standing. Plaintiff vehemently argues, despite Defendants effort to cover up, the reality is
 5
 6 Defendants are still too dangerous.
 7          827.     Pictured below, Lyft creates new stories that attempt to touch people's hearts to cover

 8   up its wrongdoing.
 9
10
11
12
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18
19
20                        Lyft, Aptiv, and the National
21                        Federation ofthe Blind Partner to
22     WA
                          Provide Rides to Blind and Low
23                        Vision Passengers
24
25
26
27
28

            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                            K27. Immigration Cover Up - Fake Public Relations

2           828.     Plaintiff is appalled Defendants unlawfully, obtained his Complaint. Defendants are
3
     now unfairly attempting to cover up their wrongdoing and changing course, posting insincere stories
4
     to appear innocent. Plaintiff vehemently argues Defendants ai"e attempting to cover up their
 5
     wrongdoing, whereas Joe, Louis, Does were instmcted to claim Plaintiff and his Wife are engaged in
6
 7   fraud to deport her, in particular, Louis asked Plamtiff, "How's your Wife," where Plaintiff never

 8   disclosed to Louis he married. Its proven Defendants caused Plaintiffs Wife to want to commit
9    suicide by threat to deport her, attempting to wrongfully imprisoning Plaintiff, causing her severe
10
     emotional stress, mental anguish, and flare ups that harmed her body progressing her endometriosis.
11
       Plaintiff Wife crying uncontrollably                    Logan's hypocritical statement who imsubscribed
12
13   . as she was being threatened to be deported.             from settlement for Plaintiffs Wife's damages.

14
                                                                                        Tweet
15
                                                                  ©&*,:% Logan Green V
16                                                                     jj- @lpgahgreen
17
                                                                 Lyft is proud of our diverse community
18
                                                                 of drivers, passerigers, and
19                                                               employees. To continue figliting for an
20                                                               inclusive society, we're doubling down
                                                                 on @)Lyft Relief Rides, providing
21
                                                                 transportation access to 50
22                                                               organizations helping immigrants &
23                                                               those seeking asylum in the US.
24                                                               l'2:45 PM - e/Ze/IS - Twitter Web Client

25                                                               59:Retweets 277 Likes

26
                                                                      Q             n
27
                                                                 • i ^ ^ ^ Parker Justice ,(5)PlayStr8 • 6/27/18
                                                                 l i M f e Replying to-@!bgangreen and @lyft
28
                                                                          Lvft better think about supporting drivers

            Adam John Mackintosh—vs—Lyfi, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                            K28. Suppressing iHug from Taking Cancer Patients

2                             to Chemotherapy Cover Up - Fake Public Relations
3
            829.     Plaintiff is appalled Defendants imlavyfully obtained his Complaint. Defendants are
4
     now unfairly attempting to cover up their wrongdoing and changing coitrse, using fabricated public
 5
     relation stories relating to their wrongdoing. Plaintiff vehemently argues Defendants are attempting to
6
 7   cover up their wrongdoing. Defendants destroyed iHug's transportation operation that treuisported

 8   iHug's cancer and dialysis patients, whereas after Defendants received Plaintiffs Complaint,
9
     Defendants are posting fake public relations articles and posts to appear innocent.
10
11
                                                                                                  Lyft




                                                                                                                   .=
                                                                                                                    •>
                                                                                                                     •
12
                                                                        Tweets        Tweets & replies     Media         Likes
13                                                                               Straight up voguing because you were
                                                                                 born ttils way.
14                                                                               Q            Q                    ill

15                                                                               Maggie Ardlente ^ @MaggleA... < 11h
                                                                                 Special shout out to @lyft which my
                                                                                 spouse and I use exclusively to take my
16                                                                               stepdaugher Johanna to
                                                                                 @childrenshealth for chemo treatments.
17                                                                               Every drivers' kindness means the world
                                                                                 to us. ^p
18                                                                               92           n          z>B       ii,
                                                                                 Lyft & @lyf t • lOh
19                                                                               What you send out, comes back.
                                                                                 Kindness is the mark we leave on the
20                                                                               world and we cannot thank you enough
                                                                                 for letting us know about the hospitality
                                                                                 you are experiencing in ridesi Send us a
21                                                                               DM when you have a moment. We'd love
                                                                                 to help in any way we can.
22                                                                                                                           ^
                                                                                         Q Send a private message
23
24                                                                               Alison Risen @MotivateEducate • Id
                                                                                 The @lyft drivers in PHX have bee]
                                                                                 best I've ever had
25                                                                               Q3           a          Z"^
26                                                                                        Q                              S
27
28

            Adam John Mackintosh—ys—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                                               '   ,    , • - 371 -
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 1                                    K29. Helping Children with Disabilities
2                                        Cover Up - Fake Public Relations
3
            830.     On July 17, 2019, months after Defendants unlawfully received Plaintiff
4
     Complaint, they cover up the fact that Defendants ordered the assassination of iHug's
 5
6    wheelchair on-demand app and transportation operation. Whereas, iHug, embodies the very
 7 notion to hold others up, give people healthcare tools so they can control their healthcare,
 8
     empower people with disabilities, and encourage love throughout the world.
9
10               Lyft                                                                                  - ( Follow '
                 97K,Tweets
11
12                 Lyftp:'<a>,p^^-:Jul,;17^
                   Wilson, AKA Pun
13
                   Angeles: Puncfi has-
14                 whom have disabilities
15                 considered; American,, lft.tp/ixXtSSI|

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27                 O 1^                                                     ••t •

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 1                   K30. Lyft Stands For Immigration Cover Up - Fake Public Relations
2           831.      On July 18, 2019, months after Defendants unlawfully received Plaintiff
3
     Complaint, they cover up the fact that they ordered the deportation of Plaintiffs Wife by
4
     slandering Plaintiff and his Wife as being con-artists and frauds, a False and Defamatory
5
6    Accusation based on all evidence presented herein and throughout all proceeding paragraphs of
 7   this Complaint.
 8
9                  Lyft-:.® ;.@lyft,: .Juris
10                 "THIS j? a;coLinti^^             immigrants/peo                   have anivriBd a           nation
11
                 fqrbefe
                   of the day, ttjat's^wha^^
12               imt^ '-: \r Abdii;lyrt; DriN^erv^Minneapblis
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 1                         K31. Part of The Insurance Scheme Cover Up - Still Active
 2           832.     On July 26, 2019, weeks after Defendants claim their referral program is
3
      discontinued, a program that pays drivers cash to recruit other drivers from competition or by
 4
      any means possible, still exists. A complete waste of investor and operational cash, as well as
 5
 6 encouraging unlawful activities for those drivers who cross an ethical line, doing anything to
 7    earn $500, $700, and even $1,000 bonuses. This is the very reason Uber and Lyft's platform has
 8
      risen to nearly 4,000,000 million drivers, and heavy billion dollar losses.
 9
10       IN THE ZONE [LYFT
         UBER]                                    BreeyanNoy
11       fm Closed group                          i l i Msing Siter                      6:44 AM

12                                        Anybhe' kliipw the.drfferi^^^^              Sac & Siah Francisco rieferral
         About
                                          tK>nuses?^trn :down as. an SF driver so I need Sac
13       Discussion                                                                                                                   7 Comments
14       Chats                     11
                                                                  Like                                           (3D Comment
15       Merhbers
16       Events
                                                 :Like?Reialy ^ d j
17       Videos

         Photos                                         -•-BiieeywiNoy^^                                                         ;
18
19       Files
                                                                  Reply,'-ld'- ''''                    '
         Recommendations
20
                                              |;';-^'Mli:»K:Rotie^^
21       Search this group        Q,             ;at;in'a'-way.-:v\-.."^^^^                                         -

22                                                Life> Reply ^22h
         Shortcuts
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         © IN THE ZONE [LYFT UB...
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24       @ LIMO NETWORK             l^l
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 1                       K32. Plaintiff Receives Fake Apple Calls Days After His Complaint

2                  Was Processed with the Superior Court of California, Sacramento County
3
            833.        On July 27, 2019, / day after Plaintiffs Complaint was filed with the Sacramento
4
     Superior Court, Sacramento County, and 2 days after Defendants Board Members run,
5
6    Plaintiff receives non-stop calls from a San Mateo, Califomia number, in particular, a voice

 7   recording system claiming to be Apple, stating Plaintiffs iCIoud account has been breached.
8
            834.               Pictured below, Plaintiff call history.
9
10               Greeting                                              .     Edit

11            Voicemaii                                                                       Voicemaii
12           •     +1(650)645-4800                               1:58 PM                  •         +1(650)645-4800
                   San Mateo, CA                                    0:28                           San Mateo, CA                                       fl ®
13                                                                                                 July 27, 2019 at 1:58 PM
             •     +1(650)645-4800                                1:57 PM
14                 San Mateo, CA                                     0:29                          Transcription Beta
                                                                                                   "That your iCIoud account has been '
15           •     +1(650)645-4800                               1:56 PM
                                                                              ®                     breached before using any Apple device
                   San Mateo, CA                                    0:28                            please contact Apple support advisor
16                                                                                                  press one to connect with Apple support
             •     +1(650) 645-4800                              1:55 PM                            advisor press two to listen to this
                   San Mateo, CA                                    0:28                            message again or if you wish to contact
17                                                                                                  us later please call us on my toll-free
             •     +1 (650) 645-4800                             1:30 PM                            number 603-532-7719 thank you..."
18                 San Mateo, CA                                    0:28      ®
                                                                                                          Was this transcription useful or riot useful?
19           •     +1 (650) 645-4800                             1:29 PM
                   San Mateo, CA                                    0:29                           0:00                                                  -0:28
20
                                                                                              Speaker                    Call Back                      Delete
             9 +1(650) 645-4800                                12:58 PM
21             Sari Mateo, CA                                      0:-28      (D          ^        +1(650)645-4800                              1 57 PM
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             m +1(650)645-4800                                 12:33 PM
24             San Mateo, CA                                       0:28       ®                     (650) 645-4800                              1-55 PMYf)
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25                 +1 (650) 645-4800                           12:32 PM r^.
                   .San.Mateo...CA                                 0 9q V ,                    A             '   "   „



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             • Favorites " •    Recents
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 1                       L. Lyft Insurance Fraud Leaves Tax Payers Footing the Bill

 2          835.     News investigations on Lyft and an interview with John substantiates, and gives merit
 3
     to this Complaint, in particular. Plaintiff argues not only was iHug irreparably damaged by
 4
     Defendants willful actions, he theorizes Defendants use software algorithms to "book millions of fake
 5
     rides," pre-IPO, allowing the inflation of share prices, hence why they plimmieted post-IPO.
 6
 7          836.     In an investigative report by NBC4 1-TEAM, a Lyft accoimt belonging to Robert

 8   Williams, ("Robert,") was "hacked."
 9
            837.     Multiple rides were booked for months without his knowledge. The rides were
10
     canceled by the Drivers each time, and then billed to Inland Empire Health Plan, ("lEHP") in
11
     Califomia,ftmdedby Califomia Department of Healthcare Services.
12
13          838.     Plaintiff maintains Defendants use "ride request algorithms" from its Headquarters,
                                                               4

14
     prompting millions of fake ride requests across the United States, in order to manipulate revenues,
15
16   ride requests and growth, prior to an IPO.

17          839.     This inflated their valuation, defrauding investors, and exposed a "fabricated 39%

18 market share" Robert, and other rider accoimts were deleted by Lyft, as described in an interview
19
     with CBS This Moming, where John, called for a "self-imposed audit."
20
21
22
23
24
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 1           840.     In an interview with CBS This Moming, Gayle King, ("Gayle") an interviewer, states,

 2 "something that stmck me interesting, you all just ordered an intemal audit last year, a self-imposed
 3
     intemal audit. What were you looking for, why'd you do that?"
 4
             841.     In the interview, John makes a scripted statement, claiming the self-imposed audit was
 5
 6   involving "equal pay," making little to no sense for a self-imposed audit.

 7           842.     Plaintiff argues this armual self-audit is calculated, allowing Defendants to adjust,

 8 delete, hide and remove "fake ride requests" and "market sheu-e margin of error" that was created by
 9
     the fake ride bookings, and software algorithms that billed lEHP and other insurance plans, funded by
10
     the Califomia Department of Healthcare Services, as described in Roberts testimony with NBC4 I -
11
     TEAM, see Waymo-vs-Uber Case#3:17-cv-00939-WHA, in particular, concealment and Destruction
12
13   of Records.

14           843.     Plaintiff agrees with Roberts' sentiment, these fraudulent activities are potentially
15   happening on a larger scale across the United States.
16
17
18
19
20
21
22
23
24
25
                    CBS THIS
                    MORNING
                                                  GETTING A LYFT
26                               RIDESHARE PRESIDENT ON UBER, DRIVERLESS TECH & COMPANYS
                                                                                       ' SUCCESS,                 -H
27
28       Lyft president on self-driving cars, what sets them apart from Uber          Up next


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1
     Lyft Insurance Fraud Leaves Tax Payers Footing the Bill
2
     "My DiQgest ccncern is lhat this is happerinc! to other people, and lEi-iP is getting defrauded on a ,3rge scaM
3     ": Randy'Mac


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 1          844.     A Lyft driver states lEHP rides were being booked, whereas all of a sudden, they
 2   stopped for unknown reasons.
 3
                                                           Virginia's Post
 4
 5                         So been driving for lyft for abput two.weeks now first week
                           was amazing receiving a lot of trips now I'm lucky If u get
 6                         bne in three hours. I arh no longer receiving VIP calls either I
                           contacted lyft they reset my app but it's not working! What
 7                         can I dp or who can I reach put to I'nri just wondering if I did
 8                          something wrong @

 9                                     ±} Like                                   ( p Comment
10
                           ® 2
11
                                      George Sanchez
12
                                      To many'l^i^ that's the problem
13
                                      Ih     Like    Reply
14
                                      p i.^ Write a reply..
15
16                                   iOrate.;H,(Slr^
                                      What's a VIP call?
17
                                      Ih     Like    Reply
18
19                                           Virginia Ceja
                                           •|p|psiiiiehp#edi^
20                                           Ih     Like    Reply
21
                                             Grace Holmes
22                                           Oh
23                                           Ih     Like    Reply

24
                                   ^ W r i t e a.corprn^Cit:;^;.;;,?:^';^^^^^^     |CilF.
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28

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 1           M. INFLUENCING GOVERNMENT TO COMMIT UNFAIR COMPETITION

2           845.     Plaintiff alleges Defendants engage in espionage and corporate sabotage, using Jason
3
     King, "Jason," a Regulatory Program Specialist at the Portland Bureau of Transportation, and others
4
     to interrogate iHug and cause undue financial harm, suppressing competition.
 5
            846.     Jason stated "someone made him aware of iHug," threatening to fine iHug for
 6
 7 violations of Portland, Oregon (PCC) Chapter 16.40, Sections 16.40.930 to 16.40.950 if iHug
 8 intended or operates in Portland, Oregon, see case Waymo-vs-Uber-Case#3:17-cv-00939-WHA, in
9
     particular the following:
10
                     • Jacobs believes that violations of the Foreign Cormpt Practices Act (FCPA) took
11
12                   place and would likely be shown through discoverable evidence. Jacobs was aware

13                   that Uber was targeting govemment officials in order to leam:

14                   • who might be compelled to end costly enforcement activities or partner with Uber to
15
                     unblock the market;
16
                     • what local network of contacts has connections to police and regulatory authorities;
17
18                   • what political leaders may be persuaded to stop any opposition; and

19                   • if senior political officials would be willing to push a ride-sharing agenda through

20                   the city or national govemment.
21
            847.     Lyft's Todd Kelsay, "Todd," and Uber's Caleb Weaver, "Caleb," sit on the Portland
22
     Bureau of Transportation Private For-Hire Transportation Advisory Committee.
23
            848.     Jason, a United States Public Servant,fraudulentlyimpersonated a wheelchair bound
24
25   patient, violating iHug's terms of use, by booking a fake ride, using iHug's software, in order to

26   suppress competition. Plaintiff refiinded the charge, and kicked Jason out of the software for Drivers.
27
            849.     Where Jason, under the guidance of Todd and Caleb's advice, used Govemment
28
     resource to interfere with competition.
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 1            850.     Plaintiff argues if Uber and Lyft use their brand power and investor cash to exercise

 2   power to control individuals and/or entities, the actions of Uber and Lyft described herein support all
 3
     claims made in all proceeding paragraphs of this Complaint.
 4
              851.     Plaintiff sent a rebuttal, evoking Jason to respond. Pictured below, the Roster for the
 5
 6   2019 Advisory Committee.

 7
 8
                                         ^^^^^              .i;':V-^F              i
 9                                                    ti2tswFiitiAwmMeB» kmtmmi^ssimiii:
                                                         'tafitmiaCmitisimi' U^rriutCMor
10
                                Roster: Private For-HIre Transportation Advisory Committee
11   •        -.posmoH .'.^-^M-^.y
                             yS:wpotttrmmSiMM®,ff-:=AFFIUAnON,;, h-s-W^: -                 TELEPHONE
     RBOT (non-voting member)     Mark Williams          PFHT Prijgrarn Manageir                     ^^•iyM||^B@ix>rtlandoreBoh.Rov
12   Riding Public                Mike Greenfield, Chair Retired State of Oregon       m           m ^^^E^^H>me-corTi
                                                         Executive
13   Tourism Industry             MarloMaroon            Travel Portland                               ^ ^ ^ E t r a v e l portland.com
     Transportation Network       Todd Kielsay           Lyft                                          j^^HSHyft.corri
     Company (TNC)
14
15            852.     Pictured below, Jason's email attempting to cause undue financial damage to iHug, a
16   similar pattem to Joe, Louis, and Does, the common denominator is Uber and Lyft.
17
                       To Whom It May GdhOBm,
18                     It has been brought to our attention that your conipany rriay be conducting business or
                       planning to conduct business as a Private for-HIre Transportation company within thei
19
                       City of Portland.
20                     Picking up passengers within the city limits of Portland rnakeS you subject to Portland
                       City Code (PCC) Chapter 16.40 Private For-Hire Transportation Regulations.
21
                       This violates the following regulation within Portland City Code (PCC): Chapter 16.40
22
                       A. Company Permit Requirements^ No person or entity shall conduct business as a
23                     Cornpany in the City of Portland withoiit a valid, current permit issued by the City under
                       Chapter 16.40. Failure to comply with this iSubsection A. is a Class A violation subject to
24                     penalties provided in Set^ons 16.40:930 to 16.40,950.
                       Please note that the dvil penalty for violations of this nature begin at $1,250.
25
                       Contact our office at S Q ^ ^ I i ^ B o r visit our website at: s a M H B M M i B I I ^ B l M
26                     corri immediately to leam hpw you may obtain valid City of Portland pennits.
27                     Regards,
                       Jason ijl^B^egulatory Program Specialist
28
                       Portland Bureau of TriansDcrtetion
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 1        853.      Pictured below, iHug responds to Jason's email.

2
3
                 Jason,
4                We appreciate your email and thank you for reaching out to our organization. We
 5               wholeheartedly support the City of Portland Oregon. We are a company of the People,
                 by the People, and for the People.
6
                 In that same sentiment, we are legally obligated to infbnmally request the identity of the
.7               disclosing party that filed the complaint with the City of Portland Oregon against iHug.
                 Similarly, we are requesting the full name, and/or organization who's affiliated/non-
 8               affiliated to you and/or your organization who made you aware of iHug. We ask that you
                 provide any and all details that may be relevant, and/or the official complaint itself.
9
                 Finally, we respectfully refute any and all alleged violations. The tone and threat of
10               penalty without exhibited evidence argued in your email is very conceming to our
11               organization, especially if this same tone is taken with small businesses within your
                 state.
12
                 In the event the- Cify of Portland Oregon finds that iHug has violated any such Portland
13               City Codes (PCC), and/or any proceeding sub-sections within the provision of the PPG
                 as argued in your email, we kindly ask that you provide us with the vehicle identification
14               numbers, license plate numbers, year, make, model, and names of drivers found to be
15               in violation, if any.
                 - Picking up passengers within the city limits of Portland makes you subject to Portland
16
                 City Code (PCC) Chapter 16.40 Private For-Hire Transportation Regulations.
17               - This violates the following regulation within Portland City Code (PCC): Chapter 16.40 -
18               Portland City Code (PCC) Chapter 16.40 Private For-Hire Transportation Regulations A.
                 Company Pennit Requirements.
19
20
21
22
23
24
25
26
27
28

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                                                        -382-
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 1          854.      Pictured below, iHug's email to Jason continued.

2                  We will await your response Identifying the indivldual(s) and/or parties who brought
                   iHug tp your attention, and/or'filed a cpmplainL We accept PDF formatted files.
3
                   Kind regards,,
4
                   In-House Legal Department
 5                 IHug

6
                   INTERNET EMAIL CONFIDENTIALITY: Rrivileged/Cohfidential Information may be
 7                 contained in this message. The information in this email is intended for the named
 8                 recipient(s) only. Ifyou are not the addressee indicated inthis'message or responsible
                   for delivery of the message to such person, ypu may not disclose, copy or deliver this
9                  message to anyone.

10                 Ifyou have received this email In error, kindly notify the sender immediately by replying
                   to this email and destroy this message inimediately aftemviard. Opinions, conclusions
11                 and other information: in this message that do not relate to the official business of IHug
                   shall be understood as neither given nor endorsed by IHug.
12
13          855.      Pictured below, Jason forwarded iHug's response to Defendants, where it was opened

14   30 times, a similar pattem to Joe. Jason failed to answer iHug's request on "who" informed Jason.
15
            856.      Plaintiff argues, if Jason had a genuine concem, Jason's duty to serve the public fell
16
     short. It's believed Jason was informed by Defendants in order to fine, harass, suppress and cause
17
18 financial harm on Plaintiff, and iHug, a similar pattem to Joe, the roommate, Louis and Does.
19          857.      Plaintiff argues Uber and Lyft executives who sit on the Portland Bureau of

20   Transportation influenced Govemment Officials in order to continue their monopoly of the TNC
21
     industry, including accepting statistical reporting to cover up any wrongdoing to the SEC.
22
                             King, Jason <Jasor^           |n.gov»        Thu, May 30,7:46 AM (B .days ago)         «v
23                           tomo.T,

                             Thank you for your respoiise. Please forward any and all legal inquiries to our City
24
25
                          Email.                                                                              Opens
26
27                                                      bregon.gov

28                                                                                                             30


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 1                              N. SHEDDING SOME LIGHT FOR INVESTORS

2            858.     On October 12, 2016, John, in an intervie\y with Jim Cramer of Mad Money, and more
 3
     recently an interview with CBS This Moming, Gayle King, John affirms, "Every year in the United
4
     States, $2,000,000,000,000 trillion-dollars is spent on car ownership," an accurate claim, based on
 5
 6 244,000,000 million vehicles in The United States in 2015, multiplied by "$9,000 dollars in annual
 7 costs," according to John, totaling $2,100,000,000,000 trillion-dollars.
 8           859.     After Plainfiff s $1,200,000,000,000 trillion-dollar healthcare opportunity was
9
     Misappropriated, the number changed.
10
             860.     On March 29, 2019, Lyft Co-Founders, John and Logan during IPO, claimed they are
11
12 targeting a "new $1,200,000,000,000 trillion-dollar opportunity," contradictory to their statistic in
13   2016 and more recently in 2019.

14           861.     This has caused a chain of events, including numerous class-action lawsuits from Lyft
15
     investors, who claim Lyft omitted facts and falsified statements within the SEC Sl filing, including
16
     market share statistics, claiming Lyft owned 39% market share, contradictory of Uber's SEC Sl
17
     filing, substantiating the fraudulent activity of booking fake rides manipulated its market share.
18
19           862.     In order to obfiiscate the tme "$ 1,200,000,000,000 ttillion-dollar opportunity," on

20   December 28, 2018, less than 90 days prior to Defendants' IPO, The Bureau of Transportation
21
     Statistics ("BTS") suddenly releases a $1,200,000,000,000 trillion-dollar "Household Transportation
22
     Expenditure" report, the same source from Lyft's Sl filing.
23
             863.     In an act to conceal the tmth that Defendants had already executed on Plaintiffs
24
25   $1,200,000,000,000 trillion-dollar healthcare opportunity, Plainfiff asserts Defendants provided false

26   data to the United States Govemment.
27
             864.     This was a calculated effort to cover up, in the event Plaintiff files a Complaint to
28
     claim his $1,200,000,000,000 trillion-dollar healthcare opportunity and damages.
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 1          865.      The BTS report included the exact same figure as Plaintiffs misappropriated

 2   $1,200,000,000,000 trillion-dollar healthcare opportunity, in order to disguise their wrongdoing.
 3
            866.      Picttired below, a screenshot of the $ 1,200,000,000,000 trillion-dollar "Household
 4
     Transportation Expenditures" statistic located on the BTS website, in the exact Lyft brand color as
 5
     shown below on the right, Lyft's official logo.
 6
 7             BTS Statics on the BTW website                                                    Lyft Logo

,8               Penoiul Vehidei (S»,031)

                             Vehicle purchases                    $4,001 (<4I.IX)
 9
                    Other vehicle expenditures              S3.0«3(3IJ«)

10
            867.      Pictured below from the BTS website, the report was updated only 3 months prior
11
12 to Defendant's IPO. Even more outrageous, in an act to cover up. Defendants begin to remove
13   Defendants' employees from any mvolvement at the Portland Bureau of Transportation.
14
                ^uredu of Transpprtdtibn Statis
15
               .-Topics and-Geography              Statistical PFQclued ainEl Data .      Niitional Transportation Libi-ary-
16
              Transportation Economic
17            Trends

              Previous Publications-
18
19                                               [1] The latest version of PCE Includes data revisions going back to 2000.
                                                 Dollar amounts In TET 2018 will therefore differ from dollar amounts In
20                                               TET 2017.

21                                               [2]The percentages In this chapter are calculated using unrounded data
                                                 and may therefore differ frpm percentages calculated usjng the rounded
22                                               figures presented in this chapter.

23                                               [3] For more information oh travel behavipr and demographics, plisase
24                                               see lJ.S. Dispartment of Transportation Federal Highway Atjmlnistratioh,
                                                 Summary of Travel Trends: 2017 National Household Travel Survey,
25                                               available at
                                                 https://nhts.ornl.gov/assets/2017 nlits summary 'traver'trehds.pdf.
26
                                                 [4] Operating costs In TET 2018 are not comparable to operating costs In
27                                               earller editions because/\AA revised Its methodology in 2017.

28

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 1          868.     Wherein a case McCloskey-vs- Lyft, Inc. et al, case number CGC-19-575475, on page

 2   17, line 27, number 66, claims, "The Regisfration Statement contained pages and pages of numerous
.3
     generalized possible "Risk Factors" that might occur and "[i]n case" they did actually occur, then
 4
     Lyft'sfinancialcondition and results of operation "could be materially and adversely affected."
 5
     Those statements were false or misleading and omitted material information, a clear violation of SEC
 6
 7 mles and regulations, a conviction for securities fraud can involve significant penalties for anyone
 8 involved.
 9
            869.     Securitiesfraudcan be punished with civil penalties, such as fines or license
10
     restrictions. Plaintiff alleges, Lyft is fiilly aware of iHug, having colluded with Uber to execute on
11
12   Plainfiff s misappropriated $1,200,000,000,000 trillion-dollar healthcare opportunity synonymously,

13   including profiting from Plaintiffs API and features, doubling its revenue in less than 9 months.
14                 O. DEFENDANTS' ACTIONS ENDANGER L I F E WHILE MAKING
15
                        INCONSISTENT AND FALSE CLAIMS IN HEALTHCARE
16
            870.     Defendants continue to be sued for wheelchair accessibility discrimination.
17
18          871.     Whilst Defendants spent years, and millions of dollars eradicating iHug with malice,

19   attacking Plaintiff, attempting to deport his Wife, while depriving patients of iHug's on-demand
20   wheelchair transportation.
21
            872.     Lyft spokeswoman, Lauren Alexander, said the company, "is committed to ensuring
22
     that those who need rides most are able to get them.
23
24          873.     We think about accessibility broadly and know that many who were previously

25   underserved by transit and taxis are now able to rely on Lyft."
26          874.     Pictured on the next page atop and below, Lyft and Uber facing class-action lawsuits
27
     for disability discrimination, whereas it disgracefully claims it's, "not in thefransportationbusiness,"
28
     to avoid regulation.
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 1
2
           =                                         ^heiDailjgllot
3          Lyft says it's 'not in the transportation business'
4          avoid complying with disability law
5          Samira Sadegue—2019-05-04 02:36 pm j Last updated 2019-05-04 02:44 pm

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                                                              -387-'
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 1            875.      Pictured below, one of Defendants Drivers takes off, discriminating against a

 2   Wheelchair-Bound rider. Whereas iHug's Rideshare for Healthcare would have assisted him.
 3
       7 ON YduFi SIDE
 4
5
       Uber driver sees passenger in wheelchair, takes off
 6
.7
 8
 9
10
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12
13
14
15
16
17
         ' EMBED o j , MORE VIDEOS • j , „   ,                                                  '
18
         On-demandridesharingis becoming the new normal way to gel around - but net for-ievery* • i Pd^iaLnai -s M,^ dii-ihihties 1
19       say they are left in the dust by-Uber and I vft n -urid rl -TH.! iGhatebodybuilder tells his crushing story

20
              By Michael Finney and Renee Koury
21
      Wednesday, May 1, 2019.
22    GONCORD, Calif (KGO)— On-demand ridesharing has become the new normal way to get around -
23    but not for eveiryone. Disability advocates say Uber and Lyft have left millions of passerigei*s in the
      dust ~ without equal access to rides.
24
25
26
27
28

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 1         876. Pictured below, a Lyft driver, admits he received a VIP health care ride in 2018, a
2 similar service to iHug's VIP ride service in 2017.
3
4
 5               afrojoeSOOO 18 points • 11 months ago
6                I cancelled on an old woman earlier this week. The username was
                 Aaron but when I showed up It was an old woman in a wheelchair
 7
                 that I had a month before. She needs help out ofthe chair and
 8               then into the car. I put all her groceries and wheelchair in the
9                trunk and then drove her 1.5 miles back to her house and
                 repeated all these steps. The whole trip was at least 20 minutes
10               and I was not tipped. I rated her 3 stars because I never wanted
11               to do that again. Clearly all the other local drivers did the same
12               so someone made a new account for her. We aren't medical
                 professionals, Lyft!
13
                 Share Report Save        ,
14
15              ^    rideshare.dude ^ 9 points • 11 months ago
                *    I canceled one of these P i S M H ^ ^ ^ riders today, then
16               j   got two more ping from the same address, all within 5
17               i   minutes. Absolute joke.
18
19
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 1          877.      Pictured below, the same Lyft driver, admits Lyft is using iHug's healthcare API to

2 book rides with healthcare facilities.
 3
            878.      Plaintiff further argues, Lyft and Uber have misappropriated Plaintiffs
4
     $1,200,000,000,000tt-illion-dollarhealthcare opportunity, and his $25,800,000,000,000 trillion-dollar
 5
 6 new digital Ai healthcare system particulars and suppressed iHug's Rideshare for Healthcare, a
•7 platform that put medically certified drivers on the road who were fit, trained, and suited for
 8 healthcare, whereas Lyft and Uber drivers endanger life in healthcare, every day, increasing mortality
 9
     rates as they are untrained in the medical field.
10
             Wyndelin77 6 points • 11 months ago
11          transported a man who couldn't stand, had to put his (filthy) wheelchair in the trunk, he
12          groaned & screamed over every bump (except when he forgot to). Gave him 2 stars. Have
            put hand sanitizer & gloves in my car in case that happens again. I'm no longer a nurses
13          aide & shouldn't have to do that!
14           Share Report Save

15           OneStarMe 1 point • 11 months ago
             how the hell did she not tip you. its bs. if she called the regular service i bet it would of
16
             costed her 150 200 bucks move a chair groceries, next time do me a favor 1 star the bitch,
17           one day hopefully i grow to be old and i will at least tip 5 bucks, i say hopefully reason why
             my health sucks.
18              Share Report Save
19
            ^     rideshare.dude ^ 3 points • 11 months ago
20                Because these people are not ordering the ride through the Lyft app. The medical
21          j     providers are ordering the ride through an app built using the      i m The rider doesn't
                  have the ability to tip outside of cash, and they're usually too hopped up on drugs to
22                realize what's going on.
23
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 1          879.     Pictured below, the same Lyft driver, admits most local ordinances "REQUIRE" the

 2   drivers to have a current CPR certifications.
 3
            880.     Whereas iHug's Rideshare for Healthcare required its Drivers to train for Basic Life
 4
     Support and CPR certifications, providing a safefransportationoption in healthcare.
 5
 6          881.     Whereas Plaintiff argues Defendants are operating unlawfully in healthcare,

 7   improperly executing on Plaintiffs healthcare opportunity.

 8
         rideshare.dude ^     2 points • 11 months ago • edited 11 months ago
 9       No, you may not stop me right there. NEMT = non emergency medical transport.
10       Non emergency medical patients include any transportation of a non emergency
11       medical patient, to and from hospitals, hospices, surgery centers, dental offices,
         doctor's offices, clinics, rehab centers, dialysis centers... basically anywhere medical
12       care is provided. These passengers can also be picked up and dropped off from the
13       airport. These rides can be set up by the medical facility or provider, or even
         insurance company.
14
         And, as I said, mqstiQQa\mrMimmesiB.E§^^
15
16       The problem is that these medical providers and "NEMT companies" are using Lyft to
17       cut costs by foregoing the requirements of getting business licenses, wheelchair
         accessible vehicles, million dollar insurance policies, workers compensation, and
18
         paying for CPR certifications and other training for their drivers.
19       There's a reason NEMT providers are regulated. Because elderly, sick, and disabled
20       passengers outside the care of trained professionals is a severe risk.
21       Share Report Save

22
23
24
25
26
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28

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                                                          -391 -
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 1          882.     Pictured below, an Uber and Lyft driver cancels on healthcare patients, endangering
2    life and recovery of healthcare patients.
 3
4          Serranol2 1 point - 11 months ago
           I don't do hospital pickups anymore. Two times now I've had hospital staff
 5
           use their accounts to order rides for wheelchair-ridden elderly folks. Both
 6         times, the pax were not at the indicated pickup spot I called and the staff
 7         were like oh, they must be at the west, or east entrance then. The pax were
 8         nice folks but getting them and their med bags and wheelchairs in the car,
           then out again was too much of a hassle for min fare.
9
           Share Report Save
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 1      P. DEFENDANTS ERRADICATED IHUG'S SERVICE WHILE ENDANGERING L I F E

2            883.   A healthcare provider who drove for Defendants, made the switch from Defendants
3
     platform to drive for iHug. She provided long-distant rides, that gave a level of care and service.
4
     Defendants do not provide.
 5
6            884.   The Driver helped transport a healthcare patient who has dementia. She covered the

7 patient with a blanket to ensure she felt safe. She fed her, stoppedfrequently,and helped the patient
 8 to the restroom. She also used lift and pivot maneuvers while transporting the patient safely handling
9
     the patient.
10
             885.    While the patient was being driven home from an assisted living facility, the memory
11
     care patient was reminded of fond childhood memories on the joumey, making it magical for her.
12
13                   Seaich in IN THE ZONE [LYFT i UBE
14
        ABOUT
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                                                         ^- 393 -•
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 1          886.     iHug's Official Rideshare for Healtlicare was a service Plaintiff selflessly sacrificed to

 2   build while homeless, sleeping in his trailer, and on floors. A service Plaintiff brought to life to help
 3
     others. A service Defendants eradicated through unfair competition practices, malice and greed.
 4
            887.     Pictured below, Plaintiffs trailer, and his PC he coded iHug on during cold winters
 5
 6   and hot summers 18 hours a day. iHug was for the people who are vulnerable and ill in healthcare.

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                                                           -394-      ;
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 1           888.    The egregious arid deceptive practices, false and misleading statements in healthcare,

 2   including unfair taxi competitive tactics committed by Defendants, "cash and bonuses to drivers not
 3
     to drive for its competition," recklessly and disgracefully endangers the lives pf terminally-ill
 4
     patients, medically increasing patient mortality rates, yvhen their appointments are missed.
 5
6            889.    Every Driver who's incentivized not to drive for a competitor, violates The United

 7   States Department of Health and Human Services Civil Rights laws and regulations, and CMS

 8   Accessibility & Nondiscrimination for Individuals with Disabilities, and Civil Rights for Individuals
 9
     and Advocates.
10
             890.    The Drivers who intentionally canceled on dialysis, cancer, and other healthcare
11
     patients, who colluded with Joe, Louis, and Does increased patient mortality rates, and may have
12
13   caused a fatality, if Plaintiff didn't save the patients by driving the patients himself

14           891.    Plaintiff profusely refiites Defendants reckless and unfair taxi competitive tactics, as
15   iHug was in Healthcare, not the Taxi industry. iHug was a safe and mature rideshare option that
16
     patients loved and felt safe using.
17
             892.    Pictured below on the left. Plaintiff drove Vivian to her DaVita dialysis appointment,
18
19   who was intentionally canceled on by Defendants and its Drivers who were tortiously interfering with

20   iHug's operation, pictured on the right, a Facebook post outlining dangers of missed appointments.
21
                                                                     Judith Montgomery
                                                                     Wish I knew about this sooner. Had a friend and
22                                                                   neighbor died night before last.
                                                                     3 hours ago • Like • Reply • Message
23
                                                                     IKug
24                                                             •   ' Judith - Oh gosh, we are so sorry to hear that. We
                                                                     send our deepest condolences through this hard
25                                                                   time.

26                                                                   We are providing this service to prevent this
                                                                     problem. Over 3 million people in America missed
                                                                     doctor's appointments last year due to having no
27                                                                   transportation option.

28                                                                   We are healthcare for everyone, anywhere


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 1              893.     Plaintiff vehemently argues Defendants are too reckless to compete in healthcare

 2 based on their inherent culture, as they actively engage in unfair, aggressive methods and deceptive
 3
         business practices that consequently endanger lives in healthcare throughout the United States of
 4
         America.
 5
 6              894.     Direct and Conclusive evidence establishes one of many drivers who canceled on a

 7 dialysis patient for iHug while in the act of tortious interference with Plaintiffs $1,200,000,000,000
 8 ttillion-dollar healthcare opportunity, is party to Defendants and the Drivers, including Louis, John's
 9
         right-hand man, Joe and Does.
10
                895.     Even more disgracefiil and vile, after Defendeints successfully incentivized the Drivers
11
12 not to drive for iHug, and slandered Plaintiff to the Drivers so they did not drive for Plaintiff,
13       cancelling on healthcare patients, while endangering life, the Drivers were instructed to commit

14 grand theft auto to stop Plaintiff from driving the dialysis, and other terminally-ill patients to their
15
         required medical appointments when the Drivers were cancelling and/or unavailable to drive the
16
     patient.
17
18              896.     This aggressive method increased mortality rates in healthcare, endangered life, and

19       legally exposed iHug, and Plaintiff to a lawsuit if the dialysis patient passed away due to a missed

20   appointment as a result of Defendants incentive program to stop Drivers from Driving for its
21
     competitors and theft of Plaintiff s vehicle.
22
     j          897.     For dialysis patients, if a dialysis treatment is missed, the blood toxin levels could
23
     reach a point where they make the patient very unwell and could potentially be fatal,
24
25 j            898.     Plaintiff argues the Defendants willful actions have increased mortality rates, and

26 'if allowed to continue to operate in healthcare, the inherent competitive practices will inevitably
27
     cause fatalities if they haven't already.
28
                899.     Plaintiff asserts he has testimonial eividence from a Former Chief Executive Officer of
                Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1   Of the largest non-profit hospital in Northem Califomia, inferring Defendants are operating in

2    Healthcare without proper insurance licensing.
3
             900.    As a result of Defendants actions, Defendants are in violation of the Federal Trade
4
     Commission Act ("FTCA") Anticompetitive Practices, in particular. Defendants are attempting to
 5
 6 achieve a monopoly position by "aggressive methods," where Defendants endangered healthcare
 7 patients' lives, violating the Consumer Protection Act ("CPA").
 8           901.    Pictured below, a Lyft driver admitting to cancelling on medical patients, endangering
9
     life. The patient that was cancelled on could have had a terminal illness, increasing their mortality
10
     rate.
11
             902.    Plaintiff vehemently argues on behalf of this patient below who was canceled on,
12
13   Vivian and others, Defendants are too reckless and dangerous to operate in healthcare.

14           903.    iHug was tailored and fit for healthcare, who had CPR and Basic Life Support
15   Certified healthcare professionals, who could act in case of an emergency whilettansportingpatients.
16
             904.    Pictured on the next page atop, another Lyft and Uber Driver admits Defendants are
17
     endangering life, violating multiple health codes, and jeopardizing innocent Drivers who have no.
18
19   control over the service they provide.

20                   Posted by u/rideshare_dude.li months;ago a.
21                   Lyft "partnership" With Medical Providers makes you a non
22             •     emergency transportation provider. And you are most likely
                     breaking the law if you transport one of these patients.
23
                     Most local ordinarices require NEMT personnel to have a valid CPR certification
24
                     from the American Red Cross totransport medical patients.
25                   Good job Lyft, make criminals out of your drivers.
26
27
28

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 1          905.      Pictured below, another Lyft and Uber Driver admitting they are not medical
 2   professionals.
3
4             ^    afrojoeSOOO 19 points' • 11 months ago
                   I,cancelled on; an old woman earlier this week. The username was Aaron but
 5             j   when I showed up it was an old woman in a wheelchair that I had a month
                   before. She needs help out of the chair and then into the car. 1 put ail her
 6
                   grbceriesand wheelchair in the trunk and then droveher 1.5 miles back to her
 7             I    house and repeated all these steps. The whole trip was at least 20 minutes and
                   I was not tipped. I rated her 3 stars because I never wanted to do that again.
 8             I   Clearly all the other local drivers did the same sosorrieone made a new
 9             j   account for hen       |   |   |   i    l  f   ^   ^
               {   Share Report Save
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 1          906.     Pictured below, while Defendants are in the heat of unfair taxi compethive tactics, and

2 unlawful anti-competition practices, a Lyft driver receives a callfromUber, asking her to cancel on a
3
     healthcare patient to receive a $30 gift card. The driver then cancels on the healthcare patient and
4
     receives a $5-dollar ride cancel fee. The patient is left abandoned and helpless. This is un-American.
5
6                     Patricia .'Rodriguei
                      1^ eujiwersation Starter - Odtober 23, 201? * Sacraimento
7
8           I got a ping near ucd hospital. Pull over to location and caii pax. No
            answer. The I get a call from pax. Wrong. It was someone claiming to be
9           Uber and to cancel my ride and I will get a $30 go. Nope. I hang up. They
10          called rhe back 6 times. Wait out my 5min. Cancel & collect my fee. Theri
            notify Uber via email & phone call. Not that anything will come of ft. I dId t
11
            give any info b/c l hung up on the caller when they said just follow my
12          Instructions. **Remember. Uber doesnt call the drivers and don't give out
13         /;^nisltive.irif)pri^      ;
           • i'rn:goln td-;eliange::m)^^
14
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17
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19          907.     Pictured below, a Lyft driver requested a healthcare ride, and was canceled on.
20
21
22
23     :!Okay:s^rtpuslyi>fs^d.^^
       he ends;up''ibeiiig, one^trf^^
24
       Now I iiave;rto^ride
25
26
27
28

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 1           908.     Pictured below, its alleged the Lyft/AMR/Sutter "exclusive" partnership are

 2 defrauding the United States Govemment by usirijg billing codes for expensive NEMT transportation,
 3
      while then booking a $5 Uber or Lyft ride, in particular, Sutter, as per California State General
 4
      Attorney-vs-Sutter Health for overinflating costs. As confirmed by an AMR executive who admitted
 .5
 6 to iHug, AMR bills between $1,200 to $12,000 for an ambulance transport, instead of a $75 local
 7 transportation due to Sutter's exclusive partnership with AMR, excluding competition, limiting
 8 transportation availability. Forcing innocent healthcare patients to suffer while they wait.
 9
10                                   le fucked up j:>art is that i;iiB;fdtki1caijlf^
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                  theyfrejMs||:aji                )|^^lor;|h8t|c|erit^'''
13
                  Like:-jReply;:^^;2|\
14
15
             909.     John, Co-Founder of Lyft, willfully admitted and outlined "Uber tactics" that were
16
      "destroying" his business "Lyft".
17
18           910.     Whereas, in this Complaint^ the same tactics were used on iHug by Defendants,

19    causing irreparable damages, and endangered innocent lives in healthcare.
20           911.     John informally testifies to Bloomberg:
21
                              - "Uber" used $3 billion-dollars to "destroy" his business, stating "it
22
                              was scary.. .you know, [having] someone attacking the business."
23
24                            - John alleges Uber was, "incenlivizing drivers not to drive on [their]

25                            platform."
26                            - John fiirther states, Lyft, "intends to win...we are very competitive."
27
             912.     Whereas in this Complaint, Defendants used the same unlawful tactics on iHug, taking
28
      it to a level, which consequently endangers lives in healthcare, increases mortality
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 1   rates, and decreasing life expectancy of innocent victims, as they "intend to win."

 2          913.     Defendants used their capital raises to conmiit vile offenses against iHug and Plaintiff,
 3
     substantiating all allegations herein.
 4
            914.     Plaintiff vehemently argues. Defendants' culture and inherent competition practices
 5
 6   are extremely unfit for healthcare and will inevitably lead to death and pain and suffering.

 7          915.     Video evidence: https://vyvyw.dropbox.eom/s/ytqwls2vofnzwl4/admittance.mp4?dl=0

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 1                             Q. AMERICA AND THE WORLD NEEDED IHUG,

2                   THE SAFEST AND FIRST EVER RIDESHARE FOR HEALTHCARE
 3
             916.     iHug, was the first to create the Official Rideshare for Healthcare, setting the bar
4
      higher than any rideshare option available in the world. Giving the Defendants textbook motive to
 5
      unlawfiilly stop iHug at all costs.
 6
 7           917.     Recmiting providers who had medical backgrounds, who are CPR and Basic Life

 8    Support Certified, who were in the process of training for Lift Movement and Memory Impairment to
 9
      handle seniors with weak bodies and patients who had memory loss, a matured rideshare option,
10
      giving Defendants motive to stop iHug frorii competing.
11
             918.     Pictured below, Deborah on the right in healthcai-e scrubs, a Registered Nurse, and
12
13    driver for iHug, assisted in transporting iHug's patient, Beatrice on the right, an 86-year-old,

14 wheelchair-bound patient. Beatrice states iHug's driver stayed with her the whole time.
15           919.     Whereas the Lyft and Uber Drivers get a $5 cancellation fee, and never "stay" with a
16
      patient, endangering life when the patient has no tneans of transportation to their medical
17
      appointment. Video testimony by one of iHug's patient, located: https://voutu.be/vlQnlK Yqwl
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            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 491 of 825
 1              920.     Pictured below, Bobby, a 90-year-old patient of iHug. Louis vyho infiltrated iHug, who

 2   reports to John, took a ride with iHiig for the "experience," to report intel back to Defendants
 3
     Headquarters in San Francisco.
 4
                921.     After the experience, Louis knew iHug was vital for healthcare patients, whereas
 5
 6   Louis executed on his instmction to wrongfully imprison Plaintiff in order to stop iHug, depriving

 7   safe rides for Bobby, Beatrice and others to their medical appointments.

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                        Thank you Louis foiyalHour h^lp
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                922.     Video testimony by one of iHug's patient:
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                         https ://www.facebook.com/watch/?v= 1337757959684435
22
23   ///

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 1                           R. THE MAJOR DIFFERNTIATOR AND MOTIVE

 2                               TO ERADICATE IHUG FROM HEALTHARE
 3
            923.     Lyft drivers are untrained for healthcare.
 4
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            924.     Whilst a majority of Plaintiff s drivers were Registered Nurses, Medical Assistants,
14
     Home Health Aids, Holistic Nurses, and other medical professionals who are employed by Kaiser
15
16   Permanente, Dignity Health and other healthcare providers, who are CPR, Basic Life Support

17   Certified, AED Certified, who have a healthcare background, who were in the process of being
18   trained by Plaintiffs partner on Lift Movement and Memory Inipairment handling for seniors who
19
     have frail bodies and seniors who have little motor fimction who need the extra care and love.
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 1           925.    Pictured below, Tom, iHug's partner, talking to iHug's Drivers on new facilities they
 2   were rolling out. Plaintiff had begun something tmly special, not only did Plaintiff create a
 3
     differentiator from competition with blue scrubs, he also had each Independent Certified Provider
 4
     complete Basic Life Support Certification, CPR Certification and sold them starter kits in case of an
 5
     accident in the car to include a CPR mouthpiece.
 6
 7           926.    This was putting more lifesaving drivers on the road, a genuine representation of
 8   iHug's efforts to build the world's first, Rideshare for Healthcare.
 9
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16          927.     Pictured below, iHug's drivers who switched from Uber and Lyft, who are healthcare
17
     aids, certified nursing assistants. Both who are CPR and Basic Life Support Certified.
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 1          928.     Pictured below, iHug's drivers who are, Basic Life Support Certified.

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            929.     Pictured below. Plaintiff recmiting healthcare graduates to offer them an opportunity
14
     to help transport seniors to and from their medical appointment, grocery shop and in-home care.
15
16
                                                                                      -V j y     Publishsci by .Adam John ! -i
17                                                                                               P3QH Uiied - .lunc a. 2017 • 0

                                                                                       Our founder speaking to students on building an
18                                                                                     effective pathway to a meaningful nursing career.
                                                                                       The art of nursing will be revived. At IHug we
                                                                                       vvelcome all providers with open arms! i ; < f «>'<^
19                                                                                               C-' — V'-fe«'liig inspired.

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21                                                                               ,\     <^ Tag Photo      i» Tag Products

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 1              S. IHUG'S CONSISTENT AND GENUINE EFFORTS IN HEALTHCARE
 2          930.     Even after the assassination attempts on Plaintiffs character and attacks on iHug by
 3
     Defendants and its drivers. Plaintiff continued, establishing a new business model, never giving up,
 4
     accomplished a major milestone. A UC Davis student, once a track and field star, sustained a spinal
 5
     injury one summer.
6
 7          931.     The student wanted to book an on-demand ride like everyone else who uses

 8 Uber and Lyft. However, he's wheelchair bound, a service not offered in Sacramento, CA by
 9
     Defendants.
10
            932.     The UC Davis resident found iHug on the Apple App Store. He signed up and in
11
12 minutes booked his very first on-demand wheelchair ride in Sacramento with iHug.
13          933.     The rider was celebrating his birthday in Downtovra Sacramento, at a local pub. The

14 rider finally feltttansportationfreedommade possible by iHug.
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 1           934.            He was able to book an on-demand wheelchair ride. Whereas Defendants do not offer

 2   the service in Sacramento, Califomia. iHug outcompeted Defendants with bravado for the people.
 3
                        Tue, Sep 25, 2:23 PM                       •     .

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                .'if jT'- .'I' :> / ; , • ' ^ • - J . ' . ^ } * ^ ! "                                           Yeah that kid was cool
 6
                iv/             !t"liy^rdi^^-;yv;-.i-.'l:; .                                                    He was stoked about the
 7                                                                                                              service

 8                                                                                                              It was his birthday

 9                       1.11, S"n r



10
11
            935.            Pictured below, while Plaintiff was being attacked by the Drivers, he launches a new
12
13   platform, an on-demand wheelchair transportation and healthcare app on the Apple Store.

14                                                                      IHug® GD
                                                                       , Driving You Healthy :)
15                                                                      iHug,, LLC
                                                                        * ; * * . * * - 5 , ( ) , 3 Rijtings
16                                                                      Free


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19
           IPhone Screenshots
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                                                                               TRANSPOFn'ATION                           SIGNING UP IS SIMPLE      CARING ABOUT
                                                                              ANYTIME, ANYWHERE                                                 EVERYONE, ANYWHERE
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 1           936.     Whereas Defendants continue to claim, it's not a transportation company, excluding

 2    Uber and Lyft from healthcare a.nd disability laws and regulations, in order to obfuscate, in mere
 3
      attempts to evade responsibility, in a long history of such evasion.
 4
             937.     Whereas Plaintiffs Company alleviates the stresses, pain and suffering, and isolation
 5
 6    for wheelchair bound patients, putting more medically certified and lifesaving drivers on the road

 7    with his business model, vvhilst Defendants continue its incendiary attacks on iHug, in desperation to

 8    stop iHug, while simultaneously developing new feattu-es and entering into new markets using
 9
      Plaintiffs misappropriated $1,200,000,000,000 frillion-dollar healthcare opportunity, and his
10
      $25,800,000,000,000 ttillion-dollar new digital Ai healthcare system particulars.
11
             938.     Pictured below, Uber and Lyft's businesses are leaving an aftermath of damages in
12
13    healthcare.

14
                                               Q WATCH VIDEOS-                  San Fif.mcisco   East Bay   Souih Bay
15
16
17                  7 ON YOUfl SIDE


1.8                 Uber driver sees passenger in wheelchair, takes off
19
20
                      Lyft's response to ADA lawsuit:
21                    Sorry, we're "not in tlie
22                    transportation business"
23
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 1              T. A WINDOW INTO THE WORKINGS OF ANTI-TRUST VIOLATIONS

 2           939.    Monopolization in Healthcare - one or more persons or companies totally dominates
 3
     an economic market. Plaintiff has direct testimonial evidence, Lyft and Sutter plan to cut out AMR
 4
     once "Lyft is able" in an act of monopolization, where Lyft has infilttated AMR, iHug and other
 5
 6   competitors.

 7           940.    Unfair Competition - an attempt to gain unfair competitive advantage through false,
 8   fraudulent, or unethical conduct. Where Plaintiff has various evidence types, proving the Drivers and
 9
     Defendants misappropriated Plaintiffs corporate secrets unjustly enriching itself
10
             941.    Price Fixing - an agreement among competitors to raise, fix, or otherwise maintain
11
12   the price at which their goods or services are sold. Plaintiff argues Defendants are synonymous,

13   sending each other a 274-page memo onrideprices. Defendants suppressed iHug which paid drivers

14   200 times more than other competitors.
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 1     U. THE AFTERMATH OF DEFENDANTS ACTIONS CAUSING SUICIDAL THOUGHTS

 2           942.    The aftermath of Defendants, Joe, Louis and Does actions left the Plaintiff under
 3
     scmtiny from his investors, as they were manipulated by the Drivers, under Defendants direction,
 4
     claiming Plaintiff took their investment, shut down iHug intentionally, and disappeared with their
 5
     investment. These statements were made with falsity, whereas Defendants sabotaged iHug.
 6
 7           943.    Joe, Louis, and Does rnade these-False and Defamatory Accusations and its Gist

 8 against Plaintiff, which are defamatory per se, as they are libelous on their face without resort to
 9
     additional facts, and as clearly demonstrated herein.
10
             944.    As a result of Defendants communicating the False and Defamatory Accusations and
11
     Gist that Plaintiff is afraud,tainted investors by the slanderous accusations causing irreparable
12
13   damages.

14           945.    As a direct and proximate result of the False and Defamatory Accusations and its Gist,
15   Plaintiff suffers and will continue to suffer damages.
16
            946.     Even more dangerous, and malicious, Plaintiffs Wife, continues to have mental break
17
     downs and thoughts to give up her life as a result of the sustained attacks over the years.
18
19          947.     Plaintiffs Wife is now a target, as she's lived through each and every attack by

20   Defendants, Joe, Louis, the Drivers and Does, making her a key witness: It has caused her complete
21   emotional distress, mental anguish, panic attacks, anxiety, unconfrollable crying and consistent
22
     breakdowns, causing irreparable bodily harm. She has lost a sense of her innocence from the attacks
23
     and even more damaging, loss of purpose, as her fans are everything to her.
24
25          948.     Her fans have become seriously concerned with her wellbeing as a result of

26 I Defendants and its Drivers actions as described in all proceeding paragraphs of this Complaint.
27          949.     She continues receiving fan mail asking how she is, why she hasn't posted new
28
     videos, effecting people's lives as Plaintiffs Wife helps people with anxiety, suicidal thoughts and
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.1     loneliness.

2              950.      Plaintiffs Wife stopped posting videos on YouTube, for fear of Defendants, Louis,
3
       Joe, and Does finding out where she lived and her whereabouts.
4
               951.      More recently the Drivers have calculated, and are curtently executing plans to deport
 5,
       Plaintiffs Wife back to Australia through false accusations, in an act of witness tampering, in the
6
7 event a trial date is set.
 8             952.      These actions have caused her mental anguish, emotional distress and financial harm,
 9 potentially losing her marriage and green card, as she's still in the immigration process with the
10
       Plaintiff
11
               953.      Plaintiffs Wife came to America to visit Plaintiff, who she had been in
12
13     communication with daily. After leaming about iHug, she knew iHug is needed throughout America

14 as she's heard the American healthcare system needs improvement.
15             954.      After multiple hits from Defendants and its Drivers, she's been permanently scarred,
16
       where her enjoyment of life tumed into thoughts of suicide. The Plaintiff has had to talk her through
17
       the situations.
18
19             955.      Plaintiff vehemently refutes every willful action taken by Defendants and its Drivers

20     in desperation of losing market share to iHug.
21 j           956.      The actions taken by Defendants are mere attempts to silence Plaintiffs Wife, attack
22
       Plaintiff personally to stop iHug from competing, in order to gain an unfair competitive advantage,
23
       causing Plaintiffs Wife even more emotional disttess and mental anguish, as she knew her husband,
24
25     the Plaintiff devoted nearly six years of his life into iHug, sleeping onfloorsand sacrificing.

26             957.      At one point. Plaintiffs Wife tells him, she doesn't want to live anymore, after Joe,
27     Louis, the Drivers and Does colluded in grand theft auto, taking Plaintiffs vehicle, causing mental
28
     i anguish and undue duress jeopardizing his personal income.
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                        Rights, American Disability Act, Trade Secret Misappropriation, Unjust Enrichment.
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 1          958.     Picttired below. Plaintiffs Wife, a YouTube Star and Social Media Influencer,

2    "Awesome Alanna" with 26,000,000 million active views and over 100,000 fans after the malicious
 3
     attacks, causing near death damages, where Plaintiff had to save her and stop her from taking her life.
4
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23
            959.     Evidence damages 1 Plaintiff Wife crying uncontrollably:
24
     https://www.dropbox.com/s/cqprkh61lcxma9i/enoughisenough.mov?dl=0
25
26          960.     Evidence damages 2 Plaintiffs Wife crying stating the Plaintiff was just trying to do

27   the right thing for people while being slander, attacked and falsely accused of crimes:
28
     https://www.dropbox.cdni/s/n6cl5od3wcf39fa/enough.mov?dl=0

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 1                      V. ALANNA'S FANS REPORT HER MISSING WHILE SHE

 2                       WAS UNDER CORPORATE ATTACK BY DEFENDANTS
 3
            961.     Plaintiffs Wife, ("Alanna") is a public figure, and as a result of Defendants
 4
     attack, she stopped making YouTube videos. Her fans are still very concerned for her wellbeing.
 5
 6          962.      Pictured below is an email from a very concemed fan of Alanna.

 7
       From: Nablr < M m i | | ^ | L £ ^ >
 8     Date: December 22. 2018 at 10:54:08 AM PST
 9     To: tBBBBBBMBWBBBM
       Subject: Crazy story about your disappearahce
10
11
       During your hiatus, I read this story on the BBC about an unidentified victim and thought tiie
12     police sketch looked a Ibt like you:
13
       https://vwnfl/.bbc.cbm/l
14
15     I mean, "a lot" is relative here, it's a sketch and they're always, hideous and way off. She also
       matched tiie diescriptidn. Reddish hair, good teeth and so on.
16
17     I actually contacted the authorities, just in case. I'm so SPrry if they got in touch with you or your
18     family. But;., also, pretty hilarious, if you think about it. I thought tiiis could be a topic for a Video
       or at least it could make ypti laugh.
19
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 1        963.     Pictured below is the BBC story, and a sketch that looks like Alanna.

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 1         W. ALANNA, PLAINTIFF'S WIFE, IS A PUBLIC FIGURE AND ROLE-MODEL
 2           964.     Plaintiffs Wife, ("Alanna") is a publicfigurefor the purposes of this Complaint,
 3
      having lived her life in front of the public eye.
 4
             965.     Prior to April 2018, Alanna had high fame in the YouTube community at large,
 5
 6 with over 26,000.000 million active viewers, and over 100,000 fans.
 7           966.     Alanna was paid by Disney and Makers Studios, to promote Marvel and others
 8
      businesses, giving her celebrity among millions of fans.
 9
             967.     Alanna always inserts herself in the public eye for good.
10
11           968.     Helping those who are personally struggling, and even saved a young woman
12    from committing suicide with her relatability.
13
             969.     Pictured below, you will see Alanna in her element on YouTube, at events, selling
14
      products through her YouTube channel and being funny, raw, charismatic, energetic, smart and
15
16    a huge story teller where millions of fans view her videos.

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 1          970.     Pictured below you will see Alanna helps people from committing suicide, and
 2   has saved children and adults from committing suicide through her YouTube Videos. Whereas
 3
     in this case. Defendants have nearly caused her to commit suicide.
 4
 5
 6
 7
8                            notsoslimshady394 has made a comment on Draw
 9                    .ift:! My Life - AwesomeAlanna
                    To reply to this comment dick here. To see all comments on this video click here.
10
                    I loved this video, Alannal I'm 14 and I fight with my mom alot too, and I struggle with
11                  depression and suicidal thoughts. I just want to thank you SO much for making this
12                  video<31 guess its just comforting to know that people have gone th... more

13                                    Awesome Alanna,
                                    « You were mentioned in a Tweet!
14
15
                                               Awesome ShanrKmO
16                                             @shannlovescat5 .
                                               @awesome_alanna hello....,! feel like...
17                                             Suicide Can you help me              :/
                                               please.....? I really do need you Alanna.
18
19          971.     Pictured below, fans are still messaging Alanna with concem, as Alanna has
20   stopped making YouTube videos for fear bf Defendants, Joe, Louis and Does finding out where
21
     she and the Plaintiff live for fear of their safety.
22
23                            ^ ^ ^ k kashiijepsz commented:
                              X^S^^i @awesomealahna I nniss your YouTube
24                             ^ i ^ l B ^ channel it made me really happy © I have
                                           some very bad anxiety and some mental
25                                         issues and your videos literally made me
                                           laugh ...I'm not even kidding they made me
26                                         laugh through the darkest times of night
                                           and I miss you — I've watched all your
27                                         videos and can recreate them by heart... I
                                           miss ypu and wish I see new videos ^ I
28                                         love you x ^ b u t I'm happy your social
                                           media is always active 17h

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 1                         X. ADAM IS A PUBLIC FIGURE AND ROLE-MODEL
 2          972.     Plaintiff ("Adam,") is a publicfigurefor the purposes of this Complaint, having
 3
     lived his entire life in front of the public eye.
 4
            973.     When looking at the entire body of Adam's Hfe. At the core of his belief system,
 5
 6   Adam gives selflessly at every chance he can, it's the only thing he excels at.
 7          974.     He's helped millions of people in need, through various local, national and global
 8
     non-profits to include but not limited to the Sacramento Food Bank and Family Services, an
 9
     organization that helps families make ends meet, provides services such as free clothing for
10
11   children, women and men, adult education, parent education, youth education, immigration
12 legal services, refugee resettlement services, and others.
13
            975.     Pictured below, Adam speaking to thousands of people at a charity event
14
     televised by Fox 40.
15
16
17
18
19
20
21
22
23
24
25
            976.     Pictured on the next page atop, you will see Adam being a kind-hearted father
26
27   figure and role model to Allison, his ex-fiance daughter.
28          977.     Through Adam's teachings, Allison understood the importance of giving back,

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 1   Adam gave Allison $500 cash to donate to Sacramento Food Bank and Family Services.
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 1          978.     Pictured below, an intimate conversation with Adam's ex-fiance. Adam's
 2   teachings to have Allison donate $500 made an impact on Allison, 4 years later, she continues
 3
     giving back and donates to Loaves and Fishes of Sacramento for their yearly stocking drive for
 4
     the homeless. A magical momenit for Adam.
 5
 6                                                                            5:29                                  .Mi •9' I O '

 7
                        Dec 6, 2017; id:36 RM
 8
 9                                                                                         Nov 18. 2017, 5:44 PM

                             'V.-'-V?-
10
11                       Dec 7, 2017, 5:39 AM

12     Alii is doing great. Tonight the
                                                                                           Now 18, 2017, 7:55 PM
       girls were filling stockings for ,
13     the homeless. The stockings
14     are filled with tons of essentials
       the homeless need. We ar
15
       e donating the stocking.to
16                                                                         |l You are very welcome ^
       loaves and fishes for their 1
17     yearly stocking drive for the                                                       Nov23, 2017,1;03PM
       homeless
18
19                       Dec7, 2017, 8:24 AM

                               " ,-SIL<-., . . . . .,...iiJ)£c.-
20
21                                                                         f ;Ba|||;Xrtanks|i[^^^^    Omgjthe-^^,

22
                                                                           ||P^rS^<.She; il^ptg^tb Joye^
23                      Dec 22, 2017, 8:24,PM

24
                                                                                      |)   (^flxtMess'age;
25            ©)          Text y i i
26
27
28          979.     Pictured on the next page atop, Adam feeding our homeless near the iHug office,

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 1   bringing them water, and food. Plaintiffs Wife records it against his wishes. Adam doesn't like
 2   to take credit for his good deeds.
 3
 4
 5
 6
 7
 8
 9          980.     Pictured below, you will see Adam leading a toy drive on Christmas, on multiple
10
     occasions to help Toys-for-Tots a United States Marine Organization for kids.
11
12
13
14
15
            981.     Pictured below, you will see Adam's friend, a San Francisco native who trusted
16
17   Adam. She was working to connect Adam to bilhonaire investors based purely on Adam's

18   reputation, and trust including Mark Cuban, Richard Branson, Chris Sacca, and Travis
19   Kalanick of Uber.
20
21
22
23                               1 y0 peen con^                  g my peeps.
24
25                               Printed it all oot andWil S€ind-^0
                     •g^.                              leo DUi^
                                 ypu; 1 m^^^^^^s^^ exnaus
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 1          982.     Pictured below, Adam's friend provided Plaintiff with Mark Cubans email to
 2 contact him for an investment, she was also attempting to connect Adam with world leaders for
 3
   investment.
 4
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            983.     Pictured on the next page atop, you will see what it took Adam to build up his
20
     reputation, and build iHug, after years of selfless devotion, putting others first.
21
22          984.     He slept on his friend's couches, and floors. He sold his cargo trailer he slept in,
23   to invest the cash into iHug, and slept on his officefloorto reinvest the extra cash into iHug, to
24
     make iHug profitable to help people in healthcare.
25
            985.     Adam's actions and decisions to build the world first Rideshare for Healthcare
26
27   platform is a true testament to his character, and when looking at the entire body of Adam's
28   life, his efforts are genuine and for the people. As a result, God gave Adam the vision to change

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 1   the world in healthcare, giving everyone access, anywhere.

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16          986.     Pictured below you will see Adam receiving one of many professional

17   endorsements. A good friend, Sara was cheering Adam on to reform healthcare.
18
19
               Sara I                          Adam is one of the hardest workers I know. Couple that with his
20          .g Senior Events & Marketing passion to reform heaithcare, and he Is all but unstoppable! Over
               Director                        the past year, I have watched him grow IHtig Healthcare and have
21
               May 2,2017, Adam worked with
               S a r a H i m i l i n the sanie seen the many many hours he puts in to ensure every feature and
22             group                           welcome message is; perfect. His positive energy makes him a joy
23                                             to work with and I have no ddiibt it Is only up from here for Adam!

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 1             987.       To indisputably prove Plaintiff is a selfless man who puts people before himself,
 2 after Joe asked Plaintiff for help regarding his son's low grades and no participation in class.
 3
   Plaintiff offered his help. Months later, Jaren's teacher, Jennifer, made him Govemor of the
 4
   Week. Pictured below, a text message conversation proving Plaintiff empowered Joe's son to
 5
 6 think for himself, and help others with great ideas.
 7
 8
                                             •Ill LTE i
 9                                                                                                Joe Acebedo >
10                                                            Or I can just order Chinese
11
                  Joe Acebedo >
                    iMessage
                                                              food from that snnall restaurant
12
              Sep 24, 2017. 6,S2 PM                           down the street
13                                                            Just give me cash whenever J
14
                                                              .tennlfer
15                                                            •To:-joe                                  • Details
                                                              I made hinn my Governor of the Week. I'm very
16                                                            proud of hinn; It's so nice to see him participate in
                                                              class; He has such good ideas and we love hearing
17
                                                              them.;
18      tV'il.iW.-    !V ' 7>:iii|t>lr<i-i?!4:%vJ:i-.''*»^^

19
                                                              Fourth Grade, Room 19
20
21
22
23
24                                                            Being a dad is always about
                                                              adjusting...Thank you for
25                                                            making an impact on my family.
26         Do schools kill creativity? LSIr!
           Ken Robinson-                                      That advice about Jaren made
27
           V'Qu.'u.be -./ : . ,,
                                                              him grow big time!
28
      9)       sivlessaqe

                                                                                              ,Omg Joe that is so amazing!!!
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 I          988.     To unarguably prove that Plaintiff and his Wife are innocent victims and
 2   only want to love and build a future for the people, pictured below on the left, Plaintiffs Wife
 3
     watched after Joe's daughter, Cezzie. Pictured below on the right, Plaintiff took Cezzie, and
 4
     Joe's two sons to school, while Joe was in San Francisco leaking iHug details .to Defendants,
 5
 6   unbeknown to Plaintiff. Defendants' actions against Plaintiff and his Wife are atrocious.
 7   Plaintiff respectfully prays to God, and an Honorable Judge to rightfully serve justice.
 8
                                                                                                                   .Ill LTE i
 9
10
                                                                                                Joe Acebedo >
11
12                                                                  |''Exiting-:fre^ev^^

13                                                                                          Dec 15, 2017,7:29 AM


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24                                                                   ''Dad lifeB]

25                                                                  |lTrafjficjs|ieks|h^^

26                                                                   IS             |)-';;(iMessage

27
28                                                               ?il|i%--j^'''gt»fe,."^!'.''''S^^

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 1           989.     A man who was betrayed and robbed of iHug's launch day on July 4, 2017, and
 2    every subsequent launch thereafter; A man who nearly lost his first and only love; Who was
 3
      mentally tortured by the use of psychological warfare tactics by Defendants; Who lost
 4
      everything, including family, friends, his reputation, his company, his home, and vehicle; Who
 5
 6 was gifted with iHug by God to saive and enrich human life, empowering people with a new
 7 digital Ai healthcare system, was harmed by five major corporations, all for greed. By the power
 8
      of God, Plaintiff will not be silenced, he will persevere, and he will be raised up by the hands of
 9
      God to ensure he deUvers what God intended him to build for the people of the world.
10
11           990.     Pictured below, as Plaintiff was forced to write his own Complaint, he quickly
12    had to learn basic principles of law. His brief work in law brought to surface unbelievable
13
      wrongdoing. Plaintiff realized Uber, Lyft, Andreessen, Benchmark, and the BBB are harming
14
      innocent people, business owners, and patients in healthcare, and after seeing the vile attacks to
1.5
16    wrongfully imprison him, he broke down from the gravity of the damage he's sustained since

17    2015 to present. Plaintiffs loving Wife broke down while recording her husband to show an
18    Honorable Judge the damages. Plaintiff respectfully prays that the Court grant all relief that the
19
      Court deems just and proper, including equitable relief, in particular, injunctive relief
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 1          991.     Pictured below. Plaintiff couldn't help himself from the pain. After years, of
 2   defending, after years, offightingback, and competing to build iHug, attempting to help more
 3
     and more patients in healthcare, the principals of Law, gave Plaintiff a glimpse of the damages.
 4
     He was genuinely and deeply hurt froin the damages.
 5
 6          992.     Plaintiff stands resolute, and will continue building his case to prosecute
 7   the Defendants to the fullest extent of the Law, for all wrongdoing described herein and
 8
     throughout all proceeding paragraphs of his Complaint.
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 1                 7. INJUNCTIVE R E L I E F BY WAY OF SUPREME LAW OF THE LAND

 2             In order to fully compensate Plaintiff, his Wife, and iHug, for damages and to punish, deter,
 3
     and teach Defendants a lesson they will never forget, this action seeks the following but not limited
4
     to, temporary and permanent injunctive relief, grantingpf his TRO, punitive damages, compensatory
 5
 6   damages, general damages, and residiial royalty earnings on all future revenue that resemble any of

 7   Plaintiffs corporate secrists, intellectual property, processes, methods, concepts, ideas, business
 8   plans, and other corporate material, stock ownership in Defendants publically traded companies and a
 9
     board seat to ensure life is never threatened again, while working to help everyone benefit.
10
        952.      The United States Supreme Court requires four factors to have been met in order
11
12                to grant injunctive rehef:

13                    (1) Plaintiff continues to sustain damages while under competition suppression by
14                        Defendants, more specifically, using Govemment officials to fine and threaten
15
                          Plaintiff
16
17                    (2) The Drivers under Defendants instructions continue defaming Plaintiff to

18                        investors, business partners, friends, family and the public.
19                    (3) Plaintiffs Company, iHug, continues its loss of market share in healthcare.
20
        953.      Endangerment of life in healthcare, particularly, Defendant's inherent culture and
21
22                corporate practices continue use of unfair taxi competition tactics, incentivizing

23                drivers not to drive for each other, who then cancel on dialysis, and other terminally-
24
                  ill patients in healthcare while methodically engaging in competition 24/7/365.
25
        954.      Wheelchair bound patients will continue to suffer hardship as a result of
26
27                Defendant's existence in Healthcare, and the continued suppression of iHug.

28      955.      As affirmed by the United States Supreme Court, the Supreme Law of the Land,

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 1             Plaintiff argues the Drivers have violated advisory, non-compete, confidentiality, non-

 2             disclosure, contingent employment and other types of legally binding agreements.
 3
      956.     Testimonial and direct evidence establishes the Drivers acted on behalf of
 4
               Defendants, who are in a business relationship with Defendants, under constructive
 5
 6             trust and brand power, while Defendants' attomeys preemptively write EULA's to

 ^             skirt gray area law, in anticipation of Defendants being held responsible for acting
 8
               unlawfully through its Drivers, evading the law while unjustly enriching itself and
 9
               suppressing competition at the detriment of the Plaintiff, his Wife, iHug, and
10
11             investors and more importantly innocent terminally-ill people in healthcare.

1^    957.     The Drivers signed advisory, non-compete, confidentiality, non-disclosure,
13
               contingent employment and other types of legally binding agreements with Plaintiff, and
14
               iHug, with the intention of not performing and violating fiduciary duty, in order to
15
16             unjustly enrich Defendants, without legal entitlement, while receiving cash incentive

1^             from Defendants.
18
      958.     Provisions within multiple legal documents Defendants signed, grant any and all
19
               extraordinary and injunctive relief as outlined in Plaintiffs Ex Parte's application
20
21             and as described below:

22    959.    (f) Remedies. I acknowledge and agree that violation of this Agreement by me may
23
              cause the Company irreparable harm, and therefore agree that the Company will be
24
              entitled to seek extraordinary relief in court, including but not limited to temporary
25
26            restraining orders, preliminary injunctions and permanent injunctions without the

27            necessity of posting a bond or other security and in addition to and without prejudice
28
              to any other rights or remedies that the Company may have for a breach of this
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 1             Agreement

 2    960.     3.6 Injunctive Relief, parly acknowledges and agrees, that in the event of a breach, or
 3
               threatened breach of this agreement, by a Party, Company will suffer irreparable
 4
               harm, and will therefore be entitled to injunctive relief to enforce this agreement.
 5
 6    961.     (c) Voluntary Execution. I certify and acknowledge that I have carefully read all of

 7             the provisions of this Agreement and that I understand and will fully and faithfully
 8
               comply with such provisions.
 9
      962.     Miscellaneous: 4a. All confidential information and Confidential Materials, are and
10
11             shall remain the sole and exclusive property of the Company.

12             By disclosing information to Recipient, the Company does not grant any expressed
13
               or implied right to Recipient to or under the Company patents, copyrights,
14
               trademarks, or trade secret information. Any information that's given, disclosed,
15
16             communicated or otherwise expressed by Recipient that shape, enhance, evolves or

17             otherwise, shall remain the sole and exclusive property of the Company.
18
      963.     Injunctive Relief. You hereby acknowledge, (I) that the Company will suffer
19
               irreparable harm ifyou breach your obligations under this agreement; and (2) that
20
21             monetary damages will be inadequate to compensate the Company for such a breach

22             Therefore, if you breach any of such provisions, then the Company shall be entitled
23
               to injunctive relief, in addition to any other remedies at law or equity, to enforce such
24
               provision." Case law estabhshes, Plaintiff has every right to motion the court for
25

26             injunctive relief, wherein a case, Texas Advanced Optoelectronic Solutions, Inc. v.

21             Renesas Electronics Am., 2018 WL 3358927 (Fed Cir. 2018), the Uniform Trade
28
               Secrets Act (UTSA), adopted by nearly all states, and the federal Defend Trade
          Adam John Mackintosh-^-vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1             Secrets Act (DTSA), provide plaintiffs with several possible monetary remedies for

 2             misappropriation of his corporate secrets.
 3
      964.     A plaintiff can recover its actual loss caused by the misappropriation (i.e. loss
 4
               damages) plus the unjust enrichment gained by the defendant to the extent that this
 5
 6             unjust enrichment is not taken into account in computing actual loss (i.e.

 7             disgorgement damages).
 8
      965.     Altematively, and in lieu of loss damages or disgorgement damages, a plaintiff
 9
               may be entitled to receive "a reasonable royalty" on sales made by the defendant of
10
11             the product incorporating the trade secret. Separately, a plaintiff may also be entitled

12             to non-monetary damages, like an injunction.
13
      966.     Disgorgement is an equitable remedy used to prevent unjust enrichment by
14
               requiring a defendant to give up any profits it made as a result of illegal or wrongful
15
16             acts.

17    967.     Disgorgement does not require that the plaintiff have suffered any damages at all,
18
               rather, disgorgement is a tool used to prevent a defendant from benefitting from its
19
               illegal actions.
20
21    968.     Disgorgement can include not only the defendant's profits but also cost savings

22             realized from its illegal use of the plaintiffs trade secret. For example, theft of trade
23
               secrets often allows competitors to take short-cuts to market.
24
      969.    Whereas in this Complaint, Plaintiffs $1,200,000,000,000 trillion-dollar
25
26            healthcare opportunity and corporate secrets are considered a trade secret as it was:

27                 (1) not known outside of the particular business entity;
28
                   (2) known only by employees and others involved in the business;
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 1                 (3) subject to reasonable measures to guard the secrecy of the information;

 2                 (4) valuable; and (5) difficult for any party to properly acquire the trade secrets,
 3
                   are typically protected by nondisclosure agreements (NDAs), whereas NDA's
 4
                   were signed in this Complaint.
 5
 6    970.     California is one of the many states that have adopted the Uniform Trade Secrets

 7            Act.
 8
      971.     Califomia's trade secret law can be found at Cal. Civil Code § § 3426-3426.11.
 9
J^     972.    Whereas in this Complaint, Defendants have met all elements that violate the

11             Uniform Trade Secrets Act, which refers to the theft of trade secrets as

12            misappropriation.
13
      973.     Under CaUfornia law, "misappropriation" refers to the acquisition of a trade
14
               secret by someone who knows or has reason to know that the trade secret was
15
16             acquired by improper means - theft, bribery, misrepresentation, breach or

1^             inducement of a breach of duty to maintain secrecy. It also includes the disclosure or
18
               use of a trade secret without consent by someone who used improper means to
19
               acquire knowledge of the trade secret - for example, an ex-empldyee who spills
20
21             Company secrets to a rival.

22    974.    Wherein this Complaint, Louis, Joe, Darren, Jerry and Does leaked iHug's
23
              corporate secrets to its rival Lyft and Uber executives and affiliated parties, Does.
24
      975.    A victim of trade secret theft can also seek fmancial compensation that measures
25
26            the actual loss attributed to the theft or the profits (or "unjust enrichment")

27            acquired by the trade secret thief In egregious situations, a Califomia court can
28
              award punitive damages up to twice the amount of any award.
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 1          976.     Attorney fees will also be awarded in egregious (willful and malicious) situations

 2                   or if a claim is brought in bad faith.
 3
            977.     In addition to Califomia's rules regarding trade secrets, certain federal rules also
 4
                    apply in Califomia. As per, The Economic Espionage Act of 1996, a "trade secret" is
 5
 6                   similar to that of the Uniform Trade Secrets Act.

 ^          978.    A private party can still sue for trade secret theft under the Economic Espionage
 8
                    Act. Whereas all NDA's established Defendants cover all attomey's fees, costs, and
 9
                     other expenses to remedy such breach of fiduciary duty.
10
11          979.    Plaintiff reasserts and incorporates by reference all proceeding paragraphs as if fully

12                  restated herein
13
            980.    The Drivers under the instruction of Defendants violated all signed legal
14
                    agreements, ignoring multiple cease and desist wamings, and maliciously continued
15
16                  to cause irreparable damages, including but not hmited to, tortious interference of

11                  iHug's partnership with actual economic advantage, misappropriated corporate
18
                    secrets which include PlaintifPs $1,200,000,000,000 trillion-dollar healthcare
19
                    opportunity, and his $25,800,000,000,000 trillion-dollar new digital Ai healthcare
20
21                  system particulars, while endangering lives through

22                   unfair competitive tactics
23
     ///
24
     ///

25
26
27   ///
28   ///
                Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                                             Y. CAU SES OF ACTION

 2                                                      COUNT 1

           UNFAIR COMPETITION PRACTICES THAT ENDANGERS CONSUMER L I F E

      (Unfair Competition in Violation of California Business and Professional Code §17200 et seq.)

                          By Plaintiff and On Behalf of All Others Similarly Situated

 7      981.     Plaintiffs' incorporate by reference all preceding and subsequent paragraphs here,

 8               as though fully set forth in this First Cause of Action:
 9
        982.     This claim is based upon sections 17203 and 17204 of the Califomia Business and
10
^J               Professions Code to obtain restitution, disgorgement, declaratory and injunctive
12               relief, and all other remedies available for violations of section 17200 of the Business

13               and Professions Code, the Califomia Unfair Competition Act, endangering the lives
14
                 of dialysis, cancer and other terminally-ill patients in the healthcare industry.
15
        983.     The Califomia Unfair Competition Law ("UCL"), Cal. Bus. & Prof Code §§ 17200,
16
17               et seq., defines unfair business competition to include any "unlawful, unfair or

18               fraudulent" act or practice.
19
        984.     A business act or practice is "unfair" under the Califomia Unfair Competition Law if
20
                 the reasons, justifications and motives of the alleged wrongdoer are outweighed by
21
22               the gravity of the harm to the alleged victims.

23               A business act or practice is "fraudulent" under the UCL if it is likely to deceive
24
                members of the consuming public. A business act or practice is "unlawful" under the
25
                 UCL if it violates any other law or regulation
26
2-7     985.    The conduct complained of herein, including but not limited to business acts and

28              practices, violates Business and Professions Code section 17200. The business acts

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 1               and practices alleged herein display Defendants' committed, common, continuous,

 2               and continuing course of conduct constituting unfair competition by unfair,
 3
                 unlawful, and-or fraudulent business acts and practices within the meaning of section
 4
                 17200, et seq. as described herein, and are unfair to consumers in the State of
 5
 6               California within the meaning of section 17200.

 ^      986.     Each named Plaintiff, and all others similarly situated has suffered actual injury in the
 8
                 form of at least one type of injury described herein, losing money or property as a
 9
                 result of unfair competition as described above, including Defendants' unlawful,
10
11               unfair, or fraudulent business acts and practices

12      987.     The gravity of the harm to Plaintiff, his Wife, iHug and its investors resulting from
13

14               these unfair acts and practices outweighs any conceivable justifications or motives of
15
                 Defendants for engaging in such deceptive acts and practices.
16      988.     By committing the acts and practices alleged herein. Defendants engaged in, and

1^               continue to engage in, unfair business practices within the meaning of Cal. Bus. «&
18
                 Prof Code §§ 17200, et seq., and Plaintiff, his Wife, iHug and its investors continue
19
                 to suffer harm from these actions.
20
21      989.     Therefore, Plaintiff is entitled to injunctive relief prohibiting the continuation of

22               such business acts, practices and participation in healthcare.
23
        990.     Plaintiff, asks the Court to order Defendants to pay restitution to Plaintiff,
24 .
                 his Wife, iHug and its investors in the amount of their losses based on violations of
25
26               the UCL, to pay attorney's fees and costs, and to enjoin Defendants from continuing

21               to violate the UCL as alleged herein, in particular. Defendants
28
                 participation in healthcare.
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 1                                                   COUNT 2
 2                  COMPUTER DATA ACCESS AND FRAUD ACT ("CDAFA")
 3                                       (California Penal Code § 502)
 4
                       By Plaintiff and On Behalf of All Others Similarly Situated
 5
 g     991.     Plaintiff, herein incorporates by reference all the foregoing paragraphs as

 7              though fully set forth herein:
 o

 °     992.     The Califomia Comprehensive Computer Data Access and Fraud Act
 9              ("CDAFA"), Cal. Penal Code § 502, "expand[s] the degree of protection afforded
10
                to individuals, businesses, and govemmentai agencies from tampering.
11
12              interference, damage, and unauthorized access to lawfully created computer data

13              and computer systems." Id. § 502(a).
14
       993.     Plaintiff alleges Defendants and its Drivers work in concert violating
15
                subdivisions (c)(l)-(3), (5), and (7). In particular, parroting the language ofthe
16
17              subsections. Plaintiff conclusorily alleges that Defendants, the Drivers and Does

18     994.     Knowingly accessed and without permission used data, and electronic devices
19
                including but not limited iPhones, iPads, iMacs, Burner Phones through
20
                computer networks, in order to wrongfully obtain iHug's corporate secrets, pitch
21
22              decks, business plans, property, or data, contrary to Cal. Penal Code § 502(c)(1).

23     995.     Knowingly and willfully accessed and without permission took, copied, and
24
                made use of data from electronic devices including but not limited iPhones,
25
                iPads, iMacs, Burner Phones through computer networks, in order to
26
27              wrongfully obtain iHug's corporate secrets, pitch decks, business

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 1                  plans, property, or data, contrary to Cal. Penal Code § 502(c)(2)

 2           996.   Knowingly and without permission disrupted or caused the dismption of
 3
                    computer services or denied or caused the denial of computer services to an
 4
                    authorized user of a computer, computer system, or computer network, contrary
 5
 6                  to Cal. Penal Code § 502(c)(5).

 ^           997.   Knowingly and without permission provided or assisted in providing a means of
 8
                    accessing a computer, computer system, or computer network in violation of
 9
                    Cal. Penal Code § 502, contrary to Cal. Penal Code § 502(c)(7).
10
11           998.   As a result of said actions against Plaintiff, his Wife, iHug and its investors has

12                  caused an insurmountable and incendiary damages.
13
       ///
14
       ///

15
16     ///
17     ///
18     ///
       ///
20
       ///

21
22     ///
23     ///
24     ///

       ///
26
       ///
27 •

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 1                                                        COUNT 3
 2                      UNJUST ENRICHMENT WITHOUT LEGAL ENTITLEMENT
 3
                                    (California Code, Civil Code - CIV § 3426.3)
 4
                           By Plaintiff and On Behalf of All Others Similarly Situated
 5

 g     999.     Plaintiff, herein incorporates by reference all the foregoing paragraphs as

 7              though fully set forth herein:
       1000. Because of the misconduct described herein, Defendants have been unjustly
 9
                enriched at the detriment of Plaintiff, and iHug.
10

JJ      1001. Defendants have been unjustly enriched at the detriment of Plaintiff, and iHug,

12              while incentivizing the Drivers to misappropriate iHug drivers and rider details

                in order to grow Defendants synonymous and monopoHzed transportation
                network companies.
14
15     1002. Defendants unjustly enriched themselves, in particular Ben, who's under

16
17              investigation along with Defendants, without legal entitlement, through Joe,
^8               Louis and Does who are under investigation along with Defendants, who
19
                misappropriated corporate secrets, business plans, corporate materials,
20
                partnership details pertaining to Plaintiffs $25,800,000,000,000.00 TrilHon-
21
22              Dollar New Digital Ai Healthcare System particulars, and his $1,200,000,000,000

23              trillion-dollar healthcare opportunity, and partnership contract that were
24
                profitable in a clear violation of the:
25
       1003. Defend Trade Secrets Act of 2016 (DTSA) 18 U.S.C. § 1836, et seq, see
26
27              Mike's Train House v. Lionel L.L. C, 472 F.3d 398 (6th Cir. 2006); Avery

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 1              Dennison Corp. v. Four Pillars Entertainment Co., 45 Fed. Appx. 479 (&''

 2               Cir. 2002) and other civil codes.
 3
       1004.    Violations of CaHfomia Comprehensive Computer Data Access and Fraud Act
 4
                ("CDAFA"), California Penal Code § 502 of Corporate Espionage 18 U.S.C. §
 5
 6              1832 (a), (5), (b)

 ^     1005. Violations of Unauthorized Computer Access and Fraud Califomia Penal Code
 8
                502(c)
 9
       1006.    Violation of Califomia Uniform Trade Secret Act Califomia Civil Code § §
10
11              3426-3426.11             )
12     1007.    Violation of Defense of Trade Secrets Act
13
       1008.    Violation of The Economic Espionage Act of 1996
14

j5     1009. Economic Espionage 18 U.S. Code § 1831 (1)

16     1010. 4. Intentional Interference with Contractual Relations, and Tortious Interference
17              with Actual Economic Advantage.
18
       1011. Violations of Unjust Enrichment in Trade Secret Misappropriation Califomia
19
                Civil Code - CIV § 3426
20
21     1012. Joe, Louis and Does misappropriated corporate secrets pertaining to Plaintiffs

22              $ 1,200,000,000,000 trillion-dollar healthcare opportunity, and his
23
                $25,800,000,000,000 trillion-dollar new digital . \ i healthcare system particulars,
24

22              allowing Defendants to unfairly compete, and unjustly enrich themselves at the

26              detriment of Plaintiff, causing serious injury and damage creating more bottle

2^              necks in healthcare, while endangering life on a daily
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1         1013. basis, increasing mortality rates, which will inevitably cause deaths.

 2         1014. Plaintiff is entitled to extraordinary relief including injunction and all monetary
 3
                  damage compensation.
 4
 5   "'
 6   ///
 7   ///

 ^   ///
 9
     ///
10


12   ///
13   ///

14   ///
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16
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17
18   ///
19   ///
20   ///
21
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22
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24   ///
25   ///
26   ///
27

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 1                                                      COUNT 4

 2                MISREPRESENTATION, FRAUDULENT INDUCEMENT AND CYBER-
 3
           CORPORATE SABOTAGE THROUGH ESPIONAGE (California Civil Code §§ 2223,
 4
       2224, California Code, Penal Code - PEN § 502, Violation of Uniform Trade Secrets Act
 5
 g                                       Cal. Civil Code § § 3426-3426.11.)

 7                       By Plaintiff and On Behalf of All Others Similarly Situated

 8          1015. Plaintiff, herein incorporates by reference all the foregoing paragraphs as
 9
                  though fully set forth herein
10
            1016. Due to the misconduct described herein. Defendants' claimed its Ambassador
11
12                Programs are "phasing out" and or "discontinued" in order to allow Defendants

13                to continue misleading competitors, and the general public of the Ambassador
14
                  Programs, stating the programs are "phasing out" and "no longer accepting
15
                  responses" in order to obfuscate. Whereas, the programs are in full effect, where
16
2y                 Drivers are still infiltrating competitors while receiving incentive through the

18                referral programs.
19
            1017. Pictured on the next page atop, is electronic evidence, indisputably proving
20
                  Defendants misled competitors and the general public by falsely claiming the
21
22                Ambassador programs are "phasing out." Pictured on the next page in the

23                middle, site is taken down after Defendants unlawfully received Plaintiffs
24
                  Complaint, and the updated version on the next page below, proving a cover up
25
                  through misrepresentation.
26
27   ///

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 1      1018. Before Defendants unlawfully received Plaintiffs Complaint.

 2
 3
 4             Ambassadors                                            Ml Join the Uber Ambassador
                                                                         Program
 5
                                                                             The form Join tha Uber Ambassador Program ia no longer accepting responses.
       The Ambassador program is phasing but. We               •             Try contacting the owner of the form If you think this Is a mistake.
 6
           ; gnsatly dpprisciqte all the ywirk our       , ; " J:
 7       Ambassadors have done to helpjgniw the; • ;
        Lyft community. Check our vyebsit© for rriore j -'
                                                                                     .,.Thla (orni'aaa.crealed Insliteef Utat. BjagSitog - TOTH OfSff»lffi ^'
 8        ways to earn with'Lyi^ including how to;, .; ,
                 • becomeglyffcirivei'.               ' j:-1                                           , Google Forms
 9
10                                                                     I
11     1019. Defendants then take down the website to edit.
12
                                                                    Wrong turn.
13
14
15
16
17
18
       1020. Defendants cover up by adding the referral program is hbw phasing out.
19
20
21                                                                                                   C    Download the o p p




22                     Ambassadors
23
24                     and Partherships
25
                      The Ambassador.and ReferratPorlnership programs are phasing out. We greatly oppreciote -
26                     ail the work our Ambassadors and Partners have done to help grow theXyft communrty. Check
                      .our website for more ways to;earn with!Lyft,-.including hpw to^begome a Lyft driver. lf you a r e r ;i
27                     looking to set up an Enterpnse'Partnersliip, you canilearn more aLLyJ


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 1      1021. This enabled Joe, Louis and Does to make false representations and statements,

 2               that they are no longer Lyft Ambassadors, and Uber Brand Ambassadors, rather
 3
                 Independent Contractors, in order to infiltrate iHug with thie intention of spying,
 4
                 misappropriating corporate trade secrets, competitive material and tortiously
 5
 6               interfering with iHug's partnerships.

 7      1022. This behavior is an extension of Defendants grassroots and genuine culture, in
 8
                 particular, John Zimmer, Co-Founder, and CEO of Lyft, in a YouTube video,
 9
                 after an individual asks about Lyft's cease and desists from competitors, John
10
11               states, "We got so many. I don't know where they are anymore. We have a 25-

12               person Govemment Relations Team...they probably have them stored
13
                 somewhere. There's a big map we use to surround the cease and desists with."
14
                 Showing no regard for the law, ignoring competitor's requests, and setting the
15
16               tone for all Lyft employees, instilUng this behavior into their culture.

17
18
19
                                                                         ©Lytt^ohnzlmmer 4
20                                                                   iToSuceess #Lyft fstartup
21
22
23
     Video evidence:
24
25   https://www.dropbox .com/s/w0esvu4z 1 zizlul/Be_Fearless_Startups_tips_from_the_Co-

26   Founder_of_Lyft_%20Lyft_President_John%20Zimmer.mp4?dl=0
27
28         Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1         1023.   In the same malicious act, Joe, Louis and Does then sabotaged iHug on all facets

 2                 under the instruction from Defendants, attacking Plaintiffs investor
 3
                   relationships, to sabotaging Plaintiffs software, misappropriating iHug's
 4
                   investment cash, evoking undue duress on Plaintiff, and his Wife, while
 5
 6                 attempting to deport her back to Australia to hurt Plaintiff, and other

 7                 malicious behaviors causing severe and intentional harrh.
 8
           1024.   Joe, Louis and Does use the brand power of Uber and Lyft, while making false
 9
                   representations to competition that they are no longer Ambassadors, in order to
10
11                 unlawfully infiltrate all competitors, while being incentivized, in order to

12                 suppress competition, fueling Lyft and Uber's synonymous TNC
13
                   monopolization.
14
           1025. All Defendants mentioned herein, including Does have been unjustly enriched
15
16                 through misrepresentation at the detriment of Plaintiff, receiving hefty cash

17                 payouts for their actions. Whereas in 2019, Lyft refused to disclose Driver
18
                   payouts, in order to cover up the wrongdoing.
19
     ///
20
21   ///

22   ///

23   ///
24
     ///
25
     ///
26
27   ///

28          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                                                   COUNT 5

 2                                   DEFAMATION, SLANDER, L I B E L
 3
                                          (California Civil Code § 45)
 4
                       By Plaintiff and On Behalf of All Others Similarly Situated
 5

 g     1026. Plaintiff, herein incorporates by reference all the foregoing paragraphs as

 7           though fully set forth herein:
 8     1027. It's alleged Defendants and its Drivers are currently building a prosecution case
 9
                against Plaintiff using the fabricated and false allegations of fraud, in a
10
                continued effort to defame Plaintiffs character and falsely imprison him.
11
12              whereby if Defendants file a complaint regarding fraud, and/or instantly presents

13              a prosecution counter lawsuit for fraud or anything alike against Plaintiff, using
14
                Plaintiffs investors, drivers, and former team members against him, it will prove
15
                allegations presented herein.
16
17     1028. Defendants and its Drivers pubUshed False and Defamatory Accusations and its

1^               Gist neghgently and with actual knowledge of falsity or a reckless disregard for
19
                the truth to one of the world's largest and leading business networks, in order to
20
                advance Defendants and its Drivers who received stock, cash payouts, and other
21
22              perks, A K A bribes

23     1029. The negligence and actual malice of Defendants is demonstrated by their utter
24
                and knowing disregard for the truth.
25
       1030. Under instmction, Defendants Drivers collective conduct, demonstrates a
26
27              purposeful avoidance of the truth and the publication of the false and

28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                defamatory accusations with actual knowledge of falsity.
 2         1031. Defendants Drivers continued to publish its False and Defamatory Accusations
 3
                  and its Gist with actual knowledge of falsity on the Apple App store review
 4
                  system, in an attempt to de-rank Plaintiffs App, which ranks #1 over Lyft, and
 5
 6                Uber by abusing Apple's review system in an act of tortious interference of
 7                revenue growth of Plaintiff s new business.
 8
           1032. Defendants and its Drivers neghgently and recklessly published False and
 9
                  Defamatory Accusations in derogation of accepted competition practices, and
10
11                code of business ethics of Uber, and Lyft.
12         1033. The False and Defamatory Accusations and its Gist against Plaintiff are defamatory
13
                  per se, as they are libelous on their face without resort to additional facts, clearly
14
                  demonstrated in all proceeding paragraphs.
15
16   ///

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27
28          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                                                    COUNT 6

 2                       INTENTIONAL TORTIOUS INTERFERENCE WITH

 ^                                 ACTUAL ECONOMIC ADVANTAGE
 4

                               (Unfair Competition in Violation of California

 g                           Business and Professional Code §17200 et seq.)
 7                     By Plaintiff and On Behalf of All Others Similarly Situated

 8      1034. Plaintiff, herein incorporates by reference all the foregoing paragraphs as
 9
                though fully set forth herein:
10
^^      1035. Plaintiff had a valid contract with his new healthcare partner that gave iHug

12              exclusive rights to consumers across the nation, including but not limited to

13              Brookdale Senior Living, Kaiser Permanente, Dignity Health, and other
14
                prominent healthcare organizations.
15
       1036. By committing the acts and practices alleged herein. Defendants engaged in.
16
17              tortious interference by misappropriating Plaintiffs partnership details in order

18              to anticipate dates to bribe, "incentivize and or spread false accusations about
19
                Plaintiff," to drivers so they would cancel on healthcare patients, increasing
20

21              mortality rates by 30% ' , and causing Plaintiffs partner to terminate the

                partnership.
23                                                                -       ^
       1037. The Drivers colluded with Defendants, creating a scheme to corinpt Plaintiff and
24

2^              the partnership, successfully interfering with the contract. Stating iHug changed

26              their name, inducing iHug's partner to temiinate the contract.

2^     1038. The Drivers misappropriated Plaintiffs riders, and driver details in order to
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1              poach and manipulate them, while receiving incentive to do so, causing

 2              irreparable damages to iHug, Plaintiff, and its investors.
 3
       1039. Plaintiff maintains his allegations are substantiated, which encompass a variety
 4              of unlawful business practices, and tortious interference, that wrongful
 5
 6              obstmction of an existing business relationship with a contractual economic

 ^              advantage to the Plaintiff, and his Company, iHug was conmiitted.
 8
       1040. Where it's estabUshed as a matter of fact, that Plaintiffs Company, iHug, had a
 9
                valid contractual business relationship;
10
11     1041. The Plaintiffs competitor. Defendants, knew of the business relationship by way

12              of Joe, Louis, Jerry and Does;
13
       1042. The competitor, Defendants, deUberately instructed Joe, Louis and Does to take
14
                action to disrupt the contract and induced the termination the relationship
15
16              Plaintiff had with iHug's partner.

17     1043. Plaintiff further argues Defendants instructed Louis, Joe and Does to defame
18
                Plaintiff to his partner, and misrepresented iHug in order to cause the
19
                termination of iHug's $1,200,000,000,000 trilUon-doUar healthcare opportunity
20
21              through contract.

22     1044. Plaintiff further asserts Defendants instructed Louis, Joe and Does to hire an
23
                employment attorney, so that the attomeys firm would call all parties involved
24
                with iHug to falsely claim Plaintiff stole a vehicle and milUons of dollars from
25
26              investors, evoking a baseless Utigation process causing aU parties involved with

27              iHug to terminate their relationship which had an economic

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 1                  advantage, causing irreparable monetary damages.

 2         1045. Defendants lacked legal justification for the interference, and the interference
 3
                    resulted in conmiercial and economic harm, in particular, indefinite lost profits,
 4
                    entitUng Plaintiff to damages, see Shafir v. Steele, 431 Mass. 365 (2000).
 5
 6   2. Leggat JEJr, Orzol SM, Hulbert-Shearon TE, et al. (1998). Noncompliance in

 7   hemodialysis: predictors and survival analysis. Am j Kidney Dis. 32:139-145.
 8
     5. Saran R, Bragg-Gresham JL, Rayner HC, et al. (2003).
 9
     Nonadherence in hemodialysis: associations with mortality, hospitalization, and practice
10
11   patterns in the OOPPS. Kidney Int.64:254-262.

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24   ///                           "                           .

25   ///

26   ///
27
     ///
28          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                                                    COUNT 7

 2                            INTENTIONAL TORTIOUS INTERFERENCE

 ^            WITH CONTRACTS AND PROSPECTIVE ECONOMIC ADVANTAGE
 4

                               (Unfair Competition in Violation of California

 g                             Business and Professional Code §17200 et seq.)

 7                     By Plaintiff and On Behalf of All Others Similarly Situated
 8      1046. Plaintiff, herein incorporates by reference all the foregoing paragraphs as
 9
                though fuUy set forth herein:
10
^^      1047. Plaintiff had a valid contract with his new healthcare partner, where the contract
]2            and/or reasonable expectations of entering into new contracts with nationwide

13              partners, with the following healthcare organizations, but not limited to
14
                Brookdale Senior Living, Kaiser Permanente, Dignity Health, and other
15
                prominent healthcare organizations as these customers needed Plaintiffs
16
11              Company, iHug's services

18     1048. Defendants have fuU knowledge of Plaintiffs contract and reasonable
19
                expectations of future contracts with similar customers.
20
       1049. Defendants intentionaUy induced Louis, Joe, and Does to cause
21
22              termination of the contract.

23     1050. Defendants lacked legal justification for the interference, and the interference
24
                resulted in commercial and economic harm, in particular, indefinite lost profits,
25
                entitUng Plaintiff to damages, see Shafir v. Steele, 431 Mass. 365
26
27              (2000).

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 1                                                    COUNT 8

 2                      INTERFERENCE WITH EXERCISE OF CIVIL RIGHTS
 3
                  VIOLATION OF CAL. CIV. 52.1 § AGAINST A L L DEFENDANTS
 4
                        By Plaintiff and On Behalf of All Others Similarly Situated
 5
 6      1051. Plaintiff argues Defendants actions against his Wife were extreme and

 7   outrageous. It was so extreme, it exceeded aU bounds of that usually tolerated in a civilized
 8 community." (Cervantez v. J.C. Penney Co. (1979) 24 Cal.3d 579, 593). The infliction of
 9
     emotional and mental anguish, intimidation, threats and use of miUtaristic psychological
10
     warfare tactics caused Plaintiffs Wife to want to commit suicide, locking herself in the
11
12   bathroom of their home, where Plaintiff had to break down the door and hold her, while

13   she cried uncontroUably.
14
        1052. Civ. Code § 52.1, the Bane Act, provides that it is imlawful to interfere with the
15
                 exercise or enjoyment of any rights under the Constitution and laws of this state and
16
17               the United States by use or attempted use of threats, intimidation or coercion.

18      1053. Cal. Civ. Code § 43 guarantees the right of every person the right of protection from
19
                 bodily restraint or harm and personal insult.
20
        1054. As alleged in the proceeding paragraphs of this Complaint, Defendants intentionally
21
22               interfered with or attempted to interfere with Plaintiff and his Wife's clearly

23               established rights guaranteed imder the United States and California laws, including
24               but not limited to Plaintiff and his Wife'srightof protection from battery, assault,
25
                 false imprisonment, by threats, intimidation, and coercion.
26
        1055. Defendants conspired, aided or incited each other to threaten, intimidate and
27
28         Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1              coerce Plaintiff and his Wife by, among many things, the following but not

 2              limited to:
 3
       1056. Joe induced Plaintiff and his Wife to move in with him temporarily, so that he
 4

 ^              could strategicaUy kick them out and force them into the street while Plaintiff

 g              was building his Company, iHug.
 1      1057. Plaintiff and his Wife were forced into the streets to sleep in their car that was
 g
                later stolen by Defendants.
 9
^^      1058. Defendants coUusion using the Hell Programs and private investigators, tracked
]1              down Plaintiff and his Wife. Defendants then compromised her friend, calling

12              Plaintiff a fraud in order to wrongfuUy imprison him.
13
       1059. Defendants coUusion using the HeU Programs and private investigators, tracked
14
^^               down Plaintiff and his Wife. Defendants then compromised her friend, calling
]g              the Sacramento Police Department, alleging Plaintiff assaulted her, in order to

17              wrongfuUy arrest and imprison him.
18
       1060. Defendants collusion using the HeU Programs and private investigators, tracked
19
                down Plaintiff and his Wife. Defendants then compromised her friend, stating
20
21              Plaintiff and his Wife were frauds, scam artists and criminals.

22     1061. Defendants coUuded to raUy Plaintiffs investors against him, to build a wrongful
23
                case based on false accusations, in order to wrongfully arrest and imprison him,
24
                so Defendants can run with his $1,200,000,000,000 triUion-dollar healthcare
25
26              opportunity and plans, while he would innocently and unlawfully sit in prison.

27     1062. Defendants attempted to deprive Plaintiff of a vehicle that was sold to him by

28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1              Joe, so Plaintiff would not be able to drive his patients to their medical

 2              appointments, as Plaintiff was left with no choice as his Drivers were being
 3
                incentivized and sabotaged by Defendants. This also exposed Plaintiff of legal
 4
                HabUity for the death of his patients, where in the event a dialysis treatment is
 5
 6              missed, it causes blood toxin levels to increase, leading to death. This caused

 7              extreme mental anguish on Plaintiffs Wife.
 8
       1063. Defendants ordered a private investigator to threaten Plaintiff and his Wife,
 9
J^              while exposing a firearm without properly identifying himself This caused severe

11              mental anguish on Plaintiffs Wife, forcing Plaintiff to arm himself to protect his

12              Wife and himself from danger. The sight and thought of the firearm caused even
13
                more fear on Plaintiffs Wife, as firearms are not common to obtain in AustraUa,
14
                causing Plaintiffs Wife severe stress and worry for their Uves.
15
16     1064. Defendants deprived Plaintiff and his Wife of transportation on several

1^              occasions, forcing Plaintiff and his Wife to use the Uber and Lyft app, exposing
18
                them to Hell Programs. As Plaintiffs vehicles were broken into, stolen and
19
                sabotaged beyond repair by Defendants actions, this caused severe stress and
20
21              worry for their lives

22     1065. Plaintiff and his Wife had to endure an unfair and tough immigration process,
23
                which is still pending. Plaintiff had to read a five-year prison penalty declaration
24
                in front of a video camera, and their interview was recorded and reviewed by
25
26              fraud officers. Plaintiff and his Wife's immigration process was moved to a

27              "fraud case," which entailed fraud officers showing up at their home, asking
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1              specific questions about Plaintiffs Company, iHug. The agent asked about

 2              investors, potential loans, employees, business operation details and the
 3
                misappropriation of corporate secrets by Defendants. This process caused undue
 4
                duress on Plaintiff and his Wife. His Wife was worried every day at the thought
 5
 6              of being deported as a result of Defendants' actions.

 ^     1066. Plaintiff further argues he and his Wife have been effected, losing enjoyment of
 8
                Ufe, pain and suffering as a result of Defendants willful actions including
 9
                but not limited to:
10
11     1067. Both Plaintiff and his Wife have sustained incendiary damages causing loss of

12              enjoyment of life, having to defend each unprovoked attack on them personaUy;
13
       1068. Loss of employment. Plaintiff gave up an opportunity to work with Google to
14
                build iHug;
15
16     1069. Loss of abUity to perform at his current employer, having to prepare all cases.

1^     1070. Plaintiffs Wife, a YouTube Star in AustraUa, and Social Media Influencer, with
18
                26,000,000 miUion views and 100,000 fans, stopped making YouTube videos for
19
                safety reasons;
20
21     1071. Plaintiff and his Wife's sleep pattern is unhealthy, typically waking up 4-5 times a

22              night due to stress;
23
24     1072. Plaintiff and his Wife cannot leave their home without feeling paranoid, as
25
                Defendants have exposed them to Hell Programs to track their whereabouts.

26              Whereas after Defendants tracked Plaintiff and his Wife, Plaintiff was nearly,

27              falsely arrested, as his Wife's friend was compromised by Defendants who falsely
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                accused Plaintiff of assault to Police. Whereas, the Police Officer stated he would

 2                not arrest Plaintiff based on the situation at hand;
 3
         1073. Plaintiff and his Wife have stopped communicating with their friends to
 4
 ^                remain safe;

 6       1074. Plaintiff and his Wife are in constant depression;

 ^       1075. Plaintiff and his Wife suffer from anxiety and panic attacks;
 8
         1076. Plaintiff and his Wife's social Ufe, hobbies and other pleasurable activities have
 9
                  halted;
10
11       1077. They have complete inability to attend social events;
19
         1078. Diminished quaUty of life (generally), including social life;
13
         1079. Diminished ability to engage with family and friends;
14
         1080. PlaintifPs Wife has lost her bubbly personaUty, and no longer trusts people upon
15
16        first        meet;
17
         1081. As a direct and proximate result of Defendants' unlawful conduct as alleged
18 "              hereinabove, and through aU proceeding paragraphs the Complaint, Plaintiff and

19                his Wife have suffered severe emotional distress, humiliation, embarrassment,
20
21                mental and emotional distress and anxiety;
22       1082. As a direct and proximate result of Defendants' unlawful conduct as alleged
23
         1083. Hereinabove and through all proceeding paragraphs of this Complaint, Plaintiff
24
2^                and his Wife have suffered economic harm and other consequential damages;

26       1084. The aforementioned conduct by Defendants were willful, wanton, and malicious.
77
                  At all relevant times, each Defendant acted with conscious disregard of Plaintiff
28          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                and his Wife's rights and feelings. Each Defendant also acted with the knowledge of

 2                or with the reckless disi^egard for the fact that his or her conduct was certain to cause
 3
                  injury and/or humiliation to the Plaintiff and his Wife;
 4
           1085. Plaintiff is further informed and believes that each Defendant intended to cause
 5
 g                fear, physical injury and/or pain and suffering to the Plaintiff and his Wife. Plaintiff

 7                avers Defendants have met all elements to constitute their actions as willful

 8                     1. Defendants actions were extreme and outrageous conduct with the
 9
                      intention of causing, or reckless disregard of the probability of causing,
10
                      emotional distress;
11
12                    2. the Plaintiff and his Wife suffered and continue to .suffer severe or extreme

13                    emotional distress; and
14
                      3. actual and proximate causation of the emotional distress by the
15
                      Defendants are outrageous conduct," see Cervantez v. J.C. Penney Co. (1979)
16
11                    24 Cal. By Virtue of the foregoing, the Plaintiff is entitled to recover punitive and

18                    exemplary damages from Defendants.
19   ///
20
     ///

21
22
23   ///
24   ///
25   ///
26
     ///
27
28          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                                                     COUNT 9

 2                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS (IIED)
 3
                      CAUSING THE INDUCEMENT OF SUICIDAL THOUGHTS
 4
                         By Plaintiff and On Behalf of All Others Similarly Situated
 5

 ^       1086. Plaintiff reasserts and incorporates by reference each and every allegation

 7                contained hereinabove and through aU proceeding paragraphs of this Complaint,

 ^                and incorporates the same herein as though fully set forth herein.
 9
         1087. Plaintiff argues Defendants actions against his Wife were vile.
10
JJ        1088. Each Defendant coUuded and conspired and/or aided and abetted the other
\2 .              to hold Plaintiffs Wife emotionally hostage, tormenting her emotionally,

13                tormenting her mentally, causing her to emotionally break down on a weekly
14
15                basis. This led to her endometriosis to flare up, inducing her to want to commit
16
                  suicide from the severe pain, and induced her into surgery, where it was leamed,
17                the damage was so severe, scar tissue grew on her heart, lungs and brain.

1^        1089. It reached a point Plaintiff had to record and document what was happening
19
                  as his intuition alerted him, he and his Wife were under serious corporate attack,
20
                  it was no longer competition, it was despicable, greedy and evil.
21
22       1090. Each Defendant conspired to deprive Plaintiff and his Wife of their love for

23               each other, in particular, at one point, Joe, Veronica, Louis, and Does attempted
24
                  to tum Plaintiff and Plaintiffs Wife on each other, to break up their marriage
25
                 after Joe leaked the marriage. Defendants knew Plaintiffs Wife was witnessing
26
27               each and every action stated in all proceeding paragraphs of this Complaint.

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 1      1091. Plaintiffs Wife became a target after Joe spread the word Plaintiff married.

 2     1092. This was a mere attempt to force Plaintiff to give up on iHug, so Defendants
 3
                can run with his $1,200,000,000,000 triUion-doUar healthcare opportunity, and
 4
 ^              $25,800,000,000,000 triUion-dollar digital Ai healthcare system that wiU

 6              change the world through Ai. The actions taken by Defendants caused

 ^              inmieasurable and incendiary damages on Plaintiffs Wife, as weU as
 8
                the Plaintiff as he's dedicated his Ufe to iHug for the People
 9
       1093. Plaintiff argues iHug is an extension of a God given vision to enrich the
11              world and move people into a healthier future so people can live longer, Uve

12              healthier, and live happier, one of iHug's core mission statements. These actions
13
                taken by Defendants against his Wife to stop Plaintiff and iHug are
14
                unconscionable.
15
16     1094. Defendants' conduct was extreme and outrageous. Defendants acted with

17              reckless disregard for Plaintiff and his Wife's right and feelings, and with
18
                deliberate indifference to the certainty that Plaintiff would suffer emotional
19
                distress.
20
21     1095. As a direct and proximate result of Defendants'actions. Plaintiff has suffered

22              and wiU continue to suffer severe mental anguish, humiUation, pain, severe
23
                emotional distress.
24
       1096. The general and special damages suffered by Plaintiff and his Wife as a
25
26              proximate result of the wrongful actions of the Defendants described above was

27              performed with conscious disregard for Plaintiff and his Wife's rights
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                    and feelings.

 2             1097. As a result, Plaintiff is entitled to punitive or exemplary damages from aU
 3
                     Defendants.
 4
 5
 6   ///
 7   ///
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28   j      Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                                                   COUNT 10
 2                      NEGLIGENT INTERFERENCE WITH PROSPECTIVE
 3
                                       ECONOMIC RELATIONSHIPS
 4
                       By Plaintiff and On Behalf of All Others Similarly Situated
 5
 6     1098. Plaintiff reasserts and incorporates by reference each and every allegation

 7              contained hereinabove and incorporates the same herein as though fully set forth
 8
                herein.
 9
       1099. Plaintiff was engaged in an economic relationship with a healthcare partnership
10
11              which was Ukely to result in economic benefits to Plaintiff beyond those

12              economic benefits contained in the Agreement.
13     1100. Defendants knew of Plaintiffs economic relationship with a new healthcare
14
                partnership through Joe, Jerry, Louis and Does.
15
16     1101. Defendants knew or should have known that this relationship would be

17              disrupted if they failed to act with reasonable care.
18     1102. Defendants engaged in wrongful conduct through their tortious interference
19
                with Plaintiffs contractual relationship with a new healthcare partnership.
20
21     1103. Defendants' wrongful conduct disrupted Plaintiffs economic relationship

22              with a new healthcare partnership.
23     1104. Defendants' wrongful conduct vvas a substantial factor in causing Plaintiff to
24
                suffer damages in an amount in excess $1,200,000,000,000 trilUon-doUars.
25
       1105. As a result. Plaintiff is entitled to punitive or exemplary damages from aU
26
27              Defendants.
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
      Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices,
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 1                                                           COUNT 11

 2                                                   CIVIL CONSPIRACY

                                       (California Code, Civil Code - CIV § 1714.10)

                                By Plaintiff and On Behalf of All Others Similarly Situated

               1106.    Plaintiff reasserts and incorporates by reference each and every aUegation

 7                      contained hereinabove and incorporates the same herein as though fully set forth

 8                      herein:
 9
               1107.    Defendants have combined for unlawful purposes.
10
               1108.    Specifically, coUuded and have combined to tortiously interfere with
11
12                      Plaintiffs $ 1,200,000,000,000 triUion-dolIar healthcare opportunity and business

13 ;                    and harmed competition, which is in clear violation of federal and state antitrust
14
                        laws.
15
               1109.    Plaintiff and his Company, iHug were irreparably damages, and will continue
16

17                      to suffer injury, as a result of the unlawful conspiracy

18     ///

       ///
20
       ///

21
22     ///
23   ///
24   ///
       ///
26
       ///
27

28   ,            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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  1                                                    COUNT 12
 2                                 LIABILITY FOR PUNITIVE DAMAGES
 3
                                           (California Civil Code § 3294)
 4
                         By Plaintiff and On Behalf of All Others Similarly Situated
 5
 g        1110. Plaintiff reaUeges and incorporates herein by reference each and every

 7                allegation set forth above, CaUfornia Civil Code 3294 allows:
 8                    (a) In an action for the breach of an obligation not arising from contract,
 9
                      where it is proven by clear and convincing evidence that the defendant has
10
JJ                     been guilty of oppression, fraud, or malice, the plaintiff, in addition to the

12                    actual damages, may recover damages for the sake of example and by way of

' •^                  punishing the defendant.
14
                      (c) As used in this section, the following definitions shall apply:
15
Jg                              1. "MaUce" means conduct which is intended by the defendant to

17                             cause injury to the plaintiff or despicable conduct which is carried on

^^                              by the defendant with a willful and conscious disregard of the rights or
19
                               safety of others.
20
                               2. "Oppression" means despicable conduct that subjects a person to
21
22                             cruel and unjust hardship in conscious disregard of that person's

23                             rights.
24
                               3. "Fraud" means an intentional misrepresentation, deceit, or
25
                               concealment of a material fact known to the defendant with the
26
27                             intention on the part of the defendant of thereby depriving a person of

28          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                            property or legal rights or otherwise causing injury.

 2      1111. The acts and omissions of Defendants with respect to the following but not
 3
                Umited to:
 4
                     1. Intentional sabotage
 5
 6                  2. Tortious interference
 7                  3. Emotional infliction damages
 8
                    4. Mental anguish inducing suicide thoughts and attempts
 9
                    5. Misappropriation of Plaintiff s healthcare opportunities
10
11                  6. Competition suppression

12                  7. Disregard for the law
13
                    8. Eradicating iHug from healthcare
14
                    9. Anti-trust violations
15
16                  10. Unjust enrichment

17                  11. Corporate cyber-espionage
18
                    12. Corporate cyber-sabotage
19
                    13. Defamation of character
20
21                  14. Slander, Libel

22                  15. Civil conspiracy, and Negligence
23
                    16. Grand Theft Auto
24
                    17. Attempt to wrongfully imprison Plaintiff
25
26     1112. Plaintiff is entitled to extraordinary and absolute maximum award of

27              punitive damages aUowed by the law.
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                                               Z. INJUNCTIONS:
 2      1113. Based on the Ex Parte Application, its content, and the factual evidence
 3
     presented herein, and direct evidence of admittance from a Driver that Defendants gave
 4
     instruction as described herein, Plaintiff motions the court for the foUowing but not limited
 5
 6   to injunctions:
 7           1. Plaintiff motions the court for injunction, temporarily revoking Defendants from
 8
                 participating in healthcare, until the United States Department of Health and
 9
                 Human Services and the Federal Bureau of Investigations completes an extensive
10
11               and thorough review of Defendants actions, practices and business dealings in
12               healthcare.
13
            2. Plaintiff motions the court for injunction, temporarily revoking Defendants apps
14
                 from the Apple App Store for violation of privacy and other consumer rights, in
15
16               order to prevent further violations.
17          3. Plaintiff motions the court for injunction, temporarily revoking Defendants apps
18
                 from the Google Play Store for violation of privacy and other consumer rights,
19
                 in order to prevent further violations.
20
21          4. Plaintiff motions the court for injunction, temporarily revoking Defendant's
22               autonomous projects in healthcare, to prevent endangerment of life, injury, and
23
                 future violations.
24
            5. Plaintiff motions the court for injunction, ordering permanent closure of aU
25
26               Uber and Lyft Hubs, and/or sateUite offices and other "military fashion
27               operating bases," to prevent future violations. These "hubs" operate unlawfully.
28         Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1               Case-and-point - Plaintiff had every Uber, Lyft and Independent Driver sign a
 2               non-disclosure before accessing the iHug Driver App in 2017 and 2018. iHug's
 3
                 Driver App integrated a 911 feature for safety in 2018.
 4
                 In 2019, Uber and Lyft launched a 911 feature at the same time, after Defendants
 5
 6               thought iHug closed down, substantiating Lyft and Uber operate synonymously
 7               and unjustly enrich themselves equaUy and unlawfuUy.
 8
                 Plaintiff theorizes Uber and Lyft use its Drivers and Third-Party Vendors like
 9
                 neurons in a brain, acquiring and transmitting competitor trade secret data to
10
11               Defendants at a rate that's too fast for competitors to act or defend, unjustly
12               enriching Defendants, suppressing competition.
13
                 Pictured below is a flow chart as to how Uber and Lyft misappropriate trade
14                                                                            •i



                 secrets. Pictured on the proceeding pages, Lyft and Uber hubs expansions.
15
16
                                              Hubs Unliawftilly
17                                          Suppress ^timp^titioii
18
19
               Competitors                       Plaintifi              Deiericiani
20                (Tracie Socre-t            Attorneys                 Attorneys
21
                  Daia Packeis)     ^         LOSS Ceiiier         -/icLAsFirewall
                                                                                         ^               Itt
22                                                                                                 Uber / Lyft
                                                                   Hubs                           Andreessen
23                  Drivers - NDA                              (.Acts A£;Rouisr)                   PROFIT Ceiiier
                 frade Secrei Data Pacl<etsi,
                                                                    .Transfers'
24                  Receive aricl Transfer
                                                                  'Stolf?n Dat^

25
26
27
28         Adam John M a c k i n t o s h — v s — L y f t , Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 5                                      ilyft.Hubf .:artd.Seg^ locations-.
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13                                                          AustirTLyft Hubf* Ju
                                                           Mexico       ^'""'""^
14
15
                                 COMMERCIAL REAL ESTATE
16
17                               Uber inks large lease in
18                               downtown Sunnyvale for
19                               South Bay debut
20
                                                             Save
21
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27
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 3
 4
 5
 6
 7
 8
 9
                   A rendering of Lyftsfuture.driver resource hub I Lyft
10
11
                     Earlier todsy-,M^m^m^^^^m^^m^mm!^m^ expanding its.
12                   network of diiyer hubs in major U-S;. cities, including the addition of 30
                     more locations,
13
14                   These hubs, is of which are currently located inmajor U.S. cities, fimction
                     as service centers and community spaces.for drivers. They feature facilities
15
                     for low-cost oil changes, basic vehicle maintenance,, charging facilities for
16                   electric vehicles,- and serviced car washes, as well as communal areas for
                     driwrs to meet, host sldU-sharing nieetups, and use "careers-focused
17
                     educational resoiu:ces." Andyes, there's also (OTffee.
18
                     The company's investment will also expandioperating.hours for the hubs,
19
                     from 35 to 4b hours a week to more than 70 hours per weeL
20
                    In many ways, Lyft and its competitor Uber, theride-hailingcompanies
21                  that control the vast majority of the U.S. market,; are successfiil. They've
22                  raised billions, chang«i urban transportation, collectively employ millidns
                    of drivers, and have become indispensable to many riders.
23
24
25
26
27
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1   Business > Real Estate • News

 2   Uber creates big Silicon Valley hub with downtown
 3   Sunnyvale lease
 4   Uber leases enough Sunnyvale space for up to 1^900 workers

 5
 6
 7
 8
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14                                                • -rj''ECW         -"A' " V '

15
16
      Two downtown Sunnyvale'office buildings along SoLltli Mathilda Avfenue-that .Uber has leased, Uber has struck a deal for ,5 major
17    Silicon Valley e.xpansion with,a-big,tease in downtown Sunnyvale tliatgives the'tech coinpany.enough ofike space for up lo 1,900
      workers near a Caltrain station,'                                          ',-,'•. '      . ' .' ,

18
     By GEORGE'AVALOS I gavalbs@bayareanew5gr0up.com | Bay Area News Group
     PUBUSHED: June 17.2019 at'6fl0 am I UPDATED; June isi 2019 at 4:16 am,
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28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1          6. Plaintiff motions the court for injunction, ordering Defendants to pay iHug for

 2              all previous and future revenue from Defendants' (Multimodal) Concierge
 3
                Healthcare API that was copied from iHug's corporate secrets and development
 4

 ^              material, to prevent further revenue loss of iHug that's unjustly enriching

 6              Defendants on a per second basis.
 ^         7. Plaintiff motions the court for injunction, ordering Defendants to pay iHug for
 8
                all revenue on Grocery and Pharmacy services and rides that was copied from
 9
J^               iHug corporate secrets and developing material during an active partnership with
11              iHug's healthcare partner, to prevent further revenue loss of iHug and

12              enrichment to Defendants
13
           8. Plaintiff motions the court for injunction, ordering Defendants to pay iHug for
14
                all revenue on current, in development and future features, products and services
15
16              that resemble iHug's corporate trade secrets, intellectual property, processes,

17              methods and other schematics.
18
           9. Plaintiff motions the court for injunction, ordering Defendants to publicly
19
                apologize for their wrongdoing in healthcare, and under the supervision of a
20
21              select Healthcare committee of the United States of American, comply with aU

22              reasonable requests to ensure Defendants are Ufting up iHug, so iHug wiU ensure
23
                Defendants endangerment of life never happens again.
24
            10. Plaintiff motions the court for injunction, ordering an investigation of
25
26              Defendants' $1,000,000 miUion-doUar auto-poUcy and gap insurance provisions,

27              to prevent future violations

28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, Johri, Louis, Jerry, Logan, Ben, and Does
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 1          11. Plaintiff motions the court for injunction, permanently revoking Defendants,

 2              Employees and any affiliated party to serve on any Local, State or Government
 3
                Transportation boards, to prevent future violations.
 4
 ^          12. Plaintiff motions the court for injunction, permanently halting the Lyft and Uber

 6              Referral Program, the Lyft Ambassador Program, the Uber Brand Ambassador

 ^              Program, Lyft Driver Advisory Council and any other incentive programs, to
 8
                prevent future violations.
 9
            13. Plaintiff motions the court for injunction, demanding aU Uber and Lyft
10
11              employees halt any and all direct and/or indirect communication with

12              independent contractors, to prevent future violations.
13
            14. Plaintiff motions the court for injunction, demanding any Lyft and Uber
14
                employee, independent contractor and any other affiliated party to immediately
15
16              turn over their private Facebook groups, AUgnable groups, Linkedln groups,

1^               and any other online forums to the United States Federal Bureau of
18
                Investigations for a full and comprehensive review, to prevent future violations.
19
            15. Plaintiff motions the court for injunction, demanding Lyft and Uber's CEO and
20
21              Executive teams to work with iHug, to save Uves, and work together to eliminate

22              the endangerment of life that's currently happening through anticompetitive
23
                tactics. Allow iHug to re-engineer rideshare for healthcare so everyone can
24
                benefit from it as it's for the People, not for greed.
25
26         16. Plaintiff motions the court for injunction, place a permanent restraining order

27              against individual Defendants, and all parties herein to protect Plaintiff and his
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 1              Wife, with the exception of Uber and Lyft corporations to work together to

 2              prevent any endangerment of life, in particular, integrate iHug's API into
 3
                Plaintiffs misappropriated healthcare portal, aUowing iHug to lead the way in
 4
                healthcare, properly executing on the "Rideshare for Healthcare," model to
 5
 6              prevent endangerment of life and provide the world's safest rides.

 ^          17. Plaintiff motions the court for injunction, permanently revoking aU shares
 8
                that were allocated to Defendants, in particular but not limited to, Andreessen
 9
                Horowitz, Ben Horowitz, John Zimmer, Logan Green, as their actions were
10
11              willful, unlawfully tactful, and fully aware of the wrongdoing, in which they filed

12              an SEC Sl statement, in particular, adding Limitation of LiabiUty and
13
                Indemnification of Officers and Directors to protect them against wrongdoing
14
                pre-and-post IPO:
15
16              "We expect to adopt an amended and restated certificate of incorporation, which

17              will become effective immediately prior to the completion of this offering, and
18
19              which will contain provisions that limit the UabiUty of our directors for monetary
20
                damages to the fullest extent permitted by the Delaware General Corporation
21
                Law.
22              Consequently, our directors wiU not be personaUy liable to us or our
23
                stockholders for monetary damages for any breach of fiduciary duties as
24
                directors, except UabiUty for the foUowing:
25
26                       1 • any breach of their duty of loyalty to our company or our stockholders;

27                      2. any act or omission not in good faith or that involves intentional

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 1                         misconduct or a knowing violation of law;
 2                          3. unlawful payments of dividends or unlawful stock repurchases or
 3
                            redemptions as provided in Section 174 of the Delaware General
 4
                            Corporation Law; or
 5
 6                         4. any transaction from which they derived an improper personal
 7                          benefit."
 8
            1114. Whereas in this Complaint, its aUeged Defendants preemptively omitted facts of
 9
                   this Complaint to insurance agents, in order to purchase insurance policies, and
10
11                 other protection plans to payout for damages resulting from Defendants actions,
12                 who have knowledge of their wrongdoing, violating each of the aforementioned
13
                   four beaches, legally exposing Defendants personally to legal liability.
14
            1115. Plaintiff further argues life is more important than greed and winning, as stated
15
16                 by Defendants.
17          1116. We cannot put a price on people's Uves by offering $5 to cancel on innocent
1.8
                   people who are in healthcare if they aren't out by the curve within 5 minutes, it's
19
                   unethical, greedy, un-American and vile.
20
21          1117. The $5 cancel fee endangers patients' Uves in healthcare, as they miss their
22                 medical appointments per cancelled ride. If it's a dialysis patient, the blood
23
                   toxins increase dramatically, making the innocent patient ill, and may lead to
24
                   death if a blood transfusion is not made.
25
26    ///

27    ///

28           Adam John Mackintosh—vs—Lyft, Uber, .Andreessen, Joej John, Louis, Jerry, Logan, Ben, and Does
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 1                                           8. PUNITIVE DAMAGES
 2      1118. The conduct of Defendants, and its Drivers described in all proceeding

                paragraphs of this Complaint are outrageous.

        1119. Defendants conduct, demonstrates a reckless disregard for the law, citizens, and

                conscious disregard for people who are suffering in healthcare.

        1120. The acts and omissions described above, herein, and throughout all proceeding

 8              paragraphs of this Complaint were willfiil and performed with actual and implied

 9              malice.

       1121. Punitive and exemplary damages are therefore appropriate and should be imposed
11
                in this instance.
12

J^      1122. Reckless and tortious interference with iHug's contractual relationship in healthcare.

14     1123. Misappropriation of Plaintiff s $1,200,000,000.00 trillion-dollar healthcare

15              opportunity, in order to unjustly enrich Defendants with no legal entitiement.

       M24. Misappropriation of Plaintiff s $25,800,000,000,000.00 Trillion-Dollar New Digital
17
                Ai healthcare system particulars, in order to unjustly enrich Defendants with no legal
18
                entitlement.
19

2Q     1125. Endangered dialysis, cancer and other terminally-ill patients' lives in reckless taxi

21              anticompetitive tactics used against other small startups, in order to suppress

                competition.
23
       1126. The False and Defamatory Accusations and its Gist made against Plaintiff were
24

                republished by third-parties and members of the business community, which was

2g              reasonably foreseeable.

27     1127. The publication of the False and Defamatory Accusations and its Gist directiy and
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                  proximately caused substantial and permanent damage to Plaintiff, and iHug.

 2         1128. The False and Defamatory Accusations and its Gist against Plaintiff are defamatory
 3
                    per se, as they are libelous on their face without resort to additional facts, and as
 4
                    clearly demonsfrated here. Plaintiff was subjected to public hatred, contempt, scom,
 5

 ^                  obloquy, and shame.

 7         1129. As a direct and proximate result of the False and Defamatory Accusations and its

 8                  Gist, Plaintiff and his Wife have suffered permanent harm to their reputation.
 9
           1130. As a direct and proximate result of the False and Defamatory Accusations and its Gist
10
11                  Plaintiff and his Wife will suffer and will continue to suffer severe emotional distress,

12                  in particular. Plaintiffs Wife lost her iimocence and girlie spirit as a result by

13                  Defendants actions, breaking her down to the point of wanting to take her own life,

14                  whereas before the attacks she helped save others' lives through her YouTube

^^                  Channel. The actions taken by Defendants are despicable and felonious.
16                        .             .
           1131.    As a direct and proximate result of the False and Defamatory Accusations and its Gist
17
                    Plaintiff is forced to live his life in a constant state of concem over his safety and the
18
19                  safety of his Wife, particularly. Defendant and its Drivers are attempting to deport
20                  Plaintiffs Wife back to Australia to hurt and cause emotional injury to Plaintiff
21
           1132. Defendants published its False and Defamatory Accusations and its Gist with actual
22
                    malice and common law malice, thereby entitling Plaintiff to an award of pimitive
23
                    damages.
24
25   '     1133. Defendants and its Drivers conduct were outrageous and willfial, demonstrating that
26                  entire want of care that raises a conscious indifference to consequences.
77
 '         1134. In Buckner v. Varner, the court defined gross negligence as "a conscious neglect of
28            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 .1                duty or a callous indifference to consequences" or "such entire want of care as would

 2                 raise a presumption of a conscious indifference to consequences." Thrasher v.
 3
                   Riverbend Stables established that a plaintiff cannot prove a claim of gross negligence
 4
                   without first demonsfrating that the defendant engaged in conduct that amounts to
 5
                   ordinary negligence.
 6
 7          1135. Gross v. Nashville Gas Co., 608 S W.2d 860 (Tenn. Ct App. 1980) cited three

 8                 conditions plaintiffs can use to establish the presence of gross negligence,
 9
                   specifically:
10
                       1. 'such entire want of care as would raise a presumption of conscious
11
                           indifference to consequences,' or;
12
13                    2. a 'heedless and reckless disregard for another's rights,' or;

14                    3. 'utter unconcem for the safety of others.'
15          1136. Plaintiff is entitled to an award of punitive damages to punish Defendants and to deter
16
                   them from repeating such egregiously unlawfiil misconduct in the future, teaching
17
                   them a lesson they will never forget,
18
19    ///

20    ///

21    ///
22
      ///
23
      ///
24
25    ///

26    ///

27    ///
28          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                               9. $1.2 TRILLION-DOLLAR HEALTHCARE
 2                                 OPPORTUNITY AND CONTRACT DAMAGES
 ^       1137. Plaintiff is entitled to extraordinary damages in court, as Defendants strategically

 4               timed tortious interference tactics on Plaintiffs launch day on multiple occasions,

 5               where Plaintiff began executing on his proprietary $ 1,200,000,000,000 trillion-dollar

 ^               healthcare opportunity, through a signed contract.
 7
         1138. Plaintiff asserts, billionaire investor. Hap Klopp ("Hap") was connecting him to
 8
 g               large investments, whereas after Defendants egregious and reckless actions. Hap

10               stopped all communication with the Plaintiff.

11      1139. Hap's business partner stated iHug could easily hit $1,000,000,000 billion-dollars
12
                 in revenue through the initial, five county launch.
13
        1140. Plaintiff was first to the healthcare transportation market using his "rideshare for
14
                 healthcare" model. A profitable, confidential and proprietary model, which Lyft Co-
15
16               Foimder, Logan Green claims is a "once-in-a-generation shift" opportunity

17      1141. Asa direct and proximate result of Defendants tortious interference, and
1.8              misappropriation of corporate secrets, it has caused substantial and permanent
19
                 damages to Plaintiff, and iHug, in an effort to claim the $1,200,000,000,000 trillion-
20
                 dollar healthcare opporttmity as their own, while intentionally omitting the facts of
21

22               this Complaint to investors

23      1142. On October 12, 2016, and in several other interviews pre-IPO, John proclaimed
24
                 that Lyft was targeting the car-ownership market, stating, "Every year in the
25
                 United States, $2,000,000,000^000 trillion-dollars is spent on car ownership."
26
27      1143. Whereas, per Lyft's S1 SEC filing, its alleged John, Logan and Ben, purposefiilly

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 1               manipulated the statistic and stated, "U.S. consumers spend over $1.2 trillion on

 2                transportation annually," the exact dollar amotmt as Plaintiffs misappropriated
 3
                  $1,200,000,000,000 frillion-dollar healthcare opportunity as its alleged the number
 4
                 pitched to investors.
 5
       1144.      Pictured below, the statistic found in Lyft's Sl SEC filing for IPO.
 6
 7
 8             Transportation is a Massive Market Opportunity
 9             Transportation is a massive market In 2017, transportation was the second largest household (
               large as healthcare and three times as large as entertainment. 12
10
               Our market opportunity today includes transportation spend in the United States and Canada,
11             on transportation mjs^^mo^^mwS^^mihmM^-M&mMM We believe that Lyft currently
               market, and we intend to fiirther extend our offerings to capture more of this opportunity in the
12             incremental opportunity tb address transportation spend by businesses and organizations.
13             ^ INRDC, Inc., INRIX Global Traffic Scorecard 2017, Feljruaiy 2018.
               8 Shoup; see the section titled "Industry, Market and Other Data."
14             9 U.S. Department of Transportation, or DOT, Commuters by Mode 1989-2016.
               10 DOT, Contemporaiy Approaches to Parking Pridrig: A Primer, Febniaiy 2017.
15             11 Bankrate, LLC, The 10 Most Affordable Cities for Buying a Car, June 2017.
               12 BLS; see the section tided "Industiy, Market and Other Data."
16             13 BLS; see the section titled "Industry, Maricet and Other Data."

17
18
19
20
21
22
23
       1145. Additionally, Lyft CFO, Brian Roberts, stated post-IPO, Lyft is on "day one of a
24
                 $1.2 trillion market opportunity."
25
26     1146.     When in fact, Lyft was already targeting the "car ownership market," valued at

27               $2,448,000,000,000 frillion-dollars, substantiating the $1,200,000,000,000
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1              trillion-dollar "new opportunity" belongs to Plaintiff it is extremely profitable,

 2              whereas Defendants car ownership market is not, substantiating Defendants are
 3
                violating The Securities Act of 1933, as a result. Plaintiff prays for treble
 4
                damages based on all actions taken against him and his Wife as described
 5
                throughout this Complaint.
 6
 7     1147. Pictured below, Brian Roberts, Lyft's CFO states, "we are day one of a $1.2 trillion

 8              market opporttmity.
 9
10
                                       The Motley Fool.                                Q
                                  Lyft, Inc (LYFT) Ql 2019
11                                Eamings Call Transcript
                                  Brian Roberts — Chief Financial Officer
12
                                  So just to follow-up in terms of the question on
13
                                  the path to profitability, we are H ^ ^ ^ M i l
14                                gjlliifiilKe't oppjjrtijnitl We just announced a

15
16
       1148. As a direct and proximate result of Defendants tortious interference, and
17
                misappropriation of Plaintiff s $1,200,000,000,000 trillion-dollar healtiicare
18
19              opportunity, and his $25,800,000,000,000 trillion-dollar new digital Ai healtiicare

20              system particulars, and corporate secrets. Plaintiff suffered damages with permanence
21              for the rest of his God given life.
22
       1149. The monetary value of damages in which Plaintiff is entitled, is justified and
23
                reasonable.                              \
24
25     1150. Plaintiff argues Defendants had financial motive to imlawfully suppress iHug,

26              based on the pressure from investors, in order to claim Plaintiff s
27              $1,200,000,000,000 trillion-dollar healthcare opportunity, claiming it as their
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1              own, and disguising it as a household expenditurefransportationexpense.

 2     1151. Plaintiff asserts Defendants have met all elements to constitute their actions as

                    tortious interference;
 4
                    1. An economic relationship that was likely to benefit the Plaintiff;
 5
 g                  2. The Defendant's knowledge of this relationship;

 7                  3. Defendants engaged in wrongful conduct;

 8                  4. Defendants had intent to dismpt the economic relationship, and had
 9
                         knowledge that dismption was likely because of their orchestrated conduct;
10
                    5. A disruption of iHug's relationship with its partner was a result of Defendants
11

J2                       actions;

13                  6. iHug, and Plaintiff sustained substantial harm; and

14                  7. A causal cormection between the wrongfiil act and the harm.
'^     1152. The Drivers of the Defendants who are in a business relationship with
16
                Defendants, under constmctive tmst, who have "common motive to collude," signed
17
                contingent-employee agreements with iHug, in order to infiltrate iHug to
18
19              misappropriate corporate secrets.

20     1153. Pictured on the next page atop, one provision of the agreement, which states,
21                   .     .    .
                "violation of this Agreement may cause the Company irreparable harm, and therefore
22
                agree that the Company will be entitled to seek exfraordinary relief in coiut."
23
       1154. Pictured on the next page atop, an assertion from the non-disclosiu"e signed by
25              Defendants, providing remedies to Plaintiff in the event any such violations took

26              place:
27

28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1         (f) Remedies. I acknowledge and agree that yiblatiph of this Agiremeht by mis may ciause the
               Company ineparable hanny and therefore agree that the Company will be entitled to seek
 2             exfraordmary reUef in court, including but not limited to temporary restraining; orders,
 3             preliminary injuhctioiis and pennanent ihjiihctibns withoiit the necessity of pbstiiig a bond
               or other secimtyto^^in addition to and Awthoiit
 4             that the Gpmpany,inay have for a breach of this-Agr^nient^^
 5
            1155.     Pictured below. Haps email to the Plaintiff, confirming he will help with
 6
                      investments to fiiel iHug's expansion in healthcare utilizing his proprietary healthcare
 7
 8                    opportunity.

 9                  Adam—
10                   Great to hear all the progress. Because of personal reasons (a totally unbalanced
                    portfolio with Illiquid Investments and a need to get my estate more organized), my
11                  financial advisor has me personally avoiding any more investments in eady stage
                    companies. That being said, I would be happy to try to introduce you to some investors.
12                   I believe your success will be to find investors who focus on the stage you are in (eady
                    stage, pre Series A) and also the market segment you are in (tech). VC's are generally
13                  not very good because they like to invest VC money later in the process. The only
                    place where that may differ is if the VC Is investing their personal money for early stage.
14
                     How much do you need to raise? Are you going to raise it in the form of equity? Or
15                  debt that might later be converted to Equity at some discount? Have you looked at the
                    S.A.F.E. investment model which is being used by a lot of start ups to do their funding?
16                   If so, what do you think of that model?
                    Best, Hap
17
18          1156.     Pictured on the next page atop, Haps partner, Shawn, an astute and very successful
19
                      businessman, who confirmed he had a meeting with healthcare providers who
20
                      affirmed Plaintiffs' "rideshare for healthcare," model would be extremely profitable,
21
22                    further stating in a text message, "Wee can go to a billion easily." Plaintiffs intention

23                    was never about the value ofthe opportunity, rather he wanted to build the Rideshare
24                   for Healthcare that would benefit millions of American's and one day the world,
25
                     possibly one day use the service himself, and future generations to come.
26
     ///
27
28          Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1         1157. Pictured below on the right, Shawn has a drink with friends, who are healthcare

 2                providers.
 3
                                                                     • • • • o Verizon LTE      8:34 PM
 4
 5
                                                                                                 Shawn
 6
                                                                         On another note we are on a
 7                                                                       huge roll
 8
 9
10
11
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13
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18                                                                       Wiir explain
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27
28         Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1     1158. Pictured below, a contract Plaintiff signed, that allowed him to monetize his
 2              $1,200,000,000,000frillion-dollarhealthcare opportunity; Pictured on the proceeding
 3
                pages you will see Plaintiff and his healthcare partner signing the contract.
 4
 5
 6
 7                                         Menioraiidum of Undcrs^^
 8
              THIS AGREiEMENT, is mad                        day bf March          , 20,18. by and between
 9
                                       4
10                                   (hereinafter referred to as'
11                                                 iHugHealthcare
12
13                                                    RECITALS
14
              WHEREAS,        ^••^^^•^•iPIIIII^HHBBIofbvare appUcatibu to request
15     fraiisportation, organize demand and create eflHdency throiigh spflware to connect transportation
       providers with people desmng various levels of franspo iHug also is a transportation
16     network providing sedan servicetitirough;independentxontracto^^
17             W1FIEREAS,^HHI^IH^           <^^1'^^hter^
       and agencies throughout the greater Sacramento J H ^ ^
18     these various fecilities.
19
              WHEREAS,'iliqpHiHpHiPppiH
20     requests tlfrough (Web Ghent Portal^ M6W^^
       then be allocated to iHug.
21
22            WHEREAS,                                          I demand thrpu^ software
       created and maintained by iHug (Web Client Portal; MobUe Clienf Portal and iHug Paitaer App)-
23
              NOW, TECEIffiFORE;, in consider                piutual coyeiiantsi conditions and
24     agreeinents contained herein, ihe paitira to this Agi^einent ag^ follows:
25             1.     Incorporation plTRecitais. The recitals set forth above are hereby incorporated
       by reference into tWs AgreeineQt M^d^
26
27
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1         1159. Pictured below, the confract continued.

 2
 3                         a.      Partnership Stnicture.mj^PBJ|>is requests through (Web Client
                 Portal, Mobile Ghisiit Portal and;iHug;Parliier App) which^^w be allocated to iHugi
 4      BHHHHH|||pviliuse:(w
                 request transportation services, while drivers will ddwrilbad and use iHug Partner App.
 5 •"
 6                  3.      Levels of Service

 7                          a.        Sedan Transportation
 o

 °                          *Please refer to Appendix A for transportation rates.:
 ^                  4.      Geographical Area of'Qperatida
                            a.    Partoership wall include the geographical area of Saci^                       El
11                                Dorado, Yblp and; San Joaquin Counties
12                  5.      Hours: of Operation
13                         4HHIiH^^^I^P^1^^^9^ call center will operate;24 hoiirs a day, 7 days a
                             week.
14
15                          b.,       Trahspbrtatibn availability will be 24;hQurs: a day, 7 days a \yeek; prpyided
                                  by iHug (independent contractors).
16
17                  6.      Timeline of'Events

18                          a. Integration of beta test to includ^^^                              3/1/18

1^                           b; Begih.tb integrate with all $a^^                            Facilities 4/1/18
20                          c. ExpandtoHospitaJVand Skilled Nurei^^^                  5/1/18
21          7.      Billing and Compehsatioh;
22
23                          a.     ^ ^ ^ ^ B B B J e s a: referrai fee of $ 1 .QO when bookihg transportation
                 through spflware (Web Clietit Pprtal, Mptiile Client Portal and iHiiig Partner App)j~^
24               will receive automatic payment of $1.00 fee tlfrough iHug software.

25                         b.     iHug will receive fees listed at the agreed u|»
                 hsted in Appendix A for completed trarisport directly thrbu^ iHug software.
26
27
28           Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 I     1160. Pictured below, the confract continued.

 2
 3
 4                                                          APPENDIX A -
                                                           Transportation Rales
 5
 6
 7            Sedan Transportation                                 $25l06 one way $50:00 round trip
                                                                          (flat rate v^^ithin 10 miles)
 8
 9            Sedan with Cbhipariioh                               SSOrblmdtiip
                                                                         (fiaf rate witiiin 10 miles)
10                                                                       (2 hours incllided)
11            Additional Mileage                                   $2.00 per mile
12
              Additional Cornpanioh care                          $25.00 per hour
13
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27
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1      1161. Pictured below. Plaintiff signing the contract with his new healthcare partner.
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27
28         Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1     1162. Pictured below. New healthcare partner signing contract with Plaintiff

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28        Adam John Mackintosh^—vs—Lyft^ Uber, Andi-eessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                                                  .;• '..487^--:-•;•'•. •'•,•.•::
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 1     1163. Pictured below, a flyer Plaintiff and his new healthcare partner created.

 2
 3
 4
 5
 6
 7                         A Compahion Service^
 8                     We help you every step of the way.
 9
                          .4 sedan ride companion service that
10
                        drives clients safely and on time to their
11                        medical and personal appointments.
12
13                    You will be picked up and dropped off door
                       through door by an M^Ktl^M^lus or iHug
14
                      independent Certified Compahion who will
15                       treat you with the respect and courtesy
16                                  that you derserve.
17
                     We'll always open the vehicle doorSf provide
18
                    the neccessary assistance and ensure a safe
19                           and comfortable sedan ride.
20
                        Our objective is to give clients quality,
21
                     value and an amazihg customer experience.
22
23
                          Independent Ceitif led Companions:
24
                             CPR, First Aidy Lift Movement
25
                               and Memory       Impairment
26
27
28        Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1      1164. Pictured below, aflyerPlaintiff and his new healthcare partner created.
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10
                          A Cdmpanicih Service®
11
                      We help ydu every step of the way.
12
13
                  ^Medical'Appointments                      '^(5roGery,ShOppin,g
14
                      Patient Discharge:                     #:Medicine Pickup:
15
16
17                       Independent Oertified Cdmpanio^^
18                          CPR, First Aid, Lift Movement
19                            and Memory impairmen t
20
21
22
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24
25
                                Transportation, Placement, and Advocates.
26
27
28         Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 I     1165. Pictured below, quantitative and qualitative Breakdown ofthe monetization of

 2              Plaintiffs $1,200,000,000,000 trillion-doUar healthcare opportunity.
 3
           ©Hug                                                                                               Healthcare for Ewiyonc. Ai\ywh»i effi

 4
              Sacramento Total Addressable Market (TAM)
 5            Customer Category                   Total Patients                  % Target Ride Market                 %
                 Hospital                                    1,800            4%                      1,500          8%
 6
                 Senior Living Facility                    19,000            43%                      6,100         34%

 7               Homecare                                    2,000            5%                       700           4%
                 Dialysis                                    4,100            9%                      1,300          7%
 8               Urgent Care                               11,600            26%                      3,700         21%
                 Operations                                  5,500           13%                      4,400         25%
 9
              Total Patients/Rides/Day                     44,000        100%                       17,700        100%
10            T a r g e t A d d r e s s a b l e M a r k e t E s t i m a t e Conservative:
              • Market share gains above 20% possible
11            • Enter tlie Medicare/iyiedicaid client market by navigating the system
              • Assumption that only 40% o f t h e rnarket needs a ride may prove conservative after
12
                 further discovery
13
14
15                                                   ^ I- • v , ^ ' *        st      iff    -arif'     *, "         ..^     . f - ' ^ \ -33I«..   Ufa
              Sacramento Count), CA            8,8.^0 rides per day;                   3,230,250                            $80,756,250
16                                                 $25 per ride
              Sacramento County, CA            8,850 rides per day;                     3,230,250                           $258,420,000
17
                                           $80 per ride with wait hour
18        ><*^'fSicramento|eounly|©^^   p i - 1 -T^/OO'tidesJoerldapM*!                                          s4'»li'iMiS38,7(J3|WI0'; 'S^^^SSf-
                                               • ''•§li''^*''%'*'--^»                                            ^./.^feS^;.;,..^                 ftf
19            El Dorado County, CA             8,850 rides per day;                     3,230,250                           $80,756,250
                                                  $25 per ride
20
              El Dorado County, CA             8,850 rides per day;                     3,230,250                          $2<;8,420,000
21                                         $80 per ride with wait hour
              El Dorado County, CA ^          17,700 ndes'per dav,                                               p|;j^|38|^000*^^|
22                                       - / • $6 mileage fecper nde Xv'^

23              Placer County, CA              8,850 rides per day;                     3,230,250                           $80,756,250
                                                  $25 per ride
24              Placer County, CA              8,850 rides per day;                     3,230,250 .                        $258,420,000
                                           $80 per ride with wait hour
25
               •PlacerX:ount>','CA            17,700'rides per day,' fl'fS                                                  $38,763,000
26                                           $6 fnileage fee per nde"Esi
                Yolo County, CA                8,850 rides per day;                     3,230,250                           $80,756,250
27                                                $25 per ride

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                      Yolo County, CA                    8,850 rides per day;              3,230,250                      $258,420,000
 1
                                                      $80 per ride with wait hour
 2                    Yolo County. CA                    17,700 ndes per day:              6,460,500                      S38,763.000
                                                        Sbimileii I. 1 . 1 ..r rii L
 3                 San Joaquin County, CA                8,850 rides per day;              3,230,250                      $80,756,250

4                                                              $25 per ride
                   San Joaquin County, CA                8,850 rides per day;              3,230,250                      $258,420,000
5                                                     $80 per ride with wait hour
                   San Joaquin C oiinl\ C \              I7;700sridespordav                I 46(1 30li                    '>JK.''(i3.00ll
 6
                                                        S') mika^c Ti-e pc:r ride
 7
                                              Total                                    $1,889,696,250 billion-dollars revenue per year

 8
 9           1166. Plaintiffs $1,200,000,000,000 trillion-dollar healthcare opportiinity at frill scale.
10
11                                    1 IIIJI 1 iiiiuliis in
                                      Ibe United Stales
12                                                      6,7                                 $377,939,250 million dollars (per county)
                                     3,242 counties
13
                                 Total Revenue Per 'Vear                                      $1,225,279,048,500 ( $ L 2 trillion)
14
15               6. "2010 Census Geographic Entity Tallies by State and Type". United States Census
16               Bureau.
                 7. "Substantial Changes to Counties and County Equivalent Entities: 1970-
17               Present". United States Census Bureau.
     ///
18
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21   ///

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26
27   ///

28              Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
            Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices,
           Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                                              -491 -
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 1              10. LOSS OF ENJOYMENT OF L I F E , PAIN AND SUFFERING DAMAGES

 2                  Plaintiff and his Wife have sustained damages, resulting in loss of enjoyment of life,
 3
                    as outlined below:
 4
                1. Loss of employment. Plaintiff gave up an opporttmity to work at Google for iHug.
 5

 g              2. Loss of ability to perform at his current employer, having to prepare all cases, and

 7                  dealing with undue duress and mental anguish.

 8              3. Plaintiffs Wife, a YouTube Star in Australia, and Social Media Influencer, with
 9
10                  26,000,000 million viewers and 100,000 fans, stopped making YouTube videos for

11                  safety reasons.
12              4. Plaintiff and his Wife's sleep pattems are urihealthy, typically waking up 4-5 times a

]3                   night due to stress.

14              5. Plaintiff and his Wife have gained substantial weight frorn depression and stress.
^^               6. Plaintiff and his Wife cannot leave their home without feeling paranoid, due to Uber
16
                    and Lyft's use of "Hell Programs having already tracked Plaintiff, where he was
17
                    almost falsely arrested, as his Wife'sfriendwas under instruction.
18
19              7. Plaintiff and his Wife have stopped communicating with their friends to remain safe.
20              8. Plaintiff and his Wife are in constant depression.
21
                9. Plaintiff and his Wife suffer from anxiety and panic attacks.
22
                10. Plaintiff and his Wife have lost their social life, hobbies and other pleasurable
23
                    activities.
24

25              11- Plaintiff and his Wife are completely unable to attend social events

26              12. Plaintiff and his Wife have a diminished quality of life (generally), including social
27
                    life
28
                13. Plaintiff and his Wife have a diminished ability to engage with family and friends.
            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                                11. INVESTOR AND TEAM MEMBER DAMAGES

 2     1167.      In order to fully compensate iHug's investors, this action seeks monetary damages in
 3
                  the form of 200x their investment in iHug.
 4
        1168.     In order to fully compensate iHug's team for their promised salary upon capital raise,
 5
                  which was subverted by Defendants as described herein, and to punish, deter, and teach
 6
 7                Defendants a lesson they will never forget, this action seeks money damages in form 30

 8                years of salary payout:
 9
                   Investor               Salary Compensation                                        Uber and Lyft                                                   Legally
10                  Name                                     (Cash)                                               Stock                                                 Void
11               Shahla Qudus                                                                            $15,000,000                                                       Y
12               Panny Trask                                                                                  $960,000                                                     Y
13               Joseph Tigner                                                                             $6,000,000                                                      Y
14              Kristin Correa                                                                               $960,000                                                      Y

15              Michael Ashley                          $5,250,000                                                                                                         Y
                                                                                            jv, e - J ^ . ' ' ; ^ W ' > ' - - . ^ ' ^ • •   .      ' >

                 Perry Ratcliff                        $5,250,000                           -i^ (, * • , • ^ • ,•                               '('^\ ' '                  Y
16
          Josef Arvin Acebedo                          $3,750,000                                                                                                          Y
17                                                                                           ''-^V;>'S{i:i:;'I'^
          Thomas Michael Kim                           $3,000,000                                                                                                          Y
18
                Louis Pritchett                        $3,000,000                                                                                                          Y
19                                                                                          £^M}v'?tx.„;''" ^--feiSS'':^
                Darren Gacicia                         "^fi 000 nnn                                                                                                        Y
20
           Alanna Mackintosh                                                                             $14,000,000
21              Lesbia Guevara                                                                             $4,000,000
22       Edward Hutchison, Jr.                                                                             $4,000,000
23                 Hamish                                                                                  $3,000,000
24         Mackintosh-Keiller
                                      '.t!-:-.' •j"iV: ? •    SS* ; „ : ' S 111'': - ,t' }^t-4
25          Daniela Sozanski                                                                              $2,000,000
26               Ethel House                                                                                 $960,000

27              Gary McDonald                                                                                $960,000
                 Blake Young                                                                                 $960,000
28                                                                                                                                                       S|^;tifh**|'--iy.i'""''j^^


            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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           Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
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           Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 582 of 825
 1              Rafael Lopez                    $3,000,000                       $200,000

2                Jim Yeoman                     $3,000,000                                              Pending

3                Jet Carreon                    $3,000,000                                              Pending
                                                                        -    '           f

             Bemadine DeBruyn                   $1,875,000                                              Pending
4
                Martha Grupe                    $1,875,000                                              Pending
 5
              I'otal'ExceediiigV^
6
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              Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices, Tortious
             Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                           -494-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 583 of 825
 1                                                  12. JURY DEMAND
 2      1169. Plaintiff, on Behalf of Himself, and On Behalf of All Otiiers Similariy Sitiiated,
 3
     demand a trial by jury on aU claims so triable.
 4
         1170. I declare under penalty of perjury under the laws of the State of Califomia that
 5
 6   the foregoing is true and correct, that I can competently testify thereto if called upon to do so.

 7      1171. Executed on July, 4, 2019 in Sacramento, CaUfornia.
 8
 9
10
11
12
13                                     Adam John Mackintosh,
14
                                      /s/ Adam John Mackintosh //
15                                    Adam John Mackintosh (will seek admission pro hac vice, in pro per)
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             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                          -495 -
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 1                  13. PLAINTIFF'S PRAYER AND DECLARATION FOR INJUNCTION

 2       1172.   Plaintiff declares the $1,200,000,000,000 trillion-dollar healthcare opporttmity, is an
 3
     extension of a proprietary $25,800,000,000,000 Trillion-Dollar New Digital Ai Healthcare System
 4
     that was gifted to him by God, which was misappropriated by Defendants.
 5
 6       1173.   Phase 1: Integrate healthcare into transportation, $1,200,000,000,000 trillion-dollar

 7 healthcare opportunity;
 8       1174.   Phase 2: Expand into healthcare, $5,000,000,000,000 trillion-dollar expansion
 9
     healthcare opportunity involving variable modes, and cognitive physiology enabling Ai suggestive
10
     healthcare technologies;
11
12       1175.   Phase 3: Expansion into the product market, including but not limited to, shape

13   memory and polymers, e-textile, and other healthcare wearable material integrations, healthcare units
14
     (i.e. Helicopter, vehicles, etc.,), health product ideas, health services ideas, health tool idea, health
15
     educator ideas, health insurance ideas and health companion ideas.
16
         1176.   I declare under penalty of perjury under the laws of the State of Califomia that
17
18   the foregoing is true and correct, that I can competently testify thereto if called upon to do so.

19       1177.   Prayer for reUef, injunction and royalty payments outUned in section 7,
20
     subsection Z., Section 16 - 28., and granting the ex parte application for a restraining order.
21
         1178.   Executed on July, 4, 2019 in Sacramento, CaUfornia.
22
23
24
25
26
                                      Adam John Mackintosh,
27
                                      /s/ Adam John Mackintosh //
28
                                      Adam John Mackintosh (will seek admission pro hac vice, in pro per)
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
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 1                                             14. PRAYER FOR R E L I E F

 2     1179. WHEREFORE, after nearly a year and a half of attacks on Plaintiff and his Wife,
 3
                causing her to nearly commit suicide. Plaintiff respectfiilly prays:
 4
       1180. That judgment be entered against the Defendants for trebling of all damages;
 5
 g      1181. That judgment be entered against Defendants for punitive, general, special, and

 7              exemplary damages in an amount not less than Eighteen Billion Five Hundred Ten

 8              Million Dollars ($18,510,000,000.00).
 9
       1182. That judgment be entered against the Defendants for substantial compensatory damages
10
                in an amount not less than Four Billion Six Hundred Twenty-Seven Million Five Hundred
11

j2              Thousand Dollars ($4,627,500,000.00)

13     1183. That judgment be entered against Defendants for unjust enrichment and actual loss of

14              Plaintiffs $1,200,000,000,000 trillion-dollar healthcare opporttmity not less than 20%
^^              ownership in each company, Uber, Lyft and Andreessen in form of shares
16
       1184. That judgment be entered against Defendants not less than 50% of all revenues to be paid
17

Jg              to Plaintiff automatically through Stripe, in order to continue to use Plaintiffs

19              $ 1,200,000,000,000 Trillion-Dollar Healtiicare Opportunity, whereas if Defendants did

20
21              not use Plaintiff s $ 1,200,000,000,000 frillion-dollar healthcare. Defendants would not

22              have a path to profitability.
23     1185. That judgment be entered against Defendants for iHug's investor damages in form of
24
                stock, in an amount not less than Thirty Million Four Hundred and Eighty Thousand

25              Dollars ($30,480,000.00)

26
27     1186. That judgment be entered against Defendants for iHug's team wage damages, in an

28             amount not less than Twelve Million Seven Hundred Fifty Thousand Dollars

               ($12,750,000.00).
            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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       Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 586 of 825
 1      1187. That judgment be entered against Jerry Wang for monetary damages, in an amount

 2              not less than One Himdred Eighty Thousand Dollars $180,000.
 3
        1188. That judgment be entered against Defendants, ordering a cease and desist.
 4
        1189. That judgment be entered against Defendants to desist from operating as a monopoly.
 5
 ^      1190. That Plaintiff recover his reasonable attorneys' fees and expenses from Defendants as they

 7              signed non-disclosures that allows for such compensation;

 8      1191. That all costs of this action be taxed to Defendants; and
 9
       1192. That the Court grant all such other and further relief that the Court deems just and proper,
10
                including equitable relief, in particular, injunctive relief
11
j2     1193. Respectfully submitted and executed on July, 4, 2019 in Sacramento, CaUfomia.

13
14
15
16

17                                   Adam John Mackintosh,
18                                   Is/ Adam John Mackintosh //
19                                   Adam John Mackintosh (will seek admission pro hac vice, in pro per)

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            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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           Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                         -498-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 587 of 825
 1   Adam John Mackintosh
     (will seek admission pro hac vice, in pro per)
 2   legal@ihughealth.com
     10923 Progress Court.,
 3
     Rancho Cordova, CA 95670
 4
 5                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
6                                          COUNTY OF SACRAMENTO
 7
       Adam John Mackintosh, Individually,                Case No.: 34-2019-00261236-CU-BC-GDS
 8     and On Behalf of All Others Similarly
 9     Situated,
                                                         PLAINTIFF EXPARTE APPLICATION
10                                                       FOR A TEMPORARY RESTRAINING
                        Plaintiffs,                      ORDER AND ORDER TO SHOW CAUSE
11                                                       REGARDING PRELIMNARY
               vs.                                       INJUNCTION POINTS AND
12                                                       AUTHORITIES IN SUPPORT THEREOF
13                                                       LISTED ON THE SUB-TABLE OF
       Lyft, Inc., Uber Technologies Inc.,               CONTENTS
14     Uber Health, LLC, AH Capital
       Management, LLC, Better Business
15     Bureaus, Inc., Corporation,                       Judge: The Honorable
       Corporations
16
17     Ben Horowitz, John Zimmer, Logan
       Green, Josef Arvin Acebedo, Louis                 Date Action       filed:       /   /2019,
18     Damell Pritchett, Jerry Wang, and
       Does 10-500
19     Individuals                                       Date set for trial:        /       /2019
20
21                     Defendants.                       Courtroom:
22
23
24
25
26
27
28

             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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            Interference, Trade Secret Misappropriatioii, Breach of Contract, Slander and Defamation of Character.
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 1               15. EXPARTE APPLICATION FOR A TEMPORARY RESTRAINING ORDER

 2                                     PLAINTIFF EX PARTE APPLICA TION FOR A
 3
                               TRO AND OSC REGARDING PRELIMANARYINJUNCTION
 4
         1194.    Pursuant to Sections 525, 526, and 527 oftiie Code of Civil Procedure, Plaintiff
 5
 6 hereby applies ex parte for a Temporary Restraining Order and Order to Show Cause why a
 7 Preliminary Injunction should issue enjoining Defendants from competing in healthcare as their
 8 anticompetitive taxi tactics endanger life in healthcare, and should issue enjoining Defendants from
 9
     retaining, making any use of, continuing to unjustly enrich themselves, or otherwise disclosing or
10
     distributing confidential and proprietary infbrmation belonging to Plaintiff amongst themselves.
11
12       1195.    This Application is made on the following grounds:

13                (1) Plaintiff will suffer irreparable injury, if Defendants are not immediately enjoined
14                from retaining, and continuing to make any use of or otherwise disclosing or disfributing
15
                  Plaintiffs confidential and proprietary information without a reasonable royalty allowing
16
                  Plaintiff to oversee the operation of his $1,200,000,000,000 trillion-dollar healthcare
17
18                opportunity to ensure proper execution, preventing the endangerment of life;

19                (2) The balance of harms tips sharply in favor of Plaintiff given the nature of this
20                Complaint and the injuries sustained, and that the information Defendants misappropriated
21
                  has otherwise remained confidential; And
22
                  (3) there is a high likelihood that Plaintiff will be successful in establishing that
23
24                Defendants misappropriated Plaintiffs confidential and proprietary information and in

25                violation of the following but not limited Intellectual Property Califomia Civil Code § §

26                3426-3426.11, Califomia Uniform Trade Secret Act Califomia Civil Code § § 3426-
27
                  3426.11, Defense of Trade Secrets Act, Califomia Comprehensive Computer Data Access
28
                 and Fraud Act ("CDAFA"), Califomia Penal Code § 502 of Corporate Espionage 18
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1              U.S.C. § 1832 (a), (5), (b) The Califomia Invasion of Privacy Act, and non-disclosure,

 2              contingent employee Invention Assignment and Confidentiality Agreement and applicable
 3
                law, and that Defendants' wrongful activities should be enjoined;
 4

                (4) Enjoin Defendants from operating in healthcare, and all healthcare relatedfieldsas

 ^              Defendants through the natural course of their anticompetitive taxi tactics to incentivize

 7              its Drivers not to drive for the other competitor, canceling on dialysis, cancer and other
 8              terminally-ill patient's medical appointments. When this occurs, in particular, a dialysis
 9
                patients blood toxins can escalate, causing the person to be very ill, and lead to a fatality.
10
                In the event a healthcare patient stops breathing, has a sfroke, or heart attack. Defendants
11

j2              drivers are not CPR or Basic Life Support certified, much less equipped for such

13              operation, which will have an adverse outcome and place harm on the healthcare patient in

14              the event of such occurrence, thus endangering life in healthcare. Whereas Plaintiffs
^^              Rideshare for Healthcare model requfred CPR Eind Basic Life Support Certification, and
16
                required Drivers to carry a first aid kit in their vehicle which included a CPR mouth piece.
17
                For the reasons mentioned herein, and Plaintiffs point to put life first, outweighs any
lo
19              fathomable argument made by Defendants and/or their Legal Counsel.
20              (5) Plaintiff continues to respectfiilly make the point that in 1776, the United States
21
                Declaration oflndependence declared that "all men are created equal, that they are
22
                endowed by their Creator with certain unalienable Rights, that among these are Life,
23

               Liberty and the pursuit of Happiness. Maintaining, these innocent healthcare patients are

25             being harmed when cancelled on, as a result of Defendants aggressive anticompetitive

26             tactics. Thus, infringing on people's right to life. For the reasons mentioned herein, and
28
2^             Plaintiffs point to put life first, outweighs any fathomable argument made by Defendants.

       1196. This Application is being made ex parte because impermissible use, disclosure or
            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 ,1   distribution of Plaintiff s confidential and proprietary information is occurring and may occur

 2    immediately.
 3
            1197. As outiined by Plaintiff in section 16. PREEMPTIVE MOTION TO STRIKE 1: TO
 4
      PREVENT LOSS OF LIFE, people's lives are infringed on if Defendants are allowed to continue to
 5
      operate in healthcare.
 6
 7          1198. This Application is based on the Complaint in this action; the attached Memorandum
 8    of Points and Authorities listed in the table bf contents; the accompanying Declarations of the
 9
      Plaintiff in Support of a Temporary Restraining Order; and such other evidence and argument as may
10
      be called to the attention of the Court at or before the ex parte hearing.
11
            1199. Pursuant to California Rule of Court 3.1204, notice of this application will be provided
12
13    to Defendants through a service processor.

14          1200. Pursuant to Califomia Rule of Court 3.1202(a), Plaintiff states that he is not aware of
15
      any attomey representing Defendants, and fiirther states that Defendants' current contact information
16
      is:
17
18                 •   Lyft, Inc.

19                     185 Berry St #5000, San Francisco, CA 94107

20                 •   Uber Technologies, Inc.
21
                       1455 Market St #400, San Francisco, CA 94103
22
                   •   AH Capital Management, LLC
23
24                     DBA Andreessen Horowitz

25                     2865 Sand Hill Rd #101, Menlo Park, CA 94025
26                 •   Better Business Bureaus, Inc.
27
                       DBA BBB
28
                       10399 Old Placerville Road
               Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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              Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                            -502-       •
       Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 591 of 825
 1                  Sacramento, CA 95827

^               •   The home addresses of Josef Arvin Acebedo, Jerty Wang and Louis Damell Pritchett
 3
                    are to remain private as they are residents and non-business.
4
       1201. Respectfully submitted and executed on July, 4, 2019 in Sacramento, Califomia.
 5
 6
 7
 8
 9                               Adam John Mackintosh,
10
                                 /s/ Adam John Mackintosh //
11
                                 Adam John Mackintosh (will seek admission pro hac vice, in pro per)
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            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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           Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
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 1                        15A. MEMORANDUM OF POINTS AND AUTHORITIES

2    15B. INTRODUCTION
3
         1202. Plaintiff has direct evidence from a whistleblower, affirming Uber and Lyft use cash,
4
     brand power and other incentive to induce drivers to engage in unlawfiil misappropriation of
 5
     proprietary and highly sensitive business information, and corporate secrets from competition that has
6
 7   allowed Defendants to grow at astronomical rates. Id. ^ \ . Id.

 8       1203. Plaintiff has direct testimonial evidence from a Lyft and Uber driver admitting
 9
     Defendants orchestrated the unlawful conduct contained in this Complaint. In particular, Joe, Louis
10
     and Does have signed a written ConfidentiaUty, Non-Disclosure, Non-Compete, Contingent
11
12 Employment Agreement and other legal Agreements which are still in full effect, confirming their
13   commitment to protect and maintain as confidential - Plaintiffs proprietary, highly sensitive, and

14 secretive business information. Id. T| 2.
15
         1204. While Plaintiff and his Wife were under duress and corporate attack, Joe announced in
16
     November of 2017, he was resigning from iHug, Plaintiffs Company, and on muhiple occasions
17
18 between December, 2017 to April of 2018, leading up to his exit Plaintiff believes Joe misled him in
19   order to continue to gather intelligence for Defendants, while exposing such intelligence to

20   Defendants and providing confidential login details to iHug systems. Throughout this time, Joe,
21
     Louis and Does colluded in private, at meetings and in person at iHug's office and other locations.
22
     On multiple occasions Joe, Louis and Does met with Lyft, and Uber Executives, while "driving" for
23
     Defendants' platforms in San Francisco, Califomia with iHug's intemal systems loaded on their
24
25   personal and bumer phones, and other devices, to leak highly confidential corporate secrets to Lyft,

26   Uber and Andreessen Executives at will. Id. ^3. Id.
27
         1205. Joe, Louis and Does involvement with iHug required them to synchronize their
28
     corporate emails on a mobile device, giving them access to intemal communication, and other
             Adam John Mackintosh—^^vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1       systems, assigned to them by iHug. After the synchronization, the devices contained thousands of

 2       artifacts (files and folders) belonging to iHug, including but not limited to, iHug's financial,
 3
         competitive, and corporate secrets including Plaintiffs $1,200,000,000,000 trillion-dollar healthcare
4
         opportunity. Id. ](4. Joe Louis and Does had access to iHug's intemal systems from any computer in
 5
     the world simply by providing his login credentials. Even after Plaintiff had these credentials
 6
 7       blocked, Joe, Louis and Does continued to obtain other login credentials and system admins login

 8       credentials to misappropriate proprietary information and intemal operations. Id.
 9
             1206. Such a breach has allowed Defendants to unjustly enrich themselves pre-and-post their
10
         initial public offering. M ^ 5.
11
             1207. Plaintiff continues to see his non-^public, proprietary, dociunented features and
12
13       services emerge on Defendants platform. M ^ 6.

14           1208. In recent events. Defendants hired a highly-experienced healthcare employee from
15
         McKesson, who has unlimited connections in healthcare to accelerate Uber and Lyft's healthcare
16
         growth, whereas they used Plaintiffs corporate secrets to allow such growth. Id. \ 1. Id.
17
             1209. Where it's believed. Defendants are deploying Plaintiff s corporate secrets, ideas, and
18
19   proprietary healthcare models into their existing business, evolving their business, exponentially

20       growing revenues, unjustly enriching themselves without legal entitlement.
21
     I       1210. Left with no other choice,^ Plaintiff now seeks to prevent Defendants, specifically,
22
     Lyft, Uber, Andreessen, Ben, John, Logan, Joe, Louis, Jerry and Does from any fiirther unauthorized
23
     possession, use, or disclosure of Plaintiff s confidential and proprietary information and unjust
24
25   enrichment.

26   I       1211. Plaintiff also seeks to recover the confidential and proprietary information that
27
     Defendants retained, contrary to Joe, Louis, Jerry and Does obligations under the Confidentiality,
28
     Non-Disclosure, Non-Compete, Contingent Employment Agreement and other legal Agreement.
                 Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jeny, Logan, Ben, and Does
          Complaint for Unjust Enrichment, Endangeiment of Life, Corporate Sabotage, Unfair Competition Practices, Tortious
                Interference, Trade Secret Misappropriation; Breach of Contract, Slander and Defamation of Character.
                                                              - 505 -
          Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 594 of 825
     Without immediate injunctive relief, healthcare patients. Plaintiff, Plaintiffs Wife, and iHug continue

 2   to suffer irreparable harm and pemianent damage to his Company, l d . ^ l - 1 (emphasis added)
 3
     15C. FACTUAL BACKGROUND
 4
             SUB-A: Plaintiff and His Company
 5
          1212. iHug is a software provider that empowers business owners with a single point of sale,
 6
 7   operation, logistics and tracking, using mobile based applications, headquartered in Sacramento,

 8   California.
 9
          1213. iHug offers its software in over 3,000 cities nationwide, offering telehealth symptom
10
     checkers, insurance plans, market places, advertisement options and other highly profitable
11
     operations. M ^ 8
12
13        1214. Plaintiff has invested over a decade of his life in developing and protecting his

14   confidential and proprietary information related to his product and service offerings. Id. 19 Id.
15        1215. This confidential and proprietary information includes documents outlining Plaintiffs
16
     marketing and product plans, current and fiiture financial data and projections, forecasts, customer
17
     lists and data, and personnel information. Plaintiff has always taken affirmative steps to protect this
18
19   information by, among other things, requiring any and all person(s), and/or entities to sign a non-

20   disclosure containing a confidentiality provision (or separate agreement), nondisclosure is paramount.
21   The confidentiality provision (or separate agreement) ensures that Plaintiff and his Company, iHug's
22
     proprietary information is not revealed by any person(s), and/or entities who, especially competitors.
23
     Id ^10 Id
24
25        1216. All contingent employees, executives, independent contractors and board members

26   must sign confidentiality agreements before engaging with Plaintiff and his Company, iHug. Id. ^11
27   Id
28
          1217. Beyond the protection afforded by the confidentiality agreement, Plaintiff took further
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                          - 506 -
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 1   steps to ensure the security of his proprietary information, such as requiring all visitors to its

 2   corporate headquarters to read and sign a non-disclosure agreement before proceeding past the
 3
     reception desk and while on-boarding to drive for iHug; requiring all employees and or independent
 4
     advisors and or investors, and others to sign iHug's sign-in sheet, and private documents which
 5
     describes in detail each party's obligations regarding conflicts of interest, technology use and
 6
 7   security, and protection of Plaintiff and his Company, iHug's confidential and proprietary

 8   information; Requiring all parties to enable two-step verification for Google Apps (which iHug uses
 9   to host its corporate email and calendar); And limiting access to iHug's storage accounts to only a
10
     select few parties involved at iHug. M        12 Id.
11
         1218. Plaintiff also made every physical effort beyond the protection of an originally
12
13   manufactured equipment (OEM) trailer door lock, to secure his highly secretive six patent books

14 relating to his digital Ai healthcare system.
15       1219. Plaintiff spent two days welding and constructing a military grade locking system
16
     containing the following steel elements making it nearly impossible for any common criminal to
17
     break into:
18
19                   1" inch stainless steel plated locking system on his trailer door

20                   1" inch steel plate on each side of the frailer door
21
                     6 stainless steel bolts
22
                     6 self-locking nuts
23
24                   LOCTITE® Thread locker

25                   1" inch stainless steel latch
26
                     A maximum-security lock, with tough-cut octagonal
27
                     boron-carbide shackle stainless steel.
28

             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
      Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices, Tortious
            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                            - 507-
                                                        '3.




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 1      1220. Pictured below. Plaintiffs custom "military grade" locking system.

2              Maximum security lock                                   1" inch thick steel plating and bolts.
3
4
 5
              I                          1
6
 7
 8
 9
10
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27
28
     Id. Ex. AI, Ex. A2., Ex. A3, Ex: A4, Ex. A5, Ex: A6;''i^ 8-12 (emphasis added)
             Adam John Mackintosh—vs-e-Lyft; Uber, Andreesseri, Joe, Jotin, Louis, Jerry, Logan, Ben, and Does
      Complaint for Unjust Enrichment, EndarigeiTnent of Life;. Corporate Sabotage, Unfair Competition Practices, Tortious
            Interference, Tradfe.Secret Misapprbpriatiori, Breach of Gdhtract, Slander and Defamation of Character.
                               :•••• '• •- - • •:;'^ '--^,'-vy50H;".'':^                           -r ^ •
           Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 597 of 825
 1            SUB-B: Joe, Louis, Jerry, Nicole and Does Hiring and Confidentiality Agreement

 2         1221. iHug contracted with and signed contingent employment Agreeinents with Joe, Louis
 3
     and Does throughout the year from 2015 to present. All new independent contractors, advisory board
 4
     members, investors, and contingent employees, signed a cbhfidentiality agreement as a condition of
 5
     any involvement with iHug a^nd Plaintiff/(i. ij 13; M
 6
 7         1222. Pictured pn the next two pages. Exhibit A and Exhibit B on the following two

 8   pages are the signed contingent employment AgriseiTients by Joe, Louis and Does. Each provision
 9
     protects Plaintiffs God given rights, in particular, the pursuit of Happiness, allowing him to engage
10
     in business to enrich the lives of people without unlawrfiil obstmction:
11
     ///
12
13   ///

14

     ///
     ///

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     // •
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     // • , •
22
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     ///
26
27   ///

28   ///




     •
     //
     ///     Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     ; Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices, Tortious
     y//    Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                           -'509-
       Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 598 of 825
 1
        3. Confldentlal Iriformation.
 2
              (aV Company Triformatinn. la^eataUtimesdi^gthetamp^^
 3               Gpmpany and.thereafler^ to hold in strictest confidence, aiid^n^ use, exceptibr the
 ^               benefit of the Company to the extent nece^aoy to perfp                              (Qpmpany
                 under the Relationship; ortodisclose to any person,firm,corporation or pQier entity
 5               without written authorization of the Board of Dii^^                         any Confideidtial
                 Moniiatioh of the Conipany which I obtaiii or create. I fiirther agree liot to ihake cc^ies of
 6               such Confidential Iilfonnation exceptiiis authorized by the Conipany. I understand that
                   Confidential Information" iineans any Company prop^           iPformatibn, teclmical data,
 ^               trade secrets or knowrho^y, iiicluding, butnot limited tp. researchj, product plai^
                 services, s]uppUers, ciistomQr:lists and customers (including, but nptlimitedto,customers of
 8               the C^mpiuiy qn whpm l called or with whom I became acquainted during ^e
 9               Relationship)j prices and costs, markets, sofhyare, developments, inventions, laboratory
                 hbtebookis, pirocesses, fbiihiil^; technolpg^^, desighs, dfawiiigs; engineeriiig, hardwa^^
10               configuration Moriiiation, miorketihgj liceinisies,finances,budgiets or other business
                 information disclosedtonieby the Goriq^any eiidier dirwjtly of ihdutctly in writing, orally
11               or by drawings or observation of piuts or equipment or created by me dtuing the period of
                 the Relationship, whether or not during woridng hours. I undetstand^tiiat Confid^tial
12               Infonnation includes, butis.npt limited to, informationpertaining to any aspect of the
J3                Cpmpany's busuiess, which is either infpnnatipn not kn^
                 competitors: of the Company pr pdier third parties not under cpnfid^tiaUty obligation^ to
]4                the Company^ or is otherwise pfbprirtaty iiofofMtidh of theLCompany of its ciistbiriais or
                 supplieiRs, whether Of atechnicalnatutie or otherwise. Ifiirtfaa?understandtiiatConfidential
15               Information does not iiidude aiiy^oTtiie foregoing items which h^ become publicly and
                 widely knovm and made generally availabletiirou^no wrongfiil act of mine or of others
16               who were under confidentiali^ obligations astothe item .or items; involved.
17            fb) Prior Obligcttloins. Lrepresient that niy peffoftamce; df all terms of this Agreemisnt as an
                  employee or conisultant of the Company hasinpt breached and will not breach any
1^                 agreementto keep in confidence prpprieta^^ mforniation, knowledge or data acqufred by
Jg                t^P prior or subsequent totoecommaicenient of my Relatioiiship with the Cooipanyj and I
                 wiU not disclose to the Company or use ^y inventions, c»n^^
20               proprietary informatipn or material belonging^to: any current or former client or employer or
                 any other party. I will not induce the Cbmpahyto^useany,inventions, confidential br non-
21               pubhc proprietary infoh^ or matonal bisloiiging to any current or former client or
                 employer or any other party. I acknowledge aiid agreie that-Ihave liisted on Exhibit A all
22               agreemdQts (e.g., riOnTConipetitionagjeemen
                 non-spUcitation of employees agreements, confidentiality agreements, inventions
                 agreements, etc;) with a current prjfprmer employer, or imy other person or entity, t^ may
24               restrict my abiUty tp;ac,cept emplpymeiit wth the Cbmpany prsmy abiUty an eiiq>loyee pr
                 consultant tp recruit pr engage custpniers or servii:e providers on behalf of die Company^ or
25               otherwise relatetoor resfrict my abilitytoperfomi my duties as ah employee of the
                 Company of any obUgation l imy have to the Company.
26
27
28
            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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           Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                         ,-510-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 599 of 825

 1       9. General Provisions^

 2            (a) Gbverriirig Law. Thie validity: ihtefpretBtion, cohstmctionahd pei^iihance of this
                 Agreement shaUibeygoyOTied by the laws of the State of Califorma, without giyihgeffi^^
 3                the principles of convict of laws.
 4            fl?) Entire Agreement This Agreemeht'sets fortii theientire agreiemeht and imderstanding
                 betiveen tbe Company and me relatingtothe subject mattCT herem and merges all prior
 5               diiscussions between us: No modification or amendmeiittothis Agreonenti nor any waiver
                 of any rights under this Agreementi \yiU be effective unless in writing signed by both
 6               parties, /uiy subsequent ch^      cluinges in my duties^ obUgations,rightsor
 1               compensation ^wiU npt affect thevalidity or scope of this Agreement
              fc) Severability. If one or more of provisions m^ti^                     deemed void by law,
 8               tiien the. remaining provisions will continue in fiill force smd effect.
 9            (d) Successors and Assigns/This Agreement vtriU be binding upon my heirsi executors,
10               administrators and other legal.representatives, and my successors and assigns, and wiU be
                 for the benefit of the Company, its ^cessqrs, and-its assigns.
11
              fel SorvivaL The provisions of this Agreement shall survive the tennination of the
12               Relationship and the assignunienf of^ Agj^ement by the Companytoany suc^cessor in
                 interest or other assignee.
13
              (f) Remedies. I acknowledge and agree th^t yiiplati^
14                Conipany irreparable harm, and therefqrc'agree tbat^^^^ Cornpany wiU be entitiedtoseek
                  extraordinary relief in court, includihg>butnot;litiiitedtotemporary restraining orders,
15                preliminary injimctiotis aad perihahehtii^^^          vrithout the necessity of posting ia bond
16                ordther security and in addition td uid.:witbout prejudicetoiany dtherrightsor remedies
                  thattileCompany mayihaye for a broich of
17
              fg) ADVICE OF COUNSEL.1 ACKNOWLEDGE.THAF, IN EXECUTING THIS
18               AGREEMEOT, i I U ^ ^ HM3^T^^                       THE ADVICE OF
                  INPEPENDENT LEGAL C 0 W S E L , A N D : I H A ^      UNDERSTOQD ALL
19                OF THETCRMSAi^^^^P^^                THIS AGREEMENT. TfflS AGREEMENT
                  SHALL NOT BE GONSTOUEd AGAINST ASlY PARTY                  OF THE
20               DRAFTING OR PREPARATION HEREOF.
21
     M         £jc. 5., t t 13 - 12 (emphasis added)
22
            SUB-C: Documents misappropriated and retained by Defendants are Proprietary,
23
24   Confidential, and Critical to Plairitiffs Future and the success of his Company, IHug.

25       1223. After Joe, Louis arid Does' depiarture. Plaintiff sought assurance that Joe, Louis and
26   Does had complied with their confidentiality obligations to Plairitiff and his Company, iHug. He sent
27
     multiple cease and desists, blocked access and ensured all systems were secure from Defendants. Id.
28
     II14 M
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
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 1       1224. Plaintiff launched his new Company, iHug Software, after Defendants' tortious

 2   interference and other actions permanently damaged Plaintiffsfransportationoperation. He was
 3
     seeking sales executives lo assist him with sales. Defendants planted a mole, much like Joe, Louis
 4
     and Does. Nicole used Lyft and Uber's brand power. M ^ 15. M
 5
 6       1225. Nicole proclaimed she knew "high-up" Uber and Lyft executives. She also asserted

 7 she used to mn all background checks on Uber and Lyft drivers for Defendants. This nature to use
 8 Lyft and Uber's brand power, was a similar pattem to Joe, Louis and Does before they engaged in
 9
     unlawful conduct to infiltrate iHug. Based on this single fact, it substantiates Joe, Louis, Jerry,
10
     Nicole, and Does were instmcted to tell Plaintiff whatever he needed to heai*, to get his ideas and
11
12 corporate secrets.
13       1226. As promising as it sounds. Plaintiff avers Nicole was planted by Defendants to use, in
14 order to gather intelligence, using methods and practices that mimicked Joe, Jerry, Louis and Does.
15
     She infiltrated Plaintiffs new Company, iHug Software, breaching fiduciary duty, having provided
16
     login credentials to Defendants where fnultiple logins were made from unrecognized devices, a
17
18   similar pattem to Jerry, Joe, Louis and Does. Id. 116. Id.

19       1227. The forensic analysis revealed logins were made throughout The United States

20   including but not limited to, cities spatming across San Francisco, Califomia to Washington D.C. to
21
     New York City. M H 17. M
22
         1228. Defendants successfully infiltrated iHug, yet again, extracting thousands of
23
24   documents from iHug's intemal systems from his new business, including but not limited to.

25   Plaintiffs new patent-pending, revolutionary healthcare vehicle designs, that would provide the

26   world's safest ride through physics.
27
         1229. Pictured on the next page Exhibit C, and on the pages following Exhibit D, and
28
     Exhibit E, are slides from Plaintiffs patent-pending slide deck. This slide deck was misappropriated
             Adam John Mackintosh—vs—Lyft, Uber, Aiidreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                                                          -512-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 601 of 825
 I   by Dan at Uber, and handed off to Lyft Executives.

 2          1230. The slide decks contained invaluable designs, partnership details and other
 3
     competitive secrets, that Defendants have since started engaging in, after unlawfiilly obtaining
4
     Plaintiffs knowledge, business plans, corporate trade secrets, corporate secrets, secured non-public
 5
6 particulars, including but not limited to, invention processes, schematics using physics, design,
7 engineering, creativity and vision, research, product plans, technical data, know-how, services,
 8 suppliers, in particular, prices and costs, markets, software, developments, formulas, technology,
9
     drawings, engineering, hardware configuration information, budgets and other business information
10
     that gives Plaintiff and his Company, iHug, a competitive advantage and path to profitability. Id. t
11
     n.id
12
13
14
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16
17
18
19
20
21             :•'-V-'A^i              • r ' l FIRSTTO-:.IP :                            /-• -
22
       An^ifliiig pltrifers^^^ wiji deliver a tangiible, and^viable leaiDfrog
        product that will set rfew Standards in healtfifeare, ampiifying
23   ' driver arid ridei; safety, reducing WAV injuryiand costs, wfiile
24 ^ 2 ^ 2 : ' ' ^ ' ' f c r e a t i n g a competitive advantage.       -
25
26
27
                            ; Uber

28

             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                          -513-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 602 of 825
 1
2
 3
4
                                                World Class Design
 5                         From a physics, mechanical/ practical, operational, engineering
6                        and design aspect, iHug's IP will deliver theysafestride in the world:

 7
         1231. The forensic analysis included a review of the Intemet browser history, login session
 8                                                                                  -

 9 details and intemet protocol details contained in Nicole's iHug email account. Google-related
10 geolocation services, and products, including but not limited to, Google Apps, and specifically
11
     Gmail, that iHug hosts its company email, revealed the multiple logins.
12
         1232. Pictured below are the unauthorized logins. One session reveals a login was made
13
14 using a non-attributable device, meaning "masked" device details, denying Google to decipher and
15   identify the device and user account, where Google's systems low order bit and labeling system
                                                                 I

16
     marked it "Unknown." This was during a time Nicole had no involvement at iHug anymore, where
17
     she made herself unavailable after meeting with Uber's, Dan Trigub. Yet multiple logins were
18
19   actively being made, accessing her iHug account. Substantiating Defendants were able to

20   successfully infiltrate yet again.
      Recent acttylty:
21
       Access IViMe (11     ,                    .       "   , Location (IP addreea) [IJ^-   j'^.^--
22     (Browser, mobile, POPS, etic.)                '          '                                      (OisplayKi^SW^

23     Browser (Chromo) ShtJW <tet«lil8                      *Uitited States (CA)                      10:15 am (0 miriutes
                                                                                                       ago)

24     Browser (Chrome) Show details                         United States (CA)                        1.42 am (6 hours ago)


25     Unknown                                               United States (CA)                        i 25 am (8 tKHirs ago)


26     Browser <Chrome) Show details                         United States (CA)                        Apr 13 (4 days ago)

27     Unkrown                                               United States (CA)                        Apr 13 (4 days ago)


28
     Id Ex C, Ex A ^x.               II114 - 18 (emphasis added)
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                                                             -51^1-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 603 of 825
 1           SUB-D: Documents retained by Defendants are Proprietary, Confidential, and Critical

 2    to PlaintifTs Future and the success of his company IHug
 3
         1233. The documents possessed by Defendants have already caused irreparable damages,
4
      including but not limited to, grocery delivery for healthcare. Medicare and Medicaid billing, delivery
 5
 6    and other forwarding thinking features, services and products are emerging on Defendants platform,

 7 unjustly enriching Defendants without legal entitiement. Id. ^ 19. Id.
 8       1234. Plaintiff asserts as per signed non-disclosure, the following is enforceable:
 9
             Recipient acknowledges that monetary damages may not be a sufficient remedy for damages
10
             resulting from the unauthorized disclosure of confidential information and that the Company
11
             shall be entitled, without waiving any other rights or remedies, to seek such injunctive or
12
13           equitable relief as may be deemed proper by a court of competent jurisdiction. Id. t 20. Id.

14           In the event, any third-party who has direct or indirect connection with Recipient involved in
15
             monetary damages that are as result of continuing to disclose unauthorized confidential
16
             information Id. t 21., the Company shall have the full rights and entitlement to seek such
17
             injunctive or equitable relief as may be deemed proper by a court of competent jurisdiction. "
18
19           and "All confidential information and confidential materials are and shall remain the sole

20           and exclusive property of the Company. Id.
21
             By disclosing information to Recipient, the Company does not grant any express or implied
22
             right to recipient to or under the Company patents, copyrights, trademarks, or trade secret
23
             information. Id. t 22. Id. Any information that's given, disclosed, communicated or otherwise
24
25           expressed by Recipient that shape, enhance, evolves or otherwise shall remain the sole and

26           exclusive property of the Company. " Id. t 23. Id.
2.7
             Marketing and Product Plans
28
         1235. iHug's intemal flyers, business promotional cards, and other ideas were kept in iHug's
              Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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             Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
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  1   office amongst iHug's team members, advisors, contractors and others who signed non-disclosures.

 2    The marketing and product materials, included the following but not limited to, medical appomtment
 3
      transportation, patient discharge services, grocery and shopping services, medicine pick-up and other
 4
      non-existent services on rideshare platforms, that have since started to emerge on Defendants
 5
      platform. Id. \ 24. Id
 6
 7             Medical Drone Delivery of Prescription and Other Medical Durable Products

 8        1236. Plaintiffs vision of a new digital Ai healthcare system, included among other
 9
      innovations that would sprawl civilization into the future, includes but not limited to, a drop-delivery
10
      system, powered by drones.
11
12        1237. In particular, the drone would drop-deliver small prescription bottles, medical tools,

13    products, and other lifesaving health products, that would be delivered to anyone, especially those

,14 without transportation, at little, to no cost.
15
          1238. Whereas Defendants omitted from their SEC Sl Filing and to investors H 25. Id. This
16
      brilliant and extremely innovative and profitable business plan, as a result of their knowledge that the
17
18 corporate secret was misappropriated from Plamtiff.
19        1239. After Defendants IPO, they have since launched drone delivery services, in particular

20    "Food Services," ]| 26. Id. where Plaintiff alleges Defendants launched drones into a separate market
21
      H 27. M to obfuscate.
22
          1240. Pictured on the next page atop. Exhibit F, is one of Plaintiff s sub-file systems, not
23
      including the stolen hard-drives from his frailer, that included drone patent ideas and other patent
24
25    drafts

26        1241. Pictured on the next page below. Exhibit G, Defendants are continuing to evolve their
27
      drone program, which will eventually include healthcare drop-deliveries using Plaintiffs
28
      misappropriated corporate secrets. ^ 28. Id.
               Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1     1242. Plaintiff s sub-file system:

2
           fig-1.fw.png    o O                                                                          feenlwIth'Prevrew-:
3
                                                                        fig-2.fw.pnc|
                                                                                        113 E
           fig-2.fw.png
4           fig-3.fw.png
5           fig-4.fw.png
6
7
 8
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13
       1243. Defendant's evolving drop service using Plaintiffs corporate secrets:
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28

            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices, Tortious
           Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                         -i517-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 606 of 825
 1       1244. Healthcare vehicles, planes, helicopters and other modes of fransportation would

2    provide transport to a variety of healthcare patients based on their health condition, in particular as an
3
     example, pregnant mothers who can't drive themselves to the hospital when going into labor, who are
4
     at least able to climb into the vehicle. ^ 29. Id. Id.
5
6        1245. The vehicle would use Ai to determine geolocation, time, distance, medical

7    conditions, biometrics and other healthcare-related data sets, that would put pregnant women and
 8   their expected babies, in safe and urgent transport at little to no cost to them. ^30. Id. Id.
9
         1246. As shown in Exhibit H, below on the left, is a page from Plaintiffs patent book that
10
     was misappropriated be Defendants. It outlines different types of transportation modes.
11                                                            j

         1247. As shown below in Exhibit I , Defendants Air Transportation vehicle.
12
13
14
15
16
17
18
19
20
                                                                  Uber May Be Flying Air Taxis In
                                                                  India Soon
21                                                                By staff Reportsr - September 7. 2018                            «>.569    «0


                                                                  Minister of State foi Civil Aviation Jayant Sinha is optimistic about the
22                                                                easier air taxi operation in India in really near future because of the latest
                                                                  drone policy.
23
                                                                  On Thursday, he tweeted about his optimism. This tweet came just after
24
                                                                  his raeeting with a delegation from liber. Uber is plarming aerial taxi
                                                                  seivice in India.
25
26                                                                The Minister tweeted, "Met with @Uber Elevate team, India offers an
                                                                  encouraging and responsive regulatory framework to solve the challenge
27                                                                of urban transportadon. With our.progressive drone policies, we want to
                                                                  see ail taxis becoming a reality soon!'
28

             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
      Complaint for Unjust Enrichment, Endangerment of Life', Corporate Sabotage, Unfair Competition Practices, Tortious
            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                           -I5I8-
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 1           HIGHLY CONFIDENTIAL AND SECRETIVE Id ^31. Id

 2           $25,800,000,000,000 Trillion-Dollar Healthcare Opporttmity, in particular. Healthcare.
                                                     r
3
4            HIGHLY CONFIDENTIAL AND SECRETIVE Id ^ 32. Id

 5           $1,200,000,000,000 Trillion-Dollar Healthcare Opportunity, in particular. Transportation.
 6           HIGHLY CONFIDENTIAL AND SECRETIVE Id 133. Id
 7
             Financial Information
 8                                                   i
         1248. Darren, iHug's acting Chief Financial Officer, who was under a non-disclosure, sent
9                                                            1 ,

               Defendants execution strategies, as well asfinancialprojections that outlined iHug's rapid
                                                             1
10
                 growth to over $1,200,000,000 billionj-doUar and in excess of $1,200,000,000,000 trillion-
11
12               dollars at full scale. ^ 34. Id. It entailed projected income statements, care provider's

13               costs, marketing, research and development, EBITDA, Cash Flow Statements, Balance
                                                             i
14               Sheets, Key Balance Sheet Statistics, Working Capital, Income Statement Assumptions,
                                                             I-
15
                 Total Addressable Market (TAM) - Sacramento, Hospitals, Senior Living Facilities,
16
17               Homecare, Dialysis, Urgent Care and other details.

18           Customer Lists and Data
19       1249. iHug's customer lists and data were extracted by Joe, Louis, Jerry and Does, from
20                                                           r
     iHug's intemal systems. After the misappropriation, iHug's customers stopped engaging with iHug. -
21
                                                             i
22
     — Id Ex F, Ex G, Ex H, Ex 1,^*^19- 34 (emphasis added)
23
             SUB-E: Defendants Evolved Their Business and Profits With PlaintifTs Intellectual
24
25   Property, Corporate Secrets, Patent Books

26       1250. Plaintiff managed to retain one trade secret book, out of the many that were stolen
27   from hisfrailerby Defendants. Not only were Plaintiffsfradesecret books stolen. Defendants
28
     misappropriated his thumb drives, sketches, scheinatics and other fiiture particulars that have and will

     continueAdam John Mackintosh—vs—Lyft,
             to unjustly enrich Defendants Uber, Andreessen,
                                           without           Joe, John, Louis,
                                                    legal entitlement.   SuchJerry, Logan, Ben,
                                                                               enrichment       and Does
                                                                                            should   be paid to
      Complaint for Unjust Enrichment, Endangerment of Life','Corporate Sabotage, Unfair Competition Practices, Tortious
            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                           -519-
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 1   Plaintiff in reasonable royalty, and other forms allowed by an Honorable Judge.

 2 ARGUMENT                                                 I
 3
             SUB-F: Legal Standard for Injunctive Relief
4
         1251. An injunction may be granted "[wjhen it appears by the Complaint that the
 5
 6 commission or continuance of some act during the litigation would produce, waste, or great or
 7 irreparable injury, to a party to the action...." Cal.i Civ. Proc. Code § 526(a)(2). ^ 35 "The law is well
 8 settled that the decision to grant a preliminary injunction rests within the sound discretion of the frial
 9                                                           i

10   court." IT Corp. v. County of Imperial, 35 Cal. 3d 63, 69 (Cal. 1983). In exercising that discretion,

11   courts generally consider two related questions in deciding whether to issue an injunction: 1) "are the
                                                             I

12
     plaintiffs likely to suffer greater injury from a denial of the injunction than the defendants are likely
13
14 to suffer from its grant"; and 2) "is there a reasonable probability that the plaintiffs will prevail on the
15   merits...." Heckmann v. Ahmanson, 168 Cal. App. 3d 119, 125 (1985); accord Hunt v. Superior

16   Court, 21 Cal. 4th 984, 999 (1999). The court must exercise hs discretion "in favor of the party most
17
     likely to be injured.... ^ 36 If the denial of an injunction would result in great harm to the plaintiff,
18
     and the defendants would suffer little harm if it were granted, then it is an abuse of discretion to fail
19
     to grant the preliminary injunction." Robbins v. Superior Court, 38 Cal. 3d 199, 205 (1985) (intemal
20
21   citations omitted). A moving party need only show a reasonable probability of success. Heckmann,

22   168 Cal. App. 3d at 128.         I d 135 - 36 (emphasis added)
23
             SUB-G: The Confidentiality Agreement Provides for Injunctive Relief
24                                                           i

25       1252. By its terms, the Confidentiality Agreement acknowledges the need for injunctive

26   relief See Ex. A., Ex. B. T| 37 The Confidentiality Agreement provides that:
27
                      "in the event of a — breach or threatened breach of this Agreement by Defendants the
28
                      Company may suffer irreparable harm and will therefore be entitled to extraordinary
                                                                 i
              Adam John   Mackintosh—vs—Lyft,
                      relief,                    Uber,
                              including injunctive     Andreessen,
                                                     relief         Joe, this
                                                            to enforce   John,Agreement.
                                                                               Louis, Jerry, "Logan,
                                                                                               Id. Ben, and Does
       Complaint for Unjust Enrichment, Endangerment of Life;'Corporate Sabotage, Unfair Competition Practices, Tortious
             Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                           - 520-
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 1       1253. As such. Defendants were on notice that injunctive relief would be sought and

2 enforced if Defendants breached or threatened breach, of the Confidentiality Agreement. Moreover,
                                                            ii

3
     Plaintiff, and his Company, iHug, specifically contracted, and gave consideration for injunctive relief,
4
     in the event Defendants breached or threatened to breach the Confidentiality Agreement ^38 when it
5
6 contracted Defendants. Courts have held that sucli a provision is sufficient to show irreparable harm
7 and warrant injunctive relief. See, e.g., Martin Marietta Materials, Inc. v. Vulcan Materials Co., 56
8 A.3d 1072, 1145 (Del. Ch. 2012) ("[PJarties can agree contractually on the existence of requisite
9
     elements of a compulsory remedy, such as the existence of irreparable harm in the event of a party's
10
     breach, and... such a stipulation is typically sufficient to demonstrate irreparable harm."). ^ 39 As set
11
12   forth above. Defendants breached the Confidentiality Agreement by disclosing login credentials to

13   Uber and Lyft, exposing proprietary and confidential information during and after their relationship
                                                             I
                                                             I
14   with the Plaintiff, and his Company, iHug. Id.
                                                             i
15
16       1254. Plaintiff, iHug and healthcare patients have suffered and will continue to suffer

17   irreparable damage to life, and cause financial harm as a result of Defendants breach, if Defendants
18   are not enjoined from using or disclosing the information immediately, and Uber and Lyft's
19
     participation in healthcare. T| 40
20
         1255. Whereas, Plaintiff argues the very existence of life and the protection of our God
21
22   given right to life, outweighs any fathomable argument and pleading to the continuation of Uber and

23   Lyft's involvement in healthcare, and continued unjust enrichment, where it's proven through

24   medical, SWOT analysis, and forensic evidence, Defendants endanger lives in healthcare through
25
     reckless misconduct, improper licensing and insurance. Monetary damages would not provide
26
     adequate relief for healthcare Patients, Plaintiff, his Wife, and iHug because of the nature of this
27
28   irreparable harm. Whereas Plaintiff maintains. Defendants have improperly executed on his

     "Rideshare for Healthcare" model. Injunctive relief is therefore necessary and appropriate. Id. t 37 -
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                                                          -521-
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 1   40 (emphasis added)                                    I

 2           SUB-H: Defendants Possessed, Extracted, and Destroyed Plaintiffs Confidential, and
 3
     Proprietary Corporate Secrets that Evolved Defendants Business into Profitability
4                                                i
        1256. The iHug documents and information jJoe, Jerry, Louis, Nicole and Does possesses are
 5
6    confidential and proprietary. When determining whether certain information meets the definition of
                                                            1
 7   "proprietary" information within the terms of a contract. Courts rely on the terms of the contract
 8   itself See Ajaxo Inc. v. E*Trade Group, Inc., 135 Cal. App. 4'^ 21, 28 (2005) (relying on the
                                                            i
 9
     definition of proprietary information provided in the non-disclosure at issue in the case to determine
10
11   liability.) Defendants had in possession and extracted intelligence, and the vision from Plaintiffs

12   well-guarded and physically locked down Secret Documents and Proprietary Data. ^41 Id.
13       1257. Plaintiff maintains the following equation, which will explain his reasoning as to the
14
     granting of such injunctive relief
15                                                          j
16      1258. Each and every corporation is a "collective cybemetic organism," whereas when
     human intellect is acquired and entered into the cprporation through computational machines, the
17                                                          i
18   sum ofthe collective effort produces products, services, and profits. A vision Steve Jobs, Steve

19   Wozniak, Bill Gates, Larry Ellison and others have bestowed upon future generations, Plaintiff being
                                                            i
20   in that future generation. Where any human with capability can input their imaginative thought into a
21   computational machine, and on the other end, a result occurs. T| 42 Id.
22                                                   I
        1259. Whereas, in this Complaint, iHug, Lyft, and Uber were evolving separately in parallel
23                                                          I

24   organically, in separate markets, Uber and Lyft iii the Taxi Industry, and iHug in Healthcare
25   Transportation, between 2016 to present. ^ 43. Plaintiff established Uber and Lyft then crossed-lines,
26
     penetrating healthcare, while using Plaintiffs intelligence. This allowed Uber and Lyft to evolve their
27                                                     r
28   corporations "collective cybemetic organism" organically, while tortiously interfering with iHug's

     organic growth, that
             Adam John    endangers life of healthcare
                       Mackintosh—vs—Lyft,             patients,
                                            Uber, Andreessen, Joe, through   misconduct,
                                                                    John, Louis,             causing
                                                                                 Jerry, Logan, Ben, andirreparable
                                                                                                        Does
      Complaint for Unjust Enrichment, Endangerment of Life'j Corporate Sabotage, Unfair Competition Practices, Tortious
            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                           -^522-
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 611 of 825

 1   damages to Plaintiff and his company, iHug. Id. \
                                                             1
 2                                                           I


 3       1260. Joe, Louis, Jerry, Nicole, and Does possessed documents that fit within all categories

 4   of proprietary information and intelligerice from Plaintiff, all of which are highly sensitive and
 5 critical to Plaintiffs future, his Company, iHug's future, and the future for civilization. \ 44 Id.
 6
         1261. Moreover, any and all documents of Plaintiff, and his Company, iHug, remains
 7                                                           i
                                                             I
 8 confidential through Plaintiffs consistent protection efforts. They should remain protected from any
                                                      I
^9   further possession, use, or disclosure by Defendarits. Id., H 42 - 44 (emphasis added) Id.
10                                                           i
             SUB-I: Courts Regularly Grant Injunctive Relief Under These Circumstances
11                                                           I

         1262. Courts regularly enjoin Defendants from maintaining, using, disclosing, or otherwise
12                                                           I
13
     distributing misappropriated confidential and proprietary information, including unjust enrichment,
14
     and require that Defendants promptiy retum the information to the company and pay royalty. See,
15
     e.g., W. Directories, Inc. v. Golden Guide Directories, Inc., No. C 09-1625 CW, 2009 U.S. Dist.
16
17   LEXIS 52023, at *22 (N.D. Cal. June 8, 2009) (erijoining company's founder, who later founded a
                                                             I


18
     competing business, from "accessing any database or other elecfronic file originating from a
19
     computer or served owned by [plaintiff]... or accessing any physical records originated from files
20
     owned by [plaintiff]," and requiring defendant tolretum all such business information to plaintiff);
21
22   Mertill Lynch, Pierce, Fenner & Smith Inc. v. Chung, No. CV 01-00659 CBM (RCx), 2001 U.S.

23   Dist. LEXIS 3248, at * 19-20 (CD. Cal. Feb. 2, 2001) (enjoining former employees who copied and
24
     removed former employer's information before leaving the company from "using, disclosing, or
25
     transmitting for any purpose, including the solicitation of business or account transfers, the
26
     information contained in the records of [former employer]," and requiring "that all original records
27
28   and copies and/or other reproductions thereof, in whatever form, be retumed to [former employer]

     immediately"); Courtesy Temp. Serv., Inc. v. Camacho, 222 Cal. App. 3d 1278, 1292 (1990)
              Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Unjust Enrichment, Endangerment of Life'j Corporate Sabotage, Unfair Competition Practices, Tortious
     (enjoining  former aTrade
             Interference, employees     from using confidential
                                 Secret Misappropriation,            customer
                                                          Breach of Contract,    listsand
                                                                              Slander  andDefamation
                                                                                           related information
                                                                                                     of Character.that
                                                           -'523 - -
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 612 of 825

 1   they had misappropriated from former employer); Greenly v. Cooper, 77 Cal. App. 3d 382, 385-86,

2    395 (1978) (enjoining defendant's former employees from "using or copying certain lists of
3    customers obtained from plaintiffby defendants while employed by plaintiff and "using or copying
4
     certain of plaintiffs business forms and records"); see also ReadyLink Healthcare v. Cotton, 126 Cal.
5
     App. 4th 1006, 1010-11 (2005). The relief sought through this Application is reasonable and
6
7    necessary.

8           SUB-J: The Other Requirements for Injunctive Relief Are Met
9
            1.        The Balance of Hardships Weighs Decidedly in PlaintifTs Favor
10
         1263. Plaintiff, his Company iHug, and healthcare patients are being severely and
11
     irreparably harmed by Defendants, who are using Plaintiffs plans and improperly operating in
12
                                                            1

13
     healthcare.
14
         1264. Joe, Louis, Nicole, Jerry and Does actions to communicate directly and/or indirectly
15
     with Uber, Andreessen and Lyft, while providing login credentials into iHug's intemal systems, was
16
17 a real threat that harmed Plaintiff, and his Company, iHug. Defendants improperly executed on his
18   plans, causing the endangerment of life in healthcare. Defendants should be enjoined from operating
19
     in healthcare, as it endangers life in healthcare, and continues to use, evolve and profit without legal
20
     entitiement from Plaintiffs mtelligence. Patients in healthcare. Plaintiff, and his Company, iHug, will
21
     suffer risk, and severe and irreparable harm. ^ 45 Id.
22
23       1265. In contrast, any risk of harm that may be suffered by Defendants from issuance of an

24                 injunction will be extremely remote and modest, and even then, entirely of Defendants
25
                   own doing. It is well established in balancing the relative hardships that the Court must
26
                   ignore any harm that a Defendant has brought on themselves by their unlawful conduct.
27                                                          !
                   Morgan v. Veach, 59 Cal. App. 2d
28
         1266. Here, Defendants have no legitimate right to possess, use, or disclose Plaintiffs and
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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        1   iHug's confidential and proprietary information.

        2          1267. Here, Defendants have no legitimate right to continue to evolve unjustly enriching
                                                                    I,
        3
            themselves, without reasonable royalty payment tp Plaintiff.
       4
                   1268. Moreover, Defendants are fully aware that this type of breach of the Confidentiality
        5
        6   Agreement would necessitate immediate injunctive relief, see Exhibit J, Lyft Sues Forrner Employee

        7   for "Breach of Written Contract, — Confidentiality Agreement, and Breach of Fiduciary Duty" ^ 46
        8   See exhibit on the next page. Id
        9
                   1269. Pictured on the next page and proceeding page. Exhibit J shows a complaint filed by
       10
            Latham & Watkins, LLC, based in San Francisco, Califomia at 505 Montgomery Sfreet, Suite 2000,
       11
       12 with the Superior Court of Califomia County of San Francisco, November 5, 2014 filed by the Clerk
       13   of the Court Mary Moran, Deputy Clerk, outlining the same allegations made herein against
                                                                         I




            / •
       14
            Defendants, Defendants claim against a former eniployer, substantiating Defendants have knowledge
       15
            of their actions.                                        j
       16
       17
       18   ,///
                                                                             !
       19
            ///
       20
       21   ///

       22   ///

       23
            ///
       24   i

       25   '///

       26   ///

       27
       28
            /// •
'///

'///                 Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                    LATHAM & WATKINS LLP
                         Jamies K. Lynch. Bar No. 178600
2                     SOS Montgomery Street, Suite 2000

3
                      San Francisco, CA 941M -6538
                      (415) 391-(>6dO/ (415) 395-»095 Fax
                      Jim. lynch & tw.cqm
                                                                                 F I           ^SltqlJ^orrta^
                                                                                               of San nvncisoo

4                       Jeniufer L. Barry. Bar No. 228066                               NOy 0 5 2014
                      12670 High Bluff Drive
                      San Diego, CA 92130                                         ClfRKOFTHECOURr
5
                     .(858) 523^540) / (858) 523-5450 Fax                              I   f        deputy OefW
                     ietmifer.barry@lw;C(m
6
                          John M. Pierce, Bar No. 250443
7                     355 South Grand Avehiie
                      Los Angeles, CA 9(Xr71-1560
 8                     (213) 485.1234 / (213) 891-8763 Fax
                      john.pierce@lw.com
9                     Attomeys for Plaintiff
                      LYFT, INC.
10
                                         SUPERIOR CpURTiOT THE STATE OF CALIFORNIA
11
                                                      COUNTY OF SAN FRANCISCO
12
                      LYFT, INC.
                                                                                CGC'14-542554
13                                                                   CASENO.
                                        Plaintiff,
14                                                                   COMPLAINT FOR:

15                                                                   (1) BREACH OF WRITTEN CONTRACT -
                      TRAVIS VANDERZANDEN and DOES 1-                CONFIDENTIALITY AGREEMENT; and
                      10.
16                                                                   (2) BREACH OF FIDUCIARY DUTY
                                        Defendants.
17
18
19
20
21
22
23
24
25
26
27
28

            Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     Complaint for Unjust Enrichment, Endangerment of Life- Corporate Sabotage, Unfair Competition Practices, Tortious
           Interference, Trade Secret Misappropriation, Brealch of Contract, Slander and Defamation of Character.
                                                             -526-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 615 of 825
 1                             14          6.      For a preliminary and permanent injunction enjoining VanderZanden from any

2                              15 further breaches of fiduciary duties;
                                                                                  1.                                .   .   .
                               16
3                                          7.      For expedited discovery to allow Lyfi to ascertain what confidential and
                               17
                                    proprietary information VanderZanden has in his possession;
4                              18
                                           8.     For damages in an amount to be detennined at trial, inclu(Ung: actual damages,
5                              19
                                    compensatory damages, incidental damages, nominal damages and exen^lary damages;
                              20
6                              21
                                           9.     For an award of lost profits, VandeiZanden's ill-gotten gains or profits,
                                    disgorgement, restitution, and/or damages to be detomined at trial;
 7                             22
                                           10.    For prejudgment interest; and
                              23
 8                                         11.    For such other relief as the Court may deem just and proper.
                               24
9                                   ///
                              25
                                    ///                                           '
10                             26
                                    ///
                              27
11                                  III                                           i,        •
                               28
                                    ///
12
        LATHAM.WATKINS"
          A r r o w i i n AT LAW                                                       24         CONFIDL
13          OAN FRMCiteo
                                                                                                        BREAOl OF FIDUCI/ffiV DUTY
                                                                                                        B:

14
15
16
                                                   e
                                     Dated: November 5,2014
                                                                                       LATHAM & WATKINS IXP
                                                                                         James K. Lynch
                                                                                         Jennifer L. Barry
17                                                                                       John M/Pieice

18
19
20
21
22
         1270. To further and respectfiilly lay the foundation for injunctive relief, Plaintiff asserts as a
23
     result of Defendants knowledge of their unlawful conduct, Defendants preemptively ordered their
24                                                                                1
25
     legal counsel to write disclaimers in their SEC Sl Filing, in anticipation of this Complaint, stating:
26
               If we are unable to protect our intellectualproperty, or if third parties are successful in
27
               claiming that we are misappropriating the intellectual property of others, we may incur
28
                                                                                  I
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
           significant   expense and our business may be adversely affected. ^ 47
      Complaint for Unjust Enrichment, Endangerment of LifeJ Corporate Sabotage, Unfair Competition Practices, Tortious
            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                                               - 527-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 616 of 825
 1                   Further disclaiming: Companies in the Internet and technology industries, and other

 2          patent and trademark holders, including ["non-practicing entities, " ^ 48 (iHug's halted
 3
            operations)] seeking to profit from royalties in connection with grants of licenses or seeking to
 4
            obtain injunctions, ^ 49 own large numbers of patents, copyrights, trademarks, and trade
 5
 6          secrets and frequently enter into litigation based on allegations of infringement or other

 7          violations of intellectual property rights. We have and may in the future continue to receive

 8          notices that claim we have misappropriated, misused, or infringed upon other parties'
 9
            intellectual property rights. ^ 50 Furthermore, from time to time we may introduce or acquire
10
            new products, including in areas in which we historically have not operated, which could
11
            increase our exposure to patent and other, intellectual property claims. In addition, we have
12
13          been sued, and we may in the future be sued, for allegations of intellectual property

14          infringement or threats of trade secret misappropriation. Id.
15
                     Further disclaiming: "For example, in February 2017, Waymo filed a lawsuit
16
            against us alleging, among other things, theft of trade secrets and patent infringement arising
17
            from our acquisition of Ottomotto LLC. Iri February 2018, we entered into a settlement
18
19          agreement with Waymo."

20          Id Ex J, ^x.      t H 45 - 50 (emphasis added)
21
            2.       Plaintiff Has a Reasonable Probability of Prevailing on the Merits
22
         1271. Defendants have no basis for claiming any harm. Plaintiff and his Company, iHug
23
     have a Reasonable Probability of Prevailing on the Merits. If Defendant's wrongful actions are not
24
25   enjoined, Defendants will continue to benefit from their wrongdoing, continuing to unfairly compete,

26   using Plaintiffs competitive advantages against him, suppressing competition, that causes the
27
     reckless endangerment of life in healthcare and evolve their businesses using Plaintiffs intelligence.
28
     "No one can take advantage of his their own wrong." Civil Code § 3517. Because Plaintiff has
             Adam John Mackintosh—vs—Lyft, LJber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
      Complaint for Unjust Enrichment, Endangennent of Life^: Corporate Sabotage, Unfair Competition Practices, Tortious
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                                                           -l528 -
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 617 of 825
 1    established a reasonable probability that he will prevail on each of the claims alleged in the

 2    Complaint, Defendants wrongful actions should immediately be enjoined.
 3
             3.       Healthcare Patients, Plaintiff, anid iHug Will Suffer Irreparable Harm if an
 4
                      Injunction Is Not Issued.               |
 5
                                                               i-
 6
          1272. Defendants used Plaintiffs corporate secrets to evolve their businesses. The unlawful
 7
      actions taken by Defendants, fundamentally transformed their businesses organically, which has
 8
 9    allowed the evolution of new ideas, business models, and a clear path to profitability.
                                                              I,


10        1273. Defendants continue to threaten to cause, and has indisputably caused, irreparable
11
      harm to Plaintiff, and his Company, iHug.               !
12
      CONCLUSION
13                                                            i, ^
14
          1274. Notwithstanding Plaintiffs repeated actions to protect his highly secret proprietary
15
      information and plausibly, feasible and viable futuristic digital Ai healthcare system is evident.
16,
          1275. Defendants conduct creates the very strong inference Defendants are still unjustly
17                                                            i
18    enriching themselves while attempting to deport Plaintiffs Wife and wrongfully imprison Plaintiff
                                                              j
19        1276. The unlawful conduct and vile actions' taken against Plaintiff and his Wife, who nearly
                                                              I'
20    committed suicide are grounds to respectfully request such injunction and future injunctions.
                                                              !'
21        1277. Respectfully submitted and executed on July, 4, 2019 in Sacramento, CaUfomia.
22
23
24
25                                      Adam John Mackintosh,
                                                              I,'

26                                     /s/ Adam John Mackintosh //

27                                     Adam John Mackintosh (will seek admission pro hac vice, in pro per)

28

              Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Unjust Enrichment, Endangerment of Lifel,'Corporate Sabotage, Unfair Competition Practices, Tortious
             Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                            - ^29 -
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 618 of 825
 1               16. PREEMPTIVE MOTION TO STRIKE 1: TO PREVENT LOSS OF L I F E

 2       1278. Plaintiff respectfully moves to preemptively sfrike Defendants' legal pleadings to
3
     dismiss this Complaint, move to arbifration, make private, motion to conceal, and redact any part of
4
     this Complaint, and move to strike subpoena requests by Plaintiff.
 5
6        1279. Plaintiff argues that surface evidence substantiates allegations in all proceeding

7    paragraphs of this Complaint, and justifiable should spark an investigation by The United States

 8 Govemment.
9
         1280. To establish a foundation to grant Plaintiffs move for the proceeding preemptive
10
     motion to strikes, he proclaims, no state, govemment, and much less a corporation, and/or individual,
11                                                          i

12   shall deprive any person of their God given right to life, and liberty, see Nth Amendment \ U.S.
13
     Constitution.
14                                                          I



15       1281. Once envisioned by Thomas Jefferson and his fellow congressmen, who placed into

16   law the Declaration of Independence. One line strikes a chord with the Plaintiff, and it is at the heart
17
     ofthe Declaration oflndependence: "When a long train of abuses and usurpations, pursuing
18
     invariably the same object evinces a design to reduce them under absolute despotism, it is their right,
19
     it is their duty, to throw off such government, and to provide new guards for their future security."
20
21       1282. Plaintiff contends Defendants have much less power than Govemment, and by way of

22   Defendants inherent culture, Defendants are actively infringing on American's God givenrightto
23
     life, liberty, and privacy.                            '
24                                                          r
         1283. Defendants infringements on our God|given right to life, liberty and privacy, lays
25                                                          i


26   the foundation to grant all proceeding preemptive motions to strike.

27       1284. Plaintiff is fighting for himself, his Wife, iHug, and in spirit, irmocent
28
     healthcare patients, wheelchair bound and disabled Americans, senior citizens, drivers, entrepreneurs,

     the United States
             Adam  JohnofMackintosh—vs—Lyft,
                          America and our God   given
                                             Uber,     right toJoe,
                                                   Andreessen,   life, andLouis,
                                                                    John,  liberty.
                                                                                 Jerry, Logan, Ben, and Does
      Complaint for Unjust Enrichment, Endangerment of LifeihCorporate Sabotage, Unfair Competition Practices, Tortious
            interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                          -^30-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 619 of 825
 1          L    INFRINGING ON OUR GOD GIVEN RIGHT TO L I F E :

 2       1285. Relationship, Circumstantial, Financial, Hemodialysis Adherence Measures, Medical
 3
     Analysis, and Forensic evidence establishes, the iiiherent and anticompetitive taxi practices
 4
     Defendants engage in, while in the heat of competing, (incentivizing Drivers not to drive for
 5
     competition,) and pay Drivers $5 to cancel on rides, endanger lives of terminally-ill patients in
 6
 7 healthcare, in particular dialysis patients, creating poor adherence to hemodialysis treatments,
 8 thus increasing toxin levels of innocent patients' blood sfreams, which can lead to death.
 9
         1286. While Plaintiff respectfiilly executed on his $ 1,200,000,000,000 trillion-dollar
10
     healthcare opportunity that was gifted to him frorn God, Defendants maliciously and tortiously
11
     interfered, in particular, sabotaging iHug's Drivers so they would cancel on and make themselves
12
13   unavailable for iHug patients. These inherent and anticompetitive taxi practices endanger

14 innocent lives in healthcare. Pictured below on the left, Monica a driver who loved iHug, and
15   transported terminally-ill patients, suddenly kept cancelling and making herself unavailable, after
16
     Uber, Lyft, Louis, Joe and Does, manipulated her. Pictured below on the right, Louis and Monica.
17
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             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
      Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices, Tortious
            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                          -531-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 620 of 825
 I      1287. Pictured below, as a result of the anticompetitive taxi tactics, slander, and incentive

2    from Defendants, Drivers stop responding to patient requests for medical transportation.
3
        1288. Plaintiff had no option but to drive the, patients himself, in particular, Vivian, who
4
     nearly missed her appointment as a result of Defendants actions. She's a dialysis patient who needs to
5
     attend her blood-transfusion appointments three times a week, in order to stay alive.
6
7       1289. Even more vile. Defendants attempted to deprive Plaintiff of his vehicle, to ensure

8 Vivian and other patients would miss their life-saving appointments. Where, months later.
9
     Defendants successfully stole Plaintiffs vehicle.
10
11
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             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                          - 532 -
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 621 of 825
 I      1290. Even more dangerous, a leaked, intemal email from an Uber employee, who pled for

2
3
4
•5                     Uber Got Off the Hook for Killing a Pedestrian
                                                               -   I
                                                                         •
                       with its
     stringent safety measures,   Self-Driving
                                was               Carby Uber Executives, consequently resulted in the
                                    ignored for weeks
6                       By Aiigie Schmitt Mar 8.2019 49 •!!!

7    death of a human life, when it could have been prevented.

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                        , >ri i 'vR'^.'rjr, v^M Ci f M'Ts •:':/(-( 1ST'
15
16       1291. In an interview with Lyft Co-Founder, John, he was asked about his own self-driving

17   vehicle program, in light of the recent death, caused by Uber's self-driving vehicle. John showed

18   little remorse for death of a human life, and stated, "We need zoom out and understand why
19
     companies are doing this," continuing to excuse the reckless behavior and death, using the general
20
     death rate of accidents in the United States, changing the subject, making it about Lyft and Uber. The
21
     interviewers paused in confusion of his answer.i
22
23
24
25
26
27
2«

             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
      Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices, Tortious
            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                               - 533 -
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 622 of 825
 I       1292. Whereas in this Complaint, Plaintiff arid his Wife experienced, witnessed, and

2 documented the indisputable evidence of the wrongdoing and damages caused by Defendants.
3
         1293. Plaintiff believes there has to be harsh penalties to control the misconduct as described
4
     herein, to include but not limited to, no regard for the law, and people's safety, which consequently
5
6 resulted in the death of a human life, and will continue to endanger American lives. Plaintiff argues
7 these are innocent healthc£U"e patients who are in their most vulnerable state in life. Some are
8 wheelchair-bound and disabled, who are being deprived of accessibility in transportation. No person,
9
     and/or corporation has the right to infringe on our God-given right to life.
10
         1294. Plaintiff maintains, that any and all reasoning, arguments, case law, and other "tools of
11
     law" Defendants' Legal Counsel may utilize, as they are more conditioned than Plaintiff in Law, in
12
13   order to defend against Plaintiffs' prosecution, is irrefutably outweighed by the fabric ofthe United

14   States of America, and our God given right to life, and freedom.
15       1295. As established in the Declaration oflndependence, written and signed by our
                                                            j
16
17   Founding Fathers, who believed whether by innate character, or the oath an Honorable Judge takes,

18   to defend our inalienable rights provided under the Declaration oflndependence. Local Laws, and
19   State Laws, or the weight of case law. Plaintiff prays that the Honorable Judge who will preside over
20
     this Complaint will grant his motions to preemptively strike Defendants motion to dismiss, in order to
21
     shield irmocent lives in healthcare from the Defendants.
22
23          2. INFRINGING ON OUR RIGHT TO PRIVACY:

24       1296. As proven in a case, GONZALES v. UBER TECHNOLOGIES INC, Case No. 17-cv-
25   02264JSC, and by an investigation conducted by New York's Attomey General, Eric Schneiderman,
26
     Defendants settled for unlawfully using their Hell Programs. Uber Forensic Investigator, Ward
27
     Spangenberg, stated under penalty of perjury in a declaration, "Uber's lack of security
28
     regarding its customer data was resulting in Uber employees being able to track high profile
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
      Complaint for Unjust Enrichment, Endangerment of Life,iCorporate Sabotage, Unfair Competition Practices, Tortious
            Interference, Trade Secret Misappropriation, Brea!ch of Contract, Slander and Defamation of Character.
                                                          - 534 -
             Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 623 of 825
 1       politicians, celebrities, and even personal acquaintances of Uber employees, including ex-

 2       boyfriends/girlfriends, and ex-spouses."
 3
             1297. These types of corporate behaviors, in particular, the use of Programs, infringe on our
 4
         right to privacy, which is protected by statutory law.
 5
                 3. INFRINGING ON OUR RIGHT TO FREEDOM: Defendants' ultimate goal for their
 6
 7 corporations, involves Americans giving up their vehicle, and use Uber or Lyft's apps. As Lyft
 8 challenges residents to give up their vehicle and use its platform. Plaintiff vsdll substantiate through
 9
         direct and circumstantial evidence, Defendants use. Hell Programs to track down his Wife to get to
10
         him. Plaintiff avers, after Americans give up their means of transportation, they give up parts of their
11
     i"freedom and independence," while exposing their privacy to Uber and Lyft's Hell Programs.
12
13 '         1298. Plaintiff asserts, the right to privacy refers to the concept that one's personal

14 ^information is protected from private and public scmtiny.
15   i
     I       1299. Where, Supreme Court Justice Louis Brandeis called it "the right to be left alone."
16   i                                    •                      '      '
         While not explicitly stated in The United States Constitution, some amendments provide some
17   i
     Iprotections. The right to privacy most often is protected by statutory law. For example, the Health
18   i                                            •
19 'information Portability and Accountability Act (HIPAA) protects a person's healtii information, and
     j
20 jthe Federal Trade Commission (FTC) enforces the right to privacy.
21   I

22           1300. Whereas in this Complaint, the preponderance of evidence establishes Defendants

23       violate FTC regulations. Plaintiff avers, this leads to higher securityrisks,theorizing, that in the event
24       any local, state or Govemment official who downloads and uses the Uber or Lyft app, it will expose
25
         tiiem to Hell Programs invading all privacy, at will by Defendants. This may constitute as a breach
26
         of National Security.
27
28           1301. This calls for swift regulation by the United States Government, separate from
                                                                 ]i
         this Complaint,
                Adam Johnprohibiting such behavior.
                          Mackintosh—vs—Lyft,            ij
                                              Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                              - 535 -
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 1          1302.   Plaintiff argues, that any and all reasoning, arguments, case law, and other "tools of

 2    law" Defendants' Legal Counsels may utilize, as they are more conditioned than Plaintiff in Law, in
 3
      order to defend against Plaintiffs' prosecution, is irrefutably outweighed by the fabric of the United
 4
      States of America, and our God given right to life, and freedom. As established in the Declaration of
 5
      Independence, written by our Founding Fathers, who believed whether by innate character, or the
 6'
 1    oath an Honorable Judge takes, to defend our inalienable rights provided under the Declaration of

 8 Independence, Local Laws, and State Laws, or the weight of case law. Plaintiff prays that the
 9 Honorable Judge who will preside over this Complaint will serve justice, fairly, swiftly and steadily.
10
            1303.   For all of the foregoing reasons, the Plaintiff respectfiilly requests that the Court issue
11
      an Order granting his motion to strike Defendants pleading to dismiss.
12
13    ///

14    ///

15    ///
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      ///
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26    ///

27
      ///                                                    '
28
      ///
               Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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              Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                            -536-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 625 of 825
 1               17. PREEMPTIVE MOTION TO STRIKE 2: TO PREVENT LOSS OF L I F E

2        1304. Plaintiff respectfully moves to preemptively strike Defendants' legal pleadings to
3
     dismiss this Complaint. Plaintiff expects it will be argued by the Defendants Legal Counsel, that his
4
     negotiation and settlement process was unreasonable, claiming it as unfair. Plaintiff argues, it has
5
6. become customary for Defendants Legal Counsel to motion complaints for dismissal without
7 concem. The allegations Plaintiff seeks to make part of the record herein, were caused by
 8 Defendants egregious and inexcusable actions, which have inflicted irreparable damages on himself,
9
     his company, iHug, and more seriously, his Wife, who nearly committed suicide as a result ofthe
10
     Defendants incendiary attacks. Plaintiffs Wife is an AustraliEui Native, YouTube Star and Social
11
12 Media Influencer, "Awesome Alanna" with 26,000,000 million active views and over 100,000 fans
13   whose life is mined as pictured below, causing her near death harm.

14                                                 i5r
15
16
17
18
19
        Evidence damages 1: https://vyww.dropbox.com/s/cqprkh61lcxma9i/enoughisenough.mov?dl=0
20
21          Evidence damages 2: https://www.dropbox.com/s/n6cl5od3wcf39fa/enough.mov?dl=0

22       1305. Awesome Alanna was hired by Disney to promote the Avengers, she was funny,
23
     charismatic, energetic, innocent, and a huge story teller where millions of fans view her videos.
24
25
26
27
28

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            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                          -537- •
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21       1306. The negotiations and settlement process established by the Plaintiff was firm, yet
22   lawful and fair, despite the incendiary damages that were inflicted on his Wife, and the infringement
23
     'on his pursuit of happiness, and all other violations against innocent healthcare patients, wheelchair-
24 j
25   bound and disabled Americans as stated herein.
26
         1307. Each and every allegation that gaveriseto this Complaint is substantive, verifiable,
27
     factual with reference to case law, and supported by direct testimonial and circumstantial evidence
28
     established without a formal discovery process, in which Plaintiff will engage in.
              Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
     j Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices, Tortious
     I       Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
     I                                                     - 538 -     •
            Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 627 of 825
 1               1. INFRINGEMENT ON OUR PURSUIT OF HAPPINESS - DECLARATION OF

2        INDEPENDENCE:
3
             1308. In particular, Plaintiff maintains, his very purpose in life is supported by the
4
         Declaration of Independence, in particular: ^^the necessity ofpursuing happiness [is] the foundation
 5
         of liberty. As therefore the highest perfection of intellectual nature lies in a careful and constant
6
 7 pursuit of true and solid happiness; so, the care of ourselves, that we mistake not imaginary for real
 8       happiness, is the necessary foundation of our liberty.''''
9
             1309. One of Plaintiff s greatest freedoms in life, is his pursuit of happiness.
10
             1310. As an American who was bom into poverty, and deprived of a formal education at a
11
         young age. Plaintiff exceled at only one thing, empowering and fighting for others, which requires no
12
13       education.

14           1311. Rather, it only requires the will to help others, while selflessly confributing to their
15       success, and wanting safety for those who can't protect themselves.
16
     I       1312. Plaintiff is representing himself, his Wife and others who are similarly situated in this
17
     i
18
     jComplaint, and in spirit, he is representing innocent healthcare patients who are in their most
19
         vulnerable state, wheelchair bound and disabled Americans who need wheelchafr accessibility, small
20
21       businesses, startups, entrepreneurs, innovators, senior citizens, drivers and the United States of

22       America.
23           1313. After the Plaintiff studied the Defendants recent growth in healthcare using his
24
         misappropriated $1,200,000,000,000 trillion-dollar healthcare opportunity, and his
25
         $25,800,000,000,000 frillion-dollar new digital Ai healthcare system particulars. Plaintiff realized the
26
27       Defendants failed to execute properly, endangering lives, medically injuring innocent dialysis, cancer

28       and other healthcare patients, on a daily basis through ertatic anticompetitive tactics, and a total

         disregardAdam
                   for the law.                             !
                        John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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                Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                              - 539-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 628 of 825
 1       1314. By disregarding the law, Defendants have violated the Consumer Protection Act

 2 ("CPA"), and the Federal Trade Commission Act ("FTCA") Anticompetitive Practices, which is
 3
     increasing mortality rates, and shortened life expectancy of terminally-ill healthcare patients, this is
4
     completely un-American.
 5
 6       1315. A majority of the allegation made in all proceeding paragraphs of this Complaint is

 7 serious, and factually argued. Defendants must understand the gravity of their willful actions.
 8       1316. The $ 1,200,000,000,000 trillion-dollar opportunity, is part of his grand plan that was
 9
     gifted to him from God, a fiilly digital and Ai healthcare system, to selflessly benefit the people of the
10
     world, not corporate America.
11
         1317. Plaintiff was in his "pursuit of happiness" to plan out how to empower every human
12
13   on earth to access healthcare, instantly at low to no cost through the power of software and

14 technology.
15
         1318. Plaintiff affirms the Defendants actions are made purely based on greed, power,
16
     hunger, control, and desire to dominate people's lives, a selfish, greedy and un-American desire.
17
     Plaintiff was not unreasonable in his request to settle this Complaint within 15 days. It was fair,
18
19   controlled, concise and presented in a well-articulated manner.

20       1319. Lastly, Plaintiff has every justification to set a reasonable 15-day settlement
21
     timeframe, as the Defendants, Joe, Louis and Jerry are running from settlement demands, and the
22
     court system to settle and face their vvrongdoing, in particular, Joe created a fake accent and refused
23
     to be served.
24
25       1320. Louis has also been instmcted by Defendants Legal Counsel not to answer Plaintiff,

26   and all other Defendants are capable of responding and negotiating a settlement.
27
         1321. Plaintiff maintains, that any and all reasoning, arguments, case law, and other "tools of
28
     law" Defendants' Legal Counsel may utilize, as they are more conditioned than Plaintiff in Law, in
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                          .- I54O -
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 1   order to defend against Plaintiffs' prosecution, is irrefutably outweighed by the fabric of the United

 2   States of America, and our God given right to Ufe, and freedom.
.3
             1322. As established in the Declaration of Independence, written and signed by our
4
     Founding Fathers, who believed whether by innate character, or the oath an Honorable Judge takes,
 5
     to defend our inalienable rights provided under the Declaration oflndependence. Local Laws, and
6
 7   State Laws, or the weight of case law. Plaintiff prays that the Honorable Judge who will preside over

 8 this Complaint will grant his motions to preemptively strike Defendants motion to dismiss, in order to
 9
     shield innocent lives in healthcare from the Defendants, stop and mitigate damages to his Wife, stop
10
     and mitigate damages to his Life, prevent continued unjust enrichment that's damaging iHug, and
11
     free his guaranteed right to "life, liberty and the pursuit of happiness," as established by the
12
13   Declaration oflndependence.

14           1323. Thus, enjoining Defendants unlawfiil infringement on his inalienable right to pursue
15
     happiness, protected by the Declaration oflndependence, will allow Plaintiff to finally re-channel his
16
     energy and intelligence to build on iHug, a God given vision, without having to defend against the
17
     unlawful tyranny of the Defendants.
18
19           1324. For all of the foregoing reasons, the Plaintiff respectfully request that the Court issue

20   an Order granting his motion to strike Defendants pleading to dismiss.
21
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23
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26   ///

27   ///
28
     ///                                                        '

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           Complaint for Unjust Enrichment, Endangerment of Life] Corporate Sabotage, Unfair Competition Practices, Tortious
                 Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                               -541 -
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 1                                   18. PREEMPTIVE MOTION TO STRIKE 3:

2                                  MOTION TO STRIKE - DAMAGE RIGHTS
3
         1325. Plaintiff respectfully moves to preemptively sfrike Defendants' legal pleading to
4
     motion to sfrike Plaintiff, and his Wife's right to damages.
 5
6        1326. Plaintiff and his Wife lived through every moment of the assault on them by

 7 Defendants. At one point. Plaintiff and his Wife argued to conclusion, they were "whistleblowers,"
 8 and under attack. She began fearing for their lives, having multiple breakdowns. Plaintiff reassured
9
     her, America will provide "liberty and justice for all." He states, he believes in and tmsts every
10
     Honorable Judge who has the power to serve justice.
11
         1327. Plaintiff avers each and every allegation is genuine and relevant to a timeline of events
12
13   that led up to Plaintiffs Wife nearly committing suicide.

14       1328. Plaintiff argues scientific, human instincts, and forensic analysis establishes, we all
15
     have a will to live. The will to live is an instinctual drive for self-preservation, this is almost always
16
     coupled with expectations for future improvement in one's state in life.
17
         1329. The timelines exhibited in this Complaint were outlined by Plaintiffs Wife, as she
18
19   lived through every premeditated attack. The Plaintiff and his Wife are deeply in love, and only spent

20   one day apart within a two-year time period since marrying. Plaintiff establishes:
21
                  1. The thought of the Plaintiff being wrongfully imprisoned for being gifted a healthcare
22
                      opportunity by God, to selflessly improve and safe lives;
23
                 2. The thought of healthcare patients not being able to book a safe lifesaving trip to their
24
25                    medical appointments as a result of iHug ceasing to exist;

26               3. The thought of Plaintiff losing years of his life he invested and dedicated to the
27
                      people;
28
                 4. The thought of her being deported back to Australia, losing her husband, the Plaintiff;
              Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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             Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                           - 542-
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 1               5. The thought of her being homeless and having no transportation; and

 2               6.   The thought of her having no future with the Plaintiff, were factual events, which are
 3
                      substantiated throughout this Complaint, orchestrated by the Defendants. The attacks
4
                      on Plaintiff and his Wife were so malicious, she wanted to take her own lifefromthe
 5
                      pain and suffering, and induced understanding there would be no future
 6
 7                    improvement in her state in life.

 8       1330. Based on fact, witnesses, testimonial, direct and circumstantial evidence and human
 9
     instinct, it's established the Plaintiffs Wife nearly committed suicide as a result of the Defendants
10
     willful and egregious actions. The very nature of this Complaint stems from actions that were
11
     unprovoked, unconscionable, and oufrageous. Their lives have been desfroyed at the hands of the
12
13   Defendants. Plaintiff vehemently argues without his wife, he would have had the same thought. The

14 actions taken against Plaintiff and his Wife are un-American, and punishable.
15
         1331. For all of the foregoing reasons and aforementioned arguments, case and points and
16
     substantial evidence exhibited throughout all paragraphs of this Complaint, Plaintiff asserts all facts
17
     weigh in his favor, therefore the Plaintiff respectfully requests that the Court issue an Order granting
18
19   his motion to strike Defendants pleading to motion to strike Plaintiff and his Wife's rights to seek the

20   following but not limited to:
21
                 1. treble damages
22
                2. punitive damages
23
                 3. substantial compensatory damages
24
25              4. unjust enrichment and actual damages

26               5. royalties in perpetuity
27
                6. investor damages
28
                 7. wage damages; and
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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 1                8. injunctive relief, in order to remedy all wrongdoing, compensate for damages,

 2    and prevent death in healthcare.
 3
          1332. Pictured below. Plaintiffs Wife, who's locked herself in her bathroom wanting to
4
      commit suicide, breaks down again as a result of Defendants actions and incendiary damages. She
 5
      might be deported as a result of Defendants coordinated attacks to harm Plaintiff, and halt iHug. She
 6
 7    grips her dress for dear life, as a result of the severe pain she's enduring.

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 1                 19. PREEMPTIVE MOTION TO STRIKE 4: PROTECTING DRIVERS

2        1333. Plaintiff respectfully moves to preemptively sfrike Defendants' legal pleadings to
3
     dismiss this Complaint. Plaintiff argues Defendants use brand power, cash, and droves of attomeys to
4
     hide behind constmctive tmst, established with Drivers, by tricking them to agree to their "Terms of
5
     Service," holding Defendants harmless from legal liability, while Defendants control drivers to
6
7 commit unlawful acts.
 8       1334. It's presumed the Defendants will exercise its constmctive tmst with its Drivers who
9
     are in a "business relationship," to request dismissal of this Complaint, based on their "clickwrap"
10
     Terms of Service Agreements with its Drivers.
11
         1335. In a case No. 16-2109 (1st Cir. 2019) Bekele-vs-Lyft Inc., Lyft motions the court to
12
13   dismiss the case, arguing the Driver agreed to Lyft's "cUckwrap" Terms of Service Agreement.

14          1. USING, TRICKING AND EXPLOITING GIG DRIVERS:
15
         1336. In particular. Plaintiff fijrther argues an offer was never made in clear plain text to the
16
     Driver. The Drivers instantly click on the "clickwrap" Terms of Service Agreement without
17
     consideration and proper competence and capacity of the law, in order to understand the Terms of
18
19   Service, making the agreement invalid under California Code, Civil Code - CIV § 1670.5. In more

20   recent events. Drivers were tricked by Defendants to "click on text," which forced them to agree to
21
     fight against the proposed law in Califomia, AB 5, that would give Drivers more rights and better
22
     treatment, this would upend Defendants business models, giving them motive to trick Drivers.
23
         1337. It's further established. Defendants frick drivers to hold Defendants harmless in Case
24
25   No. CJC-19-005032, involving the following but not limited to:

26               1. LaBorde v. Lyft, Inc., Superior Court of California, County of Los Angeles, Case No.
27
                     BC707667
28
                2. Seifu, et al., v. Lyft, Inc., Superior Court of California, County of Los Angeles,
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            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
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 1                                /. Case^No. BC7I2959                    : i;?

 2              3. Turrieta v. Lyft, Inc., Superior Court of California, County of Los Angeles, Case No.
 3
                     BC7I4I53
 4
                4. Talbot, et al. v. Lyft, Inc., Superior Court of California, County of San Francisco,
 5
 6                   Case No. CGC-I8-566392

 7               5. Olson, et al. v. Lyft, Inc., Superior Court of California, County of San Francisco, Case

 8                   No. CGC-18-566788.
 9
         1338. Defendants use misleading user interfaces and fonts to trick Drivers to agree to terms
10
     without understanding each provision. Wherein the aforementioned cases, the terms of service were
11
     not available. Based on arguments made by Plaintiff, Defendants are prohibited from exercising the
12
13   constmcted tmst it unlawfully enforced upon its Drivers through trickery, allowing Defendants to

14 exercise all provisions in the "clickwrap" Terms of Service Agreement, including but not limited to.
15
     Representations and Warranties, Restricted Activities, Intellectual Property, Disclaimers, Indemnity,
16
     and Limitation of Liability.
17
         1339. Thus, Plaintiff preemptively motions the court to strike down Defendants motion to
18
19   dismiss, under the premise Drivers actions are orchestrated by Defendants under constmctive tmst,

20   who have "common motive to collude," inexcusably violating the foUowing but not limited to:
21
     CaUfornia Comprehensive Computer Data Access and Fraud Act ("CDAFA"), Cal. Penal Code § 502
22
     Consumer Protection Act ("CPA"), and the Federal Trade Commission Act ("FTCA")
23
         1340. Anticompetitive Practices that has led to the increase of mortality rates, and shortened
24
25   life expectancy of terminally-ill dialysis, cancer and other ill patients in healthcare. Defendants will

26   continue to deprive its Drivers of their rights to hold Defendants
27
     accountable for its manipulation and trickery inducing Drivers who are under financial duress to
28
     commit unlawful activities as proven in all proceeding paragraphs of this Complaint.
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 I                     20. PREEMPTIVE MOTION TO STRIKE 5: TO F R E E DRIVERS

 2       1341.   Plaintiff respectfully moves to preemptively sfrike Defendants' legal pleadings to
 3
     dismiss this Complaint. Plaintiff asserts, the Defendants are using constmctive tmst with its Drivers.
4
         1342. Plaintiff possesses evidence that Defendants instmct Drivers, establishing
 5
 6 Employer/Employee relationship, see Dynamex Operations W., Inc. v. Superior Court, 4 Cal. 5th
 7 903, 916 416 P.3d 1, 7(2018).
 8       1343.   The Califomia Supreme Court's recent Dynamex test holds that a hiring entity can                  ^
 9
     prove that a worker is not an employee only if it meets three conditions:
10
             "(A) that the worker is free from the control and direction of the hirer in connection with the
11
     performance of the work, both under the contract for the performance of such work and in fact;
12
13           (B) that the worker performs work that is outside the usual course of the hiring entity's

14   business; and
15           (C) that the worker is customarily engaged in an independently established trade, occupation,
16
     or business of the same nature as the work performed for the hiring entity." Dynamex, 4 Cal. 5th at
17
     916-17.
18
19       1344.   Defendants will be unable to prove any of these three requirements:

20                   1. Its Drivers are not free from direction and control;
21                   2. Defendants Drivers are integrally involved with Defendants operations and was not
22
                     separate;
23
                     3. and the Drivers were not engaged in an independently established trade.
24
25       1345.   In short. Plaintiff has established as a matter of law based on undisputed evidence that

26   Defendants Drivers are employees under the confrolling Dynamex standard.
27
         1346.   Whereas under a handful of legal theories, courts have held employers liable for injuries
28
                 their employees inflicted on coworkers, customers, or total strangers.
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 1          1347.   Defendants might claim its Drivers are independent confractors, holding Defendants

 2 harmless, but under controlling Califomia law, its Drivers could not have been appropriately
 3
      classified as an independent contractor, and therefore an employer employee and business
 4
      relationship exists.
 5
            1348.   Whereas under a legal doctrine sometimes referred to as "respondeat superior" (Latin
 6
 7 for "Let the superior answer"), an employer is legaUy responsible for the actions of its employees.
 8             1. SUPRESSING DRIVERS FREEDOM OF SPEECH AND RIGHT TO
 9
                    PEACEFULLY ASSEMBLE:
10
            1349.   In particular. Defendants are infringing on Drivers rights tofreedomof speech,
11
      supported by the United States Constitution.
12
13          1350.   The First Amendment (Amendment 1) to the United States Constitution, prevents the

14    infringement on freedom of the press, and the right to peaceably assemble, adopted on December 15,
15
      1791, as one of the ten amendments that constitute the Bill ofRights.
16
            1351. Plaintiff avers Defendants use constmctivefrustas one means, and in another means,
1.7
      in particular, "secret," Facebook groups to act as a firewall, to inhibit or prevent Drivers from rallying
18
19    against Defendants, while at the same time, the Drivers were tricked into arbitration in the event an

20    action is taken.
21          1352.   When Drivers start to rally in "secret," Facebook groups, the "Admins," including but
22
      limited to Louis, Jennifer Herring ("Jennifer"), Juan Orjeda Jr. ("Juan") and others, they click on the
23
      Drivers' profile, comment, video, etc., and hide, delete, block, remove and suppress their serious
24
25    concem over shorting Drivers on pay, and other Driver rights.

26    ///

27    ///
28
      ///

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                                                                [- - •
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.1              2. CONTROLLING THE OUTCOME OF THE ABS AND SIMILAR BILLS

 2                  THROUGH TRICKERY AND ARBITRATION:
 3
             1353. In particular, to further establish a basis for granting Plaintiffs' preemptive motion to
 4
      strike, in current events. Plaintiff argues Drivers are further being manipulated by Defendants through
 5
      psychological and financial tactics to suppress the AB5 bill. The Califomia bill, known as AB5,
 6
 7    expands a groundbreaking Califomia Supreme Court decision last year knovm as Dynamex.

 8           1354. This is damaging to Defendants potentially costing their operations hundreds of
 9
      millions of dollars yearly. Defendants are intentionally taking approximately $80 - $92 from Drivers,
10
      paying them approximately $15 -$20.
11
             1355. Defendants want to demonstrate to Drivers how much they will make as an
12
13    "Employee," on a maximum "$15 per hour wage." This forces Drivers to vote against the AB5 bill,

14 substantiating Defendants control Drivers through manipulation and law, so that Drivers remain
15    independent under constmctive frust, holding Defendants harmless, removing any Whistleblower
16
      rights as an "employee."
17
      ///
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19    ///

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 1       1356. Plaintiff asserts the idea of controlling Drivers through arbitration in order to continue

 2 to operate through misconduct is willfiil. It silences the voice Drivers from peacefully assembling to
 3
     correct a corporation's wrongdoing, exploitation and engagement to create a "sweat worker," gig-
 4
     market. Pictured below on the left and right, an Uber driver receives only $15.32, while Uber took
 5
     $92.80 to stubbomly prove a point, in order to confrol Drivers actions.
 6
 7               <r Uber Partners Payments
 8
                   YouRecehAS
                                                                 Uber Receives
 9                 Base Fare                         $dS3
                                                                 Service Fee                           $8a75
10                 Distance (852 mi X                $550
                   $0,6450ATIO                                   Booking Fee                            $3.05
11                 ,Tirrie (15.70 min !<             $200
                   iOiZTS/nUn)
12
                   Surge                             $699
13
                   Total                            $1532
14
15       1357. Pictured on the next page below, you see the Plaintiff in his element. He saw
16   Drivers were also lured into the insurance scheme, and started fighting for them. Arguing with Louis
17
     that the Drivers are being used and abused, and we need to fix the issues in the industry, in particular
18
     the insurance exposures.
19
20       1358.   After Plaintiff started to see the exposures in the insurance, he started investigating,

21   and realized Defendants had hundreds of complaints from Drivers regarding high $2,500 deductibles
22   and Drivers who were not covered. Even more outrageous, as Plaintiff was psychoanalyzing Uber,
23
     and performed a SWOT analysis, forensic evidence establishes Uber is misappropriating $0.05,
24
     $1.00, $10, $25, $50, and in this Complaint, $89.75, and even $100's of dollars on a large scale,
25
26   amounting to hundreds of millions of dollars from Drivers to accelerate the autonomous program,

27   killing the very jobs that helped build Uber, defrauding Drivers, removing all driver involvement.
28       1359. Plaintiff argues this is why iHug's Rideshare Software is such an imminent threat to

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 1      1360. Defendants, gives them motive to stop him. iHug's Rideshare Software empowers any

2    school system, groups of mothers, college campuses,rideshareDrivers, hotels, casinos and other
3
     American establishments to sign up in minutes and build their own community based rideshare
4
     platform, removing Uber and Lyft from the equation. This allows people to use their imagination,
5
     resources, and income. It's time Uber and Lyft stop monopolizing, killing innovation, and
6
7    suppressing the American people. America empowers men, women and children, we do not and will

8 not suppress Life, Liberty and the pursuit of Happiness.
9
         1361. This substantiates Defendants, Louis, compromised Drivers, third-parties and other
10
     Does had motive, and were under instmction by Defendants to cause irreparable damages to the
11
     Plaintiff, his Wife, and iHug, while knowingly put Drivers, their cars, income and families at risk.
12
13                     Adam John                                             Wed. Nov 8, 2017,7:37 PM              ^
                       Luois we heed to fix this for drivers!
14
15
                       Adam John                                             Wed, Nov a, 2017, 7:38 PM         ^
16
17
18                     Adam John                                             Wed, Nov 8; 2017. 7:38 PM             ^
19                     Xhese drivers are being used andi abused.

20
21                     Louis Pritchett <loui^                                Wed, Nov 8, 2017, 7:46 PM
                       to Adam
22
                       Wow
23
24       1362. Plaintiff continues establishing the preponderance of evidence against Defendants,

25   asserting Defendants Headquarters, and Corporate Attomey's confrol Drivers, Louis and others.
26       1363. Drivers are told to rally against local, state and federal bills, who are told not to wear
27
     "Lyft" shirts, "uniforms." This is done at the detriment of the Drivers, enriching Defendants, while
28
     harming Drivers with lower pay, no benefits, improper insurance, and exploitation ofthe gig-worker.
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 1          3. CORPORATE ATTORNEYS INFLUENCE DRIVERS:

2       1364.     Pictured below on the left, Lyft Headquarters gives direction to Independent Drivers
3
     stating, "NO Lyft shirts please! Clearly treating Independent Contractors like employees in
4
     Califomia.
5
        1365.     In particular, pictured below on the right, an Independent Driver admits to being
6

7    controlled by Defendants corporate attomeys at Lyft Headquarters.

8
                                                                    2:17                                                               .III •=? I D '
9                           (9ie>6M>1S1S


                                                                        #
                             Tod^y 1:06 PM
                                                                                  Louis Pritchett > IN THE ZONE
10                                                                                [LYFT UBER]
         Llhe.-legidaMnis(^tl^                                                    June 28, 2017 • Sacramento • S)
11       }riras'pass*^.'^.Wc^
           Courts and it rhates it more difficuit                l ^ p ^ l ';jLouls'.Pritchett- 6.;;;; .] . '.          ;•'•-:••'"':     . '-;•'';'•;' -"j
12         for Independent contractors in the                     •nP^' r'Alibia L;Gonzalez,weimiss(ed:you^u^
           state to choose their own hours and                            jhbre'>:,v,,):l^'-ij^y-^i:
13         set their own schedules.
                                                                            2y     Like      Reply                                            ©!•
14
                                                                               •trAlicia LGonMlez.iJS                      - .- —ki'Jilii
15                           Today 3r3«-PM                                       jyi-had;hqldea-:^
16                                                                                 last year Rm #112 with lyft
          Hi Lyle! Sarah again w/ Lyft*s Public ^
                                                                                 l&cqrpprate: attbrney'sll^h^
          Policy team! Just a reminder that
17        lCMQRBO\flLflJsmlng we'll be                                           EiluniitpJ.thinki             \, \ .;,"'
          meeting (g> Chicory Coffee & Tea                                         2y Like Reply                   ^.3
18        {«31Jlth.St) In downtown Sac @
          8:J0AM before the rallyl Please                                         .Lo|jis;Pritchett^-6f:-^ •;*.;•••..
19        wear plain dothes (NO Lyft shirts                                      y We are winning this case
          please!). You can park @the                                              2y     Like      Reply                   '^V
20        Capitol Garage on 10th & L and we
          can reimburse! See you toinornmr
                                                                                  >Lpuis:Rritchett               'Jf.".^. 2::'%if::''\;
21        rooiBiog!
                                                                                   Alicia L Gonzalez did you read the
22                                                                                 coyerilettei-., This<is:|H^^
                                                                                   and Uber working together, you ^ ,^
23                                                                                 can be one or the other.
                                                                                   We aremal<irigiaichangeiihihe8K:'%:;
24                                                                                 rideshare cornmunity./Sta^^^
                                                                                   me and you'll get far ^ y          ; >
25
                                                                                   2y     Like      Reply                                         @J
26

27

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 1      1366. Pictured below, Louis controlling an "Independent Driver" to speak in favor of

 2   Defendants. This was an effort made in concert, so Defendants can continue to synonymously
 3
     monopolize the TNC industry, while lowering Driver pay.
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 5
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14
15                           % Louis pritchett is yvith. Paula Harris-Waltori and 6 others,
                                i b Aftmin iYesterday ki1:49 PM
16                       When you but here vyith K                    '^ant to nvilce #lyftLemcins
17                       Job well done
                         Kristy!                                         ''
18
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 1          4. UBER AND L Y F T BRIBE AND CONTROL DRIVERS:

 2       1367. To further establish a preponderance of evidence. Plaintiff possesses video testimonial
 3
     evidence, proving Drivers were bribed with cash by Uber and Lyft to be at the AB5 rally, to oppose
 4
     tiie AB5 biU for Lyft and Uber.
 5
 6       1368. The whistieblower, stated, "They're buying people." The man states. He's on the

 7   "Uber," roundtable. Further substantiating Uber and Lyft control drivers, who are under direction.
 8
 9
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12
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14
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16
17       1369. For all of the foregoing reasons, the Plaintiff respectfully request that the Court issue

18   an Order granting his motion to strike Defendants pleading to dismiss the case, in particular this
19
     section involving Uber and Lyft controlling people.
20
21
22
23
24
25
26
27
28

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            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
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 1                   21. PREEMPTIVE MOTION TO STRIKE 6: MOTION TO STRIKE

2                                         CONCEALMENT, AND REDACTION
3
         1370.   Plaintiff respectfully moves to preemptively strike Defendants' legal pleading to
4
     motion to sfrike, requesting concealment and redaction of parts of this legal document, under the
 5
6 premise that it should be leamed by America and beyond, that we must all act in good faith on behalf
7 of others, lift each other up, and follow our God given inherent instincts to do the right thing.
 8       1371. Plaintiff further asserts there's no justifiable reason to redact or conceal any part of
9
     this Complaint, as all proceeding pages of this Complaint are part of the genuine story about the
10
     assassination of iHug, a God given Company that was going to enrich the world, and help save lives.
11
         1372.   Plaintiff expects an argument will be made by Defendant's Legal Counsel, claiming
12
13   the photos, video, audio, witness details, screenshots, declarations, case law, and others evidence is

14   superfluous.
15
         1373.   Plaintiff argues the exhibited evidence throughout this Complaint is genuine,
16
     verifiable, relevant, and supports the very tmth as to the willful actions taken by Defendants against
17
     the Plaintiff, his innocent Wife, iHug, and otiiers who are similarly situated.
18
19       1374.   Plaintiff further asserts he has the burden of proof, per evidence code section 100-260,

20   in which empower the Plaintiff to gather evidence by all lawfiil means in order to prove the very
21
     allegations made throughout this Complaint are tme.
22
         1375.   The following evidence code give grounds to grant Plaintiffs preemptive motion to
23
     strike Defendants' Legal Counsels motion to conceal and redact any part of this Complaint:
24
25                   100. Unless the provision or context otherwise requires, these definitions govem the

26                   constmction of this code.
27
                     110. "Burden of producing evidence" means the obligation of a party to introduce
28
                     evidence sufficient to prove allegations in favor of one party or another's mling.
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 1                   115. "Burden of proof means the obUgation of a party to establish by evidence a

 2                   requisite degree of belief conceming a fact in the mind of the trier of fact or the court.
 3
         1376. The burden of proof may require a party to raise a reasonable doubt conceming the
4
     existence or nonexistence of a fact or that he establishes the existence or nonexistence of a fact by a
 5
 6 preponderance of the evidence, by clear and convincing proof, or by proof beyond a reasonable
 7 doubt.
 8       1377. The exhibited evidence presented throughout the Complaint is genuine, factual, and
 9
     Reasonable to introduce into the Court, the very accusation by Defendants' Legal Counsel that
10
     Plaintiff is presenting scandalous evidence, is groundless, as the very nature of the Defendants action
11
12 is scandalous. Furthermore, the Defendants actions were unprovoked, and in its entirety, unlawful.
13       1378. Yet again. Plaintiff is respectfiilly and diligently establishing the burden of proof

14 herein, as he believes there's probable cause, created by Defendants financial and competitive
15
     motives.
16
         1379. Lastly, every piece of evidence exhibited herein were gathered in its original
17
18 and genuine state, during the time Plaintiff, his Wife, iHug and others similarly situated were
19   maliciously targeted and attacked. It's reasonable, and justifiable to include such evidence.

20       1380. For all of the foregoing reasons, the Plaintiff respectfiilly request that the Court issue
21
     an Order granting his motion to strike Defendants pleading to the following but not limited to
22
     redaction, and/or concealment of any and all exhibited evidenced presented in the proceeding
23
     paragraphs of this Complaint. Pictured below, an assertion from the Uber-Waymo case proving such
24
25   concealment tactics are actively used by Defendants, settling to prevent investigations:

26              A. pestrtt'ctio.p;andi P p p ^ ^ f f l ^ of Records Using'Ephem^^
27
                    Claric and Hehlej^help^ implerhpt md 0ut^
28
            iand ^CTCtypted'-;tbtTim]^^         'SQjf^are,-;-jiiK                               'Wickr- .^GI0;„ tq:

             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
      Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices, Tortious
            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                          - 556-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 645 of 825
 1                    22. PREEMPTIVE MOTION TO STRIKE 7: MOTION TO STRIKE

 2                                         INSURANCE SCHEME REMOVAL
 3
         1381. Plaintiff respectfully moves to preemptively sfrike Defendants' legal pleading to
4
     motion to strike, removing section 6, subsection B, and subsection Bl - B4, the secret insurance
 5
     scheme that unlawfiilly suppresses competition and lured in Plaintiff from this Complaint.
 6
 7       1382. Plaintiff argues the Defendants' Legal Counsel will attempt to establish this section as

 8 being scandalous and superfluous, maintaining the argument, this section would disrupt the
 9
     Defendants' operation that offers transportation to the general public.
10
         1383. Plaintiff asserts based on his discovery with little resource, and the revelation that
11
     Defendants' inherent nature, endangers lives in healthcare through reckless anticompetitive practices,
12
13   paired with the fact that Defendants' master TNC insurance policy is inadequate for the general

14 transportation market, much less the healthcare industry as confirmed by an insurance agent.
15
         1384. It's established the harm and risk to life is greater, and outweighs any fathomable
16
     cause to grant Defendants' motions to strike.
17
         1385. In fact. Defendants inherent nature and culture is causing more harm than good.
18
19   Plaintiff possesses various testimonial evidence from a former healthcare CEO, who implies

20   Defendants are operating in healthcare vvithout proper licensing and/or insurances.
21       1386. Plaintiff affimis this constitutes as anti-tmst, by eliminating AMR, who has
22
     emergency medical responders, by replacing them with rideshare drivers who are not CPR certified
23
     and/or adequately qualified for healthcare, risking people's lives in the event of an emergency.
24
25       1387. For all of the foregoing reasons. Plaintiff respectfully requests the Court issue an

26   Order granting his motion to sfrike Defendants' plead to remove the insurance scheme section of this
27   Complaint.
28
         1388. Pictured on the next page below, an email from the former CEO.
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            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                          -557-
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 1       1389. This is one email of many in possession of the Plaintiff, in which substantiates

2 premeditated and willful anti-violations are in the works.
 3
         1390. Even more outrageous, if Defendants are successful in such anti-tmst violations, it
4
     would eliminate American Medical Response ("AMR"), a 27-year-old nationwide operation, that's
5
     safe, compliant, life saving and leads America.
6
7        1391. AMR provides and manages community-based medical transportation services,

 8 including emergency (911), non-emergency and managedfremsportation,fixed-wingair ambulance
9
     and disaster response.
10
         1392. Even more unconscionable. Defendants goal is to replace AMR and others alike,
11
     removing tens of thousands of emergency medical responders and providers who can save lives
12
13   during transportation, with Defendants rideshare drivers.

14       1393. Forensic evidence has established. Defendants are exponentially increasing mortality
15   rates in healthcare, and even increasing chances of a death in the event of an emergency during
16
     transportation, by usingridesharedrivers in healthcare, and not iHug's healthcare professionals using
17
     Plaintiffs Rideshare for Healthcare model.
18
19
20
                                          There was discussion about ellmoinating our NEMT contract with AMR and ProTransport and
21   utilizing Lyft, once they had that component. I am guessing they are expanding and with their brand power, can do this quickly. It will be
     interesting to see how Lyft handles the insurance side of things, as that virill be Important fbr healthcare organizations.
22
23
24
25
26
27
28

             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
      Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices, Tortious
            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                                    - 558 -
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 1                    23. PREEMPTIVE MOTION TO STRIKE 8: MOTION TO STRIKE

 2                   WRONGFUL IMPRISONMENT ATTEMPT OF A WHISTLE BLOWER
 3
         1394. Plaintiff respectfully moves to preemptively sfrike Defendants' legal pleading to
4
     motion to strike, removing section 6, subsection G, subsection GI - G5, conspiracy, and concerted
 5
 6 actions to wrongfully imprison Plaintiff who's a whistleblower from this Complaint.
 7       1395. Plaintiff argues the Defendants' Legal Counsel will attempt to establish this section as
8 being scandalous and superfluous, maintaining the argument that this section would disrupt the
9
     Defendants' reputation, and operations that offerfransportationto the general public.
10
         1396. Plaintiff vehemently argues Defendants' actions were orchestrated, and executed over
11
                                                            I


12
     a period of years, in an effort to wrongfiilly imprison him. Joe, Louis, Nicole, and Amy had no
13
     justifiable reason to engage in such heinous actions toframePlaintiff of a crime.
14
         1397. Plaintiff possesses direct evidence, instructions were coming from Defendants.
15
16   Such evidence is held by multiple parties who are keeping it confidential in the event PlaintifFs
     Life is threatened. The evidence will come to surface.
17
         1398. Plaintiff argues once Defendants leanied about his $25,800,000,000,000 tt-illion-dollar
18
19   new digital Ai healthcare system, and $1,200,000,000,000 frillion-dollar healthcare opportunity, it

20   created the ultimate motive for Defendants to engage in such unlawful conduct.
21
         1399. Additionally, once the Plaintiff discover and realize the gravity of the Defendants
22
     insurance scheme and the damages it causes on small businesses throughout The United States it was
23
     reported back to Defendants by Louis, where the attacks began to prevent Plaintiff and his Wife from
24
25   Whistieblowing.

26       1400. It would be the path to least resistance, as Defendants were under an extreme amount
27
     of pressure by investors, and the reality they could run out of cash and halt operation.
28
         1401. For all of the foregoing reasons. Plaintiff respectfully requests the Court issue an
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
      Complaint for Unjust Enrichment, Endangerment of Life.iCorporate Sabotage, Unfair Competition Practices, Tortious
            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
                                                          - 559-
           Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 648 of 825
 1   Order granting his motion to sfrike Defendants' plead to remove section 6, subsection G, subsection

 2   GI - G5 conspiracy, and concerted actions to wrongfiilly imprison Plaintiff who can inform the SEC
 3
     of this Complaint.
4
     ///
 5
     ///
6
 7   ///

 8   ///

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26   ///

27   ///
28
     ///

              Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices, Tortious
             Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
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                      24. PREEMPTIVE MOTION TO STRIKE 9: MOTION TO STRIKE

 2                  ALLEGED SECURITIES AND EXCHANGE COMMISSION OMISSIONS
 3
         1402. Plaintiff respectfully moves to preemptively sfrike Defendants' legal pleading to
 4
     motion to strike, removing section 6, subsection J, the real $1.2 trillion-dollar opportunity at IPO
 5
     from this Complaint.
 6
 7       1403. Plaintiff argues that on October 12, 2016, and in several other interviews pre-IPO,

 8 John proclaimed that Lyft was targeting the car-ownership market, stating, "Every year in the
 9
     United States, $2,000,000,000,000 trillion-dollars is spent on car ownership."
10
         1404. Whereas, per Lyft's Sl SEC filing, John, Logan and Ben, purposefully manipulated
11
     the statistic and stated, "U.S. consumers spend over $1.2 trillion on transportation annually," the
12
13   exact dollar amount as Plaintiffs misappropriated $1,200,000,000,000 trillion-dollar healthcare

14 opportunity, and his $25,800,000,000,000 trillion-dollar new digital Ai healthcare system particulars.
15       1405. Pictured below, the statistic found in Lyft's Sl SEC filing for IPO.
16
17
18       1406. Lyft CFO, Brian Roberts, stated post-IPO, Lyft is on "day one of a $1.2 trillion
19   market opportunity." When in fact, Lyft was already targeting the "car ovmership market," valued
20
     at $2,448,000,000,000 trillion-dollars, violating The Securities Act of 1933.
21
22               Brian Roberts — Chie f Financial Officer

23               Sojust-tb follow-Tub in terms dflthe qtiestion on the path to profitabijlty/^^Sre
                 ^X^SO^g^^JfejMiigl^^                                           announced a quarter
24
25       1407. For all of the foregoing reasons, in particular, intentional manipulation and omissions
26   to the United States Security and Exchange Commission, Plaintiff respectfully requests the Court
27
     issue an Order granting his motion to strike Defepdants' plead to remove section 6, subsection J, the
28                                                           j
     real $1.2 trillion-dollar opportunity from this Coniplaint.
             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
      Complaint for Unjust Enrichment, Endangerment of Life,i Corporate Sabotage, Unfair Competition Practices, Tortious
            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
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 1                    25. PREEMPTIVE MOTION TO STRIKE 10: MOTION TO STRIKE

 2                 L Y F T INSURANCE FRAUD LEAVES TAX PAYERS FOOTING THE BILL
 3
         1408.   Plaintiff respectfully moves to preemptively strike Defendants' legal pleading to
 4
     motion to sfrike, removing section 6, subsection L, defrauding the people from this Complaint.
 5
 6       1409.   Plaintiff alleges Defendants knowingly used "ride requesf' algorithms Nationwide

 7 pre-IPO in order to inflatefinancialsand other valuated metrics in order to receive a higher stock
 8 valuation post-IPO. Plaintiff reverse engineered the scheme that gives light to a reasonable belief that
 9
     the allegation made herein should be investigated by the FBI, under the Whistleblower laws.
10
         1410.   Plaintiff further asserts, an innocent man was contacted by Inland Empire Health Plan,
11
     ("lEHP") in Califomia, funded by Califomia Department of Healthcare Services. He was accused of
12
13   booking and then cancelingrides.He claimed his Lyft account was hacked, whereas there was no

14   "credit card" added or used to book the rides.
15       1411.   Plaintiff proclaims the following, establishing a foimdation for an investigation by the
16
     United States Govemment:
17
                  1. Defendants used software to request rides using inactive/active accounts;
18
19               2. The ride requests were made using insurance plans and other intemal billable

20                    partnerships;
21               3. No credit card is billed;
22
                 4. Health insurance plans, funded by Califomia and potentially other states were billed
23
                      by Defendants;
24
25               5. Driver receives the request to pick up the rider;

26               6. Rider is unaware and fails to show;
27
                 7. Driver cancels on ride after 5 minutes, collecting $5 as a result of the rider being
28
                      unaware and creating a no show;
              Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices, Tortious
             Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
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 1               8. Driver eams $5, Defendants inflate their financials;

 2              9. Lyft, in particular, announces a self-imposed audit, disguising it and claiming it was
 3
                     performed to discover "equal pay," discrepancy, see Richard Jacobs letter in the case
4
                     Waymo-vs~Uber-Case#3:17-cv-00939-WHA, in particular, concealment/destmction
 5
                     of records;
 6
 7               10. Defendants then manipulates, conceals, deletes and adjusts intemal numbers;

 8               11. Defendants then delete the user accounts and all related evidence;
 9
                 12. Defendants omits to the Securities and Exchange Commission of its conduct;
10
                 13. Defendants announces an IPO with inflated share prices;
11
                 14. All parties involved with Defendants who had equity received billions of
12
13               15. dollars in payouts.

14      1412. Pictured below the media investigated, and couldn't connect the wrongdoing.
15
16
17
18
19
20
21
22
23
24
        1413. For all of the foregoing reasons, in particular, intentional manipulation and omissions
25
     to the United States Security and Exchange Commission, Plaintiff respectfully requests the Court
26
     issue an Order granting his motion to strike Defendants' plead to remove section 6, subsection L,
27
28   Lyft Insurance Fraud Leaves Tax Payers Footing the Bill from this Complaint.

             Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
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            Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
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 1                   26. PREEMPTIVE MOTION TO STRIKE 11: MOTION TO STRIKE

2                            UNQUALIFIED DRIVERS RISK LIVES IN HEALTHCARE
3
         1414. Plaintiff respectfully moves to preemptively strike Defendants' legal pleading to
4
     motion to strike, removing Plaintiffs allegations that rideshare drivers are risking people's lives in
 5
6 healthcare, calling the allegations groundless, outrageous and a superfluous claim in this Complaint.
 7       1415. Plaintiff contends his Company, iHug, was the Official Rideshare for Healthcare

 8 was eradicated by Defendants inherent nature. iHug was a mature, responsible and a full-service
9
     transportation option in healthcare.
10
         1416. Plaintiff vehemently argues Defendants are improperly executing on his plans,
11
12 endangering life in healthcare. Plaintiff avers his drivers were healthcare background nurses, medical
13   assistants, home aids and other professionals who purchased a starter kit from his Company, iHug to

14 keep it in their vehicle in the event of an emergency, who were CPR and basic life support certified,
15
     ensuring iHug was putting more lifesaving "rideshare for healthcare drivers" on the road. Plaintiff
16
     contents his Drivers were in tune with the following but no limited to:
17
     Excellent Customer Service                                     Passenger Assistance                              '
18
19   Excellent Communication Skills For Patients                    Defensive Driving - National Safety Council

20   Educated on HIPAA Privacy Requirements                         Vehicle Inspection
21
     Experience in Non-Emergency Medical                            Collision Reporting
22
     Wheelchair/Sfretcher Training                                  Risk Management
23
     Wheel Chair Safety Trained                                     Medic Ffrst Aid/CPR
24
25   Securing the Wheelchair Trained                                Adult First Aid/CPR

26   Securing the Occupant Trained                                  Basic Plus AED
27
     System Care & Maintenance                                      Spill Kit/Bloodbome Pathogens Training
28
     Hands-On Training                                        '     Mobile Technology
              Adam John Mackintosh—vs—Lyft, Uber, Andreessen, Joe, John, Louis, Jerry, Logan, Ben, and Does
       Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage, Unfair Competition Practices, Tortious
             Interference, Trade Secret Misappropriation, Breach of Contract, Slander and Defamation of Character.
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 1       1417.   Whereas Defendants Drivers are nol, and much less CPR certified. This calls for
 2   immediate injunctive relief to prevent the loss of a life in the event of an emergency.
 3
         1418.   This argument paired with the fact that Defendants Drivers cancel on patients on a
 4
     daily basis increasing riiortality rates, while operating in healthcare without proper licensing and
 5
 6 permits as implied by a former CEO of one of the largest non-profit hospitals in northem Califomia.
 7       1419.   Plaintiff argues this can be constmed as reckless conduct endangering life. Which is a

 8 very serious offence, that is laid in situations where a person recklessly engages in conduct that
 9
     places, or may place, another person in danger of death without lawful excuse.
10
         1420.   Plaintiff argues, case and point, in the event a healthcare patient stops breathing while
11
     Defendants rideshare driver is transporting a patient in healthcare, the patient will be deprived of
12
13   being attended by a medical certified professional who could save their life, jeopardizing life.

14       1421.   Plaintiff further contends these irresponsible, reckless and willfiil actions to engage
15   in healthcare without having healthcare professionals transporting patients, endangers life.
16
         1422.   Not only do Defendjants engage in such egregious action, while in the heat of
17
     competition. Defendants incentivize drivers not to drive for competition in healthcare, resulting in
18
19   missed medical appointments of dialysis, cancer and other terminally-ill patients, causing a 30%

20   increase in mortality rates. Defendants are risking lives for profit.
21
         1423.   When a dialysis patient misses an appointment, the blood toxins increase to dangerous
22
     levels, which could lead to serious illness, and even death.
23
         1424.   For all of the foregoing reasons, in particular, the reckless behavior of endangering life
24
25   in healthcare, and violations of local ordinances, insurances and lack of proper healthcare training to

26
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1   include but not limited CPR, and First Aid certifications. Plaintiff respectfully requests the Court

 2   issue an Order granting his motion to strike Defendants' plead to remove any and all allegations
 3
     stated herein, involving Defendants unsafe rideshare drivers in healthcare.
4
 5
 6
 7
 8
9                                    Adam John Mackintosh,
10
                                     fs/ Adam John Mackintosh //
11                                   Adam John Mackintosh (will seek admission pro hac vice, in pro per)
12
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                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 I                    27. PREEMPTIVE MOTION TO STRIKE 12: MOTION TO STRIKE

 2                        DEFENDANTS ARE EQUALLY AND UNJUSTLY ENRICHED
 3
         1425. Plaintiff respectfully moves to preemptively sfrike Defendants' legal pleading to
 4
     motion to strike, removing Plaintiffs right to damages for unjust enrichment and his prayers for 20%
 5
 6 ownership in Defendants businesses in form of shares, residual revenue share of 20% paid to him
 7 directly through Sfripe, reasonable royalty on any proprietary intellectual property and other
8 damages.
9
         1426. Plaintiff believes Defendants Legal Counsel will argue against Plaintiffs allegations,
10
     attempting to dismiss facts that Defendants unlawfully acquired Plaintiffs intelligence in form of
11
12 corporate secrets, calling the allegations weak and groundless at best.
13       1427. Plaintiff vehemently rebuttals such predicted Defense, laying the ground to grant his

14 motions using strong and indisputable direct written testimony from a Lyft and Uber driver,
15
     claiming as a matter fact, Defendants regularly fiiel its growth on misappropriated trade secrets and
16
     investor cash.
17
         1428. Plaintiff further substantiates his allegations made herein using historical, financial,
18
19   and case law analysis, which reveals Defendants growth is fueled by data (misappropriated corporate

20   secrets) and investor cash (massive losses) to fiiel the expansion of Defendants operations, thus
21
     Creating a parabolic "growth loss statistic," in particular, the insurance scheme outlined in section 6,
22
     subsection A supports such statistic.
23
         1429. Plaintiff simultaneously moves to preemptively strike Defendants legal pleading to
24
25   motion to strike, removing Plaintiffs allegations that relates to imjust enrichment, that Defendants

26   are the same operation, in particular, they use their Drivers, who are an integral part of their operation
27
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28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1   by tricking Drivers, who are under consfructive tmst, incentivizing them to infilfrate competition

 2    under the false protection of the brand power of Uber and Lyft, while handing off corporate secrets
 3
     to Defendants, holding Defendants harmless.
 4
           1430. Plaintiff attached an exhibit on the next page, a hand vmtten testimonial document
 5
 6   from a Lyft and Uber driver who described Lyft and Ubers operations as using a "circle of

 7   influence," to inwardly exfract corporate secrets from competition, while outwardly using the

 8 misappropriated corporate secrets as part of Defendants operations unjustly enriching itself, while
 9
     suppressing Drivers from whistieblowing who are under an arbitration clause, through trickery.
10
           1431. All allegations made in all proceeding paragraphs of this Complaint are not limited
11
     and made based on witness written evidence, audio evidence, video evidence, direct evidence,
12
13   circumstantial evidence^ relationship evidence, forensic evidence, case law analysis, whistleblower

14   testimony under penalty of perjury including the Defendants, common sense, feasibility, plausibility,
15   and reasonable belief. Plaintiff respectfiilly requests the Couit. issue an Order granting his motion to
16
     strike Defendants' plead to remove his rights to unjust enrichment damages, and all other damages.
17
           1432. For all of the foregoing reasons, in particular, alleged intentional manipulation and
18
19   omissions to the United States Security and Exchange Commission, Plaintiff respectfully requests the

20   Court issue an Order granting his motion to strike Defendants' plead to remove section 6, subsection
21   T, a window into the workings of anti-tmst violations.
22
23
24
25
     /
     ///




     ///
                                       • •- ,
26   ///

27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          - 568 -
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 I       1433. Pictured below, the whistle blower drew out the core operation of Uber and Lyft in

2    communities. The outer layers explain how trade secrets are misappropriated, how people are
 3
     influenced and bribed, and how profits are generated from such unjust enrichment without legal
4
     entitlement. You use an exponent within the circle of tmst who are with Uber and Lyft, to create
 5
     exponential growth. The scheme is called, "the circle of influence," which is applied to all business
6
 7 dealings with Uber and Lyft.
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                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1                  28. PREEMPTIVE MOTION TO STRIKE 13: MOTION TO STRIKE

2                     ALLEGED COVER UP OF WRONGDOING TO INVESTORS
3
                        AND THE SECURITIES AND EXCHANGE COMMISSION
4
         1434. Plaintiff respectfully moves to preemptively strike Defendants' legal pleading to
5
     motion to strike, removing Plaintiffs allegations that Defendants defrauded the people by booking
6
7    millions of fakeridesto inflate it's share value pre-IPO.

 8       1435. Plaintiff argues that Lyft's CFO is using the "multiple lines of business" excuse to
9
     reveal bookings data in order to obfuscate and omit the data to investors as its alleged "fake
10
     bookings," exist in the data that helped fuel their valuation pre-IPO as outlined on page 506 and 507
11
     of this Complaint, defrauding the people.
12
13       1436. Pictured below, Lyft is under investigation for its actions, and the actions taken by its

14   Executives and other personnel.
15
                            •—   'j   ^ ^ Q t k e f M / ^ f G h    '•''•Latest   Watchlist   Markets Investing   Barron's   Economy
16
17                               •     at mo
18                Lyftimiped
                  fir^pbgyif^OJgilaiite^                               MarketWatch reported that Brian
19
20       1437. Pictured below, Lyft's CFO states, investors just wouldn't understand it, where's its
21
     alleged, what he really means is, investors would find the fake ride data.
22
                  Lyft immediately stopped presenting its "Bookings" metric when it delivered Its
23
                  first post-IPO quarterly earnings report. MarketWatch reported that Brian
24                Roberts, Lyft's chieffinancialofficer, said that investors just wouldn't be able to
25                understand the bookings data since L ^                  beyond ride-halj|ng injtb
                  bikes and scooters j
26
27
                       Adam John Mackintosh—vs —Lyft; Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                                  - 570 -
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 1      1438. For all of the foregoing reasons, in particular, intentional manipulation and omissions

 2   to the United States Security and Exchange Commission and investors. Plaintiff respectfully requests
 3
     the Court issue an Order granting his motion to strike Defendants' plead to remove any and all pages
 4
     relating to defrauding consumers, investors, and The United States Govemment of this Complaint.
 5
 6
 7
 8
 9
10
                                     Adam John Mackintosh,
II
                                     /s/ Adam John Mackintosh //
12
                                     Adam John Mackintosh (will seek admission pro hac vice, in pro per)
13
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19
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27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                         -571 -
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 1                   29. PREEMPTIVE MOTION TO STRIKE 14: MOTION TO STRIKE

2                              UNFAIRLY TIMED LAWSUIT STRIKING FULL
3
                                 ENTITLEMENT AND RIGHTS TO DAMAGES
4
         1439. Plaintiff respectfully moves to preemptively sfrike Defendants' legal pleading to
5
     motion to strike, removing Plaintiffs rights to damages for unjust enrichment and his prayers for
6
7    20% ownership in Defendants businesses in form of shares, residual revenue share of 20% paid to

 8 him directly through Stripe, reasonable royalty on any proprietary intellectual property and other
9
     damages.
10
         1440. Plaintiff vehemently argues against Defendants defense that Plaintiff waited for
11
     Defendants IPO to file a lawsuit, as Defendants Legal Counsel will most likely argue.
12
13       1441. Plaintiff maintains the attacks have stopped smce Defendants have become publicly

14 traded companies. Recent investigation against Defendants have given Plaintiff breathing room to
15   draft this Complaint and start legal proceedings, respectfully asking an Honorable Judge to hear his
16
     Complaint, and decide on the appropriate actions with the powers given to them by God, The United
17
     States of America and our Founding Fathers, who set the foundation for our justice system.
18
19       1442. Pictured below. Market Watch confers Uber and Lyft are under investigation and work

20   synonymously.
21
                            =/! .MarketMhih                 0 Latest Watchlist .MOIkets Investing Bonon's Economy
22
                                                          s nnanciai presentation is more complex man
23                                     •3
                   Lyft Inc. and Uber Technologies Inc. say they are business rivals, but the U.S.
24
                   Securities and Exchange Commission had a lot more comments on Uber's
25                 business before both companies went public this year, in particular focusing on
26                 the ride-hailing leader's adjustedfinancialnumbers.

27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                            - 572-
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 1       1443. Pictured below, the epitome of Defendants synonymous operations.

 2
 3        Uber UBER, +0.00% and Lyft L Y R +3:88% filed draft registration statements,
          or S-ls, confidentially with the SEC on the same day: Dec. 6,2018. A federal-
4
          government shutdown delayed review ofthe dbctiments Into 2019, when Lyft's
 5
          5-1 was publicly released first, perhaps because the SEC had a much easier time
 6        with its presentation: Overall, Lyft had far fewer comments In general and four
7         rounds of comment letters in comparison to six for Uber.
 8
         1444. For all of the foregoing reasons. Plaintiff respectfully requests the Court issue an
 9
10 Order granting his motion to sfrike Defendants' plead to remove any and rights to damages from this
11   Complaint.
12
13
14
15
                                      Adam John Mackintosh,
16
17                                   /s/ Adam John Mackintosh //

18                                    Adam John Mackintosh (will seek admission pro hac vice, in pro per)

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20
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23
24
25
26
27
                       Adam John Mackintosli—vs —Lyft, IJber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                         - 573 -
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 1                    30. PREEMPTIVE MOTION TO STRIKE 15: MOTION TO STRIKE

2              DEFENDANTS PETITION FOR BANKRUPTCY AND AUTOMATIC STAY
 3
         1445. Plaintiff respectfully moves to motion dismissal of Defendants future bankmptcy legal
 4
     proceeding, in particular, petition for bankruptcy and automatic stay, under the premise Defendants
 5
     were willful, and malicious in thefr actions against healthcare patients, the Plaintiff, his Wife and
 6
 7   iHug, which has caused irreparable injury, and the reasonable beUef Defendants are purposefully

 8 stalling and evading Plaintiffs settlement, and any pending Utigation that will ensue.
 9
         1446. Its alleged. Defendants immediately skipped the courts and ran to a newly appointed
10
     United States Bankruptcy Judge for the District of Delaware. Fbr the record. Plaintiff asserts this
11
     Judge was swom in under oath, stating the following: " I do solemnly swear, that I will administer
12
13 justice without respect to persons, and do equal right to the poor and to the rich, and that I will
14 faithfully and impartially discharge and perform all the duties incumbent upon me as under the
15
     Constitution and laws ofthe United States. So help me God. " Its substantiated this particular Judge,
16
     signed up to Plaintiffs' software to investigate claims made about iHug, Plaintiff and his Wife by
17
     Defendants to the Honorable Judge. Its alleged Defendants are continuing to mislead Local, State and
18
19   Govemment Officials, slandering Plaintiff and iHug, claiming they operate unethically, further

20   claiming. Plaintiff and his Wife are frauds.
21       1447. For all of the foregoing reasons, in particular, alleged intentional manipulation and
22
     omissions to an Honorable Judge of the Disfrict of Delaware, Plaintiff respectfully requests the Court
23
     issue an Order granting his motion to strike Defendants' plead to motion for a petition for bankmptcy
24
25   and automatic stay of this Complaint.

26
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1                   31. PREEMPTIVE MOTION TO STRIKE 16: MOTION TO STRIKE

 2                                 A L L SECTIONS AND SUBSECTIONS HEREIN
 3
         1448. Plaintiff respectfully moves to preemptively sfrike Defendants' legal pleading to
4
     motion to sfrike, removing any and all sections of this Complaint.
 5
         1449. Plaintiff has legal grounds to have such motion granted based on all allegations,
6
 7 exhibits evidence and indisputable preponderance of evidence established herein, which proves
 8   beyond a reasonable doubt. Defendants played in part, or in whole, and engaged in wrongdoing as
 9
     described herein, and in all proceeding paragraphs of this Complaint.
10
         1450. Plaintiff respectfully asserts the violations, table of contents, inttoduction statements,
11
12 and all other proceeding parts the Complaint would not violate any number of evidentiary principles,
13   nor would it violate any human rights, or rights bestowed upon any part of this Complaint.

14       1451. Plaint maintains the allegations and exhibited evidence attached in this Complaint do
15
     not, in any way, establish an unfair trial by any means. The exhibited evidence and allegations made
16
     herein were established by the very actions of the Defendants.
17
         1452. Furthermore, the American People and the world need to know we should never
18
19   engage in this type of conduct, either personally and/or through any corporation, it's completely un-

20   American.
21
         1453. Plaintiff motions to strike. Defendants and/or Defendants Legal Counsel's motion to
22
     suppress and/or exclude Plaintiffs statements, exhibited evidence, substantiated scheme theories,
23
     circumstantial evidence, photographic evidence, testimonial evidence, audio, video and other
24
25   exhibited evidence that has been bestowed upon him by his Wife, whistleblowers, by chance, and by

26   God himself, acquiring said exhibited evidence directiy and/or indirectly.
27
                       Adam John Mackintosh^—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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                      32. PLAINTIFF'S GENUINE ATTEMPT TO SETTLE BEFORE COURT

 2       1454. Pictured below. Plaintiff drafts up a fafr settlement offer and sends it to Defendants,
 3
      where he received no response, contradictory to Logan and John's response to a Lyft Employee
 4
      whistieblowing that Lyft looked up locations of Mark Zuckerberg, and other high profile celebrities.
 5
                  3
 6                                          HIGHLY CONFIDENTIAL SETTLEMENT DEMAND
                  4
                                          FOR CONHDENTIAL SETTLEMENT PURPOSES ONLY
 7                5
                  6                            GALIFORNLfV EVIDENCE CODE SECTION 1154
 8
                  7                                                IMPORTANT:
 9                8                          ALL COMMUNICATION WITH ADAM MUST BE
10                9
                                               IN WRTITNG T 0 |
                 10
11
                 11
12               12
                            Adam John Mackintosh, Individually,

13               13         and On Behalf of All Others Similarly Sitiiated,
                 14                 Lyft, Inc., ("Lyft") Uber Teclmdlbgies Inc. and Uber Health, LLC ("Lfber") AH
14
                 15
                            Capital Managemeiit, LLC and Andreesen Horowitz ("Andreesen"), Corporaticms,
15               16
                                    Ben Horowitz ("Ben"), John ZimmerO'Iohn'Oi Logan Green("L(^ah'^, Josef Arvin
16               17
                            Acel)edo ("Joe"), Louis Damell Pritcfiett ("Louis"), Jeiiy Wang ("Jerry-'), Individuals.
                 18
17
                 19
18               20                 1. TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
19               21
                            This letter constitutes a. demand for compensationfromeach perscai or business listed herein,
                 22
20                          which is tttade pursuanttoiSections 1152 arid, 11.54 of (he Califomia Evidence Code.
                 23
21               24         As suchi this f.ettlement cannot be used to.proye tho validity of an allegation or any part of it

22               25        lhat gaveriseto liiis settlement demand.
                 26         Adam asserts, it's in Ihe best intetiest ofall parties, to amicably, resolve this matter otitside of
,23
                 27
                            Ihe Cotirt. All communications are td be made to the atwve-mentianed email address.
24               28
                                 Adam John Mackiotosb, and Tiber, Lyil, Andreesen, John, Logan, Ben, Jeny, Louis and Joe.
25                                             HIGHLY CONFIDENTIAL SETTLEMENT DEMAND,
                                                                          -1-
26
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangennent of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                                    - 576-
      Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 665 of 825



 1           1.                  •2. BWEF SUMMAJW

            •2         Adam's^lSopneta^^^
2
            ;3.
                       ,ernichii!g'tJber,',liytt,.Mdr,eeseri^^     Lpg;an,;Ben;J6iT^ Loins:md|Ipe,icaHsi^
 3
            4
                       irreparable damagesitohis cpmpai^'';
4           :5
             6         Joe; Loiiis,;arid Jerry breached theirafidudary diity
 5
            -7;        United tOiiiighlycQnfi^^
6
             8         seCTets,,(^05porate'W      sfcfetsfbusin^-plam
 7
            '9':
                       iittemy]sy^         cimtiaiiTing thpiK                                       :arid bthef data),
 8         10
                       includir^ a significaiitniimberof:iHiJg'sinost:s
9          li
                       irreparatlevdaraageSj resulttng ih indefinite revenue loss and damages to Adam's
10          12
            13         IranisporEatioii operatibn.
11
           14          Joe iand Lpuis: w                                       and; his imfis persdhailyv cailsing einqtipM
12
           15
                       aiid nientaliang^       Jbe arid lioius att^iqrted tp depbrt Ada^ s .Wife/whUe. slaMem
13         16
                       and;attenq)tiiig:tp fi^ne him of a crime. Tliis;\vas;an.a^^^               Lyft, ,ifXndre.esen, John,
14          17
                       Berij'and Lc^an to unlawfully take'Adam-s, nusai^^
            ll8
15
            19         unjustly enrich thenlselves.
16
           <20
17         m
18         m
19         -23
           •24
20
           25.
21
           .26
22         '27
23         '28-
                            'Adam'Jbhn.Mackmtosh,,and;Uber, LyA,yAndreesen,;Jo^^^ Jeny;^Louis,andJoe.
24                                       ;raGHI;YeQNFIDiENTML.SErrtEMEOTfr'EMA>ro. "
                                                                     -1-
25
26
27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                                 - 577-
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 1            I                                      4, LOSS OF E N J O Y M ^

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             •3
 3\                     below:
             4
4!                          I . Loss;o£eitiploymerii^ kdam gave up an opportmiity toiwprk with Goc^le ;tb bmld:
             5
 5^          6                   iHug:

 6           ,7,            2'i Loss bf^biiitytoperfGrm'athis ciiriejit;eiripioyer,-having tbprepare;^^^
             8
                                 jdeaMgM
             9
 8                          3^ Adam's Wife, a YouTube Star in Australia, smdjSpaM: M
            10
9                                ?26,000j0i30;niilhpriviewers aiid 10        ians,:sfopped;iiiaiarig^\;btiTi^ videos for,
            11;
10          12                           reasons.

            13:             4; iAdain and his Mfe's sleep patt6nis atfe,iitilkaithy, tg^                                times?a
11
            14
12                               ; i i i ^ djjfil tbcstr^i

13                          5j .Adam andj^^^                                                  depressiqii/andj
            16
14                          6 ; Adam and his ^yife c
            17

15          18                   -Lyft's,use bf''i3odMode'^ having;.already;&^

            19                   mestet^/ashik wife's
16
            20
                            7; Adam and his Wife have stopped cprnmunicating with their friends to remain safe.
17
            •21^
                            8: Adain,,aM ,Kis Wife;are:in c^
18          i22'
                            9- Adam and;his Wife suffer.firom anxiety;a^^
19          23;
            24              10. Adam and Hs Wife have lost IliOT
20
            :25             I I . Adam andvhis WifeTare; completely luiable               social events.
21
            :26             12.iAdknahd'lusMfe hia^                                                                     social hfdi.
22
            :27
                            13.,Adam,a^
23          28
                             Adam John Mackintosh, add Uberi Lylt,-;Aiidreesen,: Jo^,'I.;og            Louis'and Joe.
24                                         cfflGHLY ,CO^IFIDE^mAL SElTLEMENf DEMAjro
                                                                    -4-
25
26
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangemient of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                               - 578. .
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 1              1                                  5. PAIN AND SUp'ERING DAMAGES

 2!            2           Uber, Lyft, Andreesen, John, Lbg£UT, :Beii, Jerry, Loins md Joes' actions tbcJt a tdl on .
               3
, 3                        Adam's Wife, inflicting irreparable, emotional, and mental anguish, causing her to haye
               4
 4                          suicidal thoughts.
               5
 5             6
               7
               8
 1}
               9
 8 j!
              Id
 9[           11
1.0 I         12
                           https://www.drppbox.coiiVs/ndln7p3dii7jm7,4g/enough.mov?^
              13
                           https://wwvif:<ippbbx.c^^
              14
" !
              15                              6; REPAIR SUICIDAL ATTEMPTS DAMAGES

              16            You can never piit .a price on life. Life is one of the mpst predpus things in the universe, and
"i            i7    of existence. No person should be deprived of Life,.Liberty and Freedom.
              18
14 ;                        Based on the wiUflil actions taken against Plaintifi^ it has catised his Wife to want tP commit
              19
15 '                suicide. The ,^iamages to Plaintiflf's Wife has caused her to lose her iimocence in life, and this can
              •20
16            21    never be uridorie in oii lifetiiiiie: The daihages WCTC infU^^^^^^

17            22            ifi brder tp!attefhpt tp rep& such diimag'^, Adam is demaitdirig Uha &id Lyft to p^             his.
              23    Wife in Uber aind Lyft cotmriercials with past; current and ftiture celebrities such as Kiin Kardashian,
18
              .24
19                  and Demi Lovato, making Alarma-the brand mascot for Lyft, and Uber,much like Flo from
              25,
                    Progressive Insurance. -This' will be the beginning steps in apolbgizifig, and attemptirigito heal the
20            26
21            27 pain and siiffering, and permanent dkiriages caused by tlie iictions outlined herein.
              28
22
                                 Adam John Mackintosh. and-Uber, Lyft, Andreesen, Jdin,'L<^ani'BQi, Jeny, Louis and Joe.:
                                              fflGHi:YCONFroE^mALSE^^LE^dENT DEMAND.
23                                                                      -5-
24
25
26                      Adam John Mackintosh—vs ^Lyft, Uber, Andreessen Horowitz, and Defendants
27      Complaint for Unjust Enrichment, Endangennent of Life, Corporate Sabotage through Espionage, Unfair Competition
           Practices, Tortious Interference, Trade Secret Misappropriation; Breach of Contract, Defamation and Slander.
28                                                               - 579 -
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 1            1.                           7: INVESTOR ANDTEAM MEMBER DAMA

 2i           2'          Adaih isjseeMng^^                                fonn of 200xhis investors

 3            3
                          He's also seekir^ compensation for promised salary to fcaineT iHug teams members, which
              4
 4                        was subverted by Uber, Ly^fl,;And^eesen,;Jolm,'Logan, Ben, Jeny,,Loiiis and Joe as described
              5
 5                        herein. Adain is demandingmonetaiy damages ia foim 30 years of salary payout for each
              6
 6            7           team member; as listedih Siectibn 10:
 7            8                                                   8./PAYMENTS
 8            9
                          All pajroents Me to be^             check 6f cashier's che% and m                       throiigh the
             10
 9                        United States Postal Service to 10923 Progress Gt, Rancho Cordova, CA 95(570, made out tp
             11
10
             12           Adam John Mackintosh.
11
             13           Ali royalty payments are to be paid by Uber aind Lyft through Stripe'^ API, automaticaiiy
12           14!         traiTsferririg 20% p f M revenuie^
13           15
                          acd^lEp3PxEGg6E3yCbF                                        twpday rolling teisis,
14        . 16
                                                       9. SETTLEMENT CONTRAei
             17,
15
             18          Upon satisfection of the above-mentibned' obligatiQns outlined by each person and/or
16
             19          business, Adam wUl engage in additionaliand appropriafe agreements.
17
             20          This, coiitract beccraes f i ^ enforceable i j ^                    Tort and Gbntract Law after each
18          ,21
                         party, fuUy reads, understands, comprehends, agrees, sigiis arid notarizes this contract,
19           22
                         individually      a notary pubUc whp holdSiaiVaHd iiptary puUic Ucense in iCaliforiiia.
20           23
             24           In addition, the ccmtract can and wiU be iqjdated^ofevorAdarn, ,oigarricanyTO
21
             25          lawsintiieUnitedStatBsatanytime-inthe eventany provisions of this contract put him at
22
             26           even the slightestdisadvantage, and/or lower his'rncMietaiy entitlement and/or exclude trim
23           27
                          frorti ariy>aiid;iall, wl^
24           28
25                             Adam John'Mackiotosh, and Uber^^Lyft. AiidreeEen, John,"Logan; BCD^; Jerry; Loais and Joe.
                                             mGHLY CONITDENTIAL SETTLEMENT DEMAND.
26                                                                       -•6'-

27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                               - 580-
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 1           1          Uber; Lyft, Andreesen, John, Logan; Ben, Jerry, Loiiis aiiid Joe agree, any caselaw^

 2           2          ontissiph/ rrass-type, arid/or laick of strength of this'cbritract, caiiimd woU bei'i^idaite^d^^^^^^^
            3
 3                      time tofevorAdarn, as he and Ks^.W^
             4
 4                      Fliithemipre,;tlttS;signed contract along wi^^

 5           6          and/or business; will satis^ this demand

 6           7          Monetary Damage.

 7           8          AU parties agree tp.pay A d ^

 8           9          AU payrnen,ts are to be made by check pr cashier's check, aindinailedtottieaddress listed on,
            10
 9                      ;flie:firstpage of this setflement demand, made out to. Adam John Mackintosh;
            11
10                      AU-royalties and/or revenue shall be confirmed throu^ deposit verification with Stripe, and
            12
11          13          will include a firiaridd breakdown of mPiilhly deposits tto                      cbmmunicatioa

12          14          AU shafes;afe to be outiihed                                executedtobrokCTage a^^              pf each

13          15          partyiw^hovras harmed; ffi^
            16
14                      Non-Dispajpagement.
            17
15                      AU parties:^ee to sign the nonrdi^aiagement agreemerit attached.
            18
16          19          Cbnfidentialf^;

17          20          All parties;agriee this dbcumentis                                                                      and

18          21          has possession of it, agrees he or she wiU itot disd(Me tp-ariy^i^^                the atception of thdr
           11
19                      attomeys of reccffd.Tin1hennpre,^^^^                               agree, they will not use any ideas
            23
20                      piesentedhfirein by Adamtosettle this matter, fcr any purpose whatsoever.
           24
21         25           If you are not a partv to tiiis settlement demand, and vou inadvertentlv, receive this email, vou
22          26          are hereby ordered to destroy aU contents Viattun this settldnm^                     attachiedto anv
23          27          emaU systerii'or servCTS immediatelv.
24          28
                             Adam;John Mackintoah, andUber./LyilvrAhdreesen, Johni Logan, Ben, Jeny, Louis and Joe.
                                           HIGHLY CONITDENTLU. SETIXEMENTDEMAND.,
25                                                                     -7-
26
27
                     Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference;, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                               -581-
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 I            1          If you firid this settlement demand by chance oii any device, a^^^                 hot named herein,

 2            2          and/or not legal counsel to my patties ilMried herein, ybu eire askisd to desliby iinmediately,
              3          and pennanently delete it from the inbox. You are never to disdose the contents of this emaU,
 3
              4
 4                       and settlement demand, to any party, induding yoiir nejd of kin.
              5
 5                       Withhoidiiig Taxes.
              6
 6            7          AU paymdits made under this Agreement shall t« subjed to rediictiPn to reiQect taxes or other

 7            8          charges required to be withheld by law, artd'sucli reduction shaU be;paiid by Uber, Lyft,
              9          Andieeseri, , Jbhn, Levari, Ben, Jeny, Loiiis aiid Jbe.
 8
             113
 9                       Governing Law.
             11
10                       The vaUdity^ interpretation, constructibn and performance of this Agreement shaU be
             12
11           13          govdned by the liaws of the Stateiof CaUfomia; withoiit giving eff^^ to the principles bf

12           14          cbnflid of laws.

13           15          Succesamrs;and Assigns.
             16
14                       This Agreemerit vriU be biiiduig upon my heir^                    administrators and other legal
             17
15                       representatives, and my successors and assigns, and wiU be for the benefit of Adam, his Wife,
             18
16           19          and related fenuly.

1.7          20          Entire Agreieinenti

18           21          This Agrednent sets forth the ditire agreeriierit and imderst£mtog;between Uber, Lyft,
             22
19                       Andreesen, John, Lc^an, Ben, Jerry, Louis and Joe, and Adani relating to the subject rnatter
             23
20                       herein. No modification or amendinent to this Agreement, nor any waiver of anyrightsunder
             24
21           25          this Agreement; will be efiective by any party, ..with the excepltion> of Adam. AU other parties

22           26          will needtosubmit changes in ^"ritirig, and signed by all parties.

23           27
             28
24
                              Adam John Mackintosh. and Uberi Lyfi, Andreesen,.John; Logan, Ben, Jerry, Louis and Joe.
                                            fflGHLY CONBTOENriAL SETTLEMENT DEMAND.
25                                                                     -8-
26

27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          - 582-
       Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 671 of 825



 I           1           ADVIGE OF GpUNSEL.

 2           2           r.ACKNQWLEDGE THAT, IN EXECUTING THIS AGREEMEOT I HAVE HAD THE
             3
 3                       OPPORTUNITY TO SEEK THE, A D V I G E ; Q F LEGAL GQUNSEL, AND IHAVE READ
             4
 4                      AND UNDERST(30D ALL OF THE TERMS AND PROVISIONS QF THIS
             5
 5                      AGREEMEM          THIS AGREEMElvIT S H A L L NOT BE CONSTRUED AGAINST ANY
             6
 6           7           PARTY BY REASON OF THE DRAFTING OR PREPARATION HEREOF.
 7           8           Protection of Settleinent; Contract.
 8           9
                        AU parties agree that at aU time? .during, pr                         Relationship with each other, aU
            10
.9                       Parties will keeptiiismatter strictiy,confidential and wiU not divulge and.communicate any
            11
10                      part of this settlement contract, except for party'sown intemal use, on a.''need to know basis,"
            12
11                       to party's legal cburisd, for. an indefinite terrn.
            13
12          14          /Jl parties fiirftd agree      to caiisetiieteaiismissipn,removal or transport of tangible
13          15
                         ernbpdiriierits b£ ar 'eleclibriicfilescprita^^         settieiriient coritractfi:biriits prindpal place
14          16
                         of business, yrithputpripriwrittena^
            17
15
                        Any party may change its address for such conimuiucatibiis by giving notice to Adam in
            18
16
            19          writing to the; email and/or maiUiig addresses as listed above, in conforniity with ihis section;
17
            20           Based ontiliefact that Adam's M f e heaxly cpirimitt^
18          21
                        descnbed herein, Adam must be firm, lawful, arid fiiriwith the bdowrineritimed tiriielirie for
19         .22
                        settlement.
20          23
            24          ALL PARTIES HAVE UNTIL JULY                       2019 BY 5;00PM PST TO CONFIRM
21
            25          AGGEPTANGE OR DESML OFTHIS SE^^^
22
            26          EMAIL AT LEGAL@raUGHEALTH.G6M;
23
            27
24          28
25                           Adam John Mackintosh, and Uber, Lyfi, Andreesen, John, Logan, Ben, Jerry, Louis and Joe.
                                          .HIGHLY.CONFIDENTIAL SETTLEMENT DEMAND. '
26                                                                    .;9:.

27
                     Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1
            1          BN THE EVENT A L L PARTIES GHQpSE TO iSETTLE, A L L PARTIES HAVE
2
            2          UNTIL JULY 19. 2019 BY 5:00PM PST TO SUBMIT DETAILS OF THEIR
 3          3
                       SETTLEMENT OFFER TO ADAM;
4           4
                       ALL PARTIES HAVE UNTIL JULY 23. 20i9 BY S:OOPM PST TO FINALIZE
            5
 5
                       PAYMENT TO ADAMi.
            6
 6
            7          This setdement demand letter was signed on July 4,2019, by Adam.
7           8          AU l^ftiesMye iiritil M y 12,2019 at 5:po;;P.M. P,S;T. tp;respohd with their decision to settie.
 8          9

 9         10
                       If anv party fails to respond by July 12. 2019 at 5:00 PM PST.. tt will be considered a
           U
10
                        denial of settlement demand for all parittes and all offers and conlidentiaHty will expire
           12
11                     on July 12. 2019 at 5:00 PMTST. Adam will then have any and all rights to remedy tiic
           13
12         14           damages to the fullest extent njeticssary;
13         15
                       THE TIME LIMIT SET HEREIN TO'RESPOND. IS FAIR. REASONABLE AND FIRM.
14         16
                       BASED ON, ALL DAMAGES SUSTAINED.
           17
15
           18
16
           19
17         20

18         21
           22
19
           23
20
           24;
21         25
22         26

23         27
           28
24
                            Adam John Mackintosh, and Uber, Lyfi, Andreesen, John, Logan;'Ben, Jen^; Louis and Joe.
                                          HIGHLY CONEIDEOTIAL SETTLEMEfrr bEM.MsrD.
25                                                                  - 10-
26
27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1
                1                                       10. DAMAGl^ P
 2
                2,      Uber, Lyft, Andreesen, John, Logan, Ben, Jerry, Lpuis and Joe wUl jointly payJthe amount not
 3              3       less thanTwerity-Tlu-ee.BiiUonQrie:Hundred.Th^
 4              4
                        Dollars (|23,137,5b0,000.06) for punitive, general, special, exempliary^ and siibstantiial
 5              5
                        compensatory damages.
 6              6
                7       Uber, Lyft, and Andreesen, wiU grant Adaih, notless than 20% pwnership in each of thdr
 7 ii
                8      ;Coir5)ariies,inform of stiares at the cun:entmarket rate. The type of share will be negotiated
 8
                9       (voting or ;nori-votiiig).
 9             10
                        Uber, ariid Lyft, will pay, AdSm,"ri6t Less'thari 5p?fo
10             II
                        separate divisions, entities* and; other direct and/or indired operations that produce revenue; for
11             12
               13       Uber and Lyft;
12
               14       Uber, Lyft, Andteesen, John, Logem, B^^              Loiiis and Joe will jointly jay the amoimt nbt
1.3
               15
14                      less than IwelveiMilUbn &^^                                               2,750,000,00) foi: darriages,
               16
15                      toiHug's team wages.,
               17
16                      Jerry Wang wiU pay the amount not less lhari Girie Hmidred Eighty Thousand DoUairs ($186,066)
               18
17             19       for mbnetaiydamagesi

18             20       Uber, Lyft, and An&eesen win j p ^
               21
19                      andEighty thousand DoUars ($30;480,006:00) for iHug's investor damages in form of stock.
               22
20                      Type of stock wiU^be negotiated"(voting;or no
               23
21                      UTbei: and Lyft agree           to,aniw            with iHug, proclaiming iHug-as bdng the.Offidal
               24
22            .25       RidesKaj-eifcq: Headthcar
23-           .26       with iHug's Rider App; Driver App and Portal; TWs:will in turn; generate higher profit margins
24            „27
                        for all jjarties.
2'5            28
                                  Adam;John Mackintosh, andrUber, Lyfi. Andreesen, John; Logan/Ben, Jerry; Louis and Joe:
                                               imGHLYGONFIDiEimAL SEFIXEMENTDEMAND.
26                                                                       -11-
27
                         Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28      Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
           Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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             1     I' ptIbef,^aM
 2
             •2,      liiiiited.to, jGoyerrmient, HealthcfflrelLeaders, Automakers, and Insurance Prpyidsrs,: to set new
 3
             :3-
                     istandards ;aiid-Poii|pliano3 in-healthcare iianspoitatibn.rThis will j n tanT;;in3prove:Uber sand Lj^'s,
 4           •4
                      fleets, and am^fy safely nieasures-througto
 5           ^5;
                   » U]bCT, Lyft, Aiidi^ese^                                                                              affiliate
 6           6
             7       :party,,:aitities andjgoyerranerit:^^                         and desisrt.ftom targeting Adam and 1^^
 7
             8       'Wife..
 8
             9.
 9                 • Uber,,LyftiAiidreeseii,Jfofo^^^                                                      aridckastjin
            i'O
10                    mticiarijffetitive a^                                    afri^atie:eyd;ag^^
            ir
II                    iHug's brand, tdiiizing .Uher^a^ Lyft'S;API andfled;tiom                          transpprtation and
            i2
12          13       revenue foraUiParties.

13          14
            15                                                           Adfun; and; on behdf of his^ W
14                 I ^ Naime of Busirie^^^^
            16     of Compm                                              pftSrs^ifflMly^a            Executed oii,
15
            i7                                                           Jiuiyj 4i';26i 9 iniSWameri!tp,/Giiiliforiiia;
16          is
17          19

18                 Executed on Myi;           3a26 i9i;in

19
           .'22-
20
            23
21
           :24                                                           ; /sZ Adarajiohn'I^^
                   /a' Sigriature
22         ;2;5;
23          26
24         ;27

25          28
                               "ASam^JoiinMScKEto^^
26                                           raOHLY eONIaDE^^rIAL SETIliEWENT^DEMAi^
                                                                      - 12 -
27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference. Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1
             1                              11. NON-piSPARAGEMENT AGREEMENT
 2
             2          Each person, (''party'') agreiss tp the fpUbwi^
3            3
                        below:
 4           4
                        No Disparagement; party agrees that at aU times he is not tb demean or disparage Adam John
 5           5
                        Mackintosiij andAlanna Mackintosh or any asset, com{Mriy or entity he or she owns and
             6
 6
             7          anything related
 7
             8          Any;Cbmminiicatipn .Type ;,This rnearis any false;and/pr derpgafcry ex^                   including but
 8           9
                        not limited to verbal, writteri, or visiial, (ii) whether; orriotpreserved in any mediiim now
9           10
                        known or hereaftd discovered or invented, includirigbiit nof limited toaudip recording ofany
10          Ii
                        type, written texti, drawing, photpgraph, film, video, or electronic device, (iii) in anymanner
            12
11
            i3          or fonri; iricluding but not Urnited to any book, artide, memoir, diary^ letter, essay, speech,
12
            14          in.tewiew,.pandOT;rbiM                                           cartoon, radio broadcast, televisjon
13          15
                        brbadisast, yidep, mp\ae,;theatncai production, Iriteriiet website, e-riiail, Twittd tweet,
14          16
                        Facd)ook page,:or otherwise, even iffictionaUzed(iy) in any language, or (y) in any
15          17
                        country or other jurisdiction about Adam JohnMackihtosh, and Alianna Mackintosh.
16          18
            19          Resdution of Disputes.
17
            20          Gpvernirig Law; Jurisdiction aiid Veriue" This Agreernerit is deemed to haye been made iii the
18
           21
                        State, of (ilalifprnia, and any aridM perfdnnM^                    breacli hereof, or claiiris with
19         22
                        respect to the erifOTceabihty of this-^eement must be inbrprded and consti
20         23
                        the laws of the State of GaUfomia without regard to conflict of laws or rules appUed in the
21         24
           25           State of GaUfomia. You.hereby consent to exclusive pereonal jurisdiction and venue in the
22
           26           State of Califomia with respect to aiiy action or pi-oceeding brought with respect to tiiis
23
           :27
                        a^eeriierit;
24         28
25                           Adam Jobn.Mackintosh, and Uber, Lyfi,-Andreesen, John;Logan; Ben, Jerry, Louis and Joe.
                                           HIGHLY CONimifeNTIAL SETTXEMENPTDEKlAND.
26                                                                   -13-

27
                     Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangennent of Life, Corporate Sabotage through Espionage, Unfair Competition
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 I
             1         Afbitratioh; Withpuf lirmtirig Adim John Miickintbsh, and Alaiiria Mackiiitosh'srightto,
 2          2          cpminerice. a lawsuit iri a court of conipetent jurisdiction'iri t ^ State of Califoniia, arQ^ dispiite
 3          3
                       arising, under/cn: relating to this agreement may, at the sole discretion pf Adam John
            4
 4                     Maclantosh, and Alanna Mackintosh; be.subimtted to landing arbitiration in the State of
            5
 5                     CaUfomia pursuant to the rules for arbitrations ofthe American Arbihration Association,; and
            6
 6          7          you hereby agree to and wiU not contest such submissions. Judgment upon the aiward rendered

 7          8          by an arbifrator may be entered in any court liavii^ jurisdiction.
            9
 8                     PrevaiiUng Party Fees; Any court judgirie.nt or arbitratibn award shalliricliide an award of
           10
 9                     reasonable legal fees and costs to the prevailing party.
           11
10                     Interpretation, and Representation by Counsel; This agreementhas been drafted on behalf of
            12
11         13          the undersigned only.as a convenience and may riot, by reason of siich action, be construed

12         14          against the undd^igried, Each of tiie;partie       has had the oppbrtiirrityitb be and/or has
           15
13                     electedriottobe, represeiiled by;counseI, (ii) Ms reviewed each oftiie provisions in this;
           16
                       agreemerit carefiilly and (iii);has negotiated or has had fiiU ppportunity to negotiate the ternis
14         17
                       of this agreement You waive any clairiis that may be avaUable at law or in equity totiieeffect
15         18
           19          tiiat you did not have the ppportunity to so consult with counsel.
16
           20          Np Waiver, Neither Ihe failme or delay tp exerdse pne or more rights ,under tiiis agreement
17
           21
                       nor the partial exercise of £uiy such rights b^; deemed a renunciation or waiver of such
18         22
                       rights;oranyparttiiereoforiaffect^ in anyway, this agreemenf or any part hereof or the right
19         23
                       to exerdse, or fiirther exerdseiany right under this agreemerit or;at law or in equity.
20         24
           25          Penalty; In the event, any party breaches any component of this Non-Disparagement
21
           26          agreement. Party acknowledges and agrees.that it would be inapractical or exfremely difficult
22         27
                       to ascertain the toiourit of ac                         Jbhri;Mackintosh, and Alanria
23         28
                            Adam John Mackintosh, and Uber.Xyfi, Andreesen, John;Logan, Ben, Jeny; Louis and Joe.
24                                        mCHLY CONFIDENTIAL SEnXEMENT DEMAND.
                                                                   -14-
25
26
27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1           1         MackLntcBh. For this reaspri; Party agrees that any vidatiOT
 2          2          ^ovisiori of this Agreeriierit shall resiit in tlie iniposition of Uqiiidated daiiiages, iri the
 3          3          ampuntof Five MiUion; U.S. DoUars ($5-000,000-00)i iierieach occurrence, tp be paid by the
            4
 4                     off'diddtoAdamJohnMacldritoshj and Alanna Mackintosh, which represents the reasonable
            5
 5                     compensation based on Adam John Mackintosh, and Alanna Mackiritosh's reputation,
            6
 6          7          baisiness relationships,-business deiiirigSv futiire deals and Sale of inteUectual property.

 7          8          AU parties agreetiiatthe am                                       fair arid reaisonable ;arid wpiild ribt

 8          9          act as a perialty tb Party.,
           10
 9
           11
10                     Party agrees'to Adam John Mackintosh, and Alaim Maclontosh the legal authority tO;be paid
           i2
11         13          for any andiU Uqiiidated dariiages pertaiinrigtothis non-dispMagdnent cliitise; Survival; This

12         14          agreement ywU^sdryive indefinitely.
           15
13
           16
14                     Executed on July,         , 2019 in                                   .CaUfomia.
           17
15         18
           19                                                    is/
16
           20                                                   Party Signature
17
           2i                                                   /n/.                                     Yd/July        ,2019
18
           22
                                                                Pririt;FuU"Name                              Date
19         23
20         24

21         25
           26
22
           ,27
23         28
                            Adam John Mackintosh,.and Uber, Lyfi,; Andreesen,-John, Logan, Ben, Jerry, Louis and Joe.
24                                       HIGHLY CONFIDENTIAL SETTLEMENT DEMAND.
                                                                       - 15-
25
26
27
                     Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
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 1   Adam John Mackintosh
     (will seek admission pro hac vice, in pro per)
 2   legal@ihughealth.com
     10923 Progress Court.,
 3
     Rancho Cordova, CA 95670
4
 5                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6                                        COUNTY OF SACRAMENTO
 7
       Adam John Mackintosh, Individually,              Case No.: 34-2019-00261236-CU-BC-GDS
 8     and On Behalf of All Others Similarly
9      Situated,
                                                        DECLARATION OF ALANNA
10                                                      MACKINTOSH IN SUPPORT OF
                       Plaintiffs,                      PLAINTIFF'S EX PARTE APPLICATION
11                                                      FOR TEMPORARY RESTRAINING
               vs.                                      ORDER TO SHOW CAUSE REGARDING
12                                                      PRELIMNARY INJUNCTION
13     Lyft, Inc., Uber Technologies Inc.,
14     Uber Health, LLC, AH Capital                     Details:
       Management, LLC, Better Business
15     Bureaus, Inc., Benchmark Capital                 Judge: The Honorable
       Partners VII, LP, Benchmark Capital
16     Management Co. VII, LLC,
       Corporations
17                                                      Place:
                                                        Gordon D. Schaber County Courthouse
18     Ben Horowitz, John Zimmer, Logan
                                                        720 9th St.,
       Green, Josef Arvin Acebedo, Louis                Sacramento, CA 95814
19     Damell Pritchett, Jerry Wang, Amy
       Biddle, Matt Cohler, and Potential
20
       Does 10-500,                                     Courtroom:
21     Individuals

22                                                      Date Action filed: July, 4, 2019
23                     Defendants.

24                                                      Date set for trial:       /     /2019

25
26
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
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 1           33. DECLARATION OF ALANNA MACKINTOSH, IN SUPPORT OF PLAINTIFF'S EX

 2                  PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER TO SHOW
 3
                                  CAUSE REGARDING PRELIMINARY INJUNCTION
 4
         I, Alanna Mackintosh, under penalty of perjury state the following and believes it to be true and
5
 6 correct to the best to my knowledge:
 7          1455.   1 am in love, and happily married to Plaintiff, Adam John Mackintosh. He's a wonderful,

 8                  kind-hearted man that has been attacked due to greed, and I have suffered with him.
 9
            1456.   I was interrogated at my home and video-recorded during my immigration process. I was
10
                    also threatened to be deported. The entire immigration process made me feel like I could
11
                    be deported from the country at any second, taking me away from my husband.
12
                                                                                                 i
13
            1457.   I never in my life have beeri attacked or witnessed anything like this. I have never had to
14
                    live in fear or paranoia but I now do, due to Uber and Lyft tracking me and my husband.
15
                    My friends have tumed on me and my husband, claiming we are con artists, when in fact,
16
17                  we are innocent.

18
19   ///

20   ///

21   ///
22
     ///
23
     ///
24
25   ///

26   I//
27
     I                  Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   I Complaint for Unjust Enrichment, Endangennent of Life, Corporate Sabotage through Espionage, Unfair Competition
     I    Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander,
     i                                                    - 591 -
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 1       1458. Joe took me to Chipotle in the first week of August, 2017, where unbeknown to me, he

2                   had organized to meet with a Lyft employee. The Lyft employee stated that, "Lyft
 3
                    Headquarters are seriously talking about iHug," also stating iHug was a "red-hot topic
4
                    with Lyft Executives." As I was present, Joe immediately changed the subject to stop me
 5
                    hearing anymore and appeared proud of the Lyft Employee's statement, which seemed
6
 7                  odd.

 8                                                                ••OOO T-Moblle LTC        1:07 PM
                                                                                         TahoeiMike >
 9                                                                %|l^o%ei(1)j          - Active 2m ago.         % Da

10
                                                                                           12:35 AM

1,1                                                                        Yo what's up man, sorry you lost your
12                                                                         companion. It's tough I lost mine a few
                                                                           months ago had her for a,solid 17
13 ,                                                                       years

14                                                                                         12:59 PM
                                                                         , .^a   w~

15
16
17
18       T a h o e M i k e (Michael Popper Sanchez)
19                                              -•fiTT-p'-.


20                                   '^©3 .IP
            Add Friend     Follow   Message      More'
21
        m» 2 mutual friends: Nicole Jepsen and
22         Oustin Worswick
23      0      Studies Police Services at Sacramento                       A friend of mine just asked me whati
               City College (Official)                                     this is, I said I wasn't sure.
24
        B      Followed by 71 people                                       I don't want to speak on it for now
25
26
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1
2
3
4
 5
6
 7
 8
           1459. I am a witness to Louis repeatedly standing behind iHug team member's computers and
9
10                snooping around the office for information, irrelevant to his job description of "driver

11                recruiter."
12
           1460. I witnessed Louis pressuring Adam and iHug team members on multiple occasions for
13
                  details on the upcoming healthcare partnership.
14
           1461. 1 witnessed Mike, iHug's software developer after Jerry, get verbally abusive with Adam,
15
16                asking for more money and stating, " I would hate to see what happens." Immediately after

17                the threats, Adam changed all user access, blocking Mikefi-omdeleting the apps and API.
18
                  Mike's behavior was completely out ofthe blue and happened after he stayed with Joe at
19
                  his home.
20
           1462. I witnessed Joe taking thousands of dollars in cash from Adam, where I believe it was his
21
22                intention tofinanciallyharm him.

23         1463. Jerry also took thousands of dollars in cash from Adam and iHug and never delivered
24
                  working software.
25
     ///
26
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangennent of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1           1464. Jerry would have hour-long meetings with the iHug team, resolving no issues with the

 2,                 software. I believe it was his intention to gain intel on iHug as I saw him lift upflyersand
 3
                    search around the office for information, when he had no reason to do so.
 4
             1465. I saw an iHug team member sending Jerry photos of iHug's intemal systems, such as
 5
 6                  flyers, contact details, operational details and also photos of the setup at the office.

 7 I         1466. 1 overheard a conversation with Adam and an investor, where the investor had been

 8                  contacted by Joe after he left iHug. He also stated that Joe had told him that Adam had
 9
                    stolen his vehicle and had stolen millions of dollars from investors. Joe's statements are
10
                    completely untme, and I believe he wanted everyone to tum against Adam so iHug would
11
                    fail, and Adam would eventually be investigated, stopping iHug.
12
]3           1467. In Joe's house, 1 saw he had multiple stacks of iHugflyers,books and documents in his

14                  garage, when no iHug team members were ever meant to take material home.

'^           1468. 1 found iHug's material in the back of Joe's car, when he let my husband use his car. Joe
16
                    had compiled a list of notes and it was in a black folder.
17
             1469. Joe informed me that he has "people at Headquarters" that can remove his negative
18
19                      driver reviews on his app with a quick phone call to them

20           1470. Joe informed itie that he had "tight" relationships with Lyft and Uber I.T. guys
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28    i Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
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 I     1471. 1 have seen screenshots of Joe using fake Lyft accounts when driving for Lyft, where I

2                 believe Joe and other drivers have been paid through these fake accounts and have had
 3
                  negative reviews removed by Lyft employees. I believe this is why Lyft didn't reveal their
4
                  driver payouts to investors. You will see screenshots below of one of the accounts he
 5
                  used.
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                      Adam John Mackintosh—vs—Lyft, Uber, Andreessen Horowitz, and Defendants
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 1       1472. I saw a text from Joe to Adam, where Joe sent a photo of him watching another

 2               NEMT competitor. There was no reason for him to be watching a competitor while at
 3
                 iHug.
 4
 5                                                                       .Ill LTE K 3 '

 6
 7                                                   Joe Acebedo >

 8                                 Ok

 9
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11
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14
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19
20
                                   No...I'm watching
21
                                   The driver looks ghetto W
22
                                   Still waiting for request
23
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27
     \                  Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   j Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
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 1       1473. I witnessed Joe talking to iHug's office landlords. Soon after, the landlord raised the rent,

 2                eventually telling Adam he had to move iHug. When Adam was forced to move iHug into
 3
                  a new office, we invited Joe to come with us to the potential J Street office location. Joe
4
                  stayed behind to speak with the landlord and she changed her tune the next day and
 5
                  wanted nothing to do with Adam. I believe Joe was attempting to stop iHug from getting a
6
 7                new office to stop operation.

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10                                                     Joe Acebedo >
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16                                     Where the pictures? I wanna
                                       seeLExcited about it.
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18                                                  . sacramento;craigslist;orq

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19                                                         voutubt.^an


20                                     With separate rooms?,,

21                                                  Feb 2, 2018, 9:Rt PM


22                                    ' Headed to fifth Street now)

23
24
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26
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1          1474. While Louis was meant to be recmiting drivers, he would be outside with Joe, not helping

 2                  the company in any way. It seemed suspicious to the iHug team, as they commented on it

 ^                  a few times.
 4

           1475. I believe Shahla, one of iHug's investors, worked with Joe and Louis, who are

 g j                cormected with Uber and Lyft, in ah effort to deport me, and personally hurt my husband,

 7                  Adam. I have seen text messages threatening Adam that she would report me to the

 8                  Department of Immigration, where the fraud team was then assigned to my immigration
 9
                   case.
10
           1476. My immigration process to gain permanent residency was extremely stressful. 1 had
11
                    investigating officers come to my home, to prove I was really married to Adam. I had my
12
13                  interview recorded and "reviewed." My attomey stated, that my case seemed rare and

14                  unusual, and said they only come to the house, if there has been a tip regarding fraud.
15         1477. 1 was witness to a false private detective intimidate both Adam and I. He had a gun,
16
                   refiised to show identity, looked under the car covers of Adam's vehicles and left a
17
                   document with Adam, that police said was not a legal document Police said to call again,
18
19                 if we saw him.

20         1478. I was witness to my friend and roommate using the Lyft app on a regular basis. Within 20
21
                   to 40 minutes of my roommate coming home one night, police arrived at our door stating
22 "'              they received a call from her, claiming my husband, Adam, assaulted her. I was with

23                 Adam the entire night and he did not do this, as he was with me and on his computer all
24
25                 evening, helping his friend with his website. I believe our roommate lied to police and
26                 phoned them while on her way home. Adam still cannot press charges against Amy for
27 .,,
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 1                 falsely reporting a crime to police that night.

 2         1479. I heard one of iHug's investors state that Joe claimed Adam, "stole millions of dollars
 3
                   from investors." After Adam sent investors a video of me crying months later, that
4
                   investor called Adam the next day and was in a state of panic, stating, "who said Joe said
 5
                   you stole millions?" I believe this investor was threatened to retract his statement.
 6
 7         1480. I was witness to Juan barging into the iHug office in panic where he stated he wasn't okay

 8                 with what Louis was doing, and asked to privately speak with Adam. Joe mshed up to
9
                   "handle it" and sent Adam back to his desk to continue working. We never found out what
10
                   Juan wanted to say to Adam.
11
           1481. 1 was with Adam when he found his tmck window broken, and the tmck broken into. The
12
13                 only thing stolen was iHug documents and whoever broke into the vehicle, maliciously

14                 cut all the wires, ensuring it wouldn't be drivable. Joe suddenly said he had a friend who
15
                   could repair the window. I think Joe was part of the break-in, so Adam was forced to pay
16
                   out more cash to fix the vehicle and the window, intentionally causing Adam financial
17
                   harm.
18
19         1482. I was with Adam when we discovered Adam's trailer had been broken into. Adam's

20                 books, paperwork and a lock box of thumb drives and hard drives were the only items
21
                   missing after searching.
22
           1483. Adam's BMW was also broken into, where the only thmgs taken were iHug documents
23
                   and Adam's laptop bag.
24
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26 ///
27
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 1     1484. Joe had access to all iHug computers, documerits, safe codes where secretive documents

2              were stored during his time at iHug.
 3
       1485. Jim informed me that Joe called him, after he had left iHug and stated, "This conversation
4
               never happened." Jim seemed worried about family, as it sounded like a threat.
 5
       1486. As Joe kept pressuring Adam for money, and the company was being sabotaged, 1 became
 6
 7             extremely stressed. Joe even told people that Adam stole millions of dollars from

 8             investors, stole the vehicle, and Shahla was threatening to deport me. I couldn't stop
9
               worrying and stressing. This caused so much stress that my endometriosis flare ups were
10
               so painful and out of control, 1 was hospitalized multiple times from the pain, where I
11
               eventually had to have surgery.
12
13     1487. I witnessed iHug's drivers who were with Louis and Joe, cancel on dialysis and cancer

14             patients during iHug's launch month. Adam had to drive the patients himself and was so
15             devastated as he knew his vision was being attacked.
16
       1488. Adam and 1 went to Home Depot and put a lock on his office door after we found his
17
               mouse and keyboard had moved and his drawers were in different positions.
18
19     1489. When I was at the office, after Rafael went over iHug's partnership details, I saw Joe tum

20             around and give an evil smirk. He was writing notes on his phone and his behavior made
21             me really uncomfortable. Joe had previously told Adam he was "resigning" so we were
22
               confused as to why he showed up for the meeting that day. Mike Kim, Malcom and others
23
               were also acting very odd.
24
25     1490. I had to sleep in the car with Adam at one point because of Joe.

26     1491. Joe intentionally tried to make us homeless right after this, as the office landlord at
27
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 I                Sacramento Itm Way, informed Adarn and I, that Joe and his Wife had called her, stating
 2                we were sleeping in the office. I belieye this was a direct attempt to stop iHug, as a
 3
                  business caimot operate without an office to meet drivers.
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 1     1492. I witnessed Joe sending Adam screenshots of Lyft riders, specifically women he was

2              picking up. It was creepy.
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 I     1493. I witnessed David, Joe and other team members park in the wrong spots after Adam gave

2               clear instmctions to park in an open spot. 1 believe they were intentionally getting tickets
 3
                to hurt Adam and iHug financially, as they kept asking Adam to pay for the tickets.
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 1        1494. Veronica kept asking for Adam for cash, when she knew Adam had to spend it on iHug. I

2                believe she took $1,000.
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12
13        1495. Shortly after Joe and Ejay pressured Adam for $3,000,1 told Adam this doesn't feel right,

14               they have money. I witnessed Joe tell Adam to write "contractor pay," on the checks,
15
                 which I found very odd, as he was on equity only.
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 1     1496.   The actions from Joe, Louis, Shahla, and others affiliated with Uber and Lyft, have caused

 2             me to have extreme stress, to the point where I thought about committing suicide.
 3
       1497.    1 have no doubt in my mind that Lyft, Uber, Andreessen, Joe, Louis, Jerry, Ben, John,
 4
               Logan and others are behind the attacks on Adam.
 5
 6
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10                                                      Alanna Mackintosh,
11                                                     /s/'Alanna Mackintosh //
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 1                  34. PLAINTIFF'S WIFE PRAYS TO AN HONORABLE JUDGE FOR R E L I E F

 2           1498. Plaintiff realleges and incorporates herein by reference each and every allegation
 3
                     contained in the proceeding paragraphs of this Complaint as though fiilly set forth herein,
 4
                     asserts the following:
 5
 g I         1499. After the BBB's blatant negligence and contributory acts to allow Defendants to use the

 7                    BBB's customer review system, as a podium, to freely post False and Defamatory

 8                    Accusations and its Gist against Plaintiff and iHug, Plaintiffs Wife suffers mental anguish
 9

10                   and constant worry for her husband, and her wellbeing.
11           1500. After the Defendants Slander Plaintiff using the BBB's customer review system as a
12
                     podium, and claiming Plaintiff stolen millions, claiming he's afraud,whereas the investor

13   j               income statement only showed $240,000 with slight profits before being shut down,

14     !             Plaintiffs Wife suffers mental anguish and constant worry for her husband, and her

^^                   wellbeing.
16 ;
             1501. After the Defendants attempt to wrongfiilly imprison Plaintiff using millions of dollars in
17 ^
                     corporate cash, brand power, influence on local, state and Federal agencies, not allowing
18
19                   Plaintiff to prosecute the wrongdoers, Plaintiffs Wife suffers mental anguish and constant
20     j             worry for her husband, and her wellbeing;
21
       '     1502. After the Defendants attempted to deport her, and after reading the documentation from
22     '
                     the Immigration and Customs Enforcement Agencies disclaimer that her status can change
23   ]
2^   n                           Plaintiffs Wife suffers mental anguish and constant worry for her husband,
25    I              and her wellbeing.

26     ,     1503. After the Defendants instructed their Drivers to call and text her, harassing her,
27
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 1                 Plaintiffs Wife suffers mental anguish and constant worry for her husband, and her

 2                 wellbeing.
 3
           1504.   After Defendants mined Plaintiffs life, who's stmggling, and doesn't have a car to
 4
                   transport them to get groceries and other basic human needs, as she fears using the Uber
 5

 g                 and Lyft app, the cheapest option. Plaintiffs Wife suffers mental anguish and constant

 7                 worry for her husband, and her wellbeing.

 8         1505. After Plaintiffs Wife's attomey started acting nervous, asking Plaintiff and his Wife to go
 9
                   to his office where they can be tracked. Plaintiffs Wife suffers mental anguish and
10
11                 constant worry for her husband, and her wellbeing.

12         1506.   After Defendants have an Uber Software Developer and Driver sign up for Plaintiffs new
13                 rideshare software, in an attempt to sabotage and copy, Plaintiffs Wife suffers mental

14                 anguish and constant worry for her husband, iHug, and her wellbeing. Pictured on the next
15
                   page, the Developer from Australia, a country who has little to no laws that prevent
16
                   copying of software, a strategic move by Uber, and continued attacks by Defendants who
17
                   will attempt to suppress iHug yet again through unlawful activities.
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20 'III

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26 ///
27 ..
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangennent of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1
 2
 3
 4                                     Alex
 5
                                          iimeiine         ADOUT       rrienus          rnoios      more *
 6
 7             About
 8
          To see what he shares with friends, send him a friend request.
 9
10
          Overview
                                                 WORK
11
          Work and Education
12                                                   iBIfc Uber - Warrnambool
                                                           Driver - April 2019 to present
          Places He's Lived
13
14        Contact and Basic Info
                                                 ''''^MP   Software developer • January 2012 to 2019 • Warniarhbool, Victoria
15        Family and Relationships

16        Details About Alex
                                                 PROFESSIONAL SKILLS
17
          Life Events                            Computer Hardware • Database desjgn • Information technology
18                                               Programming

19
                                                 EDUCATION
20
21                                                                   Uhiversity
                                                           Batchelor cf Computer Information and Computing Sciences > Melbou
22
23     1507. After Defendants continue to prey on Plaintiff, and iHug, Plaintiffs Wife suffers mental
24             anguish and constant worry for her husband, iHug, and her wellbeing. Plaintiffs Wife
25
               continues to have mental break downs and constant worry. She continues to have dreams
26
               of sleeping in the car with Plaintiff when Joe kicked them out, sleeping in the office while
27
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 1             they were under corporate attack, having to undergo painfiil surgery to remove scar tissue,

 2             after continuing to stress, she's having severe stress levels that's causing her
 3
               endometriosis toflareup yet again, causing even more destruction to her intemal organs,
 4
               and lifelong irreparable injury to her body.
 5
       1508. Plaintiffs Wife begs and prays for an Honorable Judge to grant relief by the power of the
 6
 7             Courts, and grant Plaintiffs injunctions, preemptive motioris, and all other relief so she

 8             can start living a normal life, and stop stressing on the forthcoming corporate attacks as
 9             she and her husband, the Plaintiff were wamed by a whistleblower. Pictured below.
10
               Plaintiffs Wife broke down from the pain of her endometriosis, yet again, causing
11
               unbearable and excruciating internal organ pain and suffering. Pictured on the next
12
13             page. Plaintiffs Wife having to endure the pain of scar tissue growing on her interna!

14             organs including her heart, brain and lungs as a result of the continued engagement

15             on Plaintiff, iHug, and his Wife by Defendants, causing her severe stress, mental
16
               depression, anxiety and other mental issues. While she was in bed crying, she Googled
17
               will endometriosis cause personality changes, what you will read is genuinely damaging.
18
19
20
21
22
23
24
25
26
27
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 1     1509. Pictured below. Plaintiffs Wife is suffering, and will continue to suffer until an

 2             Honorable Judge Grants Plaintiffs Ex Parte Application, Injunctions, Preemptive Motions
 3
               and all other requests, forcing Defendants to cease and desist
 4
 5
 6
 7
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27
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 1     1510. Pictured below, Plaintiffs Wife's endometriosis is destroying her personality as a result of

 2             the severe stress caused by Defend£ints continued unlawful actions and engagement on
 3
               Plainfiff, iHug, and Plaintiff s Wife.
 4
                           •I':-' Verizon *?•            4:37 PM"               f 58% m    i- -f
 5                                                 • a ' endofound.org.
                           <
 6
                                How does endometriosis cause
 7                              personality changes?
 8
                                Endometriosis, specifically the pain and fatigue it
 9                              causes, shapes many women's attitudes, states of
10                              mind, and personalities. Women willfindthemselvies
                                having to miss out on the day-to-day activities and
11
                                events that normally, not only make them happy hut
12                             :also provide a healthy balance ih their life. Also,
13                              because the; pain and fatigue are real, it affects the
                                brain and can change its functions. It is not
14
                                uncommon for patients suffering from pain and
15                              fatigue to also battle with;mental health disorders
16                              such as anxiety and depression. These symptoms cian
                                cause a feeling of hopelessness that is unique to
17
                                endometriosis patients.
18
19                             Many women can also
20                             find themselves feeling
                               like they are not
21
                               allowed to have any
22                             outward signs of their
23
                               681'"
24                          ShHTKy


25                               Jamie's Post                             011048 0 13
26                                                       CoiTiment         .      Share
27
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 1     1511.   Pictured below, is a nonnal healthy intemal organ, below the picture of the healthy

 2             intemal order, is a severely damaged intemal organ as a result of severe stress of an
 3
               endometriosis patient; Substantiating, the Defendants willfiil sind egregious actions proven
 4
               herein and through all proceeding paragraphs of this Complaint have destroyed, and will
 5
               continue to destroy Plaintiffs Wife's intemal organs from the severe stress. There is no
 6
 7             cure for endometriosis, and the pain is described as having cancer with no treatment.

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27
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 1     1512. Pictured below on the left, is a normal utems. Pictured below on the right, is a severely

 2             damages utems as a result of severe stress. Plaintiff vehemently asserts, action must be
 3
               taken against Defendants immediately with no leniency. Plaintiff prays for a swift, speedy
 4
               and fair trial after an intense, arid proper discovery period, including usage of evidence
 5
               that arises from proceeding lawsuits against Defendants from their investors, assisted by
 6
 7             the FBI, SEC, DOJ and other Govemment Agencies. Plaintiff vehemently argues this has

 8             to stop, action must be taken. The Defendants are literally killing Plaintiffs Wife through
 9
               their willfiil and felonious actions described in all proceeding paragraphs the Complaint.
10
                                               Hayley Gordon
11                                             Wednesday at 1:43.AM: • ©

12                                Just because you can't see something on the outside
                                  doesn't mean it doesn't exiist. Saw this this morning
13                                that shows endometriosis in a picture. Picture on the
                                  left is a normal uterus, picture on the right is one
14                                removed as 'treatment' for endo. Raising ayvareness
                                  this March may help to put an end to the myth that
15                                endo is 'just normal period pains, everyone gets them'.
                                  Explains the crippling stomach pains. Unfortunately
16                                it's'not confined to the uterus and spreads all around
                                  the body, found in the bowel, nerves, lungs and even
17                                the brain.                '
18
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27
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 1        35. JACOBS LETTER SUBSTANTIATES PLAINTIFF'S COMPLAINT, PLAINTIFF'S

 2                    COMPLAINT AND EVIDENCE SUBSTANTIATES JACOBS LETTER
 3
         1513. Plaintiff asserts the Honorable Judge who presided over the Waymo-vs-Uber so
4
     intelligently allowed "only" certain parts of the letter to be redacted, whereas a majority was denied
 5
     in the event Uber continues to conduct itself as alleged throughout this Complaint, Plaintiff will have
6
 7   grounds to stand on. The Honorable Judge's work has allowed justice to fairly and freely ensue,

 8   allowing Plaintiff to piece the puzzle together throughout his Complaint using Jacobs letter as the
9
     truth has revealed itself. See Jacobs letter belov/, Waymo-vs-Uber-Case#3:17-cv-00939-WHA, dated
10
     05/05/2017.
11
12                 ; Re:   Richard; Jacobs Vi Uber

13                 :Dew;Ms. PadiU^

14                 During our connmuiiications: last we^ ypiifrequested that w make -ow
           Ibr an interview tO asssssiithe; scope        pii^ cUaSt's; a^^           thefects;su5)ipcMhg;jfti«^
15
           ijodicated to you that we did not intend ,to pToduce our client but that wc; woiild be H             to
16         piisvide addition^ infonnatira^^
17                 Specifically, you said that yon are ihterested iiiiiiUy ihvestigatihg^^^^t^^
18         obsiJiyed ait UbOTj&at h                                                                 inidicated tiiat
19         our cUent's asscitiipi)£

20         were of particular concern- That is because,tiiistjpe ofcondubt woidd be cOntimy • to your ow
           dii^ectiVss to ihauageisraifl                                                                  Finally,
21
           youfsaid that yoii wan^         tO'havelaLclm                            happehed tp.give.rise to our
22         cliOTt's employment:reliated^^^
23                 With this;;uhdOTtahdiiig ofw^^ yiauiarets^kiiiavW^^                                        We
24         begiti wifli a brief siiitimaiy ;;of Ric^^^      Jacobs' hjMkgrouhd .and^ ;e^^^^       fdlldwed by an
25         overview, of the or^nizational structure relevant to understanding .his experiences; This is

26
                                                                1
27
                       Adam John Mackintosh—-vs .—Lyft, Uber, Andreessen Horowitz, and Defendants
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                                     - . : :      --„-.-,:  T616 -
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 1          foliowed by a description of illegal conduct observed at tiie company or believed to be (kxurrihg.
 2          Incllided intiiisdescription is an identification of at least some of the civil and criminar laws
            believed to be violated and sufH^^^                          Uber's exposure and areas needing
 3
            inyestigation; The next isection piovidesin over^     of Jacpte' employinent expertehce, with a
 4          focus on the disclosures he made of illegal conduct.aiKl the retaUation he e^
 5
                   Our hope is that;tiiisihfonination^'^^^                      addressingtiieillegal conduct
 6          and resolving Jacobs- claims related to his employment.
 7            1.   Releyaot: Background
 8              A. Rkhard Jacobs

 9                 Plaintiff RichardTacobs served as Uberi'sNfati^ of Global IntelHjgehcefromN4arch 14,
10          2016, until he was unlawiuity; demoted on -Tebruary: 14, 2017, for raising' objections tO! and
            refusing to participate; in uniawflii activity. He was cohstructively terminated on April 14, 2017.
11
            Jacobs priiTiarily< w6riced;dirt; 6f Utj^                         I45S Maricet Street a^^ Uber's
12          SSS Market^Streetlcwation in San ;j^ra^
13                 Afier earning his Matu^
14          Jiacobs was recruited jiito ,the Defense Ihtielligence Agency. There, he worked in counter*
15          narcotics operations and^ studied; Colombian ^.counterdrug pwlicy. In these early years, Jacobs
            spent approximateiy 50 perceiit of his time betwelBh Cairtagena and Bogoti; ^ ^ ^ ^ ^ ^ H I I I
16
           ^ t / t ^ ^ ^ ^ ^ K ^ ^ ^ ^ ^ ^ K K K K ^ t K t t K H B B t K t t t l ^ M ' ^ ^ i ^ ' y af^c die Iraq
17
           War began, Jacobs voluhieiered foritwo consecutive |»ttiefie|d .assignments in Iraq, supi^rting
18         Special Operations Forces. Duringtiieseassignments,
19
20                  Recognized for excellence ;and his record of success,
21
22
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26
27
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 1                 iacobs^later decided to^marr)^iicha^ pace, and leavi:tii^d6mahdk>d^
2          behind. He        reloc^^      SoaWe, Was^^                               quickly ^1e to apply his
           counterterrorism:expertise,:aS::a;ra                          Mellnda GatesjFpjunda^
3
4
5
6
7
8
                   After, two: years;r. Jacobs ;was recruited, to l Uber: .Technologies' for liiis unique mix: of
9
           :gedpoliti(^il:,;a^^ .threat ;,mtelligeii(»^^^ pyei^s; expeneriif^    his ability ^ build and; iscale ah
10         ihielliginiice: pins^i^                        ^Yi die iTicit^iblytiilimtedjipeijp^^^^at .the ;opnip{myi the
11         unmatched level of challenges and threats they faced, and ene^^                                           a
           holistic intelligence team, across-die; specthim^^o^^^                       geopbUtical analysis; and
12
           stiategic insights. He «^^^ go dii^ Biiild Mfubilities^^^^^^
13
           of interest^ ai Uber^ and ideljver iiisightb to shape engagement stiategies^: ad'yise business
14         decisions, and continually protect his colleagues and the community of ridersfand drivers they
15         served in (Cities a^^
16
17                 Jacdbs' diwt supervisor attiie:tiinedf^hlire wasJMatiHehley, Uber's/Ptrecbr of threat
18         Operatibns li^^                        also repotted to Joe Sullivan; Uber's Ghief Security C>fficer.
           Jacobs a ^
19
            later beaam& a xlirect;reporfto; Siitliviui, thou^ Claidt^ was. ifiOt^ a; part of Jacoi»* direct
20
           management chaiii..
21
                   This harratiye describes unlawful activities witiiin Uber's ThreatOps division, which
22          resides atl^the S5A:;M'^H^t $keet |oca                      was divided into diiTerentj teams; each with
23          distinct roles. For purposes of this letter, only relevant teams are listed below:
24                         1.,       lOlobal Intelligence Ontel) - Respnsible for intdligence analysis. This
25                 team serves Uber's physical securii^y (E^jrSec) t               other Uber intemal customns,
                    primarily the cityCteams and regional policy^ legal and management officials. Hie team's
26
                                                                3
27
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 1                   product lines span protective intelligence, geopolitical analysis, market eritry/launcH and
 2                   strategic intelligence onregulatoryissuesi opposition, and competitiverisks.'

 3                          ii.        Stiategic Services Group XSSG) - Responsible for human intelligence:
                     (HUMINT) collection through Uber in-House personnel or outside vendors. This team;
4
                     supports the Intel, Investigations, and'Marketplace Analytics teams. It also receives;
 5
                     coiifidential a&sigtiihisnts frdm                               Gicinto. In addition, Henley, Glark,
6                    Sullivan, and .Uber's- senior executives (Arteam) task $SG with assignments. As
 7                   described b e l o w , i s | | | ^ ^ ^ M | | ^ ^ i g § | ^ n | ^ ^
                    'yendprelbiobtaiii^n^^
 8
 9                         iii.        Investigations -rr Responsible for handling accusations of abuse of Uber's
                     intemal data and tools; leaks^ criminal cpmplaintSj defense a^^
10
                     attacks,/and;other m              as assigned by Henley, Sullivan, arid the ^pirector of phySec,.
11                   JefT Jones.
12                         iv;         Law Enforcement Outreach - Resjsorisible for prdactiyely building
13                   relationships'with the; law enfprcemetit cpmrnunity. to train them ori hpw to interact with
14                   Uber, request data related to; criminal investigations, and build productive relationships
                     with foreign and domestic markets:to suppprt Ubcr's requests from law enforcement.
15
                            v. ,        Markelpiace Analytics (MA)^              Under its Sisnior Manager, Kevin Mahef,
16
                     MA exists expressly for the purpose of acq^                         secrets, codebasej and compethjve
17                   intelligence, iricliiding diving key busih              metrics of supply, demand, and the fiinction
18                   pf applications fixjm majorride-sharingcompetitors glbbally. Henley and Sullivan also
19                   task MA with assignments: MA grew rapidly during Jacobs' tenure; from only two
                     original ernployces when Jacbbs joiried the company toit least ten^
20
21                         vi.         Counter Intelligence - in March 2017, ThreatOps formed a new "counter
                     intelligence*' team for the .express;purpose of identiifying:aggressive operations targeting/
22
                     Uber and to strike back at competitors.
23
                     Sections iI through VI provide irifbrmMion about the illegfil activlty.
24
            ' In inid-Febniary, 2617, when Henley Henley dernoted Jacobs and took a\yay his team management
25          responsibilities. Global Intelligence was merged .urith the Strategic Services Group. The nevv team is c^^
            "Strategic Intelligence."
            - Formerly Xompetitiv'e Intelligence" or "GOIN" team that has been in the press as of late.
26
                                             ,                ,        4:
27
     I                   Adam John Mackintosh—vs —Lyft/ Uber, Andreessen Horowitz, and Defendants
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 1          n.    Sarbanes-OxUiy Viotetions, Evidence S|»oUaition, and Other Discoyeiry Abuses
2                 The Sarbanesrdxiey Act of 20O2 states that
3
                  whoever knowingly alters, destroys, mutilates, conceals, cpveis up, falsifies, or
4                 makes afelseentry in any'trecord, dcKument, or taiigible object with the intent to
5                 iihpedey obstniif^ or ihflueiice the itiyestiptiqn pr proper admiiustratipti of any
6                 matter within thb jurisdiction, of any depairtme^^^^
                  any case filed under title 11, or in relation to or contemplation of any such matter
7
                  or case^ shall be fined uhdefr thistitle,imprisoned not more than 20 years, or both.
8
           SaibanesrOxley Act of 2002; Pub. L 107-204,/§ 802; il6 Stat. 745, 800 C2002); Codified at 18
9
           U;S.C. § 1519,tiltsprbvisioti appli^ to private compatiies and has. a broad ieach that is hot
10         Uniited to (K)mmence^ litigation. Sectipri 1519 "covets conduct In^^                   aniy federal
11         investigatron or pmce^ing iricluding one                                                 Yates v.
12         United Slates, — V S. -^—,135 S.Cti IOH 1087 (2015) (emphasis added). Sihullarly,
           Caiifomia Rule of Professional Conduct 5-2320 prohibits metnbers ofti^^bar from suppressing
13
           evidencetiiatthe member pi!tiiememba^^ Client has a legal qbligatioh to produce.
14
                   Uber has knov^ngly violated 18 U.S.C] § 1519 and continues to do so. Craig Glark,
15
           Uber-s Legal pirector for. ThreatOps, aiid Mat Henley, Uber's 'pire<not of Thi^
16         (ThreatOps), led Uber^s efforts to evade current and future discovery requests, court orders, and
17         govemment investigations in violation of state and federallaw as well as ethical rules goveming
18         the legal profession. Glark; devised traihii^ i ^ provided »ly               to impede, obstruct, or
           influtmcie this inyestigatidh of ^yeral on^ihg tavi^itis agunst Ubei* ;and iii relation to or
19
           contemplation of further matters; witiiintiieJurisdiction of the; United States.
20
                   Early in his tenur^ Jarabs advocated for a secure aiid eiicryj^dl centralized da
21
           ensure confidentiality andrecordkeepingbut provide access to: intienigence for ThreatOps
22
           personheU He presented a draft proposal to managers Henley and Clark. However, discuissiOns
23         broke down ithmediately because they bbjectecl to preserving any intelligienoetiiatwoiild inake
24         preservvtioh aind legEd discdy^    a simple processforf i ^ ^ litigants. Clark emphasised thiM^^t^^^
           was "exactly what we don't want to do.. . create (a paper trail]tiiatcould later be discfoverable."
25
           Clark notedtiieerrors of past collections v/faere Uber was forced to turn over documents. He
26
27
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 1         alluded to the lessons jeamed from the "Ergo Investigation" aiid noted th

2          not enough to. ayoid discovery. Gicinto added his,own,objectioiis, stating that while his team
           would be wiliitlg to shari; somie details on coile(;tions, including sources and methods of
3
           collectidns pri the ground, in fpt^ign cbuhtries^^^                    niot willing to pitseryis tiie raw
4          intelligence on Uber's nei^
5
                    Jacobs' then 'becam                                pririiarilytiirough,Gjark and; Heiiley, had
6          implemented a sophisticated strategy -to .destroy, conceal, coyer ; up, and falsify records or
7          documents with- the intent to impede or obstruct government investigations as well as discovery
8          bbligations ill peridiiig arid fiitUre litigatipn; Besides yio                        1519, this conduct
           constitutes an ethicblNViblatidh
9
10             A. Destruction and Cbiiciealmentp^^^                    Usihg Epbehieral Gpinmunications

11                  Clark and Henley helped implemerit aiid direicted the aJmOst-e.\cjusiveTuse?Of epheftiei:al
12         and enctypted corniii.um^                    s6ftw£it«, iricluding WickrMc'(and' later Wickr SCIE)|, to
           communiMte sensitive irifom^^                         ThreatOps. Wickr lnc, is ja San. Francisciprbased
13
           company that-describes. its product as a "communications platform designed to emj^ower greater
14         control over data security^.. Xiisirig] multilayers',of pieer-to-pee^^^                Henley and Cliark
15         implemented this program ofephemeral and; encrypted commuriicatioris fbr the express pu^^^
16         of destroying evidence of/illegal or uifiiethicklipractices to avpid discovery In actual or potential
           litigatipn. TTie Wickr application uses?rpbust encryption which prevents the iriformation from
17
           being viewed by anyone;except the intended recipient, buf r^
18         to self-destruct iri a niatter of seconds; to no longer than six days./Cohseq^
19         canrtot be compelled to prbdiice recor^^^
20         Such a policy is inherently violatiye'of the Sarbanes-Oxley Act, 18 ii S.C section 1519, and
           similar laws.
21
22                  Further, Clark and Henley directiy instructed jacdbs: to conceal documents in^ v^^
           Sarbanes-Oxley by attempting,;to "shroud'" t^                    attomey-^client .privilege or work producti
23
           proteiitioris. Clark tiaught the Tht-eatOps feani that iftiiieymarked comihimlcatioTis; as "draft "
24
           asked for /a legal opihibri at the begirihihg: of an email, and; /sirtiply wrote "atiprriey-^liefit.
25
           ';See httb's://vAvw.wi(:kr.coni/seciiritv.
26
27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1         privilege" on documents; they would;be ;immiiriij from discovery^' What Ciark failed tO teach the
2          team, however, is that there is no attorney-clicrit privilege, ;nb "seaii of secrecy,'' ,if the
           communications were made forthe purpose:pf,enabl|ng;tiie conrimission ofa crimeor fraud. U^S:
3
           v. .Zolin 491 U.S. 554, 563(1989); jee w/wAC         EyId. Code § -956. For example, Clark enabled
4          illegal activities and- gave legal advice designed to Iriipede- irivestigatioris by idirecting '|he:
5          Ka^ng gf                                                                            by directing tiie
6          destruction 'l^:'Syi^^sxv^                                                                          :as

7          discussed below: Given the ongoingjcriminal/and fraudulent activhies within Uber, the cririie-
           frauid exceptipri to privilege applies, arid alf of Clark's coriiriiuriii:atibris in furtherance of these
8
           schismes would be fair;gariie Iri discovery; His attempt to pre-eriiptiyely cbriceal diem urider
9          attomey-client privilege:is illegal, unethical, and improper
10
               B. Concealment and Destructipn of Re.cprds:,Usm
11
                  Clark, Giciritoj and Heriley acquired! "nori-attribiitable" hardware arid software with
12
           which SSG and select members of ThreatOps planned: and executed intelligence collection
13         operations; Specifically, Henley and members iof tiie MA team use computers not directly
14         purchased by Ubfcr that operate only: on MiFi dcylcesT—so that the Irilerrief tranic wpuid not
           appear to priginatie from an UberrietwOrk^-^irtiiilpiiblic networks (VPNs), and a distributed
15
           and non-attributable, architecture pf.contacted Amazon Web Services (AWS) server,space,10
16
           conduct competitive-intelligence collections against other ridersharing/^
17
                  Likewise, Gicinto arid the SSG tieam had siriiilarriOri-attributabledevices purchased
18
           through vendors and sub-veridors where they conducted; ;yMiai; op
19         /protesters, Uber partner-drivers, and taxi operators. SSG used the devices to store raw
20         ^infbiThatiori collected "by, tiieir\operatives.^^ifix)m;;j»lit^^

21         iorgari^i^ns;?:^

22
                  By storing;;this data on npn^-attributable devices, Uber/believed it would avoid detection
23
           and never be subject to^legal discovery. This is because a standard preservation bf evidence'order
24
           typically focused ori -Uber work laptops, Uber'rielwbrkSiarid Uber mobile devices. Npnr:
25         attributable deviciss were deeriied asriotreasonablysiibsumeii by any siich preservation pider
26
27
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 I          and the team could, and did, "legally^ (notso) dispose of atiy evidence or do<njniOitation held on
2           these devices intiieintervening periodibcifore knowledge of the devices' existence, could be
            unicovered. Likewiiile, members of the llireatC^s tin^                                           to use
 3
            personal cotiipiAas to cpiiduct substaritial Uber-related worki for tiie puipose of ey/adirig
4           discovery.
 5
               C. Conceahnent, Cover-upi and l^abiiicatibn of Recordsf tbrbugb the Abuse of;
6                 AttorneyrClient:PriviIege Designations
 7
                   Clarii developed itrainirig pn hbw' to use attbirric^-client privilege tOfiirtherconceal
 8          activities described in any non-ephemeral communication channel. Specifically; he developed a
9           training using innocuous legai-exairiples aridtiie"laWyer^^ d^                          a slide deck tliat
10          taught the ThreiatOps tearin/how to utilize:attoirney<lient pnyile^^^ to iinpede disirovery:

11                 Whiletiiiepresenktion slid                                     explain any unethical or illegal

12          pradtices inyplving attomey-client'privilege, Plaihtiff observed Clark's presentation first-hand.
            Duringtiiepresehtatipn^ Claric verbally coached the/jnuiticipiMte on how to tise aanmey-client
13
            privilege to eiisure sensitive inteUigeiice cblle^^^                             surfece, in Htigatidn.
14          Claric also answered specific questions firom employees on the miriiriium standards required to
15          clium privilege for the purpose of shielding infprmatton. JThls "legal training" was particularly
16          ncMewortiiy because it snipn^^^       bevs/ no lUbq-rbrimding; it dues: hot ev^ mention Uber,
            Svhich is startling in a cprinpiany witii strong branding and adhennBh(x:to process.
17
                    Clark'saidtiiatUber. needed tp "shroud/these wprk prodiicts in. attorney-client privilege."
18
            Accordingly, Claik instmcted Jacobs himself and others to address al) emails pn sensitive
1.9         intelligence collection/to him and      tiie     emails were maiked as "ATTORNEY^LlEiNT
20          PRIVILEGED AND/CONFIPENTIAL,''totnark % woik product/as "DRAFT regardless Of
21          its actual ;status, :and, on every conununication, to specifically ask a question or request leg^l
            advice on some issuer—even if nO legal advice was needed or warranted. Likewise, he advised
22
            that Jacobs anid others tiiat they should ciariiihuhicate: almost exclusively via, phone, video
23          teleconference ("2|obm''),/6r yia/the/^ W^^          in tliat Oitier of prefereniie^^         the record
24          atid audit /trail, eachrannimiuuiicatibnitt^                     Claik explaihiBd:tiiattiieintent was to
25
26
                                                             8
27
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 1        rprisyerit idisciosure: Of/such 5cc^^                    Jacobs was 'ever- put on /legal/ hold or his
          : cpnimunlcarions wereie yersubject^^^^^^^
2
3                   inreality,;Jacobspbser\'ed t^^
           coritaiited,a/prbT^^                                                thbiigh/nb/legal advice or/direction:
4
5
6
7
8
9
10        :tiie./dpc«iinerifc;;^^
11
12                                             iUfClark's;directions'plmrily:derapristraie;abuse/pf privil^

13
14                  In siirti, Uber/has/directlj^^
15         falsificatipris provisions of/Sarban^

16         goverriment investigations through the/(1) acquisition              use of ephemetil corririiiinicati
          ;priograin8;; (2) ^t/^^^^^^^       arid use; ofriqriTattributablehardware /and /software; and/(3)' the
17
           wholesale abuse :bfa^
18
                    Clark ihd/Henley^s/(directiy^
19
           disputes* such as, thpse, in/Uber^s/litigaiibmwith Waymp;;/Specifically, Jacpbs recalls that Jake
20         Npcpn- Nick Ciiciritp, anti Ed Russo went ^te Pittsburgh; Pennsylyariia to educate Uber's
21         Autoripmous V ^                                                  witii/tfe spe^
22        fUber/s/unlawfijf sc^^^        fftips^ing thf light of          Jacobs' pl^h^^^                        Mber'S
           representation in court prpCeediiig^                documerits evid^                             be fpund on
23
           Uber's: sys/em and; &at pther^c^^                       are actualji^ shielded; by the attpmey^iHeiit
24
           privilege. Aariari Mtosliialj;^^        in?Wayi»piDikputeiJ^                                    Live—for:
25
           ' Peii»tratidh.m«^            accws,:typically through ;iii^Kr3pnaiipn:orapa^             operator.
26
                                                               9
27
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 I         A'ovv, wirisd.coril (May 3, 2017 at 8:47 p;m.) ("Lawyers Ibr Waj^ alsO said Uber Had blocked
2          the release of3,500 docuriients related tp Uie acquisjlibn of Gtp^^o^
           privileged, iiifprrnatipn. , . . Waymo also c^n't/qulte/pin down whether Uber/isfnplp^
3
           stolen documents; pr if thpse:documents; moved anywhere/beyond:tiie;cpmputer Levandbwski
4          allegedly used tp steal tHeriri.;(Uber lawyers say exterii^                 Of theii-cpinpany's systerii fOr
5          anything cpririected, 'to the;; ;secrets cotpes, up nil.)").: available                                  at
6          https://www^.wired;com/2017/05/iudHe-wavmo-dispute^lcts-ubers-self-driving-programrlive-
           now/.
7
8          III.      lllegarintelligence Gathering

9                    Uber, has eiigagiidi arid/contiriues to engiagcs,. iri iljegal intelligence gatiiiering pn a glpbal
10         scale; This;cpnduct violates niu|tiple.laws;;including some that;are-e
                  A Thcft of Trade Sccrcts
11
                     The Econoriilc Espioriage Act ;of ! 996, as ariieridMl by the             Defend Trade Secrets
12         Act,rilakesit lifilw       to misappropiiatij/a^^^        trade secrets, Defend Trade Seciiets Acti Pub,
13         L; 114-153, § 2(b)(1), I3() Stat. 3/76 (2016). This^statiiteMiis extra-territcrial Iii scope; 'Trade
14         secrets" under tiie Ecpnomlc Espionage Act, as amended; is broadly defined arid includes "all
           forrtis and types Offirtaricial,business; . . . techriii^al, ^iDri6riii<j, or erigirieeririg irifprmatiori^^^^
15
           lricluding:pattems,/plaris,^c^                        tMhniques,rprpcM^
16         codes," if the pwrier Cl)/Has;;taken reasonable;measures tb^keep such informaiiba secret and (2)'
17         the information derives independent economifc value, acuial or ,poleritial;; frpin riOt being;
18         generally known to, and npt being, readily as^^^
           who cari pbtairi ^eebrtpniic value frpm /the disclosure pr use pf the /infprmatipn..
19
           "Misappropriatipri'' iricliides but is not liinited tO;''tiie acquisition of a trade secret by a pcrson
20
           whp knows pr has reason to know^ithat the trade;seiJret was acqiilredlby improper rriearis." It alsO;
21         includes the disclosurejpr use of a trade sei:riit ofinother without;«cipress or implied consent by a;
22         perspn whp .(l ) had; used/irripixiper/rri'e^^^                            pf the/trade-secriel cr (2) had
           reaspn tp know that the kti^owledge of the trade secret was derived,from:a perspn v\^o                   ^sjed
23
           imprpper rneans io acquiix; the; trade secret or/from a person who owed a.;duty to the person
24
           seeking relief to maintain the secrecy of the trade secret pr 'limit the use of the trade secret :
25         "Improper nleans'' iricliides ''theft, bribery; inisi^epreSeMalim, b'reaMor. /Wt/iiB/hgn/ o/ii a^ttO' id';
26
                                                                10
27
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 1          maintain secrety, or espionage through electronic or pther means." These defiriitions hew closely

 2          to other trade secrets laws, including theiC                                       Cal. Civ. Code §
            3426, etseq.
 3
 4                 The theft of trade secrets is also a criminal vi              federal law. l8 U.S.C. § 1832.
            Oiie is criminally liable il^ among; other things^ pne (I) steials, or w/Z^u^
 5
            appropriates, \Bke%, carries away, or conceals, or 6)/^au^ artifice, or deception obtains a trade
 6          secreti Q) without-authprization coper, duplicates, downloads or uj>ioads a trade secret; or (3)
 7          attempts or conspires with one or indre persons id commit engage in such conduct. Like tiie
 8          Uniform Trade Secret Act^ the OalifiirnlB Unlfonrh T^de Secirets Act ;prbhibits
            "misappropriation" of trade secrets and provides , certainremedies:In additipn, California: law
 9
            alsp allows for criminal penalties; for stealing, trade secrets. Cal. Civ. , Code § 3426, et seq; Cat.
10
            PenaieodO§§499c,/5(^.
11
                   Sd:tion 3 of tiie Defend Trade Secrets Aist aisp amended section 1961 under the
12
            Racketeer Influ^(»d wd Cphtipt Orgimizatiipns^                     18 U.S.C; §§ l96lHfi8; The
13          amendmiBnt added econdmic espiohage^^;!^                                  theft of trade secrets to
14          the li^ of predicate offense that may be considered 'iracketMring activity'' under RICO. Defisnd
            Trade Secrets Act, Rub. L. /l l^rlSB, § 3(b)i l30 Stat 382 (2016); JB« 18 U S.C. § 1961(1).,R1C6
15
            apjplies extn^tenitoriajly what tte                    pi^icato" statiite ,is itself 'extraterritorial. RJR
16
            Nabisco, Inc. y. European Community, 130 S. Ct^ 2090, 2103 (2016); The iritiacorporate
17          conspiracy doctrine, which holds that/a corporation cannot conspii«            own ofTicers while
18          thie officers are acting in their official capacity, does not apply to section 1962(c) of RICO.
19          CedrickfKmhner Prpmdtipm^^ £ir<Z %iff«g, 533-U:S. 158^ 166/(2001) (hpldihg^t^
            who conducts htis/corpoiitioh'iaffairs/ tt^^                                       1962(c)'s terms;
20
            fbrbiddihg any "person"tounlawfiiUy conduct an ''enterprise'*). In any event, it/is clear that Uber
21          hais conspired with multiple otiier business entitiesto;participiate in a pattem of racketeering
22          activity athome and abriaad; ^     18 U.S;C.^§ 1962(d).
23                 Califomia prohibits "tin lawifiul, unfair, nr fraudulent business acts and practices."
24          California Biis: & Prbf Code § ;1726o; erwq^. U l ^teisvi           and continuestoviolate, Code §
            17200 through its unlawful iMtEtiilini^^^ of trade secre|s, and additiohai unlawful cpriscribed
25
            throughput/this letter;
2.6
                                                            II
27
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 1                   Ubers Marketfilace Analytics (MA) team, existS;expressly for the purpose; of acquiring
 2       frade secrets, codebase, and competitive intelligence-including deriving key business;metrics of
         supply; dernand, arid the fuhctiori of applicatiOns-frorifi major ridesharihg cbrinpetitdrs globally.
 3
4                    Jacobs: is aware that -tiie MAteam(fratitiulatiti
        /(^mjpetitor platformsj ^cks into competitor^ne^                     conducts unlawful wiretapping (each;
 5
        tactic;di?cjL«Sed^^'m                                                        obtain trade secrets about:/
 6
                              •    ;fhe/fu/hclion:^^^
 7
                              ••   •lyuliierj^ii                                                      ^
 8
                              •    ,^yu]|ie^iliti«j^                  ,
9                             •    /supply/da^a^/iricliJpin
10                            •    ;pricing;structurcva^
11                   These tactics wei^ eniployed; cjaridMtine^^                  a distribiited architecture of
12       anonymous servers^ telecOnitriiinicatioiis /architecture, arid iioh-aftribiitiable hardware and
13       spflware. This setup allows the:MA team totma|e^ millKjnsgDf't^

14
        /m^ance
15
        •itteiiiFrting/to /ra^iie%ni^                                                                  • H<w|yer;ni^'
16      .'th.e.'lata/cSis
17      /filters/AVtwid^
18                   In the sutnmer of 2016, SSG specifically hired Ed Russo to further dievelop its
19       intelligence program. Russp is a retired ,govemment iimplpyee Uber identified as having

20       language skills arid cultural insightstiiatwould be be effective at gathering intelligence fOr Ubier
         intiiel ^ ^ ^ ^ ^ l region; His officialtitlewas Senior Risk /and Threat Analyst, but he y/as;
21
         actively engage'-in ;HU.-MrNT,and identifying market p e n e t r J ^ ^ ^ ^ ^ j f i | ^ i | ^ ^ ^ l i n | ( | '
22
        fjjjjjjjjjjjjjjjj^^                          Part pf his. role was to enable competitive intelligence and
23       the theft of trade secrets: :by . recruiting sources within competitor organizations. He vetted
24       insiders,/and identified those who vvere' willing tii. provide U               competitive.trade ;secrets.
25       Jacobs is aware that Uber used the MA teisirii to steal trade secrets ait least frOih Wajrnp in the

26
                                                               12
27
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 1
 2
 3                 Wdynid
4                  Shbrtiy after the Ottp '/acquisition,'' Ed; Russo -presented a "fictiionalized" account of
           SSG's recent contributions to Uber employees, including Jacpbs., He asked his audience tp
 5
           cpnsider a situatipn .iri which the CEO: of a large cpmpany spught to acquire a smaller startup
 6         With industry-changing;technology in the'large conipany'sfield;Russp boasted that SSG,/using
 7         ex-GIAfieldoperatives skilled/in ceunter^sui^e^                    cpuld erisiiretiiesecrecy pf ineetirigs
 8         between the companies' CEOs for mpnths before any acquisitipn was annpunced pr/finalized.
           Given the timing of this presentation, immediately fbllpwtrig Otto's acquisition, when Jacpbsand
 9
           others heard Russp's sp-callbd       fictionalii^^^             they as.sumed Russp .v,^s alludirig/tp the
10         actiial events surrounding the; Otto/
11                 Of course, by the tiriie of its acquisition, Otib vyasijiist eight nipnthsjpld. Neyertii
12         Uber acquired this elght-mpnthTold CPmpany at an estimated cost of $680 million. Then, as
           stated abOvei shpilly; after the; acquisiti       and/just;three weeks before the rbllpiit: Of Uber's
13
           Autbribmpus Vehicle Grpiip iri/Pittsbuj^^
14         educated the teani Pn using ephemeral <x>mrriunications^                              devices, and false
15         attomey-client privilege designatipns with the;specific ;intent. pf/preventing: the discpvery pf
16         devices, dpcurrierits, arid ;cpriiriiimications: in ainticipated litigatipri. These facts cpitobprate
           Google's legal theOiy'ih/'periding HtigatiOii/tiiat Otto was .simply a ;shell (^^             whose sple
17
           purpose was tp dissemble Uber-s compiracy tO;,steal Waymb's iritejtectiial property.
18
19
20
21                                      :LIher;;workedi^to
22         remotely accessedccnfidential ^^cprporatec^
           anddrivers pnfUjg||Pplatfbrm<tO'derive key functionsK^
23
           supply data^by identifying ppssible drivers to boost Uber's market position, iuid 4) acquired
24         codebase which allowed MA to identify code used bvttHto understand In greater detail how
25               PappTunctioned.7

26
                                                               13
27
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                         •- ••^•v-wvv          ^-^-••••_-;^-/v."-628"- '           '         '    • ;;" '"
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 1                   By credibly inipersonating'botiiridersand drivere^vthe MA team cpuldrequesttiipusands
2          pf rides in a-given gepgraphic area tp study the responsiveness and capability ofmi^app, price
           quptes, and disposition of available drivers. MA further imperspnated prospective customers to
3
           ascertain the-identity of driverstiupughtheir names, license plate numbers, and mak&^mpdel of
4
           their vehicles. Uber then used this infprmatipn tPrecruitcpmpetitprs tp Uber's platfprm. MA
5          alsp. pbtalned keytechnicaldetails^:abpuLhpw||H|wpuid> trouble
6          Uber, and then used that data to develbp_contingencies to stpw or impede | H P business
           •;opera|ipnsii' •
7
8                    Npt pnly was Uber able to pbtain |jj||^i^e;;Micre^
           inflate /ffiefuifim^a^^
9
10
11
12
13
           value that was inflated by data Uber had unlawfully obtained|i||^/u^///§^^^^
14         abpve;
15
16                                           iwc|^»|^/r||^jp^
17
18         employed tactics to qbtam^^Htiade secrets, with a focus on stealing key supply datatoboost
           Uber's pool of drivers,tiiefunction oftiieapp and its vulnerabilities, and then used that data to
19         iys;
           develop an aggressive "counter intelligence campaigntoslov
20
21
22                                                                          f§^ai|||^^^^|fejiyeli|;
23
           iivititite^                                                        !tjrad||s|cregiTfe
24
            caitis
25
26
                                                          .14.
27
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 1                •(SpecifiaulyjjtheS^
 2         rider and driver applications. By credibly impersonatingridersand drivers, the MA teain could:
           (i) develop processes to conduct diousands of data calls lo reverse engineer products; (ii) identify
 3
          •/and/;re^^
4
          •;toderstari|&
5          'po«tlp%J^/inM^
6          /engine w^iaol^
           /cqn^^^^^e^j^ipg^^                    . Iike^j|||/|j|ei^
 7
           /improyer^n^^^
 8
                   fQri^g§i:^jused/b^^ fe';obt|inffi^
9
           rt^rrt^|||t?SOi^gi^
10         information and is prepared to provide Uber with o^de secrets. On at least one occasion in fall
11         2016, Ed Russo vetted a purpprted virtual walk-in with infprmatipn regardingi

12                                                                      maintains an active HUMiNT source in
                  /seriip^^
13
          ' ybfltejiigenM|a)U^
14
15
16         (at/ij^ijbj^^                                            to/,fBB(_ex^
          i^^Iedge;p;^|||^^
17
18
                                                 lhas been the MA and SSG focus in                         pver^e=
19
           /jjMStfsiig^h^                                                                         ^'OT'd'cbileicti^f
20         comprehensive supply data, incliiding the license, name, and contact information for every single
21         (Hl^^yejrllrojmd                                                                                          ,
22         f^'i!ri/BPI";.;ii^ii?^lso^
           foi^|^j|||0;and/sec^^                         dygg^ingZ/itis /ti^& ^     jkta^vi^^
23
          • iij|j&if/a|i^figg|^^
24
                                        ai:^^^_ senior ;:§oftWsttg/i^
25
          • {^&tipiK'||m                               Ndyiembefei^               ':cbrititiii®/i/Kis"--:<»mj^^^^^
26
                                                              15
27
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 I                                                          JiiaBMlPMBai.a^ike^al1j!j'cab^^
            intelligence actiyities ontiiegi-ound against the|                                               '
2
3           i .succg^M|meft;pf^^0tt^

4
5
6
7
8
9                                  proposed thaf if Uber headjjuarters could back^the database and collect all
10          driver infonnation, it would have a perfect set of possible drivers for Uber's platform and cpuld
            bpost supply by ^geting these operators and convert them/to drivers for Uber.
1.1
                     Wanting to'keep Uber's unlawful^tactics under the radar, Clark directed Jacobs tp get the
12
            ;initial itiformationfover to fIBI'and the^MA^:team;:<but^^
13          teamtiialUber had an in-house team pf engineers capable pf cpnducting this type pf wprk. After
14          initial investigation, i m advised that the database in question requires users to tndividtially
            enter the license plate number pf a knpwn taxi-driver and enter a Captcha,* tp access the driver's
15
            recprd. [jmH'explain^ diat he could program a dispersed architecture pf non-attributable
16
            serverstocpnduct the data calls pver a peripd of weeks and extract the infprmation witiioutlhe
17          website's administrators realizingtiiatUber had extracted the entire dataset. He was given the
18          'Jgreen light-^to proceedMth hisiplan.

19                   The data calls needed tp be distributed over a network of computers unaffiliated with
20          Uber. It would take approximately four million calls for data to cover the full spectmm of
            pcssible i m m m m ) taxi-license yariatipns. fBSR also, explained that he would needtowrite
21
            or purchase a code tp defeattileCaptcha on this particular website. Within a few days,
22          •hMiPvercpme these hurdlMsandsbeganirunningthe/progtB
23                   Within approximately two mpnths, Uber had successfully pbtained
24                                      ) trade secretstwith ithe\ ccmplete downlpad pfiits driver:database:^by/
25
26          - •.Afpi;p|npi;pl,sysi^fe
                                                       - , " ,^16 -
27
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28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
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2          Idashbpa^d tP be brb^
           ;|eatr^/p^^
3
           '^visitor; (UE\^^
4          • /|bov^                                              to|;                                            gpv§nim(^t/
5          ^uthoriti^^/Cpriseqi^                                  ^f^t^iloj^^/ll^^l/l^
6          vwebsite.;

7               B. Impersonation
8                  - |S^pb^|B|iaI^ye^///OI^                                                                                      .
9           trade secrets. This conduct not only violated the trade secrets law discussed above but also wire

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15
16          operatives andtiieirvendors, knowingly impersonate actual people over the Intemet in order to
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           fadvantatge;/
19
                  ; ip^ting//|he"                                                                             '^swajmsx^^
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           impg^^ted/-p^^                                                      gain ;• acce^sj^'to, /priyffe-/|^|liyi^           -
21
           *m^agKig;.;'cha^           < Jacpbs, ,flvther,|in^^
22
           "5;lAT/iperatiy^lre.:(^
23           intelligence in priority locations for Uber. They are commercially covered, deeply back-stopped business persons
             with established reasons to travel lo high priority locations important to Uber on little notice. They conduct business
24         •/m%tings';,,l)vit:TOli(^^^
           •|tibI^61f;iion^ffic|k''cpyer;p^
25         lto>;i^rptectdisciisiiibn5,ato^
           -^6liectipn;suppprt/tp"'t|^
26         /feBriiow^uaUt^^                     ,'-'-'
                                                                    17;.
27
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2          operations iteam on how|(tb. jiifiilfMei.suc^^^^^           mella^iopupfc^ Jacbb^

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          tcityiteanijnptto
4
                   (in/jate/Ocisbe^
5
          /arid} [Gloin'tbt ,.J,ac(i^
6         :;iriii»rabiiati(^                        thS:jy|#W^;u)^^
7          instance, .SSG/hadv^iwH^^
8         'yi^itigpene^
          parties, including virtual penetrations in WhatsApp. Jacobs reportedtiiatinfiltrating WhatsApp
9
          /groups JVV/M
10
                   In anpther instance, in early January 2017, Jacobs received an email ftomj
11
12                                                                       |||^isH,ppy]bc^)fc^
13        combatting regulatory and enforcement activities slowing Uber's operations i n f ^ H H ^ ^e
          /preseritatiOrif^which was ishair^iac^^
14
          /iritend»^                                               |imS|slmr^pr^
15
                   The PowerPoint presentation included a section pn "intel gathering." a slide on driver
16
          '/chatygroup/i^n^^^^
17        IgrMf^luwlvidin^l^^
18        /di.sc.pnterit ;a'ndj/p^

19        /Clati|^,wbO£|^
          noting that it encouraged "intel gathering" and described how to penetrate WhatsApp gfoups.
20
          /Claj^^yjrgj^
21        ^didj/no^inyestigi*^
22                 /Iti/.|ate ^touary/w                          pa^qff^G|S;:y itttaf pperiitibns|c^^
23        ^Og)^v.$SO^broi^fj^
24        ' l^|^HilliHHHB:i|/p^irig/i^^
          i'agaihst Jflier; .iSyidpingp^i^
25
           chatted with protesters to attempt to understand their nonpublic plans and intentions.
26
27                                           • .'• u • • •                         •'- ,- . • ' - •
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2          (teEun .that -.'^Henley/leyeraged;|B|0^
          / |acce»s/and m'<^5^                                                                           wha;.
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           ,m/tgh|prptest;.agm^^^^
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           •represents^dt least a^ violation/of/l^^
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6              C. Unj^wfui SuT^^
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8                  burinl his ernplOyriieftti;.
9          ;Sectipn;;631 arid/Sjecti^ 632; Sei^ipri 6^
           any kind of. m
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           telephone li&i/hals^
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19         cpmmunicatipn.
20                 /OV«'';a-:tvi^tc^e^'^W^
21         Siilliyari/cpordin^^^^^^

22         ^ll^l////I^^SjSBKKBtKBB^^
           photography durlriig pnyaWeven^unfQI^^
23
                   /To dp tbisi'!rritiltiiSe//su^                                               at hptel and
24
           /cpnferericfe facilities that the group pf BMi exectitives/used; during theii^ stayj/^fira^ least pne
25         instaricei, the LAT/pperatiyes deployed agaihsf^^iese targets were able to record and observe
26
                                                                   19
27
                      Adam John Mackintosh—vs—Lyft, Uber, Andreessen Horowitz, and Defendants
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 1         private conversations among the executives—including theirrealtimereactions to a press story
2          that Uber would receive $3.4 billion dollars infiindingftpmthe Saudi gpvemment. Impprtantly,
           these cpllectipn tactics were tasked directiy by Sullivan pn .behalf pf Uber's CEOi Travis
3
           Kalanick.- Uppn infprmatipn and belief,tiiese-twoUber executiv.eSi along with otiier,members pf;
4
           Uber's: executive teamjsreceived live intelligence updates: (including photpgraphs;;and; videp);
5          from Gicintp while they were presenl in the "War Room'l
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9
                                           |;-^;S;jiiroqf6;r,:fw^
10         ^SIIPV^/Jicofeijwc^^                                                                 ,
11                 As a part of this surveillance, Gicinto asked Jacobs to develop targeting packages on
12        |Bj|p.Jeadera'/t^^ itiiprow//SSG/:-^                                                       ;wwkf|p/
13         develisp/rri^^^
           concems over the (egality/ofl|is5J!^
14
           Instead, he be^an^ develpping^iiis^tw^                                                   notjnvblye/
15
           tactics wriiiish Jacobs i)^
16
                   Additiohaljy,;ri|l«                                               anSdljiSly/fe
17        ;Witt|a{i;Actrb^^                                                                          of iocualf
18         harassment by a former Uber employee. Uber.did not telltiieparticipantstiiattiiecall was being
19         recprded irid/accprdinglyh^^
           reqiiiredby GallfOrm
20
          ''bithe/bait '/and/tf e/stiit^                                                 ; Seasipnsgi^'^
21        ^/did^'Uberi/im
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23         pri yai?y to iqenti fy a                                                          This employeij;

24         subsequeritiy separa^^^

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 1             2. niegai/Hacking in/yidla^^^^
2                 The Computer Fraud ;^£^^                                                               coriiputers or
3         ! computer systems witiibut-aut^^                    bcdess/^M                           jntenttodefraud.;
          fl^IJ;S,Cr§l/P30i:a)^;(e)(2^
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 5                             .(a)4Whoeyer/... /(4) /knowingly            with intent to ; defiiiid,
                     ': Accesses//iaV'prbtifcte^^                                      'or-.,e;xceeds:
6
                      aiiihpriz^d/accessg^^^ riieans:pf such conduct furthers the intended
7                     ifraiid arid obtains anything;pTyalue; unless,the'oyect Ofthe fra
 8                    /the thing bbtain'ed cpnsists only pf the use of/i|ie cprnputer aid the/
9                     value pf such usei is nbt mpretiian$5,0M^                t-year peribd .;. shall
                       be punished as provided/in/subsectipn (c) p^^^                       Asised
10
                       in this seistipn ... (2) theterin;-prptected cbni
11                    (B) which is used in; pr affecting. Interstate
12                    communication, including a cpmputer located joiifside ^
                                                                            t^^^^^
13                    States I that /;is} used; ina manner that affects / iriterstate, pr forei ffi;
                      coOTweree pt/cpm                  of the United St4tes. ;(Em|ih^^^^
14
           AMordingly, the GFAA/hM
15
                   Califomia Penal ^          Sectipn 502 bars similar behayipl^^                            illegal to
16
           knowingly access and vvitiiout perriiissioii, alter oir^^
17
           to devise or carty bufi plan,to^
18         rnpney, property, or data. Part 2 makess/if illegal tp knowingly access and without pieriiiission/i
19         take or use data/from/a coiriputer pr network^ ^                any suppprting tipcum^
20         intemal Or cx:temal to: i cpinputer or nehybrk; Pa,rt 3 makes it ijlegalto1^^^
           permission use/conniputer. M
21
           disruption in Mrvice/tp; an/authpi^^^                                        to knp^rigly ariti/withput
22         permission help someone else/access/a «)mpu^^^                                      this law. And Part 7
23         makes it illegal tOiJcnowingjy^/lari                                                   be; accessed;; any/
24        :cornputerj cbi^^^

25                 As discussed abpy^e, Jacpbs was awaj'e of many iristarides where com^
           were deployed tO. obtain trkde jseCriets and to infiltrate closed social media groups; /Two specific
26
                                                              /2l
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                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 I         instances ite reitetitedrhere//^                                                                    in /tiiis/

2          section.

 3
4
                                                                                    Uber's intent :iri /accessing tiiis
 5
          /protected cOniputer database wais^^to/ltire ;thM^
 6
           /abOye,/& dateb^
 7         tiiat Uber's MA team intended tp carry out. MA was ultimately .successful in hacking the system
 8         /and-pbtalnirig; the/ti^
           ; Order ,tp/'.frau'dulen/tly
9
           ;vioiaies;&/GF/^
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            ideas.vejqjloit a^^                                                                                        "
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                3. Unlawfol Phbnc.T^^
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           the legality/pf S§G's<ii^                                            .'phorie ;cpllectiMi^
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           •iyiblationii'of;&^igrr;^            civil and ;;cririiirial-/lfwsr,JIte                                 .
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                  A. Espionage
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           taxi/transpprt sector, /arid^^pse w^               Issued ordei^ lp^
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 I        /to.attempt/tp^veri/fyjfe
 2        fl|||iri0;to mvestigate ii^pn at^

 3                  ^ S ^ iiiCT;iasfedi/Li^^                                                         |
                    tp begin HUMINT collections on opposition groups, taxi union ofTicials, and govemment
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          /iea||rs./T^tgpal.;yv^
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          li^icaljfeea^
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16        :'/nniihteiite
17        s^mmuniM^^                                             _had/-jCTee^pi^;j3^^                    .;amdj -.
18         could interact with drivers through chaL These collections identified the names of taxi operators
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                    /]|^brsei)^//iri^       2017,            'l^^^^^B^K^Sll/S^^^^^BKttMi!l&^kis^
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          ••iJ^iofelon/Wic^
22         they "needed help cleaning uptiieaudio." Jacobs immediately contacted Claric and informed
23        ;him.g||he^un|a^
24        • /tiiejtai^                                                                                            '
          {to/|mdte:|tgc;a^^
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                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1            •.B..;FG*A-;l^ijpiS;G|;^^
 2                 The Foreign-Contipt Practices Act (FCPA) prohibits; ansoffer, .payment, .promise to^^p^^
 3         or authorization of the/payment ofany money,:Prpffer,gif^ promise to give; pr authorization pf
           the giving.pfanything pf value toanyToreign official; ortoanyperspri, while knp
4
           a portipn pf such mpney<iprvthing pf value will be pfferedj given, pr promised; directiy pn
 5
           indirectiy,:to any Toreign: official foF;the: purposes of influencing any ;act orfdecisioni or to::use;
 6         their influence affect any act or decision, of a • foreign-government:
 7                 During the course of his employment, Jacobs heard abputtthe practice of bribing fpreign
 8         govemment pfficialsi Bascd on his knpwledge of targeting foreign officials to identify those with
 9         influential power, and the rapid insists into new markets without longer-term HUMINT
           developmentheiobsenrediin severalpccasipnsi Jacpbs:reaspnably:belieyed that briberypf fpreign:
10
           officiats was taking place.; SpecificaUy, he believed this conduct: to be::gping on in:^^m
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12
13        ••;tbqk,;plaM/;a^                                                                                     -
          ••Uber/iyas/^                                                 •
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                   wiiiiiUbertounblpc^^^
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27
                      Adam John Mackintosh—vs—Lyft, Uber, Andreessen Horowitz, and Defendants
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 1         VIL      Jacobs' Employmeat Expericac^ and Uber's Ret^
 2               A Jacobs Is.Quicidy introdui:di to                   Disturbing Coiporate Culture
                    but Sete a POs|tiyc and.iSuipGCSisfiil COursc/fbi: Global Intelli^
 3
                    iwo or three days after/he 'Was hired as Uber^s Manager pf Global Intelligerice,; Jacobs
 4
           wias called into an unscheduled meeting'wth/i
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                    Jacpbs;decHiied:t6 participite, Mificially c        upj his/i«tiMrice;:to beiiig/iiew
15
           and not/understandirig;;the limits of what was appropriate to pursue. This/iritroductiiari tb
16         Uber's cOrpcrate culture within ThrealOps/was disturbing tp Jacobs.:
17                  Npnefeless, Jacobs prpceeded io /lead/ the-teanri for whic he was resppnsible,
18         Glbbal Intelligence^ in a manrier that caused it to grow frorn a small/ narrow focus tp; a
19         niuch friore isbphisticated', deveibped arid' prgariized    that eflectiViely worked towards
            its /team gpals arid ptovided siibstantial support tp ThreatQps; He       respected by his
20
            repprts and peers anddid nptireceive'any critiques ;pr warnings f
21         - untii h became;clear; to Uber that he wouldriot/participatein LJber's ongoing illegal
22          schemes.
23               B. Jacobs Discloses and Objects:to:IliegaiConduct in the Suninier of:20i6
24                  Through the first three rnpnthsv of . Jacpbs'itertur^ he ;had; worked to deyelpp his/ pwn
25          intelligence prpgramtp distance             feintelligenceanalysis^^^^^                 intelligence

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                                                             27
27
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 1         cpllections. Jacpbs' program was/irilierentiyisafertiianSSG's HUMn<IT cplliwition mechanisms,
 2         because Ut : wpuid eiriplby oriily reputablei^ ovefrV aiid lorigrstahdiilg veridors; | n | ^ t i | ^ t | | S ^ | §

 3
 4         employees-should capable security services in many overseas locations discover Uber s
 5
 6                 To that end, Intel wsiS ;deyelbping; in ways where it-cOuld WOrk. with: city-teams and
 7         regibrial leadership, hesh Out i^^^

 8         with operi sOurice; :researchj pr Othei: :py.ert yetidpr- services, liimting the need tb: usie SSG
           respurces, Siniilarpr-better results were p                 through;,e,nhanced spcial :media analysis, web
 9
           scraping, Improved; vendor services iritiicarea of network arialysis and geopollt
10         :corisultirig services. Ovei: tiririi^/ jritei could develop jjrpfessipnalrietwp^ksto bcrichfliaiki get
11         •grbund-truth;-and produce;;all?spij^
12        t^Msfl^S- This suite" pf: tools, and/ser\'lce§ wpuid Ipwer Uber'srOyerall spend, expedlte the;
           delivery Of insights, anci ;^|iniinate/risk;,D
13
           Miveiy step ariid bitierieiivi^^
14
                   On June; is, 2016;/jacbbs held a in^ting/with Henley, Claifk; andi;K.ieu Lani—at ,tiie time;
15
           Jacobs' /supppitirig/prpject inaiiager^n Sari :Traftcisc^^ while iGicinto attended via                    The
16         puipose pf theriiiretingw            discuss the establishmerit; pf a central intelligence database to
17         preserve iriforrnaiion, ;iritelli^nce. research, andfinishedrepprts.Jacpbs emphasizedtiiata
           cenfa^l reppsitpry pf iriformatipri Wpiild eri^ble Ubei^'s analysts to quickly fariiiliarize theriiselves
18
           with previous work/dbrie/where Uber bp^
19
           dMbase/tq erisiire c^^^^                               a draft proposal tofe-group.PiscuMi^^
20         dpwn immediately as the group objected !t0; presen'ing any intelligence fet wotild make
21         preservation and legal discOv6ty. a sirriple'prt)cgss forftiturelitigants; Glaii eriiphisized that iHts
22         was "exactly what we don't want to do .... create [a paper trail]tiiatcpuld later be discpverable."
           ;C|ark highlighted;                          tiieicrro                           to tum pveridpciiments.
23
           He alluded;tothe lessons leanied/frpm th^                 inyestigatiprf'and noted thait enciyptipn alpne
24         was npt enoughtoavpid discbyery. Gicinto added his owri ;objectioris, stating t
25         wpuld be willihg;; to share some' deCails Ori: colleictioris, iricluding; Sources^ and methods of
26
27                                                              28
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 1         collections; on Ite; grpund^ iri: foreign countries, they were npt willing to preserve; the raw
2          iriteliigence on Uber's networit.

3                    Jacobstiieinobjected and profferedtiiat;if what/ tlber was doing was actually legal, there
           should be no problem havirig, a:xeniral database so long as; unauthprtzed personnel cannot
4
           inadvertently access it However, the Otherriieetirigparticiparits were firm intiieirObjections,
5         ;reriiained fixed on using HUMINT collection:mechanisms, aridrepeatedlyeriiphaslzed the
6         requirement for Intel and SSG to work,tpgetiier.,/Iacpbs' idea was effectively gutted. On June 16,
7         20I6i Gicintp,;Lam, and Jacpbs met tP:reviewrequirementsfor the intelligence database in: light
          of the previous day's discussion.. Jacobs againraiisedobjectlorii tp engaging iri ^a^^^        that
8
          were deemed too cprifideritiial to docutrient/lri/any way, arid noted that without preservation ofthe
9          raw intelligence there was np need fbr an intelligence database:
10
                     As described abpve,Jurie pf 2016 was.alsp/thetiirne;when Henley, Gicinto and Sullivan
11        ^Ci^^hisd^mul^
12        (llllllllllllllli^^
13        |@cin^|ipr/|^§ei^^                         , |aid/ ''Icf^/lMllur^^^^^^
          cpntentWhen Gicinto asked Jacpbs to develop targeting packages on { | | | / l ^ f eii;|lacp^^
14
           expressed concems over the legality of this assignment, delayed any resppnse, and ultimately
15        ligjib^i/tt^^^gue^
16                   On June 29; 2016, Jacpbs and Pppji Ashpk,/Sullivan's Chlef-of-Staff,:had a pne-pn-pne
17         nieeting Where Jacobs preserited his intelligence ;prpgtarii strategy, which used ethical, legal,
18         pperi-spurce /metheds;. Jacbbs' goals weiiE to ;diyCTsify iritelligerice vendors, reduce risk arid
           expense byusingpubliclyravailiabje: inform        sbiji^|in^^d|af
19
           and woricing threats proactively ;lo provide Ipng-range^forecastlng instead pf tactical resppnses tp
20
           existing tiireatS;
21
                     Per Henley's instructipnsi Jjacpbs- presentation/included a slide with blocks representing
22         the different sources of infomiatiori the Iritel team used to conduct analysis. The blocks, which
23         werls color-codedfroriiwhite to black representing bvert to cbvert cpllection, respectiyely;
24         depicted two blocks where no specific vendor or capability was narned.,/|Pne,jrepres|i^
          Jcollectipns andithe Ptherrepresented;mpbile:phpne;coIlectipns.Ashpk a                 dp we have
25
           vendprs we can't even put pn a slide deck?'- Jacpbs used the questipn as an ppening to::raise
26
                                .                          29                       •, •
27
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 1         pbjectipris:;about'3Si|ii^^recei^
 2               AsKpk appeared tp /share those: coni::erns. She asked . Jacobs if ti|^||^^
           worth the risk, and if they/accoinplished; a^^^^^          inbre 'thah "addressing the paiiripia bf
 3
           executives.''Jacobsrepliedthat it wasjust paranoia and *%ej5hp^
 4
                    On JiJly 5\ 2016, erifibpld^ried by his earlier; disciissipris with Ashbk, Jacobs raised
5
           objections:                   reganding;f!un^i|^|a^|^                           -further: described/his,
 6         outlook for the Intel team to Henley. Jacobs described the dhanges he would make, and how
 7         eyblutioriwOuldtake Uber into; prba^^^^                                                             and
 8         would eliiriiriate the need tp'o^^

 9                  For example, Jacpbs eicplainedtiiafhis/approach: would; ijnable Iritel to conduct due
           diligence on poientia! fleet partriersvtp ideiitify jiep^                                already had
10
           constructive relationships: with; local authorities in foreign countries; This was a way to bopst
11         Uber supply in fbreign cpuntries,ratherthan stealing supply data virtually or through HUMINT
12         cOj^ti£^^getm||p;p^^^              and lousiness perspnstoidentify a similar set of candidate firms.
13         Additipnally, Jacobs described
           the business hpw, dizcisicns: are: made in a: |pcal ccntexi, who truly :hplds power pver the
14
           reguliaitpry and enfprcement activities affecting.Uber; arid how Uber shnuld target its engagement
15         strategy for the best Ibrig-terrii/siiccess foii'/b^                  was a legilirriatie way for Uber
16         tofindput whb; cpntrolled foreign mark^ and who Ub^r shpuld negotiiate witii, instead/Of
17         getting information through unlawful collectipn methodsi

18                  DIscpuntirig Jacpbs', ai>prpach,/Henley pnly emphasized, "Ypu heed tp cpri^^
           with Nick [Gicinto] as one; team.''Jacobs heard tliis response as telling himnottoresist Gicintb's
19
           itik^mi^ip^
20
               C. Jacobs Discloses''and'OhjeGte;;;tu'/l||^|^pi^^
21
                    Conduct in the FaU of 2016
22
                    On Septeniber 1, 2016, Jacobs; held a Sync (pne-on-one) witii Gicinto and Clark and;
23         raised the issue:of imbpi^^lbri^eoUe^^                             had earlier become;aware of this;
24         conduct and believed it was critical to c|iriiiriatc ;or at least liniit fe: Iritel tearii's involvement
25         with anydi|rigrelatedto those types of illegal data collections. Specifically; Jacobs questioned
           the legality of collecting intelligence necessary for the analysis, which targeted !
26
27
                .                  - -' • • ' •                   m
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 I         .politi^iani,^^                                ;Claric"^.of?ered 'the :excuse;fet/^^etjaiys//^'
 2         •difierentfinl    .
                           ||?Discounting Jacobs- concerns, (Dicinto suggested :thatl|^M|tei^
          '!op;eratiyes/|a^                                                                                      ",
 3
4                  lAftegraisirig
          /||ditign||ico|li^                                                                  meetirig^w/itii-Jiac^
 5
           to ''align.:ori legal qiiestibris;''/Jacobs understboiJ/this to; be areactionto. li^'ni questioning the
 6         ethics and legality pf Ubers practices, and an effort by Clark to ensure he had an adequate; pulse
 7         on Jacobs' concerns withthe work Clark was attertipting to keep hidden.
 8                  In their first such meeting; Jacobs reiterated! the risk ,pf continuing Imesej^g^Sj^f
 9        i^Uigli§^M|le^ns|He;fu
           ||||[|[|||||[|^^
10
           (figures^tir^vern^                    Clark/ used the discussipn           opportunity tp emphasize the
11         security practices he had deyeslopcd, specifically around/the: need to communicate via phone,
12         ZbOrii Or Wickr, arid Osterisibly abuse: attpmey-cllent!priviiege tp protectctiipse practices frpm
13         disclpsure.^

14                  On Octpber 27, 26l6i. iri a regulariyrscheduted Sync rriM^                   Cliark; and Gicirito,
           •Jacpbs - price-: again,rai,sed,,(bbncerris;abput/the•/IigaIi|J^^                                                -
15
           tactics being employed by Uber i n H ^ as discussed above, specifically, using impersonations
16         "^^^M^l^^^^^^li^^^i^ iGicinto and Gliark;responded/as'fey-'always,had,:dismtssed-his
17         concerns, and defendcd/theirictioris;
18              D. Jacobs Discloses and Objects to lUegaf Conduc^^
19                  The new year did not ;yield/a neyi?;and mpr^                                                      Its
20         teartis contiriiied to engage;i_n.5illegal conduct andJacbbs cpniinued tp try tp stcer ihe bpat anpfer
21         wiiy. In January 2017,/ilacbbis 'iriforriied Clark; ais disciissied above, that a j
           |rafem||^id/i|^^jy^^                                            •
22
                    in early January 2017, Jacobs becariie aWare;„d|j:BbiJ
23
           ^discu'ssldJabOve) and -rc'pb"rt'ed;'it to;' Clark.. Alth'oufeh it-fprfe6&d";*:iiltgaliiri^           Cla'rk,
24
           dismissed Jacpbs' Mncem anddid nothirig about it^
25
26
                                                               31
27
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 I                Diiriiig a March; 8, 201.7, . meeting between Jacobs-and Gicintp, Jacpbs questioned the
          hiring pf two additipnal people who were allocated to/ theriewtyrfbrmedStrategic Intellig^^^
2
          teariii discussed :belOw; .Gicinto' said fe two pbsitiOns vyere - intended tO' suppprt Uber's
3
          Aulonempus Technplpgy Group (''ATC")V but because                             laiysuit by Wayino agamst
4          Uber, Strategic Intelligence wpuld keep them pff the ATG bopks yvhile .litigation was ongoing.
 5         Gicintp,; wotWrig with both Clark and ^Henley; :said' this would' enable Uber's competitive
6          iriteliigerice efforts; to reriiairi hiddieri :arid protected; frani discovery ;or ariy legal proceedirigs;
           Jacobs understood tliis to be yet ariother effort tb blwciirctiieactual/stm                  function Of
 7
           ThreatOpsfrom;ppss|b|e- litigation, given that: the existence ;pf a team designed to; steal
 8         cpmpeiitpr data (MA), and humansintelligence experts-(SisG) engaging iri theft arid fraud tp
9          access uriautiiOrized data; wbuld be detririierital toVariy peridt
10             E. Uber/Rietaliates
11                On Januaiy 19, 2017. during; the mpnthly /ThreatOps Leads meeting, Henley publically
12        embarrassed Jacpbs bytiivulginjgnegative feedback (a "B'- Or oriie of Jacobs' "Bottom" qualities
           needing improveirierit) Iritended for-Jacpbis' pe^                       Refei^ncirigJacobs' u^^
13
           revtewv Henley/stated, ''[JaCpbs] hasn't heard this yet, but when 1 get feedback that thei/e are
14
           missteps bestween ThreatOps and PhySec and^we need to improve process, I know wcineed tp
15         work pn pur cpmmunications across security."
16                To downplay the Jriappropriateness of; Henley's disclosure of :thiis confidential
17         information, Jacbbs asked facetiously; "I'm.gOingtoassume that's an excerpt Of orie ofriiyt's
18        (a term used to; describe a."Top" :qiiality Or favbirable attribute of an iridividuial)?" The Otiier.
           leaders it: the meeting/ha^d rip reasori ,tp knpvy about Jacobs' petfonnancie review, and he
19
          experienced the;disclpsure.as retaliation ifor Jacobs' disclosing of and resistance to engaging in.
20         illegal conduct.;
21
                  On February 14, 2017,/Henley and Jacobs met to discuss Jacobs'peiforrnance review. He
22        received/a ratingpf !Zbne 2, which is below;meetih^^^^
23        Jacobs because:riothingnegative about his perfOtrriarice' had beienVcOriimiunicatedto/hirii:prior10

24        that day. Henley'sriiaincritibisins tey^                        he callied the ''gap'' between Iritel arid
           SSG. He driticized/Jacbbs fpr/ibt:^^w^^        eriougHAvith/SSG arid,s
25
26
                                                              32
27
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 1
 2        ' S ^ ^ ^ ^ S M ^ P MpreoVer,;;althPugh-;Clark wajs'-nof-.iri Jacobs' dit'eict'riMHagement^'chaini he:
           was present at the meetirig/arid was qubte^ muh                iri/i^he/peirfprrnano^^ review. Heriley
 3
           claimed that Jacbbs lyas npt wprkirig with liegal enpugh and/ needed tO furtiier "prPlect
 4         infprmatipn from, discovery," Fjnally./Henley said.that             fpcused tpp miuch pn the Threat
 5         Map,/despiti5:glVing Jacobs direction^;ri1ake;this ai priority ;fQr;the last twb-riibriths:pf 2016.
 6                 Then Henley abruptiy derrioted Jacobs. He , ordered fet; going forward, all of J^obs'
 7         employees wOuld report directly to Gicintpv who woiild have direct resporisibility fOr both SSG
           /and Intel; iri a claimed realignmerit of the brgahiiaitip^ Jhe neiy t^rin was namod"Strategic
 8
           Intelligence.'' Henley then suggested that/ Jacobs ;shbuld !be reinp                            entirely,
 9
           but left that ultimate decision tp Jacpbs and Gicirito to work out;
10
                   Jacobs:expressed/that;he;was "flppred" by the negative review, arid that it was a '*gut
11         punijh.'- Herepeatedlyquestioned Henley about why lie had not received any previous negative
12         feedbijck, as it woiild. haVe been in evciyprie's/iht^                      ppportunity to correctiriy

13         perceived deficiencies. Further, it vvould: haye kept Jacbbs' iMreer pnrtrack.. Henley's prily
           resppnse was that he shouldn't haye totell/Jacobs how he was doing and; that;tiieevenis
14
           therirtsislves should have provided
15
                   Jacobs experienced/lhis review and:demptipn as pure r^^                               buy intP
16         the ThreatOps isulture Of achieving business; goats throu^ illegal cpnduct evert though equally
17         aggressive legarmcariis' were available tP achieve the sariie erid. Jacobs had repeatedly disclbised
18         and objected to-Ihis illegal/cpriduct^^^^                                                 iiiiyestigate,
           discpver, pr cprrect the yiplatipns pf law at issue,, but nothing changed. Heresisted;requests to
19
           erigage iri illegal conduct iand directed his;;ieam to avoid utilizing SSG whenever possible to
20
           proteict them,frbrii-ptpfesisipna;l irid: pei-sOnal .hariri. Jacpbs, proposed alternativeriiethods;of
21         llSllS^^^ii'ji^Qlfet wcr? leg?! a«id efFewtiye.^^                       disclosed tb; Henlieyi Clark,
22         and -Gicinto;that, SSG's: and; MA'is;:|^llaffltiiSp/m^
           pwiiunurigli^                                                                       resi3ons;e—rwork
23
           mbrie closely with GicintO arid his SSG" teariri. , In other word^; Uber would allovv no "gap"
24
           betvtreenJacobsarid/ThreatOps'/illegal w
25
26
                                                            33;
27
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 I               Attiieend of Jacobs' performancereviewmcBting, Henley bad said ;he was dpofi to a
2         foliow-up session to discuss options for Jacobs. That said, Henley subsequentiy cancelled two;
          sefmiiite/meetihgs^                               ftwas                                tfnis Idt lo
3
          Gictntei's to d^rmiiie w
4
                 The fpllpwiiig day on Febriiary 15, 2017, Gicinto ni^ with Jacpfe to idiscuss fe
 5
          orgmirational changes. Jacobs asked Qicint^                                                      —
6         why Henley and/ Siillivan felt this change was needed, what fe objectives of the change were,
7         arid what exactiy Uber 'was trying tOii«iridiy. Gicunto;repUedfet,he.was not tbldfe;purpose:
          behind the^ Otganizatioriaj change.^ Likewisei Jiicpbsi iattempted to discuss/what his/ hew irOle
 8
          would bb/at die cptnfAiiy. jQicinto ^idfetyyiasb^een Jacoi» aii^
9
          that Henley told him fe exact opposite; and fet he and Gicinto were supposedtowork out his
10        new-resppnsibilities.
11               Within about three days, Jacobs received a Wickr messagefromGicinto explaining that,
12        he had spoken with Henley and still did not have any clari^ on;what JacbbsVroleshould be.
13        Furtiier^, hieVdid not know/whert/tiie p^^      of/fe newly-foniied "Strateg^^ Intellif^nce** tei^
          were, but that for the'Toresee^
14
                 On Febroaiy^^^      2017, Henley em^^
15
          of the structutil changi^. Henley^stressed th4t/he i"supported'' Jacobs and did not want to "step;
16
          on [Jacobs'] message.? Jacobs did his best tOremainpositive and supportive, stating that he
17        wanted to "cause as -littie disruption for fe tearii i& poiuible.'' However^ Jacobs saidi that he
18        could not fkliyer/arii^sageto his foriher/tem/witiib^^                                    new role.
19        HOT|ey:rep|ied that ithe                        fe^                          with hisfrole as/a non-
          manager and stai£d;/'if yoti're not wantingfet^role,we should cMkibout what's; next whetiier
20
          that's looking for other;opportuiiities witiiih Siecurity, Uter, or elsewhere.'' Jacobsre]^Hedthat he;
21        would accept a new iipie if it^yie himtiie"opi^itthity/tp excel arid /is measaged in a way that
22        enables [hini] to/be effbc^
23               Coritraiy to his prevtousrepireiK»tetiOi^^^^Nmleyiaimbwced fe changes/to ;ThireatOps
24        witiiout any input from Jacobs. On February 27, 2017; duriiJg/aT^^              all'i^tands^i^
          with at/least SO attendees; Henley e^qpl&ined fe new organizatibnal itmctiire. He hlghllghted fei;/
25
          *^[Jacobs] takes fe Hit here seeing fe colpr of hisi bubble .c
26
27                                      "- ' ' "   •-    34 •       •              •           •'
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 1         all present that Jacobs was being demoted and sending a message about the consequences of
 2         ralsrting ThrMtl^' Oi?!^^^^

 3                 On MarehiS, 2017; Jacobs and Gicinto had a bn&on^one meetitig where Jacobs described'
           a possible fiitiTO role for hinsself :sihce muritifiriiing !hisriuunageririentrb|e ,was ilot ain OptiOn.
4
           Jacobsfirst(teMled this possiblerole/imdhis pbjectibris iii eriiail. In ai^^ e^ tiuit/day, Jacobs
 5         wrote, "Hi Nick,/rve been;thinking abou^                                       in Strategic Intelligence,
6          and Would likeVto discuss during.our 1:1;today;timepermitting. My pre&rence-isto;remain;fe
 7         global iritel numt^rind e^^^           jprrpgrani /td-H^      with/the ncriv /objectiyes/Joe hits for our
           team, m partnership viifitii you. UrideMt^tiihg fet inay                                 Is an outline of
 8
           yAtere I can contribute as an IC (individual contributor)*'* J^cohs proposed a job description
9
           follpwed with a neWly-prOposed title of Manager, Strategic Analysis. Gicinto and Heriley
10         cbnsultCHi with HR;anid later explained thattiietitlewbutd not fe acceptable. IristMd^
11         assiped Jacbbs thetitlebf SeniprAnal)^tforStiite^^

12                 Dembtisid, ef^tively bstiracized, arid iunable to icbntiiiue lyprking Jacobs /sent his

13         constiructiyeterminationl ^ r to /Ub«f/on April; 14, 2017, Ypu have seen the l^ter. Directed to
           members of Uber's A-team, it details various instances of unlawfiil conduct and pleads for
14
           coinstnictive change at fe company; Since his terihinatiOn, Jacobs bias leariied that, rafei* than
15         cbnduist a legitiniBte ihvestigatibni QEQ Tnyxs :I<^lanick infoim           several of the imiplicated
16         parties about Jacobs' claims prior/to any legitimate investigation. Thts/is/largely fe reason that

17         Jacobs does not feel Uber has acted ih good faith, and why lie;does noti wish to sit down for a
           fonhal interview.
18
                   Jacobs' demotion and constmctiyej'dischaige violated California/Labor Code section
19
            1102.5, which ixx>hi^^^^                                                           infbmationtiiathe
20         reaisbnably believes ^                                             state, or fedeiral rules or reguUtions.
21              Cel., Labor Code/§ 1102.5. Based on the jaws identified above and the conduct he observed,
22         Jacobs had reasonable cause;to believe;he vras disclosing and opposing violations of law in eveiy
            instance described above!. In fet, the activities lie di^lpsed and opposed/as illegal wiere/actual
23
           violations of law, sO his naaispriable belief was:a|so thte
24
25
26
                                                            35
27
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 1                 Jacobs' protected activities individually and collectively constituted a; substantial

2          motiyatihg/faiotor/in Ube^^^^
           caiisirig his coiistiuctive to
3
                  /This/ls/alsb a case /where^^
4
           hesitate in believing fet clear arid c6nyincihg;eyideiidB will show fet Uber's treatment of
5
           Jacobs subjected him to oppression and malice.
6
               F. Impact of Retaliation on Jacobs
7
                   Jacobs had high expectations/ lof himiself and ibelieyed he wisriukihgsubstantial/
8          contt1butions|to Uber, even though fe: conflicts regarding illef^l activity created,significant;
9          stress in his life. His demotion and constructiontemiinationbnitally undercut fe Objective
           eVldimce of his siiccess iri^develOpirig the Global Intelligence teaiinii oiusing e^
10
          arid serious Imputations
11
                   Jacobsis^so <E»(periehcing ecOriOinic
12
          job s^i«th;Md futij^ eairiirigs/ppteiiti^         binitiiestaik tuki:^                             a
13         suc<^furtesmto;indiyidua| contributor,
14                 Jacol^' base salaiy;w^ $130,OQO.;;Hi5 initial equi^^^^           4,098 resirictiBd
15         ("RSUs'^), of which one quarter would vest on Jacobs' anniversary and t^
16         he was fully vested atfouryears. Attiietime of Jacobs' hire,/Uber explained to him that the
           value Of those RiSUs was $48 per :imit,; Or $1%,764, b^^                    ^hinual icomperiisation to
17
           $179,176i5suiiiirig full yestihg-and nofortherequity^^j^^
18
                   In additipn, Jacbbs was eligibleforan antiual perfonnanpe bonus; In his ofTer lettier, tiie^^^
19
           bphus was 4escribed as;iup/to $270,000 fbr/fe highest perfi^^ That value would again be
20         given in equity: However, based on feedback from his colleagues, Jacobs belieyes;that, for2017,
21         fe highest bonus ;available to employees performing at "Zone 6" is $360,000. Furthermore;

22         Uber's Sehibr Recriiiting Lead Aridrew/Gesaiz told Jaicpte^^s^^ i?<B       ''^^^ hire thattiie"top
           tier bbhus paid in 2015 at your level isribwwbrth $1,(M)0,000;"
23
                   Certainly,:fe cOriipensatipn was one reaspri why Jacobs accepted fe position at /Uber,,
24
           ultiinafely to Kis /diriment.: jnstiead of «»eiying anything naiiqtely amOimtrng to the above,;
25         Jacobs' annual bonus after/his deriiotiori WM $12,000, which                              80% IWU^
26
                                 "                         36      •
27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, porporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1         vested ;oyw /36;tnoirflis,- Efiectively; he only recehred i$2;400 jin"cas]i ;aad one bonus acuity
2          y^tiiig of 7 RSUs ailercompi^iiig/hi^
 3                 The diemotibn intitiisabo affects Jacobs'eaniing potential andio                   ,
4          q^lyingforother positions; In additipn to fe public burinUation he e}q|itBnenc«i^;Jaopb
           mnsdiis biit of wpric and has biffin mmc^^              .in; Bttammgran^arablefbture
 5
           ^Doplbyinent
6
               VINextSteps
7
                          This Mer was prepared to re^ndtoyoiirrequestfor niOre detailed infonnation
 8
           about the illegal conduct Jacobs cbserved during bis emplpymisnt and tiie retaliation he
9          ei^aienced ^.lUber, ^'iMiile long^                                                   information
10         tiiat wiiiitiow/t/ber/toin^^
11                jn /his, /temiinatibn' letter, Jacobs wrolie: "While; woridng coni^tions haye become
12         intolerableforme, my hope witiitiusletter is to effect usefiil diange within fe company culture
           endtiieseilli^al practices^ and assure redstigninent Of myfonnerteam to woik under better
13
           leada^lup." He pffdstiieinfoimation intiiisletter with the same hope and purpose.
14
                   Once you hove discuraedtiiiscominunication widi your dient, please let uis know how
15         Uber would like to proceed.
16
17
                                                               Very truly yours,
18
                                                               liALUNENLAW
19
20
21
                                                               Clayton D. Halunen
22
23
24
                  CDH/cam
25
26
                                                          37
27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 I             36. UBER HAS NOT LEARNED THEIR LESSON, REPEATING HISTORY -

2            CAUSING DEATH, INCREASING MORTALITY RATES AND HARMING
3            INNOCENT LIVES IN HEALTHCARE, INCLUDING PLAINTIFF'S WIFE
4
       1514. Plaintiff asserts Business Insider's timeline of scandalous events in 2017. Whereas in this
5
               Complaint, the scandalous behavior by all Defendants, is oufrageous, greedy, unlawfiil
6
7              and killed an innocent life through the autonomous vehicle program at Uber, and

8              continues to endanger innocent lives in healthcare.
9
                              ATIMEt.INi;OF0BERS^^
10
                                     Departure       p New hire/position          Scandal
11
12
13    Feb 19: Former engineer Susan Fowler publishes
      details of the sexual harassriient and gender bias
      she experience at the company. Uber immediately               ^ Feb 23: Investors, Freada and Mitch Kapor,
14                                                                    blast the company for failing to change; Google
      launches an investigation.
                                                                      spinout Waymo sues Uber for alleged intellectual
15    Feb 27: Amit Singhal, SVP of Engineering                        propei'ty theft.

16                                                                  * Feb 28: A dashcam video catches CEO Travis
                                                                      Kalanick in a heated argument over prices. He
17                                                                    apologizes and says he'll seek leadership help.

18
19    Mar 3: The NYTimes reveals Uber has *                           Mar 3: Ed Baker, VP of Product
      been deceiving authorities for years                            and Growth
20    with a tool called "Greyball.''
                                                                    «• Mar 7; Uber launches a search for
21                                                                     c o b after Kalanick admits he needs
      Mar 8: Gary Marcus, Head of Uber Al Labs *
                                                                       leadership:heip.
22    Mar 19: Jeff Jones, President of Ridesharing

                                                                    * Mar 25: After a crash in Arizonai Uber temporarily
23                                                                    suspends It self-driving car program. The
                                                                      Information reveals Kalanick and other Uber
24                                                                    exec's visit to Seoul^escort karaoke bar.

25
26
27
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                                                           -653 -
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 1
2      Mar 28: Uber releases its diversity numbers,                       Mar 28: Brian McClendon, VP of Maps
       which show it's in the middle of the pack                          and Business Platform
       when compared to other tech companies;
3
4                                                                         Apr 11: Rachel Whetstone, SVP
                                                                          of Communications and Policy
5      Apr 17: Sherif Marakby, VP
       of Global Vehicle Programs
6                                                                         Apr 23: Details of a meeting between Apple's
                                                                          CEO and Kalanick leak. Tim Cook personally
7                                                                         warned Uber that it would pull the Uber app"
                                                                          from the app store if Uber kept violating
8                                                                         Apple's policies.

9
       May 4: US Justice Department opens a criminal t
       investigation into Uber's use of the "Greybajr' tool.     o
                                                                          May 11: A judge denies Uber's bid to avoid
10                                                                        a trial with Waymo arid refers the case to US
       May 15: The judge issues a preliminary                   -0        prosecutors for a possible criminal investigation.
       injunction against Uber, blocking its
11     former head of self-driving cars frorn                    ®-       May 18: Salle Ypo, promoted to Chief Legal Officer
       working on certain technology.                             !
12                                                                        May 23: Uber tells NYC drivers it will pay "tens of

13
                                                                 o        millions" owed to them because of an accounting
                                                                          error that underpaid them for years

14     May 30: Anthony Levandowski, former    —                           May 30: Josh Mohrer, GM of New York City
       Head of Uber Advanced Technologies Group
15
         May 31: Uber announces it lost $700                             May 31: Gautiam Gupta, Head of Finance
16       million in Ql.

17
         June 5: Frances Fret, SVP Leadership/Strategy
18
         June 6: Uber says it fired over 20 employees                    : June 6: Bozoma Saint John, Chief Brand Officer
19       after a workplace investigation turned up 215
         claims of harassment and other bad behavior.
20
         June 8: A 2013 email, dubbed the "Miami "                       June 7: Eric Alexander, Head of Asia Business
21       Letter," is published by Recode. In the email,
         Kalanick told employees how to handle sex,                      June 12: Emil Michael, SVP of Business
22       drinking, and throwing kegs at a company
         party.                                                          June 13: Uber agrees to a set of 47 wide-|-anging
                                                                         recommendations that stem from the investigation
23       June 20: Kalanick resigns as CEO after                          launched in February. Kalanick announces he's
         investors revolt.                                               taking a leave pf absence, and a board member
24                                                                       is forced to resign after making a sexist joke
                                                                         during the company's meeting.
25
26
                                                                                                     BUSINESS INSIDER
27
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 1                       37. EVIDENCE UBER AND LYFT ENDANGER L I F E IN HEALTHCARE

 2             1515. Plaintiff has established a preponderance of evidence as exhibited herein, and through all

 3   proceeding paragraphs of this Complaint. Plaintiff wishes to make a final point regarding Uber and
                                                                   I
 4
     Lyft's knowledge of its recklessness in healthcare;
 5
 6             1516. After Lyft and Uber were aware their drivers consistently cancel on riders, they continued

 7   pushing into healthcare after misappropriating Plaintiffs $1,200,000,000,000 trillion-dollar
 8   healthcare opportunity, failing to execute properly.
 9
               1517. By canceling on healthcare patients who have cancer, who need blood transfiisions, who
10
     miss their medical appointments as a result pf Defendants diivers, it progresses innocent people's
il
     hereditary disease, mortality rate sand causes death.
12
13             1518. Pictured on the next page, Lyft is aware drivers cancel on riders.

14             1519. As proven herein, Uber and Lyft are synonymous, and Uber is aware of the cancelled
15
     rides.
16
               1520. Plaintiff further argues Defendants anticompetitive tactics, cause drivers to cancel on
17
     patients. It's un-American.
18
19   ///

20   ///

21
22
23
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     / / /




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24
     ///
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26   ///

27
                              Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28           Complaint for Unjust Enrichment, Endangennent of Life, Corporate Sabotage through Espionage, Unfair Competition
                Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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                                          ,We have received;; niinrierous; reports frorn
5                                         ji>p>s^0s'.ti}^}y^ it^;:rict;.shpwlnig/u^
6                                          to pick therii iup r^-f^^^                to
                                           cancel tbe|r rides^:;and/incurring
7
                                          -xaneeiatlibh;'^                          .
8                                         idriversitb provide: a idiependable iservice,
9                                         ;iand:Jfsj^fripbhirit^            there, :for
                                          /them;:           '
10
11                                        /HjrthertTicire; we/haVe;;<^                     pf
12                                        ;$9£^/pQ^fi^iTi yobi'futxif^^
                                          /Please nbte^juinde^ft^
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                                          ii^yft reservies the rig^^
14                                        :a pbrtibh;;bf :Ride/Fees;:i                that
15                                        iyou. Haye/ittfi/^iptecl^^ di^^'iiia ;pij/;at>use
                                           Lyft or liyft's; paymed             .
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                                          ;connectfen;'Withycur;proyisibn;U)^
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                                          ;Se!yices;;cpuld/^pu|:^                      of
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21
                                           ;Regartls,;
22
23
24
                                           Clara
25
26                                         tyft Suppprt/Represeritative

27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1                          38. CEASE AND DESIST FROM ALL ENGAGEMENT

 2     1521. Plaintiff argues Defendants do not, and will hot care about cease and desists as it's
 3
               instilled in their culture as seen through all proceeding paragraphs of this Complaint.
 4
       1522. This behavior is grassroots and genuine as freely and casually admitted by John
 5
 g             Zimmer, Co-Founder, and CEO of Lyft, in a YouTube video.

 7
 8
 9
10
11     1523. Video evidence:

12             https://www.dropbox.eom/s/w0esvu4z 1 zizluI/Be_Fearless_Startups_tips_from_the_C
13             o-Founder_of_Lyft_%20Lyft_President_John%20Zimmer.mp4?dl=0
                                                          I ;
14
       1524. This behavior is grassroots and genuine confirmed by Joe creating a fake accent, and
15
               stating he moved out of state to evade and disregard iHug's and Plaintiffs cease and

17             desist.
18     1525. This behavior is grassroots and genuine confirmed by Ben refusing to be served with
19
               court documents, and dechning to identify himself
20

2J     1526. This behavior is grassroots and genuine confirmed by Logan unsubscribing to

22             Plaintiffs settlement demand for damages to Plaintiff, his Wife, and iHug.
23     1527. This behavior is grassroots and genuine confirmed by Jerry avoiding and refusing
24
               documents at his place of business and home.
25
2^     1528. This behavior is grassroots and genuine confirmed by Louis refusing to open emails,

27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1                 and hiding from Plaintiff

 ^        1529. This behavior is grassroots and genuine confirmed by Dara reading Plaintiff's
 3
                  settlement demand letter four times and ignoring it, failing to advise Uber's legal
                                                              I
 4
                  team of such liability.
 5

 6        1530. This behavior is grassroots and genuine confirmed by Lyft's legal team and/or
 7
                  counsel to reply and acknowledge receipt of Plaintiff s settlement demand.
 8
          1531. This behavior is grassroots and genuine confirmed by Uber's legal team and/or
 9
10                counsel to reply and acknowledge receipt of Plaintiff s settlement demand.
11        1532. Plaintiff motions the court to use this, intentional behavior, to re-enforce, and use as

12                support, and grant Plaintiffs Ex Parte. Application, Injunctions, Preemptive Motions and
13
                  all other requests, forcing Defendants tb cease and desist.
14
          1533. Plaintiff prays that an Honorable Judge place strict restraining orders, and impose stiff
15
                  fines, penalties including prison time if any of the Defendants, and/or affiliated person(s).
16
17 1              and/or entities continue to engage in any activity thaf s aiihed at Plaintiff, his Wife, iHug,

18                and any friends, family or affiliated paities to Plairitiff, his Wife and iHug.
19
20
21
22
23                                     Adam John Mackintosh,

24                                     /s/ Adam John Mackintosh //
25                                     Adam John Mackintosh (will seek admission pro hac vice, in pro per)

26
27 ,„
                         Adam John Mackintosh—vs —Lvft, Uber, Andreessen Horowitz, and Defendants
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 1           39. EXPARTE APPLICATION FOR PERMANENT INJUNCTION ORDER AND

2                                               ORDER TO SHOW CAUSE
 3
         1534. Pursuant to Sections 525, 526, and 527 of the Code of Civil Procedure, Plaintiff
4
     hereby applies ex parte for a Permanent Injunction Order and Order to Show Cause why a Permanent
5
     Injunction should issue enjoining Defendants from competing in healthcare as their anticompetitive
6
 7 taxi tactics endanger life in healthcare, and should issue enjoining Defendants from retaining, making
 8 any use of, continuing to unjustly enrich themselves, or otherwise disclosing or distributing
9
     confidential and proprietary information belonging to Plaintiff amongst themselves. In particular,
10
     order Uber and Lyft to integrate iHug into all pathways in healthcare, allowing iHug to responsibility
11
     build out the Rideshare for Healthcare, a model that was misappropriated by Defendants.
12
13       1535. This Application is made on the following grounds:

14              (1) Plaintiff will suffer irreparable injury, if Defendants are not immediately enjoined
15
                from retaining, and continuing to make any use of or otherwise disclosing or distributing
16
                Plaintiff s confidential and proprietary information without 100% royalty allowing
17
                Plaintiff to oversee the operation of his $1,200,000,000,000 trillion-dollar healthcare
18
19              opportunity to ensure proper execution; preventing the endangerment of life;

20              (2) The balance of harms tips sharply ih favor of Plaintiff given the nature of the
21
                Amended Complaint and the injuries sustained, and that the information Defendants
22
                misappropriated has otherwise remained confidential; And
23
                (3) there is a high likelihood that Plaintiff will be successfiil in establishing that
24
25              Defendants misappropriated Plaintiffs confidential and proprietary information, and in

26              violation of the following but not limited Intellectual Property Califomia Civil Code § §
27
                       Adam John Mackintosh—vs —Lyft, Ubier, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
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 1                  3426-3426.11, Califomia Uniform Trade Secret Act Califomia Civil Code § § 3426-

 2                  3426.11, Defense of Trade Secrets Act, Califomia Comprehensive Computer Data Access
 3
                    and Fraud Act ("CDAFA"), Califomia Penal Code § 502 of Corporate Espionage 18
 4
                    U.S.C. § 1832 (a), (5), (b) The Califomia Invasion of Privacy Act, and mutual non-
5
                    disclosures, non-disclosure, contingent employee Invention Assignment and
 6
 7                  Confidentiality Agreement and applicable law, and that Defendants' wrongful activities

 8                  should be enjoined.
 9
                    (4) Enjoin Defendants from operating in healthcare, and all healthcare relatedfieldsas
10
                    Defendants through the natural course of their anticompetitive taxi tactics to incentivize
11
                    its Drivers not to drive for the other competitor, canceling on dialysis, cancer and other
12
13                  terminally-ill patient's medical appointments. When this occurs, in particular, a dialysis

14                  patients blood toxins can escalate, causing the person to be very ill, and lead to a fatality.
15
                    In the event a healthcare patient stops breathing, has a stroke, or heart attack. Defendants
16
                    drivers are not CPR or Basic Life Support certified, much less equipped for such
17
                    operation, which will have an adverse outcome and place harm on the healthcare patient in
18
19                  the event of such occurrence, thus endangering life in healthcare. Whereas Plaintiffs

20                  Rideshare for Healthcare model required CPR and Basic Life Support Certification, and
21
                    required Drivers to carry a first aid kit in their vehicle which included a CPR mouth piece.
22
                    Defendants should immediately put iHug at the forefront of the healthcare markets to
23
                    ensure proper execution of his $1,200,000,000,000 trillion-dollar healthcare opportunity,
24
25                  ensuring lifesaving healthcare tools, quite the contrary to Defendants current operations in

26                  healthcare. For the reasons mentioned herein, and PlaintifFs point to put life first.
27
      i                    Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
2.8       Complaint for Unjust Enrichment, Endangennent of Life, Corporate Sabotage through Espionage, Unfair Competition
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 1               outweighs any fathomable argument made by Defendants and/or their Legal Counsel.

 2               (5) Plaintiff continues to respectfially make the point that in 1776, the United States
 3
                 Declaration of Independence declared that "all men are created equal, that they are
 4
                 endowed by their Creator with certain unalienable Rights, that among these are Life,
 5
                 Liberty and the pursuit of Happiness. Maintaining, these innocent healthcare patients are
 6
 7               being harmed when cancelled on, as a result of Defendants aggressive anticompetitive

 8               tactics. Thus, infringing on people's right to life. For the reasons mentioned herein, and
 9
                 Plaintiffs point to put life first, outweighs any fathomable argument made by Defendants.
10
          1536. This Application is being made ex parte because impermissible use, disclosure or
11
12 distribution of Plaintiff s confidential and proprietary information is occurring and may occur
13    immediately.

14        1537. As outiined by Plaintiff in section 16. PREEMPTIVE MOTION TO STRIKE 1:
15
      TO PREVENT LOSS OF LIFE, in the Amended Complaint, people's lives are infringed on if
16
      Defendants are allowed to continue to operate in healthcare without handing back all healthcare
17'
18 operations that were built based on Plaintiffs misappropriated corporate secrets, in particular
19    $1,200,000,000,000 frillion-dollar healthcare opportunity, allowing iHug to lead the way in

20    healthcare to act responsibly, safely, and to protect our God given right to life, supported by the
21
      Declaration oflndependence: Plaintiffs healthcare opportunity that was misappropriated by Uber
22
      and Lyft, is a system that's to save lives, and offers lifesaving healthcare tools, whereas if Defendants
23
      continue to improperly execute on such plans, they will continue to endanger life. Whereas, Plaintiff
24
25    maintains, iHug should rightfully take over Uber and Lyft's Healthcare Divisions that was built based

26    on his misappropriated plans, to prevent such loss of life, as iHug is entitie based on Uber and Lyft's
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1   willful and malicious violations of laws, and sfrict Mutual Non-Disclosure signed and approved by

2 Uber Headquarters.
3
         1538. This Application is based on the Amended Complaint in this action; the attached
4
     Memorandum of Points and Authorities listed in the, table of contents; the accompanying
5
     Declarations of the Plaintiff in Support of a Temporary Restraining Order; and such other evidence
6
7 and argument as may be called to the attention of the Court at or before the ex parte hearing.
8        1539. Pursuant to Califomia Rule of Court 3.1204, notice of this application will be
9
     provided to Defendants through a service processor.
10
         1540. Pursuant to California Rule of Court 3.1202(a), Plaintiff states that he is not aware
11
     of any attomey representing Defendants, and fiirther states that Defendants' current contact
12
13   information is:

14              •      Lyft, Inc.
15
                       185 Berry St #5000, San Francisco, CA 94107
16
                •      Uber Technologies, Inc.
17
18              •      Uber Health, LLC. - 1455 Market St #400, San Francisco, CA 94103

19       1541. Respectfully submitted and executed on July, 4, 2019 in Sacramento, Califomia.
20
21
22
23
24                                  Adam John Mackintosh,

25                                  /s/ Adam John Mackintosh //

26                                  Adam John Mackintosh (vvill seek admission pro hac vice, in pro per)

27
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 1                       15AA. MEMORANDUM OF POINTS AND AUTHORITIES

 2   15BA. INTRODUCTION
 3
         1542. Plaintiff has direct evidence from a whistleblower, affirming Uber and Lyft use
 4
     cash, brand power and other incentive to induce drivers to engage in unlawful misappropriation of
 5
 6   proprietary and highly sensitive business information, and corporate secrets from competition that has

 7   allowed Defendants to grow at astronomical rates. M ^ 51. Id.

 8       1543. Plaintiff has direct testimonial evidence from a Lyft and Uber driver admitting
 9
     Defendants orchestrated the unlawful conduct contained in this Complaint. In particular, Uber, Joe,
10
     Louis and Does have signed a vmtten Mutual Non-Disclosures, Confidentiality, Non-Disclosure,
11
12   Non-Compete, Contingent Employment Agreement and other legal Agreements which are still in fiill

13   effect, confirming their commitment to protect and maintain as confidential - Plaintiffs proprietary,

14 highly sensitive, and secretive business information. Id. T| 52.
15
         1544. While Plaintiff and his Wife were under duress and corporate attack, Joe
16
     announced in November of 2017, he was resigning from iHug, Plaintiffs Company, and on multiple
17
     occasions between December, 2017 to April of 2018, leading up to his exit. Plaintiff believes Joe
18
19   misled him in order to continue to gather intelligence for Defendants, while exposing such

20   intelligence to Defendants and providing confidential login details to iHug systems. Throughout this
21
     time, Joe, Louis and Does colluded in private, at meetings and in person at iHug's office and other
22
     locations. On multiple occasions Joe, Louis and Does met with Lyft, and Uber Executives, while
23
     "driving" for Defendants' platforms in San Francisco, Califomia with iHug's intemal systems loaded
24
25   on their personal and bumer phones, and other devices, to leak highly confidential corporate secrets

26   to Lyft, Uber and Andreessen Executives at will. Id. T| 53. Id.
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          -663 -
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 752 of 825



 1       1545. Joe, Louis and Does involvement with iHug required them to synchronize their

 2   corporate emails on a mobile device, giving them access to intemal communication, and other
 3
     systems, assigned to them by iHug.
4
         1546. After the synchronization, the devices contained thousands of artifacts (files and
 5
     folders) belonging to iHug, including but not limited to, iHug's financial, competitive, and corporate
 6
7    secrets including Plaintiffs $1,200,000,000,000 trillion-dollar healtiicare opportunity. Id. 154. Joe

 8   Louis and Does had access to iHug's intemal systems from any computer in the world simply by
 9
     providing his login credentials.
10
         1547. Even after Plaintiff had these credentials blocked, Joe, Louis and Does continued
11
12 to obtain other login credentials and system admins login credentials to misappropriate proprietary
13   information and intemal operations.

14       1548. Such a breach has allowed Defendants to unjustly enrich themselves pre-and-post
15
     their initial public offering. Id. T| 55.
16
         1549. Plaintiff continues to see his non-public, confidential information, proprietary,
17
     documented features and services emerge on Defendants platform. Id.-^ 56.
18
19       1550. In recent events. Defendants hired a highly-experienced healthcare employee from

20   McKesson, who has unlimited connections in healthcare to accelerate Uber and Lyft's healthcare
21
     growth, whereas they used Plaintiffs corporate secrets to allow such growth, in particular grocery
22
     pick up and drop o f f , healthcare monitoring, checkups and other innovative healthcare services
23
     integrated in a transportation app. Plaintiffs original Rideshare for Healthcare model. Id. \ 51. Id.
24
25       1551. Where it's believed. Defendants are deploying Plaintiffs corporate secrets, ideas,

26   and proprietary healthcare models into their existing business, evolving their business, exponentially
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          -664-
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 1   growing revenues, unjustly enriching themselves without legal entitlement. Id. | 58. Plaintiff legally

 2   through written and signed contract, said violations of Unjust Enrichment and Trade Secrets Laws
 3
     that were designed to protect the rightful owners of their proprietary and confidential intellectual
 4
     property. Id.
 5
 6   M , ^ 51 - 58 (emphasis added)

 7   15BAA. GROUNDS FOR PERMANENT INJUNCTION POST-JUDGEMENT

 8       1552. NOW COMES Plaintiff, who's left with no other choice. Plaintiff will set the
 9
     grounds to grant permanent injunction post-judgement.
10
            Factual Events:
11
12                       •   Uber filed its Limited Liability Company, Uber Health, LLC on 4/20/2017,6

13                           months after Id ]| 59. Plaintiffs tmck was broken into. Id.
14                       •   Uber formed the Limited Liability Company, 6 months after Id\6Q. Id,
15
                             Plaintiffs life was threatened if he pursued iHug.
16
                         •   The tmck had an alarm system that was professionally disabled. The wires
17
18                           were cut from underneath his dashboard.

19                       •   The icommercial grade 1 gauge wires were sliced that ran from the back of
20                           Plaintiffs tmck generator to Plaintiffs trailer. It carried electricity so Plaintiff
21
                             could keep his laptop, iPad and other electronics powered so he could continue
22
                             pursuing iHug. /c/ ^ 61.
23
24                       •   Plaintiffs Corporate Secrets were located on his laptop. Pictured below and

25                           the proceeding pages indisputably proving Plaintiff was a target for his
26
                             intellectual property that has evolve Uber and Lyft. Plaintiffs vehicles and
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                         -665 -
       Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 754 of 825



 1                          personal property had forced entry where Plaintiffs laptops, iPads, hard drives,
 2                          thurnb drivers and other storage devices stolen, exposing his New Digital Ai
 3
                            Healthcare System. Defendants are engaging in imlawftilly activity, as
4
                            described in Jacobs Letter, unlawfiil gathering of intelligence. Id ^ 62. Pictured
 5
6                           below atop. Exhibit A101, Exhibit B102 below in the same picture.

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                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                        - 666 -
       Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 755 of 825



 1                      •   Pictured below, Exhibh C103.
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                      Adam;Johri Mackintoshr^vs—Lyft, Uber; Andreessen Ho^^
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappi opriation, Breach of Contract, Defamation and Slander.
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      Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 756 of 825



 I                          Pictured below. Exhibit D104.
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                     Adam John Mackintosh—vs—Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment,;Ericlangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret,Misappropriation, Breach of Contract, Defamation and Slander.
       Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 757 of 825



 1                          Pictured below, Exhibit El05.
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                      Adam John Mackintosh—vs—^Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Eindangennent of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation- Breach of Contract, Defamation and Slander.
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       Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 758 of 825



 1                           Pictured below, E.\hibit F106.
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                      Adam John Mackintosh;;7-vs —Lyft, Ubeii Andreessen Horo'witi?, krid Defendants
28   Complaint for Unjust Enrictimerit, Ehdangenridnt of Life, Corporate Sahptage thro^igh Espioriage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                         ^ ;-^ 'v'' ;;v^v;/v;;^":/';;'-: ''•;':.-67:(y.^^''-^:-::y^^^^                                  . ':.
                                         !! ','. '.' '^:;''-vfr' -   !!i;i,'j;r.j-i',"-.'i'



       Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 759 of 825



 1                          Pictured below. Exhibit G107.

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                      Adam John Mackintosh—vs—Lyft,:Uber, Andreessen Horqvyitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment.pif Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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                                                   :f:K:
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 760 of 825



 I       1553. Not only will Plaintiff seek cease ^and desist by vvay of preliminary and permanent

 2   injunction, specifically, Lyft, and Uber from any fiirther unauthorized possession, use, or disclosure
3
     of Plaintiffs confidential and proprietary information and unjust enrichment, including Uber and
4
     Lyft's Healthcare API Id%63. The Healthcare API created and launched by Uber and Lyft at the
 5
     same time in March 2018 I d ^ 12; were done so at their own peril, just six months after violating
6
 7 Unjust Enrichment in Trade Seicret Misappropriation Califomia Civil Code - CIV § 3426, using
8 Plaintiffs Healthcare API that allowed for variable Id ^ 64 healthcare services through a medical
 9 transportation app.
10
         1554. As Ben Horowitz of Andreessen Horowitz unlawfully and without entitlement
11
     received Plaintiffs confidential^ information, Ben later prpceeded to unlawfully use said confidential
12
13   information, unjustly enriching himself.

14       1555. Pictured below, Darren's email to Ben, where the confidentiality email clause was
15
     purposefully removed. Id^65 Pictured below, Exhibit HI08.
16
17                   Froirn: Darren                          ith.com>
18                   Date: Mon, Oct 16. 20n at 11:16 PM
                     Subject: IHug Healthcare - Seeking $&-10MM Investment
19
                     To: ||||^HkLl@z.i^Qm
20
21
                     Hi Ben,
22
23                   My name Is Darren, I am the acting CFO and an Advisory
24                   Board member of IHug. We hope you may consider a capital
25
26
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                           -672 - •
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 1      1556. Darren signs a non-disclosure, approxunately 45 days prior to intentionally
2    sending Ben, Plaintiffs $1,200,000,000,000frillion-dollarhealthcare opportunity. H 66. M Pictured
3
     below. Exhibit 1109.
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        1557. Pictured below, a snippet from Darren's non-disclosure agreement, excluding Ben
12
13   116. Id, Defendants from using Plaintiffs $1,200,000,000,000 trillion-dollar opportunity. Pictured
14   below. Exhibit Jll0.
15
             (c) Recipient acknowledges that monetary damages may not be a sufficient remedy for
16           damages resultingfromthe unauthorized disclosure of Confidential Information and that
             the Company shall be entitled, lyithput waiving any other rights or remedies, to seek such
17           injunctive or equitable relief as ihay be deemied proper by a court of competent
18           jurisdiction. In the event any third-party who has direct or indirect connection with
             Recipient involved in monetai^ damages that are a result of continuing to disclose
19            unauthorized Cohfidehtial Iitformation^ the Goinpaity shall have the full rights and
20            entitiemehtto seek such injunqtiye or, equitable relief ias may be deemed proper by a court
              of competent jurisdiction.
21
             4. Misceilanequs          '
22
              (a) All Confidential lnlbrmation arid Confidential Materials are and shall remain the sole
23            and exclusive property oftiie Company. By disclosing iriformation to Recipient, tiie
24            Cotnpany does not grant any express or impliedrighttoRecipient to or under the
              Con^iany patents, bopyri^tsj trademarks, or trade secret informatiott Any information
25            that's given, disclosed, coinmunicated or otiierwise expressed by Recipient that sh^e,
              enhance, evolves or otherwise shall remain the sole and exclusive property of the
26            Company.                  ' -          , -.             ." - • . -         ,
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                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference. Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                           '   •       •.^'673 -' ,"" ."'•'•
         Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 762 of 825



 1       1558. In particular, Uber and Lyft, with the assistance from Benchmark Venture Partner

 2 •who threatened people to unlawfully.commit          acts that gathered iHug's Intellectual Property
3 pertaining to a Healthcare API, and unlav^fftilly obtained said confidential infomiation, and corporate
4
     secrets. Id. ^61 Id.          <
 5
         1559. As seen below, EUI unauthorized device login was made from Uber Headquarters,
6
 7   in San Francisco, Califomia. As seen herein, unarguable geolocation evidence, establishes an

 8 unauthorized login to iHug's systems, within a 200-foot radius from Uber's H.Q T| 68. Id. Pictured
 9 below. Exhibit K i l l .
10
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16
17       1560. As seen herein, Zendesk sent Plaintiff intemet protocol identification, establishing
18
     the login within a 200-foot radius frorii Uber's Headquarters, *\ 69. Id, where more corporate secrets
19
     were stolen. Pictured below. Exhibit LI 12.
20
21                                  iendesk sigh-in d e t ^           a new deyiice.

22
           Hi IHug Partners,
23
           It looks like you signed into your Zendesk account using a new device on Oct6 at 15:23:
24
                • Location^ United States
25              ."IP:

26
27
                        Adam John Mackintosh—vs—Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
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                                                                 |l ,| ;.


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 1       1561. Pictured below. Exhibit M l 13.

 2
              Geolocation data;                                             lAPI, real-time)
 3
 4                                        /tpuiitrV,,
 5                                                             California                   San Francisco
                                          United/Stales!
 6
         1562. As seen herein, a description of iHug's Artificial Intelligence Healthcare API, and
 7
 8   verticals in healthcare throughfransportationsegue, in which Uber and Lyft are currently unjustly

 9   enriching themselves ]| 70. Id. The plans were drafted by Plaintiff as early as 2012 through 2019.
10 Pictured below. Exhibit N I 14, pictured on the next two page are blovsoi up versions of Exhibit N I 14,
11
     which are more legible.
12
        .(/^|-jug                                                                             Healthcare .forEvorvone.Anywltsro®
13
            Real time Rideshare for Heaithcare: Automated Match Maldng
14
                                                            > • Abundance of availability through Aisdieeriing,^i^
15                                                              providers/ridesh^e drivers and nonTCommercial vehicles for
                                                               ifranspdrt
16                                                          • Shares the same vehide alid <testihatto^
                                                                Pairs passengers and drivers who are heading in the same
17                                                              directum / headir^ to the same destination

18                                                            :Uses latest G | ^ Ai techriolt^estooptimize routes to
                                                               conservegas
19                                                             Uses location base technologies on smanphones for
                                                               efficiency
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                                                              Fadlity-td-facility, rri«lfcal pirovidar-to-medfeal providw
21                   -A^Badtaid Secure      Psimerv!          enables nrtanmum roiA'ng efficienci^ for rebccuiring routes
                        API      Oajxea     Wanager-
                                                              Geared towards profit / commercial gain and savings for
22                                                            patients

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                        Adam John Mackintosh—ys —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                           -675 -
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        1563. Pictured below. Exhibit 0115, clearly outlining the importance of an API for

2    Healthcare     71./i/.

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                  Admin PariiBi                                             ,Ai: Backend      Secui'e                     Payrnait               Provider
22                                                                          • API            Database                     tyiariager            Scheduling

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        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 765 of 825



 1       1564. Pictured below. Exhibit PI 16, clearly outiining technologies, processes, software, and in

 2   particular, saving patients from excessive spending in healthcare which can be burdensome on
 3
     families and our lives ^ 12. Id.
4
 5
6
 7
8               • Abundance of availability through Ai sereeningi Certff
                  provider^fiideshare drivers and
9                 transport
10              • Shares the sarne vehide and destiha^
11              • pairs piass^hgersarid^d^
12                dlreptloh / heading tbfhesalt^
13
14                   Uses latest GPS^i techhQlpigli^sto pptilril^ routeslo
                     coriservegas
15
                     Uses location base techndlogies^^^ d^^
16                   efficiency
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18                   Faqlity-tb^fadility^ me^
19                   enables maximulTird
20                   Geared towards prof It/com^^^
                     patients/
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                       Adam John Mackintosh—vs—rLyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangennent of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1      1565. Pictured below. Exhibit Q117, pictured on the next two page are blown up versions of

2    Exhibit Q, which are more legible.
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         GHug."                                                                                     Healthcare toi Ereryone, Arsywhgra*

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            Client Base: DlistribuUoii Chan
5
            IHiig Rideshare Biiilds a customer base Hpe;fo>>(^^
6
            iHug All-Age-Care - S30 per request                       IHug In-Home Care - $ 5 0 per request
7               •   Delivery of small grocery needs


8                   Cornpanionship

9
10          IHug Telehealth - $ 6 0 per request                       iHug Pi-eventatiye Caire - $100/month

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12
                                                                           Hearing, dental and vision insurance options in-app
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                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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       Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 767 of 825



 1     1566. Pictured below. Exhibit Rl 18.

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                      Adani John MackintosH^vs -^Lvft, Uber, Andreesseri Horowitz, arnl Defendants
28   Complaint for Unjust Enrichnierit, Endangerment of Lifei; Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious interference'. Trade Secret Misappropriatioii, Breach pf Contract, Defamation and Slander.
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       Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 768 of 825



 1     1567. Pictured below. Exhibit Sl 19.

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4             nel for incremenli^ Services
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                 IHug in-Home Car0 --$5^^^
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14               IHug PreventativGf dar^ - $100/month
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                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment,.Endangennent of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                      I                 - 680 -
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 1       1568. Pictured below. Exhibit T120, a description of iHug's partnership details that outiined

2    vehicle safety and compliance, including vehicle lease programs in healthcare. Pictured on the next
 3
     page. Exhibit U121, a full description outlining innovative and confidential ideas and the plan of
4
     action of iHug to prevent injury, and provide the world's safest ride.
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14
                                NEMT Market Takeover Partnership
15
                                                                              U.S. Market
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               2019 iHu8» Inc. Ail Rights Reserved | iHug Software"-! IHug Healthcare^ I The Official Rideshare fai HeaithcaVe" j iHuj Ibjas and all btiicr
26             mar^s, patent features, idea* and artwork contsined^iiereln are Intcllecttiaf Property af^il-lug. and its Affiliated and Subsidiaries Companies.
                                                                 V^^r£R^^Al DOCiilWENr-HIGHLY CONFlCfENTIAl

27
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                                                                                   -681 -
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 I        Executive Summary
          NEMT Market Takeover Partnership
 2
 •3       February 6, 2019

          iHug is seeking a mutually beneficial partnership virith iJber prior to an initial public ofTering (IPO). The
 4        partnership will provide intellectual property OP) giving Uber a lieapfrdg product and a permanent competitive
          advantage and differentiation over Lyft. The partnership will also integrate Uber drivers into iHug's
 5        healthcare portal and mobile apps, serving approximately 11 million new patients frpm current, developing
          and future iHug healthcare partners. Thus, cpmpoiuidingridesharesaturation for Uber in 43 states in
 6        healthcare. This partnership will provide Wall Street investors with evidence to invest long-term in Uber post
          IPO maximizing return on investment: for all.
 7
          The intellectual property allows Uber to scale itsfleetofindependetit.cdiitractors iiito a hybrid ofrideshareand
 8        NEMT drivers. A segment of Uberdrivers will have a tangible leapfrog product which will deliver the world's
          safest ride, outcompeting everyone in all markets. We believe this element alone will provide a successful
 9        roadinap into healthcare. The partnership wijl also provide a high monetary value through an on-demand
          sedan revenue-share model, vehicle leasing revenue, and NEMT broker revenue-share.
10                                      i                        '         ,                              •         •
          This is all possible through intellectual property owned by the founder of iHug. The growth of iHug includes
11        healthcare relationships with NEMT coinpanies, ainbiilance companies, senior living, and HMOls siich
          as Kaiser Permanente, DaVita, UC Davis, and other healthcare organizations. iHiig is targeting the entire
12        NEMT market that is expected to grow to $42Bn by 2024, from SIOBn, currently. Subverting this market is not
          without a few roadt>locks, which can be remedied with a touch of innovation, intellectual property, and
13        creative partnerships.

14        Our partnership will reduce and elimina;te chances of patient injury and liability such as wheelchair-
          bound patient tip ah(j fall, patient trip and fall, and other harinful.circuinstances that currently exist in NEMT
15        and healthcare in general. The IP vriil create major in-road opportunities, from nationwide NEMT bid
          submissions, fu|l utilization of Uber's drivers, personnel and safety compliance training, to a tangible and
16        viable product. This would establish our partner as being the safest and preferred healthcare transport solution
          around the world. Having IP over the competition.that eliminates liability and risk to the patients and drivers,
17        separates Uber from Lyft and all other competitors. The IP also drives down customer acquisition costs into a
          netpositive growth and drive up loiig-term value.
18                                       i           .                                                        ,,,,,,
          iHug has established a well-yersed and highly competent tcam of healthcare executives, who will capitalize on
19        all horizontal growth opportunities in this partnership. VVe have a former 16-year Logisticare Platform
          Expansion and Compliance Officer, who grew the.largest NEMT broker, in the U;S. from 3 states to 36; A
20        former Chief Executive Officer of Sutter Health who understands hospital operations, compliance and patient
          care; A VP of Sales who has extensive experience in handling tlber and Lyft driver background checks,
21        compliance.and eligibility reqiiiremeats, a$ well as others in the heathcare vertical;
                                            1        ; • .             ,

22        In closing,iHug understands time is of the essence,,and we must disclose that we are in commtmjcation with
          Lyft and starting conversations vyith other like-minded companies. We're ainiing to select our partner by
23        the end of the first quarter 2019 in an etTort to build the world's safest on-demand healthcare transport
          network. Together we wiirset;new standards in heatthcare-transportation, safety and compliance, making
24        mobility more accessible, grow market ishare, revenue share, and innovate through intellectual property; We
          look forward to establishing a genuine and meaningful partnership that has a 20-50 year forward thinking
          vision.
25
          JOlS s H u j " in.c. AIS i^Ights Reserved .1 IHug S o f t w a r e " | iHug Hcalthesrc'" | Tlie Offl.dal niiSesfiar.c (or Healthcare""-j-IHug iBgQS »t>cl al! other
26        marks, patent features, ideas arid aVtwofk^corttijiiietf herein 3rc (ntellectuai Property r/f iHug, and its Affiliated artd Suhsidiaries Companies.
                                                                         , INrEftNAL DOCUMEMT - HIGHIV COWnBENTlAl

27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                     "•; ••                                    , ' - 682 - ; " "
           Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 771 of 825



 I         1569. Pictured below on the left. Exhibit VI22, and on the right. Exhibit W123, iHug's

2 jHealthcare API launched in 2016. Plaintiff had been conceptualizing the API for decades on how he
3    i                         '•-••,'"                          -•", • •                  ',• • •
4 Iwould help people in healthcare. Pictured below on the left, Exhibit XI24, and on the right. Exhibit
5
     Y125, in March of 2018, Uber and Lyft copied, and integrated a healthcare API into their Platform,
6
     unjustly enriching themselves/ This API has allowed Lyft and Uber to double it's billion-dollar run
7
8 rate in healthcare. ^13.1d             _

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                 -• ;•:., '*:'• ;'.', /
11
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15                                                               Admin
16
17
18
19
20
                                                                  Uber Health                              =
21
22
                     MARCH 5, 2018
                                                                API partnerships
23                   Revolutionizing Patient                   .Leverage the Uber Health API to facilitate
24                   Transportation with Lyft                  ionTdemand transportation for health care,
                     Concierge API                            ' rides; If you're interested in using the ARI ;.;
25
                                                              j ,;to drive healthcare innovation forward,^.,
26                                                              please reach out.

27
                         Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28       Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
            Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                            - 683 -
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 1       1570. Pictured below. Exhibit Z126, Uber and Lyft are growing in healthcare as a resuh of

 2   |the misappropriation of Plaintiff s intelligence in form of corporate secrets, vmjustly enriching
 3
     themselves without legal entitlement whatsoever T| 74. Id
4
 5
6
 7                Part of the Healthcare
 8
9                 System
10
                  Lyft, Uber and other rideshare companies say they can save our
11
                  healthcarie system lots of money. But at what cost?
12
13                By Anklta Rao

14                Feb 25 2019i 8:55am | 3 Share    Tweet

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25
         1571. Plaintiff also seeks to recover the confidential and proprietary information that
26
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                           -684-
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 I   Defendants retained, contrary to Joe, Louis, Jerry and Does obligations under the Confidentiality,

2 Non-Disclosure, Non-Compete, Contingent Employment Agreement and other legal Agreement.
 3
     Without immediate injunctive relief, healthcare patients. Plaintiff, Plaintiffs Wife, and iHug continue
4
     to suffer irreparable harm and permanent damage to his Company.
5                             i                    • -
6    Id Ex AIOl, Ex B102.1 Ex C103, Ex D104, Ex. E105, Ex F106 Ex G107, Ex H108, Ex 1109, Ex

7 \J110, Ex Kill, Ex LI 12, Ex Ml 13, Ex: Nil4, Ex Oil5, Ex PI 16, Ex Q117, Ex R118, Ex S119,
8 k x T120 Ex U121, Ex\ VI22 Ex W123, Ex XI24, Ex YI25, Ex Z126, I t 5 9 - 74 (emphasis
9
     added)                       \
10
          SCA. FACTUAL BACKGROUND
11                              • I
                                -, I

12              SUB-AA: Plaintiff and His Company

13                                  I"
         1572. iHug is a software proyider that empowers business owners with a single point of
14
     sale, operation, logistics and tracking, using mobile based applications, headquartered in Sacramento,
15
16
     11                         •!
     California.          1
17       1573. iHug offers its software in over 3,000 cities nationwide, offering telehealth
                                  • I
                                . ' I
18   symptom checkers, insurance plans, market places, advertisement options and other highly profitable
19   operations. Id. f 75 ,1
     "                             I
20
            1574. Plaintiff hais invested over a decade of his life in developing and protecting his
21
     confidential and proprietary information related to his product and service offerings. Id.               76 Id.
22   in                                j
            1575. This confidential and proprietary informafion includes documents outlining


                                   '!                                               .• . '
23                                      I
                                        I

24        laintiff s marketing and product plans, current and future financial data and projections,
                                        I


25   /brecasts, customer lists and data, and persormel information. Plaintiff has always taken affirmative

26   steps to protect this information by, among other things, requiring any, and all person(s), and/or
27
                           Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28        Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
             Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                            '                 - 685 -
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 I       entities to sign a non-disclosure containing a confidentiality provision (or separate agreement),
     I

 2 nondisclosure is paramount. The confidentiality provision (or separate agreement) ensures that
 3 I
     Plaintiff and his Company, iHug's proprietary information is not revealed by any person(s), and/or
 4   1
 5   jentities who, especially competitors. Id. Tf 77 Id. All contingent employees, executives, independent
 6
     contractors and board members
 7
     must sign confidentiality agreements before engaging with Plaintiff and his Company, iHug. Id. Tf 78
 8
     IM
         I
 9   •\
10       ,     1576. Beyond the protection afforded by the confidentiality agreement, Plaintiff took
11
     further steps to ensure the security of his proprietary information, such as requiring all visitors to its
12
     icorporate headquarters to read and sign a non-disclosure agreement before proceeding past the
13
14 'reception desk and while on-boarding to drive for iHug; requiring all employees and or independent
15   advisors and or investors, and others to sign iHug's sign-in sheet, and private dociunents which
16 |describes in detail each party's obligations regarding conflicts of interest, technology use and
17
     jsecurity, and protection of Plaintiff and his Company, iHug's confidential and proprietary
18
     information; Requiring all parties to enable two-step verification for Google Apps (which iHug uses
19
20   to host its corporate email and calendar); And limiting access to iHug's storage accoimts to only a

21   select few parties involved at iHug. Id. Tf 79 M
22             1577. Plaintiff also made every physical effort beyond the protection of an originally
23
     ihanufactured equipment (OEM) trailer door lock, to secure his highly secretive six patent books
24
     relating to his digital Ai healthcare system.
25
26             1578. Plaintiff spent two days welding and constructing a military grade locking system

27   containing the following steel elements making it nearly impossible for any common criminal
                              Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28           Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
                Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                                - 686 -
           Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 775 of 825



 1   ito break into:
     1
 2
                        1" inch stainless steel plated locking system on his trailer door
 3
 4                      1" inch steel plate on each side of the trailer door

 5                      6 stainless steel bolts
 6
                        6 self-iocking nuts
 7
                        LOCTITE® Thread locker
 8
 9                      1" inch stainless steel latch

10                      A maximum-security lock, with tough-cut octagonal

11                      boron-carbide shackle stainless steel.
12
           1579. Pictured below. Exhibit A l - A7A, Plaintiffs custom "military grade" locking system.
13               Maximum security lock                              1" inch thick steel plating and bolts.
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                          Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28       Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
            Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                 '••    •                   -687 - . ,
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                        Adam John Mackintosh—vs —Lyft, Uber, .Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices. Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          -688 -
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 1      1580. Pictured below. Exhibit A7A, not only did Plaintiff secure his corporate secrets and

2    encrypted his data, he bought a 3001b highly secure safe. The only individuals who had access to the
3
     safe were Joe iHug's COO, Jim iHug's VP of IT, Alanna Plaintiffs Wife, and Plaintiff himself
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                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz,,and Defendants
28    Complaint for Unjust Enrichment, Efidangerment of Life,.Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference,,Trade Secret Misappropriation, Eireach of Contract, Defamation and Slander.
                                                          -689-
        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 778 of 825



 1      1581. Pictured below, Exhibit A7B, not only did Plaintiff secure his corporate secrets and

2 ! encrypted his data, he bought a 3001b highly secure safe. The only individuals who had access to the
3
     safe were Joe iHug's COO, Jim iHug's VP of IT, Alanna Plaintiff s Wife, and Plaintiff himself
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                       Adam John Mackintosh-r-vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                       1                  -690-     .
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 I      1582. Pictured below. Exhibit A7C, not only did Plaintiff secure his corporate secrets and

2    encrypted his data, he bought a 3001b highly secure safe. The only individuals who had access to the
 3
     safe were Joe iHug's COO, Jim iHug's VP of IT, Alanna^Plaintiff s Wife, and Plainfiff himself
4                                                                       ft-

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                       Adam Jphri,Mackintosh—vs —Lyft, Uber, Andreessen HProWitz, and Defendants
28    Complaint for Unjust'Enrichment, Endangerment of Life, Corporate;Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract", Defamation and Slander.
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        Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 780 of 825



 1      1583. Pictured below. Exhibit A7D, not only did Plainfiff secure his corporate secrets and

2    encrypted his data, he bought a 3001b highly secure safe. The only individuals who had access to the
3
     safe were Joe iHug's C06, Jim iHiig's VRof IT, Alaniia Plaintiff s Wife, and Plainfif
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     Id Ex Al, Ex A2, Ex A3, Ex A4, Ex. A5,:Ex A6,'Ex A7, Ex A7A, Ex A7B, Ex A7C,
26
     £jc. ^ ZD Tf Tf 75 - 79 (emphasis added) ;"
27
                       Adam John Mackintosh—vs—Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Cor|jorate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                      •• -'692"- : • .•
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 I           SUB-BA: Uber, Joe, Louis, Jerry, Nicole and Does Hiring and Confidentiality

 2    Agreenient, and Mutual Non-Disclosure Documents.
 3
          1584. iHug contracted with and signed contingent employment Agreements with Joe,
 4
      Louis and Does throughout the year from 2015 to present. All new independent contractors, advisory
 5
 6    board members, investors, and contingent employees, signed a confidentiality agreement as a

 7 condition of any involvement with iHug and Plaintiff. Id. Tf 80 Id.
 8        1585. As pictured on the next two pages. Exhibit A8, Exhibit A9 and Exhibit AlO on the
 9
      following two pages are the signed contingent employment Agreements by Joe, Louis and Does.
10
      Each provision protects Plaintiffs God given rights, in particular, the pursuit of Happiness, allowing
11
      him to engage in business to enrich the lives of people without unlawful obstruction:
12
13        3. Gonfidential Infonnation.
14             (aV'r^mpgny. Infonnation. I.agree at all tunes during the term of my/Reljadonship, with the
                  Company iEmd/thereaiita^i to.hpld ih;strictest;cpnfi^                  use, excqpt for die
15                benefit of the Company to;the:e}dent necessary to perf^                              Gpmpany
                  under the;Relatjcmship, ortodisclQ5e;tp;any pmpn,firm,cotporatioa or odier entity
16                mtfaout written Mth6iii2atibii.o£th^                            Cdmpanyj any Cbtifideiiitiiil
                  Infoirmatibn ofthe Company wliich :t obtain or creiate; ;i fiiitlier iagree notto:makecopiiss of
17                such Confidditial Irifbrihatibn excq}t as authorized by the Company. 1 understand that
                  "Confidential Infrinfifttinn" meam-any Company propriietary information, technical data,
18                trade secrets or/laiow-how, incliiding, butpotlimited/to,;^^
19                servic^^ suppliorsi .customer.lists and customers (including^ but npt;linuted.toi;cu4omeis of
                  the Cpmpany on whom ! called or vvith Awiom I:became aojuainted during the
20                Relationship)^ prices and costs, marice^; software, developments,                 laboratory
                  iiotebk>6ks,;inx)cesses, foimulas,;teclmdlpgy, designs, drawings, engineeiihg,; hardware
21                cdnfigljradon, iiifotms^
                  inforiniation disclosedtome by the Conipady/either directly or indirectly in writmg, orally
22:               or by ,dra\yings or observation of parts or equipment or created/by me during ; the period of
                  the Rekdpnslup, whether or:not during wp
23                hifprpiation includes, but is not limited;to,'infpmution pertaining to lany aspect ofthe
                  Cpiiq)any's busine!ss, which is either information not known b actual or potential
24                cpmpeititprs ofthe Cpmpany or other tlunipsuiies not underxpnfidentia^ obligations to
                  die Conmany, or is 6lherwii»B proprietaiy inforiidation of the;Coinpany or its customers or
25                soipphers, whether of a tech^ iiature or otherwise. i;fiirdier understand that Confidential
26
2.7
                        Adarh John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life; Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach ofContract, Defamation and Slander.
                                                          - 693 -
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 1               Information does not include any of tbie^
                 widely known and made;generally ayail^le tlirough no                act of mine or of otho^s
 2               who were under confidentiali^;oi]iligatioii8 as to the item .or items;inyolvedr
 3            fl}) Prior Obligations. Lrepresianit that iny peifPrihance;df all terats of tbis A^eeini^nt as^an
                 employee or consultant of the Coinpany has not breached and will not breach any
 4               agreement to keqp in coiifidence proprietary information^iknowledge or data acqmred by
 5               me prior or; subsequent tp the conmneiicem                              with the Gpmpany, and I
                 wiU not disclose to the Gpii^any 'oru^^^
 6               proprietary information or material bd                   ciurent or former client or emplpyer or
                 any other/party. I wrili not itiduce the ComjMuiiy to use any .inveiitions, cionfidentiaJ or non-
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                 empioyeBor any other party, f acknowledge and agree that;! have listed on Eidubit A all
 8               agreiements (e.g., non-competitionagieementSj non-solicitation of ciistoniers agreements,
                 non-solicitation of employees aglreements, cbnfideptiality agreiements, inveiitipiis
 9               agreements, etc>) ,wth;a ;cuiTent or/fprmer empbyer, or any other person or entity, that may
10               restiict my abihty tp;accept.e^               with the Gpmpany or my ability as aa employee or
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11               otherwise relate:to or reisttict my^abilitytoperforin my duties ias an:enq)loyee ofthe
                 Coinpany orahyobUgatiPh.lmay'have                 Coir^ahy.
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           '          Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach ofContract, Defamation and Slander.
                                                        - 694
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 1           9. General ProyisionsT

 2                (a) Goveniing lLaw: The validity, interpretation, constructibn and peiformanci;. of thiis
                     A^ement shall/be gbvenied by the kws of the State;ofCalifbnua, Mdthout giving effect to
 3                   /theprinciplesof conflicf of laws;
 4                (by Entire Agreemient.;This Agreement sets'fbilh die enti^^ agreement and understanding
                     between the Company and me relatingtothe siibject mattier herein and merges all pribr
 5                   (tikcussions between us. No modijGiipatipn or amendmenttodiis Agreement, nor any waiver
                     of anyrightsimder ^ ; Agreemqat, wiU,be eff^
 6                   parties. Any subse^quent change'or clunges in; my duties, ob^ rights or
                     compensation wiU not affect the valiidity or scope pfthis Agreement,
 7
                  fcV Severability. If one or more; of the provisions in this;Agreement are deemed vbid.by law,
 8                   then the rernaining pro>asions wilj[ cpntinue infiillforce and e£fect.
 9                (d) Successors and Assigns.- This Agreement will be binding upon niy heirs, executors^
10                   adcninistratpre and other legal representatives, and my successors and assignsj and will be
                     for the benefit of the ,Cpmpanyi its successors;;and its assigns.
11                feV Survival. The provisions of this A^eipent shall survive the termination of tiie
12                   Relationship and the assignment of this Agrees                     to any successor in
                     intierest or other ^signee.
13
                  ip Remedies. I acknowledge and/agree that:yto.l^pn oftinsAgre^ by me may .cause die;
14                   Company iireparable bann/m^                                  the Company will be entitied; to seek
                     extraordiiiary relief in court, including but not limitedtotemporary restraining orders,
15                   prehihihaty ;injuiai[:tibns aiid periiiMent ihjuhc^bm viathbut the necessity of pbstihg a bond
16                   brother seciirity and iii aidditiohto;Md'Witiibutprejiiidiceto.any otherrightsbir remedies
                     that.the Cbmpaiiy may Imvefor a-b
17 i              fgY ADVICE OF COUNSEL. I ACKNOWLEDGE THAT. IN EXECUTING THIS
18                   AGREEMENT, IHAVE HAD THE OPPORTUNITY TO SEEK THE ADVICE/OF
                     INDEPENDENTi^GAL COMSE^^^ AND I HAVE READ AND UNDERSTOOD ALL
19                   OF THE TERMS AND PROVISIONS OF THIS AGREEMENT THIS AGREEMENT
                     SHALLNOT BE CONSTRUED AGAINST ANY PARTY BY REASON OF THDE
20                   DRAFTING OR: PREPARATION HEREOF.
21
       Id Ex A8, Ex A9., Ex AlO. Tf Tf 80 (emphasis added)
22
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27
                          Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28       Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
            Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                             -695 -
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 1           SUB-CA: Documents misappropriated and retained by Defendants are Proprietary,

 2   Confidential, and Critical to Plaintiffs Future and the success of his Company, iHug.
 3
         1586. After Joe, Louis and Does' departure. Plaintiff sought assurance that Joe, Louis
 4
     and Does had complied with their confidenfiality obligafions to Plaintiff and his Company, iHug. He
 5
 6   sent multiple cease and desists, blocked access and ensured all systems were secure from Defendants.

 7   MTf81M

 8       1587. Plainfiff launched his new Company, iHug Software, after Defendants' tortious
 9
     interference and other actions permanently damaged Plaintiffs transportation operation. He was
10
     seeking sales executives to assist him with sales. Defendants planted a mole, much like Joe, Louis
11
12 £md Does. Nicole used Lyft and Uber's brand power. Id. Tf 82. Id.
13       1588. Nicole proclaimed she knew "high-up" Uber and Lyft executives. She also

14 asserted she used to run all background checks on Uber and Lyft drivers for Defendants. This nature
15
     to use Lyft and Uber's brand power, was a similar pattem to Joe, Louis and Does before they
16
     engaged in unlawful conduct to infiltrate iHug. Based on this single fact, it substantiates Joe, Louis,
17
18 Jerry, Nicole, and Does were instructed to tell Plaintiff whatever he needed to hear, to get his ideas
19 and corporate secrets.
20       1589. As promising as it sounds. Plaintiff avers Nicole was planted by Defendants to use,
21
     in order to gather intelligence, using methods and practices that mimicked Joe, Jerry, Louis and Does.
22
     She infiltrated Plaintiffs new Company, iHug Software, breaching fiduciary duty, having provided
23
     login credentials to Defendants where multiple logins were made from unrecognized devices, a
24
25   similar pattem to Jerry, Joe, Louis and Does. Id. Tf 83. Id.

26       1590. The forensic analysis revealed logins were made throughout The United States
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                          - 696 -
             Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 785 of 825



 1     including but not limited to, cities spatming across San Francisco, Califomia to Washington D.C. to

 2 New York City. Id Tf 84. Id
 3
             1591. Defendants successfiilly infiltrated iHug, yet again, extracting thousands of
 4
       documents from iHug's intemal systems from his new business, including but not limited to.
 5
       Plaintiffs new patent-pending, revolutionary healthcare vehicle designs, that would provide the
 6
.7 world's safest ride through physics.
 8           1592. Pictured on the next page Exhibit A l l , and on the pages following Exhibit A12,
 9
       and Exhibit A13, are slides from Plaintiffs patent-pending slide deck. This slide deck was
10
       misappropriated by Dan at Uber, and handed off to Lyft Executives.
11
             1593. The slide decks contained invaluable designs, partnership details and other
12
13     competitive secrets, that Defendants have since started engaging in, after unlawfiilly obtaining

14 Plaintiffs knowledge, business plans, corporate trade secrets, corporate secrets, secured non-public
15     particulars, including but not limited to, invention processes, schematics using physics, design,
16
       engineering, creativity and vision, research, product plans, technical data, know-how, services,
17
       suppliers, in particular, prices and costs, markets, software, developments, formulas, technology,
18
19     drawings, engineering, hardware configuration information, budgets and other business information

20     that gives Plaintiff and his Company, iHug, a competitive advantage and path to profitability. Id. Tf
21     85. M.
22
       ///
23 '
       ///
24
25     ///

26     ///

27
                         Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28       Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
            Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                            -697-
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     *;-—
        •';' • "'
 4
 5
 6
 7
 8
                                                     iHug
 9                                               FIRST TO IP
10
       : An i;Nyg; partners||ip w,ill deliver a taQgible, and viable leapfrog
       i,^"f:^rOdi@|: that will set new standard;s1n healthfcare, amplifying
11     / driver and ridei; safety, redujiing WAV injury and costs, while
12     r        /.       • creating a competitive advantage.           '
13
14
                             Uber|>
15
16
17
18
19
20
21
                                          World Class Design
22           , From a physics, mechanical, practical, operational, engirieering
            and design aspect, iHug's IP will deliver the safest ride in the world.
23
24
25
26
27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Eindangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1            1594. The forensic analysis included a review of the Intemet browser history, login

 2    session details and intemet protocol details contained in Nicole's iHug email account. Google-related
 3
      geolocation services, and products, including but not limited to, Google Apps, and specifically
 4
      Gmail, that iHug hosts its company email, revealed the multiple logins.
 5
              1595. Pictured below are the unauthorized logins. One session reveals a login was made
 6
 7 using a non-attributable device, meaning "masked" device details, denying Google to decipher and
 8 identify the device and user account, where Google's systems low order bit and labeling system
 9 marked it "Unknown." This was during a time Nicole had no involvement at iHug anymore, where
10
      she made herself unavailable after meeting with Uber's, Dan Trigub. Yet multiple logins were
11
      actively being made, accessing her iHug account. Substantiating Defendants were able to
12.
13    successfully infiltrate yet again.

14      Recent activHy:

15                                                                                                   tiateftbimfff^^
                                                                                                     zone)
16          Browser (Chforne) ShowdetaHs                    • Unltsd States (CA)                     10:15 am (0 mini
                                                                                           ic)
17                                                          Untted States (CA)                       142 am (8 hours
            Brtjwser (Chrome) Show detail^
18          Unknown                                         UnltKi States (CA)             •c)       125 am (8 hours
19          Browser (Chrome) Show details                   United Slates (CA)                       Apr 13 (4 days ai
                                                                                           IS)
20          Unknown                                         Unit^ States (CA)                        Apr 13 (4 days a;

21
22    Id Ex A l l , Ex A12, Ex A13, Tf Tf 81 - 85 (emphasis added)

23    ///
24    ///
25
      ///
26
27
                         Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28      Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
           Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                           - 699 -
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 1            SUB-DA: Documents retained by Defendants are Proprietary, Confidential, and Critical
                                      I
 2     to Plaintiff Future and the success of his conipany iHug
                                      I
.3                                    i

 4         1596. The docuriients possessed by Defendants have already caused irreparable damages,
 5     including but not limited to, grocery delivery for healthcare, Medicare and Medicaid billing, delivery
 6
       and other forwarding thinking features, services and products are emerging on Defendants platfonn
 7
       unjustly enriching Defendants without legal entitlement. Id. Tf 86. Id.
 8
 9                                    I                  • -
10         1597. Plaintiff asserts as per signed non-disclosure, the following is enforceable:
11
              Recipient acknowledges that monetary damages may not be a sufficient remedy for damages
12
              resulting frorn the unauthorized disclosure of confidential information and that the Compariy
13
                                  I

14            shall be entitled, without waiving any other rights or remedies, to seek such injunctive or in
                                  i
15
              equitable relief as may be deemed proper by a court of competent jurisdiction. Id. Tf 87. Id.\
16
17            In the event, any third-party who has direct or indirect connection with Recipient involved

18            monetary damages that are as result of continuing to disclose unauthorized confidential j
19
              information Id. Tf 88., the Company shall have the full rights and entitlement to seek such \
20
              injunctive or equitable relief as may be deemed proper by a court of competent jurisdiction. "
21                                !          '       '                   '     '                                     i
              and "All confidential information and confidential materials are and shall remain the sole>
22
23            and exclusive Iproperty of the Company. Id.                                                             i

24            By disclosing \information to Recipient, the Company does not grant any express or implied
25 ,          right to recipient to or under the Company patents, copyrights, trademarks, or trade secret
26                            '            ' .                                        '
              information. Id. Tf 89. Id. Any information that's given, disclosed, communicated or otherwise
                                                                                                                     it
              expressed by Recipient that shape, enhance, evolves or otherwise shall remain the sole and
27            exclusive Adam
                        projyerty of the Company. " Id. Tf 90. Id.
                             John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28      Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
           Practices, Tortious j Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                              I                              -700-
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 1           Marketing and Product Plans                      j

 2       1598. iHug's intemal flyers, business promotional cards, and other ideas were kept in
 3                                                                I



 4   iHug's office amongst iHug's team members, advisors, contractors and others who signed non-

 5 disclosures. The marketing and product materials, iincluded the following but not limited to, medical
                                                                  j                                                I
 6
 7 appointment transportation, patient discharge services, grocery and shopping services, medicine piek-
 8 up and other non-existent services onrideshareplatforms, that have since started to emerge on
 9   Defendants
                                                              1

10
     platform. M Tf 91. M                                         |
11
             Medical Drone Delivery of Prescription and Other Medical Durable Products
12
13       1599. Plaintiffs vision of a new digital Ai healthcare system, included among other

14 innovations that would sprawl civilization into the future, includes but not limited to, a drop-delivery
15
     system, powered by drones.                        ;.    j
16
         1600. In particular, the drone would drop-deliver small prescription bottles, medical
17                                                   j
18
     tools, products, and other lifesaving health products, that would be delivered to anyone, especially
19
     those without transportation, at little, to no cost. '
20
                                                       ;          j      •
21       1601. Whereas Defendants omitted frohi their SEC Sl Filing and to investors Tf 92. Id.
     This brilliant and extremely innovative and profitable business plan, as a result of their knowledge
22
                                                              i                                                   I
23   that the corporate secret was misappropriated from Plaintiff.                                                I
         1602. After Defendants IPO, they have since| launched drone delivery services, in
24                                                            !

25 .particular "Food Services," Tf 93. Id. where Plaintiff alleges Defendants launched drones into a
26
     separate market Tf 94. Id. to obfuscate.          \      j
27
         1603. Pictured AdamonJohn
                                the Mackintosh—vs
                                     next page atop.—Lyft,
                                                        Exhibit A14,
                                                             Uber,     is one ofHorowitz,
                                                                   Andreessen     Plaintiff
                                                                                          ands Defendants
                                                                                               sub-file systems,
28     Complaint for Unjust Enrichment, Endangerment of Life,iCorporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                      ,     - 701 -
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 1   not including the stolen hard-drives from his trailer, that included drone patent ideas and other patent

 2   drafts.
                                                                                                                         /
 3
 4         1604. Pictured on the next page below. Exhibit Al5, Defendants are continuing to evolve                   jj

 5   their drone program, which will eventually include healthcare drop-deliveries using Plaintiffs                   /
 6   misappropriated corporate secrets. Tf 95. Id.                                                                           \
 7                                                                                                                       !

 8   ///

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27   ///
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants                       i!
28    Complaint for Unjust Enrichment, Endangerment pf Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                           -702-                                                     ;
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 1       1605. Plaintiff s sub-file system
 2
              fig-1.fw.png j © o                                          fig-2.fw,png bif/'/ii   IJ^J
 3
              fig-2.fw.png
 4            fig-3.fw.png
 5            fig-4.fw.png
 6
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25
      JBER AIR: Delivering Uber Eats with Drones | Uber Elevate | Uber
26
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander, j
                                                           - 703 -                                                  il
           Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 792 of 825



 1
 2         1607. Healthcare vehicles, planes, helicopters and other modes of transportation would
                                                                                                                    ,1
 3
     provide transport to a variety of healthcare patients based on their health condition, in particular as an
 4
     example, pregnant mothers who can't drive themselves to the hospital when going into labor, who are
 5                                                                                                                 •'i
     at least able to climb into the vehicle. Tf 96. Id.                                                                  i
 6                                                                                                                  ij
 7         1608. The vehicle would use Ai to determine geolocation, fime, distance, medical                         j

 8 conditions, biometrics and other healthcare-related data sets, that would put pregnant women and |;
                                                                                                                    ,1
                                                                                                                     ii
 9                                                                                                                   ii

     their expected babies, in safe and urgent transport at little to no cost to them. Tf 97. Id.                     /
10
           1609. As shown in Exhibit A16, on the next page, is a page from Plaintiffs patent book                     j
11                                                                                                                   lj

12 that was misappropriated be Defendants. It outlines different types of transportation modes.                       j
13
           1610. As shown below in Exhibit A17, on the page after. Defendants Air Transportation                          '[
14
     vehicle.
15
     ///
16
17   ///

18   ///

19   ///
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27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander, j
                                                           - 704 -                                                   i'
      Case 2:19-cv-01849-MCE-KJN Document 1-2 Filed 09/13/19 Page 793 of 825



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                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach ofContract, Defamation and Slander.
                                                        - 705 -
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10
11                Uber May Be Flying Air Taxis In
12                India Soon
13                By Staff Reporter - September:?, 2018'                                :€>; 569   m0

14                Minister of State fbr Civil Aviatibii Jayant'Siriha is bptirhistic about the
15                easier air taxi pperatipn,in India in really near future because.of the/latest
                  drone policy;
16
17                Oh Thursday, he twreeted;about his bptiniism. This tweet caihe just after
18                his meeting v/ith a delegatipri frpm Ubei: Uber is plarming aerial taxi
                  service in Iiidia.
19
20                The Minister tweeted, "Met with @Uber Elevate team. India offers ah
21                encouraging and responsive regulatory framework to solve the challenge
                  of urban traiispbrtatibn. With biir progressive drone policiies, we waiit to
22
                  see air.tajcis becomuig a reality soon!"
23
24         HIGHLY CONFIDENTIAL AND SECRETIVE Id Tf 98. Id
25
           $25,800,000,000,000 Trillion-Dollar Healthcare Opporttmity, in particular. Healthcare.
26
           HIGHLY CONFIDENTIAL AND SECRETIVE Id Tf 99. Id
27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangemient of Life, Corporate Sabotage through Espionage, Unfair Competitilsn
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                           -706-
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 1          $1,200,000,000,000 Trillion-Dollar Healthcare Opportunity, in particular, Transportation.

 2          HIGHLY CONFIDENTIAL AND SECRETIVE Id Tf 100. M
 3
            Financial Information
 4
         1611. Darren, iHug's acting Chief Financial Officer, who was under a non-disclosure, sent
 5
 6              Defendants execution strategies, as well as financial projections that outlined iHug's rapid

 7              growth to over $1,200,000,000 billion-dollar and in excess of $1,200,000,000,000 trillion-

 8              dollars at full scale. Tf 101. M It entailed projected income statements, care provider's
 9
                costs, marketing, research and development, EBITDA, Cash Flow Statements, Balance!
10
                Sheets, Key Balance Sheet Statistics, Working Capital, Income Statement Assumptions,
11
12              Total Addressable Market (TAM) - Sacramento, Hospitals, Senior Living Facilities,

13              Homecare, Dialysis, Urgent Care and other details.

14          Customer Lists and Data
15
         1612. iHug's customer lists and data were extracted by Joe, Louis, Jerry and Does, from
16
     iHug's intemal systems. After the misappropriation, iHug's customers stopped engaging with iHug. -
17
18 — Id. Ex. A14, Ex. A15, Ex. A16, Ex ^77, Tf Tf 86 - 101 (emphasis added)
19          SUB-EA: Defendants Evolved Their Business and Profits With Plaintiffs Intellectual
20   Property, Corporate Secrets, Patent Books
21
         1613. Plaintiff managed to retain one trade secret book, out of the many that were stolen
22
     from his trailer by Defendants. Not only were Plaintiffs trade secret books stolen. Defendants
23
24   misappropriated his thumb drives, sketches, schematics and other future particulars that have and will

25   continue to unjustly enrich Defendants without legal entitlement. Such enrichment should be paid to

26   Plaintiff in reasonable royalty, and other forms allowed by an Honorable Judge.
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                         - 707-     .
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 1   ARGUMENT

 2           SUB-FA: Legal Standard for Injunctive Relief
 3
         1614. An injunction may be granted "[wjhen it appears by the Complaint that the
 4
     commission or continuance of some act during the litigation would produce, waste, or great or
 5
 6   irreparable injury, to a party to the action...." Cal. Civ. Proc. Code § 526(a)(2). Tf 102 "The law is vvell

 7   settled that the decision to grant a preliminary injunction rests within the sound discretion of the trial

 8 court." IT Corp. v. County of Imperial, 35 Cal. 3d 63, 69 (Cal. 1983). In exercising that discretion,|
 9
     courts generally consider two related questions in deciding whether to issue an injunction: 1) "are the
10
     plaintiffs likely to suffer greater injury from a denial of the injunction than the defendants are likely
11
12 to suffer from its grant"; and 2) "is there a reasonable probability that the plaintiffs will prevail on the
13   merits...." Heckmann v. Ahmanson, 168 Cal. App. 3d 119, 125 (1985); accord Hunt v. Superior

14 Court, 21 Cal. 4th 984, 999 (1999). The court must exercise its discretion "m favor of the party most
15
     likely to be injured.... Tf 103 If the denial of an injunction would result in great harm to the plaintiff,
16
     and the defendants would suffer little harm if it were granted, then it is an abuse of discretion to fail
17
18 to grant the preliminary injunction." Robbins v. Superior Court, 38 Cal. 3d 199, 205 (1985) (intenial
19   citations omitted). A moving party need only show a reasonable probability of success. Heckmann,

20   168 Cal. App. 3d at 128.         M Tf 102 - 103 (emphasis added)
21
             SUB-GA: The Confidentiality Agreenient Provides for Injunctive Relief
22
         1615. By its terms, the Confidentiality Agreement acknowledges the need for injunctive
23
     relief See Ex. A., Ex. B. Tf 104 The Confidentiality Agreement provides that:
24
25                    "in the event ofa — breach or threatened breach of this Agreement by Defendants the

26                    Company may suffer irreparable harm and will therefore be entitled to extraordinary
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1                    relief, including injunctive relief to enforce this Agreement. " Id.

 2       1616. As such, Defendants were on notice that injunctive relief would be sought and
 3
     enforced if Defendants breached or threatened breach, of the Confidentiality Agreement. Moreover,
 4
     Plaintiff, and his Company, iHug, specifically contracted, and gave consideration for injunctive relief,
 5
 6   in the event Defendants breached or threatened to breach the Confidentiality Agreement Tf 105 when

 7   it contracted Defendants. Courts have held that such a provision is sufficient to show irreparable

 8 harm and warrant injunctive relief See, e.g., Martin Marietta Materials, Inc. v. Vulcan Materials Co.,
 9
     56 A.3d 1072, 1145 (Del. Ch. 2012) ("[PJarties can agree contractually on the existence of requisite
10
     elements of a compulsory remedy, such as the existence of irreparable harm in the event of a party's
11
     breach, and... such a stipulation is typically sufficient to demonstrate irreparable harm."). Tf 106 As
12
13   set forth above. Defendants breached the Confidentiality Agreement by disclosing login credentials to

14 Uber and Lyft, exposing proprietary and confidential information during and after their relationship
15
     with the Plaintiff, and his Company, iHug. Id.
16
         1617. Plaintiff, iHug and healthcare patients have suffered and will continue to suffer
17
18   irreparable damage to life, and cause fmancial harm as a result of Defendants breach, if

19   Defendants are not enjoined from using or disclosing the information immediately, and Uber and
20   Lyft's participation in healthcare. Tf 107
21
         1618. Whereas, Plaintiff argues the very existence of life and the protection of our God
22
     given right to life, outweighs any fathomable argument and pleading to the continuation of Uber and
23
24   Lyft's involvement in healthcare, and continued unjust enrichment, where it's proven through

25   medical, SWOT analysis, and forensic evidence. Defendants endanger lives in healthcare through

26   reckless misconduct, improper licensing and insurance. Monetary damages would not provide
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 I   adequate relief for healthcare Patients, Plaintiff, his Wife, and iHug because of the nature of this

 2   irreparable harm. Whereas Plaintiff maintains. Defendants have improperly executed on his
 3
     "Rideshare for Healthcare" model. Injunctive relief is therefore necessary and appropriate. Id. Tf 104
 4
     107 (emphasis added)
 5
 6          SUB-HA: The Confidentiality Agreement Provides for Injunctive Relief

 7       1619. By its terms, the Confidentiality Agreement acknowledges the need for injunctive
 8   relief See Ex. J. M Tf 108.
 9
         1620. Pictured on the next two pages, Exhibit A18, Exhibit A19, Exhibit A20, Exhibit
10
     A21, Exhibh A22 a Mutual Non-Disclosure signed by Uber's Head of Healthcare, and Plaintiff,
11
12   Chief Executive Officer of iHug, Inc. Aaron Crowell, party to said Mutual Non-Disclosure

13   Agreement has since              for unknown reasons.
14
15
16
17
                This M UtuiairNdh^DiscitDSureiA^M                                         is.maye as;
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22              ;business;opportuni^(''|P^ijr^^                           Uber pecogitize a need;
23               toadi^clbse e e i ^
                i'nfbriTi^at^           alitheilizeicl us^iartdl,cJi|c;lo
24
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27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horbwitz, and Defendants                       |
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander. !
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4                       whether oraliY0Vii5ually,^in^writih
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5                      InfciyTnatian/l^                     l?arj^s|technd^ jpi/pclucfs,,
                       ;Rrpp.ie,rti(es^
 6                      Gorifidential Information includes.all notes; anay lses^^^^^^^^
 7                     ihterpretatl6ris:;or(3ther dbcum                   b!v;;brf6r tfie Receiving
                       Party, toithe;extehtlhev^                                    uppnthe;
 8                     Pisdbsi ng Pa ilY^i/C^       ntia 11 nformatip riv, "Represenrtfei^
 9                     :ReG(E!ivin|^                    sulii^diariesj/a^
                       •directorlfte:CQiisult|ij/^                                   Party shall
10                      disclose'or;bthervtfli5e:make avaiiablie any.persdhaliy iden1:lfiablei
                        ihformatlbniQr protedted/health irifbrmatlpn under tiiiii^Agreennerit;
11
12
                          5. ALL gpl^iPENl-ftL:;]NFQflM
13                        Gprifhdehtia^ Infoi-niiatipr) remains'the Pisclbsing^Par^
14                        exclusiive; prbpetty./Each Re^
                          npthing'inlhisAgreement will beieonstruedasjgrantingany righb^^
15                        (including; withpuiglin^
16                        iiitellectual property br proprietaryright)to the;Receiving Party, by
                          llcense/pj^pthe'r^^ in pr/tp ahybf/thgDilse^
17                        lhfornrtatlon,!i3xcepf;as.exprfesly^^
                          partyjshill reverse englheer,'disassemblie ordecompiiejanyprptotypesi
18                        software or other tangible bbjeet/s or ideasitliatiet^
19                        part^s/Cprilideij^la^
                          under this Agreement.
20
21    UBER
22     IN WITNESS WHEREOF, the parties hereto have executed this Mutual Non-Disclosure Agreement bv their duly authorized officers or representatives


23           Uber Health4M(!»IU) 6>TO?lftP'>'«»8'«                                    IHug, Inc.
             By:
                                        Aaron crowell
24           Printed Name:
             .^jjlg.     Head ot Uber Health
25                                                                                   Printed Name: Adam John
                                                                                     Title: Chief Executive Officer
26
27
                     Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander. '
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 1       1621. Plaintiff seeks to exercise his legal rights under the signed Mutual Non-Disclosure

 2 between Uber Health, LLC, Uber Technologies, Inc. and iHug, Inc. with Plaintiff as being the
 3
     authorized signer, in particular. Section 1: "Confidential Information*' means any non-public
4
     information of a party Id. Tf 109. or its affiliates that is disclosed or otherwise made available by or
 5
 6 on behalf of such party or its affiliates ("Disclosing Party") to the other party ("Receiving Party"),
 7 before or after the Effective Date and Whether orally, visually, in writing or in any other form,
 8 including, without limitation, the existence and terms of this Agreement and information about the
 9
     Disclosing Parties technology, products, properties, employees, finances, businesses and operatioris.
10
         1622. Plaintiff seeks to exercise his legal rights under the signed Non-Disclosure, in
11
12 particular. Section 5: "ALL CONFIDENTIAL INFORMATION IS PROVIDED "AS IS". All 5.ALL
13   CONFIDENTIALINFORMATION IS PROVIDED "AS IS". All Confidential Information remains
14 the Disclosing Party's sole and exclusive property. Each Receiving Party acknowledges and agrees
15
     that nothing in this Agreement will be constmed as granting any rights M Tf 110. (including, without
16
     limitation, any patent, copyright or other intellectual property or proprietary right) to the Receiving
17
18   Party, by license or otherwise, in or to any of the Disclosing Party's Confidential Information Id. T

19   62., except as expressly set forth in this Agreement. M Tf 111- Neither party shall reverse engineer.
20   Id. Tf 112. disassemble or decompile any prototypes Id. Tf 113., software or other tangible objects or
21
     ideas that embody the other party's Confidential Information Id. Tf 114. and that are provided to a
22
     Recipient under this Agreement. Plaintiff motions the court, ordering Defendants to tiansfer any aind
23
24   all patents and intellectual property from 2015 to present to Plaintiff that resemble Plaintiffs

25   $25,800,000,000,000 trillion-dollar new digital healthcare Ai system and healthcare opportunity.
26       1623. Plaintiff asserts as a result of Uber, signing the Mutual Non-Disclosure, iHug's
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1   Real Time Healthcare API, and all incremental services are rightfully owTied by Plaintiff and iHug,

2    and therefore, iHug and Plaintiff own all monetary gains back-dated to the approximately date of
 3
     March 18, 2018. Furthermore, to fiirther establish Defendants are continuing to unjustly enrich
4
     themselves without legal entitlement whatsoever, pictured below on the next page atop, Megan
 5
     Callahan, Lyft's VP of Healthcare, admits Lyft is getting into more "incremental healthcare services
6
 7 Both Uber and Lyft have blatantly unjustiy enriched themselves synonymously as they have
 8 disclosed to one another Plaintiffs corporate secrets Id. Tf 115. Id. Ex. A18, Ex. A19, Ex. A20, Ex.
 9
     A21, £ x y422 Tf Tf 108 - 115 (emphasis added)
10
11
                                                                          Quick. Search
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19
20                                ; # .                   #          ^                #
                                   .:Eriiail     .Save   Uiikedin    Twitter-   :Facet>opk'
21
                                  By Jackie Kimmelj, Senior Analyst
22
                                 When Lyft i\\ed ior its initial public bfferihg;(IPO) last
23                               month, one fact became increasingly cleai;: The corripahy
                                 is.hemorrhaging;rnoney. The company reported a net joss
24                               of $2.3:billi6ri bver .the;past three years, and it's not sure it
                                 can be profitablein the future. "We.have a history bf net
2S                               losses and we riiay hot be able to achieve or maintain
                                 profitability iri the future," the cpmpany wrote in the filing
26                               document
21
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1          SUB-IA: Defendants Possessed, Extracted, and Destroyed PlaintifTs Confidential, and

 2   Proprietary Corporate Secrets that Evolved Defendants Business into Profitability
 3
         1624. The iHug documents and information Joe, Jerry, Louis, Nicole and Does possesses
 4
     are confidential and proprietary. When determining whether certain information meets the definition
 5
 6   of "proprietary" information within the terms of a contract. Courts rely on the terms of the contract

 7   itself See Ajaxo Inc. v. E*Trade Group, Inc., 135 Cal. App. 4'^ 21, 28 (2005) (relying on the

 8 definition of proprietary information provided in the non-disclosure at issue in the case to determine
 9
     liability.) Defendants had in possession and exfracted intelligence, and the visionfromPlaintiffs
10
     well-guarded and physically locked down Secret Documents and Proprietary Data. Tf 116 M
11
12       1625. Plaintiff maintains the following equation, which will explain his reasoning as to

13   the granting of such injunctive relief
14       1626. Each and every corporation is a "collective cybernetic organism," whereas when
15
     human intellect is acquired and entered into the corporation through computational machines, the
16
     sum of the collective effort produces products, services, and profits. A vision Steve Jobs, Steve
17
18   Wozniak, Bill Gates, Larry Ellison and others have bestowed upon future generations, Plaintiff being

19   in that future generation. Where any human with capability can input their imaginative thought into a
20   computational machine, and on the other end, a result occurs. Tf 117 M
21       1627. Whereas, in this Complaint, iHug, Lyft, and Uber .were evolving separately in
22
     parallel organically, in separate markets, Uber and Lyft in the Taxi Industry, and iHug in Healthcare
23
     Transportation, between 2016 to present. Tf 118. Plaintiff established Uber and Lyft then crossed-
24
25   lines, penetrating healthcare, while using Plaintiffs intelligence. This allowed Uber and Lyft to

26   evolve their corporations "collective cybemetic organism" organically, while tortiously interfering
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1   with iHug's organic growth, that endangers life of healthcare patients, through misconduct, causing

 2   irreparable damages to Plaintiff and his company, iHug. Id.
 3
         1628. Joe, Louis, Jerry, Nicole, and Does possessed documents that fit within all
4
     categories of proprietary information and intelligence from Plaintiff, all of which are highly sensitive
 5
 6   and critical to Plaintiffs future, his Company, iHug's future, and the fiiture for civilization. Tf \ \9 Id.

 7       1629. Moreover, any and all documents of Plaintiff, and his Company, iHug, remains
 8   confidential through Plaintiffs consistent protection efforts. They should remain protected from any
 9
     further possession, use, or disclosure by Defendants. M , Tf 116 - 119 (emphasis added)
10
            SUB-JA: Courts Regularly Grant Injunctive Relief Under These Circumstances
11
12       1630. Courts regularly enjoin Defendants from maintaining, using, disclosing, or

13   otherwise distributing misappropriated confidential and proprietary information, including unjust
14   enrichment, and require that Defendants promptly retum the information to the company and pay
15
     royalty. See, e.g., W. Directories, Inc. v. Golden Guide Directories, Inc., No. C 09-1625 CW, 2009
16
     U.S. Dist. LEXIS 52023, at *22 (N.D. Cal. June 8, 2009) (enjoining company's founder, who later
17
18   founded a competing business, from "accessing any database or other electronic file originating from

19   a computer or served owned by [plaintiff]... or accessing any physical records originated from files
20   owned by [plaintiff]," and requiring defendant to retum all such business information to plaintiff);
21
     Merrill Lynch, Pierce, Fenner & Smitii Inc. v. Chung, No. CV 01-00659 CBM (RCx), 2001 U.S. ,
22
     Dist. LEXIS 3248, at * 19-20 (CD. Cal. Feb. 2, 2001) (enjoining former employees who copied and
23
24   removed former employer's information before leaving the company from "using, disclosing, or

25   tiansmitting for any purpose, including the solicitation of business or account transfers, the
26   information contained in the records of [former employer]," and requiring "that all original records
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1   and copies and/or other reproductions thereof, in whatever form, be retumed to [former employer]

 2   immediately"); Courtesy Temp. Serv., Inc. v. Camacho, 222 Cal. App. 3d 1278, 1292 (1990)
 3
     (enjoining former a employees from using confidential customer lists and related information that
 4
     they had misappropriated from former employer); Greenly v. Cooper, 77 Cal. App. 3d 382, 385-86,
 5
     395 (1978) (enjoining defendant's former employees from "using or copying certain lists of
 6
 7   customers obtained from plaintiffby defendants while employed by plaintiff and "using or copying

 8   certain of plaintiffs business forms and records"); see also ReadyLink Healthcare v. Cotton, 126 Cal.
 9
     App. 4th 1006, 1010-11 (2005). The relief sought through this Application is reasonable and
10
     necessary.
11
12           SUB-KA: The Other Requirements for Injunctive Relief Are Met

13           4.       The Balance of Hardships Weighs Decidedly in Plaintiffs Favor
14       1631. Plaintiff, his Company iHug, and healthcare patients are being severely and
15
     irreparably harmed by Defendants, who are using Plaintiffs plans and improperly operating in
16
     healthcare.
17
18       1632. Joe, Louis, Nicole, Jerry and Does actions to communicate directly and/or

19   indirectly with Uber, Andreessen and Lyft, while providing login credentials into iHug's intemal
20   systems, was a real threat that harmed Plaintiff, and his Company, iHug. Defendants improperly
21
     executed on his plans, caiising the endangerment of life in healthcare. Defendants should be enjoined
22
     from operating in healthcare, as it endangers life in healthcare, and continues to use, evolve and profit
23
24   without legal entitlement from Plaintiffs intelligence. Patients in healthcare. Plaintiff, and his

2.5 Company, iHug, will suffer risk, and severe and irreparable harm. Tf 120 Id.
26       1633. In contrast, any risk of harm that may be suffered by Defendants from issuance of
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Gompiaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach ofContract, Defamation and Slander.
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 1   an injunction will be extremely remote and modest, and even then, entirely of Defendants own doing.

 2 It is well established in balancing the relative hardships that the Court must ignore any harm that a
 3
     Defendant has brought on themselves by their unlawful conduct. Morgan v. Veach, 59 Cal. App. 2d
 4
           1634. Here, Defendants have no legitimate right to possess, use, or disclose Plaintiffs
.5
 6   and iHug's confidential and proprietary information.

7          1635. Here, Defendants have no legitimate right to continue to evolve unjustiy enriching
 8 themselves, without reasonable royalty payment to Plaintiff.
 9
           1636. Moreover, Defendants are fiilly aware that this type of breach of the
10
     Confidentiality Agreement would necessitate immediate injunctive relief, see Exhibit A8, Exhibit A9,
11
12 Exhibit AlO, and A18, Exhibit A, Exhibit B, Exhibh 1109, Exhibh Jl 10, Exhibit J, Exhibit K, Lyft
13   Sues Former Employee for "Breach of Written Contract, — Confidentiality Agreement, and Breach of
14   Fiduciary Duty" Tf 121. 7^/
15
           1637. Pictured on the next page and proceeding page, see Exhibit A23 on the next page, and
16
     Exhibit A24 shows a complaint filed by Latham & Watkins, LLC, based in San Francisco, Califomia
17
18   at 505 Montgomery Street, Suite 2000, with the Superior Court of Califomia County of San

19   Francisco, November 5, 2014 filed by the Clerk of the Court Mary Moran, Deputy Clerk, outlining
20   the same allegations made herein against Defendants, Defendants claim against a former employer,
21
     substantiating Defendants have knowledge of their actions.
22
     ///
23
24
25
26
     //
     ///




     ///
                             •                                     •                             ' •
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
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 1          1 LATHAM & WATKINS LLP
 2                 James K. Lynch, Bar No. 178600:
           2, 505 Montgomery Street, Suite 2000
                San Francisco, CA 941M-6538
 3          3 (415) 391-0600/(415) 395-8(095 Fax
                jirnjynch@lw.cptH                                                                       Bindsbo
 4          4
              I Jemufier L. Barry, Bar No. 228066                                           NOV 032014
 5          5 12670 High Bluff Drive
               San Diego, CA 92130                                                          KOF' <E COURT
 6          6 (858) 523-5400 / (858) 523-5450Fax                                                      y>et^^
              }ennifer:barry@ IW'Cpm                                                                   tteputyCterki
 7          7
                   J:olm M. Pierce, Bar No. 250443
 8          8 355 South Giand Ayehue
                Lbs itogdes, GA 9(Xii71rl560
 9          9 (213) 4«5-1234 / (213) 891-8763 Fax
                john.pierce@lw.com
10         10
                Attorneys for Plaintiff
11         11 LYFT. ING.
12         12
                                    SUPERIOR COURT OF THE STATE OF CAUFORNIA
13         13
                                                   COUNTY OF SAN FRANOSGO
14         14
,15        15 LYFT, INC.,                                                               C-1 4-542584
                                                                    GASENO.
16         16                       Plaintiff,
           17                                                       COMPLAINT FOR:
17                      v.
                                                                    (1) BREACH OF WRITTEN CONTRACT ~
18         IS TRAVIS VANDERZANDEN and DGES; 1-                      CONFIDENTIALITY AGREEMENT; and
              10,
19         19                                                       (2) BREACH OF FIDUCIARY DUTY
                                   ;Etefehdahts.
          20
20
          21
21
22
23
24
25
26
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1                            14          6.     For a preliminary and permanent injunction enjoining Vander2^anden from any
 2                            IS further breaches of fiduciary duties;
                              16          7.     For expedited diiscovery to allow Lyft to ascertain what confidential and
 3
                              17 proprietary information VandraZanden has in his possession;
4                             18          8.     For damages in an amount to be determined .at trial, including: actual damages,
 5                            19 con^nsatory damages, mcidental damages, nominal damages and exemplary damages;

 6                            20          9.     For ail award of lost profits, VanderZanden's ill-gotten gains or profits,
                              21 disgorgement, restitution, and/or damages to be detmnined at ttial;
 7
                              22          10.    For prejudgment inteiiKt; and
 8                            23          11.    Fbr such other relief as the Court may deem just and proper.

 9                            24 ///
                              25 ///
10
                              26 ///
11                            27 ///
12                            28 ///

13            LATHAMrWATKINS>^
                ArTomBTf AT LAV
                 6AH FuMciaoo
                                                                                 24            CONFIDl—t        TYAGF
                                                                                                     ;Bl        OFFIDl
14
15
16
                                   Dated: November 5,2014                         LATHAM & WATKINS LLP
17                                                                                  James K. Lynch
                                                                                    Jeimifer L. Barry
                                                                                    John M^ierce
18
19
20
21
22
23
         1638. To further and respectfully lay the foundation for injunctive relief, Plaintiff asserts
24
     as a result of Defendants knowledge of their unlawful conduct. Defendants preemptively ordered
25
26   their legal counsel to write disclaimers in their SEC Sl Filing, in anticipation of this this amended

27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1   Complaint, stating:

 2            I f we are unable to protect our intellectual property, or i f third parties are successful in
 3
              claiming that we are misappropriating the intellectual property of others, we may incur
 4
              significant expense and our business may be adversely affected. Tf 122
 5
 6                    Further disclaiming: Companies in the Internet and technology industries, and other

 7            patent and trademark holders, including [ "non-practicing entities, " Tf 123 (iHug's halted
 8            operations)] seeking to profit from royalties in connection with grants of licenses or seeking to
 9
              obtain injunctions, Tf 124 own large numbers of patents, copyrights, trademarks, and trade
10
              secrets andfrequently enter into litigation based on allegations of infringement or other
11
12            violations of intellectual property rights. We have and may in the future continue to receive

13            notices that claim we have misappropriated, misused, or infringed upon other parties'
14            intellectual property rights. Tf 125 Furthermore, from time to time we may introduce or
15
              acquire new products, including in areas in which we historically have not operated, which
16
              could increase our exposure to patent and other intellectual property claims. In addition, we
17
18            have been sued, and we may in the future be sued, for allegations of intellectual property

19            infringement or threats of trade secret misappropriation. Id.

20                    Further disclaiming: "For example, in February 2017, Waymo filed a lawsuit
21
              against us alleging, among other things, theft of trade secrets and patent infringement arising
22
             from our acquisition of Ottomotto LLC. In February 2018, we entered into a settlement
23
24                    agreement with Waymo."

25            Id Ex A23, Ex A24 Tf Tf 120 - 125 (emphasis added)

26   ///
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1          5.       Plaintiff Has a Reasonable Probability of Prevailing on the Merits

 2       1639. Defendants have no basis for claiming any harm. Plaintiff and his Company, iHug
 3
     have a Reasonable Probability of Prevailing on the Merits. If Defendant's wrongful actions are not
 4
     enjoined. Defendants will continue to benefit from their wrongdoing, continuing to unfairly compete,
 5
     using Plaintiffs competitive advantages against him, suppressing competition, that causes the
 6
 7 reckless endangerment of life in healthcare and evolve their businesses using Plaintiffs intelligence.
 8 "No one can take advantage of his their own wrong." Civil Code § 3517. Because Plaintiff has
 9
     established a reasonable probability that he will prevail on each of the claims alleged in the
10
     Complaint, Defendants wrongful actions should immediately be enjoined.
11
12          6.      Healthcare Patients, Plaintiff, and IHug Will Suffer Irreparable Harm if an

13   Injunction Is Not Issued
14       1640. Defendants used Plaintiffs corporate secrets to evolve their businesses. The
15
     unlav^l actions taken by Defendants,fiandamentallytiansformedtheir businesses organically, which
16
     has allowed the evolution of new ideas, business models, and a clear path to profitability.
17
18       1641.   Defendants continue to threaten to cause, and has indisputably caused, irreparable

19   harm to Plaintiff, and his Company, iHug.
20   CONCLUSION
21
         1642. Notwithstanding Plaintiffs repeated actions to protect his highly secret proprietary
22
     information and plausibly, feasible and viable fiituristic digital Ai healthcare system is evident.
23
24       1643. Defendants conduct creates the very strong inference Defendants are still unjustly

25   enriching themselves while attempting to deport Plaintiffs Wife and wrongfully imprison Plaintiff.
26       1644. The unlawful conduct and vile actions taken against Plaintiff and his Wife, who
27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1   nearly committed suicide are grounds to respectfully request such injunction and future injunctions.

 2       1645. NOW COMES Plaintiff, setting the final comerstone, laying the grounds for granting a
3
     permanent injunction. Plaintiff will fully exercise the Mutual Non-Disclosure Contract signed by and
 4
     between Uber Health, LLC, Uber Technologies Inc. ("Uber") and iHug, Inc. and Plaintiff under
 5
     California Law, in particular. Section l . , ^ I d 126. Plaintiff had secured his confidential information
 6
 7 using military grade locking systems; Section 1., Any confidential and non-public "before" ^ Id 121
 8 or "after" the ''Effective Date" TI ^c/128 and whether orally, visually, in writing or "in any other
 9
     form, (misappropriation)" Section 5., Tf Id 129. Plaintiff did not grant Uber, much less any other party
10
     to use Plaintiffs confidential information. Section 5., Tf Id 130. Uber agreed it would not reverse
11
     engineer, disassemble or decompile any prototypes, software or other tangible objects or ideas that
12
13   embody iHug's non-public confidential information. Section 6., Tf /c/ 131. Uber agreed any

14   unauthorized use or disclosure of such confidential information will cause iHug, Inc. and Plaintiff
15
     irreparable harm and significant damages. Section 6., Tf Id 132. Plaintiff may seek equitable relief, in
16
     addition to any other rights and remedies at law or otherwise, fiirthermore, it's been indisputably
17
     established and substantiated, Lyft, Inc. misappropriated Plaintiffs $1,200,000,000,000 trillion-dollar
18
19   healthcare opportunity Tf Id 133. Plaintiff is in whole entitled to damages Tf Id 134, and granting

20   permanent injunction Tf Id 135, paying Plaintiff all revenue generated Tf /c/136 from Uber and Lyft's
21
     Healthcare Operation since March 2018 Tf /c/ 137, to ensure the endangerment of life stops and
22
     innocent healthcare patients and our loved ones are treated with dignity and respect. '^ld\3%.
23
     Pictured on the next page. Exhibit A25, Plaintiff is appalled, that Uber and Lyft not only
24
25   misappropriated his "Rideshare for Healthcare" plans, and $1,200,000,000,000 trillion-dollar

26   healthcare opportunity ("confidential and secure information"), and tortiously interfered, they have
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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 1   completely and with incompetence in healthcare, failed to execute on Plaintiffs confidential and

 2   secure information. They have allowed unfit and untrained drivers to disrespect, and rudely insult
 3
     innocent people who are in their most vulnerable state in their life in healthcare. People who are
 4
     discharged from the hospital who need exfra care, and attention, even assistance. iHug was built to
 5
 6   care for these patients. Whereas Defendants have destroyed iHug for greed. This further establishes

 7   the very reason Uber and Lyft should be ordered by the court to hand over 100% of their healthcare

 8   operations to Plaintiff, allowing iHug to take the driver seat to prevent loss of life, and destmction of
 9
     morale of innocent healthcare patients. Finally, the Mutual Non-Disclosure allows the courts to make
10
     such an order as Uber is in fdll breach of signed confract. Ex. A25, Tf TI 126 - 138 (emphasis added)
11
12                            On Uber had a pickup, as I sat waiting for the pax I
                              received a text from a doctors office asking if the
13
                              passenger had came yet. T was instmcted to deliver them
14                            to the emergency room. This place was a dump! I
                              couldn't wait to get to the 5 minute mark and split with
15                            my cancellation fee, but not before sending back a
16                            message to the doctors office explaining she didn't make
                              it and suggested they call a aihbularice. I'ih not prepared
17                            to trade a few bucks for a passenger leaking all over my
                              car.
18
19       1646. Respectfully submitted and executed on July, 4, 2019 in Sacramento, Califomia.
20
21
22
23
                                     Adam John Mackintosh,
24
25                                   /s/ Adam John Mackintosh //

26                                   Adam John Mackintosh (will seek admission pro hac vice, in pro per)

27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
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         Practices, Tortious Interference, Trade Secret Misappropriation, Breach ofContract, Defamation and Slander.
                                                         - 723 -
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 I                              40. MOTION TO COMPEL FOR INVESTIGATION

 2                    POST JUDGEMENT FOR ADDITIONAL CAUSES OF ACTION 13 - 19
 3
           1647. Plaintiff, respectfully requests to move this court for an order to have the Sacramento
 4
     District Attomey's office review the case for an investigation involving Defendants and Does, post
 5
 6 judgement, as Plaintiff has acquired adequate, direct and circumstantial evidence to grant all motions.
 7   ///

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25   ///

26   ///

27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
          Practices, Tortious Interference, Trade Secret Misappropriation, Breach ofContract, Defamation and Slander.
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 1                                     41. CAUSE OF ACTION 13 - COUNT 13
 2                       MOTION TO COMPEL SACRAMENTO DISTRICT ATTORNEY
 3
                                                   FOR INVESTIGATION
 4
                                FALSE REPORTING TO A POLICE OFFICER
 5
 6                          (CALIFORNIA PENAL CODE SECTION § 148.5 PC)
                                                 Brought by Plaintiff
 7
 8       1648. Plaintiff, respectfully requests to move this court for an order to have the Sacramento

.9 District Attorney review the motion, post judgement.
10
         1649. After a civil pre-discovery period, Plaintiff has acquired adequate direct and
11
     circumstantial evidence to the court to grant Plaintiff s motion False reporting:
12
        (b) Every person who reports to any other peace officer, as defined in Chapter 4.5 (commencing
13
14   with Section 830) of Title 3 of Part 2, that a felony or misdemeanor has been committed, knowing the

15   report to be false, is guilty of a misdemeanor if: (1) the false information is given while the peace
16   officer is engaged in the performance of his or her duties as a peace officer and; or (2) the person
17
     providing the false information knows or should have known that the person receiving the
18
     information is a peace officer.
19
20       1650. Joe fabricated a story and falsely accused Plaintiff of grand theft auto. Joe then called 911

21   to dispatch the Sacramento Police Department to Plaintiffs office. Amy fabricated a story and falsely
22   accused Plaintiff of assault, alleging the assault took place while Plaintiff was with his Wife in their
23
     room, peacefully living their lives. Joe and Amy used the police officers as a tool in an attempt to
24
     wrongfully arrest Plaintiff, in order to permanently deprive Plaintiff of the vehicle and home after
25
26   Plaintiff paid them cash, has a bill of sale and confract in hand, and proof of payment for rent.

27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
                                                         -725 -
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 1                                    42. CAUSE OF ACTION 14 - COUNT 14
 2                   MOTION TO COMPEL SACRAMENTO DISTRICT ATTORNEY FOR
 3                                                    INVESTIGATION
                                 CALIFORNIA VEHICLE REGISTRATION FRAUD
 4
                                 (CALIFORNIA VEHICLE CODE § 4463 VC)
 5
 6                                               Brought by Plaintiff

 7      1651. Plaintiff, respectfully requests to move this court for an order to have the Sacramento
 8   District Attorney review the motions in the proceeding paragraphs, post judgement.
 9
        1652. After a civil pre-discovery period. Plaintiff has acquired adequate direct and
10
11   circumstantial evidence to the court to grant Plaintiffs motion.

12      1653. SMOG check fraud:
13
                o Clean Plugging - The illegal practice of obtaining engine computer data (OBD I I
14                   Data) from a passing vehicle as a substitute for the actual vehicle being tested.
15                   (1) Joe admitted to paying a California Certified SMOG technician
16
                         to unlawfully pass SMOG.
17
                     (2) Joe was able to successfully transfer the title into his name after the test.
18
19                   (3) The engine needed an overhaul, Joe never had an engine overhaul.
20                   (4) Joe's actions were intentional.
21
22
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27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1                                   43. CAUSE OF ACTION 15 - COUNT 15
 2                              MOTION TO COMPEL SACRAMENTO DISTRICT

 3                                       ATTORNEY FOR INVESTIGATION
                                                       TRESPASSING
 4
                               (CALIFORNIA PENAL CODE SECTION § 602)
 5
 6                                              Brought by Plaintiff

 7     1654. Pictured below. Plaintiffs office sign, waming violators of trespassing will be
 8 prosecuted.
 9
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                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1                       o Joe and his accomplices entered onto private property (Adam's office)
 2                       o Joe and his accomplices did not receive Adam's consent to enter into the
 3                           property

 4                       o Joe intended to permanently deprive Adam of the vehicle

 5                       o Joe and his accomplices had no right to be on the property
                         o Joe and his accomplices obstructed and interfered with Adam's business
 6
                         o The private property had signs indicated trespassing laws and wamings
 7
 8
        1655. I declare under penalty of perjury under the laws of the State of Califomia that the
 9
10   foregoing facts and evidence is true and correct, that I can competently testify thereto if called

11   upon to do so.
12
        1656. Executed on June, 28, 2019 in Sacramento, California.
13
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15
16
17                                            Adam John Mackintosh,
18                                            /s/ Adam John Mackintosh //
19                                            Adam John Mackintosh (will seek admission In Pro Per)

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27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1                                    44. CAUSE OF ACTION 16 - COUNT 16

 2                               MOTION TO COMPEL SACRAMENTO DISTRICT

 3                                         ATTORNEY FOR INVESTIGATION
                                                   GRAND THEFT AUTO
 4
                                   (CALIFORNIA PENAL CODE § 487(d)(1)
 5
                                                 Brought by Plaintiff
 6
                         o Joe took or drove Adam's vehicle without consent
 7
                         o Joe intended to permanently deprive Adam of the vehicle
 8
                         o Joe misappropriated more than $950 from Adam for the vehicle
 9                       o The property was worth more than $950 in value
10                       o Adam put thousands of dollars into the vehicle to fix it up
11
12      1657. I declare under penalty of perjury under the laws of the State of Califomia that the
13   foregoing facts and evidence is true and correct, that I can competently testify thereto if called
14
     upon to do so.
15
16      1658. Executed on June, 28, 2019 in Sacramento, California.

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21
                                              Adam John Mackintosh,
22
                                              /s/ Adam John Mackintosh //
23                                            Adam John Mackintosh (will seek admission In Pro Per)
24
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27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangemient of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1                                    45. CAUSE OF ACTION 17 - COUNT 17
 2                               MOTION TO COMPEL SACRAMENTO DISTRICT
 3
                                          ATTORNEY FOR INVESTIGATION
 4
                                              TWO PARTY CONSENT RULE
 5
 6                         CALIFORNIA PENAL CODE SECTION § 18 U.S.C. 2511(2)(d)

 7                                                   Brought by Plaintiff
 8                       o Joe's accomplice, Thomas Michael Kim recorded Adam on private
 9                           property while in the act of trespassing
10                       o The Android phone was capable of recording
11                       o Video was actually recorded of Plaintiff without consent
12                       o The private property had signs that indicated trespassing laws and
13                           warnings

14
        1659.   I declare under penalty of perjury under the laws of the State of CaHfomia that the
15
16   foregoing facts and evidence is true and correct, that I can competently testify thereto if called

17   upon to do so.
18
        1660.   Executed on June, 28, 2019 in Sacramento^ Califomia.
19
20
21
22
23                                            Adam John Mackintosh,

24                                            /s/ Adam John Mackintosh //
                                              Adam John Mackintosh (will seek admission In Pro Per)
25
26
27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 ,1                                    46. CAUSE OF ACTION 18 - COUNT 18

 2                                MOTION TO COMPEL SACRAMENTO DISTRICT
 3
                                           ATTORNEY FOR INVESTIGATION
 4
                              GRAND THEFT CALIFORNIA PENAL CODE § 487
 5
 6                                                Brought by Plaintiff

 7                        o Amy attempted to commit Grand Theft through a rental scheme
 8                        o Joe misappropriated $950 or more in cash property from Adam

 9                        o Joe's actions were methodical in nature

10                        o Joe permanently deprived Adam of cash property

11                        o Joe had full intent of taking Adam's cash property
                          o Joe knowingly had $8,901 in his bank, and still misappropriated cash
12
                              through false pretense
13
                          o Pictured on the next page, forensic evidence indisputably establishes Joe
14
                              was in San Francisco meeting with Uber, and Lyft "[represented in a
15
                              rectangular black box.]" all other days, in criminal fashion, Joe and others
16
                              were causing financial harm on Plaintiff in Sacramento, CaUfomia.
17
         1661. I declare under penalty of perjury under the laws of the State of Califomia that
18
      the foregoing facts and evidence is true and correct, that I can competently testify thereto if
19
20    called upon to do so. Executed on July, 4, 2019 in Sacramento, Califomia.

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23
24
                                               Adam John Mackintosh,
25
                                               /s/ Adam John Mackintosh //
26
                                               Adam John Mackintosh (will seek admission In Pro Per)
27
                        Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28     Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
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                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1                                   47. CAUSE OF ACTION 19 - COUNT 19

 2                          MOTION TO COMPEL SACRAMENTO DISTRICT

                                 ATTORNEY, SEC, FBI, DOJ, AND OTHER

                    GOVERNMENT RELATED ENTITIES FOR INVESTIGATION

                                                   CONSPIRACY

 7                                  CALIFORNIA PENAL CODE § 182 PC

 8                                              Brought by Plaintiff
 9                      o Joe has a direct connection with Shahla, Louis, Malcolm, Thomas and Does
10                      o Joe intended to permanently deprive Adam of the vehicle
^'                      o Joe, Shahla, Louis, Malcolm, Thomas and Does falsely accused Adam of
12                          stealing the vehicle
13                      o Joe misappropriated more than $950 from Adam for the vehicle
14                      o The property was worth more than $950 in value
15                      o Adam put thousands of dollars into the vehicle tofixit up, in order to
15                           have reliable transportation
2y                       o Amy called the Sacramento Police Department to claim Plaintiff of assault
,„                          with knowledge of its falsity.
1o

19                      o Plaintiffs Employer attempted to induce Plaintiff to order a third bonus
20                          check after over paying him, in an attempt to wrongfully imprison him
21                      o Nicole sent Plaintiff thousands of corporate customers in an attempt to
22                          wrongfully imprison him

23                      o Joe, Amy, BBB, Louis, Malcolm slandered Plaintiff
                        o Joe Trespassed onto Plaintiffs private office with is accomplices
24
                        o Sacramento Police Department will not allow Plaintiff to prosecute
25                          wrongdoing failing to give Plaintiff a police report after 6 months of
26                          requesting one
27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
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 I                      o Shahla attempted to deport Plainfiff Wife using Govemment resources for
 2                          civil matters, including FBI, DOJ

 3                      o Other unlawful activities which will be brought to surface and open to

 4                          interpretation upon further prosecution stages allowable by law

 5
       1662. Names of Suspects:
 6
 7         Shahla Qudus                                                  Uber, Lyft, Benchmark, Andreessen
 8         Danny Trask                                                   Horowitz and others who sit on these
 9         Ethelyne Acebedo                                              boards. Matt Cohler, Arianna

10         Joseph Tigner                                                 Huffington

11         Jet Carreon                                                   Any investor in Lyft, Uber,

12         Louis Pritchett                                               Andreessen, Benchmark and other
           Veronica Espinoza                                             related parties and or entities
13
           Malcolm Russell                                               Investors in all parties, past, and
14
           Colon GamaUar                                                 current employees of all entities
15
           Thomas Michael Kim                                            named herein
16
           Lisa Thao                                                     Nora Hamilton
17
           Diane Goode                                                   Betty Hino
18
           Jerry Wang                                                    David Tilton
19
           John Zimmer                                                   All Uber and Lyft Drivers
20
                                                                         Thomas Croley
           Logan Green
21
                                                                         Nicole Berryman
           BBB
22                                                                       Daryn Kumar
           Sacramento Police Department
23                                                                       Darren Gacicia
           Private Investigators (Pending
24                                                                       Dara Khosrowshahi
           Subpoena)
25                                                                       And Does
       •   Ben Horowitz
26
27
                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
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 1     1663. I declare under penalty of perjury under the laws of the State of CaHfomia that the
2 names being compiled and used in this case have merit. Who are individuals that have a
3
  relational connection to Defendant, who could be an accessory to the allegation presented in
4
  each motion. I can competently testify thereto if caHed upon to do so.
5
6      1664. Executed on June, 28, 2019 in Sacramento, Califomia.
 7
 8
 9
10
11
                                                     Adam John Mackintosh,
12                                                   /s/ Adam John Mackintosh //
13                                                   Adam John Mackintosh (will seek admission In Pro Per)
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                      Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28   Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
        Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1                                    48. MOTION TO COMPEL ADMISSION

 2                                             OF AUDIO EVIDENCE
 3
                                    EVIDENCE CODE SECTION, 100 - 260
 4
                                                 Brought by Plaintiff
 5
 6       1665. Not only does Plaintiff and other undisclosed parties possess permission evidence

 7 through a legal contract with Joe, and other parties to play any and all audio recordings,
 8
     Plaintiff respectfully moves to compel the court to admit audio testimonial evidence made by
 9
     Defendant and other parties, which establishes and substantiates all allegation stated herein.
10
11       1666. Per evidence code secfion states the following:

12                   100. Unless the provision or context otherwise requires, these definitions govem
13
                     the construction of this code.
14
                     110. "Burden of producing evidence" means the obHgation of a party to
15
16                   introduce evidence sufficient to prove allegations in favor of one party or

17                   another's ruHng.
18
        1667. Defendant signed a legal document which states the foUowing allowing a motion to
19
     admit audio evidence: Company Property;
20
21      Returning Company Documents. 1 acknowledge and agree that Ihave no expectation of

22 privacy with respect to the Company's telecommunications, networking or information processing
23
     systems (including, without limitation, stored company files, e-mail messages and voice messages)
24
     and that my activity and any files or messages on or using any of those systems may be monitored
25
26   at any time without notice.

27
                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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 1      1668. I declare under penalty of perjury under the laws of the State of CaUfomia that the
 2 foregoing facts and evidence is tme and correct, that I can competently testify thereto if called
 3
   upon to do so.
 4
       1669. Executed on June, 28, 2019 in Sacramento, CaUfomia.
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 9
10                                                    Adam John Mackintosh,
11                                                    /s/ Adam John Mackintosh //
12                                                    Adam John Mackintosh (will seek admission In Pro Per)
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                       Adam John Mackintosh—vs —Lyft, Uber, Andreessen Horowitz, and Defendants
28    Complaint for Unjust Enrichment, Endangerment of Life, Corporate Sabotage through Espionage, Unfair Competition
         Practices, Tortious Interference, Trade Secret Misappropriation, Breach of Contract, Defamation and Slander.
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